 Case 23-12825-MBK   Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14   Desc
                      Appendix A (Part 1) Page 1 of 702



                            APPENDIX A (Part 1)

                      List of Defendants and Their Counsel




NAI-1535638465
                            Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                Desc
                                                             Appendix A (Part 1) Page 2 of 702



                                                                            Appendix A

                                                                List of Defendants and Their Counsel
            Claimant Name                         State Filed                        Docket Number                                Plaintiff Counsel

A. WILSON, MEL                 IL - CIRCUIT COURT - MADISON COUNTY            21-L-1291                NAPOLI SHKOLNIK, PLLC

AALTO, EILEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:21-CV-04972            THE BENTON LAW FIRM, PLLC

ABAD, LORNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:21-CV-11734            LENZE LAWYERS, PLC

ABAGNALE, LINDA                NJ - SUPERIOR COURT - ATLANTIC COUNTY          ATL-L-002151-19          ROSS FELLER CASEY, LLP

ABALOS, PATSY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:18-CV-02640            MORELLI LAW FIRM, PLLC

ABBATE, DIANE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS         1622-CC00134             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ABBATE, DIANE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS         1622-CC00134             GOLDENBERGLAW, PLLC

ABBATE, DIANE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS         1622-CC00134             ONDERLAW, LLC

ABBATE, DIANE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS         1622-CC00134             PORTER & MALOUF, PA

ABBATE, DIANE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS         1622-CC00134             THE SMITH LAW FIRM, PLLC

ABBEDUTO, MAUREEN              IL - CIRCUIT COURT - COOK COUNTY               2017-L-003007            MEYERS & FLOWERS, LLC

ABBOT, PATRICIA                NJ - SUPERIOR COURT - MIDDLESEX COUNTY         MID-L-003625-21          WEITZ & LUXENBERG

ABBOTT, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:20-CV-03777            ONDERLAW, LLC

ABBOTT, PIPER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:18-CV-13024            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

ABBOTT, PIPER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:18-CV-13024            POGUST BRASLOW & MILLROOD, LLC

ABBOTT, POLLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:18-CV-14531            NAPOLI SHKOLNIK PLLC

ABBOTT, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:18-CV-11529            NAPOLI SHKOLNIK PLLC

ABBOTT, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:21-CV-06675            ONDERLAW, LLC

ABBOTT-EDWARDS, LORI           NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:18-CV-03385            JOHNSON BECKER, PLLC

ABDELBARY, STEPHANIE           NJ - SUPERIOR COURT - ATLANTIC COUNTY          ATL-L-2593-17            THE MILLER FIRM, LLC

ABDIANNIA, NOZHEH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:20-CV-18889            NACHAWATI LAW GROUP

ABDUR-RASHEED, DAIMA           GA - STATE COURT OF FAYETTE COUNTY             CACE20002075             BARNES LAW GROUP, LLC

ABDUR-RASHEED, DAIMA           GA - STATE COURT OF FAYETTE COUNTY             CACE20002075             CHEELEY LAW GROUP

ABE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:18-CV-09495            THE MILLER FIRM, LLC

ABEAR, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:21-CV-10008            ONDERLAW, LLC

ABEDI-SAGHERIAN, RIMA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:21-CV-18152            JOHNSON LAW GROUP

ABEL, HARRIET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:20-CV-03181            WILLIAMS HART LAW FIRM

ABEL, HAYDEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:20-CV-00114            CELLINO & BARNES, P.C.

ABEL, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:20-CV-10893            NACHAWATI LAW GROUP

ABELES, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:20-CV-01600            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 1 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                               Appendix A (Part 1) Page 3 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ABELL, ASHLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09569          ONDERLAW, LLC

ABELL, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-08901          HUGHES LAW FIRM, PLLC

ABELL, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-08901          MOORE LAW GROUP PLLC

ABELL, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08789          ONDERLAW, LLC

ABELLA, GEORGIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15477          SANDERS PHILLIPS GROSSMAN, LLC

ABELSON, LYNN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10984          ASHCRAFT & GEREL

ABERBOM, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18013          REICH & BINSTOCK, LLP

ABERCROMBIE, BETTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10399          ARNOLD & ITKIN LLP

ABERCROMBIE, CHRISTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12977          BARON & BUDD, P.C.

ABERCROMBIE, CHRISTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12977          JENNER LAW, P.C.

ABERCROMBIE, REGINA              MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          GOLDENBERGLAW, PLLC

ABERCROMBIE, REGINA              MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          ONDERLAW, LLC

ABERCROMBIE, REGINA              MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          PORTER & MALOUF, PA

ABERCROMBIE, REGINA              MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          THE SMITH LAW FIRM, PLLC

ABERNATHY, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05113          COHEN & MALAD, LLP

ABERNATHY, SARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12266          ASHCRAFT & GEREL

ABERNATHY, SARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12266          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ABERNATHY, SARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04713          WILLIAMS HART LAW FIRM

ABERNATHY, VIRGINIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04358          ONDERLAW, LLC

ABERNETHY, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10577          GOZA & HONNOLD, LLC

ABEYTA, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09042          JOHNSON LAW GROUP

ABINANTE, MELODY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19602          ONDERLAW, LLC

ABNER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11237          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ABNER, SUZANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11616          POTTS LAW FIRM

ABNEY, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09572          ONDERLAW, LLC

ABNEY, KIMBERLY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002154-20        GOLOMB & HONIK, P.C.

ABNEY, NILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05847          ONDERLAW, LLC

ABNEY, OLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04224          ONDERLAW, LLC

ABNEY, SHAMAE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19449          ARNOLD & ITKIN LLP

ABOLOS, CHRISTINA                CA - SUPERIOR COURT - KERN COUNTY           BCV-17-100318          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ABOLOS, CHRISTINA                CA - SUPERIOR COURT - KERN COUNTY           BCV-17-100318          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ABOLOS, CHRISTINA                CA - SUPERIOR COURT - KERN COUNTY           BCV-17-100318          THE SMITH LAW FIRM, PLLC

ABOOD, MADONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07517          ASHCRAFT & GEREL, LLP

ABOOD, MADONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07517          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 2 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                               Appendix A (Part 1) Page 4 of 702

               Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

ABRACINSKAS, JEAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02743          DALIMONTE RUEB, LLP

ABRAHAM, ASHLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14323          AVA LAW GROUP, INC.

ABRAHAM, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-04770          ONDERLAW, LLC

ABRAHAM, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18449          JOHNSON LAW GROUP

ABRAM, EDWINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ABRAM, EDWINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          ONDERLAW, LLC

ABRAM, EDWINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          PORTER & MALOUF, PA

ABRAM, EDWINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          THE SMITH LAW FIRM, PLLC

ABRAMS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08783          ONDERLAW, LLC

ABRAMS, GEORGEANNE                CA - SUPERIOR COURT - SANTA CLARA COUNTY    16CV300339             LEVIN SIMES ABRAMS LLP

ABRAMSON, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10663          NACHAWATI LAW GROUP

ABREU, MELINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20349          ONDERLAW, LLC

ABRON, GRACIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18393          ONDERLAW, LLC

ABRUZZESE, ELISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01527          WILLIAMS HART LAW FIRM

ABSHIRE, MONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01151          ONDERLAW, LLC

ACANFRIO, DIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16768          MORGAN & MORGAN

ACERBI, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04741          ONDERLAW, LLC

ACETI, LEIGH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21786          ONDERLAW, LLC

ACEVEDO, ANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00932          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ACEVEDO, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19363          NACHAWATI LAW GROUP

ACEVEDO, ESMERALDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05888          ONDERLAW, LLC

ACEVEDO, HAIDEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

ACEVEDO, LOLA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2256-17          COHEN, PLACITELLA & ROTH

ACEVEDO, LOLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00792          GORI JULIAN & ASSOCIATES, P.C.

ACEVEDO, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10155          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ACEY, ANNIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14837          MORELLI LAW FIRM, PLLC

ACHENBACH, DORIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11789          ARNOLD & ITKIN LLP

ACHENBACH, DORIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11789          MURPHY, FALCON & MURPHY, P.A.

ACHENBACH, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11569          ONDERLAW, LLC

ACHESON, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01610          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ACHILLES, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-04700          HUTTON & HUTTON

ACKER, CATHLEEN                   CA - SUPERIOR COURT - SANTA CLARA COUNTY    17CV318670             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ACKER, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13473          THE MILLER FIRM, LLC




                                                                             Page 3 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                               Appendix A (Part 1) Page 5 of 702

               Claimant Name                        State Filed                         Docket Number                            Plaintiff Counsel

ACKER, ESTER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06836             LAW OFFICES OF DONALD G. NORRIS

ACKERAMAN, TRACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14705             FRAZER PLC

ACKERAMAN, TRACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14705             VISRAM-GIRALDO LAW GROUP, LLP

ACKERMAN, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-10210             ASHCRAFT & GEREL

ACKERMAN, GWYNN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11469             NACHAWATI LAW GROUP

ACKERMAN, MARYANNE                CA - SUPERIOR COURT - STANISLAUS COUNTY     2028543                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ACKERMAN, MILDRED                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09367             KLINE & SPECTER, P.C.

ACKERMAN-CASTELLANOS, BEA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09097             ONDERLAW, LLC

ACKERSON, PAULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03856             ONDERLAW, LLC

ACKLEY, MICHELE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08115             MOTLEY RICE, LLC

ACKMAN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17055             ONDERLAW, LLC

ACLA, BILLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03251             ONDERLAW, LLC

ACOSTA, BARBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14672             DALIMONTE RUEB, LLP

ACOSTA, ELEANOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451             DONALD L. SCHLAPPRIZZI P.C.

ACOSTA, ELEANOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451             LENZE LAWYERS, PLC

ACOSTA, ELEANOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15010             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ACOSTA, ELEANOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ACOSTA, FAYETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14539             HILLIARD MARTINEZ GONZALES, LLP

ACOSTA, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11915             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ACOSTA, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16795             ONDERLAW, LLC

ACOSTA, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03121             FLETCHER V. TRAMMELL

ACOSTA, MIGDALIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14521             HILLIARD MARTINEZ GONZALES, LLP

ACOSTA, OLIVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18897             NACHAWATI LAW GROUP

ACOSTA, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16806             ONDERLAW, LLC

ACOSTA, TRINIDAD                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451             DONALD L. SCHLAPPRIZZI P.C.

ACOSTA, TRINIDAD                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451             LENZE LAWYERS, PLC

ACOSTA, TRINIDAD                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ACOSTA, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00812             ARNOLD & ITKIN LLP

ACQUAAHHARRISON, TAWANNA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16287             NACHAWATI LAW GROUP

ACQUAVIVA, AUDRA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003213-20           GOLOMB & HONIK, P.C.

ACQUAVIVA-AUBIN, PATRICIA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13988             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ACREE, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14025             CELLINO & BARNES, P.C.

ACREMAN, LEAHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09877             FLETCHER V. TRAMMELL

ACTON, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19188             CELLINO & BARNES, P.C.



                                                                             Page 4 of 1405
                            Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                         Desc
                                                             Appendix A (Part 1) Page 6 of 702

            Claimant Name                         State Filed                     Docket Number                            Plaintiff Counsel

ADAIR, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14565          JOHNSON LAW GROUP

ADAIR, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08169          HOLLAND LAW FIRM

ADAIR, RACHEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12369          ASHCRAFT & GEREL

ADAIR, RACHEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12369          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADAM, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09216          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADAM, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04304          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADAM, MARION                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21496          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADAME, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16306          NACHAWATI LAW GROUP

ADAME, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13015          FLETCHER V. TRAMMELL

ADAMI, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14451          ASHCRAFT & GEREL

ADAMOYURKA, DENISE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15661          NACHAWATI LAW GROUP

ADAMS, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15248          DRISCOLL FIRM, P.C.

ADAMS, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10659          NACHAWATI LAW GROUP

ADAMS, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17640          WEITZ & LUXENBERG

ADAMS, AMBER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00483          JOHNSON BECKER, PLLC

ADAMS, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15656          ARNOLD & ITKIN LLP

ADAMS, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13093          FLETCHER V. TRAMMELL

ADAMS, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14966          HILLIARD MARTINEZ GONZALES, LLP

ADAMS, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10366          SANDERS VIENER GROSSMAN, LLP

ADAMS, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11115          FLETCHER V. TRAMMELL

ADAMS, BRIDGET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16321          NACHAWATI LAW GROUP

ADAMS, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06686          ONDERLAW, LLC

ADAMS, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04422          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADAMS, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14510          MORELLI LAW FIRM, PLLC

ADAMS, CECILIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-19138          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

ADAMS, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00188          ONDERLAW, LLC

ADAMS, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14994          MOORE LAW GROUP PLLC

ADAMS, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06646          FLETCHER V. TRAMMELL

ADAMS, CORDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10126          JAMES MORRIS LAW FIRM PC

ADAMS, DARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09111          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ADAMS, DARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08500          HARRISON DAVIS STEAKLEY MORRISON

ADAMS, DEBORAH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADAMS, DEBORAH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00613           ONDERLAW, LLC

ADAMS, DEBORAH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00613           PORTER & MALOUF, PA



                                                                          Page 5 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                               Appendix A (Part 1) Page 7 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ADAMS, DEBORAH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00613           THE SMITH LAW FIRM, PLLC

ADAMS, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00805          FLETCHER V. TRAMMELL

ADAMS, DELETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14650          ONDERLAW, LLC

ADAMS, DELORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00803          KELLEY & FERRARO, LLP

ADAMS, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15538          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ADAMS, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13390          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADAMS, DOROTHY                   LA - DISTRICT COURT - JEFFERSON PARISH      806168-G               LAW OFFICE OF TIMOTHY B MOORE, LC

ADAMS, EILEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12009          TORHOERMAN LAW LLC

ADAMS, ELIZABETH                 GA - STATE COURT OF GWINNETT COUNTY         20-C-01546-S5          BARNES LAW GROUP, LLC

ADAMS, ELIZABETH                 GA - STATE COURT OF GWINNETT COUNTY         20-C-01546-S5          CHEELEY LAW GROUP

ADAMS, ELIZABETH                 NY - SUPREME COURT - NYCAL                  190316/2019            MEIROWITZ & WASSERBERG, LLP

ADAMS, ELIZABETH S.              NY - SUPREME COURT - NYCAL                  190316/2019            MEIROWITZ & WASSERBERG, LLP

ADAMS, ELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    ATL-L-002794-21        WEITZ & LUXENBERG

ADAMS, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10041          HEYGOOD, ORR & PEARSON

ADAMS, GEORGIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11119          NAPOLI SHKOLNIK, PLLC

ADAMS, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16315          NACHAWATI LAW GROUP

ADAMS, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11602          NACHAWATI LAW GROUP

ADAMS, IRENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16309          NACHAWATI LAW GROUP

ADAMS, JACKIE                    IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ADAMS, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01060          CHILDERS, SCHLUETER & SMITH, LLC

ADAMS, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-03916          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADAMS, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-04576          ONDERLAW, LLC

ADAMS, JANIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-03941          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADAMS, JESSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09818          MORRIS BART & ASSOCIATES

ADAMS, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20063          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADAMS, JOSEPHINE CLAY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11956          NACHAWATI LAW GROUP

ADAMS, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02870          DEGARIS WRIGHT MCCALL

ADAMS, KARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12953          JOHNSON BECKER, PLLC

ADAMS, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00983          THE MILLER FIRM, LLC

ADAMS, LESLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11273          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ADAMS, LILLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14394          THE BENTON LAW FIRM, PLLC

ADAMS, LILLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11664          THE MILLER FIRM, LLC

ADAMS, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06536          ONDERLAW, LLC

ADAMS, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06818          ONDERLAW, LLC



                                                                            Page 6 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                               Appendix A (Part 1) Page 8 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ADAMS, MADJUIANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06107          ONDERLAW, LLC

ADAMS, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10753          MOTLEY RICE, LLC

ADAMS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15187          THE MILLER FIRM, LLC

ADAMS, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05571          BLIZZARD & NABERS, LLP

ADAMS, MELVERTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21166          MORELLI LAW FIRM, PLLC

ADAMS, MICKI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02598          ONDERLAW, LLC

ADAMS, NIKITA                    MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADAMS, NIKITA                    MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00448           ONDERLAW, LLC

ADAMS, NIKITA                    MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00448           PORTER & MALOUF, PA

ADAMS, NIKITA                    MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00448           THE SMITH LAW FIRM, PLLC

ADAMS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10455          GORI JULIAN & ASSOCIATES, P.C.

ADAMS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11455          KIESEL LAW, LLP

ADAMS, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18821          THE SEGAL LAW FIRM

ADAMS, PRISCILLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05974          ARNOLD & ITKIN LLP

ADAMS, REBEKAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12268          WATERS & KRAUS, LLP

ADAMS, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12709          ONDERLAW, LLC

ADAMS, ROMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14279          BURNS CHAREST LLP

ADAMS, ROSIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10512          LIAKOS LAW APC

ADAMS, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16443          JOHNSON BECKER, PLLC

ADAMS, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13439          HEYGOOD, ORR & PEARSON

ADAMS, STACY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12811          ONDERLAW, LLC

ADAMS, TERESA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADAMS, TERESA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           GOLDENBERGLAW, PLLC

ADAMS, TERESA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           ONDERLAW, LLC

ADAMS, TERESA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           PORTER & MALOUF, PA

ADAMS, TERESA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           THE SMITH LAW FIRM, PLLC

ADAMS, TERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07644          ONDERLAW, LLC

ADAMS, TONI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09726          ONDERLAW, LLC

ADAMS, TONI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09726          ONDERLAW, LLC

ADAMS, TONI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09726          ONDERLAW, LLC

ADAMS, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00113          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ADAMS, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00121          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

ADAMS, WAYNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14211          THE BENTON LAW FIRM, PLLC

ADAMS, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06360          FLETCHER V. TRAMMELL



                                                                            Page 7 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                               Appendix A (Part 1) Page 9 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ADAMS, WILMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13518          FLETCHER V. TRAMMELL

ADAMS-GASTON, JAVAUNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08450          PARKER WAICHMAN, LLP

ADAMSON, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18805          MOTLEY RICE, LLC

ADCOCK, LOIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05123          ONDERLAW, LLC

ADCOCK, MARKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20351          ONDERLAW, LLC

ADCOCK, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11313          HART MCLAUGHLIN & ELDRIDGE

ADCOCK, TERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17942          ONDERLAW, LLC

ADDELSTON, JUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09219          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADDINGTON, PHYLLIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09142          ONDERLAW, LLC

ADDIS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06546          ONDERLAW, LLC

ADDISON, DIANNE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           ONDERLAW, LLC

ADDISON, DIANNE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           PORTER & MALOUF, PA

ADDISON, DIANNE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           THE SMITH LAW FIRM, PLLC

ADDISON, TARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02638          ONDERLAW, LLC

ADDISON, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05427          NAPOLI SHKOLNIK, PLLC

ADELMAN, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04320          ONDERLAW, LLC

ADELSTONE, ETHEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12249          KNAPP & ROBERTS, P.C.

ADERIBOLE, OMOBONIKE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10168          POGUST BRASLOW & MILLROOD, LLC

ADERIBOLE, OMOBONIKE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10168          SANDERS VIENER GROSSMAN, LLP

ADGER, MARSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17772          ONDERLAW, LLC

ADKINS, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02159          MOTLEY RICE, LLC

ADKINS, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19939          NACHAWATI LAW GROUP

ADKINS, BERNADINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02366          JOHNSON LAW GROUP

ADKINS, DARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03595          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ADKINS, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07939          ONDERLAW, LLC

ADKINS, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20605          BROWN READDICK BUMGARTNER CARTER

ADKINS, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20605          GIBSON & ASSOCIATES INC.

ADKINS, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02981          ONDERLAW, LLC

ADKINS, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02912          ONDERLAW, LLC

ADKINS, MILDRED                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11318          NACHAWATI LAW GROUP

ADKINS, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07113          ONDERLAW, LLC

ADKINS, YOLANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16323          NACHAWATI LAW GROUP

ADKISON, IDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21787          ONDERLAW, LLC

ADLER, ENID                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01720          LEVY BALDANTE FINNEY & RUBENSTEIN



                                                                            Page 8 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 10 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ADLER, MYRNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05868          ONDERLAW, LLC

ADOCK, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10784          THE MILLER FIRM, LLC

ADOLPH, PATRICIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002240-20        GOLOMB & HONIK, P.C.

ADORNO, CARMEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18220          CELLINO & BARNES, P.C.

ADORNO, JASMINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12958          JOHNSON LAW GROUP

ADRAGNA, DOREEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-15082          CELLINO & BARNES, P.C.

ADRAGNA, SHAWNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18048          ONDERLAW, LLC

ADRIANO, ELSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07136          NAPOLI SHKOLNIK PLLC

ADSHER, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10290          ONDERLAW, LLC

ADWAY, EARLEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21789          ONDERLAW, LLC

ADWOA THOMAS                     FEDERAL - MDL                               3:21-CV-18410          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

AERTS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09638          LENZE LAWYERS, PLC

AERY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17860          ASHCRAFT & GEREL, LLP

AERY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17860          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AFANADOR-MEJIA, ELIZA            NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-004171-20        GOLOMB & HONIK, P.C.

AFFOLTER, EVA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08785          ONDERLAW, LLC

AFRICANO, KELLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14599          ASHCRAFT & GEREL, LLP

AGBESI, KATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09012          ONDERLAW, LLC

AGE, KIMBERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10011          ONDERLAW, LLC

AGEE, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07288          ONDERLAW, LLC

AGER, STELLA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-151-18           KEEFE BARTELS

AGER, STELLA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-151-18           LAW OFFICE OF GRANT D. AMEY, LLC

AGER, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06580          ONDERLAW, LLC

AGETSTEIN, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11357          NACHAWATI LAW GROUP

AGIN, HEIDI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01677          TRAMMELL PC

AGIN, LINDA PEACOCK              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17731          NACHAWATI LAW GROUP

AGNEW, ANN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AGNEW, ANN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           GOLDENBERGLAW, PLLC

AGNEW, ANN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           ONDERLAW, LLC

AGNEW, ANN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           PORTER & MALOUF, PA

AGNEW, ANN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           THE SMITH LAW FIRM, PLLC

AGONOY, JANET                    CA - SUPERIOR COURT - SANTA CLARA COUNTY    18CV328222             ASPEY, WATKINS & DIESEL, PLLC

AGONOY, JANET                    CA - SUPERIOR COURT - SANTA CLARA COUNTY    18CV328222             BURNS CHAREST LLP




                                                                            Page 9 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 11 of 702

           Claimant Name                            State Filed                     Docket Number                              Plaintiff Counsel

AGOSTA, LINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13970          GOLOMB & HONIK, P.C.

AGRAWAL, SUDHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13776          SIMMONS HANLY CONROY

AGRESS, LLEWELLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-08197          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AGRESTA, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11798          MOTLEY RICE, LLC

AGUAYO, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16326          NACHAWATI LAW GROUP

AGUDELO, MARISOL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18999          MOTLEY RICE, LLC

AGUILAR, CRYSTAL                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-03259-21         WEITZ & LUXENBERG

AGUILAR, JANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15958          NACHAWATI LAW GROUP

AGUILAR, MAGGIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18289          CELLINO & BARNES, P.C.

AGUILAR, MELISSA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002954-21        WEITZ & LUXENBERG

AGUILAR, MELISSA; ROBB,MARY      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-06608          BURCH & GEORGE

AGUILAR, MELISSA; ROBB,MARY      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-06608          SILL LAW GROUP, PLLC

AGUILAR, MELISSA; ROBB,MARY      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-06608          WHITE & WEDDLE, P.C.

AGUILAR, MELISSA; ROBB,MARY      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-06608          ZELBST, HOLMES & BUTLER

AGUIRRE, HILDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20300          ONDERLAW, LLC

AGUIRRE, JUANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02402          ONDERLAW, LLC

AGUIRRE, LORIANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03122          FLETCHER V. TRAMMELL

AGUIRRE, MARITZA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-09093          CELLINO & BARNES, P.C.

AGUIRRE, STARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01886          JOHNSON LAW GROUP

AHART, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09866          FLETCHER V. TRAMMELL

AHEARN, CHRISTINA                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC11533           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AHEARN, CHRISTINA                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC11533           ONDERLAW, LLC

AHEARN, CHRISTINA                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC11533           PORTER & MALOUF, PA

AHEARN, CHRISTINA                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC11533           THE SMITH LAW FIRM, PLLC

AHEARN, STASIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11572          ONDERLAW, LLC

AHERN, STACEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01612          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AHLBIN, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AHLBIN, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00790          GOLDENBERGLAW, PLLC

AHLBIN, DIANA                    CA - SUPERIOR COURT - SACRAMENTO COUNTY     34-2017-00221540       ONDERLAW, LLC

AHLBIN, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00790          ONDERLAW, LLC

AHLBIN, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00790          PORTER & MALOUF, PA

AHLBIN, DIANA                    CA - SUPERIOR COURT - SACRAMENTO COUNTY     34-2017-00221540       SALKOW LAW, APC

AHLBIN, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00790          THE SMITH LAW FIRM, PLLC




                                                                            Page 10 of 1405
                            Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                            Appendix A (Part 1) Page 12 of 702

            Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

AHLBORN, DEBBIE                MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00893           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AHLBORN, DEBBIE                MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00893           PORTER & MALOUF, PA

AHLBORN, DEBBIE                MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00893           THE SMITH LAW FIRM, PLLC

AHLVIN, TRACY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC11533           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AHLVIN, TRACY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC11533           ONDERLAW, LLC

AHLVIN, TRACY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC11533           PORTER & MALOUF, PA

AHLVIN, TRACY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC11533           THE SMITH LAW FIRM, PLLC

AHMED, BABLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11302          NAPOLI SHKOLNIK, PLLC

AHMED, KATHRYNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05988          KIRKENDALL DWYER LLP

AHMED, NUZHAT                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01348          ONDERLAW, LLC

AHNER, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15115          KLINE & SPECTER, P.C.

AHREND, MARIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11204          NACHAWATI LAW GROUP

AHRENS, BRENDA                 IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

AHRENS-TRAMS, DAWN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05645          JOHNSON LAW GROUP

AHSOAK, NAOMI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14229          DRISCOLL FIRM, P.C.

AHUMADA, JULIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14505          MORELLI LAW FIRM, PLLC

AIELLO, LYNDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15711          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AIKENS, CHELSEA                LA - DISTRICT COURT - ASCENSION PARISH      119332D                GALANTE & BIVALACQUA LLC

AIKENS, CHELSEA                LA - DISTRICT COURT - ASCENSION PARISH      119332D                POURCIAU LAW FIRM, LLC

AIKENS, CHELSEA                LA - DISTRICT COURT - ASCENSION PARISH      119332D                THE CHEEK LAW FIRM

AIKENS, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07711          ONDERLAW, LLC

AIME, ALEXANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13396          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AIMES, MARVA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08790          ONDERLAW, LLC

AINILIAN, MARY                 CA - SUPERIOR COURT - SANTA CLARA COUNTY    18CV330377             THE MILLER FIRM, LLC

                               CA - SUPERIOR COURT - SAN BERNARDINO
AITCHISON, JACQUELINE                                                      CIVDS1904272           BISNAR AND CHASE
                               COUNTY
AITYAHIA, ABDERR               NY - SUPREME COURT - NYCAL                  190112/2017            MEIROWITZ & WASSERBERG, LLP

AITYAHIA, ABDERR               NY - SUPREME COURT - NYCAL                  190112/2017            MEIROWITZ & WASSERBERG, LLP

AJAMY, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21169          ONDERLAW, LLC

AKEMANN, KARLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02169          JOHNSON LAW GROUP

AKERS, BELINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06549          ONDERLAW, LLC

AKERS, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19725          ARNOLD & ITKIN LLP

AKERS, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20478          HOLLAND LAW FIRM

AKERS, VERONICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12936          BURNS CHAREST LLP




                                                                          Page 11 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 13 of 702

              Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

AKERS, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12936          BURNS CHAREST LLP

AKERS, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08415          THE SEGAL LAW FIRM

AKINS, DIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AKINS, DIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          ONDERLAW, LLC

AKINS, DIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          PORTER & MALOUF, PA

AKINS, DIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          THE SMITH LAW FIRM, PLLC

AKINS, LOUELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10974          NACHAWATI LAW GROUP

AKINS, OLGA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06770          ONDERLAW, LLC

AKINS, TANYA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003207-21        WEITZ & LUXENBERG

AKRIDGE, NICOLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06718          THE SIMON LAW FIRM, PC

AKTARY, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16329          NACHAWATI LAW GROUP

AL CATANTII, SASHAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12780          THE DEATON LAW FIRM

ALABA, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16690          JOHNSON LAW GROUP

ALAMILLO, ERICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00055          ONDERLAW, LLC

ALAMILLO, JOAQUINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15411          ONDERLAW, LLC

ALANDT, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-15522          GORI JULIAN & ASSOCIATES, P.C.

ALANIS, GAUDALUPE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07463          ONDERLAW, LLC

ALANIS, GRACIELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05128          HOLLAND LAW FIRM

ALANIZ, ODELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11956          ONDERLAW, LLC

ALBA, JOSELINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11661          NACHAWATI LAW GROUP

ALBACH, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

ALBACH, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

ALBACH, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15021          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ALBACH, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

AL-BADEE, TASKIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

AL-BADEE, TASKIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

AL-BADEE, TASKIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ALBAN, HARRIET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03105          WILLIAMS HART LAW FIRM

ALBANESE, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07801          BISNAR AND CHASE

ALBEDYLL, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04032          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALBER, ZACHARY M.                NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-000955-21        WEITZ & LUXENBERG

ALBERDING, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12711          ONDERLAW, LLC

ALBERDING, ROSEMARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09662          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALBERGO, LILLIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11974          FLETCHER V. TRAMMELL



                                                                            Page 12 of 1405
                                Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                               Appendix A (Part 1) Page 14 of 702

               Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

ALBERS, BILLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09195          ONDERLAW, LLC

ALBERT LANGEVIN, JR.               IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ALBERT, ESTELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19769          LIAKOS LAW APC

ALBERT, ESTELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19769          NACHAWATI LAW GROUP

ALBERT, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09141          ONDERLAW, LLC

ALBERT, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01497          ASHCRAFT & GEREL

ALBERT, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01497          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALBERT, LULA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALBERT, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00096          THE SEGAL LAW FIRM

ALBERT, RETHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-06061          PARKER WAICHMAN, LLP

ALBERT, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02844          ONDERLAW, LLC

ALBERTIN, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09708          ONDERLAW, LLC

ALBERTINE, ANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02389          MOTLEY RICE, LLC

ALBERTS, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03656          ARNOLD & ITKIN LLP

ALBEY, CLAUDINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00907          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALBIN, CARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17469          ONDERLAW, LLC

ALBORANO, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19320          CELLINO & BARNES, P.C.

ALBRECHT, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06722          ONDERLAW, LLC

ALBRIGHT, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07232          ONDERLAW, LLC

ALBRIGHT, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18254          MOTLEY RICE, LLC

ALBRIGHT-WILSON, JENNIFER          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17742          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ALBRITTON, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10426          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

ALCALA, SUSANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11166          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

ALCOTT, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04212          ONDERLAW, LLC

ALDAPA, PEARL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03377          ONDERLAW, LLC

ALDERSON, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11849          NACHAWATI LAW GROUP

ALDRICH, SHERYLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04308          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
ALDRICH,K.; DECHRISTOFARO,J.;
                                   CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC62173                THE MILLER FIRM, LLC
KNUTSON,M.
ALDRICH-JACOBS, LISA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21489          ONDERLAW, LLC

ALDRIDGE, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17782          THE SEGAL LAW FIRM

ALDRIDGE, KATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14764          ONDERLAW, LLC

ALDRIDGE, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19085          NACHAWATI LAW GROUP

ALDRIDGE, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08645          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                              Page 13 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                             Appendix A (Part 1) Page 15 of 702

              Claimant Name                        State Filed                      Docket Number                             Plaintiff Counsel

ALEGANDRA-DOMINGUEZ, SINDY       IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ALEGRE, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16783          ARNOLD & ITKIN LLP

ALEGRIA, BERNICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07492          ONDERLAW, LLC

ALEGRIA, MONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02948          ARNOLD & ITKIN LLP

ALEGRIA, PAULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19090          NACHAWATI LAW GROUP

ALEJANDRA SALLEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-19641          JOHNSON BECKER, PLLC

ALEJANDRE, ERIKA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09551          ONDERLAW, LLC

ALEJANDRE, ERIKA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09551          ONDERLAW, LLC

ALEJANDRE, ERIKA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09551          ONDERLAW, LLC

ALEJANDRO, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05158          ONDERLAW, LLC

ALEJO, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09716          ONDERLAW, LLC

ALEJO, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09716          ONDERLAW, LLC

ALEJO, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09716          ONDERLAW, LLC

ALEMANY, GRETZA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09326          CHILDERS, SCHLUETER & SMITH, LLC

ALENA POTES                      FEDERAL - MDL                               3:21-CV-16550          DAVIS, BETHUNE & JONES, L.L.C.

ALEQUIN, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13149          THE SEGAL LAW FIRM

ALESSI, VICKY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13349          BURNS CHAREST LLP

ALESSIO, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02638          WILLIAMS HART LAW FIRM

ALEX, VERA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01479          JOHNSON LAW GROUP

ALEXANDER, ALESHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16395          NACHAWATI LAW GROUP

ALEXANDER, ANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02750          ONDERLAW, LLC

ALEXANDER, ANNETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05956          ONDERLAW, LLC

ALEXANDER, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15890          DALIMONTE RUEB, LLP

ALEXANDER, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-04609          WAGSTAFF & CARTMELL, LLP

ALEXANDER, BERTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07544          SLACK & DAVIS LLP

ALEXANDER, BESSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14121          THE DUGAN LAW FIRM

ALEXANDER, CAROLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06792          NACHAWATI LAW GROUP

ALEXANDER, CHARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05210          ONDERLAW, LLC

ALEXANDER, DEEDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12472          SANDERS VIENER GROSSMAN, LLP

ALEXANDER, DORINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

ALEXANDER, DORINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18364          FLETCHER V. TRAMMELL

ALEXANDER, DORINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

ALEXANDER, DORINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ALEXANDER, HARRIET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06788          ONDERLAW, LLC



                                                                            Page 14 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 16 of 702

              Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

ALEXANDER, JANNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12919          BURNS CHAREST LLP

ALEXANDER, JANNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12919          BURNS CHAREST LLP

ALEXANDER, JEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20265          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALEXANDER, JOETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08787          ONDERLAW, LLC

ALEXANDER, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01762          TRAMMELL PC

ALEXANDER, LEOLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-01576          BURNS CHAREST LLP

ALEXANDER, LINDA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-1932-16          ASHCRAFT & GEREL

ALEXANDER, LISA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-87-18            GOLOMB SPIRT GRUNFELD PC

ALEXANDER, NORMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09908          ONDERLAW, LLC

ALEXANDER, PAT                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05487          ONDERLAW, LLC

ALEXANDER, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09189          ONDERLAW, LLC

ALEXANDER, PRENELLA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14983          ONDERLAW, LLC

ALEXANDER, REATHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02862          JASON J. JOY & ASSCIATES P.L.L.C.

ALEXANDER, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17746          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ALEXANDER, SHANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09868          ONDERLAW, LLC

ALEXANDER, SHERRY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00477          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

ALEXANDER, TILSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16331          NACHAWATI LAW GROUP

ALEXANDER, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

ALEXANDER, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

ALEXANDER, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ALEXIS BROWN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003316-21        WEITZ & LUXENBERG

ALEXIS WINCHESTER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18202          ONDERLAW, LLC

ALEY, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17666          THE MILLER FIRM, LLC

ALFINITO-RENTA, QUINTETTE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09311          ONDERLAW, LLC

ALFONSO, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07641          VENTURA LAW

ALFORD, ALFREDIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15927          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ALFORD, ANDREA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10616          NACHAWATI LAW GROUP

ALFORD, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11826          NACHAWATI LAW GROUP

ALFORD, ETHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20050          NACHAWATI LAW GROUP

ALFORD, JENNY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04866          ONDERLAW, LLC

ALFORD, KAY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07426          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALFORD, PEGGY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19095          NACHAWATI LAW GROUP

ALFORD, RUBY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17778          ASHCRAFT & GEREL, LLP

ALFORD, RUBY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17778          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 15 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 17 of 702

               Claimant Name                        State Filed                      Docket Number                             Plaintiff Counsel

ALFORD, VICKI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-09506          THE DIAZ LAW FIRM, PLLC

ALFORQUE, CECELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16335          NACHAWATI LAW GROUP

ALFRED, NATALIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07763          ONDERLAW, LLC

ALFRED, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18677          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALFRED, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-01485          MORRIS BART & ASSOCIATES

ALFRED, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03473          ONDERLAW, LLC

ALGER, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01117          CHILDERS, SCHLUETER & SMITH, LLC

ALGER, JUANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14174          ASHCRAFT & GEREL, LLP

ALGER, JUANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14174          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALHART, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13495          ONDERLAW, LLC

ALI, NEELAM                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17472          ONDERLAW, LLC

ALI, ZANIFFA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19105          NACHAWATI LAW GROUP

ALICE JACKSON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14196          SLATER, SLATER, SCHULMAN, LLP

ALICE MADDOX                      FEDERAL - MDL                               3:21-CV-19049          MOTLEY RICE, LLC

ALICE ZEHNPFENNIG                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-19726          JOHNSON BECKER, PLLC

ALICEA, ANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17674          MILBERG COLEMAN BRYSON PHILLIPS

ALISHA HUMAGAIN                   DC - USDC FOR THE DISTRICT OF COLUMBIA      1:21-CV-02758          ASHCRAFT & GEREL

ALISHA HUMAGAIN                   DC - USDC FOR THE DISTRICT OF COLUMBIA      1:21-CV-02758          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALKHAS, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09373          ARNOLD & ITKIN LLP

ALKHOURI, MADLAIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10402          ARNOLD & ITKIN LLP

ALKINS, MARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09801          ONDERLAW, LLC

ALKIRE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08114          ONDERLAW, LLC

ALLARD, JANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14715          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ALLBACK, CLAIRE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00024          CELLINO & BARNES, P.C.

ALLBRIGHT, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08732          ARNOLD & ITKIN LLP

ALLBRIGHT, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08732          THE GORNY LAW FIRM, LC

ALLCHIN, LUCILLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10237          GOLDENBERGLAW, PLLC

ALLDAY, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08436          THE DUGAN LAW FIRM, APLC

ALLEE, ILA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11084          SILL LAW GROUP, PLLC

ALLEMAN, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08347          THE SEGAL LAW FIRM

ALLEN, ALLISON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06082          BURNS CHAREST LLP

ALLEN, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06861          JOHNSON LAW GROUP

ALLEN, ANNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14200          NAPOLI SHKOLNIK, PLLC

ALLEN, ARNELLIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19022          MESHBESHER & SPENCE, LTD.



                                                                             Page 16 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 18 of 702

               Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

ALLEN, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11281          ASHCRAFT & GEREL

ALLEN, BEULAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05749          ONDERLAW, LLC

ALLEN, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05794          ONDERLAW, LLC

ALLEN, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11821          WILLIAMS HART LAW FIRM

ALLEN, CARLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09005          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN, CHARLOTTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13514          THE MILLER FIRM, LLC

ALLEN, CLAIRE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-03944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN, CLARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09827          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN, CONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02999          FLETCHER V. TRAMMELL

ALLEN, CONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14481          ONDERLAW, LLC

ALLEN, DARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14230          NAPOLI SHKOLNIK, PLLC

ALLEN, DARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07131          DALIMONTE RUEB, LLP

ALLEN, DEANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00257          BERMAN & SIMMONS, P. A.

ALLEN, DEANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00257          LAW OFFICES OF MICHAEL L. RAIR, PA

ALLEN, DEBBIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-15631          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19736          ARNOLD & ITKIN LLP

ALLEN, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16995          JOHNSON LAW GROUP

ALLEN, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15918          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ALLEN, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07307          WAGSTAFF & CARTMELL, LLP

ALLEN, EBONY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01066          ONDERLAW, LLC

ALLEN, ELAINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09947          MORRIS BART & ASSOCIATES

ALLEN, GLENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN, GLENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          ONDERLAW, LLC

ALLEN, GLENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          PORTER & MALOUF, PA

ALLEN, GLENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          THE SMITH LAW FIRM, PLLC

ALLEN, GLENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12267          ASHCRAFT & GEREL

ALLEN, GLENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12267          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN, HOPE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11964          ONDERLAW, LLC

ALLEN, HOUSTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-03561          ONDERLAW, LLC

ALLEN, IISHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05598          ONDERLAW, LLC

ALLEN, IRENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09838          FLETCHER V. TRAMMELL

ALLEN, IVETTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07744          DALIMONTE RUEB, LLP

ALLEN, JAMIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08827          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN, JAMIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03555          EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP



                                                                             Page 17 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 19 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ALLEN, JAMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03555          SALTZ MONGELUZZI & BENDESKY PC

ALLEN, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-13021          GOLDENBERGLAW, PLLC

ALLEN, JEANINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12691          GOLDENBERGLAW, PLLC

ALLEN, JESSICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01207          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

ALLEN, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07339          LAW OFF OF ROGER 'ROCKY' WALTON, PC

ALLEN, JUNE                      MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN, JUNE                      MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00448           ONDERLAW, LLC

ALLEN, JUNE                      MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00448           PORTER & MALOUF, PA

ALLEN, JUNE                      MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00448           THE SMITH LAW FIRM, PLLC

ALLEN, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11109          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

ALLEN, KAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15539          GIRARDI & KEESE

ALLEN, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16218          CORY, WATSON, CROWDER & DEGARIS P.C.

ALLEN, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00765          NACHAWATI LAW GROUP

ALLEN, KELLY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09326-01        ONDERLAW, LLC

ALLEN, KELLY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09326-01        PORTER & MALOUF, PA

ALLEN, KELLY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09326-01        THE SMITH LAW FIRM, PLLC

ALLEN, KERRIE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN, KERRIE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          ONDERLAW, LLC

ALLEN, KERRIE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          PORTER & MALOUF, PA

ALLEN, KERRIE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          THE SMITH LAW FIRM, PLLC

ALLEN, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08500          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

ALLEN, KRISTI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04045          ONDERLAW, LLC

ALLEN, KRISTI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19581          ONDERLAW, LLC

ALLEN, KRISTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10064          GORI JULIAN & ASSOCIATES, P.C.

ALLEN, LEAHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00597          GOLOMB & HONIK, P.C.

ALLEN, LETHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10876          NACHAWATI LAW GROUP

ALLEN, LORAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08507          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN, LULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13816          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN, MARIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21792          ONDERLAW, LLC

ALLEN, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01162          GORI JULIAN & ASSOCIATES, P.C.

ALLEN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00908          HOLLAND LAW FIRM

ALLEN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14030          THORNTON LAW FIRM LLP

ALLEN, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00567          THE MILLER FIRM, LLC

ALLEN, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17698          ONDERLAW, LLC



                                                                            Page 18 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 20 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ALLEN, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01874          CAMPBELL & ASSOCIATES

ALLEN, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01874          FRAZER PLC

ALLEN, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01898          LENZE LAWYERS, PLC

ALLEN, RONDALYN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2901-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN, RONDALYN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2901-15          PORTER & MALOUF, PA

ALLEN, RONDALYN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2901-15          SEEGER WEISS LLP

ALLEN, RONDALYN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2901-15          THE SMITH LAW FIRM, PLLC

ALLEN, ROSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11147          ONDERLAW, LLC

ALLEN, ROSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11147          ONDERLAW, LLC

ALLEN, ROSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11147          ONDERLAW, LLC

ALLEN, ROSEMARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10824          ASHCRAFT & GEREL, LLP

ALLEN, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00020          CELLINO & BARNES, P.C.

ALLEN, SABYNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08598          CHILDERS, SCHLUETER & SMITH, LLC

ALLEN, SALLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12303          THE SEGAL LAW FIRM

ALLEN, SHANEITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11809          FLETCHER V. TRAMMELL

ALLEN, SHANEKA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00484          NACHAWATI LAW GROUP

ALLEN, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01512          ASHCRAFT & GEREL

ALLEN, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01512          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN, SHERYL                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09326-01        ONDERLAW, LLC

ALLEN, SHERYL                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09326-01        PORTER & MALOUF, PA

ALLEN, SHERYL                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09326-01        THE SMITH LAW FIRM, PLLC

ALLEN, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16354          NACHAWATI LAW GROUP

ALLEN, THERESA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002341-20        GOLOMB & HONIK, P.C.

ALLEN, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12473          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

ALLEN, TRACY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13894          ONDERLAW, LLC

ALLEN, VICTORIA                  CA - SUPERIOR COURT - SANTA CLARA COUNTY    17CV318669             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ALLEN, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08458          SANDERS VIENER GROSSMAN, LLP

ALLEN, VIVIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09782          DANIEL & ASSOCIATES, LLC

ALLEN, WANDA                     IL - CIRCUIT COURT - COOK COUNTY            2018-L-1786            CLIFFORD LAW OFFICES, P.C.

ALLEN, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16349          NACHAWATI LAW GROUP

ALLEN, WANDA                     IL - CIRCUIT COURT - COOK COUNTY            2018-L-1786            TAFT STETTINIUS & HOLLISTER LLP

ALLEN, WILLIAM                   NY - SUPREME COURT - NYCAL                  190429/2018            MEIROWITZ & WASSERBERG, LLP

ALLEN, WILLIAM T                 NY - SUPREME COURT - NYCAL                  190429/2018            MEIROWITZ & WASSERBERG, LLP




                                                                            Page 19 of 1405
                            Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                            Appendix A (Part 1) Page 21 of 702

            Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ALLENBERG, TAMARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08152          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLEN-WILBORN, JANET           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16200          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ALLEY, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08382          HOLLAND LAW FIRM

ALLGAIER, JUDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17612          ONDERLAW, LLC

ALLGAYER, JESSICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08294          FLETCHER V. TRAMMELL

ALLGEIER, HARRIET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06751          ONDERLAW, LLC

ALLGIER, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13453          WEXLER WALLACE LLP

ALLGOOD, MADONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13956          MORELLI LAW FIRM, PLLC

ALLGOOD, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15696          MORRIS BART & ASSOCIATES

ALLINGHAM, LOIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11286          GORI JULIAN & ASSOCIATES, P.C.

ALLISON, ANDREA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01431          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLISON, ANGELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20171          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLISON, BETTY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLISON, BETTY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          ONDERLAW, LLC

ALLISON, BETTY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          PORTER & MALOUF, PA

ALLISON, BETTY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          THE SMITH LAW FIRM, PLLC

ALLISON, HELEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08153          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLISON, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07679          SIMMONS HANLY CONROY

ALLISON, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09034          JOHNSON LAW GROUP

ALLISON, OMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12731          GIRARDI & KEESE

ALLISON, SHARON                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLISON, SHARON                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           GOLDENBERGLAW, PLLC

ALLISON, SHARON                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           ONDERLAW, LLC

ALLISON, SHARON                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           PORTER & MALOUF, PA

ALLISON, SHARON                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           THE SMITH LAW FIRM, PLLC

ALLIZZO, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00488          JOHNSON BECKER, PLLC

ALLMAN, KATIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10013          ONDERLAW, LLC

ALLMYER, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09457          ONDERLAW, LLC

ALLOCCA, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00678          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLOUCHE, ROSEMARIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17269          ONDERLAW, LLC

ALLRED, BOBBIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05387          ONDERLAW, LLC

ALLSBROOK, FRIDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16104          NACHAWATI LAW GROUP

ALLSHOUSE, MARGARET            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           ONDERLAW, LLC

ALLSHOUSE, MARGARET            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           PORTER & MALOUF, PA



                                                                          Page 20 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 22 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ALLSHOUSE, MARGARET              MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           THE SMITH LAW FIRM, PLLC

ALLSOP, DIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13505          FLETCHER V. TRAMMELL

ALLTOP, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09777          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALLUMS, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11847          NACHAWATI LAW GROUP

ALLWOOD, NELLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11067          NACHAWATI LAW GROUP

ALMA WHITE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18738          MCSWEENEY/LANGEVIN, LLC
                                 CA - SUPERIOR COURT - SAN BERNARDINO
ALMANZA, SYLVIA                                                              CIVDS1811929           ASPEY, WATKINS & DIESEL, PLLC
                                 COUNTY
                                 CA - SUPERIOR COURT - SAN BERNARDINO
ALMANZA, SYLVIA                                                              CIVDS1811929           BURNS CHAREST LLP
                                 COUNTY
ALMARAZ, NORMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01142          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ALMEATHA CAPEHART                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18617          WEITZ & LUXENBERG

ALMEIDA, JANEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09340          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALMOND, KITTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09353          ONDERLAW, LLC

ALMOND, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07606          ONDERLAW, LLC

AL-NURRIDIN, FATIMAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01353          JOHNSON LAW GROUP

ALONSO, TAMMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12016          ONDERLAW, LLC

ALONZO, BLANCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17794          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ALORSAN, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-13192          REICH & BINSTOCK, LLP

ALRASHDAN, REBECCA               NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003231-21        WEITZ & LUXENBERG

ALRUBAIIE, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11009          PARKER WAICHMAN, LLP

ALSOP, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11441          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALSTON, DIANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06473          MCGOWAN, HOOD & FELDER, LLC

ALSTON, GAIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11133          GORI JULIAN & ASSOCIATES, P.C.

ALSTON, RUTH                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2071-15          GOLOMB SPIRT GRUNFELD PC

ALSTON, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17534          SAUNDERS & WALKER, P.A.

ALSTON-SIMMONS, LAVONA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05195          ONDERLAW, LLC

ALSTROM, NORMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07506          ASHCRAFT & GEREL, LLP

ALSTROM, NORMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07506          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALSUP, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09630          ASHCRAFT & GEREL

ALT, TRACY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09653          ONDERLAW, LLC

ALTER, EILEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13087          ONDERLAW, LLC

ALTERA, KAY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05842          ONDERLAW, LLC

ALTHANS-BURNS, STACEY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16807          ONDERLAW, LLC

ALTMAN, FLORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18988          MOTLEY RICE, LLC




                                                                            Page 21 of 1405
                             Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 23 of 702

           Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel

ALTRINGER, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02394          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALTRINGER, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02394          ONDERLAW, LLC

ALTRINGER, REBECCA                CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC681837               ONDERLAW, LLC

ALTRINGER, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02394          PORTER & MALOUF, PA

ALTRINGER, REBECCA                CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC681837               SALKOW LAW, APC

ALTRINGER, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02394          THE SMITH LAW FIRM, PLLC

ALVARADO, DENISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16376          NACHAWATI LAW GROUP

ALVARADO, ELENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01153          ONDERLAW, LLC

ALVARADO, JACQUELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06389          ONDERLAW, LLC

ALVARADO, LOURDES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02642          MORELLI LAW FIRM, PLLC

ALVARADO, MARIA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-001490-20        GOLOMB & HONIK, P.C.

ALVARADO, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15286          SALTZ MONGELUZZI & BENDESKY PC

ALVARADO, NILDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00349          ASHCRAFT & GEREL

ALVARADO, NILDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00349          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALVARADO, NORMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-03945          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALVARADO, VINNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07442          DALIMONTE RUEB, LLP

ALVARADO, YAHAIRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05171          JOHNSON BECKER, PLLC

ALVAREZ, ANGELINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15148          ONDERLAW, LLC

ALVAREZ, BERTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00025          CELLINO & BARNES, P.C.

ALVAREZ, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04037          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALVAREZ, GRACIELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00832          ONDERLAW, LLC

ALVAREZ, JUANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12771          THE MILLER FIRM, LLC

ALVAREZ, LUZ                      NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L002487-20         GOLOMB & HONIK, P.C.

ALVAREZ, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10834          ASHCRAFT & GEREL, LLP

ALVAREZ, MARIA                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-005353-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD
ALVAREZ, MIGUEL THE ESTATE OF M
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-005353-21        LEVY KONIGSBERG LLP
ALVAREZ
ALVAREZ, MILAGROS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02806          DALIMONTE RUEB, LLP

ALVAREZ, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16490          NACHAWATI LAW GROUP

ALVAREZ, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04290          ONDERLAW, LLC

ALVAREZ, VALERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02452          ONDERLAW, LLC

ALVAREZ, YANIRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12197          ONDERLAW, LLC

ALVAREZ-CEPEDA, MARIA             NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-001993-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP




                                                                             Page 22 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 24 of 702

           Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

ALVAREZ-PEREZ, YVETTE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-03944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALVAREZ-PEREZ, YVETTE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-03944          ONDERLAW, LLC

ALVAREZ-PEREZ, YVETTE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-03944          PORTER & MALOUF, PA

ALVAREZ-PEREZ, YVETTE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-03944          THE SMITH LAW FIRM, PLLC

ALVEREZ-PEREZ, YVETTE         NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2237-17          GOLOMB SPIRT GRUNFELD PC

ALVERSON, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01299          MOTLEY RICE, LLC

ALVES, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04239          ONDERLAW, LLC

ALVILLAR, HELEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04339          MOTLEY RICE, LLC

ALVIN DEFOREST                IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ALVIS, KATHRYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08914          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ALVY, CRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11406          HEYGOOD, ORR & PEARSON

ALYINOVICH, ELIZABETH         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-03381          ONDERLAW, LLC

ALYSHA AUGUSTUS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18244          WEITZ & LUXENBERG

ALZAMORA, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10173          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AMADON, JEANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08648          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AMANA, LANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04300          ONDERLAW, LLC

AMANDA HIGHMAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18499          WEITZ & LUXENBERG

AMANDA HINES                  FEDERAL - MDL                               3:21-CV-19705          JOHNSON BECKER, PLLC

AMANDA ROBERTS                DC - USDC FOR THE DISTRICT OF COLUMBIA      1:21-CV-02750          ASHCRAFT & GEREL

AMANDA ROBERTS                DC - USDC FOR THE DISTRICT OF COLUMBIA      1:21-CV-02750          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AMANDA STUTSMAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18497          ONDERLAW, LLC

AMANULLAH, FARKHANDA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04330          ONDERLAW, LLC

AMARA, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01080          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AMARAL, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-11363          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

AMARO, HILARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20354          ONDERLAW, LLC

AMATO, FELICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03343          JOHNSON LAW GROUP

AMAUGWU, JOY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16289          THE MILLER FIRM, LLC

AMAYA, PAULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08859          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

AMBADJES, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07627          ONDERLAW, LLC

AMBER BRIDGES                 FEDERAL - MDL                               3:21-CV-19503          ONDERLAW, LLC

AMBER MADDOX                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18073          WEITZ & LUXENBERG

AMBERT, NORMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09581          THE MILLER FIRM, LLC
                              CA - SUPERIOR COURT - SAN BERNARDINO
AMBRIZ, ALIZA                                                             081611616              BAUM, HEDLUND, ARISTEI & GOLDMAN,PC
                              COUNTY




                                                                         Page 23 of 1405
                               Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                                Appendix A (Part 1) Page 25 of 702

               Claimant Name                          State Filed                     Docket Number                              Plaintiff Counsel

AMBROS, KATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16294          ARNOLD & ITKIN LLP

AMBROSE, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14306          ASHCRAFT & GEREL, LLP

AMBROSE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11726          COHEN & MALAD, LLP

AMBROSE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11726          NIX PATTERSON & ROACH

AMBURGY, CHARLOTTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06292          FLETCHER V. TRAMMELL

AMBURN, SHAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08831          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AMELITA DEL MUNDO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18364          WAGSTAFF LAW FIRM

AMENDOLA, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19368          NACHAWATI LAW GROUP

AMENDOLA, RACHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05717          CELLINO & BARNES, P.C.

AMENGUAL, CARMEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06852          JOHNSON LAW GROUP

AMENTA, CATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02662          POTTS LAW FIRM

AMERKANIAN, LINDA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002332-21        SLATER, SLATER, SCHULMAN, LLP

AMERSON, DEANDRA                   CA - SUPERIOR COURT - LOS ANGELES COUNTY    CGC-20-588782          ARNOLD & ITKIN LLP

AMERSON, DEANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08805          ONDERLAW, LLC

AMES, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11973          NACHAWATI LAW GROUP
AMES-FRITZ, DENYSE EST OF STEVEN
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-007796-20        WEITZ & LUXENBERG
FRITZ
AMEY, DEBRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10626          ARNOLD & ITKIN LLP

AMEZCUA, OFELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01604          DALIMONTE RUEB, LLP

AMHOLT, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09905          ONDERLAW, LLC

AMHOLT, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09905          ONDERLAW, LLC

AMHOLT, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09905          ONDERLAW, LLC

AMI, HELEN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17294          BURNS CHAREST LLP

AMICA, JACQUELINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07061          HEYGOOD, ORR & PEARSON

AMIN, JALPABEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-06902          NAPOLI SHKOLNIK, PLLC

AMIN, SUSIE                        GA - STATE COURT OF SPALDING COUNTY         19V-1210               BARNES LAW GROUP, LLC

AMIN, SUSIE                        GA - STATE COURT OF SPALDING COUNTY         19V-1210               CHEELEY LAW GROUP

AMIRGHAHARI, NILOOFAR              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17461          ONDERLAW, LLC

AMIRGHOLI, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09267          ONDERLAW, LLC

AMIRO, HEIDI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           ASHCRAFT & GEREL

AMIRO, HEIDI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AMIRO, HEIDI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           ONDERLAW, LLC

AMIRO, HEIDI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           PORTER & MALOUF, PA

AMIRO, HEIDI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           THE SMITH LAW FIRM, PLLC




                                                                              Page 24 of 1405
                             Case 23-12825-MBK                  Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                                Appendix A (Part 1) Page 26 of 702

             Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel

AMISTADI, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05718          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AMLONG, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04428          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AMMAR, JACQUELINE                   IL - CIRCUIT COURT - COOK COUNTY            2020L013347            ONDERLAW, LLC

AMMESMAKI, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20356          ONDERLAW, LLC

AMMONS, CHRISTINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01329          LINVILLE LAW GROUP

AMMONS, PHYLLIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09730          ONDERLAW, LLC

AMMONS, SHELLEY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003260-21        WEITZ & LUXENBERG

AMO, DONNA                          NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-000590-19        BEREZOFSKY LAW GROUP, LLC

AMO, DONNA                          NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-000590-19        THE MILLER FIRM, LLC

AMODEI, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07518          ASHCRAFT & GEREL

AMODEI, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07518          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AMOGRETTI, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00796          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AMOGRETTI, GLORIA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2281-17          GOLOMB SPIRT GRUNFELD PC

AMOGRETTI, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00796          ONDERLAW, LLC

AMOGRETTI, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00796          PORTER & MALOUF, PA

AMOGRETTI, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00796          THE SMITH LAW FIRM, PLLC

AMOS, JACQUELINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16514          JOHNSON LAW GROUP

AMOS, MARY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12368          THE SIMON LAW FIRM, PC

AMOS, SARAH                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02347          ONDERLAW, LLC

AMRICH, SHEILA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-000642-18        GOLOMB SPIRT GRUNFELD PC

AMRINE, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15373          MILLER DELLAFERA PLC

AMRON, ROBERT                       NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-02045-19AS       MAUNE RAICHLE HARTLEY FRENCH & MUDD

AMRON, ROBERT K. AND AMRON, ROSE A. NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-02045-19AS       LEVY KONIGSBERG LLP

AMSBRY, KARINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07200          ONDERLAW, LLC

AMY FRELIGH                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18287          WEITZ & LUXENBERG

AMY HOWE                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18455          WEITZ & LUXENBERG

AMY STALEY                          NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003385-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

ANABLE, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02489          ONDERLAW, LLC

ANANOPULOS, NANCY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-001429-20          KLINE & SPECTER, P.C.

ANASTASIA, ELAINE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-000483-21        GOLOMB & HONIK, P.C.

ANCIRA, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13221          DALIMONTE RUEB, LLP

ANDERS, NAOMI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12804          MORELLI LAW FIRM, PLLC

ANDERS, TAMMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03279          BLASINGAME, BURCH, GARRARD & ASHLEY, PC




                                                                               Page 25 of 1405
                           Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                           Appendix A (Part 1) Page 27 of 702

           Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ANDERSEN, CHARLOTTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09434          ROSS FELLER CASEY, LLP

ANDERSEN, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00528          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

ANDERSEN, DAWN                NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002835-21        GOLOMB & HONIK, P.C.

ANDERSEN, MARSHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08957          MOTLEY RICE, LLC

ANDERSEN, RITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08327          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSEN, TRACEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08791          ONDERLAW, LLC

ANDERSON, ADA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10728          MORGAN & MORGAN

ANDERSON, ADA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00002          THE SEGAL LAW FIRM

ANDERSON, AMANDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16609          NACHAWATI LAW GROUP

ANDERSON, AUTUMN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15826          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ANDERSON, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10438          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19903          NACHAWATI LAW GROUP

ANDERSON, BARBARA             MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09821           ONDERLAW, LLC

ANDERSON, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16102          ONDERLAW, LLC

ANDERSON, BARBARA             MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09821           PORTER & MALOUF, PA

ANDERSON, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-04364          ROSS FELLER CASEY, LLP

ANDERSON, BARBARA             MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09821           THE SMITH LAW FIRM, PLLC

ANDERSON, BEATRICE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12266          ONDERLAW, LLC

ANDERSON, BERNICE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01790          ASHCRAFT & GEREL

ANDERSON, BERNICE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, BETTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16329          MOORE LAW GROUP PLLC

ANDERSON, BETTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16128          NACHAWATI LAW GROUP

ANDERSON, BRANDY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20052          ARNOLD & ITKIN LLP

ANDERSON, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02528          ARNOLD & ITKIN LLP

ANDERSON, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02943          BARRETT LAW GROUP, P.A.

ANDERSON, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02943          BURNS CHAREST LLP

ANDERSON, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02943          BURNS CHAREST LLP

ANDERSON, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-15299          CELLINO & BARNES, P.C.

ANDERSON, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18224          CELLINO & BARNES, P.C.

ANDERSON, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02943          GOLDENBERG HELLER & ANTOGNOLI, PC

ANDERSON, CARLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13399          NACHAWATI LAW GROUP

ANDERSON, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-10257          ONDERLAW, LLC

ANDERSON, CAROLYN             NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-02533-18AS       WEITZ & LUXENBERG

ANDERSON, CASEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11305          NACHAWATI LAW GROUP



                                                                         Page 26 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                          Appendix A (Part 1) Page 28 of 702

           Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

ANDERSON, CHARLENE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06880          ONDERLAW, LLC

ANDERSON, CHARLOTTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13820          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, CHERIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13320          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, CHRISTINA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06045          FLETCHER V. TRAMMELL
ANDERSON, CHRISTINE AND
                              NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-005296-20        WEITZ & LUXENBERG
ANDERSON,WILLIAM
ANDERSON, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12087          BARRETT LAW GROUP

ANDERSON, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07007          ONDERLAW, LLC

ANDERSON, DANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14360          FLETCHER V. TRAMMELL

ANDERSON, DARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21534          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07123          WILLIAMS HART LAW FIRM

ANDERSON, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02733          JOHNSON LAW GROUP

ANDERSON, DELANDRA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09895          CELLINO & BARNES, P.C.

ANDERSON, DEMERITA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-04771          ONDERLAW, LLC

ANDERSON, DIANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09502          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, DIANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09502          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, DIANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09502          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12282          ONDERLAW, LLC

ANDERSON, DORIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06721          THE SIMON LAW FIRM, PC

ANDERSON, DRONDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03442          ONDERLAW, LLC

ANDERSON, DYNNIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08045          ASHCRAFT & GEREL

ANDERSON, EDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06950          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, ELISA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-05396          BARON & BUDD, P.C.

ANDERSON, ELLEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18644          FLETCHER V. TRAMMELL

ANDERSON, ELOUISE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-07087          BURNS CHAREST LLP

ANDERSON, ELOUISE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-07087          BURNS CHAREST LLP

ANDERSON, ESSIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02047          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, FLORENTYNE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10715          BURNS CHAREST LLP

ANDERSON, FRANCES             NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-726-16           GOLOMB SPIRT GRUNFELD PC

ANDERSON, GEORGIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15243          ARNOLD & ITKIN LLP

ANDERSON, GLORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09871          ONDERLAW, LLC

ANDERSON, GLORIA              LA - DISTRICT COURT - ORLEANS PARISH        2019-7716              THE CHEEK LAW FIRM

ANDERSON, GLORIA              LA - DISTRICT COURT - ORLEANS PARISH        2019-7716              UNGLESBY LAW FIRM

ANDERSON, GWENDOLYN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05184          ONDERLAW, LLC




                                                                         Page 27 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 29 of 702

           Claimant Name                        State Filed                      Docket Number                               Plaintiff Counsel

ANDERSON, HOLLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-08749          BURNS CHAREST LLP

ANDERSON, HOLLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-08749          BURNS CHAREST LLP

ANDERSON, HOLLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-08749          THE PATE LAW FIRM

ANDERSON, IDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12282          THE DIAZ LAW FIRM, PLLC

ANDERSON, JANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16910          JOHNSON LAW GROUP

ANDERSON, JANET               CA - SUPERIOR COURT - SANTA CLARA COUNTY    18CV327583             DANIEL & ASSOCIATES, LLC

ANDERSON, JANET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01247          FLEMING, NOLEN & JEZ, LLP

ANDERSON, JANET               CA - SUPERIOR COURT - SANTA CLARA COUNTY    18CV327583             KIESEL LAW, LLP

ANDERSON, JANET               CA - SUPERIOR COURT - SANTA CLARA COUNTY    18CV327583             THE WHITEHEAD LAW FIRM, LLC

ANDERSON, JANINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09562          FLETCHER V. TRAMMELL

ANDERSON, JEAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12060          FRAZER PLC

ANDERSON, JEANETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08402          ONDERLAW, LLC

ANDERSON, JENNIFER            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15611          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, JEWELL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00537          ONDERLAW, LLC

ANDERSON, JOAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09420          ONDERLAW, LLC

ANDERSON, JUANITA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16378          NACHAWATI LAW GROUP

ANDERSON, JUDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08170          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, JUDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10452          THE LAW OFFICES OF SEAN M CLEARY

ANDERSON, JULIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19161          THE BARNES FIRM, LC

ANDERSON, JULIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09855          WILLIAMS HART LAW FIRM

ANDERSON, JULIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12848          WILLIAMS HART LAW FIRM

ANDERSON, KARENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00400          ASHCRAFT & GEREL

ANDERSON, KARENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00400          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, KATHRYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

ANDERSON, KATHRYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-15372          HENINGER GARRISON DAVIS, LLC

ANDERSON, KATHRYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

ANDERSON, KATHRYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ANDERSON, KATHRYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15581          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ANDERSON, KATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17536          ASHCRAFT & GEREL

ANDERSON, KATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14297          THE SEGAL LAW FIRM

ANDERSON, KIMBERLY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-08790          BERNSTEIN LIEBHARD LLP

ANDERSON, KRISTINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16387          NACHAWATI LAW GROUP




                                                                         Page 28 of 1405
                           Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                           Appendix A (Part 1) Page 30 of 702

           Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ANDERSON, LATOSHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-04308          ROSS FELLER CASEY, LLP

ANDERSON, LAURA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09685          ONDERLAW, LLC

ANDERSON, LAURI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07542          WILLIAMS HART LAW FIRM

ANDERSON, LAWRENCE            NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-08180-18AS       WEITZ & LUXENBERG

ANDERSON, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06168          MOTLEY RICE, LLC

ANDERSON, LISA                NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-00769-20AS       KARST & VON OISTE, LLP

ANDERSON, LISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06984          ONDERLAW, LLC

ANDERSON, LISA                NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-00769-20AS       THE EARLY FIRM, LLC

ANDERSON, MACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14777          BACHUS & SCHANKER LLC

ANDERSON, MARGARET            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13330          NACHAWATI LAW GROUP

ANDERSON, MARTHELL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11638          POTTS LAW FIRM

ANDERSON, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05277          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16902          DALIMONTE RUEB, LLP

ANDERSON, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08151          OCONNOR, MCGUINNESS, CONTE, DOYLE,

ANDERSON, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04191          ONDERLAW, LLC

ANDERSON, MAUREEN             ONTARIO (TORONTO)                           CV-22-00679130-0000    PRESZLER INJURY LAWYERS

ANDERSON, MICHELLE            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          GOLDENBERGLAW, PLLC

ANDERSON, MICHELLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01037          MOTLEY RICE NEW JERSEY LLC

ANDERSON, MICHELLE            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          ONDERLAW, LLC

ANDERSON, MICHELLE            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          PORTER & MALOUF, PA

ANDERSON, MICHELLE            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          THE SMITH LAW FIRM, PLLC

ANDERSON, MILDRED             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20173          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, MONA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16333          THE DUGAN LAW FIRM

ANDERSON, MONICA              NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003314-20        GOLOMB & HONIK, P.C.

ANDERSON, MYRTLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11591          BERNSTEIN LIEBHARD LLP

ANDERSON, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21794          ONDERLAW, LLC

ANDERSON, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02642          WILLIAMS HART LAW FIRM

ANDERSON, ORA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17230          THE MILLER FIRM, LLC

ANDERSON, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20706          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ANDERSON, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01688          THE SEGAL LAW FIRM

ANDERSON, PLEASANT            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05822          ONDERLAW, LLC

ANDERSON, RACHEL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18476          FRAZER PLC

ANDERSON, RACHEL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02334          ONDERLAW, LLC

ANDERSON, RENEE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08832          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                         Page 29 of 1405
                           Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                           Appendix A (Part 1) Page 31 of 702

           Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ANDERSON, RITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04086          FLETCHER V. TRAMMELL

ANDERSON, ROBIN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08150          POGUST BRASLOW & MILLROOD, LLC

ANDERSON, ROBYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08792          ONDERLAW, LLC

ANDERSON, ROCHARLENIA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03273          ASHCRAFT & GEREL, LLP

ANDERSON, ROSALYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08140          POULIN, WILLEY, ANASTOPOULO, LLC

ANDERSON, ROSEMARY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-09033          THE MILLER FIRM, LLC

ANDERSON, ROSETTA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12349          ASHCRAFT & GEREL

ANDERSON, ROSETTA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12349          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, SANDRA              NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2427-17          KEEFE BARTELS

ANDERSON, SANDRA              NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2427-17          LAW OFFICE OF GRANT D. AMEY, LLC

ANDERSON, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03985          ONDERLAW, LLC

ANDERSON, SARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20065          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, SARAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02165          GORI JULIAN & ASSOCIATES, P.C.

ANDERSON, SHANETTA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03469          ONDERLAW, LLC

ANDERSON, SHANNON             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11374          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ANDERSON, SHARLENE            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, SHARLENE            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           GOLDENBERGLAW, PLLC

ANDERSON, SHARLENE            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           ONDERLAW, LLC

ANDERSON, SHARLENE            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           PORTER & MALOUF, PA

ANDERSON, SHARLENE            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           THE SMITH LAW FIRM, PLLC

ANDERSON, SHARON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09296          BURNS CHAREST LLP

ANDERSON, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09423          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14017          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18971          CORY, WATSON, CROWDER & DEGARIS P.C.

ANDERSON, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

ANDERSON, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

ANDERSON, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ANDERSON, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19417          THE MILLER FIRM, LLC

ANDERSON, SONIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-04612          BLIZZARD & NABERS, LLP

ANDERSON, STACEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04910          ONDERLAW, LLC

ANDERSON, TERESA              NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003206-21        WEITZ & LUXENBERG

ANDERSON, TYLENA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01792          ASHCRAFT & GEREL

ANDERSON, TYLENA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, VALERIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02423          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                         Page 30 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 32 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ANDERSON, VERNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05512          NAPOLI SHKOLNIK, PLLC

ANDERSON, VICKI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19494          ASHCRAFT & GEREL

ANDERSON, VICKI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19494          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDERSON, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06663          ONDERLAW, LLC

ANDERSON, VIRGNIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           ONDERLAW, LLC

ANDERSON, VIRGNIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           PORTER & MALOUF, PA

ANDERSON, VIRGNIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           THE SMITH LAW FIRM, PLLC

ANDERSON, WILMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02871          ONDERLAW, LLC

ANDERSON-MUNROE, JOY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06898          ASHCRAFT & GEREL

ANDERT, LUZ                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00724          BURNS CHAREST LLP

ANDERT, LUZ                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00724          BURNS CHAREST LLP

ANDES, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03704          THE SEGAL LAW FIRM

ANDONIADIS, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04878          ONDERLAW, LLC

ANDRADE, ANNAMARIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20150          NACHAWATI LAW GROUP

ANDRADE, MAUREEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16392          NACHAWATI LAW GROUP

ANDRADE, ORVELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14301          DALIMONTE RUEB, LLP

ANDRADE, VIVIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12433          DRISCOLL FIRM, P.C.

ANDRADE, VIVIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07401          MOTLEY RICE, LLC

ANDRASI, ARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17605          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ANDRE, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05448          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDREA PAYTON                    FEDERAL - MDL                               3:20-CV-15808          ONDERLAW, LLC

ANDREASON, LORAE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02115          ONDERLAW, LLC

ANDREOTTI, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19912          CELLINO & BARNES, P.C.

ANDREOZZI, CATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08180          ONDERLAW, LLC

ANDRES, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12577          ASHCRAFT & GEREL, LLP

ANDRES, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12577          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDRESSEN, JULIANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20128          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDREW, WALTRAUD                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05654          ASHCRAFT & GEREL

ANDREW, WALTRAUD                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05654          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDREWS (MO), BRENDA             MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          GOLDENBERGLAW, PLLC

ANDREWS (MO), BRENDA             MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          ONDERLAW, LLC

ANDREWS (MO), BRENDA             MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          PORTER & MALOUF, PA

ANDREWS (MO), BRENDA             MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          THE SMITH LAW FIRM, PLLC

ANDREWS, ALEASE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03902          THE SEGAL LAW FIRM



                                                                            Page 31 of 1405
                           Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                           Appendix A (Part 1) Page 33 of 702

           Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ANDREWS, BETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15198          MESHBESHER & SPENCE, LTD.

ANDREWS, BEVERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14001          WATERS & KRAUS, LLP

ANDREWS, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02939          ASHCRAFT & GEREL

ANDREWS, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10070          ONDERLAW, LLC

ANDREWS, CHRISTY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00712          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ANDREWS, CINDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02041          ONDERLAW, LLC

ANDREWS, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11355          NACHAWATI LAW GROUP

ANDREWS, DIANE                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDREWS, DIANE                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           GOLDENBERGLAW, PLLC

ANDREWS, DIANE                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           ONDERLAW, LLC

ANDREWS, DIANE                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           PORTER & MALOUF, PA

ANDREWS, DIANE                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           THE SMITH LAW FIRM, PLLC

ANDREWS, DOLORES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10497          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDREWS, DORIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16415          NACHAWATI LAW GROUP

ANDREWS, GERALDINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15792          NACHAWATI LAW GROUP

ANDREWS, HEATHER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04211          ONDERLAW, LLC

ANDREWS, JOAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13700          FLETCHER V. TRAMMELL

ANDREWS, MARGARETTA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-06762          ONDERLAW, LLC

ANDREWS, MELISSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10675          POTTS LAW FIRM

ANDREWS, OLLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07661          ONDERLAW, LLC

ANDREWS, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00046          ASHCRAFT & GEREL

ANDREWS, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00046          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANDREWS, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05596          ONDERLAW, LLC

ANDREWS, RACHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11405          NACHAWATI LAW GROUP

ANDREWS, RENEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16411          NACHAWATI LAW GROUP

ANDREWS, SHAKEDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16406          NACHAWATI LAW GROUP

ANDREWS, TAMMY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18059          ONDERLAW, LLC

ANDREWS, TESSICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11428          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ANDREWS, VANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

ANDREWS, VANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

ANDREWS, VANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ANDREWS-NOEL, NATASHA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03873          FLETCHER V. TRAMMELL

ANDRIANA MEDINA               IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ANDRIOLA, MICHELE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00489          JOHNSON BECKER, PLLC



                                                                         Page 32 of 1405
                             Case 23-12825-MBK                  Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                                Appendix A (Part 1) Page 34 of 702

             Claimant Name                            State Filed                     Docket Number                              Plaintiff Counsel

ANDRIS, LORRAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14497          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ANDROJNA, HEIDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07475          ONDERLAW, LLC

ANDRUS, KATHERINE ANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11831          MOTLEY RICE, LLC
ANFINSN,ANGULO,CARFAGNO,PINTR,RO
                                   CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC621999               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
MN,TRAHN
ANFORTH, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16086          BERNSTEIN LIEBHARD LLP

ANGEL BETZ                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18479          WATERS & KRAUS, LLP

ANGEL, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09279          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANGEL, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

ANGEL, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14951          LENZE LAWYERS, PLC

ANGEL, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

ANGEL, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14951          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ANGEL, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ANGEL, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09345          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANGEL, SUZANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00602          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANGELA PRIEST                      FEDERAL - MDL                               3:21-CV-12949          ONDERLAW, LLC

ANGELA WALKER                      NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003313-21        WEITZ & LUXENBERG

ANGELA WRIGHT                      FEDERAL - MDL                               3:21-CV-19136          MOTLEY RICE, LLC

ANGELES, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13822          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANGELES, SOPHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18226          WATERS & KRAUS, LLP

ANGELIA MCDONALD                   DC - USDC FOR THE DISTRICT OF COLUMBIA      1:21-CV-02735          ASHCRAFT & GEREL

ANGELIA MCDONALD                   DC - USDC FOR THE DISTRICT OF COLUMBIA      1:21-CV-02735          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANGELIA WALKER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18170          ONDERLAW, LLC

ANGELICA GARCIA-ADAMU              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3;21-CV-18392          ONDERLAW, LLC

ANGELINE DILWORTH                  FEDERAL - MDL                               3:21-CV-19608          ONDERLAW, LLC

ANGELL, IRENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18684          CELLINO & BARNES, P.C.

ANGELL, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00417          ASHCRAFT & GEREL

ANGELL, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00417          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANGELO, GAYLE-JEAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANGELO, GAYLE-JEAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           GOLDENBERGLAW, PLLC

ANGELO, GAYLE-JEAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           ONDERLAW, LLC

ANGELO, GAYLE-JEAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           PORTER & MALOUF, PA

ANGELO, GAYLE-JEAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           THE SMITH LAW FIRM, PLLC

ANGELO, GINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02434          JOHNSON LAW GROUP




                                                                              Page 33 of 1405
                             Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                             Appendix A (Part 1) Page 35 of 702

             Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ANGELO, WENDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10507          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANGE-ROLAND, SUZANNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07543          WILLIAMS HART LAW FIRM

ANGILLETTA, JOAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08853          MOTLEY RICE, LLC

ANGIONE, LYNNE                  CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC680008               THE BRANDI LAW FIRM

ANGLIN, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07351          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANGLIN, JOANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANGLIN, JOANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          ONDERLAW, LLC

ANGLIN, JOANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          PORTER & MALOUF, PA

ANGLIN, JOANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          THE SMITH LAW FIRM, PLLC

ANGSTADT, RUTH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11997          NACHAWATI LAW GROUP

ANGUIANO, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18218          JOHNSON LAW GROUP

ANGUS, MEAGAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-06866          ASHCRAFT & GEREL, LLP

ANGUSTAIN, LAURIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02163          GORI JULIAN & ASSOCIATES, P.C.

ANISSA YZQUIERDO                FEDERAL - MDL                               3:21-CV-17833          PARAFINCZUK WOLF, P.A.

ANITA KINKEAD                   FEDERAL - MDL                               3:21-CV-18736          FLETCHER V. TRAMMELL

ANITA LEATHERS                  DC - USDC FOR THE DISTRICT OF COLUMBIA      1:21-CV-02742          ASHCRAFT & GEREL, LLP

ANITA LEATHERS                  DC - USDC FOR THE DISTRICT OF COLUMBIA      1:21-CV-02742          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANKENBRAND, VIRGINIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03394          GITLIN, HORN AND VAN DE KIEFT, LLP

ANN BRYSON                      IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ANN GRAYESKI                    FEDERAL - MDL                               3:21-CV-19653          JOHNSON BECKER, PLLC

ANN LOVEWELL                    FEDERAL - MDL                               3:21-CV-18849          MOTLEY RICE, LLC

ANN MAASBERG                    NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003339-21        WEITZ & LUXENBERG

ANN SPENCER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18361          THE MILLER FIRM, LLC

ANNA CURLIN                     FEDERAL - MDL                               3:21-CV-19671          ONDERLAW, LLC

ANNA DEHENNIS                   FEDERAL - MDL                               3:21-CV-18006          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

ANNA LAWTON                     FEDERAL - MDL                               3:21-CV-19637          JOHNSON BECKER, PLLC

ANNA MARIA PADILLA              IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ANNA MARTINEZ                   IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ANNA MUNCHRATH                  FEDERAL - MDL                               3:21-CV-19746          JOHNSON BECKER, PLLC

ANNA ROUSE                      IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ANNA SKERMAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18725          MOTLEY RICE, LLC

ANNA STUART                     FEDERAL - MDL                               3:21-CV-19748          ONDERLAW, LLC

ANNA WILLHITE                   FEDERAL - MDL                               3:21-CV-18791          MOTLEY RICE, LLC




                                                                           Page 34 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                            Appendix A (Part 1) Page 36 of 702

             Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

ANNA YUHAS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18217          ONDERLAW, LLC

ANNALORO, LUCILLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11860          MOTLEY RICE, LLC

ANNAN, KIMYETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10018          ONDERLAW, LLC

ANNE BASHER                     FEDERAL - MDL                               3:21-CV-19869          ONDERLAW, LLC

ANNE CANNON                     IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ANNE MARIE DYHHOUSE             IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ANNEETA DESANTIS                FEDERAL - MDL                               3:21-CV-16321          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANNETTE HILTON                  FEDERAL - MDL                               3:21-CV-19099          MOTLEY RICE, LLC

ANNETTE KEITH                   FEDERAL - MDL                               3:21-CV-19632          JOHNSON BECKER, PLLC

ANNETTE ORTIZ                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-19782          CAMPBELL & ASSOCIATES

ANNETTE ORTIZ                   FEDERAL - MDL                               3:21-CV-19782          CAMPBELL & ASSOCIATES

ANNETTE ORTIZ                   FEDERAL - MDL                               3:21-CV-19782          FRAZER LAW LLC

ANNETTE ORTIZ                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-19782          FRAZER PLC

ANNETTE WILSON                  FEDERAL - MDL                               3:21-CV-18645          FLETCHER V. TRAMMELL

ANNIE CHAMBERS                  FEDERAL - MDL                               3:21-CV-19189          BARON & BUDD, P.C.

ANNIE WILSON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18402          JOHNSON LAW GROUP

ANNIS, KERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06836          THE DUGAN LAW FIRM, APLC

ANNUNZIATA, AMORELLI            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20360          ONDERLAW, LLC

ANSALDI, GINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16417          NACHAWATI LAW GROUP

ANSPACH, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06651          THE SIMON LAW FIRM, PC

ANSTED, LESLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03759          PARKER WAICHMAN, LLP

ANSTINE, BRIANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05498          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANTHONY, APRIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14542          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANTHONY, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05272          ONDERLAW, LLC

ANTHONY, CATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10789          SIMMONS HANLY CONROY

ANTHONY, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01458          ASHCRAFT & GEREL

ANTHONY, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01458          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANTHONY, DELIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16422          NACHAWATI LAW GROUP

ANTHONY, JOANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18158          MORELLI LAW FIRM, PLLC

ANTHONY, JOANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13585          NACHAWATI LAW GROUP

ANTHONY, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08628          HOLLAND LAW FIRM

ANTHONY, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02425          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANTHONY-MORTON, SHAWN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08851          ONDERLAW, LLC

ANTOCICCO, YOLANDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00919          CELLINO & BARNES, P.C.



                                                                           Page 35 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                           Appendix A (Part 1) Page 37 of 702

            Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

ANTOINE, BEVERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10503          ONDERLAW, LLC

ANTOINE, CATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12508          MORELLI LAW FIRM, PLLC

ANTOINETTE LISSIMORE           NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003333-21        WEITZ & LUXENBERG

ANTOLOWITZ, ANNETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-02373          JOHNSON LAW GROUP

ANTONETTI, JANELL              NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003303-20        KLINE & SPECTER, P.C.

ANTONINI, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02189          ONDERLAW, LLC

ANTONIO, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08328          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ANTONUCCI, MARGARET            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20585          CELLINO & BARNES, P.C.

ANTOS, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06434          ONDERLAW, LLC

ANTOS, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12077          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

APARICIO, CONSTANCE            NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-1951-17          GOLOMB SPIRT GRUNFELD PC

APARICIO, DIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14833          LENZE LAWYERS, PLC

APARICIO, DIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14833          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

APELIAN, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07016          THE MILLER FIRM, LLC

APONTE, ANALYDE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02107          HEYGOOD, ORR & PEARSON

APONTE, NOEMI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12208          ARNOLD & ITKIN LLP

APPEL, ELLEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18215          JOHNSON LAW GROUP

APPINO, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04692          ONDERLAW, LLC

APPLE, CHRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15912          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

APPLEBEE, CHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14241          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

APPLEFIELD, SANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-03080          SAUNDERS & WALKER, P.A.

APPLEGATE, MESHELL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-04426          WAGSTAFF & CARTMELL, LLP

APPLEN, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14140          MOTLEY RICE, LLC

APPLEWHITE, JENNY              NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-1995-14          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

APPLEWHITE, JENNY              NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-1995-14          PORTER & MALOUF, PA

APPLEWHITE, JENNY              NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-1995-14          SEEGER WEISS LLP

APPLEWHITE, JENNY              NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-1995-14          THE SMITH LAW FIRM, PLLC

APREA, JEANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13779          MORRIS BART & ASSOCIATES

APRIL BRAZEL                   FEDERAL - MDL                               3:21-CV-19581          ONDERLAW, LLC

APRIL CURTIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18542          CHILDERS, SCHLUETER & SMITH, LLC

APRIL DENUCCI                  DC - USDC FOR THE DISTRICT OF COLUMBIA      1:21-CV-02707          ASHCRAFT & GEREL, LLP

APRIL DENUCCI                  DC - USDC FOR THE DISTRICT OF COLUMBIA      1:21-CV-02707          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

APT, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07440          ONDERLAW, LLC

AQUILINA, LILY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-03960          BURNS CHAREST LLP



                                                                          Page 36 of 1405
                           Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                           Appendix A (Part 1) Page 38 of 702

           Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

AQUINO, LIZANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06664          ONDERLAW, LLC

AQUINO, MILDRED               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14270          DRISCOLL FIRM, P.C.

AQUIO, MICHEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-11725          JOHNSON LAW GROUP

ARABIA, CARMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-08870          CPC

ARAGON, KARIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16427          NACHAWATI LAW GROUP

ARAIZA, DOLORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17052          ONDERLAW, LLC

ARAMBULA, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10405          JOHNSON LAW GROUP

ARAMBULA, KELSEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14261          DRISCOLL FIRM, P.C.

ARANA, HAZEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10601          NAPOLI SHKOLNIK, PLLC

ARANGO, ADRIANA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARANGO, ADRIANA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1722-CC11872           ONDERLAW, LLC

ARANGO, ADRIANA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1722-CC11872           PORTER & MALOUF, PA

ARANGO, ADRIANA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1722-CC11872           THE SMITH LAW FIRM, PLLC

ARAUJO, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18796          CELLINO & BARNES, P.C.

ARAUJO, ROXANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00662          FLETCHER V. TRAMMELL

ARAUJO, YOLANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12188          ONDERLAW, LLC

ARBOUR, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02958          ONDERLAW, LLC

ARBUCKLE, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20174          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARBUCKLE, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11251          NACHAWATI LAW GROUP

ARBUCKLE, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13378          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARBUTHNOT, DONNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-02201          JOHNSON LAW GROUP

ARCACHE, AIDA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-001465-20        GOLOMB SPIRT GRUNFELD PC

ARCENEAUX, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13606          DRISCOLL FIRM, P.C.

ARCENEAUX, TANYA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09873          ONDERLAW, LLC

ARCHDEACON, PEGGIANNE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16045          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARCHER, CANDACE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-06851          MORELLI LAW FIRM, PLLC

ARCHER, CHERYL                GA - STATE COURT OF CLAYTON COUNTY          2019CV00656            BARNES LAW GROUP, LLC

ARCHER, CHERYL                GA - STATE COURT OF CLAYTON COUNTY          2019CV00656            CHEELEY LAW GROUP

ARCHER, CHRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13337          NACHAWATI LAW GROUP

ARCHER, DENNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08543          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARCHER, EDNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03186          WILLIAMS HART LAW FIRM

ARCHER, KELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09035          ARNOLD & ITKIN LLP

ARCHER, MARQUIETA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15217          WEITZ & LUXENBERG

ARCHER, MELISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11989          MUELLER LAW PLLC



                                                                         Page 37 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                 Desc
                                                              Appendix A (Part 1) Page 39 of 702

              Claimant Name                         State Filed                     Docket Number                                    Plaintiff Counsel

ARCHER, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11989                VAUGHAN LAW FIRM PC

ARCHIBALD, BERNADINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02760                THE DIETRICH LAW FIRM, PC

ARCHIBALD, BRANDI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08271                ONDERLAW, LLC

ARCHIBALD, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02219                CHAPPELL, SMITH & ARDEN, P.A.

ARCHIE, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20178                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARCHIE, THERESA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC10042                 ONDERLAW, LLC

ARCHIE, THERESA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC10042                 PORTER & MALOUF, PA

ARCHIE, THERESA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC10042                 THE SMITH LAW FIRM, PLLC

ARCHIELD, DANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16432                NACHAWATI LAW GROUP

ARCHULETA, DENISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02789                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARCHULETA, JORDAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05975                ONDERLAW, LLC

ARCIUOLO, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11216                ASHCRAFT & GEREL

ARD, ANITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09875                ONDERLAW, LLC

ARDEN, DARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11351                MOTLEY RICE, LLC

ARDIZZONE, JUNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07110                BLIZZARD & NABERS, LLP

ARELLANO, MARIA DE LA LUZ        CA - SUPERIOR COURT - ORANGE COUNTY         30-2020-01157108-CU-PL-CJC   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ARENA, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10147                GOLOMB SPIRT GRUNFELD PC

ARENDS, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10568                GORI JULIAN & ASSOCIATES, P.C.

ARENDT, SHERRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17850                JOHNSON LAW GROUP

ARENSBERG, JEANNETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14158                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ARENZ, DANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06074                MOTLEY RICE, LLC

ARESHEH, NAHDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00724                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

AREVALO, RACHEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10510                ONDERLAW, LLC

ARGENT, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00951                JOHNSON LAW GROUP

ARGERENON, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02206                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

ARGETSINGER, DAWN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03861                ONDERLAW, LLC

ARGINSKY, MARTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09795                ONDERLAW, LLC

ARGIRO, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12405                ONDERLAW, LLC

ARGO, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10847                HENINGER GARRISON DAVIS, LLC

ARGUELLO, DALIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17608                ONDERLAW, LLC

ARGUELLO, JOANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12135                MORELLI LAW FIRM, PLLC

ARGUELLO, SARENNA                NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002745-21              WEITZ & LUXENBERG

ARGUELLO-ALLEN, DEBRA            NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002303-20              GOLOMB & HONIK, P.C.




                                                                            Page 38 of 1405
                             Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                             Appendix A (Part 1) Page 40 of 702

             Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ARGUETA, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14733          MOTLEY RICE, LLC

ARGUETA-FRAZIER, SANDRA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09296          POGUST BRASLOW & MILLROOD, LLC

ARIAS, KRISTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15530          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARIAS-ARAGON, JESUS             IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ARIAS-ARAGON, JESUS             IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ARIBON, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09990          CELLINO & BARNES, P.C.

ARIENO, MARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13288          WAGSTAFF & CARTMELL, LLP

ARIETTA, GENEVIEVE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02975          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARILYN HALSTEAD                 FEDERAL - MDL                               3:21-CV-19060          MOTLEY RICE, LLC

ARINOLDO, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15702          JOHNSON LAW GROUP

ARISPE, BROOKE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12526          THE MILLER FIRM, LLC

ARISPE, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14313          GORI JULIAN & ASSOCIATES, P.C.

ARISPE, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04377          ONDERLAW, LLC

ARLEDGE, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13523          ASHCRAFT & GEREL

ARLENE WINTER                   FEDERAL - MDL                               3:21-CV-18927          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

ARMATO, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04040          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARMENDARIZ, DELIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC10042           ONDERLAW, LLC

ARMENDARIZ, DELIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC10042           PORTER & MALOUF, PA

ARMENDARIZ, DELIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC10042           THE SMITH LAW FIRM, PLLC

ARMENI, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02052          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARMER, WILMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01529          WILLIAMS HART LAW FIRM

ARMES, AMY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002591-20        GOLOMB & HONIK, P.C.

ARMES, LAURA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002081-20        GOLOMB & HONIK, P.C.

ARMISTEAD, LYNNETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01830          ASHCRAFT & GEREL

ARMISTEAD, LYNNETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01830          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARMITAGE, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06283          PRIBANIC & PRIBANIC, LLC

ARMITAGE, TONYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10659          THE LAW OFFICES OF SEAN M CLEARY

ARMONTROUT, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01557          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARMS, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14290          WILLIAMS HART LAW FIRM

ARMSTEAD, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-19151          BARON & BUDD, P.C.

ARMSTEAD, BRIDGETT              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10110          THE ENTREKIN LAW FIRM

ARMSTEAD, ETHEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00793          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARMSTEAD, ETHEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00793          ONDERLAW, LLC

ARMSTEAD, ETHEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00793          PORTER & MALOUF, PA



                                                                           Page 39 of 1405
                           Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                           Appendix A (Part 1) Page 41 of 702

           Claimant Name                         State Filed                     Docket Number                               Plaintiff Counsel

ARMSTEAD, ETHEL               CA - SUPERIOR COURT - SANTA CLARA COUNTY    17CV318666             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ARMSTEAD, ETHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00793          THE SMITH LAW FIRM, PLLC

ARMSTEAD, LUCRETIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08514          NAPOLI SHKOLNIK, PLLC

ARMSTEAD, ROCSHELL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-13541          ONDERLAW, LLC

ARMSTRONG, BARBARA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03825          ONDERLAW, LLC

ARMSTRONG, BETTY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08777          ONDERLAW, LLC

ARMSTRONG, CHRISTY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15998          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ARMSTRONG, CINDY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09442          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARMSTRONG, DAWN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06804          THE SIMON LAW FIRM, PC

ARMSTRONG, DIANA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08262          FLEMING, NOLEN & JEZ, LLP

ARMSTRONG, DONNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13922          ONDERLAW, LLC

ARMSTRONG, FRANCES            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10019          ONDERLAW, LLC

ARMSTRONG, JANICE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13246          LEVIN SIMES LLP

ARMSTRONG, JUDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17517          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

ARMSTRONG, LAURA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16436          NACHAWATI LAW GROUP

ARMSTRONG, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00493          THE BENTON LAW FIRM, PLLC

ARMSTRONG, LOIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14200          ONDERLAW, LLC

ARMSTRONG, LORETTA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16272          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARMSTRONG, MARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14361          FLETCHER V. TRAMMELL

ARMSTRONG, NANCY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16634          ASHCRAFT & GEREL

ARMSTRONG, NANCY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16634          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARMSTRONG, NANNIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01794          ASHCRAFT & GEREL

ARMSTRONG, NANNIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01794          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARMSTRONG, SHIRLEY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-04365          ROSS FELLER CASEY, LLP

ARMSTRONG, SUSAN              MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           ONDERLAW, LLC

ARMSTRONG, SUSAN              MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           PORTER & MALOUF, PA

ARMSTRONG, SUSAN              MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           THE SMITH LAW FIRM, PLLC

ARMSTRONG, TONYA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11678          NACHAWATI LAW GROUP

ARNDT, MOLLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10944          ASHCRAFT & GEREL

ARNEBERG, KATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08650          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARNESEN, ERNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16358          MOTLEY RICE, LLC

ARNETT, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARNETT, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          ONDERLAW, LLC




                                                                         Page 40 of 1405
                            Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                            Appendix A (Part 1) Page 42 of 702

            Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ARNETT, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          PORTER & MALOUF, PA

ARNETT, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          THE SMITH LAW FIRM, PLLC

ARNETTE WILLIAMS               FEDERAL - MDL                               3:21-CV-18548          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

ARNOFF, PHYLLIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-09228          RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

ARNOLD, GENIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11129          ARNOLD & ITKIN LLP

ARNOLD, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14579          MORRIS BART & ASSOCIATES

ARNOLD, INAZE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21624          GORI JULIAN & ASSOCIATES, P.C.

ARNOLD, JANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10022          ONDERLAW, LLC

ARNOLD, JANELL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02902          ONDERLAW, LLC

ARNOLD, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02394          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARNOLD, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02394          ONDERLAW, LLC

ARNOLD, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02394          PORTER & MALOUF, PA

ARNOLD, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02394          THE SMITH LAW FIRM, PLLC

ARNOLD, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09446          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARNOLD, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04775          ONDERLAW, LLC

ARNOLD, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01219          MARLIN & SALTZMAN LLP

ARNOLD, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16189          NACHAWATI LAW GROUP

ARNOLD, MARY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-000436-20        COHEN, PLACITELLA & ROTH

ARNOLD, MARY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-000436-20        DAVIS, BETHUNE & JONES, L.L.C.

ARNOLD, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03128          JOHNSON LAW GROUP

ARNOLD, PHYLLIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18654          ARNOLD & ITKIN LLP

ARNOLD, RAMONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11649          COHEN & MALAD, LLP

ARNOLD, RAMONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11649          NIX PATTERSON & ROACH

ARNOLD, ROBIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06452          THE ENTREKIN LAW FIRM

ARNOLD, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00979          THE MILLER FIRM, LLC

ARNOLD, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01870          MOTLEY RICE, LLC

ARNOLD, TERRI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01736          ARNOLD & ITKIN LLP

ARNOULT, SALLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01220          ASHCRAFT & GEREL

ARNOULT, SALLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01220          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARNSTEIN, LOIS                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           ASHCRAFT & GEREL

ARNSTEIN, LOIS                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARNSTEIN, LOIS                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           ONDERLAW, LLC

ARNSTEIN, LOIS                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           PORTER & MALOUF, PA

ARNSTEIN, LOIS                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           THE SMITH LAW FIRM, PLLC



                                                                          Page 41 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                         Desc
                                                              Appendix A (Part 1) Page 43 of 702

              Claimant Name                         State Filed                     Docket Number                            Plaintiff Counsel

AROCHO, LUZ                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12591          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

AROMANDO, LAURIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2417-17          COHEN, PLACITELLA & ROTH

ARON, MADELINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03910          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARONEAU, KATHARYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16635          ASHCRAFT & GEREL

ARONEAU, KATHARYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16635          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARP, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16813          ONDERLAW, LLC

ARP, JULIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

ARP, JULIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

ARP, JULIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15414          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ARP, JULIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ARRAIAL, FERNANDA                ONTARIO (TORONTO)                           CV-22-00679008-0000    PRESZLER INJURY LAWYERS

ARRAO, DIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08170          ONDERLAW, LLC

ARREAGA, ELAINE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC00002           ONDERLAW, LLC

ARREDONDO, CLAUDIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19598          THE BARNES FIRM, LC

ARREDONDO, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17805          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ARREDONDO, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07249          BURNS CHAREST LLP

ARREDONDO, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07249          BURNS CHAREST LLP

ARREDONDO, ROSALBA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19111          NACHAWATI LAW GROUP

ARREOLA, PILAR                   IL - CIRCUIT COURT - COOK COUNTY            21-L-7632              COONEY AND CONWAY

ARREOLA, YOLAND                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18095          ARNOLD & ITKIN LLP

ARRIAGA, SYLVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16439          NACHAWATI LAW GROUP

ARRIGO, GINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16502          NACHAWATI LAW GROUP

ARRINGTON, ANDREA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12138          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARRINGTON, DEBBIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16920          ASHCRAFT & GEREL

ARRINGTON, DEBBIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16920          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARRINGTON, MISTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15626          JOHNSON LAW GROUP

ARRINGTON, NAKIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11617          NACHAWATI LAW GROUP

ARRINGTON, VERNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05840          ONDERLAW, LLC

ARRIOLA, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19460          NACHAWATI LAW GROUP

ARROWOOD, JOHNNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17406          JOHNSON LAW GROUP

ARROYO, ANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01239          GORI JULIAN & ASSOCIATES, P.C.

ARROYO, ANNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           ASHCRAFT & GEREL

ARROYO, ANNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARROYO, ANNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           ONDERLAW, LLC



                                                                            Page 42 of 1405
                               Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                               Appendix A (Part 1) Page 44 of 702

               Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ARROYO, ANNA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           PORTER & MALOUF, PA

ARROYO, ANNA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           THE SMITH LAW FIRM, PLLC

ARROYO, MERIDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-09244          CELLINO & BARNES, P.C.

ARROYO, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARROYO, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          ONDERLAW, LLC

ARROYO, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          PORTER & MALOUF, PA

ARROYO, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          THE SMITH LAW FIRM, PLLC

ARROYO, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00977          THE MILLER FIRM, LLC

ARROYO, THEA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13899          ONDERLAW, LLC

ARROYO, WHILHELMINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08491          CELLINO & BARNES, P.C.

ARSENAULT, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06267          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARSENAULT, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17406          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARSENAULT, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

ARSENAULT, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15013          LENZE LAWYERS, PLC

ARSENAULT, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

ARSENAULT, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15013          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ARSENAULT, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ARSENEAULT, CAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13421          ONDERLAW, LLC

ARTAC, CHRISTINE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1722-CC10919           ONDERLAW, LLC

ARTEAGA, MARIA                    CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC722126               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ARTEAGA, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08839          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARTERBRIDGE, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00039          ASHCRAFT & GEREL

ARTESSA, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14370          ARNOLD & ITKIN LLP

ARTHENE DERR                      IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

ARTHUR, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16452          NACHAWATI LAW GROUP

ARTHUR, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13799          ONDERLAW, LLC

ARTHUR, LAMONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11285          NACHAWATI LAW GROUP

ARTHUR, TRACY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08343          THE MILLER FIRM, LLC

ARTIAGA, JOANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05157          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ARTIS, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13900          THE SEGAL LAW FIRM

ARTIS, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16463          NACHAWATI LAW GROUP

ARTIS, MINNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02645          WILLIAMS HART LAW FIRM

ARTIS, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18446          ONDERLAW, LLC




                                                                             Page 43 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 45 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ARTON, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15761          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ARTZ, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01818          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

ARVELO, DONNA, M                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-00588-17AS       LEVY KONIGSBERG LLP

ARVIE, EMILY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04840          ONDERLAW, LLC

ARVIZU, ROXANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19115          NACHAWATI LAW GROUP

ARWICK, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

ARWICK, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

ARWICK, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ARWINR, RANDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13507          ASHCRAFT & GEREL

ARYEE, FELICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05119          ONDERLAW, LLC

ARZOLA, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21180          NACHAWATI LAW GROUP

ASARO, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03579          ASHCRAFT & GEREL, LLP

ASBELL, TEANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01520          ONDERLAW, LLC

ASBELL, TEANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17596          SLATER, SLATER, SCHULMAN, LLP

ASBURY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17070          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

ASBY, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02953          ONDERLAW, LLC

ASCENCIO, ROSA                   MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00893           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ASCENCIO, ROSA                   MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00893           PORTER & MALOUF, PA

ASCENCIO, ROSA                   MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00893           THE SMITH LAW FIRM, PLLC

ASCENZO, MAUREEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14029          THORNTON LAW FIRM LLP

ASCHENBRENNER, GLINDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04041          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ASCHINGER, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10941          CATES MAHONEY, LLC

ASCHOFF, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02379          ONDERLAW, LLC

ASH, JUNE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09307          ONDERLAW, LLC

ASH, ROSEANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02018          ONDERLAW, LLC

ASHBORN, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04906          ONDERLAW, LLC

ASHBROOK, BRANDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13388          NACHAWATI LAW GROUP

ASHBROOK, JLENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13592          JOHNSON LAW GROUP

ASHBURN, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10441          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ASHBURN, LINDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           ONDERLAW, LLC

ASHBURN, LINDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           PORTER & MALOUF, PA

ASHBURN, LINDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811           THE SMITH LAW FIRM, PLLC

ASHBY, AUDREY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16934          ONDERLAW, LLC

ASHBY, LEE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02960          THE MILLER FIRM, LLC



                                                                            Page 44 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                         Desc
                                                              Appendix A (Part 1) Page 46 of 702

              Claimant Name                         State Filed                     Docket Number                            Plaintiff Counsel

ASHBY, MATTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05516          NAPOLI SHKOLNIK, PLLC

ASHBY, SHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08488          WILLIAMS HART LAW FIRM

ASHBY, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07428          ONDERLAW, LLC

ASHCRAFT, PEGGY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16629          ONDERLAW, LLC

ASHCRAFT, ROSEMARIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17809          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ASHED, RUTH                      NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-001310-21        GOLOMB & HONIK, P.C.

ASHER, CHRISTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18514          ONDERLAW, LLC

ASHER, MAXINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02208          ONDERLAW, LLC

ASHFORD, OCIEOLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00971          THE SEGAL LAW FIRM

ASHFORD, RUBY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20325          ONDERLAW, LLC

ASHFORD, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11083          SILL LAW GROUP, PLLC

ASHLEY GRILLS                    FEDERAL - MDL                               3:21-CV-19598          ONDERLAW, LLC

ASHLEY JONES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17969          WEITZ & LUXENBERG

ASHLEY, CARLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17492          ONDERLAW, LLC

ASHLEY, DANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09571          FLETCHER V. TRAMMELL

ASHLEY, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16467          NACHAWATI LAW GROUP

ASHLEY, HARRIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12765          THE MILLER FIRM, LLC

ASHLEY, THERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-15532          GORI JULIAN & ASSOCIATES, P.C.

ASHLEY-JARMON, DESHAWN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10869          ARNOLD & ITKIN LLP

ASHLINE, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00687          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ASHLOCK, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07362          THE DUGAN LAW FIRM, APLC

ASHLOCK, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14730          ONDERLAW, LLC

ASHRATI, GHYZAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02426          ONDERLAW, LLC

ASHTON, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00877          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ASHTON, MARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13410          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ASHWORTH, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08482          ONDERLAW, LLC

ASHWORTH, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14309          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ASHWORTH, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07747          THE MILLER FIRM, LLC

ASIF, AMBER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05514          NAPOLI SHKOLNIK, PLLC

ASKEW, BILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03082          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ASKEW, DANIELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02022          ARNOLD & ITKIN LLP

ASKEW, NANCY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ASKEW, NANCY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           GOLDENBERGLAW, PLLC

ASKEW, NANCY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           ONDERLAW, LLC



                                                                            Page 45 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 47 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

ASKEW, NANCY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           PORTER & MALOUF, PA

ASKEW, NANCY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           THE SMITH LAW FIRM, PLLC

ASKINS, PAMELA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ASKINS, PAMELA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           GOLDENBERGLAW, PLLC

ASKINS, PAMELA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           ONDERLAW, LLC

ASKINS, PAMELA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           PORTER & MALOUF, PA

ASKINS, PAMELA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           THE SMITH LAW FIRM, PLLC

ASLESON, WANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09291          ONDERLAW, LLC

ASP, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00406          JASON J. JOY & ASSCIATES P.L.L.C.

ASPIRAS, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17700          ONDERLAW, LLC

ASSAF, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11748          ONDERLAW, LLC

ASSATOURIANS, CRISTINA           CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC641346               HAFFNER LAW PC

ASSEF, MEHRNAZ                   CA - SUPERIOR COURT - LOS ANGELES COUNTY    19STCV40186            LAW OFF OF ISAAC TOVEG PROFESSIONAL

ASSENTI, DENISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13666          DRISCOLL FIRM, P.C.

ASSENTI, DENISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03857          ONDERLAW, LLC

ASSUNTA BALLETTI                 NJ - STATE                                  ATL-L-003359-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

ASTLE, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13050          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

ASTLE, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14214          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ASTON, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-07964          ONDERLAW, LLC

ASTUDILLO, JOAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10920          JOHNSON LAW GROUP

ATCHINSON, DORIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16500          NACHAWATI LAW GROUP

ATCHISON, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07194          ONDERLAW, LLC

ATEEK, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11241          DOROTHY V. MAIER, PA

ATEN, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17436          JOHNSON LAW GROUP

ATHERTON, DARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12389          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

ATHERTON, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17362          ONDERLAW, LLC

ATHERTON, PHYLLIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-04412          ONDERLAW, LLC

ATIRAM, LESLEE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       L00294319              GOLOMB SPIRT GRUNFELD PC

ATIVIE, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09325          HENINGER GARRISON DAVIS, LLC

ATKINS, CANDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08590          ONDERLAW, LLC

ATKINS, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17478          ONDERLAW, LLC

ATKINS, EDWINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05835          ONDERLAW, LLC

ATKINS, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11700          SHAW COWART, LLP




                                                                            Page 46 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                             Appendix A (Part 1) Page 48 of 702

              Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

ATKINS, RENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17172          ONDERLAW, LLC

ATKINS, STARLIC                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03167          ONDERLAW, LLC

ATKINS, YVETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05663          ONDERLAW, LLC

ATKINSON, ALYSSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12474          SANDERS VIENER GROSSMAN LLP

ATKINSON, ANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08324          ONDERLAW, LLC

ATKINSON, ANNETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10771          FLETCHER V. TRAMMELL

ATKINSON, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19371          NACHAWATI LAW GROUP

ATKINSON, MARGORIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05309          ONDERLAW, LLC

ATKINSON, MINNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01854          JOHNSON LAW GROUP

ATKINSON, MONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07816          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

ATKINSON, PAULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08445          THE DUGAN LAW FIRM, APLC

ATLEY, MELANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02421          JOHNSON LAW GROUP

ATMAJIAN, ANGELA; OWEN, ALICIA   CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC655667               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

ATTAWAY, WILDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16053          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ATTEBERRY, ROBIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16481          NACHAWATI LAW GROUP

ATTENDORN, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00128          ASHCRAFT & GEREL

ATTERBERRY, KEELER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07316          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ATTERHOLT, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16785          GORI JULIAN & ASSOCIATES, P.C.

ATTIG, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06453          THE ENTREKIN LAW FIRM

ATWOOD, IRENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19123          NACHAWATI LAW GROUP

ATWOOD, JAYNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02811          DALIMONTE RUEB, LLP

ATWOOD, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19974          NACHAWATI LAW GROUP

ATWOOD, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19232          ARNOLD & ITKIN LLP

AUBERT, VERONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-06273          MORRIS BART & ASSOCIATES

AUCOIN, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11243          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

AUDDINO, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08894          ONDERLAW, LLC

AUDETTE, FAITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02895          ONDERLAW, LLC

AUDREY KRAKOWSKI                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003322-21        GOLOMB SPIRT GRUNFELD PC

AUFDENCAMP, DONIELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00490          JOHNSON BECKER, PLLC

AUFMAN, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08845          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AUGEN, MARJORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05106          ONDERLAW, LLC

AUGSBURGER, DONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06725          THE SIMON LAW FIRM, PC

AUGUST, CAROL                    MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00893           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 47 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 49 of 702

              Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

AUGUST, CAROL                    MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00893           PORTER & MALOUF, PA

AUGUST, CAROL                    MO - CIRCUIT COURT - JEFFERSON COUNTY       18JE-CC00893           THE SMITH LAW FIRM, PLLC

AUGUST, INGRID                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10010          MORRIS BART & ASSOCIATES

AUGUSTE, GUIRTELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10837          ASHCRAFT & GEREL, LLP

AUGUSTUS, ALYSHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18244          WEITZ & LUXENBERG

AUGUSTUS, DENICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03333          ONDERLAW, LLC

AULD, ANITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-11231          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AULD, CARLA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-001804-18        COHEN, PLACITELLA & ROTH

AULISI, JOSEPH J.                NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-002973-20        WEITZ & LUXENBERG

AULT, CHARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10201          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AULTMAN, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17901          ASHCRAFT & GEREL, LLP

AULTMAN, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17901          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AULTMAN, KATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-03316          ASHCRAFT & GEREL

AULTMAN, KATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-03316          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AUMSBAUGH, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04853          WILLIAMS HART LAW FIRM

AUMUA, VAOITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07196          ONDERLAW, LLC

AURICK, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17176          JOHNSON LAW GROUP

AUSBORNE, LUCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16482          NACHAWATI LAW GROUP

AUSBY, ASHLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16402          NACHAWATI LAW GROUP

AUSTEN-SCHLIER, LOIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08885          HOLLAND LAW FIRM

AUSTIN, ALESIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09526          FLETCHER V. TRAMMELL

AUSTIN, ANA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002409-20        GOLOMB & HONIK, P.C.

AUSTIN, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02415          ONDERLAW, LLC

AUSTIN, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14384          NAPOLI SHKOLNIK PLLC

AUSTIN, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06965          THE SIMON LAW FIRM, PC

AUSTIN, DORIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08524          BARON & BUDD, P.C.

AUSTIN, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10899          ONDERLAW, LLC

AUSTIN, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14584          MOTLEY RICE, LLC

AUSTIN, JANIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03323          ARNOLD & ITKIN LLP

AUSTIN, JEWELL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05872          ONDERLAW, LLC

AUSTIN, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15108          ARNOLD & ITKIN LLP

AUSTIN, MINNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16437          NACHAWATI LAW GROUP

AUSTIN, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21536          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AUSTIN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10797          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 48 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                             Appendix A (Part 1) Page 50 of 702

              Claimant Name                        State Filed                      Docket Number                             Plaintiff Counsel

AUSTIN, SHERONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10615          MOTLEY RICE, LLC

AUSTIN, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16410          NACHAWATI LAW GROUP

AUSTIN, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02400          THE REARDON LAW FIRM, P.C.

AUSTIN, TRACIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08485          ONDERLAW, LLC

AUSTIN, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05116          HELMSDALE LAW, LLP

AUSTIN, WILMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00693          JOHNSON LAW GROUP

AUSTINSON, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13172          ONDERLAW, LLC

AUSTIN-WYATT, MAUDE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08808          ONDERLAW, LLC

AUTEN, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18931          NACHAWATI LAW GROUP

AUTEN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03834          ONDERLAW, LLC

AUTHEMENT, APRIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02986          ONDERLAW, LLC
                                 LA - DISTRICT COURT - EAST BATON ROUGE
AUTIN, CHRISTINE                                                             C-671445 24            GALANTE & BIVALACQUA LLC
                                 PARISH
                                 LA - DISTRICT COURT - EAST BATON ROUGE
AUTIN, CHRISTINE                                                             C-671445 24            POURCIAU LAW FIRM, LLC
                                 PARISH
                                 LA - DISTRICT COURT - EAST BATON ROUGE
AUTIN, CHRISTINE                                                             C-671445 24            THE CHEEK LAW FIRM
                                 PARISH
AUTRY, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07986          ASHCRAFT & GEREL

AVALOS, EMMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00496          DALIMONTE RUEB, LLP

AVANT, VERNICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09659          ASHCRAFT & GEREL

AVANT, VERNICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09659          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AVANTS-BALDUCCI, MARIAN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19128          NACHAWATI LAW GROUP

AVARY, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05996          KIRKENDALL DWYER LLP

AVARY, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16798          THE SEGAL LAW FIRM

AVDEYEVA, YELENA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10280          DAVIS, BETHUNE & JONES, L.L.C.

AVEAI, FILIFILI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07963          ONDERLAW, LLC

AVED, VALENTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16421          NACHAWATI LAW GROUP

AVELLINO, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14450          ASHCRAFT & GEREL

AVENETTI, EVANGELINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03870          ONDERLAW, LLC

AVENT, APRIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08852          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AVERETT, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12922          LINVILLE LAW GROUP

AVERHEART, CAROLYN               NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002263-21        NAPOLI SHKOLNIK, PLLC

AVERSA, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12198          ONDERLAW, LLC

AVERY, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05397          JOHNSON LAW GROUP

AVERY, JODY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09082          ONDERLAW, LLC




                                                                            Page 49 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 51 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

AVERY, LAURA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002411-20        GOLOMB & HONIK, P.C.

AVERY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15679          GIRARDI & KEESE

AVERY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15679          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

AVERY, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09963          MOTLEY RICE, LLC

AVERY, PHAWNTA                   CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC691035               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

AVERY, SELENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02616          DRISCOLL FIRM, P.C.

AVERY, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20954          THE MILLER FIRM, LLC

AVETISYAN, MAGDA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1722-CC10919           ONDERLAW, LLC

AVEY, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16355          ROSS FELLER CASEY, LLP

AVEYARD, GEORGIANNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14369          ROSS FELLER CASEY, LLP

AVILA, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17815          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

AVILA, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09039          JOHNSON LAW GROUP

AVILA, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07267          ONDERLAW, LLC

AVITIA, MYRNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10023          ONDERLAW, LLC

AWAD, MANERVA AND AWAD, FAYEZ    NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-06305-19 AS      LEVY KONIGSBERG LLP

AWBREY, DELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11367          NACHAWATI LAW GROUP

AXELOD, PENNY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08959          MOTLEY RICE, LLC

AXTELL, WAUNITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11740          NACHAWATI LAW GROUP

AXTEN, MARITA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2404-17          GOLOMB SPIRT GRUNFELD PC

AYALA, JUANITA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AYALA, JUANITA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           GOLDENBERGLAW, PLLC

AYALA, JUANITA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           ONDERLAW, LLC

AYALA, JUANITA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           PORTER & MALOUF, PA

AYALA, JUANITA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           THE SMITH LAW FIRM, PLLC

AYALA, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20783          ONDERLAW, LLC

AYALA, LANI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

AYALA, LANI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

AYALA, LANI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15011          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

AYALA, LANI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

AYALA, LITHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09521          ONDERLAW, LLC

AYALA, VANNESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07300          JOHNSON LAW GROUP

AYALA-CRUZ, MIOSOTIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11229          LIAKOS LAW APC

AYCOCK, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-11555          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC




                                                                            Page 50 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 52 of 702

               Claimant Name                        State Filed                      Docket Number                             Plaintiff Counsel

AYER, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13949          ASHCRAFT & GEREL

AYER, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13949          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AYERS, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19002          NACHAWATI LAW GROUP

AYERS, DOLLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00154          ENVIRONMENTAL LITIGATION GROUP, PC

AYERS, GAYLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09117          WILLIAMS HART LAW FIRM

AYERS, IRIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13709          MILLER DELLAFERA PLC

AYERS, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14025          DAVIS, BETHUNE & JONES, L.L.C.

AYERS, KATHRYN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-000152-21        GOLOMB & HONIK, P.C.

AYERS, MOIRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11909          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AYERS, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16418          NACHAWATI LAW GROUP

AYERS, SARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18994          BARON & BUDD, P.C.

AYERS, SONYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04043          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AYO, EVELYN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08860          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AYON, YVONNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00585          JOHNSON LAW GROUP

AYOTTE, BRANDY MAY ORIOLE         BRITISH COLUMBIA (VANCOUVER)                VLC-S-S-230640         PRESZLER LAW FIRM LLP

AYOUB, NADIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06304          ONDERLAW, LLC

AYRES, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05798          JOHNSON BECKER, PLLC

AYRES, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21459          FLETCHER V. TRAMMELL

AYTES, STACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04379          ONDERLAW, LLC

AZDAR, GAIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02279          CELLINO & BARNES, P.C.

AZEVEDO, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01797          ASHCRAFT & GEREL

AZEVEDO, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01797          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AZIMI, AZAR                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07519          ASHCRAFT & GEREL, LLP

AZIMI, AZAR                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07519          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AZIZ, EDNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12370          ASHCRAFT & GEREL

AZIZ, EDNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12370          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AZIZ, SHNO                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11696          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AZNAR, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11877          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

AZOVSKAYA, YEVDOKIYA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16952          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

AZPIRI, GINA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002064-21        GOLOMB & HONIK, P.C.

B, E                              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15416          THE SEGAL LAW FIRM

BAACK, LETHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19711          NACHAWATI LAW GROUP

BAARS, PEARL                      NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002082-20        GOLOMB & HONIK, P.C.

BAASCH, TANYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15432          ONDERLAW, LLC



                                                                             Page 51 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 53 of 702

              Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

BABA, LUCILLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12475          THE SIMON LAW FIRM, PC

BABAR, VIVIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01092          DRISCOLL FIRM, P.C.

BABAUTA, SHELLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11691          GOZA & HONNOLD, LLC

BABAUTA, SHELLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09903          NAPOLI SHKOLNIK, PLLC

BABB, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02328          DAVIS, BETHUNE & JONES, L.L.C.

BABB, GEORGANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17345          WEITZ & LUXENBERG

BABB, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03633          JOHNSON LAW GROUP

BABB, MARJORIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00726          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BABB, MARJORIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00726          ONDERLAW, LLC

BABB, MARJORIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00726          PORTER & MALOUF, PA

BABB, MARJORIE                   CA - SUPERIOR COURT - SANTA CLARA COUNTY    17CV318665             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BABB, MARJORIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00726          THE SMITH LAW FIRM, PLLC

BABB, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09397          ONDERLAW, LLC

BABBS, COLETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16313          NACHAWATI LAW GROUP

BABCOCK, MONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19493          ASHCRAFT & GEREL

BABCOCK, MONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19493          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BABCOCK, SANDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07778          THE DUGAN LAW FIRM

BABE, JAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21438          JOHNSON BECKER, PLLC

BABER, CASSANDRA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002207-20        GOLOMB & HONIK, P.C.

BABER, ROSETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10838          ASHCRAFT & GEREL

BABERS, ALMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16520          LENZE KAMERRER MOSS, PLC

BABICH, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12926          PAUL LLP

BABIN, KARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05322          ONDERLAW, LLC

BABISH, ROSEMARIE                NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-000007-19        LOPEZ-MCHUGH, LLP

BABUCA, IVETTE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002489-20        GOLOMB & HONIK, P.C.

BACA, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06875          ONDERLAW, LLC

BACA, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17513          JOHNSON LAW GROUP

BACA, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08759          FLETCHER V. TRAMMELL

BACCA, DEE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14850          SANDERS PHILLIPS GROSSMAN, LLC

BACCARI, LILIANA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002454-21        COHEN, PLACITELLA & ROTH

BACCHUS, ERNESTINE               LA - DISTRICT COURT - ORLEANS PARISH        17-10829               GALANTE & BIVALACQUA LLC

BACCHUS, ERNESTINE               LA - DISTRICT COURT - ORLEANS PARISH        17-10829               POURCIAU LAW FIRM, LLC

BACCHUS, ERNESTINE               LA - DISTRICT COURT - ORLEANS PARISH        17-10829               THE CHEEK LAW FIRM




                                                                            Page 52 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                             Appendix A (Part 1) Page 54 of 702

              Claimant Name                        State Filed                      Docket Number                             Plaintiff Counsel

BACHELDER, MONIQUE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14516          NAPOLI SHKOLNIK PLLC

BACHIE, DELORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13261          ONDERLAW, LLC

BACHMAN, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07985          ONDERLAW, LLC

BACK, CHERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16491          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BACKER, BETSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08960          ONDERLAW, LLC

BACKER, KARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-10284          ONDERLAW, LLC

BACKES, KELLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13440          TORHOERMAN LAW LLC

BACKLUND, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13266          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BACKOFF, NETTIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002599-20        GOLOMB & HONIK, P.C.

BACKUS, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-15814          ONDERLAW, LLC

BACLIG, EMILIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01542          ONDERLAW, LLC

BACON, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14201          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BACON, HERLASCHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17417          WEITZ & LUXENBERG

BACON, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03766          ASHCRAFT & GEREL, LLP

BACON, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03766          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BACON, TRINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08239          ONDERLAW, LLC

BACON-BARNETTE, KAREN            NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-368-15           GOLOMB SPIRT GRUNFELD PC

BADEN, MARY                      CA - SUPERIOR COURT - SANTA CLARA COUNTY    16-CV-300592           LEVIN SIMES LLP

BADER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13044          FLETCHER V. TRAMMELL

BADER-REINDL, F                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05328          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BADGER, ADA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06715          ONDERLAW, LLC

BADGER, LOU                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-22104          DALIMONTE RUEB, LLP

BADGETT, KATIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11297          FLETCHER V. TRAMMELL

BADGLEY, LINDA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-924-16           SEEGER WEISS LLP

BAEHMAN, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15838          NAPOLI SHKOLNIK PLLC

BAER, PERIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13172          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

BAEZ, IDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11614          NACHAWATI LAW GROUP

BAFALON, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11346          MOLL LAW GROUP

BAGASBAS, MARILYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05724          LENZE LAWYERS, PLC

BAGBY, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05518          NAPOLI SHKOLNIK, PLLC

BAGGETT, ILONA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15609          THE WEINBERG LAW FIRM

BAGGETT, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11048          HOLLIS, WRIGHT, CLAY & VAIL, P.C.

BAGGETT, ROSETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19148          NACHAWATI LAW GROUP




                                                                            Page 53 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                            Appendix A (Part 1) Page 55 of 702

             Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

BAGGETT, SHERRILL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02829          THE MILLER FIRM, LLC

BAGGOTT, DENISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01056          MCSWEENEY/LANGEVIN, LLC

BAGINSKI, DEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02399          WILLIAMS HART LAW FIRM

BAGLEY, DORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07228          BURNS CHAREST LLP

BAGLEY, DORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07228          BURNS CHAREST LLP

BAGLEY, JOANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09356          ONDERLAW, LLC

BAGLEY, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11549          NACHAWATI LAW GROUP

BAGSBY, JUAWANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05592          ONDERLAW, LLC

BAGWELL, DORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19249          ARNOLD & ITKIN LLP

BAGWELL, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14988          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

BAHAM, GWENDOLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02924          THE BENTON LAW FIRM, PLLC

BAHMLER, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10767          ONDERLAW, LLC

BAHNSEN, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-01254          WILLIAMS DECLARK TUSCHMAN CO, LPA

BAHRE, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16153          ASHCRAFT & GEREL, LLP

BAHRE, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16153          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAHREY, MARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04254          ONDERLAW, LLC

BAIER, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11361          NACHAWATI LAW GROUP

BAILER, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09287          ONDERLAW, LLC

BAILEY, ADDIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11749          THE MILLER FIRM, LLC

BAILEY, ALMETER                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-002054-18          GOLOMB SPIRT GRUNFELD PC

BAILEY, ANGEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17818          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BAILEY, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14462          FLETCHER V. TRAMMELL

BAILEY, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02256          ONDERLAW, LLC

BAILEY, BEATRICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02727          ONDERLAW, LLC

BAILEY, BECKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15290          ARNOLD & ITKIN LLP

BAILEY, BERNADETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-04778          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAILEY, BRENDA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002156-20        GOLOMB & HONIK, P.C.

BAILEY, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20357          ONDERLAW, LLC

BAILEY, CARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19378          NACHAWATI LAW GROUP

BAILEY, CHRISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18223          ARNOLD & ITKIN LLP

BAILEY, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00856          CELLINO & BARNES, P.C.

BAILEY, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13547          THE MILLER FIRM, LLC

BAILEY, DENICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                           Page 54 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                           Appendix A (Part 1) Page 56 of 702

            Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

BAILEY, DENICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          ONDERLAW, LLC

BAILEY, DENICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          PORTER & MALOUF, PA

BAILEY, DENICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          THE SMITH LAW FIRM, PLLC

BAILEY, DESSIRE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12666          DRISCOLL FIRM, P.C.

BAILEY, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18971          NACHAWATI LAW GROUP

BAILEY, ELFRIEDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11416          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BAILEY, GEVINCIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05083          ONDERLAW, LLC

BAILEY, HILDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05681          REICH & BINSTOCK, LLP

BAILEY, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01975          ONDERLAW, LLC

BAILEY, JOELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11154          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAILEY, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13951          ASHCRAFT & GEREL

BAILEY, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13951          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAILEY, JULIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02258          JOHNSON BECKER, PLLC

BAILEY, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11800          ONDERLAW, LLC

BAILEY, KELLI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-22139          LENZE LAWYERS, PLC

BAILEY, LATOYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20359          ONDERLAW, LLC

BAILEY, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19098          NACHAWATI LAW GROUP

BAILEY, LESLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16748          ONDERLAW, LLC

BAILEY, LETICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08180          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAILEY, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16632          ASHCRAFT & GEREL

BAILEY, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11532          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAILEY, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16632          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAILEY, LINDA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002748-21        WEITZ & LUXENBERG

BAILEY, LUCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02012          FLETCHER V. TRAMMELL

BAILEY, LUKESHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16358          NACHAWATI LAW GROUP

BAILEY, LYNN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09805          ONDERLAW, LLC

BAILEY, MARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04262          ASHCRAFT & GEREL, LLP

BAILEY, MARTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11073          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BAILEY, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06992          ONDERLAW, LLC

BAILEY, MICAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-05536          GORI JULIAN & ASSOCIATES, P.C.

BAILEY, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02417          JOHNSON LAW GROUP

BAILEY, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09364          FLETCHER V. TRAMMELL

BAILEY, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06293          ONDERLAW, LLC

BAILEY, REGINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-10974          GORI JULIAN & ASSOCIATES, P.C.



                                                                          Page 55 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 57 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

BAILEY, RELDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12009          NACHAWATI LAW GROUP

BAILEY, RHONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10899          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAILEY, SALLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06067          ASHCRAFT & GEREL, LLP

BAILEY, SALLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06067          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAILEY, SELENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-13373          WEXLER WALLACE LLP

BAILEY, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00862          BURNS CHAREST LLP

BAILEY, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00862          BURNS CHAREST LLP

BAILEY, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04940          ONDERLAW, LLC

BAILEY, TAMMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-15531          CELLINO & BARNES, P.C.

BAILEY, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-06919          NAPOLI SHKOLNIK, PLLC

BAILEY, ZORA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10972          DALIMONTE RUEB, LLP

BAILEY-PARKER, SARAH             MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAILEY-PARKER, SARAH             MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           GOLDENBERGLAW, PLLC

BAILEY-PARKER, SARAH             MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           ONDERLAW, LLC

BAILEY-PARKER, SARAH             MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           PORTER & MALOUF, PA

BAILEY-PARKER, SARAH             MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           THE SMITH LAW FIRM, PLLC

BAILEY-WYCHE, SYLVIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01359          ARNOLD & ITKIN LLP

BAILIFF, COLLEEN                 FL - CIRCUIT COURT - BROWARD COUNTY         CACE19004206           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAILIFF, COLLEEN                 FL - CIRCUIT COURT - BROWARD COUNTY         CACE19004206           KELLEY UUSTAL, PLC

BAILLARGERON, CORNELIUS          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08265          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAILOR, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09255          ONDERLAW, LLC

BAIN, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08061          ASHCRAFT & GEREL

BAIN, YOLANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19157          NACHAWATI LAW GROUP

BAINES, A                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11398          POTTS LAW FIRM

BAINES, ROSALIND                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05209          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAIR, FRANCES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14980          CELLINO & BARNES, P.C.

BAIRD, ELLEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08865          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAIRD, ELLEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08865          PORTER & MALOUF, PA

BAIRD, NETTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19779          ONDERLAW, LLC

BAIZE, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10647          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

BAJACK, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02652          WILLIAMS HART LAW FIRM

BAJWA, SHAZIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18567          ONDERLAW, LLC

BAK, DIANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16328          NACHAWATI LAW GROUP

BAKER, ALMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10644          WATERS & KRAUS, LLP



                                                                            Page 56 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 58 of 702

               Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

BAKER, BEATRICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10445          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAKER, BETHANY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06927          ONDERLAW, LLC

BAKER, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04501          THE BENTON LAW FIRM, PLLC

BAKER, CARMEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05159          ONDERLAW, LLC

BAKER, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09711          ASHCRAFT & GEREL

BAKER, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09711          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAKER, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12353          ONDERLAW, LLC

BAKER, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10275          NACHAWATI LAW GROUP

BAKER, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20639          ONDERLAW, LLC

BAKER, CLARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12382          ASHCRAFT & GEREL

BAKER, CLARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12382          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAKER, COLLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16316          NACHAWATI LAW GROUP

BAKER, COREENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17703          ONDERLAW, LLC

BAKER, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16320          NACHAWATI LAW GROUP

BAKER, DARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13793          JOHNSON LAW GROUP

BAKER, DARLENE WILKERSON          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02843          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BAKER, DEANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10025          ONDERLAW, LLC

BAKER, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAKER, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          ONDERLAW, LLC

BAKER, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          PORTER & MALOUF, PA

BAKER, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01276          THE SMITH LAW FIRM, PLLC

BAKER, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11197          NACHAWATI LAW GROUP

BAKER, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00961          ONDERLAW, LLC

BAKER, ELSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20555          THE MILLER FIRM, LLC

BAKER, ESSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01840          JOHNSON BECKER, PLLC

BAKER, GLENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14204          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAKER, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16332          NACHAWATI LAW GROUP

BAKER, GRACE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03828          ONDERLAW, LLC

BAKER, HATTIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17863          FRAZER PLC

BAKER, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14896          LENZE LAWYERS, PLC

BAKER, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14896          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BAKER, ILENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02164          GORI JULIAN & ASSOCIATES, P.C.

BAKER, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16344          NACHAWATI LAW GROUP

BAKER, JANICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02332          DAVIS, BETHUNE & JONES, L.L.C.



                                                                             Page 57 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                          Appendix A (Part 1) Page 59 of 702

           Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

BAKER, JEANNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02317          ONDERLAW, LLC

BAKER, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13422          BERNSTEIN LIEBHARD LLP

BAKER, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02102          ONDERLAW, LLC

BAKER, KELLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11198          ASHCRAFT & GEREL

BAKER, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07048          SLATER, SLATER, SCHULMAN, LLP

BAKER, LUANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08871          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAKER, LYNDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02257          ONDERLAW, LLC

BAKER, MABLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02016          ONDERLAW, LLC

BAKER, MABLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04856          THE MILLER FIRM, LLC

BAKER, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03612          ASHCRAFT & GEREL, LLP

BAKER, MARION                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04909          ONDERLAW, LLC

BAKER, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19752          ASHCRAFT & GEREL, LLP

BAKER, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19752          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAKER, MEGHAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11127          ARNOLD & ITKIN LLP

BAKER, MELISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09485          FLETCHER V. TRAMMELL

BAKER, MELISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02471          THE SEGAL LAW FIRM

BAKER, MISTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-05844          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAKER, NANCY                  IL - CIRCUIT COURT - COOK COUNTY            2017-L-7989            POWERS ROGERS & SMITH LLP

BAKER, NANETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01038          ONDERLAW, LLC

BAKER, NELDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07951          DALIMONTE RUEB, LLP

BAKER, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13228          GORI JULIAN & ASSOCIATES, P.C.

BAKER, PEGGY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17701          ONDERLAW, LLC

BAKER, ROSEMARIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19712          NACHAWATI LAW GROUP

BAKER, SHERRIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16414          NACHAWATI LAW GROUP

BAKER, SHINIKA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14611          FLETCHER V. TRAMMELL

BAKER, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05202          ONDERLAW, LLC

BAKER, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-11248          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAKER, TAMARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02760          BACHUS & SCHANKER LLC

BAKER, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02168          ONDERLAW, LLC

BAKER, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12477          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BAKER, VIKKI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08652          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAKER, VIKKI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08652          PORTER & MALOUF, PA

BAKER-DUHO, RAMONA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04870          ONDERLAW, LLC

BAKER-FOSTER, JEANITTA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16347          NACHAWATI LAW GROUP



                                                                         Page 58 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 60 of 702

              Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

BAKER-KARR, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13642          DALIMONTE RUEB, LLP

BAKER-LADD, SHELLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15256          HILLIARD MARTINEZ GONZALES, LLP

BAKKE, CATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08414          FLETCHER V. TRAMMELL

BAKKEN, JANIECE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14673          JOHNSON LAW GROUP

BAKKEN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10291          ASHCRAFT & GEREL

BAKKEN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10291          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAKKER, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06450          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

BAKMAN, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAKMAN, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05720          ONDERLAW, LLC

BAKMAN, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05720          PORTER & MALOUF, PA

BAKMAN, DEBBIE                   CA - SUPERIOR COURT - SANTA CLARA COUNTY    17CV318664             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BAKMAN, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05720          THE SMITH LAW FIRM, PLLC

BAKSA, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07410          NAPOLI SHKOLNIK, PLLC

BAKSH, KAREEMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-06518          MUELLER LAW PLLC

BAKSH, NAZIMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02481          ONDERLAW, LLC

BAKUS, REBECCA                   CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC699682               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BAKUS, REBECCA                   CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC699682               ROSS FELLER CASEY, LLP

BAL, RAYNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14173          ASHCRAFT & GEREL, LLP

BAL, RAYNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14173          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BALA, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08861          ONDERLAW, LLC

BALASKONIS, ANTONIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10456          RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

BALASOW, EMMA                    CA - SUPERIOR COURT - SANTA CLARA COUNTY    18CV327342             THE MILLER FIRM, LLC

BALCH, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12730          THE MILLER FIRM, LLC

BALDERRAMA, DIANA                NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-006540-14        SEEGER WEISS LLP

BALDINO, LUCILLE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-001060-18        LEVY, BALDANTE,FINNEY & RUBENSTEIN,

BALDON, ELMIRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09769          ONDERLAW, LLC

BALDRIDGE, ANDREA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00767          ONDERLAW, LLC

BALDRIDGE, PAULINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14175          ASHCRAFT & GEREL, LLP

BALDRIDGE, PAULINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14175          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BALDUCCI, MARIAN AVANTS          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15281          ARNOLD & ITKIN LLP

BALDUF, MELANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08301          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BALDWIN, ALEXANDRIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06660          ONDERLAW, LLC




                                                                            Page 59 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                              Appendix A (Part 1) Page 61 of 702

               Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

BALDWIN, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13644          DALIMONTE RUEB, LLP

BALDWIN, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00526          DALIMONTE RUEB, LLP

BALDWIN, GWENDOLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16341          NACHAWATI LAW GROUP

BALDWIN, JAMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08504          HARRISON DAVIS STEAKLEY MORRISON

BALDWIN, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13824          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BALDWIN, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07071          ONDERLAW, LLC

BALDYGA, DOLORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10941          LENZE KAMERRER MOSS, PLC

BALE, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05528          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BALENTINA, RHONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05572          JOHNSON LAW GROUP

BALENTINE, VICKEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08379          ONDERLAW, LLC

BALES, SANDRA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002083-20        GOLOMB & HONIK, P.C.

BALFOUR, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00894          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BALGAME, JOLYNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16348          NACHAWATI LAW GROUP

BALKE, SHASHONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05951          ONDERLAW, LLC

BALKUM, IRENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18206          JOHNSON LAW GROUP

BALL, BELINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08412          ONDERLAW, LLC

BALL, GEORGETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02210          ONDERLAW, LLC

BALL, IVY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12984          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BALL, JESSICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-04715          THE MILLER FIRM, LLC

BALL, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08569          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BALL, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06918          JOHNSON BECKER, PLLC

BALL, LOUISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06531          ONDERLAW, LLC

BALL, LUGUSTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03798          ONDERLAW, LLC

BALL, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11350          LEVIN SIMES LLP

BALL, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10690          ONDERLAW, LLC

BALL, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-01783          FITZGERALD LAW GROUP, LLC

BALL, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10954          THE SIMON LAW FIRM, PC

BALL, YUVONNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03743          ONDERLAW, LLC

BALLANTYNE, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04628          ONDERLAW, LLC

BALLARD, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09004          THE SEGAL LAW FIRM

BALLARD, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09873          ONDERLAW, LLC

BALLARD, EUNICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19174          NACHAWATI LAW GROUP

BALLARD, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17292          ONDERLAW, LLC

BALLEW, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06737          THE SIMON LAW FIRM, PC



                                                                             Page 60 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 62 of 702

              Claimant Name                         State Filed                         Docket Number                            Plaintiff Counsel

BALLEW, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16793             FRAZER PLC

BALLEZ, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10714             THE MILLER FIRM, LLC

BALLIU, KLEVA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002725-21           WEITZ & LUXENBERG

BALLON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17468             ASHCRAFT & GEREL

BALLOU, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07763             ONDERLAW, LLC

BALLREE, BENITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13273             NACHAWATI LAW GROUP

BALMER, BEATRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01543             ONDERLAW, LLC

BALMER, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03025             ONDERLAW, LLC

BALMFORTH, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06908             JOHNSON LAW GROUP

BALOGH, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-03785             WAGSTAFF & CARTMELL, LLP

BALOUGH, NANCYANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09617             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BALSAM, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10985             BURNS CHAREST LLP

BALSAMO, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-15081             CELLINO & BARNES, P.C.

BALSBAUGH, MARCIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002491-20           GOLOMB & HONIK, P.C.

BALSINGER, CATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05689             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BALSON, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16350             NACHAWATI LAW GROUP

BALT, PATRICIA AND BAPP, RONALD   NY - SUPREME COURT - NYCAL                  190126/2021               KARST & VON OISTE, LLP

BALTHAZAR, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16494             TORHOERMAN LAW LLC

BALTHAZAR, NORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11984             MORRIS BART & ASSOCIATES

BALTON, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16393             NACHAWATI LAW GROUP

BALVIN, JANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14559             ONDERLAW, LLC

BANACH, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17422             LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BANAHAN, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11377             ONDERLAW, LLC

BANANA, EDDIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10784             THE ENTREKIN LAW FIRM

BANDA, ROSE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11557             NACHAWATI LAW GROUP

BANDERET, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09188             MARLIN & SALTZMAN LLP

BANDILLI, MARIKA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00037             BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

BANDIN, DANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08016             ONDERLAW, LLC

BANEY, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00442             BARRETT LAW GROUP

BANEY, JEANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09912             LENZE KAMERRER MOSS, PLC

BANGHART-GIORDANO, MICHELLE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11382             ONDERLAW, LLC

BANKER, DEREK                     MA - SUPERIOR COURT - MIDDLESEX COUNTY      21-0589                   DUFFY LAW LLC

BANKS, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07076             BURNS CHAREST LLP

BANKS, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07076             BURNS CHAREST LLP



                                                                             Page 61 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 63 of 702

              Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

BANKS, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15787          JOHNSON LAW GROUP

BANKS, DOMINIQUE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18624          WEITZ & LUXENBERG

BANKS, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10776          NACHAWATI LAW GROUP

BANKS, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12820          HENINGER GARRISON DAVIS, LLC

BANKS, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09123          ONDERLAW, LLC

BANKS, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07836          ASHCRAFT & GEREL

BANKS, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07836          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BANKS, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06931          ONDERLAW, LLC

BANKS, LOREDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06638          ARNOLD & ITKIN LLP

BANKS, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09876          ONDERLAW, LLC

BANKS, MAGGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16365          NACHAWATI LAW GROUP

BANKS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02296          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

BANKS, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05167          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BANKS, NETTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14362          FLETCHER V. TRAMMELL

BANKS, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05789          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BANKS, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19181          NACHAWATI LAW GROUP

BANKS, VANESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08488          ONDERLAW, LLC

BANKS, YVONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16322          NACHAWATI LAW GROUP

BANKS-HARDING, EVA               NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2542-17          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BANKS-HARRIS, BEULAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-04838          JOHNSON LAW GROUP

BANKS-HARRIS, BEULAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-04838          LEVIN SIMES LLP

BANKSTON, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09430          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BANKS-WRIGHT, MARGIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17315          THE MILLER FIRM, LLC

BANNA, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09458          ONDERLAW, LLC

BANNAR, DOROTHY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002442-18        GOLOMB SPIRT GRUNFELD PC

BANNERMAN, ANNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17072          ONDERLAW, LLC

BANNISTER, ANDREA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08919          ONDERLAW, LLC

BANOVIC, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BANOVIC, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          ONDERLAW, LLC

BANOVIC, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          PORTER & MALOUF, PA

BANOVIC, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          THE SMITH LAW FIRM, PLLC

BANSEY, JASMINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12466          SANDERS PHILLIPS GROSSMAN, LLC

BANTA, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-06806          GORI JULIAN & ASSOCIATES, P.C.

BANUELOS, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01648          DALIMONTE RUEB, LLP



                                                                            Page 62 of 1405
                           Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                           Appendix A (Part 1) Page 64 of 702

           Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

BANYAI, ILONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00768          ONDERLAW, LLC

BAPPLE, MARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09313          ONDERLAW, LLC

BAPTIST, GEORGIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16430          NACHAWATI LAW GROUP

BAPTIST, JACQUELINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07715          CELLINO & BARNES, P.C.

BAPTISTE, MARGARET            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02048          JOHNSON LAW GROUP

BAPTISTE, TRACY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17482          ONDERLAW, LLC

BAPTISTE, TRACY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14253          WEITZ & LUXENBERG

BAQUERO, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01531          ONDERLAW, LLC

BARAFF, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10619          MOTLEY RICE, LLC

BARAJAS, SARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05001          SIMMONS HANLY CONROY

BARAN, IRENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00072          CELLINO & BARNES, P.C.

BARAN, JUDITH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1722-CC10919           ONDERLAW, LLC

BARAN, NORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07929          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARAN, NORA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2304-17          GOLOMB SPIRT GRUNFELD PC

BARAN, NORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07929          ONDERLAW, LLC

BARAN, NORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07929          PORTER & MALOUF, PA

BARAN, NORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07929          THE SMITH LAW FIRM, PLLC

BARAN, VICKI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01517          JOHNSON LAW GROUP

BARANCZYK, ROBERTA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07902          MILLER DELLAFERA PLC

BARANICH, TERRI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08656          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARANOWSKI, DEBORAH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10862          THE MILLER FIRM, LLC

BARATH, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12616          JOHNSON LAW GROUP

BARATZ, RITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05719          CELLINO & BARNES, P.C.

BARBAER, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11962          NACHAWATI LAW GROUP

BARBAN, ROSALINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11359          NACHAWATI LAW GROUP

BARBARA BARNETT               FEDERAL - MDL                               3:21-CV-19044          MOTLEY RICE, LLC

BARBARA BREN                  FEDERAL - MDL                               3:21-CV-19634          JOHNSON BECKER, PLLC

BARBARA CATILLER              IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

BARBARA FERREN                FEDERAL - MDL                               3:21-CV-19584          ONDERLAW, LLC

BARBARA GOAD                  FEDERAL - MDL                               3:21-CV-18666          FLETCHER V. TRAMMELL

BARBARA HALL                  FEDERAL - MDL                               3:21-CV-19675          JOHNSON BECKER, PLLC

BARBARA JONAS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18531          JOHNSON LAW GROUP

BARBARA KOVACEVICH            DC - USDC FOR THE DISTRICT OF COLUMBIA      1:21-CV-02724          ASHCRAFT & GEREL

BARBARA KOVACEVICH            DC - USDC FOR THE DISTRICT OF COLUMBIA      1:21-CV-02724          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                         Page 63 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 65 of 702

           Claimant Name                        State Filed                      Docket Number                               Plaintiff Counsel

BARBARA MCCARTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18962          JOHNSON LAW GROUP

BARBARA MEDEIROS              FEDERAL - MDL                               3:21-CV-18858          MOTLEY RICE, LLC

BARBARA SCHROEDER             IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

BARBARA WELK                  FEDERAL - MDL                               3:21-CV-19722          ONDERLAW, LLC

BARBAROTTA-KOZAK, JANET       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01194          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARBEE-COUGLER, LINDA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11392          FLEMING, NOLEN & JEZ, LLP

BARBELLA, DAWN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09951          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BARBER, ANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11351          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BARBER, CONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12128          THE MILLER FIRM, LLC

BARBER, ETHEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11014          ONDERLAW, LLC

BARBER, GLADYS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03168          ONDERLAW, LLC

BARBER, SONIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08594          MOTLEY RICE, LLC

BARBER-BOTZKO, GLORIA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02281          CELLINO & BARNES, P.C.

BARBIC, SAMANTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14067          HILLIARD MARTINEZ GONZALES, LLP

BARBIN, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03087          ONDERLAW, LLC

BARBORKA, BERNITA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11168          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

BARBOSA, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-15820          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARBOUR, JESSIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07479          ONDERLAW, LLC

BARCELLONA, KATHRYN           NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002986-18        GOLOMB & HONIK, P.C.

BARCENA, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-04370          SIMMONS HANLY CONROY

BARCHETTI, JOANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13696          DEGARIS WRIGHT MCCALL

BARCLAY, VIRGINIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02084          JOHNSON LAW GROUP

BARCLIFF, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11781          JOHNSON BECKER, PLLC

BARDEN, DOUGLAS               NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-01809-17AS       SZAFERMAN LAKIND BLUMSTEIN & BLADER

BARDSLEY, CAMILLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00137          POTTS LAW FIRM

BARDWELL, DAWN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08829          COHEN & MALAD, LLP

BAREFIELD, LENORA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16353          NACHAWATI LAW GROUP

BAREFOOT, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15333          ONDERLAW, LLC

BARELA, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05410          DALIMONTE RUEB, LLP

BARENTINE, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09684          ONDERLAW, LLC

BARETELA, JEAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06317          NAPOLI SHKOLNIK PLLC

BARGAS, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13645          DALIMONTE RUEB, LLP

BARGE, DEBORAH                NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2891-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARGE, DEBORAH                NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2891-15          PORTER & MALOUF, PA



                                                                         Page 64 of 1405
                               Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                               Appendix A (Part 1) Page 66 of 702

               Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

BARGE, DEBORAH                    NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2891-15          SEEGER WEISS LLP

BARGE, DEBORAH                    NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2891-15          THE SMITH LAW FIRM, PLLC

BARGE, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09967          JOHNSON LAW GROUP

BARGE-CHAMBERS, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12806          MORELLI LAW FIRM, PLLC

BARGO, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04357          THE MILLER FIRM, LLC

BARIATTI, HARRIET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-05400          CELLINO & BARNES, P.C.

BARIL, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18827          NACHAWATI LAW GROUP

BARILE, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09874          ONDERLAW, LLC

BARILE, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09874          ONDERLAW, LLC

BARKER, ANDREA                    CA - SUPERIOR COURT - SANTA CLARA COUNTY    18CV331103             KIESEL LAW, LLP

BARKER, ANDREA                    CA - SUPERIOR COURT - SANTA CLARA COUNTY    18CV331103             THE WHITEHEAD LAW FIRM, LLC

BARKER, CARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-07656          WILLIAMS DECLARK TUSCHMAN CO, LPA

BARKER, CHAKARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16311          NACHAWATI LAW GROUP

BARKER, DEBORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04312          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARKER, IVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07508          ASHCRAFT & GEREL, LLP

BARKER, IVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07508          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARKER, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10694          WALTON TELKEN FOSTER, LLC

BARKER, JEANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04849          ONDERLAW, LLC

BARKER, JESSICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20644          ONDERLAW, LLC

BARKER, KANDICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12930          TRAMMELL PC

BARKER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04317          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARKER, REGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05871          ONDERLAW, LLC

BARKER, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10815          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARKHAMER, JOSEPHINE              NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-001572-21        GOLOMB & HONIK, P.C.

BARKLEY, CHARLOTTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17704          JOHNSON LAW GROUP

BARKLEY, SUSAN S.                 CA - SUPERIOR COURT - ALAMEDA COUNTY        RG20066950             KAZAN,MCCLAIN,SATTERLEY & GREENWOOD

BARKSDALE, JACQUEOLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08912          ONDERLAW, LLC

BARKYOUMB, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12168          DAVIS, BETHUNE & JONES, L.L.C.

BARLEY, LESLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11873          ARNOLD & ITKIN LLP

BARLOW, JULIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06972          THE SIMON LAW FIRM, PC

BARLOW, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          GOLDENBERGLAW, PLLC

BARLOW, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09353          GORI JULIAN & ASSOCIATES, P.C.

BARLOW, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          ONDERLAW, LLC




                                                                             Page 65 of 1405
                               Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                               Appendix A (Part 1) Page 67 of 702

               Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

BARLOW, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          PORTER & MALOUF, PA

BARLOW, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          THE SMITH LAW FIRM, PLLC

BARLOW, SHELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02056          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARLOW, ZOE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05702          ONDERLAW, LLC

BARMES, BERTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10151          GOLDENBERGLAW, PLLC

BARNARD, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05522          NAPOLI SHKOLNIK, PLLC

BARNEBURG, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02713          POTTS LAW FIRM

BARNER, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03037          JOHNSON BECKER, PLLC

BARNER, JESSICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06022          KLINE & SPECTER, P.C.

BARNER, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01467          ONDERLAW, LLC

BARNES, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-11856          MORRIS BART & ASSOCIATES

BARNES, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16673          DRISCOLL FIRM, P.C.

BARNES, BILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15556          GIRARDI & KEESE

BARNES, BILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15556          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BARNES, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19187          NACHAWATI LAW GROUP

BARNES, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11587          NACHAWATI LAW GROUP

BARNES, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01434          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARNES, DANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11194          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARNES, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20004          ONDERLAW, LLC

BARNES, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07163          ONDERLAW, LLC

BARNES, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09849          FLETCHER V. TRAMMELL

BARNES, JOANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06704          ONDERLAW, LLC

BARNES, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11748          NACHAWATI LAW GROUP

BARNES, LAUREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00297          POTTS LAW FIRM

BARNES, LIDDIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07509          ASHCRAFT & GEREL, LLP

BARNES, LIDDIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07509          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARNES, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05160          ONDERLAW, LLC

BARNES, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13639          THE DUGAN LAW FIRM, APLC

BARNES, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13983          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARNES, LUCIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-13055          ONDERLAW, LLC

BARNES, MARTHA                    GA - STATE COURT OF FULTON COUNTY           20EV003751             BARNES LAW GROUP, LLC

BARNES, MARTHA                    GA - STATE COURT OF FULTON COUNTY           20EV003751             CHEELEY LAW GROUP

BARNES, MARY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARNES, MARY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           GOLDENBERGLAW, PLLC



                                                                             Page 66 of 1405
                             Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                             Appendix A (Part 1) Page 68 of 702

             Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

BARNES, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11173          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

BARNES, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15924          MCSWEENEY/LANGEVIN, LLC

BARNES, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04351          ONDERLAW, LLC

BARNES, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           ONDERLAW, LLC

BARNES, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           PORTER & MALOUF, PA

BARNES, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           THE SMITH LAW FIRM, PLLC

BARNES, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08606          MORRIS BART & ASSOCIATES

BARNES, NAIKETA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16389          NACHAWATI LAW GROUP

BARNES, OK                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06063          ONDERLAW, LLC

BARNES, SHEILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02330          DAVIS, BETHUNE & JONES, L.L.C.

BARNES, SHENNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08056          ONDERLAW, LLC

BARNES, SHURHONDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18598          ONDERLAW, LLC

BARNES, SUSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01620          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARNES, VIVIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01582          DEGARIS WRIGHT MCCALL

BARNES-PIERCE, JOYCE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01217          NACHAWATI LAW GROUP

BARNETT, ARIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03749          ONDERLAW, LLC

BARNETT, CATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04319          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARNETT, DAWN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002084-20        GOLOMB & HONIK, P.C.

BARNETT, DELORIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16461          NACHAWATI LAW GROUP

BARNETT, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13799          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARNETT, GLENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12845          THE BENTON LAW FIRM, PLLC

BARNETT, JADIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01238          JASON J. JOY & ASSCIATES P.L.L.C.

BARNETT, KATHRYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17689          ONDERLAW, LLC

BARNETT, KIM                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01363          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARNETT, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02919          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARNETT, NANCY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARNETT, NANCY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           GOLDENBERGLAW, PLLC

BARNETT, NANCY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           ONDERLAW, LLC

BARNETT, NANCY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           PORTER & MALOUF, PA

BARNETT, NANCY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00443           THE SMITH LAW FIRM, PLLC

BARNETT, PEARL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11392          NACHAWATI LAW GROUP

BARNETT, PHYLLIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11649          NACHAWATI LAW GROUP

BARNETT, RUBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01469          ASHCRAFT & GEREL

BARNETT, RUBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01469          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                           Page 67 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 69 of 702

           Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

BARNETT, SHERI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20369          ONDERLAW, LLC

BARNETT, STEPHANIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10822          ASHCRAFT & GEREL, LLP

BARNETT, TAMMY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00350          ASHCRAFT & GEREL

BARNETT, TAMMY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00350          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARNETTE, OLA JONES           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16450          NACHAWATI LAW GROUP

BARNETTE, VICTORIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04723          ONDERLAW, LLC

BARNFIELD, NICOLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11123          ARNOLD & ITKIN LLP

BARNHART, JONI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARNHART, JONI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05719          ONDERLAW, LLC

BARNHART, JONI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05719          PORTER & MALOUF, PA

BARNHART, JONI                CA - SUPERIOR COURT - SANTA CLARA COUNTY    17CV318662             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BARNHART, JONI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05719          THE SMITH LAW FIRM, PLLC

BARNHART, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17823          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BARNHART, MARYANN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19542          ARNOLD & ITKIN LLP

BARNHART, SHARAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09550          ONDERLAW, LLC

BARNHOLT, DIANE               NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-1419-17          GOLOMB SPIRT GRUNFELD PC

BARNHOUSE, LORETTA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21273          REEVES & GOFF, P.C.

BARNHOUSE, LORETTA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21273          THE DREESEN LAW FIRM, LLC

BARNS, TAMMIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16199          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BARNSTORF, ROBERTA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01702          CELLINO & BARNES, P.C.

BARNUM, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16924          ONDERLAW, LLC

BARNUM, IRENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17342          ONDERLAW, LLC

BARNUM, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19382          NACHAWATI LAW GROUP

BARO, COURTNEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17832          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BAROCAS, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BAROCAS, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15373          LENZE LAWYERS, PLC

BAROCAS, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

BAROCAS, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15373          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BAROCAS, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BARON, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09021          ONDERLAW, LLC

BARON, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12493          JOHNSON BECKER, PLLC

BARON, MICHELE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17962          NACHAWATI LAW GROUP

BARONE, FLORENCE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16330          NACHAWATI LAW GROUP




                                                                         Page 68 of 1405
                               Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                                Appendix A (Part 1) Page 70 of 702

               Claimant Name                          State Filed                      Docket Number                            Plaintiff Counsel

BARONE, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06008          KIRKENDALL DWYER LLP

BAROTTA, GLORIA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002412-20        GOLOMB & HONIK, P.C.

BARR, CHRISTINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07701          ONDERLAW, LLC

BARR, DOLLY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12335          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARR, GAIL                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11902          ASHCRAFT & GEREL, LLP

BARR, GAIL                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11902          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARR, LINDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02040          ONDERLAW, LLC

BARR, MARY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06186          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARR, PAULA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21647          LENZE KAMERRER MOSS, PLC

BARR, VICKIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04904          ONDERLAW, LLC

BARR, VICKY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21054          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BARRAGAN, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15156          NACHAWATI LAW GROUP

BARRANGER, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01166          NAPOLI SHKOLNIK, PLLC

BARRAN-JAMES, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17346          ONDERLAW, LLC

BARRAS, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15967          ANDRUS WAGSTAFF, P.C.

BARRAZA, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12281          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BARRELL, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16842          ASHCRAFT & GEREL, LLP

BARRELL, MARCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12354          ONDERLAW, LLC

BARRERA, KARLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09237          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARRERA, MIRELLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16380          NACHAWATI LAW GROUP

BARRERAS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11946          NACHAWATI LAW GROUP

BARRESI, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19383          JOHNSON LAW GROUP

BARRETT, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05233          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARRETT, CINDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05432          THE FERRARO LAW FIRM, P.A.

BARRETT, CLOTTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14255          BARON & BUDD, P.C.

BARRETT, JONI L AND BARRETT, BUFORD NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-03205-18AS       WEITZ & LUXENBERG

BARRETT, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10834          NACHAWATI LAW GROUP

BARRETT, KARIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13802          ONDERLAW, LLC

BARRETT, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08537          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARRETT, MICHELL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03245          ONDERLAW, LLC

BARRETT, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20030          ARNOLD & ITKIN LLP

BARRETT, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BARRETT, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC




                                                                               Page 69 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                              Appendix A (Part 1) Page 71 of 702

              Claimant Name                         State Filed                     Docket Number                                 Plaintiff Counsel

BARRETT, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BARRETT, STACY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14514            THE DIETRICH LAW FIRM, PC

BARRETT, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09815            ONDERLAW, LLC

BARRETT, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08522            WILLIAMS HART LAW FIRM

BARRETT, TAWANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11199            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARRETT, VIOLET                  CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC705973                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARRETT, VIOLET                  CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC705973                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BARRETT, VIOLET                  CA - SUPERIOR COURT - LOS ANGELES COUNTY    BC705973                 THE SMITH LAW FIRM, PLLC

BARRETTE, DIANE                  CA - SUPERIOR COURT - ORANGE COUNTY         30-2017-00950561-CU-PL-CXC ONDERLAW, LLC

BARRETTE, DIANE                  CA - SUPERIOR COURT - ORANGE COUNTY         30-2017-00950561-CU-PL-CXC SALKOW LAW, APC

BARRIGA, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01867            FLETCHER V. TRAMMELL

BARRINEAU, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20425            CHAPPELL, SMITH & ARDEN, P.A.

BARRINGER, CARMEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06862            THE ENTREKIN LAW FIRM

BARRINGER, DENISE                NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-1127-16              GOLOMB SPIRT GRUNFELD PC

BARRINGER, DENISE                NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-1127-16              JOHNSON BECKER, PLLC

BARRIOS, CLARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18411            MORRIS BART & ASSOCIATES

BARRISH, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10115            ONDERLAW, LLC

BARRON, DEIRDRE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06062            THE ENTREKIN LAW FIRM

BARRON, EVANGELINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17835            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BARRON, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13510            MORELLI LAW FIRM, PLLC

BARRON, IRMGARD                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08792            ONDERLAW, LLC

BARRON, LAUREL                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-006049-21          PUTNICK LEGAL, LLC

BARROW, JILLSYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18327            NACHAWATI LAW GROUP

BARROW, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11657            FLEMING, NOLEN & JEZ, LLP

BARROWS, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09286            ONDERLAW, LLC

BARROWS, LATOSHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03807            WILLIAMS HART LAW FIRM

BARRS, RUBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12460            ONDERLAW, LLC

BARRY, CAROL                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811             ONDERLAW, LLC

BARRY, CAROL                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811             PORTER & MALOUF, PA

BARRY, CAROL                     MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC00811             THE SMITH LAW FIRM, PLLC

BARRY, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20039            ONDERLAW, LLC

BARRY, ELLEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02994            TORHOERMAN LAW LLC



                                                                            Page 70 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 72 of 702

               Claimant Name                        State Filed                      Docket Number                             Plaintiff Counsel

BARRY, GERALDINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00326          POTTS LAW FIRM

BARRY, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06495          WILLIAMS HART LAW FIRM

BARRY, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16367          NACHAWATI LAW GROUP

BARSALOUX, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-11053          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARSH, ELEANOR                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12169          DAVIS, BETHUNE & JONES, L.L.C.

BARSHAY, LEENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10334          ASHCRAFT & GEREL

BARSNESS, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03700          CORY, WATSON, CROWDER & DEGARIS P.C.

BART, CYNTHIA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002241-20        GOLOMB & HONIK, P.C.

BART, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05523          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BARTASI, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00095          CELLINO & BARNES, P.C.

BARTCHER, EUNICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09851          FLETCHER V. TRAMMELL

BARTEL, MEDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BARTEL, MEDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

BARTEL, MEDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16372          NACHAWATI LAW GROUP

BARTEL, MEDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BARTELL, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09821          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARTELL, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06339          ONDERLAW, LLC

BARTELS, JERI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20235          NACHAWATI LAW GROUP

BARTER, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15762          WATERS & KRAUS, LLP

BARTH, ANNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21796          ONDERLAW, LLC

BARTH, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08258          FLETCHER V. TRAMMELL

BARTH, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11730          NACHAWATI LAW GROUP

BARTH, SUZANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16014          JOHNSON LAW GROUP

BARTH-ANDREWS, SUSAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12307          MORGAN & MORGAN, P.A.

BARTHELME, GWEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08899          DRISCOLL FIRM, P.C.

BARTHELOTTI, LIGIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09283          WILLIAMS HART LAW FIRM

BARTHOLOMEW, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00491          JOHNSON BECKER, PLLC

BARTLETT, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12998          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARTLETT, CAROL                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-001984-16        DAMATO LAW FIRM, P.C.

BARTLETT, DENETT                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14839          LENZE LAWYERS, PLC

BARTLETT, DIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12482          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BARTLETT, LYNDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16359          NACHAWATI LAW GROUP

BARTLETT, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19193          NACHAWATI LAW GROUP

BARTLEY, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10556          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 71 of 1405
                               Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                                 Appendix A (Part 1) Page 73 of 702

               Claimant Name                           State Filed                      Docket Number                            Plaintiff Counsel

BARTLEY, SHERYL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15859          LENZE LAWYERS, PLC

BARTNICK, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01173          GORI JULIAN & ASSOCIATES, P.C.

BARTOCCI, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17838          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BARTOLETTI, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15427          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

BARTOLI, RONNA DE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14443          THE SEGAL LAW FIRM

BARTON, ALANA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14696          LENZE LAWYERS, PLC

BARTON, ALANA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14696          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BARTON, AMY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15624          JOHNSON LAW GROUP

BARTON, CINDY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05687          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
BARTON, DIANA LEE EST OF JAMES LEE
                                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-02258-18AS       WEITZ & LUXENBERG
BARTON
BARTON, DIANE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11365          ASHCRAFT & GEREL

BARTON, ELLA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-06341          DIAMOND LAW

BARTON, IRENE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09104          WILLIAMS HART LAW FIRM

BARTON, MARY LOUISE                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-04071-19AS       WEITZ & LUXENBERG

BARTON, SHIRLEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13991          NAPOLI SHKOLNIK, PLLC

BARTON, SUSAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16409          NACHAWATI LAW GROUP

BARTON, WANDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07281          BURNS CHAREST LLP

BARTON, WANDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07281          BURNS CHAREST LLP

BARTOSIAK, AUDREY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00339          POTTS LAW FIRM

BARTOSZEK, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10907          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BARTOW, RAMONA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18552          MCSWEENEY/LANGEVIN, LLC

BARTOWICK, KRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01761          JOHNSON LAW GROUP

BARTSCHI, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11712          WALKER, HAMILTON & KOENIG, LLP

BARTUCCI, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07664          THE MILLER FIRM, LLC

BARTUS, BARBARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20873          CELLINO & BARNES, P.C.

BARTZ, KELLI                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17840          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BARWICK, ALESIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17845          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BARYCKI, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10148          GOLOMB SPIRT GRUNFELD PC

BARYLAK, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06520          ONDERLAW, LLC

BASBAGILL, KATIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16076          HOVDE, DASSOW, & DEETS, LLC

BASBAGILL, KATIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16076          THE MILLER FIRM, LLC

BASDEN, CONNIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12903          FLETCHER V. TRAMMELL

BASGALL, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00995          TRAMMELL PC




                                                                                Page 72 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 74 of 702

               Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

BASH, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09796          ONDERLAW, LLC

BASHAM, BOBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17973          ONDERLAW, LLC

BASHORE, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13701          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BASICH, ADELAIDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01171          GORI JULIAN & ASSOCIATES, P.C.

BASILE, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19380          NACHAWATI LAW GROUP

BASILO, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11793          NASS CANCELLIERE BRENNER

BASINGER, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14239          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BASINGER, ELSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08122          ARNOLD & ITKIN LLP

BASKERVILLE, VALERIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12386          ONDERLAW, LLC

BASKERVILLE, YVETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19198          NACHAWATI LAW GROUP

BASKETT, URSULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16375          NACHAWATI LAW GROUP

BASNAW, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04147          ONDERLAW, LLC
BASNIGHT, GEORGE & BASNIGHT,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-00010-20AS       WEITZ & LUXENBERG
CAMILLA
BASORE, DEBORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12733          ANDREW THORNTON HIGGINS RAZMARA LLP

BASPED, JESSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04964          ONDERLAW, LLC

BASS, ANGELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20862          ONDERLAW, LLC

BASS, CHRISTINE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002492-20        GOLOMB & HONIK, P.C.

BASS, CORTNEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09349          DALIMONTE RUEB, LLP

BASS, DENISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16038          ASHCRAFT & GEREL, LLP

BASS, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16386          NACHAWATI LAW GROUP

BASS, PAULA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00915          ROSS FELLER CASEY, LLP

BASS, TAMBERLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12332          MOTLEY RICE, LLC

BASS, WANDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16324          NACHAWATI LAW GROUP

BASSAK, MABEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11105          ONDERLAW, LLC

BASSETT, ANTOINETTE               NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003261-21        WEITZ & LUXENBERG

BASSETT, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07357          THE DUGAN LAW FIRM, APLC

BASSEY, ANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00796          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BASSEY, ANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00796          ONDERLAW, LLC

BASSEY, ANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00796          PORTER & MALOUF, PA

BASSEY, ANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00796          THE SMITH LAW FIRM, PLLC

BASSFIELD, CATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12807          MORELLI LAW FIRM, PLLC

BASSLER, TAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13953          ASHCRAFT & GEREL

BASSLER, TAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13953          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                             Page 73 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                             Appendix A (Part 1) Page 75 of 702

              Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

BASTAIN, CELESTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16307          NACHAWATI LAW GROUP

BASTEDENBECK, MARILYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12483          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BASTEGUIAN, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08759          ONDERLAW, LLC

BASTIS-CHIRAS, BERNICE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-09079          ONDERLAW, LLC

BASWELL, DARLA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002242-20        GOLOMB & HONIK, P.C.

BATALITZKY, KIM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-01160          THE DUGAN LAW FIRM, APLC

BATCHELOR, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05672          REICH & BINSTOCK, LLP

BATCHELOR, CRISTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13954          ASHCRAFT & GEREL

BATCHELOR, CRISTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13954          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BATCHELOR, EUGENIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16757          ASHCRAFT & GEREL, LLP

BATCHELOR, EUGENIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16757          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BATCHELOR, ROSEMARIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16518          THE MILLER FIRM, LLC

BATEMAN, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04380          ONDERLAW, LLC

BATES, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02416          LAW OFFICES OF CHARLES H JOHNSON,PA

BATES, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08179          ONDERLAW, LLC

BATES, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02255          JOHNSON BECKER, PLLC

BATES, CARLEY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-1938-16          NAPOLI SHKOLNIK, PLLC

BATES, DELORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01531          WILLIAMS HART LAW FIRM

BATES, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02637          ONDERLAW, LLC

BATES, DUANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01132          JOHNSON LAW GROUP

BATES, EDNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19606          ONDERLAW, LLC

BATES, HOPE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12745          ANDREW THORNTON HIGGINS RAZMARA LLP

BATES, JACQUELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00522          DRISCOLL FIRM, P.C.

BATES, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09688          LENZE LAWYERS, PLC

BATES, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16424          NACHAWATI LAW GROUP

BATES, PAULINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18116          JOHNSON LAW GROUP

BATES, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03073          ONDERLAW, LLC

BATES, SEALETA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19203          NACHAWATI LAW GROUP

BATES, TESHINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03844          ONDERLAW, LLC

BATES-RAY, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07178          ONDERLAW, LLC

BATEY, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02849          ONDERLAW, LLC

BATHKE, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15871          NACHAWATI LAW GROUP

BATIS, EARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14225          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BATISTA, DOREEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09128          ONDERLAW, LLC



                                                                            Page 74 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 76 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

BATISTA, MONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11416          DAVIS, BETHUNE & JONES, L.L.C.

BATISTE, BERNADETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17359          ASHCRAFT & GEREL, LLP

BATISTE, BERNADETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17359          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BATISTE, DEIADRIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-07499          BURNS CHAREST LLP

BATISTE, DEIADRIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-07499          BURNS CHAREST LLP

BATISTE, ELMIRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11503          ONDERLAW, LLC

BATMAN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-01784          JOHNSON BECKER, PLLC

BATRES, HIMARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03191          WILLIAMS HART LAW FIRM

BATTAGLIA, LOIS                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09326-01        ONDERLAW, LLC

BATTAGLIA, LOIS                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09326-01        PORTER & MALOUF, PA

BATTAGLIA, LOIS                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09326-01        THE SMITH LAW FIRM, PLLC

BATTEN, GAIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17779          ASHCRAFT & GEREL, LLP

BATTEN, GAIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17779          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BATTISTE, DEBBIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-11721          THE CHEEK LAW FIRM

BATTLE, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13003          NAPOLI SHKOLNIK PLLC

BATTLE, MARTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01820          ONDERLAW, LLC

BATTLE, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10154          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BATTLE, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10154          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BATTLE, PRISCILLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10946          ASHCRAFT & GEREL

BATTLE, SHEILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09186          DAVIS, BETHUNE & JONES, L.L.C.

BATTLE-MINCEY, YVETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09772          DANIEL & ASSOCIATES, LLC

BATTS, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05656          ASHCRAFT & GEREL

BATTS, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05656          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BATTS, TAMMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13261          ARNOLD & ITKIN LLP

BAUBY, DELIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09494          ONDERLAW, LLC

BAUCHNER, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11160          PARKER WAICHMAN, LLP

BAUCOM, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03108          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BAUDER, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05169          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAUER, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16043          NACHAWATI LAW GROUP

BAUER, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19700          FLETCHER V. TRAMMELL

BAUER, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00768          LEVIN SIMES LLP

BAUER, KATHY                     CA - SUPERIOR COURT - SANTA CLARA COUNTY    19CV342193             THE MILLER FIRM, LLC

BAUERLA, CAROLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19389          NACHAWATI LAW GROUP

BAUER-LOSTAUNAU, NORMA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14385          THE BENTON LAW FIRM, PLLC



                                                                            Page 75 of 1405
                               Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                               Appendix A (Part 1) Page 77 of 702

               Claimant Name                         State Filed                     Docket Number                                 Plaintiff Counsel

BAUGH, CAREY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18538             NACHAWATI LAW GROUP

BAUGH, KENDALL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08489             ONDERLAW, LLC

BAUGHARD, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00877             THE SEGAL LAW FIRM

BAUGHMAN, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07896             ONDERLAW, LLC

BAUGHMAN, JULIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07164             ONDERLAW, LLC

BAUGHMAN, SUE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12652             ONDERLAW, LLC

BAUHNECHT, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12219             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAUHS, TANJA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07703             ASHCRAFT & GEREL

BAUHS, TANJA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07703             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAULT, MITZI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00186             ONDERLAW, LLC

BAUM, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11054             PARKER WAICHMAN, LLP

BAUMAN, NATALIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-003387-21           COHEN, PLACITELLA & ROTH

BAUMANN, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451             DONALD L. SCHLAPPRIZZI P.C.

BAUMANN, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451             LENZE LAWYERS, PLC

BAUMANN, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13173             NACHAWATI LAW GROUP

BAUMANN, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BAUMGARDNER, ALBERTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03192             WILLIAMS HART LAW FIRM

BAUMGARTEN, CAREY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06504             LAW OFFICES OF SEAN M. CLEARY

BAUSCH, TONIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17967             NACHAWATI LAW GROUP

BAUSWELL, KARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18787             FLETCHER V. TRAMMELL

BAUTISTA, ANA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-001201-20           GOLOMB SPIRT GRUNFELD PC

BAUTISTA, ARLENE                  CA - SUPERIOR COURT - SAN DIEGO COUNTY      37-2018-17600-CU-PL-CTL   ASHCRAFT & GEREL

BAUTISTA, ARLENE                  CA - SUPERIOR COURT - SAN DIEGO COUNTY      37-2018-17600-CU-PL-CTL   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BAUTISTA, KRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04488             THE MILLER FIRM, LLC

BAUTISTA, MELY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10944             NACHAWATI LAW GROUP

BAXENDALE, EVANLINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01546             THE MILLER FIRM, LLC

BAXLEY, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19968             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAXTER, ELIZABETH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAXTER, ELIZABETH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134              GOLDENBERGLAW, PLLC

BAXTER, ELIZABETH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134              ONDERLAW, LLC

BAXTER, ELIZABETH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134              PORTER & MALOUF, PA

BAXTER, ELIZABETH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134              THE SMITH LAW FIRM, PLLC

BAXTER, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12776             THE DEATON LAW FIRM




                                                                             Page 76 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                              Appendix A (Part 1) Page 78 of 702

               Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

BAXTER, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16947          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

BAXTER, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18098          WAGSTAFF & CARTMELL, LLP

BAXTER, MELBA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17498          ONDERLAW, LLC

BAXTER, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02916          LENZE LAWYERS, PLC

BAXTER, SUZANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19392          NACHAWATI LAW GROUP

BAXTON, NIAROBIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11775          DALIMONTE RUEB, LLP

BAY, DEBORAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09452          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAY, WANDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15629          THE WEINBERG LAW FIRM

BAYBO, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17176          HOLLAND LAW FIRM

BAYER, WILMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09729          THE MILLER FIRM, LLC

BAYHI, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20129          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BAYHYLLE, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16562          THE BARNES FIRM, P.C.

BAYKAL, SHERRYLLYNNE              NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-08342-18AS       LEVY KONIGSBERG LLP

BAYLOR, HELMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02291          ONDERLAW, LLC

BAYNE, HERMOINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12392          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BAYS, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07888          HOLLAND LAW FIRM

BAZAN, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18444          ONDERLAW, LLC

BAZEMORE, GLADYS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10180          GOLOMB SPIRT GRUNFELD PC

BAZEMORE, LYNDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11942          NACHAWATI LAW GROUP

BAZICK, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20566          ONDERLAW, LLC

BAZILE, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14259          ARNOLD & ITKIN LLP

BEACH, CLAIRE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11131          ARNOLD & ITKIN LLP

BEACH, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15161          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BEACH, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01218          ASHCRAFT & GEREL

BEACH, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01218          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEACH, KERRY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03850          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEACH, LESIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09598          ONDERLAW, LLC

BEACH, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00670          BURNS CHAREST LLP

BEACH, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00670          BURNS CHAREST LLP

BEACH, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20574          CELLINO & BARNES, P.C.

BEACHLER, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14340          WILLIAMS HART LAW FIRM

BEADLE, MARCIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07912          ONDERLAW, LLC

BEADLING, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00934          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEAGLES, CALEETA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12687          ONDERLAW, LLC



                                                                             Page 77 of 1405
                             Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 79 of 702

           Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel
BEAL, MARION ELIZABETH & EST OF
                                  NY - SUPREME COURT - NYCAL                  190157/2017            MEIROWITZ & WASSERBERG, LLP
GENE BEAL
BEAL, MARION ELIZABETH DRAKE      NY - SUPREME COURT - NYCAL                  190157/2017            MEIROWITZ & WASSERBERG, LLP

BEAL, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03832          ONDERLAW, LLC

BEAL, SHEILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13975          DANIEL & ASSOCIATES, LLC

BEALE, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17390          NAPOLI SHKOLNIK, PLLC

BEALL, FELICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00653          BURNS CHAREST LLP

BEALMEAR, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10911          NACHAWATI LAW GROUP

BEALS, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19727          CELLINO & BARNES, P.C.

BEALS, TASHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05657          ASHCRAFT & GEREL

BEALS, TASHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05657          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEAMAN, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13938          ASHCRAFT & GEREL

BEAMAN, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13938          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEAMON, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05161          ONDERLAW, LLC

BEAMON, MARY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002519-21        WEITZ & LUXENBERG

BEAN, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02250          JOHNSON LAW GROUP

BEAN, ELLA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04760          ONDERLAW, LLC

BEAN, FAY                         NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002169-20        GOLOMB & HONIK, P.C.

BEAN, FRANCES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15892          DALIMONTE RUEB, LLP

BEAN, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13390          NACHAWATI LAW GROUP

BEAN, JUDY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00476          ASHCRAFT & GEREL

BEAN, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14256          ASHCRAFT & GEREL, LLP

BEAN, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14256          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEAN, MARY                        NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-1234-16          DAMATO LAW FIRM, P.C.

BEAN, MARY                        NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-1234-16          DAMATO LAW FIRM, P.C.

BEAN, SCARLETT                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08209          ARNOLD & ITKIN LLP

BEAR, TONIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09507          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEAR, VICKI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01400          ONDERLAW, LLC

BEARCHILD, GAIL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-09077          ONDERLAW, LLC

BEARD, DANIKA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-08537          GORI JULIAN & ASSOCIATES, P.C.

BEARD, DIANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14458          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BEARD, DIANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05344          ONDERLAW, LLC

BEARD, KAY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00180          ARNOLD & ITKIN LLP

BEARD, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02961          ONDERLAW, LLC




                                                                             Page 78 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                          Appendix A (Part 1) Page 80 of 702

           Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

BEARDEN, CLASSIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07006          ONDERLAW, LLC

BEARDEN, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12712          ONDERLAW, LLC

BEARDEN, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12337          POTTS LAW FIRM

BEARDSLEY, SHELLEY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06618          THE SIMON LAW FIRM, PC

BEARFIELD, ROSEMARY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08892          ONDERLAW, LLC

BEASLEY, CHARLOTTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09573          FLETCHER V. TRAMMELL

BEASLEY, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16672          CELLINO & BARNES, P.C.

BEASLEY, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18588          SULLO & SULLO, LLP

BEASLEY, MARTHA               NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002413-20        GOLOMB & HONIK, P.C.

BEASLEY, NORMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12372          ASHCRAFT & GEREL

BEASLEY, NORMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12372          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEASLEY, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07469          LINVILLE LAW GROUP

BEASLEY, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06665          ONDERLAW, LLC

BEASLEY, SHEILA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12924          DRISCOLL FIRM, P.C.

BEASLEY, SHELIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11861          NACHAWATI LAW GROUP

BEASLEY-LEBOEUF, LISA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19210          NACHAWATI LAW GROUP

BEATRICE GRANT                FEDERAL - MDL                               3:21-CV-19098          MOTLEY RICE, LLC

BEATRIZ BUJAN                 NJ - STATE                                  ATL-L-003362-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

BEATRIZ CORRAL                IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

BEATTY, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12240          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEATY, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13675          ASHCRAFT & GEREL, LLP

BEATY, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05587          ONDERLAW, LLC

BEAUCHAMP, DIANNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01180          MOTLEY RICE, LLC

BEAUCHAMP, LISA               NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-11-16            ASHCRAFT & GEREL

BEAUCHAMP, LISA               NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-11-16            GOLOMB SPIRT GRUNFELD PC

BEAUCHAMP, SHARON             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07964          NAPOLI SHKOLNIK, PLLC

BEAUDOIN, JOANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08227          ONDERLAW, LLC

BEAUDOIN, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10026          ONDERLAW, LLC

BEAULIEU, CLAUDETTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14784          LENZE LAWYERS, PLC

BEAULIEU, CLAUDETTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14784          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BEAULIEU, JOYCE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00462          SANDERS PHILLIPS GROSSMAN, LLC

BEAULIEU, MARION              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09609          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEAULIEU, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06929          LAW OFF OF JEFFREY S GLASSMAN, LLC

BEAVER, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-06068          BURNS CHAREST LLP



                                                                         Page 79 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 81 of 702

              Claimant Name                         State Filed                     Docket Number                               Plaintiff Counsel

BEAVER, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16983          JOHNSON LAW GROUP

BEAVER, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11018          JOHNSON BECKER, PLLC

BEAVER, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06684          ONDERLAW, LLC

BEAVERS, DWANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04382          ONDERLAW, LLC

BEBE BARTLEY                     FEDERAL - MDL                               3:21-CV-19866          ONDERLAW, LLC

BEBERMEIER, JILL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17258          ONDERLAW, LLC

BEBINGER, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04266          ASHCRAFT & GEREL, LLP

BECERRA, MARGARITA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09326-01        ONDERLAW, LLC

BECERRA, MARGARITA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09326-01        PORTER & MALOUF, PA

BECERRA, MARGARITA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1422-CC09326-01        THE SMITH LAW FIRM, PLLC

BECHARD, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11211          NACHAWATI LAW GROUP

BECHTEL, BENNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16171          NACHAWATI LAW GROUP

BECHTOLD, CHERYLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08679          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BECICKA, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16389          JOHNSON LAW GROUP

BECK, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15204          MCSWEENEY/LANGEVIN, LLC

BECK, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04520          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BECK, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13552          FLEMING, NOLEN & JEZ, LLP

BECK, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11091          ONDERLAW, LLC

BECK, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10948          ASHCRAFT & GEREL

BECK, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-01865          WAGSTAFF & CARTMELL, LLP

BECK, EVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10679          COHEN & MALAD, LLP

BECK, GOLDIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09911          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BECK, GRACE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08201          ONDERLAW, LLC

BECK, GRETCHEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08998          MORELLI LAW FIRM, PLLC

BECK, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09907          VICKERY & SHEPHERD, LLP

BECK, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-05853          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BECK, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12776          ASHCRAFT & GEREL

BECK, MARCIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18539          NACHAWATI LAW GROUP

BECK, SHANNON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02394          JOHNSON LAW GROUP

BECK, WENDI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11969          NACHAWATI LAW GROUP

BECKA, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10840          ASHCRAFT & GEREL, LLP

BECKER, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-13124          ONDERLAW, LLC

BECKER, CARRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13395          MOTLEY RICE, LLC

BECKER, LYNDELL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06991          ONDERLAW, LLC



                                                                            Page 80 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                          Appendix A (Part 1) Page 82 of 702

           Claimant Name                        State Filed                      Docket Number                             Plaintiff Counsel

BECKER, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14197          CORY, WATSON, CROWDER & DEGARIS P.C.

BECKER, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18705          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BECKER, MAUREEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15022          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BECKER, MELBA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16055          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BECKER, MOLLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06494          MOTLEY RICE, LLC

BECKER, MONIQUE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02248          ONDERLAW, LLC

BECKER, RISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12069          NACHAWATI LAW GROUP

BECKER, VIRGINIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12802          THE DEATON LAW FIRM

BECKERMAN, SVETLANA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05797          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BECKFORD, TRACEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18813          ONDERLAW, LLC

BECKLEY, ANNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10987          ASHCRAFT & GEREL

BECKLIN, TAMIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13882          DALIMONTE RUEB, LLP

BECKMAN, BILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15230          CHILDERS, SCHLUETER & SMITH, LLC

BECKMANN, DENISE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09732          ONDERLAW, LLC

BECKREST, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02086          ROSS FELLER CASEY, LLP

BECKUM, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07322          ONDERLAW, LLC

BECKWITH, AUDREY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15843          NACHAWATI LAW GROUP

BECRAFT, PHYLLIS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02105          POGUST BRASLOW & MILLROOD, LLC

BECTON, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16046          NACHAWATI LAW GROUP

BECTON, EDNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14333          DALIMONTE RUEB, LLP

BECTON, MADELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16862          THE SEGAL LAW FIRM

BECZEK, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14103          LENZE KAMERRER MOSS, PLC

BEDARD, MICHAELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01448          MORELLI LAW FIRM, PLLC

BEDDINGFIELD, RUTH            NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002961-15        SEEGER WEISS LLP

BEDEKER, ALLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07402          FLETCHER V. TRAMMELL

BEDENBAUGH, CHERYL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12724          ARNOLD & ITKIN LLP

BEDFORD, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14368          FLETCHER V. TRAMMELL

BEDFORD, SAUNDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01737          JOHNSON LAW GROUP

BEDFORD, WANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00791          JACOBS OHARA MCMULLEN , P.C.

BEDFORD, WANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00791          ONDERLAW, LLC

BEDFORD, WANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00791          THE POTTS LAW FIRM, LLP

BEDFORD, WANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00791          ZEVAN DAVIDSON ROMAN LLC

BEDICHEK, DAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04677          ONDERLAW, LLC

BEDROSIAN, DIANA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07653          SLACK & DAVIS LLP



                                                                         Page 81 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                              Appendix A (Part 1) Page 83 of 702

               Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

BEDWELL-JACKSON, JESSICA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15137          CELLINO & BARNES, P.C.

BEE, JUANITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13088          TRAMMELL PC

BEEBE, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20370          ONDERLAW, LLC

BEEBE, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04406          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEEBE, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06465          ONDERLAW, LLC

BEEBIE, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09767          ONDERLAW, LLC

BEECH, VICKY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13955          ASHCRAFT & GEREL

BEECH, VICKY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13955          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEECHER, DOREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06064          ONDERLAW, LLC

BEEGLE, CATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01329          JOHNSON LAW GROUP

BEEHLER, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18209          CELLINO & BARNES, P.C.

BEEKS, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05024          MUELLER LAW PLLC

BEELER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19228          NACHAWATI LAW GROUP

BEELER, SHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02324          ONDERLAW, LLC

BEEMAN, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15670          NACHAWATI LAW GROUP

BEENE, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11629          NACHAWATI LAW GROUP

BEENKEN, SUSAN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002300-20        GOLOMB & HONIK, P.C.

BEER, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13271          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEERBOWER, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12957          ONDERLAW, LLC

BEERS, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12763          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEESO, RAVEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18607          JOHNSON LAW GROUP

BEETAR, DEMETRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09990          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEGAY, BERTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16173          NACHAWATI LAW GROUP

BEGAY, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02505          MORELLI LAW FIRM, PLLC

BEGAY, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00530          MOTLEY RICE, LLC

BEGAY, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16172          NACHAWATI LAW GROUP

BEGAYE, AUDREY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10156          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEGAYE, SHIRLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10159          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEGGS, MARJORIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05561          SULLO & SULLO, LLP

BEGLEY, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16758          NACHAWATI LAW GROUP

BEGLY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12279          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEGUM, SHAHIDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05016          ONDERLAW, LLC

BEHLER, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03355          MUELLER LAW PLLC

BEHLERT, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-09337          ONDERLAW, LLC



                                                                             Page 82 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                              Appendix A (Part 1) Page 84 of 702

               Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

BEHRENS, ADELE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-09119          ONDERLAW, LLC

BEHRENS, DIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00795          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BEHRING, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17621          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BEHUNIN, CARRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08666          COHEN & MALAD, LLP

BEILKE, SUSAN                     IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

BEIRNE, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01296          ASHCRAFT & GEREL

BEIRNE, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01296          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEITNER, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03622          ONDERLAW, LLC

BEJARANO, IRMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05658          ASHCRAFT & GEREL

BEJARANO, IRMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05658          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEJEC, LILIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11699          POTTS LAW FIRM

BEKAS, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14475          NAPOLI SHKOLNIK PLLC

BEKET, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12656          ONDERLAW, LLC

BELARDEES, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00492          JOHNSON BECKER, PLLC

BELCHER, DENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06602          JOHNSON BECKER, PLLC

BELCHER, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18540          NACHAWATI LAW GROUP

BELCHER, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19400          NACHAWATI LAW GROUP

BELCHER, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09923          ONDERLAW, LLC

BELCZYNSKI-ALEF, LEONA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20201          NACHAWATI LAW GROUP

BELDEN, CHRISTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17411          THE FERRARO LAW FIRM, P.A.

BELENO, BRENDA                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-004687-21        MOTLEY RICE, LLC

BELGARD, BILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-11256          MORRIS BART & ASSOCIATES

BELGARD, CAMILLA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002170-20        GOLOMB & HONIK, P.C.

BELGARDE, DEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18928          NACHAWATI LAW GROUP

BELINO, BRENDA AND BELENO, JOSE   NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-004687-21        FLINT LAW FIRM LLC

BELIZEARD, VALLERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04595          ANDRUS WAGSTAFF, P.C.

BELIZEARD, VALLERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08490          ONDERLAW, LLC

BELK, LESSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13324          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELKE-BECKER, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18541          NACHAWATI LAW GROUP

BELKNAP, LORETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14308          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELL, ANDREWNETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-15635          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELL, ANGELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02896          FLETCHER V. TRAMMELL

BELL, ANNIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13144          NACHAWATI LAW GROUP

BELL, ANNIE                       LA - DISTRICT COURT - ORLEANS PARISH        2019-7665              THE CHEEK LAW FIRM



                                                                             Page 83 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                              Appendix A (Part 1) Page 85 of 702

               Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

BELL, ANNIE                       LA - DISTRICT COURT - ORLEANS PARISH        2019-7665              UNGLESBY LAW FIRM

BELL, AUDRIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002414-20        GOLOMB & HONIK, P.C.

BELL, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07167          ONDERLAW, LLC

BELL, CARLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12405          NACHAWATI LAW GROUP

BELL, CATHY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21675          ONDERLAW, LLC

BELL, CHANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17341          WEITZ & LUXENBERG

BELL, CHASIDI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08295          FLETCHER V. TRAMMELL

BELL, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05563          ONDERLAW, LLC

BELL, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12765          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELL, DJ                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06640          ONDERLAW, LLC

BELL, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03811          ONDERLAW, LLC

BELL, ELLEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10034          ONDERLAW, LLC

BELL, ETHEL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10981          ARNOLD & ITKIN LLP

BELL, ETHEL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16980          ARNOLD & ITKIN LLP

BELL, GAIL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14482          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BELL, GAIL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20269          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELL, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05125          HELMSDALE LAW, LLP

BELL, GWENDOLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02890          FLETCHER V. TRAMMELL

BELL, JENNY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17923          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BELL, JOAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13744          FLETCHER V. TRAMMELL

BELL, KELLIE                      IL - CIRCUIT COURT - COOK COUNTY            2021L007402            HURLEY MCKENNA & MERTZ

BELL, LAWONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03249          ONDERLAW, LLC

BELL, LEKISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELL, LIN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02871          LEVIN SIMES LLP

BELL, MAMIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15533          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELL, MAMIE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002173-20        GOLOMB & HONIK, P.C.

BELL, MAMIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18619          NACHAWATI LAW GROUP

BELL, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13382          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELL, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06324          FLETCHER V. TRAMMELL

BELL, MARILOU                     NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002172-20        GOLOMB & HONIK, P.C.

BELL, MARILYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-03040          HEYGOOD, ORR & PEARSON

BELL, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20371          ONDERLAW, LLC

BELL, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05612          ASHCRAFT & GEREL

BELL, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05612          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 84 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                              Appendix A (Part 1) Page 86 of 702

               Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

BELL, NELLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14186          ASHCRAFT & GEREL, LLP

BELL, PAULA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02427          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELL, ROSIE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002209-20        GOLOMB & HONIK, P.C.

BELL, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07091          ONDERLAW, LLC

BELL, STARTRECE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16775          NACHAWATI LAW GROUP

BELL, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07816          ONDERLAW, LLC

BELL, TRACY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01300          ASHCRAFT & GEREL

BELL, TRACY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01300          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELL, WINNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15520          SANDERS PHILLIPS GROSSMAN, LLC

BELLAK, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04707          ONDERLAW, LLC

BELLAMY, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18386          NACHAWATI LAW GROUP

BELLAMY, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08310          FLETCHER V. TRAMMELL

BELLANGER, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-09500          LILLIS LAW FIRM

BELLANGER, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-09500          MARTZELL, BICKFORD & CENTOLA

BELLANGER, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-09500          MICHAEL HINGLE & ASSOCIATES, LLC

BELLANTI, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18927          NACHAWATI LAW GROUP

BELLANTIS, CATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09238          ANAPOL WEISS

BELLCOM, EVA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14274          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELLE-ROBINSON, CRYSTAL           IL - CIRCUIT COURT - MADISON COUNTY         21-L-1291              NAPOLI SHKOLNIK, PLLC

BELLEW, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16210          ARNOLD & ITKIN LLP

BELLI, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06932          ONDERLAW, LLC

BELLIGIERE, MEGAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01527          ONDERLAW, LLC

BELLIN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18702          THE SEGAL LAW FIRM

BELLINA, LESLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07704          ASHCRAFT & GEREL

BELLINA, LESLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-07704          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELLINGER, MARTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16756          ASHCRAFT & GEREL, LLP

BELLINGER, MARTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16756          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELLINGER, SARH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19235          NACHAWATI LAW GROUP

BELLIVEAU, LORI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18626          WATERS & KRAUS, LLP

BELLO, LOUISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13988          JOHNSON LAW GROUP

BELLO, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10937          NACHAWATI LAW GROUP

BELLOMA, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06191          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELLOMA, SHELLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10036          ONDERLAW, LLC

BELLOMONTE, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14014          ASHCRAFT & GEREL



                                                                             Page 85 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                              Appendix A (Part 1) Page 87 of 702

               Claimant Name                        State Filed                      Docket Number                            Plaintiff Counsel

BELLOMONTE, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14014          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELLON, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14202          ONDERLAW, LLC

BELL-SPENCER, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12761          ARNOLD LAW OFFICE

BELONEY, GAIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05826          ASHCRAFT & GEREL

BELONEY, GAIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05826          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELOTE, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02659          ONDERLAW, LLC

BELOTTI, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03194          WILLIAMS HART LAW FIRM

BELOUSOVA, NINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-05526          NAPOLI SHKOLNIK, PLLC

BELTON, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13957          ASHCRAFT & GEREL

BELTON, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13957          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELTRAN, BESSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06377          FLETCHER V. TRAMMELL

BELTRAN, DEANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10892          ASHCRAFT & GEREL, LLP

BELTRAN, HILDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12484          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BELTRAN, MAYRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04383          ONDERLAW, LLC

BELUSH, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19492          ASHCRAFT & GEREL, LLP

BELUSH, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19492          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BELUSKO, LORETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15051          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BELZ, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16346          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BEMIS, TRIPINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-08375          NAPOLI SHKOLNIK, PLLC

BENAC, DOINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01478          JOHNSON LAW GROUP

BENASUTTI, RITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12012          NACHAWATI LAW GROUP

BENAVIDES, NORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-01533          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

BENAVIDEZ, STACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10904          ASHCRAFT & GEREL, LLP

BENBOW, ANGELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17616          MORELLI LAW FIRM, PLLC

BENBOW, CHRISTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07781          THE DUGAN LAW FIRM, APLC

BENBOW, SANTANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10251          DRISCOLL FIRM, P.C.

BENCIVENGA, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14406          ONDERLAW, LLC

BENDELL, HANSINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13715          ARNOLD & ITKIN LLP

BENDER, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02864          ONDERLAW, LLC

BENDER, KARLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16074          BURNS CHAREST LLP

BENDER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19243          NACHAWATI LAW GROUP

BENDER, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08329          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENDIGO, TONYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17931          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BENECKE, JEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06423          POTTS LAW FIRM



                                                                             Page 86 of 1405
                            Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                            Appendix A (Part 1) Page 88 of 702

            Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

BENEDICT, ELAINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15557          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BENEDICT, INGRID               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16609          PETERSON & ASSOCIATE, P.C.

BENEFIELD, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04267          ASHCRAFT & GEREL, LLP

BENEFIELD, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06102          ASHCRAFT & GEREL, LLP

BENEFIELD, JUANITA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16788          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENFORD, ASHLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11339          HART MCLAUGHLIN & ELDRIDGE

BENFORD, TASHAY                NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002243-20        GOLOMB & HONIK, P.C.

BENGE, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09717          ONDERLAW, LLC

BENHAM, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06274          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENHAM-SINGH, DENISE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00439          THE POTTS LAW FIRM, LLP

BENIAMEN, YOUANNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19497          KELLEY & FERRARO, LLP

BENIGNO, SHERRY                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENIGNO, SHERRY                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC00237           ONDERLAW, LLC

BENIGNO, SHERRY                MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC00237           THE SMITH LAW FIRM, PLLC

BENIQUEZ, FRANCESCA            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           ASHCRAFT & GEREL

BENIQUEZ, FRANCESCA            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENIQUEZ, FRANCESCA            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           ONDERLAW, LLC

BENIQUEZ, FRANCESCA            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           PORTER & MALOUF, PA

BENIQUEZ, FRANCESCA            MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC06811           THE SMITH LAW FIRM, PLLC

BENISON, ANDREA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15867          NACHAWATI LAW GROUP

BENITEZ, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BENITEZ, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15774          LENZE LAWYERS, PLC

BENITEZ, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

BENITEZ, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15774          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BENITEZ, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BENITEZ, MARIA LIRA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-12904          JOHNSON LAW GROUP

BENITO, REYNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10916          NACHAWATI LAW GROUP

BENJAMIN, DANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02231          JOHNSON LAW GROUP

BENJAMIN, HANNAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18393          NACHAWATI LAW GROUP

BENJAMIN, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-03274          ASHCRAFT & GEREL

BENJAMIN, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-03274          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENJAMIN, SINQUISA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14985          HILLIARD MARTINEZ GONZALES, LLP
BENMAR, PETER AND BENMAR,
                               NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-05709-18AS       LEVY KONIGSBERG LLP
CLAUDINE
BENNANE, DIANE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002175-20        GOLOMB & HONIK, P.C.



                                                                          Page 87 of 1405
                           Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                         Desc
                                                           Appendix A (Part 1) Page 89 of 702

           Claimant Name                         State Filed                     Docket Number                            Plaintiff Counsel

BENNER, DAWN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17601          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BENNETT, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05384          ONDERLAW, LLC

BENNETT, BEVERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15937          NACHAWATI LAW GROUP

BENNETT, CAROLYN              IL - CIRCUIT COURT - COOK COUNTY            2017-L-003006          MEYERS & FLOWERS, LLC

BENNETT, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12201          ONDERLAW, LLC

BENNETT, CHRISTINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

BENNETT, CHRISTINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13454          LENZE LAWYERS, PLC

BENNETT, CHRISTINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BENNETT, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18385          ONDERLAW, LLC

BENNETT, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-04794          MURRAY LAW FIRM

BENNETT, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14370          FLETCHER V. TRAMMELL

BENNETT, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14581          CELLINO & BARNES, P.C.

BENNETT, ELENITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05875          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENNETT, ELIZABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14859          LENZE LAWYERS, PLC

BENNETT, ELIZABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07162          ONDERLAW, LLC

BENNETT, ELIZABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14859          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BENNETT, GRACE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10618          MOTLEY RICE, LLC

BENNETT, HELEN GLOVER         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20149          NACHAWATI LAW GROUP

BENNETT, JACQUELINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09279          ONDERLAW, LLC

BENNETT, JAMIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08474          HARRISON DAVIS STEAKLEY MORRISON

BENNETT, JANELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00884          THE MILLER FIRM, LLC

BENNETT, JUDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17282          ASHCRAFT & GEREL

BENNETT, KEA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06535          LAW OFFICES OF CHARLES H JOHNSON,PA

BENNETT, KELLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09704          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENNETT, LINAYA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18229          NACHAWATI LAW GROUP

BENNETT, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07047          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENNETT, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05707          ONDERLAW, LLC

BENNETT, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13804          ONDERLAW, LLC

BENNETT, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15173          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BENNETT, PATSY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05706          ONDERLAW, LLC

BENNETT, PAULA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15780          NACHAWATI LAW GROUP

BENNETT, PEGGY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10413          ONDERLAW, LLC

BENNETT, SANDRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                         Page 88 of 1405
                           Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                           Appendix A (Part 1) Page 90 of 702

           Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

BENNETT, SANDRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           GOLDENBERGLAW, PLLC

BENNETT, SANDRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           ONDERLAW, LLC

BENNETT, SANDRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           PORTER & MALOUF, PA

BENNETT, SANDRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           THE SMITH LAW FIRM, PLLC

BENNETT, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19953          NACHAWATI LAW GROUP

BENNETT, SUELLEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-08468          ONDERLAW, LLC

BENNETT, TANYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-13254          ONDERLAW, LLC

BENNETT, TONI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16755          ASHCRAFT & GEREL

BENNETT, TONI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16755          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENNETT, TRACEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09618          NACHAWATI LAW GROUP

BENNETT, VICKIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC00002           ONDERLAW, LLC

BENNETT, WANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08874          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENNETT, WANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17176          WILLIAMS HART LAW FIRM

BENNETT, YVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17122          JOHNSON LAW GROUP

BENNETTI, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-05850          THE FERRARO LAW FIRM, P.A.

BENNING, CARRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11025          JOHNSON BECKER, PLLC

BENNING, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-03664          BLIZZARD & NABERS, LLP

BENNINGTON, AMANDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07301          ONDERLAW, LLC

BENOIT, DEBARCUS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13795          BARON & BUDD, P.C.

BENOIT, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10950          ASHCRAFT & GEREL

BENSCH, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13634          DAVIS, BETHUNE & JONES, L.L.C.

BENSON, ARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07188          MARTINIAN & ASSOCIATES, INC.

BENSON, ARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07188          THE LAW OFFICES OF HAYTHAM FARAJ

BENSON, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13414          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENSON, ELIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-03153          MOTLEY RICE, LLC

BENSON, EVETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10168          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENSON, HSIOUMEI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02602          ONDERLAW, LLC

BENSON, JEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08395          DALIMONTE RUEB, LLP

BENSON, JOANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12443          JOHNSON BECKER, PLLC

BENSON, LATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12780          ASHCRAFT & GEREL

BENSON, LOLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11015          ONDERLAW, LLC

BENSON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12268          ASHCRAFT & GEREL

BENSON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12268          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENSON, RACHEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-11987          GORI JULIAN & ASSOCIATES, P.C.



                                                                         Page 89 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 91 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

BENSON, YVETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-11686          NACHAWATI LAW GROUP

BENSON-MILLER, MARLENE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06007          ASHCRAFT & GEREL

BENT, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02912          FLETCHER V. TRAMMELL

BENTAIEB, KATHY M                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18913          THE BARNES FIRM, LC

BENTFORD, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02129          CELLINO & BARNES, P.C.

BENTLE, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14844          LENZE LAWYERS, PLC

BENTLE, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09432          ONDERLAW, LLC

BENTLE, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14844          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BENTLEY, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20180          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENTLEY, CATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11156          GOLDENBERGLAW, PLLC

BENTLEY, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09898          ONDERLAW, LLC

BENTLEY, GAIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04943          ONDERLAW, LLC

BENTLEY, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15478          JASON J. JOY & ASSCIATES P.L.L.C.

BENTLEY, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20373          ONDERLAW, LLC

BENTLEY, NELL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18918          NACHAWATI LAW GROUP

BENTLEY, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09253          ONDERLAW, LLC

BENTLEY, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07331          JOHNSON LAW GROUP

BENTLEY, VICTORIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002157-20        GOLOMB & HONIK, P.C.

BENTO, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-16995          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENTON, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15634          THE WEINBERG LAW FIRM

BENTON, IRENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10710          ARNOLD & ITKIN LLP

BENTON, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18230          NACHAWATI LAW GROUP

BENTON, LESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11030          JOHNSON BECKER, PLLC

BENTON, ROBERTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13960          ASHCRAFT & GEREL

BENTON, ROBERTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13960          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENTON, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16791          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BENTRUD, KATHERINE               FL - CIRCUIT COURT - HILLSBOROUGH COUNTY    2018CA009060           THE FERRARO LAW FIRM, P.A.

BENUSA, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05441          JOHNSON LAW GROUP

BENZ, KIMBERLY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          GOLDENBERG HELLER & ANTOGNOLI, PC

BENZ, KIMBERLY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          ONDERLAW, LLC

BENZ, KIMBERLY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          PORTER & MALOUF, PA

BENZ, KIMBERLY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-10203          THE SMITH LAW FIRM, PLLC

BENZAR, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-09348          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 90 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 92 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

BEQUER, MYRIAM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15558          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BERARDI, LUCI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04322          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERDE, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12589          ONDERLAW, LLC

BERDECIA, GUADALUPE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01950          ONDERLAW, LLC

BERDUE, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00800          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERDUE, DARLENE                  CA - SUPERIOR COURT - SOLANO COUNTY         FCS049856              ONDERLAW, LLC

BERDUE, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00800          ONDERLAW, LLC

BERDUE, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00800          PORTER & MALOUF, PA

BERDUE, DARLENE                  CA - SUPERIOR COURT - SOLANO COUNTY         FCS049856              SALKOW LAW, APC

BERDUE, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-00800          THE SMITH LAW FIRM, PLLC

BERDZIK, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-15699          CELLINO & BARNES, P.C.

BERENBLIT, DIANE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-004170-20        GOLOMB & HONIK, P.C.

BERENS, KATIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17776          ASHCRAFT & GEREL, LLP

BERENS, KATIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17776          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERFECT-CULLER, NEOMI            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08640          MORRIS BART & ASSOCIATES

BERG, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10807          POTTS LAW FIRM

BERG, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19008          NACHAWATI LAW GROUP

BERG, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09925          ONDERLAW, LLC

BERG, RHONDA LYNNE               BRITISH COLUMBIA (VANCOUVER)                VLC-S-S-230664         PRESZLER LAW FIRM LLP

BERG, ROSALIND                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-01291          MURRAY LAW FIRM

BERGE, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01258          NACHAWATI LAW GROUP

BERGEN, KATHLEEN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002085-20        GOLOMB & HONIK, P.C.

BERGER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19405          NACHAWATI LAW GROUP

BERGER, HAZEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12139          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERGER, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-20423          NAPOLI SHKOLNIK, PLLC

BERGER, KERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01946          JOHNSON LAW GROUP

BERGER, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BERGER, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15799          LENZE LAWYERS, PLC

BERGER, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

BERGER, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15799          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BERGER, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BERGER, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-09739          SANDERS PHILLIPS GROSSMAN, LLC

BERGER, SUSAN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERGER, SUSAN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          ONDERLAW, LLC



                                                                            Page 91 of 1405
                           Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                           Appendix A (Part 1) Page 93 of 702

           Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

BERGER, SUSAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          PORTER & MALOUF, PA

BERGER, SUSAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          THE SMITH LAW FIRM, PLLC

BERGER, VIRGINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07948          ONDERLAW, LLC

BERGERON, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13321          GORI JULIAN & ASSOCIATES, P.C.

BERGERON, KELLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-04410          MURRAY LAW FIRM

BERGERON, SHELBY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02306          ONDERLAW, LLC

BERGEVIN, SUSAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-09970          DALIMONTE RUEB, LLP

BERGEVIN-HAYES, MIRIAM        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-04816          ONDERLAW, LLC

BERGHAUS, ANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-02262          JOHNSON BECKER, PLLC

BERGHEGER, SUSAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-12682          CELLINO & BARNES, P.C.

BERGIN, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05366          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERGKAMP, KELLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03169          ONDERLAW, LLC

BERGLUND, JENNIFER            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00214          ASHCRAFT & GEREL

BERGLUND, JENNIFER            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-00214          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERGLUND, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05906          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERGMAN, MELINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18968          CORY, WATSON, CROWDER & DEGARIS P.C.

BERGMAN, SELMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15362          DAVIS, BETHUNE & JONES, L.L.C.

BERGQUIST, CYNTHIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-07586          GORI JULIAN & ASSOCIATES, P.C.

BERKE, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10561          COHEN & MALAD, LLP

BERKES, MADELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06349          ONDERLAW, LLC

BERKEY, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-17639          MOTLEY RICE, LLC

BERKEY, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-13296          HILLIARD MARTINEZ GONZALES, LLP

BERKLAND, SHELLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21203          HELVEY LAW

BERKLAND, SHELLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21203          SHINDLER, ANDERSON, GOPLERUD & WEESE P.C.

BERKLEY, AUSTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15965          NACHAWATI LAW GROUP

BERLONI, ANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12242          DIAMOND LAW

BERLOWITZ, MYRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18076          CELLINO & BARNES, P.C.

BERMAN, MARYLIN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03201          WILLIAMS HART LAW FIRM

BERMAN, TAMARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09888          NAPOLI SHKOLNIK, PLLC

BERNAL, EMMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19252          NACHAWATI LAW GROUP

BERNAL, ESTHER                CA - SUPERIOR COURT - SANTA CLARA COUNTY    18CV332276             ASHCRAFT & GEREL

BERNAL, ESTHER                CA - SUPERIOR COURT - SANTA CLARA COUNTY    18CV332276             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BERNAL, JULIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002158-20        GOLOMB & HONIK, P.C.

BERNAL, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-06771          THE SIMON LAW FIRM, PC



                                                                         Page 92 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                            Appendix A (Part 1) Page 94 of 702

            Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

BERNAL, MILADIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13347          HILLIARD MARTINEZ GONZALES, LLP

BERNAL, REBECA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01994          WATERS & KRAUS, LLP

BERNAL-GARCIA, TAMMY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16438          MOTLEY RICE, LLC

BERNAND, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07458          LENZE LAWYERS, PLC

BERNARD, AIDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14054          ONDERLAW, LLC

BERNARD, ELLEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19636          ONDERLAW, LLC

BERNARD, GLENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20052          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERNARD, JILL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01982          JOHNSON LAW GROUP

BERNARD, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19651          MCSWEENEY/LANGEVIN, LLC

BERNARD, KAYMONA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09554          BURNS CHAREST LLP

BERNARD, KELLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05549          ONDERLAW, LLC

BERNARD, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:19-CV-21103              NAPOLI SHKOLNIK, PLLC
                                PA - LACKAWANNA COUNTY COURT OF COMMON
BERNARDI, MAUREEN                                                        2020 CV 4922               ROSS FELLER CASEY, LLP
                                PLEAS
BERNARD-MCCALLUSTER, WANDA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:19-CV-04406              ONDERLAW, LLC

BERNDT, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10623          MOTLEY RICE, LLC

BERNHARD, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04611          THE DUGAN LAW FIRM, APLC

BERNHARD, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17309          FLETCHER V. TRAMMELL
                                PA - COURT OF COMMON PLEAS - PHILADELPHIA
BERNHARD, PATRICIA                                                           2105008933             WEITZ & LUXENBERG
                                COUNTY
BERNHARDT, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16889          ONDERLAW, LLC

BERNHARDT, JEANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08876          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERNHARDT, ROBIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20177          BROWN READDICK BUMGARTNER CARTER

BERNICE SMITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18501          ONDERLAW, LLC

BERNICHIO, HEATHER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05425          ONDERLAW, LLC

BERNIER, LOUISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09516          FLETCHER V. TRAMMELL

BERNIER, MARILYNE               CANADA - ONTARIO SUPERIOR COURT OF JUSTICE CV-16-553046             ROCHON GENOVA LLP

BERNIER, THERESE                CANADA - ONTARIO SUPERIOR COURT OF JUSTICE CV-16-553046             ROCHON GENOVA LLP

BERNIER, THERESE                CANADA - ONTARIO SUPERIOR COURT OF JUSTICE CV-16-553046             WILL DAVIDSON LLP

BERNING-SZCZESNY, AMANDA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12676          NAPOLI SHKOLNIK, PLLC

BERNITA PAYTON                  FEDERAL - MDL                                3:21-CV-16722          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERNOUDY, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15545          ANAPOL WEISS

BERNSTEIN, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00157          POTTS LAW FIRM




                                                                            Page 93 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 95 of 702

              Claimant Name                        State Filed                      Docket Number                              Plaintiff Counsel

BERNSTEIN, OLGUITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07043          BARRETT LAW GROUP

BERNTHOLD, JULIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-08673          ONDERLAW, LLC

BERRETH, GAYLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BERRETH, GAYLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15239          LENZE LAWYERS, PLC

BERRETH, GAYLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

BERRETH, GAYLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15239          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BERRETH, GAYLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BERRETH, GAYLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12803          THE DEATON LAW FIRM

BERRIOS, DENISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14924          ONDERLAW, LLC

BERRY, AAISHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-10604          NACHAWATI LAW GROUP

BERRY, AMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-15712          NAPOLI SHKOLNIK, PLLC

BERRY, ANGELA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002159-20        GOLOMB & HONIK, P.C.

BERRY, ANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07833          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

BERRY, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08557          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERRY, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12789          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

BERRY, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12548          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERRY, DANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERRY, DANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          ONDERLAW, LLC

BERRY, DANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          PORTER & MALOUF, PA

BERRY, DANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16059          THE SMITH LAW FIRM, PLLC

BERRY, DIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03735          ONDERLAW, LLC

BERRY, JANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03240          SALVI, SCHOSTOK & PRITCHARD P.C.

BERRY, JERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09096          ONDERLAW, LLC

BERRY, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12616          ARNOLD & ITKIN LLP

BERRY, LUCILE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BERRY, LUCILE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15755          LENZE LAWYERS, PLC

BERRY, LUCILE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          LENZE LAWYERS, PLC

BERRY, LUCILE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-15755          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BERRY, LUCILE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BERRY, MARCELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01643          ONDERLAW, LLC

BERRY, MARQUERITE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04064          WILLIAMS HART LAW FIRM

BERRY, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18405          MUELLER LAW PLLC

BERRY, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14632          JOHNSON LAW GROUP




                                                                            Page 94 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 96 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

BERRY, MICHELE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14351          JOHNSON LAW GROUP

BERRY, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20548          DRISCOLL FIRM, P.C.

BERRY, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14605          SILL LAW GROUP, PLLC

BERRY, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08444          THE DUGAN LAW FIRM, APLC

BERRY, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12373          ASHCRAFT & GEREL

BERRY, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12373          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERRY, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19255          NACHAWATI LAW GROUP

BERRY, VICKY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-14094          DANIEL & ASSOCIATES, LLC

BERRY, VINNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-12936          ONDERLAW, LLC

BERRY-WILSON, FLORELL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01132          THE MILLER FIRM, LLC

BERSON, SHAUNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-01001          CHAPPELL, SMITH & ARDEN, P.A.

BERST, MARCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11190          ONDERLAW, LLC

BERTANZA, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20448          DRISCOLL FIRM, P.C.

BERTELLI, PATTI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19357          NACHAWATI LAW GROUP

BERTHELSEN, JEROLYNN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-13180          BARRETT LAW GROUP

BERTLANEY, JEANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00960          THE FERRARO LAW FIRM, P.A.

BERTORELLI, JANETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12478          JOHNSON BECKER, PLLC

BERTRAM, EILEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06103          ONDERLAW, LLC

BERTRAN, MAGALI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-14196          GANCEDO LAW FIRM, INC

BERTRAND, MARY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERTRAND, MARY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC-00837          GOLDENBERGLAW, PLLC

BERTRAND, MARY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC-00837          ONDERLAW, LLC

BERTRAND, MARY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC-00837          PORTER & MALOUF, PA

BERTRAND, MARY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC-00837          THE SMITH LAW FIRM, PLLC

BERTRAND, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06948          ONDERLAW, LLC

BERTSCH, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13310          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERUBE, CLAUDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00004          MOTLEY RICE, LLC

BERUMEN, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-02369          LEVIN SIMES LLP

BERWIND, CHARLOTTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-08464          ONDERLAW, LLC

BERZLEY, JANELLE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BERZLEY, JANELLE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           GOLDENBERGLAW, PLLC

BERZLEY, JANELLE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           ONDERLAW, LLC

BERZLEY, JANELLE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           PORTER & MALOUF, PA

BERZLEY, JANELLE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC10545           THE SMITH LAW FIRM, PLLC



                                                                            Page 95 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 97 of 702

              Claimant Name                         State Filed                     Docket Number                              Plaintiff Counsel

BESBES, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-00270          FLETCHER V. TRAMMELL

BESECKER, GLADYS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-02417          ONDERLAW, LLC

BESHEARS, DELORIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-01912          ARNOLD & ITKIN LLP

BESHEARS, PEGGY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BESHEARS, PEGGY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC00237           ONDERLAW, LLC

BESHEARS, PEGGY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS      1822-CC00237           THE SMITH LAW FIRM, PLLC

BESKE, JESSICA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-001029-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

BESSELMAN, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-04923          ASHCRAFT & GEREL

BESSETTE, IRENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18211          DRISCOLL FIRM, P.C.

BESSLER, LAURIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-17791          NAPOLI SHKOLNIK, PLLC

BESSPIATA, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00974          THE MILLER FIRM, LLC

BEST, BARBARA                    FL - CIRCUIT COURT - ORANGE COUNTY          2018CA009596           SCHLESINGER LAW OFFICES, P.A.

BEST, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06330          ONDERLAW, LLC

BEST, PEGGY                      IL - CIRCUIT COURT - MADISON COUNTY         21-L-0142              SWMW LAW, LLC

BETANCES, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04493          NAPOLI SHKOLNIK, PLLC

BETANCOURT, ANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18506          JOHNSON LAW GROUP

BETANCOURT, BLANCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14753          LENZE LAWYERS, PLC

BETANCOURT, BLANCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-14753          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BETHDA, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07327          WAGSTAFF & CARTMELL, LLP

BETHEA, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10802          MARLIN & SALTZMAN LLP

BETHEA, HAZEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-03541          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BETHEA, NICIALE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06014          KIRKENDALL DWYER LLP

BETHEA, TIAJUANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10905          ASHCRAFT & GEREL

BETHELL, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07924          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BETHELL, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07924          ONDERLAW, LLC

BETHELL, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07924          PORTER & MALOUF, PA

BETHELL, KIMBERLY                CA - SUPERIOR COURT - SANTA CLARA COUNTY    17CV318631             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BETHELL, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07924          THE SMITH LAW FIRM, PLLC

BETHUNE, ANTONIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-08341          ONDERLAW, LLC

BETSY NEIGHBORS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18366          THE MILLER FIRM, LLC

BETTENCOURT, JACKIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-14312          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BETTENCOURT, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04213          ONDERLAW, LLC

BETTENDORF, JEAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18372          HOLLAND LAW FIRM




                                                                            Page 96 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 98 of 702

               Claimant Name                        State Filed                      Docket Number                             Plaintiff Counsel

BETTERIDGE, PAULA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16865          ONDERLAW, LLC

BETTIS, VANESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04189          ONDERLAW, LLC

BETTS, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00763          LEVIN SIMES LLP

BETTS, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07118          ONDERLAW, LLC

BETTS, MARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00040          ASHCRAFT & GEREL

BETTS, RHONDA                     CA - SUPERIOR COURT - LOS ANGELES COUNTY    20STCV48090            ARNOLD & ITKIN LLP

BETTS, WANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18376          NACHAWATI LAW GROUP

BETTWY, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10551          ASHCRAFT & GEREL

BETTY WATKINS                     FEDERAL - MDL                               3:21-CV-19668          CORY, WATSON, CROWDER & DEGARIS P.C.

BETZ, ANGEL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18479          WATERS & KRAUS, LLP

BETZ, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-00454          THE POTTS LAW FIRM, LLP

BETZ, VICKI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07403          HOLLAND LAW FIRM

BEURMAN, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05499          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEVELLE, MAXINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-13422          ONDERLAW, LLC

BEVENS, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-02351          ONDERLAW, LLC

BEVER, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-09863          JOHNSON LAW GROUP

BEVERLY BURTON                    FEDERAL - MDL                               3:21-CV-19088          MOTLEY RICE, LLC

BEVERLY HILTON                    FEDERAL - MDL                               3:21-CV-17760          DALIMONTE RUEB, LLP

BEVERLY HOEFTMAN                  FEDERAL - MDL                               3:21-CV-19084          MOTLEY RICE, LLC

BEVERLY LESUEUR                   FEDERAL - MDL                               3:21-CV-16520          DAVIS, BETHUNE & JONES, L.L.C.

BEVERLY WALTER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18289          ONDERLAW, LLC

BEVERLY, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19491          ASHCRAFT & GEREL, LLP

BEVERLY, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19491          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEWLEY, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15303          LEVIN SIMES LLP

BEXLEY, CHARLA                    FL - CIRCUIT COURT - BROWARD COUNTY         CACE18029732           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEXLEY, CHARLA                    FL - CIRCUIT COURT - BROWARD COUNTY         CACE18029732           LAW FIRM OF KELLEY UUSTAL, PLC

BEY, ANTOINETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12576          ASHCRAFT & GEREL, LLP

BEY, ANTOINETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12576          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BEY, IRENE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-18628          DRISCOLL FIRM, P.C.

BEYNON, DORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-05023          COHEN & MALAD, LLP

BEYS, THALIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-01382          MOTLEY RICE, LLC

BEZIK, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06662          HOLLAND LAW FIRM

BEZUE, MASHANDER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-09564          LILLIS LAW FIRM




                                                                             Page 97 of 1405
                                  Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                                  Appendix A (Part 1) Page 99 of 702

                Claimant Name                           State Filed                     Docket Number                              Plaintiff Counsel

BEZUE, MASHANDER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-09564          MARTZELL, BICKFORD & CENTOLA

BEZUE, MASHANDER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-09564          MICHAEL HINGLE & ASSOCIATES, LLC

BHAGAUTI, MEERA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04366          ONDERLAW, LLC

BHATURIA, ALKA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-13908          DALIMONTE RUEB, LLP

BHIMANI, MUNIRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-17655          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BHOATWRIGHT, KHEYNEHYAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06036          ONDERLAW, LLC

BHOJ, MOHANIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-15102          THE BENTON LAW FIRM, PLLC
BIAGETTI, MARILYN L & BIAGETTI,
                                     RI - SUPERIOR COURT - BRISTOL COUNTY        PC-2017-2761           THE DEATON LAW FIRM
ROPGER
BIALUSKI, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-08116          ONDERLAW, LLC

BIAN, GINGER                         NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-002302-20        GOLOMB & HONIK, P.C.

BIAN, MARY                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07924          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BIAN, MARY                           NJ - SUPERIOR COURT - ATLANTIC COUNTY       ATL-L-2238-17          GOLOMB SPIRT GRUNFELD PC

BIAN, MARY                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07924          ONDERLAW, LLC

BIAN, MARY                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07924          PORTER & MALOUF, PA

BIAN, MARY                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-07924          THE SMITH LAW FIRM, PLLC

BIANCHI, JOY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-10699          JOHNSON LAW GROUP

BIANCO, DONNA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BIANCO, DONNA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           GOLDENBERGLAW, PLLC

BIANCO, DONNA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           ONDERLAW, LLC

BIANCO, DONNA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           PORTER & MALOUF, PA

BIANCO, DONNA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS      1622-CC00134           THE SMITH LAW FIRM, PLLC

BIANCO, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11515          KLINE & SPECTER, P.C.

BIASI, LISA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07197          ONDERLAW, LLC

BIBBY, LACHRISHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-04029          ONDERLAW, LLC

BIBEAU, ANNETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-09288          ONDERLAW, LLC

BIBER, ANGELA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05951          CELLINO & BARNES, P.C.

BICE, CICILIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-19412          NACHAWATI LAW GROUP

BICE, JESSICA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08498          WILLIAMS HART LAW FIRM

BICHELL, CAROLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12145          MORELLI LAW FIRM, PLLC

BICKETT, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-06224          ONDERLAW, LLC

BICKHAM, LEIJUANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04373          ONDERLAW, LLC

BICKNELL, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-10955          ONDERLAW, LLC

BIDDIE, DONNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-08360          HOLLAND LAW FIRM




                                                                                Page 98 of 1405
                                 Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                                Appendix A (Part 1) Page 100 of 702

               Claimant Name                           State Filed                     Docket Number                              Plaintiff Counsel

BIDDINGS, LAKISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-12131          MORELLI LAW FIRM, PLLC

BIEHL, DOLORES                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-16948          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BIEHL, IVETTA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-04384          ONDERLAW, LLC

BIELBY, ELAINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-11221          ASHCRAFT & GEREL

BIELECKI, HANNA                     NY - SUPREME COURT - NYCAL                  190028/2017            MEIROWITZ & WASSERBERG, LLP
BIELECKI, HANNA L. & BIELECKI,
                                    NY - SUPREME COURT - NYCAL                  190028/2017            MEIROWITZ & WASSERBERG, LLP
EDWARD
BIENEMY, PHILLIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-15310          POTTS LAW FIRM

BIENVENU, YVONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06110          ASHCRAFT & GEREL, LLP

BIENVENUE-ALSALEH, LAURA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-18232          NACHAWATI LAW GROUP

BIER, BETTY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:16-CV-08793          MORRIS BART & ASSOCIATES

BIERMANN, ELSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-11873          ONDERLAW, LLC

BIERMANN, TAMARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20567          ONDERLAW, LLC

BIGBEE, BRIDGETTE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BIGBEE, BRIDGETTE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          ONDERLAW, LLC

BIGBEE, BRIDGETTE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          PORTER & MALOUF, PA

BIGBEE, BRIDGETTE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS      1522-CC-09792          THE SMITH LAW FIRM, PLLC

BIGDAY, MARLENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-19097          ONDERLAW, LLC

BIGELOW, LOUISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:18-CV-00140          CHAPPELL, SMITH & ARDEN, P.A.

BIGGER, DEANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-05911          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BIGGER, GAIL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-16603          THE MILLER FIRM, LLC

BIGGERSTAFF, DAVA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-07065          THE ENTREKIN LAW FIRM

BIGGS, BARBIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-08455          ONDERLAW, LLC

BIGGS, DANA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:19-CV-21798          ONDERLAW, LLC

BIGGS, GAIL                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-10587          ONDERLAW, LLC

BIGGS, VIRGINIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07174          THE BENTON LAW FIRM, PLLC

BIGHORSE, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-03250          WILLIAMS HART LAW FIRM

BIGLER, DIXIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-16748          NACHAWATI LAW GROUP

BIGSBY, VIVIKA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-17727          ONDERLAW, LLC

BIHUN, ELIZABETH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-03376          ONDERLAW, LLC

BILBREY, TANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:17-CV-08013          ASHCRAFT & GEREL

BILEK, CAROL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-06755          DALIMONTE RUEB, LLP

BILLER, VIRGINIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-12766          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BILLIE QUALLS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-18570          ONDERLAW, LLC




                                                                               Page 99 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 101 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BILLIE, ADELINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15723          ARNOLD & ITKIN LLP

BILLINGS, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13987          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BILLINGS, GAIL                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001868-20        GOLOMB & HONIK, P.C.

BILLINGSLEY, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09018          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BILLINGSLEY, PHYLLIS              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002416-20        GOLOMB & HONIK, P.C.

BILLIOT, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06522          JOHNSON LAW GROUP

BILLUPS, CARRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16817          ONDERLAW, LLC

BILLUPS, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17936          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BILLY KENNEDY                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

BILTZ, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08539          GORI JULIAN & ASSOCIATES, P.C.

BILYEU, DARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10780          LANGDON & EMISON

BILZZARD, ZORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08569          CHILDERS, SCHLUETER & SMITH, LLC

BINDER, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14484          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BINGE, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15766          NACHAWATI LAW GROUP

BINGHAM, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08931          BARON & BUDD, P.C.

BINGHAM, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17859          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BINGHIERI, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14337          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BINGMAN, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10124          POTTS LAW FIRM

BINION, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18233          NACHAWATI LAW GROUP

BINION, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14497          DALIMONTE RUEB, LLP

BINION, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07796          ONDERLAW, LLC

BINION, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19901          ONDERLAW, LLC

BINIUS, CHRISTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04832          LEVIN SIMES ABRAMS LLP

BINKLEY, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08465          ONDERLAW, LLC

BIRCH, KIERSTEN                   IL - CIRCUIT COURT - COOK COUNTY             2021L000547            ARNOLD & ITKIN LLP

BIRCH, KIERSTEN                   IL - CIRCUIT COURT - COOK COUNTY             2021L000547            MEYERS & FLOWERS, LLC

BIRCH, MARCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12945          THE MILLER FIRM, LLC

BIRCH, TERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04385          ONDERLAW, LLC

BIRCHARD, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05191          ONDERLAW, LLC

BIRCHFIELD, CHERYLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15662          ONDERLAW, LLC

BIRCHNAUGH, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18357          NACHAWATI LAW GROUP

BIRD, GAIL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12148          BARRETT LAW GROUP

BIRD, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01485          FLETCHER V. TRAMMELL

BIRD, SALLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12662          BISNAR AND CHASE



                                                                             Page 100 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 102 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BIRDSELL, MARILEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12972          DRISCOLL FIRM, P.C.

BIRDSONG, CHRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08810          BARON & BUDD, P.C.

BIRDWELL, SHEILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07608          ONDERLAW, LLC

BIRDYSHAW, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07241          ONDERLAW, LLC

BIRGE, KELSI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08911          ONDERLAW, LLC

BIRKBECK, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19414          NACHAWATI LAW GROUP

BIRKLE, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00909          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BIRMINGHAM, CONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06257          BOHRER LAW FIRM, LLC

BISAILLON, ELLEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19264          NACHAWATI LAW GROUP

BISARO, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08122          ONDERLAW, LLC

BISARYA, VANDANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11706          FLETCHER V. TRAMMELL

BISBEE, ELEANOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13760          NAPOLI SHKOLNIK, PLLC

BISCEGLIO, JANICE                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00385321         MAUNE RAICHLE HARTLEY FRENCH & MUDD

BISCEGLIO, JANICE SUSAN           NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00385321         LEVY KONIGSBERG LLP

BISCHOFF, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08407          FLETCHER V. TRAMMELL

BISCHOFF, ERIKA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12742          ANDREW THORNTON HIGGINS RAZMARA LLP

BISCOTTO, MIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14790          ROSS FELLER CASEY, LLP

BISE, MATTIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12822          THE MILLER FIRM, LLC

BISHOP, CHARLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10723          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BISHOP, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02913          ONDERLAW, LLC

BISHOP, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11713          POTTS LAW FIRM

BISHOP, IMELDA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001738-20        COHEN, PLACITELLA & ROTH

BISHOP, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01753          JOHNSON LAW GROUP

BISHOP, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03802          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BISHOP, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08877          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BISHOP, LORRAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11689          THE MILLER FIRM, LLC

BISHOP, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15778          NACHAWATI LAW GROUP

BISHOP, MELANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09597          FLETCHER V. TRAMMELL

BISHOP, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18235          NACHAWATI LAW GROUP

BISHOP, NORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03251          WILLIAMS HART LAW FIRM

BISHOP, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08491          ONDERLAW, LLC

BISHOP, PENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08582          MORGAN & MORGAN

BISHOP, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18236          NACHAWATI LAW GROUP

BISHOP, SHARON                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004010-20        GOLOMB & HONIK, P.C.



                                                                             Page 101 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 103 of 702

               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

BISHOP, SHAWNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00845          ONDERLAW, LLC

BISHOP, TRACEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12253          ONDERLAW, LLC

BISHOP, WINONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10682          KLINE & SPECTER, P.C.

BISHOP, YOLANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04386          ONDERLAW, LLC

BISMARCK, ANNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09872          ONDERLAW, LLC

BISSESSAR, SHELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01634          MORELLI LAW FIRM, PLLC

BITZEL, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02333          DAVIS, BETHUNE & JONES, L.L.C.

BIVINS, ASHLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11429          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BIXLER, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00606          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BIZETTE, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01182          ONDERLAW, LLC

BJELAN, DESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05946          JOHNSON LAW GROUP

BLACCONIERE, ANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06773          GORI JULIAN & ASSOCIATES, P.C.

BLACK, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05137          ONDERLAW, LLC

BLACK, BERNICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02340          DAVIS, BETHUNE & JONES, L.L.C.

BLACK, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10038          ONDERLAW, LLC

BLACK, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12486          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BLACK, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01922          ONDERLAW, LLC

BLACK, DIANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07413          FLETCHER V. TRAMMELL

BLACK, DIANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14838          LENZE LAWYERS, PLC

BLACK, DIANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08999          ONDERLAW, LLC

BLACK, DIANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14838          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BLACK, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05037          BISNAR AND CHASE

BLACK, GENIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08962          MOTLEY RICE, LLC

BLACK, HEIDI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03170          ONDERLAW, LLC

BLACK, INNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10591          HOLLAND LAW FIRM

BLACK, JOANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10040          ONDERLAW, LLC

BLACK, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14367          NACHAWATI LAW GROUP

BLACK, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05237          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLACK, LAVINIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2056-17          WILENTZ, GOLDMAN & SPITZER, P.A.

BLACK, LEWANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08255          ONDERLAW, LLC

BLACK, LOUISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11434          MORRIS BART & ASSOCIATES

BLACK, MARY                       NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05218-18AS       LEVY KONIGSBERG LLP

BLACK, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12120          THE SEGAL LAW FIRM

BLACK, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08205          MOTLEY RICE, LLC



                                                                             Page 102 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                         Appendix A (Part 1) Page 104 of 702

           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

BLACK, ROSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11952          NACHAWATI LAW GROUP

BLACK, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLACK, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10836          NAPOLI SHKOLNIK, PLLC

BLACKBEAR, CAROLYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06078          THE ENTREKIN LAW FIRM

BLACKBURN, CYNTHIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02424          HOVDE, DASSOW, & DEETS, LLC

BLACKBURN, CYNTHIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02424          THE MILLER FIRM, LLC

BLACKBURN, KATHLEEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20382          ONDERLAW, LLC

BLACKBURN, TRACY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BLACKBURN, TRACY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15535          LENZE LAWYERS, PLC

BLACKBURN, TRACY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BLACKBURN, TRACY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15535          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BLACKBURN, TRACY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BLACKETT, VILMA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06781          ONDERLAW, LLC

BLACKFORD, CARRIE             MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLACKFORD, CARRIE             MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC

BLACKFORD, CARRIE             MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

BLACKFORD, CARRIE             MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

BLACKHAWK, CHEYENNE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00104          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BLACKMAN, ALBERTHA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12433          THE MILLER FIRM, LLC

BLACKMON, BERNADETTE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13154          NACHAWATI LAW GROUP

BLACKMON, CAROLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00473          LENZE LAWYERS, PLC

BLACKMON, CATINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11820          ARNOLD & ITKIN LLP

BLACKMON, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07410          HEYGOOD, ORR & PEARSON

BLACKMON, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12307          THE DIAZ LAW FIRM, PLLC

BLACKMON, NOLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18922          NACHAWATI LAW GROUP

BLACKMORE, JEAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00347          POTTS LAW FIRM

BLACKSHERER, ELIZABETH        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01505          ASHCRAFT & GEREL

BLACKSHERER, ELIZABETH        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01505          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLACKSTON, FARRIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12051          HURLEY MCKENNA & MERTZ

BLACKSTONE, CHADSIDY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07262          ONDERLAW, LLC

BLACKSTONE, ELSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13058          FLETCHER V. TRAMMELL

BLACKWELL, DENICE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20401          ONDERLAW, LLC

BLACKWELL, ELAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11431          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BLACKWELL, PAMELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18237          NACHAWATI LAW GROUP



                                                                         Page 103 of 1405
                                 Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                Appendix A (Part 1) Page 105 of 702

               Claimant Name                           State Filed                      Docket Number                              Plaintiff Counsel

BLACKWELL, PAULETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15087          THE MILLER FIRM, LLC

BLACKWELL, SUSAN                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC628366               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BLACKWOOD, CHRISTIANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15260          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLACKWOOD, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01142          COHEN & MALAD, LLP

BLACKWOOD, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01142          NIX PATTERSON & ROACH

BLADE, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09057          ONDERLAW, LLC

BLADEN, ATHENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09432          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLADES, JANE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08878          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLAES, SHAWN                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

BLAES, SHAWN                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

BLAES, SHAWN                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

BLAIR, BARBARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00100          HEYGOOD, ORR & PEARSON

BLAIR, BEATE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19541          ASHCRAFT & GEREL, LLP

BLAIR, BEATE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19541          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLAIR, CHELSEA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01093          DRISCOLL FIRM, P.C.

BLAIR, DEBRA; TYSON, ELIZABETH      CA - SUPERIOR COURT - SANTA CLARA COUNTY     17-CV-304790           THE MILLER FIRM, LLC

BLAIR, FRANCES                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16151          ASHCRAFT & GEREL, LLP

BLAIR, FRANCES                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16151          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLAIR, JESSICA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12623          THE MILLER FIRM, LLC

BLAIR, JULIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18584          ONDERLAW, LLC

BLAIR, LINDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00475          DIAMOND LAW

BLAIR, OTINA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22079          DRISCOLL FIRM, P.C.

BLAIR, TERESA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07111          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BLAIR, VANESSA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002206-20        GOLOMB & HONIK, P.C.

BLAIR-RICHMOND, MIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11232          LIAKOS LAW APC

BLAIS, DANIELLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11992          DIAZ LAW FIRM, PLLC

BLAISDELL, NATASHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12261          GORI JULIAN & ASSOCIATES, P.C.

BLAISURE, ERIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18248          NACHAWATI LAW GROUP
                                    NY - USDC FOR THE WESTERN DISTRICT OF NEW
BLAJSZCZAK, CARMELLA                                                             1:21-CV-01050          BROWN CHIARI LLP
                                    YORK
BLAJSZCZAK, CARMELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18439          BROWN CHIARI LLP

BLAKE, CAREY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05590          JOHNSON LAW GROUP

BLAKE, CHRISTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09661          THE CARLSON LAW FIRM

BLAKE, DIANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13423          ONDERLAW, LLC




                                                                               Page 104 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 106 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BLAKE, ELDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16878          JOHNSON LAW GROUP

BLAKE, HALCYON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10164          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLAKE, HALCYON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10164          PORTER & MALOUF, PA

BLAKE, IMOJEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08966          ONDERLAW, LLC

BLAKE, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17944          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BLAKE, JULEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01162          THE MILLER FIRM, LLC

BLAKE, KRYSTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13185          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

BLAKE, LINDSAY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15863          NACHAWATI LAW GROUP

BLAKE, MARVA                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC644063               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BLAKE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07657          ONDERLAW, LLC

BLAKE, MERLIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21663          ONDERLAW, LLC

BLAKE, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08898          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLAKE, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09149          ONDERLAW, LLC

BLAKE, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05343          HUTTON & HUTTON

BLAKE, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18780          CELLINO & BARNES, P.C.

BLAKE, TRACY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00494          JOHNSON BECKER, PLLC

BLAKE, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09830          FLETCHER V. TRAMMELL

BLAKELY, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04657          FLETCHER V. TRAMMELL

BLAKELY, MARY ANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20902          THE MILLER FIRM, LLC

BLAKES, LATRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17899          ONDERLAW, LLC

BLALOCK, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08704          GUILLORY & MCCALL, L.L.C.

BLALOCK, EVELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11274          NACHAWATI LAW GROUP

BLALOCK, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05422          ONDERLAW, LLC

BLANCHARD, DAWN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10622          MOTLEY RICE, LLC

BLANCHARD, ERIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03263          BERNHEIM KELLY BATTISTA & BLISS

BLANCHARD, MARIBETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13758          THE MILLER FIRM, LLC

BLANCHARD, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15539          ONDERLAW, LLC

BLANCHARD, TAMMIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01301          SIMMONS HANLY CONROY

BLANCHE, KATONA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01337          DRISCOLL FIRM, P.C.

BLANCHETT, SHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09479          ONDERLAW, LLC

BLANCHETTE, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01860          JOHNSON LAW GROUP

BLANCHETTE, KARYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00495          JOHNSON BECKER, PLLC




                                                                            Page 105 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 107 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BLANCHETTE, NICOLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21803          ONDERLAW, LLC

BLANCHETTE, RUTH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14413          ASHCRAFT & GEREL

BLANCO, CRISTINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15851          JOHNSON LAW GROUP

BLAND, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13109          MORGAN & MORGAN

BLAND, EVELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14457          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BLAND, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13459          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLAND, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11102          ONDERLAW, LLC

BLAND, SHELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12036          ARNOLD & ITKIN LLP

BLAND, THELMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12245          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLAND, VICTORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13494          SALTZ MONGELUZZI & BENDESKY PC

BLANKEN, LORETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09143          ONDERLAW, LLC

BLANKENCHIP, DAWN             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

BLANKENCHIP, DAWN             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLANKENCHIP, DAWN             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

BLANKENCHIP, DAWN             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

BLANKENCHIP, DAWN             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

BLANKENSHIP, CATHERINE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09053          CELLINO & BARNES, P.C.

BLANKENSHIP, FRANCES          DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02663          ASHCRAFT & GEREL, LLP

BLANKENSHIP, FRANCES          DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02663          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLANKENSHIP, LISA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13201          DAVIS, BETHUNE & JONES, L.L.C.

BLANKENSHIP, PATSY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13607          MORRIS BART & ASSOCIATES

BLANKS, ANGEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15561          GIRARDI & KEESE

BLANKS, ELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09587          ASHCRAFT & GEREL

BLANKS, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11290          NACHAWATI LAW GROUP

BLANKS, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12768          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLANKSCHAEN, JUDITH           NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-08377-18AS       MAUNE RAICHLE HARTLEY FRENCH & MUDD

BLANSETT, CINDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04645          ONDERLAW, LLC

BLANTON, ASHLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16405          NACHAWATI LAW GROUP

BLANTON, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19443          ASHCRAFT & GEREL, LLP

BLANTON, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19443          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLANTON, JOEN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002604-20        GOLOMB & HONIK, P.C.

BLANTON, SHARON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13690          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

BLANTON, VICTORIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06372          FLETCHER V. TRAMMELL

BLAPPERT, CARON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05560          JOHNSON LAW GROUP



                                                                         Page 106 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 108 of 702

            Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel

BLAS, SYLVIA                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     21STCV29880            BISNAR AND CHASE

BLASE, STELLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15566          GIRARDI & KEESE

BLASE, STELLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15566          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BLASE, STEPHANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16103          ONDERLAW, LLC

BLASINI, NYDIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16715          ANDRUS WAGSTAFF, P.C.

BLASIOL, VICTOR                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

BLASKA, ASHLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02391          JOHNSON LAW GROUP

BLASKO, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02429          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLASSER, DOMINIQUE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19000          NACHAWATI LAW GROUP

BLASSINI, VILMA & PEREZ, VICTOR   NY - SUPREME COURT - NYCAL                   190067/2018            MEIROWITZ & WASSERBERG, LLP

BLATT, DEBORA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01054          ARNOLD & ITKIN LLP

BLAYDE, SEBRENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05552          ONDERLAW, LLC

BLAYLOCK, GAYLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13508          NAPOLI SHKOLNIK PLLC

BLAYLOCK, SHONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13195          REICH & BINSTOCK, LLP

BLAZIO, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07489          LAW OFFICE OF JOHN D. SILEO, LLC

BLEASE, TIERNEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09200          DIAMOND LAW

BLEDSOE, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00311          BURNS CHAREST LLP

BLEDSOE, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09222          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLEDSOE, HANNAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07451          ARNOLD & ITKIN LLP

BLEDSOE, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02737          THE SEGAL LAW FIRM

BLEDSOE, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20386          ONDERLAW, LLC

BLEECKER, ANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09509          THE CLORE LAW GROUP LLC

BLEMKER, SANDRA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLEMKER, SANDRA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

BLEMKER, SANDRA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

BLEMKER, SANDRA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

BLEUEL, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07459          LENZE LAWYERS, PLC

BLEUER, BETSY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13791          JOHNSON LAW GROUP

BLEVINS, ARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17759          BURNS CHAREST LLP

BLEVINS, CRYSTAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06876          ASHCRAFT & GEREL, LLP

BLEVINS, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12635          DALIMONTE RUEB, LLP

BLEVINS, FLORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06917          ONDERLAW, LLC

BLEVINS, LAVONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02754          DRISCOLL FIRM, P.C.




                                                                             Page 107 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 109 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BLEVINS, LORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20422          DRISCOLL FIRM, P.C.

BLEVINS, PRISCILLA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18263          NACHAWATI LAW GROUP

BLEVINS, TRACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18255          NACHAWATI LAW GROUP

BLINDER, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08635          PARKER WAICHMAN, LLP

BLINDERMAN, LISA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14066          ONDERLAW, LLC

BLISH, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03469          ONDERLAW, LLC

BLISS, THERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09060          BARON & BUDD, P.C.

BLOCHLINGER, LELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11131          BURNS CHAREST LLP

BLOCK, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22171          DRISCOLL FIRM, P.C.

BLOCK, RHONDA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001205-20        GOLOMB SPIRT GRUNFELD PC

BLOCK, SYLVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17065          JOHNSON LAW GROUP

BLOCKER, LATONIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11433          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BLOCKER, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18272          NACHAWATI LAW GROUP

BLOCK-MERKEL, MARY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18283          NACHAWATI LAW GROUP

BLOCTON, JOMATIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07612          JOHNSON LAW GROUP

BLODGETT, JUDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15577          WEXLER WALLACE LLP

BLODGETT, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12052          NACHAWATI LAW GROUP

BLOHM, THERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01599          TRAMMELL PC

BLOIS, MELANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03384          ONDERLAW, LLC

BLOOD, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07183          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLOODSAW, COLLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18289          NACHAWATI LAW GROUP

BLOOM, JEANETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19713          NACHAWATI LAW GROUP

BLOOMER, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05496          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLOOMFIELD, KAY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07761          ONDERLAW, LLC

BLOSE, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11245          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLOSS, CONCETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11696          THORNTON LAW FIRM

BLOSSOM, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02505          ONDERLAW, LLC

BLOUCHER-HARRIS, ASHLEY        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16407          NACHAWATI LAW GROUP

BLOUGH, BILLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03794          ARNOLD & ITKIN LLP

BLOUNT, AUDREY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10065          ONDERLAW, LLC

BLOUNT, CLASSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01665          BURNS CHAREST LLP

BLOW, PRISCILLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00974          COHEN & MALAD, LLP

BLOW, PRISCILLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00974          NIX PATTERSON & ROACH

BLUE, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14638          ONDERLAW, LLC



                                                                          Page 108 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 110 of 702

               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

BLUE, KHELIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12543          ARNOLD & ITKIN LLP

BLUE, VERTIS                      NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002677-21AS      WEITZ & LUXENBERG

BLUETT, SUZANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07447          DALIMONTE RUEB, LLP

BLUITT-HECHAVARRIA, SCHEVONNE     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11141          FLETCHER V. TRAMMELL

BLUM, BEVERLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13250          CELLINO & BARNES, P.C.

BLUM, PHYLLIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12201          ONDERLAW, LLC

BLUM, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04420          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLUM, VICTORIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002417-20        GOLOMB & HONIK, P.C.

BLUME, LESLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07968          WILSON LAW PA

BLUMENFELD, SHANNON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18650          ONDERLAW, LLC

BLUMENTHAL, CHERI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01530          ONDERLAW, LLC

BLUTCHER, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06197          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BLUTH, DEBORAH                    FL - CIRCUIT COURT - BROWARD COUNTY          CACE17012421           SCHLESINGER LAW OFFICES, P.A.

BLYTHE, LAURA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002605-20        GOLOMB & HONIK, P.C.

BOADA, LUISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10289          ONDERLAW, LLC

BOARD, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01007          ONDERLAW, LLC

BOARDMAN, ANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02319          ONDERLAW, LLC

BOATNER, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11899          DAVIS, BETHUNE & JONES, L.L.C.

BOATWRIGHT, DINAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09500          ONDERLAW, LLC

BOATWRIGHT, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17971          ASHCRAFT & GEREL

BOATWRIGHT, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17971          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOAZ, KAMERON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04676          SULLO & SULLO, LLP

BOBADILLA, MARISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18301          NACHAWATI LAW GROUP

BOBB, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01901          JOHNSON LAW GROUP

BOBBITT, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12246          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
BOBINEY, EVETTE M. AND BOBINEY,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03393-18AS       WEITZ & LUXENBERG
LARRY
BOBO, GEORGIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00509          THE POTTS LAW FIRM, LLP

BOBO, SHELIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01161          GORI JULIAN & ASSOCIATES, P.C.

BOCANEGRA, CATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14343          WILLIAMS HART LAW FIRM
BOCANEGRA, ELIZABETH EST OF E.
                                  IL - CIRCUIT COURT - MADISON COUNTY          2020-L-000922          FLINT LAW FIRM LLC
GABALDON
BOCHAN, PATTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12776          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOCHANSKI, VIRGINIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000228-19        GOLOMB SPIRT GRUNFELD PC

BOCHANSKI, VIRGINIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000228-19        LUNDY, LUNDY, SOILEAU & SOUTH, LLP




                                                                             Page 109 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 111 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BOCK, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08493          ONDERLAW, LLC

BOCK, MARGIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10045          ONDERLAW, LLC

BOCK, MARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14555          NAPOLI SHKOLNIK PLLC

BOCKMANN, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08441          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOCKO, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01322          POTTS LAW FIRM

BOCOOK, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14176          ASHCRAFT & GEREL, LLP

BOCOOK, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14176          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BODDEN, IVON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15246          THE SEGAL LAW FIRM

BODDEN, STACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02242          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BODDIE, EUNICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18318          NACHAWATI LAW GROUP

BODE, PETRINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10699          THE MILLER FIRM, LLC

BODELL, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16071          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BODEN, MARCEE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00936          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BODIE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03771          HEYGOOD, ORR & PEARSON

BODIFORD, JEWEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13959          ASHCRAFT & GEREL

BODIFORD, JEWEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13959          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BODIRIAU, CATALINA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002160-20        GOLOMB & HONIK, P.C.

BODISON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13353          HENINGER GARRISON DAVIS, LLC

BODKIN, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17399          TORHOERMAN LAW LLC

BODNAR, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07949          BLIZZARD & NABERS, LLP

BODNAR, ROSE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00151          ARNOLD & ITKIN LLP

BODONY, PRISCILLA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002094-20        GOLOMB & HONIK, P.C.

BODWALK, BETH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02057          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BODY, SUPORN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13384          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOECKER, ADELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09067          THORNTON LAW FIRM LLP

BOEHM, VANESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20389          ONDERLAW, LLC

BOEHME, WYNONIA                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

BOEHRNS, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15160          NAPOLI SHKOLNIK PLLC

BOENING, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20390          ONDERLAW, LLC

BOERGERS, DONNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           ONDERLAW, LLC

BOERGERS, DONNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           PORTER & MALOUF, PA

BOERGERS, DONNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           THE SMITH LAW FIRM, PLLC

BOERNER, KRISTIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01052          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 110 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                            Appendix A (Part 1) Page 112 of 702

             Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

BOESE, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11957          NACHAWATI LAW GROUP

BOESE, SANDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01306          JOHNSON LAW GROUP

BOETTCHER, ALICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01653          HOLLAND LAW FIRM

BOGACZYK, NELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          DONALD L. SCHLAPPRIZZI P.C.

BOGACZYK, NELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10788          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BOGACZYK, NELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BOGAN, ORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11810          NACHAWATI LAW GROUP

BOGAN, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14067          ONDERLAW, LLC

BOGARD, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18620          THE SEGAL LAW FIRM

BOGART, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15433          ONDERLAW, LLC

BOGENRIEF, HEATHER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09870          NAPOLI SHKOLNIK, PLLC

BOGER, ELLEN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000807-19        NAPOLI SHKOLNIK, PLLC

BOGERT, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10321          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOGGAN, FANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06290          ONDERLAW, LLC

BOGGS, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02079          FLETCHER V. TRAMMELL

BOGGS, CONNIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002178-20        GOLOMB & HONIK, P.C.

BOGGS, KRISTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11376          SANDERS VIENER GROSSMAN, LLP

BOHACS, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20720          ASHCRAFT & GEREL, LLP

BOHANNAN, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09857          WAGSTAFF & CARTMELL, LLP

BOHANNON, ELEANOR               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19569          ASHCRAFT & GEREL, LLP

BOHANNON, ELEANOR               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19569          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOHANNON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15780          BART DURHAM INJURY LAW

BOHANNON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15780          FRAZER PLC

BOHL, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13941          ASHCRAFT & GEREL

BOHL, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13941          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOHL, MELANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12143          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOHM, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16185          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOHN, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06517          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BOHN, MARILYNN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16390          DALIMONTE RUEB, LLP

BOHNET, AMBER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10914          THE MILLER FIRM, LLC

BOHONIS, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14784          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOIE, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02381          JOHNSON LAW GROUP

BOILEAU, EDNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02813          DALIMONTE RUEB, LLP

BOIS, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                           Page 111 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 113 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BOIS, PATRICIA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

BOIS, PATRICIA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

BOIS, PATRICIA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

BOIS, PATRICIA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

BOIVIN, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18332          NACHAWATI LAW GROUP

BOJAKOWSKI, KATHLEEN             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

BOKUN, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19721          NACHAWATI LAW GROUP

BOLAND, CHERYL                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     16-CV-296601           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BOLAND, MILDRED                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05260          ONDERLAW, LLC

BOLAND, NICHOLET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

BOLAND, NICHOLET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

BOLAND, NICHOLET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BOLD, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13983          FLETCHER V. TRAMMELL

BOLDEN, BERNICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16265          ASHCRAFT & GEREL, LLP

BOLDEN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00165          CELLINO & BARNES, P.C.

BOLDEN, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10209          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOLDEN, PARRIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13449          DRISCOLL FIRM, P.C.

BOLDIN, EMMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07958          POTTS LAW FIRM

BOLDING, KELLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04205          THE MILLER FIRM, LLC

BOLDS, DOMINIQUE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16656          ARNOLD & ITKIN LLP

BOLDS, MICHELE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18344          NACHAWATI LAW GROUP

BOLDS, SHANTAIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11710          FLETCHER V. TRAMMELL

BOLEN, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07592          ASHCRAFT & GEREL, LLP

BOLEN, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07592          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOLENDER, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22072          DRISCOLL FIRM, P.C.

BOLEN-PARENTEAU, COLLEEN         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04886          ONDERLAW, LLC

BOLES, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00131          ASHCRAFT & GEREL

BOLES, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00131          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOLES, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13671          ASHCRAFT & GEREL, LLP

BOLES, SAMANTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17797          MARY ALEXANDER & ASSOCIATES, P.C.

BOLIEU, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18361          NACHAWATI LAW GROUP

BOLIN, BILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00893          JOHNSON LAW GROUP

BOLIN, ENEDINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06821          LUNDY, LUNDY, SOILEAU & SOUTH, LLP




                                                                            Page 112 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 114 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BOLING, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18377          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOLINGER, JEANNE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

BOLINGER, JEANNE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

BOLINGER, JEANNE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

BOLINGER, JEANNE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

BOLINGER, RITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15717          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOLIN-SANTIAGO, JOAQUINA       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17777          ONDERLAW, LLC

BOLIVER, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03387          ONDERLAW, LLC

BOLL, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03129          WILLIAMS HART LAW FIRM

BOLLARD, CANDACE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19556          ASHCRAFT & GEREL, LLP

BOLLARD, CANDACE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19556          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOLLINGER, CHARLOTTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14224          BURNS CHAREST LLP

BOLLINGER, CHARLOTTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14224          BURNS CHAREST LLP

BOLLINGER, REBECCA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07572          KLINE & SPECTER, P.C.

BOLLMANN, LORRAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03252          WILLIAMS HART LAW FIRM

BOLS, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01094          DRISCOLL FIRM, P.C.

BOLSTAD, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05667          REICH & BINSTOCK, LLP

BOLT, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05549          NAPOLI SHKOLNIK, PLLC

BOLTON, ANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13354          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

BOLTON, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06733          THE SIMON LAW FIRM, PC

BOLTON, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14212          THE BENTON LAW FIRM, PLLC

BOLTON, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11076          HOLLIS, WRIGHT, CLAY & VAIL, P.C.

BOLTON, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04350          ONDERLAW, LLC

BOLTON, SUZY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16152          ASHCRAFT & GEREL, LLP

BOLTON, SUZY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16152          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOLTUCH, LEONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05554          NAPOLI SHKOLNIK, PLLC

BOLUS, FRANKIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002251-20        GOLOMB & HONIK, P.C.

BOLYARD, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04029          WATERS & KRAUS, LLP

BOMAR, GEORGETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03309          ONDERLAW, LLC

BOMAR, TRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14759          NAPOLI SHKOLNIK, PLLC

BOMBA, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14709          LENZE LAWYERS, PLC

BOMBA, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14709          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BOMMON, ROSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18382          NACHAWATI LAW GROUP

BOMZER, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13547          ONDERLAW, LLC



                                                                          Page 113 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 115 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BONA, MARIA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           ONDERLAW, LLC

BONA, MARIA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           PORTER & MALOUF, PA

BONA, MARIA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           THE SMITH LAW FIRM, PLLC

BONACCI, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14315          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BONAMO, DORIAN                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

BONANNO, LINDA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-0250-15          SEEGER WEISS LLP

BONBURANT, MELINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12008          NACHAWATI LAW GROUP

BOND, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20261          NACHAWATI LAW GROUP

BOND, CATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11008          ONDERLAW, LLC

BOND, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03549          HEYGOOD, ORR & PEARSON

BOND, JAMI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04630          ONDERLAW, LLC

BOND, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07426          ONDERLAW, LLC

BOND, KIMBERLI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09538          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOND, KRISTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18277          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

BOND, MARION                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02160          MOTLEY RICE, LLC

BOND, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01900          ONDERLAW, LLC

BOND, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18426          NACHAWATI LAW GROUP

BOND, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08947          ONDERLAW, LLC

BOND, SUE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:17-CV-08669              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
BONDA, JUDI                                                               201200816                  ARNOLD & ITKIN LLP
                                 PLEAS
BOND-BOOTH, BEVERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:20-CV-06748              TAUTFEST BOND

BOND-RAST, RISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09670          MORELLI LAW FIRM, PLLC

BONDS, PAULETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05643          ASHCRAFT & GEREL

BONDS, PAULETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05643          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BONDURANT, LYNDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14366          ALLAN BERGER AND ASSOCIATES

BONEE, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18342          NACHAWATI LAW GROUP

BONEY, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10005          GORI JULIAN & ASSOCIATES, P.C.

BONGIORNI, FREDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19304          NACHAWATI LAW GROUP

BONGIORNO, ANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09876          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

BONGIOVANNI, SUSAN               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001105-21        GOLOMB & HONIK, P.C.

BONHAM, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16073          NACHAWATI LAW GROUP

BONHEYO, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BONHEYO, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15745          LENZE LAWYERS, PLC




                                                                            Page 114 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 116 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BONHEYO, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BONHEYO, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15745          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BONHEYO, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BONILLA, GRECIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09191          DAVIS, BETHUNE & JONES, L.L.C.

BONILLA, SULEMA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19418          NACHAWATI LAW GROUP

BONIT, MAXIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12855          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BONJO, LAURIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08664          ONDERLAW, LLC

BONNEM, SUSAN L.              IL - CIRCUIT COURT - COOK COUNTY             20-L-12414             COONEY AND CONWAY

BONNER, ANGELINNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11383          THE CARLSON LAW FIRM

BONNER, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05393          TRAMMELL PC

BONNER, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08398          FLETCHER V. TRAMMELL

BONNER, KARLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09200          DAVIS, BETHUNE & JONES, L.L.C.

BONNETTE, KELLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07374          MORGAN & MORGAN

BONNEVILLE, LAURIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16105          ONDERLAW, LLC

BONNEY MCWILLIAM              FEDERAL - MDL                                3:21-CV-19666          JOHNSON BECKER, PLLC

BONNIE MEDINA                 FEDERAL - MDL                                3:21-CV-19691          JOHNSON BECKER, PLLC

BONNIE PATTEN                 FEDERAL - MDL                                3:21-CV-19052          MOTLEY RICE, LLC

BONNIE WILLIAMS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18512          ONDERLAW, LLC

BONTA, MAUREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00779          MOTLEY RICE, LLC

BONTRAGER, SHEILA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19887          ONDERLAW, LLC

BOODRO, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09381          ONDERLAW, LLC

BOOKER, DELORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09249          ONDERLAW, LLC

BOOKER, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05046          ONDERLAW, LLC

BOOKER, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20917          ONDERLAW, LLC

BOOKER, KANTIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07115          ONDERLAW, LLC

BOOKER, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08876          ONDERLAW, LLC

BOOKER, LIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05129          ONDERLAW, LLC

BOOKER, SHEILA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

BOOKER, SHEILA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

BOOKER, SHEILA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

BOOKER, TAMMY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOOKER, TAMMY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

BOOKER, TAMMY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

BOOKER, TAMMY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA



                                                                         Page 115 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 117 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BOOKER, TAMMY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

BOOKER, TENESIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07593          ASHCRAFT & GEREL, LLP

BOOKER, TENESIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07593          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOOKHAGEN, ELAINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06458          THE ENTREKIN LAW FIRM

BOOKHART, TRACEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08899          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOOKHOP, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09618          ONDERLAW, LLC

BOOLUKOS, LORETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19805          JOHNSON BECKER, PLLC

BOONE, MARSHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BOONE, MARSHA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002625-21        GOLOMB & HONIK, P.C.

BOONE, MARSHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BOONE, MARSHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BOONE, SHEILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13155          BARRETT LAW GROUP

BOONE, VESTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12973          FLETCHER V. TRAMMELL

BOONSES, SOMJIT                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15313          CELLINO & BARNES, P.C.

BOORMAN, MARIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09367          ONDERLAW, LLC

BOOS, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16127          ONDERLAW, LLC

BOOS, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11143          GOLDENBERGLAW, PLLC

BOOSE, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05500          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOOTH, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02422          HOVDE, DASSOW, & DEETS, LLC

BOOTH, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14129          JOHNSON LAW GROUP

BOOTH, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02422          THE MILLER FIRM, LLC

BOOTH, CLAUDETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19423          NACHAWATI LAW GROUP

BOOTH, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01192          JOHNSON LAW GROUP

BOOTH, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02423          MORELLI LAW FIRM, PLLC

BOOTH, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09510          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOOTH, LYNNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06756          JOHNSON LAW GROUP

BOOTH, ROBERTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11992          NACHAWATI LAW GROUP

BOOTH, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BOOTH, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BOOTH, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03372          ONDERLAW, LLC

BOOTH, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BOOTH, SUE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16413          NACHAWATI LAW GROUP

BOOTHE, CINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04661          ONDERLAW, LLC

BOOTS, CARRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16182          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                           Page 116 of 1405
                              Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                               Appendix A (Part 1) Page 118 of 702

              Claimant Name                           State Filed                      Docket Number                              Plaintiff Counsel

BOOTS, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05418          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BORCHARDT, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20550          DRISCOLL FIRM, P.C.

BORCHARDT, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07318          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BORCHERT, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05563          JOHNSON LAW GROUP

BORDAK, LORA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BORDAK, LORA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

BORDAK, LORA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

BORDEAUX, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12355          ONDERLAW, LLC

BORDELON, APRIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11435          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BORDELON, LYNDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05358          ONDERLAW, LLC

BORDEN, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09520          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BORDOFF, NITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16754          ASHCRAFT & GEREL

BORDOFF, NITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16754          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BORGAL, LOIS AND BORGAL, JAMES     NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002021-21        WEITZ & LUXENBERG

BORGER, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BARRETT LAW GROUP, P.A.

BORGER, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

BORGER, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

BORGER, SUSAN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-337-18           COHEN, PLACITELLA & ROTH

BORGER, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          GOLDENBERG HELLER & ANTOGNOLI, PC

BORGES, DOLORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10779          THE MILLER FIRM, LLC

BORGES, JEANETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05419          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BORGES, MARJORIE                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318628             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BORGH, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:20-CV-12826          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
BORGS,
                                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:17-CV-00794          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
HAMILTN,HORNR,JOHNSN,SCHULMN,VAR
BORGS,
                                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:17-CV-00794          GOLDENBERGLAW, PLLC
HAMILTN,HORNR,JOHNSN,SCHULMN,VAR
BORGS,
                                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:17-CV-00794          ONDERLAW, LLC
HAMILTN,HORNR,JOHNSN,SCHULMN,VAR
BORGS,
                                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:17-CV-00794          PORTER & MALOUF, PA
HAMILTN,HORNR,JOHNSN,SCHULMN,VAR
BORGS,
HAMILTN,HORNR,JOHNSN,SCHULMN,VAR NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:17-CV-00794          THE SMITH LAW FIRM, PLLC
R
BORING, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:21-CV-03325          ONDERLAW, LLC


BORIS, JUDI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14606          MOTLEY RICE, LLC



BORJA, FRANCES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17948          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC




                                                                              Page 117 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 119 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel


BORN, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10225          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



BORN, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03011          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN



BORN, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13140          BARRETT LAW GROUP


BORNSCHEUER, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01681          FLETCHER V. TRAMMELL

BOROWICZ, SHANNON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04905          ONDERLAW, LLC

BORREL, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09811          MORRIS BART & ASSOCIATES

BORRERO, CARMEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15434          ONDERLAW, LLC

BORSELLA, BERNADETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13138          DIAMOND LAW

BORSETT, CAROLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09086          ONDERLAW, LLC

BORSKEY, GWENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01398          ONDERLAW, LLC

BORTLE, SHARYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09529          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BORUCKI, CHARMANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09265          DAVIS, BETHUNE & JONES, L.L.C.

BORUFF, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07418          ARNOLD & ITKIN LLP

BORUM, BRIDGET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08055          FLETCHER V. TRAMMELL

BORUNDA, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03189          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BORZELLO, ELYSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20183          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOSAK, CHARLOTTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04806          ONDERLAW, LLC

BOSAN, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00683          GORI JULIAN & ASSOCIATES, P.C.

BOSARGE, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09217          THE DUGAN LAW FIRM, APLC

BOSCHERT, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05775          TRAMMELL PC

BOSE, STEPHANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05163          ONDERLAW, LLC

BOSER, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10942          ONDERLAW, LLC

BOSI, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10960          CELLINO & BARNES, P.C.

BOSKO, ALESIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10042          ONDERLAW, LLC

BOSQUE, JUANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01878          LENZE LAWYERS, PLC

BOSQUET, NIRKA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05390          KLINE & SPECTER, P.C.

BOSS, KERRY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03585          ONDERLAW, LLC

BOSSALINA, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14242          ARNOLD & ITKIN LLP

BOSSERMAN, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08941          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOSSERT, NANCY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002584-20        COHEN, PLACITELLA & ROTH




                                                                            Page 118 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 120 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BOST, DARLENE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-002718-19          ASHCRAFT & GEREL

BOST, DARLENE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-002718-19          GOLOMB & HONIK, P.C.

BOST, HEIDI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12767          WILLIAMS HART LAW FIRM

BOSTIAN, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09225          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOSTICK, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07412          ONDERLAW, LLC

BOSTON, COLEEN                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004091-21        WEITZ & LUXENBERG

BOSTON, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18987          NACHAWATI LAW GROUP

BOSTON, VICKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15816          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BOSTON, WILLETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19795          HENINGER GARRISON DAVIS, LLC

BOSTWICK, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13713          JOHNSON LAW GROUP

BOSTWICK, DOLORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02759          SEITHEL LAW LLC

BOSWELL, ARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09398          BERNSTEIN LIEBHARD LLP

BOSWELL, MARLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09582          DALIMONTE RUEB, LLP

BOSWELL, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18930          NACHAWATI LAW GROUP

BOSWELL, TERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15331          JOHNSON BECKER, PLLC

BOSWELL, VERLINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00946          MORRIS BART & ASSOCIATES

BOTCHIE, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06421          THE MILLER FIRM, LLC

BOTHE, BEVERLY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2602-17          COHEN, PLACITELLA & ROTH

BOTHWELL, CRYSTAL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02158          JOHNSON LAW GROUP

BOTHWELL, ROSEMARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13385          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOTKIN, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19103          NACHAWATI LAW GROUP

BOTT, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16420          NACHAWATI LAW GROUP

BOTT, JACQUELINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12777          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOTTIGLIERI, KELLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11753          NACHAWATI LAW GROUP

BOTTO, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12895          BARRETT LAW GROUP

BOTTOMS, ALEDDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08919          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOTTONE, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05858          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOTTS, DELIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10463          ARNOLD & ITKIN LLP

BOTTS, LOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16939          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

BOTTS, THEONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17267          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

BOTZENHARDT, CRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13718          MICHAEL BRANDY LYNCH FIRM

BOTZENHARDT, CRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13718          THE MICHAEL BRADY LYNCH FIRM

BOUCH, STEPHANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15997          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BOUCHARD, ANITTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04753          JOHNSON BECKER, PLLC



                                                                             Page 119 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 121 of 702

            Claimant Name                          State Filed                       Docket Number                             Plaintiff Counsel

BOUCHARD, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07967          WILSON LAW PA

BOUCHARD, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02661          MORELLI LAW FIRM, PLLC

BOUCHER, DORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17197          DRISCOLL FIRM, P.C.

BOUCHER, GOYENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15374          ONDERLAW, LLC

BOUCHER, JANE; HOLLIS, VERA      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC634856               THE MILLER FIRM, LLC

BOUCHER, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17964          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BOUCHER, VALERIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16203          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOUDREAU, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14486          THE MILLER FIRM, LLC

BOUDREAU, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06201          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOUDREAUX, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12288          ARNOLD & ITKIN LLP

BOUDREAUX, DIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12735          ASHCRAFT & GEREL

BOUDREAUX, JEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08538          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOUDREAUX, MANDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04934          ONDERLAW, LLC

BOUDREAUX, MARION                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05447          ONDERLAW, LLC

BOUDREAUX, RENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05927          ONDERLAW, LLC

BOUDROT, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04366          JOHNSON BECKER, PLLC

BOUFORD, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16429          NACHAWATI LAW GROUP

BOUGHER, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05028          THE BARNES FIRM, LC

BOUGHTER, SHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13663          FLETCHER V. TRAMMELL

BOUGHTON, JODIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07246          ONDERLAW, LLC

BOULAI, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14271          DRISCOLL FIRM, P.C.

BOULAS, ERICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16150          ASHCRAFT & GEREL, LLP

BOULAS, ERICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16150          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOULDEN, TERESA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002161-20        GOLOMB & HONIK, P.C.

BOULDIN, JEANETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07273          ONDERLAW, LLC

BOULER, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13041          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOULER, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13041          PORTER & MALOUF, PA

BOULEY, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14005          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOULIER, TAMARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05009          BERMAN & SIMMONS, P. A.

BOULTON, ANNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16820          THE SEGAL LAW FIRM

BOUND, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13719          JOHNSON LAW GROUP

BOUNDS, JANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10571          DIAZ LAW FIRM, PLLC

BOUNDS, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20185          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 120 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 122 of 702

              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

BOUNDY, LYNNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07013          JOEL E. BROWN & ASSOCIATES, P.C.

BOURAY-SPECHTENHAUSER, MARY      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00017          CELLINO & BARNES, P.C.

BOURBON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16522          THORNTON LAW FIRM LLP

BOURDEAU, MADELEINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09080          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOURG, BARBARA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-002705-21        WEITZ & LUXENBERG

BOURGEOIS, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05932          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOURGEOIS, LORRAINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11205          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BOURKE, BEATRICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02655          WILLIAMS HART LAW FIRM

BOURNE, REGINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00562          THE POTTS LAW FIRM, LLP

BOURQUE, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02909          ONDERLAW, LLC

BOURQUE, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00022          ASHCRAFT & GEREL

BOURQUE, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00022          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOURQUE, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14654          MOTLEY RICE, LLC

BOUTCHER, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01473          JOHNSON LAW GROUP

BOUTERIE, TRACI                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           ONDERLAW, LLC

BOUTERIE, TRACI                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           PORTER & MALOUF, PA

BOUTERIE, TRACI                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           THE SMITH LAW FIRM, PLLC

BOUTIETTE, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10435          WILLIAMS HART LAW FIRM

BOUTIN-GOULD, ORALINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03738          NAPOLI SHKOLNIK, PLLC

BOUTWELL JR., LONNIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11484          BURNS CHAREST LLP

BOUTWELL, JUANITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05204          ONDERLAW, LLC

BOUVIA, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17687          JOHNSON LAW GROUP

BOUYEA, JACKELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12487          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BOUYER, BERNICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13301          NACHAWATI LAW GROUP

BOVA, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05621          JOHNSON LAW GROUP

BOVA, KIRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03915          MARY ALEXANDER & ASSOCIATES, P.C.

BOVE, JANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00654          MORELLI LAW FIRM, PLLC
                                 NY - USDC FOR THE EASTERN DISTRICT OF NEW
BOVE, MARYANN                                                                  2:21-CV-02296          CELLINO & BARNES, P.C.
                                 YORK
                                 NY - USDC FOR THE EASTERN DISTRICT OF NEW
BOVE, MARYANN                                                                  0:21-CV-02296          CELLINO & BARNES, P.C.
                                 YORK
BOVE, SUNEUM                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17428          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BOVIDGE, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09059          ONDERLAW, LLC

BOVINO, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13053          FLETCHER V. TRAMMELL

BOWDEN, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11546          THE MILLER FIRM, LLC




                                                                             Page 121 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 123 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BOWDEN, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17802          ONDERLAW, LLC

BOWDEN, KATHRYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12140          MORELLI LAW FIRM, PLLC

BOWDEN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07713          ASHCRAFT & GEREL

BOWDEN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07713          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOWDEN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01625          JOHNSON LAW GROUP

BOWDEN, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20046          ONDERLAW, LLC

BOWDEN, TAMMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05849          ONDERLAW, LLC

BOWDEN, VICKY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16440          NACHAWATI LAW GROUP

BOWDEN-MINNIX, BEVERLY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16683          ONDERLAW, LLC

BOWDRE-NOEL, TINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09719          NACHAWATI LAW GROUP

BOWE, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13417          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOWEN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08128          JASON J. JOY & ASSCIATES P.L.L.C.

BOWEN, DARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10582          ONDERLAW, LLC

BOWEN, DEANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04773          ONDERLAW, LLC

BOWEN, ELAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05232          CLARK ROBB MASON COULMBE, ET AL.

BOWEN, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08511          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOWEN, LISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           ONDERLAW, LLC

BOWEN, LISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           PORTER & MALOUF, PA

BOWEN, LISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           THE SMITH LAW FIRM, PLLC

BOWEN, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16465          NACHAWATI LAW GROUP

BOWENS, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12142          MORELLI LAW FIRM, PLLC

BOWENS, KHADIJA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17484          ONDERLAW, LLC

BOWENS, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02733          BART DURHAM INJURY LAW

BOWENS, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02733          FRAZER PLC

BOWENS, SHARRITTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06538          SALTZ MONGELUZZI & BENDESKY PC

BOWENS, TAMARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16473          NACHAWATI LAW GROUP

BOWER, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01068          ASHCRAFT & GEREL, LLP

BOWERMAN, BRITTANY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02094          ONDERLAW, LLC
                                 PA - COURT OF COMMON PLEAS - PHILADELPHIA
BOWERS, BERNARD                                                               210902481              WEITZ & LUXENBERG
                                 COUNTY
BOWERS, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07348          ONDERLAW, LLC

BOWERS, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14545          ANDRUS WAGSTAFF, P.C.

BOWERS, DAPHNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14797          LENZE LAWYERS, PLC

BOWERS, DAPHNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14797          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




                                                                            Page 122 of 1405
                               Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                               Appendix A (Part 1) Page 124 of 702

               Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

BOWERS, ELISA                      FL - CIRCUIT COURT - BROWARD COUNTY          CACE19026216           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOWERS, ELISA                      FL - CIRCUIT COURT - BROWARD COUNTY          CACE19026216           KELLEY UUSTAL, PLC

BOWERS, ELIZABETH                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001913-21        GOLOMB & HONIK, P.C.

BOWERS, ELIZABETH                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

BOWERS, ELIZABETH                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

BOWERS, ELIZABETH                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

BOWERS, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16149          NACHAWATI LAW GROUP

BOWERS, MEREDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13359          NACHAWATI LAW GROUP

BOWERS, REBECCA                    VA - CIRCUIT COURT - CHESAPEAKE COUNTY       CL17003612-00          THE MILLER FIRM, LLC

BOWERS, VERA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14660          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOWERS, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14787          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOWIE, GWENDOLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21188          CELLINO & BARNES, P.C.

BOWIE, MARDELL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10046          NAPOLI SHKOLNIK, PLLC

BOWIE, ROSIE                       LA - DISTRICT COURT - ORLEANS PARISH         2018-295               MORELLI LAW FIRM, PLLC

BOWIE, ROSIE                       LA - DISTRICT COURT - ORLEANS PARISH         2018-295               THE DUGAN LAW FIRM, APLC

BOWKER, TANYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04742          DRISCOLL FIRM, P.C.

BOWLAND, AMBER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12009          BERNSTEIN LIEBHARD LLP

BOWLES, ALICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10842          ASHCRAFT & GEREL, LLP

BOWLES, KATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03310          WILLIAMS HART LAW FIRM

BOWLES, MYRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18595          ONDERLAW, LLC
                                   SC - COURT OF COMMON PLEAS - RICHLAND
BOWLIN, NORMA EST OF GARY MOSS                                                  2020-CP-4002692        KASSEL MCVEY
                                   COUNTY
                                   SC - COURT OF COMMON PLEAS - RICHLAND
BOWLIN, NORMAN D EST OF GARY JAY                                                2020-CP-4002692        DEAN OMAR BRANHAM, LLP
                                   COUNTY
BOWLING, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07055          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOWLING, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18491          ONDERLAW, LLC

BOWLING, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05694          ONDERLAW, LLC

BOWLING, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11540          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BOWLING, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BOWLING, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15714          LENZE LAWYERS, PLC

BOWLING, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BOWLING, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16483          NACHAWATI LAW GROUP

BOWLING, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15714          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BOWLING, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




                                                                              Page 123 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 125 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BOWLING, OLEITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11082          SILL LAW GROUP, PLLC

BOWLSON, KENYATTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19479          ARNOLD & ITKIN LLP

BOWMAN, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17739          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

BOWMAN, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08705          ONDERLAW, LLC

BOWMAN, CANDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11140          FLETCHER V. TRAMMELL

BOWMAN, ETHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13613          THE MILLER FIRM, LLC

BOWMAN, IN-YOUNG                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21765          NACHAWATI LAW GROUP

BOWMAN, JAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09329          SANDERS VIENER GROSSMAN, LLP

BOWMAN, JANET                    CA - SUPERIOR COURT - SONOMA COUNTY          SCV259795              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BOWMAN, JOANN                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006358-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD

BOWMAN, KHADIJAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06260          THE MILLER FIRM, LLC

BOWMAN, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07950          ONDERLAW, LLC

BOWMAN, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13345          JOHNSON LAW GROUP

BOWMAN, MELANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04669          ONDERLAW, LLC

BOWMAN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05037          ONDERLAW, LLC

BOWMAN, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13212          REICH & BINSTOCK, LLP

BOWMAN, PENNY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003302-20        COHEN, PLACITELLA & ROTH

BOWMAN, PHYLLIS-JEANNE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11964          LAW OFFICES OF JAMES SCOTT FARRIN

BOWMAN, RHONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14068          HILLIARD MARTINEZ GONZALES, LLP

BOWMAN, TERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10482          ONDERLAW, LLC

BOWMAN, VIVIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05122          ONDERLAW, LLC

BOWNE, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10499          POTTS LAW FIRM

BOWNE, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01790          JOHNSON LAW GROUP

BOWSER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01209          ASHCRAFT & GEREL

BOWSER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01209          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOWYER, HELENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05902          ONDERLAW, LLC

BOWYER, LOUISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16119          JOHNSON LAW GROUP

BOXER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11098          ONDERLAW, LLC

BOYCE, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09037          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOYCE, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08613          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

BOYCE, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08259          ROSS LAW OFFICES, P.C.

BOYCE, LINDA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000449-21        ARNOLD & ITKIN LLP

BOYCE, LINDA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000449-21        COHEN, PLACITELLA & ROTH

BOYCE, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00047          ASHCRAFT & GEREL



                                                                            Page 124 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 126 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BOYD, ALISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10882          ASHCRAFT & GEREL, LLP

BOYD, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17488          ONDERLAW, LLC

BOYD, JENNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10881          ARNOLD & ITKIN LLP

BOYD, JENNIFER                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC663681               BECKER LAW GROUP

BOYD, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12944          HOLLAND LAW FIRM

BOYD, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05426          ONDERLAW, LLC

BOYD, KATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05173          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOYD, KRISTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16493          NACHAWATI LAW GROUP

BOYD, MARIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15141          DALIMONTE RUEB, LLP

BOYD, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12117          THE MILLER FIRM, LLC

BOYD, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09461          ONDERLAW, LLC

BOYD, PAULA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOYD, PAULA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

BOYD, PAULA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

BOYD, PAULA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

BOYD, PAULA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

BOYD, PAULINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03719          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BOYD, SHERRIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12897          DRISCOLL FIRM, P.C.

BOYD, STEPHANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06167          ONDERLAW, LLC

BOYD, SYRIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07307          JOHNSON LAW GROUP

BOYD, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08920          ONDERLAW, LLC

BOYD, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21- CV-08920         ONDERLAW, LLC

BOYD, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15836          THE MILLER FIRM, LLC

BOYD, YVONNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10468          ARNOLD & ITKIN LLP

BOYER, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02568          ONDERLAW, LLC

BOYER, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10067          ONDERLAW, LLC

BOYER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04087          JOHNSON LAW GROUP

BOYER, MELODYE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19537          ASHCRAFT & GEREL, LLP

BOYER, MELODYE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19537          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOYERS, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18908          MOTLEY RICE, LLC

BOYETTE, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21612          JOHNSON LAW GROUP

BOYHAN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21300          HOLLAND LAW FIRM

BOYKIN, JUNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14049          THE MILLER FIRM, LLC




                                                                            Page 125 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 127 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BOYKIN, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19270          NACHAWATI LAW GROUP

BOYKINS, EULANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19034          NACHAWATI LAW GROUP

BOYKINS, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08286          HAUSFELD

BOYKOV, YANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12054          NACHAWATI LAW GROUP

BOYLAN, DEE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19373          REICH & BINSTOCK, LLP

BOYLAN, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04461          ANDRUS WAGSTAFF, P.C.

BOYLE, ELIZABETH                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002917-20        ROSS FELLER CASEY, LLP

BOYLE, MISTI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12663          DRISCOLL FIRM, P.C.

BOYLE, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14704          KLINE & SPECTER, P.C.

BOYLE, YOLANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07323          HOLLAND LAW FIRM

BOYLE, YOLANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11065          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

BOYLES, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09724          ONDERLAW, LLC

BOYLES, MARLANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12154          DALIMONTE RUEB, LLP

BOYNER, LORAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12023          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

BOYNTON, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01632          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BOYUM, VAN-TURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16521          NACHAWATI LAW GROUP

BOZEMAN, EDDIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06996          THE SIMON LAW FIRM, PC

BOZEMAN, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15767          THE SEGAL LAW FIRM

BOZETT, SUZANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09669          GOLOMB & HONIK, P.C.

BOZIC, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07760          BURNS CHAREST LLP

BOZICEVIC, IRENE                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV331853             THE MILLER FIRM, LLC

BOZICH, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18163          JOHNSON LAW GROUP

BOZZO, MARY                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000974-21        KLINE & SPECTER, P.C.

BRAAK, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01483          JOHNSON LAW GROUP

BRACCO, ANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07782          THE DUGAN LAW FIRM, APLC

BRACE, LYNDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10704          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRACERO, MILAGROS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03633          MORGAN & MORGAN

BRACEY, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BRACEY, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BRACEY, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRACEY, SHANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07993          ONDERLAW, LLC

BRACKE, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09878          ONDERLAW, LLC

BRACKETT, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13605          MORRIS BART & ASSOCIATES




                                                                             Page 126 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 128 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BRACKIN, ANGELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03885          THE SEGAL LAW FIRM

BRACKINRIDGE, MARIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11227          ASHCRAFT & GEREL

BRACKINS, PAULA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00215          ASHCRAFT & GEREL

BRACKINS, PAULA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00215          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRADBURY, EVELYNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18469          JOHNSON LAW GROUP

BRADDOCK, ETHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07139          JOHNSON LAW GROUP

BRADEN, KATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04387          ONDERLAW, LLC

BRADEN, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02893          BART DURHAM INJURY LAW

BRADEN, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02893          FRAZER PLC

BRADEN, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05978          ONDERLAW, LLC

BRADEN, SUZANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09904          JOHNSON LAW GROUP

BRADEN-BERDEJA, GARI          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17479          ONDERLAW, LLC

BRADEN-GRADY, LISA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18264          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRADFORD, ASHLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09930          ONDERLAW, LLC

BRADFORD, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08666          ONDERLAW, LLC

BRADFORD, DIONNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06544          ONDERLAW, LLC

BRADFORD, JAMIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09880          ONDERLAW, LLC

BRADFORD, JANA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

BRADFORD, JANA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

BRADFORD, JANA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

BRADFORD, JANA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

BRADFORD, JYONE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18562          ONDERLAW, LLC

BRADFORD, KATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00267          WAGSTAFF & CARTMELL, LLP

BRADFORD, MAURIANNE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13199          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRADFORD, VERLEAN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17440          THE MILLER FIRM, LLC

BRADLEY, ALOMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16762          ONDERLAW, LLC

BRADLEY, AMANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08024          ONDERLAW, LLC

BRADLEY, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09321          POGUST BRASLOW & MILLROOD, LLC

BRADLEY, BIRDIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05878          ONDERLAW, LLC

BRADLEY, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14341          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRADLEY, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08889          ONDERLAW, LLC

BRADLEY, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10395          JOHNSON LAW GROUP

BRADLEY, CHARLENE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002086-20        GOLOMB & HONIK, P.C.

BRADLEY, DANITRIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06666          ONDERLAW, LLC



                                                                         Page 127 of 1405
                              Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                                Appendix A (Part 1) Page 129 of 702

              Claimant Name                            State Filed                       Docket Number                            Plaintiff Counsel

BRADLEY, DONA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08957          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BRADLEY, EARNESTINE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002249-20        GOLOMB & HONIK, P.C.

BRADLEY, GEORGIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10077          ONDERLAW, LLC

BRADLEY, JANE (JILL)                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21770          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

BRADLEY, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02711          ONDERLAW, LLC

BRADLEY, JOAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09549          BURNS CHAREST LLP

BRADLEY, KATHY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08513          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRADLEY, LOLA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10632          NACHAWATI LAW GROUP

BRADLEY, MARCIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01936          ONDERLAW, LLC

BRADLEY, MARCIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11081          SILL LAW GROUP, PLLC

BRADLEY, PENELOPE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17281          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRADLEY, RITA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14435          NAPOLI SHKOLNIK PLLC

BRADLEY, THERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04042          ONDERLAW, LLC

BRADLEY, VERNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02682          WILLIAMS HART LAW FIRM

BRADLEY, VICKY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18633          DRISCOLL FIRM, P.C.

BRADLEY, VICTORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20377          HOLLAND LAW FIRM

BRADLEY-COMBS, LULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10144          ARNOLD & ITKIN LLP

BRADLEY-TURNER, TERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19944          JOHNSON BECKER, PLLC

BRADSHAW, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13249          NACHAWATI LAW GROUP

BRADSHAW, SHAUNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16175          ONDERLAW, LLC

BRADSTROM, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00197          ASHCRAFT & GEREL

BRADSTROM, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00197          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRADT, JEAANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03218          ONDERLAW, LLC

BRADT, RACHEL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04309          ONDERLAW, LLC

BRADY, ANDREA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:21-CV-07409          ONDERLAW, LLC
                                      PA - COURT OF COMMON PLEAS - PHILADELPHIA
BRADY, EMILIA C. EST OF R & F MARSICO                                             1611-3253              WEITZ & LUXENBERG
                                      COUNTY
BRADY, JOANN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY    3:20-CV-20551          DRISCOLL FIRM, P.C.

BRADY, LISA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09352          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRADY, LISA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12572          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BRADY, MARTHA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10292          ASHCRAFT & GEREL

BRADY, MARTHA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10292          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRADY, NANCY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02977          JOHNSON LAW GROUP

BRADY, SHARON                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04570          DRISCOLL FIRM, P.C.




                                                                                Page 128 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 130 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BRADY, SHAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16525          NACHAWATI LAW GROUP

BRADY, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17711          THE MILLER FIRM, LLC

BRAEDEN, KATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10859          NACHAWATI LAW GROUP

BRAGER, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16528          NACHAWATI LAW GROUP

BRAGG, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03370          ONDERLAW, LLC

BRAGG, KAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11947          NACHAWATI LAW GROUP

BRAGG, MELODY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07272          ONDERLAW, LLC

BRAGG, SUSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12393          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BRAGG, VALERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17557          WEITZ & LUXENBERG

BRAHM, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11053          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

BRAINARD, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12034          ONDERLAW, LLC

BRAITHWAITE, CATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01280          ARNOLD & ITKIN LLP

BRAITHWAITE, ELIZABETH           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2282-17          GOLOMB SPIRT GRUNFELD PC

BRAITHWAITE, ELIZABETH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00799          ONDERLAW, LLC

BRAKE, DEBORAH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           ONDERLAW, LLC

BRAKE, DEBORAH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           PORTER & MALOUF, PA

BRAKE, DEBORAH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           THE SMITH LAW FIRM, PLLC

BRAL, MOJGAN                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC678850               THE LAW FIRM OF JOSEPH H. LOW IV

BRAMAN, BILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08356          ONDERLAW, LLC

BRAMAN, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07661          ROSS FELLER CASEY, LLP

BRAMANTI, CHELSEA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09160          KLINE & SPECTER, P.C.

BRAMMER, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00017          HARRISON DAVIS STEAKLEY MORRISON

BRANCH, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20554          HOLLAND LAW FIRM

BRANCH, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07660          THE MILLER FIRM, LLC

BRANCH, CASSONDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14371          FLETCHER V. TRAMMELL

BRANCH, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01489          HILLIARD MARTINEZ GONZALES, LLP

BRANCH, GLENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08133          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRANCH, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01532          ONDERLAW, LLC

BRANCH, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BRANCH, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14934          LENZE LAWYERS, PLC

BRANCH, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BRANCH, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14934          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRANCH, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




                                                                            Page 129 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 131 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BRANCH, KELSEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05428          DRISCOLL FIRM, P.C.

BRANCH, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13247          LAW OFFICES DENNIS F. OBRIEN, P.A.

BRAND, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06066          ONDERLAW, LLC

BRAND, ELDA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002162-20        GOLOMB & HONIK, P.C.

BRAND, STACEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12445          ARNOLD & ITKIN LLP

BRANDAU, ALEXIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01556          ONDERLAW, LLC

BRANDENBURG, MARTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05213          ONDERLAW, LLC

BRANDEWIE, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06583          ONDERLAW, LLC

BRANDI, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05928          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRANDNER, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00809          CELLINO & BARNES, P.C.

BRANDON, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11078          THE SEGAL LAW FIRM

BRANDON, RACHEL STEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12157          FRAZER LAW LLC

BRANDON, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09805          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRANDON, SHANNON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16423          ARNOLD & ITKIN LLP

BRANDON-WATTERS, CANDICE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14556          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BRANDSEMA, ALICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00393          WAGSTAFF & CARTMELL, LLP

BRANDT-NAAB, DORREEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16456          JOHNSON LAW GROUP

BRANDY VARGA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003337-21        WEITZ & LUXENBERG

BRANHAM, ANDREA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20091          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BRANHAM, SHARI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08331          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRANION, STEPHANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14255          ASHCRAFT & GEREL, LLP

BRANION, STEPHANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14255          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRANNAN, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16149          ASHCRAFT & GEREL, LLP

BRANNAN, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16149          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRANNAN, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07655          ONDERLAW, LLC

BRANNON, ALICE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRANNON, ALICE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

BRANNON, ALICE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

BRANNON, ALICE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

BRANNON, ALICE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

BRANNON, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14845          LENZE LAWYERS, PLC

BRANNON, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14845          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRANNON, PATRICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03950          ONDERLAW, LLC

BRANNON, VERONICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17188          JOHNSON LAW GROUP



                                                                            Page 130 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 132 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BRANOWICKI, PATRICIA           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L002494-20         GOLOMB & HONIK, P.C.

BRANSDORFER, PEGGY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08169          ONDERLAW, LLC

BRANSON, MARIANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14635          ONDERLAW, LLC

BRANSON, OSCEOLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13935          ASHCRAFT & GEREL

BRANSON, OSCEOLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13935          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRANT, SOMMER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17970          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BRANT, TAMMRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08156          ONDERLAW, LLC

BRANTLEY, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09776          ONDERLAW, LLC

BRANTLEY, EUGENIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11943          THE MILLER FIRM, LLC

BRANTLEY, JOHNEAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08165          ONDERLAW, LLC

BRANTLEY, LASHAUN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00971          THE MILLER FIRM, LLC

BRANTLEY, LORETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19912          ARNOLD & ITKIN LLP

BRANTLEY, MARY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001315-21        GOLOMB & HONIK, P.C.

BRAQUET, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12830          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRASE, JOHANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10778          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRASELL, LILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08964          MOTLEY RICE, LLC

BRASFIELD, LELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14449          HENINGER GARRISON DAVIS, LLC

BRASHER, BELISH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10409          ONDERLAW, LLC

BRASHER, COROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11021          WILLIAMS HART LAW FIRM

BRASHER, LOIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15712          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRASIER, LISA                  ONTARIO (TORONTO)                            CV-22-00679765-0000    PRESZLER INJURY LAWYERS

BRASKA, ELINOR                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18735          MCSWEENEY/LANGEVIN, LLC

BRASKETT, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17772          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BRASSELL, KIMBERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13424          ONDERLAW, LLC

BRASSFIELD, DEBORAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11414          NACHAWATI LAW GROUP

BRASWELL, GWENDOLYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08906          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRATINA, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08468          ONDERLAW, LLC

BRATTON, AYESHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18797          FLETCHER V. TRAMMELL

BRATTON, LANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05374          GORI JULIAN & ASSOCIATES, P.C.

BRAUDY, LILLIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07122          ONDERLAW, LLC

BRAUN, BERNICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10235          FLETCHER V. TRAMMELL

BRAUN, MARION                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06616          ONDERLAW, LLC

BRAUN, NANCI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07312          ONDERLAW, LLC

BRAUTIGAM, ZOFIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11003          NACHAWATI LAW GROUP



                                                                          Page 131 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                            Appendix A (Part 1) Page 133 of 702

              Claimant Name                        State Filed                       Docket Number                               Plaintiff Counsel

BRAVERMAN, GALE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08908          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRAVO, CHRISTIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00932          GORI JULIAN & ASSOCIATES, P.C.

BRAWAND, MARSHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08910          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRAXTON, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10790          NACHAWATI LAW GROUP

BRAXTON, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14837          LENZE LAWYERS, PLC

BRAY, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12332          GORI JULIAN & ASSOCIATES, P.C.

BRAY, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04839          GOLDENBERGLAW, PLLC

BRAY, DYNISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16542          NACHAWATI LAW GROUP

BRAY, FLOSSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01853          ONDERLAW, LLC

BRAY, KAY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03813          ONDERLAW, LLC

BRAY, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09834          ARNOLD & ITKIN LLP

BRAYALL, ELISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10871          WOCL LEYDON LLC

BRAYBOY, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02520          ONDERLAW, LLC

BRAYTON, HEATHER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14887          LENZE LAWYERS, PLC

BRAYTON, HEATHER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14887          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRAZEALE, JACKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BRAZEALE, JACKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15254          LENZE LAWYERS, PLC

BRAZEALE, JACKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BRAZEALE, JACKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15254          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRAZEALE, JACKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRAZELL, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00413          NAPOLI SHKOLNIK, PLLC

BRAZELL, MICHIKO                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05843          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRAZELL, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11741          NACHAWATI LAW GROUP

BRAZELLE, RILLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08206          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRAZEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09580          ONDERLAW, LLC

BRAZIL, KATHRYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10473          NACHAWATI LAW GROUP

BRAZIL, LOUISEANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16459          JOHNSON LAW GROUP

BRAZZEL, CHARITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02192          JOHNSON BECKER, PLLC

BRAZZLE, BRIDAY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002505-21        WEITZ & LUXENBERG

BRAZZLE, STEPHANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11215          SIMMONS HANLY CONROY

BREAUX, BETTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13461          THE SEGAL LAW FIRM

BREAUX, DORIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08656          FLEMING, NOLEN & JEZ, LLP

BREAUX, VALARIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002419-20        GOLOMB & HONIK, P.C.

BREAZEALE, NICOLETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17463          WEITZ & LUXENBERG



                                                                            Page 132 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 134 of 702

            Claimant Name                          State Filed                       Docket Number                             Plaintiff Counsel

BRECHT, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16549          NACHAWATI LAW GROUP

BRECKENRIDGE, IDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12825          THE MILLER FIRM, LLC

BRECKENRIDGE, PHYLLIS            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06652          FLETCHER V. TRAMMELL

BREDEMEIER, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14768          LENZE LAWYERS, PLC

BREDEMEIER, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14768          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BREDEMEIER, DIXIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12805          MORELLI LAW FIRM, PLLC

BREDEWEG-DEJAGER, SIMIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07620          JOHNSON LAW GROUP

BREDFORD-JARAMILLO, DEBORAH      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18817          NACHAWATI LAW GROUP

BREED, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08803          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BREEDEN, CORRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12779          ASHCRAFT & GEREL

BREEDEN, LAURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11375          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BREEDING, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12343          ASHCRAFT & GEREL

BREEDING, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12343          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BREEDLOVE, KATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12811          THE MILLER FIRM, LLC

BREEN, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00401          ASHCRAFT & GEREL

BREEN, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00401          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BREESE, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20678          GORI JULIAN & ASSOCIATES, P.C.

BREGEL, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14801          ARNOLD & ITKIN LLP

BREGMAN, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07064          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BREIER, LYNNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01232          GORI JULIAN & ASSOCIATES, P.C.

BREITHAUPT, ERMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01181          GORI JULIAN & ASSOCIATES, P.C.

BREITNER, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02249          ONDERLAW, LLC

BREMSETH, CORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16840          JOHNSON LAW GROUP

BRENDA AHRENS                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

BRENDA ARMSTEAD                  FEDERAL - MDL                                3:21-CV-19151          BARON & BUDD, P.C.

BRENDA BOWMAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17739          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BRENDA COCKERHAM                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

BRENDA CROM                      FEDERAL - MDL                                3:21-CV-19456          ONDERLAW, LLC

BRENDA DEAN                      FEDERAL - MDL                                3:21-CV-18411          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

BRENDA GUGELMAN                  FEDERAL - MDL                                3:21-CV-16914          DAVIS, BETHUNE & JONES, L.L.C.

BRENDA HYMAN-BUCY                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

BRENDA MURRELL                   FEDERAL - MDL                                3:21-CV-18077          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

BRENDA SANCHEZ                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18539          ONDERLAW, LLC

BRENDA WINFREY                   FEDERAL - MDL                                3:21-CV-19690          ONDERLAW, LLC



                                                                            Page 133 of 1405
                           Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 135 of 702

           Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

BRENDA YOUNG                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17572          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BRENDEL, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09861          ONDERLAW, LLC

BRENDEN, MYRNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08963          ONDERLAW, LLC

BRENEMAN, ANGELIQUE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10649          NACHAWATI LAW GROUP

BRENHOLTZ, ROBIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16575          NACHAWATI LAW GROUP

BRENNA, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03317          WILLIAMS HART LAW FIRM

BRENNAN, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14290          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRENNAN, SUE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00621          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BRENNAN-JONES, CHERYL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15567          GIRARDI & KEESE

BRENNAN-MAGDALENSKI, ELIZABETH   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00730          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRESCIA, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06629          ARNOLD & ITKIN LLP

BRESHEARS, JOANNE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002163-20        GOLOMB & HONIK, P.C.

BRESLIN, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11345          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BRESSI, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06016          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRETCH, TRACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17979          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BRETSCH, PHYLLIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14353          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BREUNIG, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13519          MORELLI LAW FIRM, PLLC

BREUNNER, ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10370          NACHAWATI LAW GROUP

BREWER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16080          NACHAWATI LAW GROUP

BREWER, CANDACE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10160          GORI JULIAN & ASSOCIATES, P.C.

BREWER, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17992          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BREWER, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10043          ONDERLAW, LLC

BREWER, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14363          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BREWER, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10743          NACHAWATI LAW GROUP

BREWER, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16596          NACHAWATI LAW GROUP

BREWER, HAZEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14861          ASHCRAFT & GEREL

BREWER, KELLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16580          NACHAWATI LAW GROUP

BREWER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12468          CELLINO & BARNES, P.C.

BREWER, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03172          ONDERLAW, LLC

BREWER, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16056          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BREWER, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05240          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BREWER, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08672          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BREWER, YVONNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07380          ASHCRAFT & GEREL




                                                                            Page 134 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                          Appendix A (Part 1) Page 136 of 702

            Claimant Name                        State Filed                       Docket Number                               Plaintiff Counsel

BREWER-ELAM, BESSIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06797          THE SIMON LAW FIRM, PC

BREWINGTON, MARILYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16602          NACHAWATI LAW GROUP

BREWSTER, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19718          CELLINO & BARNES, P.C.

BREWSTER, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16614          NACHAWATI LAW GROUP

BREWSTER, TENITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01812          GORI JULIAN & ASSOCIATES, P.C.

BRIAN FEINSTEIN                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

BRICKER, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19424          NACHAWATI LAW GROUP

BRICKER, TERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03174          ONDERLAW, LLC

BRICKLEY, NICOLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02010          PARKER WAICHMAN, LLP

BRIDGE, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20068          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BRIDGEFORD, NANCY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15274          WATERS & KRAUS, LLP

BRIDGEMAN, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06109          ONDERLAW, LLC

BRIDGERS, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12269          ASHCRAFT & GEREL

BRIDGERS, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12269          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRIDGES, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRIDGES, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

BRIDGES, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

BRIDGES, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

BRIDGES, DEBBIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02615          DRISCOLL FIRM, P.C.

BRIDGES, DEBBIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03492          LINVILLE LAW GROUP

BRIDGES, DIANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05977          ONDERLAW, LLC

BRIDGES, FLETA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16669          NACHAWATI LAW GROUP

BRIDGES, JEANETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14514          ONDERLAW, LLC

BRIDGES, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05182          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRIDGES, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10745          BACHUS & SCHANKER LLC

BRIDGES, MARJORIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12541          FLEMING, NOLEN & JEZ, LLP

BRIDGES, MARYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17668          THE MILLER FIRM, LLC

BRIDGET BEAUDET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18397          JOHNSON LAW GROUP

BRIDGEWATER, MARILYN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00245          CELLINO & BARNES, P.C.

BRIEN, CLAIRE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1180-16          GOLOMB SPIRT GRUNFELD PC

BRIEN, CLAIRE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12755          THE MILLER FIRM, LLC

BRIEN, PAULINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07579          GORI JULIAN & ASSOCIATES, P.C.

BRIENO, MERLINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22051          DRISCOLL FIRM, P.C.

BRIENO, MERLINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05652          ONDERLAW, LLC



                                                                          Page 135 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 137 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BRIERY, GEORGIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12333          ASHCRAFT & GEREL

BRIERY, GEORGIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12333          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRIGGS, AMBER                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002520-20        GOLOMB & HONIK, P.C.

BRIGGS, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14373          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRIGGS, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13810          FLETCHER V. TRAMMELL

BRIGGS, IRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20884          NACHAWATI LAW GROUP

BRIGGS, MAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06937          ONDERLAW, LLC

BRIGGS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06329          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRIGGS, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19433          NACHAWATI LAW GROUP

BRIGGS-HARLOW, DARLENE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11404          DAVIS, BETHUNE & JONES, L.L.C.

BRIGHAM, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16671          NACHAWATI LAW GROUP

BRIGHAM, ROSALEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09721          HOLLAND LAW FIRM

BRIGHT, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07616          ONDERLAW, LLC

BRIGHT, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRIGHT, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

BRIGHT, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

BRIGHT, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

BRIGMAN, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08135          POULIN, WILLEY, ANASTOPOULO, LLC

BRIGMAN, TAMMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11228          SIMMONS HANLY CONROY

BRILEY, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06181          JOHNSON LAW GROUP

BRILL, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02151          ARNOLD & ITKIN LLP

BRILL, ROBYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15730          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRIMBERRY, KATHERINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRIMBERRY, KATHERINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

BRIMBERRY, KATHERINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

BRIMBERRY, KATHERINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

BRIMMER, SYLVIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05156          ONDERLAW, LLC

BRINDAR, LUDMILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11520          BURNS CHAREST LLP

BRINKER, REOLIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11959          ONDERLAW, LLC

BRINKLEY, FLORENCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18888          NACHAWATI LAW GROUP

BRINKLEY, JANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01463          FLETCHER V. TRAMMELL

BRINKLEY, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01004          MORRELL LAW FIRM, PLLC

BRINKLEY, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02047          KLINE & SPECTER, P.C.

BRINKLEY, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08350          FLETCHER V. TRAMMELL



                                                                             Page 136 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 138 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

BRINKLEY, PAULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19137          ONDERLAW, LLC

BRINKMAN, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02338          ONDERLAW, LLC

BRINKMAN, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15967          ARNOLD & ITKIN LLP

BRINKMAN, TRACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15626          DANIEL & ASSOCIATES, LLC

BRINLEE, MISTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10238          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
BRINNEMAN, TYLER & BRINNEMAN,
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03541-19AS       WEITZ & LUXENBERG
AUBREY
BRINSON, DEBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12803          MORELLI LAW FIRM, PLLC

BRIONES, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12072          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRIONES, TERESITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19728          NACHAWATI LAW GROUP

BRISBANE, ROBYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03745          ASHCRAFT & GEREL, LLP

BRISBANE, ROBYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03745          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRISCO, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03761          ONDERLAW, LLC

BRISCOE, AUDREY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10643          NACHAWATI LAW GROUP

BRISCOE, ETHELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16683          NACHAWATI LAW GROUP

BRISKIN, SUSAN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000430-21        GOLOMB & HONIK, P.C.

BRISON, DEANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11080          SILL LAW GROUP, PLLC

BRISSELL, DIXIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18229          DRISCOLL FIRM, P.C.

BRISSON, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03030          GOLDENBERGLAW, PLLC

BRISTO, CATHIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18868          NACHAWATI LAW GROUP

BRISTOW, FELECIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19079          CELLINO & BARNES, P.C.

BRISTOW, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10795          ONDERLAW, LLC

BRITT, BIRDIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03085          ONDERLAW, LLC

BRITT, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04743          LEVIN SIMES LLP

BRITT, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02312          THE FERRARO LAW FIRM, P.A.

BRITT, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05116          FLETCHER V. TRAMMELL

BRITT, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09513          ONDERLAW, LLC

BRITTAIN, BILLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11935          MORELLI LAW FIRM, PLLC

BRITTANY WALDREP                 FEDERAL - MDL                                3:21-CV-19139          MOTLEY RICE, LLC

BRITTEN, SHAMEKIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20130          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRITTEN, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BRITTEN, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BRITTEN, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRITTINGHAM, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13943          ASHCRAFT & GEREL




                                                                            Page 137 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 139 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

BRITTINGHAM, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13943          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRITTMAN, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11689          DANIEL & ASSOCIATES, LLC

BRITTNEY KAISER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17817          HENINGER GARRISON DAVIS, LLC

BRITTON, AMBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19493          ARNOLD & ITKIN LLP

BRITTON, BELINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06528          ONDERLAW, LLC

BRITTON, CHARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10248          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRITTON, FELISHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16119          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BRITTON, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14881          LENZE LAWYERS, PLC

BRITTON, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14881          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRITTON, JESSICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13540          DRISCOLL FIRM, P.C.

BRITTON, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08312          FLETCHER V. TRAMMELL

BRITTON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15146          ASHCRAFT & GEREL

BRITTON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15146          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRITTON, RUTH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15158          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BRITZKE, ANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11028          WILLIAMS HART LAW FIRM

BRIXIE, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14705          NAPOLI SHKOLNIK, PLLC

BRIZZOLARA, SONYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08776          JOHNSON LAW GROUP

BROADHEAD, DELORIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12191          ONDERLAW, LLC

BROADHEAD, RICILYN               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002706-21        WEITZ & LUXENBERG

BROADRICK, BAILEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05460          ARNOLD & ITKIN LLP

BROADWAY, TARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13966          JOHNSON LAW GROUP

BROADWELL, BONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18156          LENZE LAWYERS, PLC

BROCATO, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13276          JOHNSON LAW GROUP

BROCCOLI, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07674          SIMMONS HANLY CONROY

BROCHU, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12234          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROCK, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15856          NACHAWATI LAW GROUP

BROCK, BETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09356          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROCK, CANDACE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12394          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BROCK, CLARISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07620          DRISCOLL FIRM, P.C.

BROCK, DARLENE                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318627             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BROCK, LATISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17168          KIESEL LAW, LLP

BROCK, LATISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17168          LAW OFFICE OF HAYTHAM FARAJ

BROCK, LATISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17168          MARTINIAN & ASSOCIATES, INC.

BROCK, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16915          THE CUFFIE LAW FIRM



                                                                            Page 138 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 140 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BROCK, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20392          ONDERLAW, LLC

BROCK, PENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11334          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BROCK, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20187          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROCK, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08989          ONDERLAW, LLC

BROCK, TRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15307          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BROCK, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07863          THE SEGAL LAW FIRM

BROCK, YEDOBATY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11826          ONDERLAW, LLC

BROCKDORFF, LOUISE VON           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03312          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROCKELMEYER, CHRISTIANE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09347          HILLIARD MARTINEZ GONZALES, LLP

BROCKMAN, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11577          NACHAWATI LAW GROUP

BRODE, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03138          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRODER, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04156          ONDERLAW, LLC

BRODERICK, LANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08529          WILLIAMS HART LAW FIRM

BRODERICK, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16442          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRODERICK, SUSAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRODERICK, SUSAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

BRODERICK, SUSAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

BRODIE, CELINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03202          ONDERLAW, LLC

BRODNICK, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08681          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRODOWSKI, CHRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12215          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

BRODSKY, MAXINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15727          MOTLEY RICE, LLC

BROGAN, RACHEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17707          ONDERLAW, LLC

BROGAN, TERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08495          ONDERLAW, LLC

BROGDON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10443          THE DIETRICH LAW FIRM, PC

BROGNA, CARMEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09897          SANDERS VIENER GROSSMAN, LLP

BROLL, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16692          NACHAWATI LAW GROUP

BROMELL, VANESSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09663          ASHCRAFT & GEREL

BROMILEY, LAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00880          ONDERLAW, LLC

BROMLEY, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05809          GOZA & HONNOLD, LLC

BROMLEY, JAMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09193          DAVIS, BETHUNE & JONES, L.L.C.

BROMLEY, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13260          ARNOLD & ITKIN LLP

BRONIEC, DIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19016          JOHNSON LAW GROUP

BRONSON, JOCELINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 139 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 141 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BRONSON, JOCELINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

BRONSON, JOCELINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

BRONSON, JOCELINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

BRONZO, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09439          ONDERLAW, LLC

BROOKE, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07880          ONDERLAW, LLC

BROOKIN, ERICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16698          NACHAWATI LAW GROUP

BROOKINGS, CHERYL                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000432-19        THE MILLER FIRM, LLC

BROOKINS, BESSIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08012          ONDERLAW, LLC

BROOKINS, DEBBIE                 GA - SUPERIOR COURT OF SEMINOLE COUNTY       CV20-0080              BARNES LAW GROUP, LLC

BROOKINS, DEBBIE                 GA - SUPERIOR COURT OF SEMINOLE COUNTY       CV20-0080              CHEELEY LAW GROUP

BROOKINS, MATTIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00708          CELLINO & BARNES, P.C.

BROOKMAN, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02252          ONDERLAW, LLC

BROOKMAN, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00058          ASHCRAFT & GEREL

BROOKS, ADONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12919          DIAMOND LAW

BROOKS, ANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17429          NACHAWATI LAW GROUP

BROOKS, BEULAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19445          NACHAWATI LAW GROUP

BROOKS, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14962          ASHCRAFT & GEREL, LLP

BROOKS, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14962          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROOKS, CARRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10525          BARON & BUDD, P.C.

BROOKS, CHARLETA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00556          ONDERLAW, LLC

BROOKS, CHARLOTTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07168          ONDERLAW, LLC

BROOKS, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14792          LENZE LAWYERS, PLC

BROOKS, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14792          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BROOKS, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16825          THE MILLER FIRM, LLC

BROOKS, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06572          JOHNSON LAW GROUP

BROOKS, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08182          FLETCHER V. TRAMMELL

BROOKS, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02420          HOVDE, DASSOW, & DEETS, LLC

BROOKS, DENISE                   IL - CIRCUIT COURT - COOK COUNTY             2017L011567            MEYERS & FLOWERS, LLC

BROOKS, DENISE                   IL - CIRCUIT COURT - COOK COUNTY             2017L011567            THE MILLER FIRM, LLC

BROOKS, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02420          THE MILLER FIRM, LLC

BROOKS, DIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04341          ONDERLAW, LLC

BROOKS, DOROTHEA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16706          NACHAWATI LAW GROUP

BROOKS, EVE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14192          NAPOLI SHKOLNIK, PLLC

BROOKS, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08498          HARRISON DAVIS STEAKLEY MORRISON



                                                                            Page 140 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 142 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BROOKS, EVELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04773          ONDERLAW, LLC

BROOKS, FLORA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08375          THE MILLER FIRM, LLC

BROOKS, GAYLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14964          HILLIARD MARTINEZ GONZALES, LLP

BROOKS, HARRIET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16812          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BROOKS, HOLLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02201          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

BROOKS, HURRACANE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15317          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BROOKS, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16745          JOHNSON LAW GROUP

BROOKS, JEANETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01232          ONDERLAW, LLC

BROOKS, JOETTA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROOKS, JOETTA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

BROOKS, JOETTA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

BROOKS, JOETTA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

BROOKS, JOETTA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

BROOKS, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12758          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROOKS, KELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10952          ASHCRAFT & GEREL

BROOKS, KERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13008          FLETCHER V. TRAMMELL

BROOKS, KRISTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11694          THE MILLER FIRM, LLC

BROOKS, LATONYA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07135          MORRIS BART & ASSOCIATES

BROOKS, LATOYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17561          WEITZ & LUXENBERG

BROOKS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10911          ONDERLAW, LLC

BROOKS, LORENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12349          ONDERLAW, LLC

BROOKS, LORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09792          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BROOKS, MARCIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20999          CELLINO & BARNES, P.C.

BROOKS, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04963          ONDERLAW, LLC

BROOKS, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04362          ONDERLAW, LLC

BROOKS, MELBA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16712          NACHAWATI LAW GROUP

BROOKS, MELVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07055          ONDERLAW, LLC

BROOKS, MONICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10306          ONDERLAW, LLC

BROOKS, MYRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12860          KLINE & SPECTER, P.C.

BROOKS, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14393          JOHNSON LAW GROUP

BROOKS, NORMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08737          ONDERLAW, LLC

BROOKS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02021          ARNOLD & ITKIN LLP

BROOKS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02660          ONDERLAW, LLC

BROOKS, RAMONA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10348          LAW OFFICES OF THEIDA SALAZAR



                                                                         Page 141 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                          Appendix A (Part 1) Page 143 of 702

           Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

BROOKS, REGINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05559          NAPOLI SHKOLNIK, PLLC

BROOKS, SHADEZ                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04242          ONDERLAW, LLC

BROOKS, SONYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02081          LENZE KAMERRER MOSS, PLC

BROOKS, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17942          ASHCRAFT & GEREL

BROOKS, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17942          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROOKS, SYLVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01222          ASHCRAFT & GEREL

BROOKS, SYLVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01222          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROOKS, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19443          NACHAWATI LAW GROUP

BROOKS, VICKI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08685          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROOKS, VIRGINIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10880          JOHNSON LAW GROUP

BROOKS, WINIFRED              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00612          HEYGOOD, ORR & PEARSON

BROOKS-HILLIARD, KANDY        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11737          JOHNSON LAW GROUP

BROOKS-HILLIARD, KANDY        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11737          LEVIN SIMES LLP

BROOKSHIRE, BETTY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07556          ONDERLAW, LLC

BROOKSHIRE, TANYA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06711          LEVIN SIMES LLP

BROSNAN, JONELL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20277          ONDERLAW, LLC

BROSSARD, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11673          POTTS LAW FIRM

BROTHERS, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02689          ONDERLAW, LLC

BROTHERS, BONNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05242          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROTHERS, SHELLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09359          ONDERLAW, LLC

BROUCEK, KELLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00731          LEVIN SIMES LLP

BROUGHTON, ANITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09490          ONDERLAW, LLC

BROUGHTON, DEBORAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01121          DUGAN LAW FIRM, PLC

BROUGHTON, ERICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08117          GOZA & HONNOLD, LLC

BROUGHTON, JESSIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00865          BURNS CHAREST LLP

BROUGHTON, SHATEMA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10956          ASHCRAFT & GEREL

BROUGHTON, VANESSA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11788          NACHAWATI LAW GROUP

BROUSE, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19559          ONDERLAW, LLC

BROUSSARD, DEBORAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01069          ONDERLAW, LLC

BROUSSARD, DEBRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17161          ONDERLAW, LLC
                              LA - DISTRICT COURT - EAST BATON ROUGE
BROUSSARD, SHAVONTAIE                                                      C666539 26             POURCIAU LAW FIRM, LLC
                              PARISH
                              LA - DISTRICT COURT - EAST BATON ROUGE
BROUSSARD, SHAVONTAIE                                                      C666539 26             THE CHEEK LAW FIRM
                              PARISH
BROUSSARD, THERESA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20190          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROUWER, STEPHANIE            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                         Page 142 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 144 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BROUWER, STEPHANIE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

BROUWER, STEPHANIE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

BROUWER, STEPHANIE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

BROWDER, ALMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03102          MARTINIAN & ASSOCIATES, INC.

BROWDER, ALMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03102          THE LAW OFFICES OF HAYTHAM FARAJ

BROWER, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12713          ONDERLAW, LLC

BROWER, DIANE                   GA - STATE COURT OF FULTON COUNTY            16EV005534             ROBBINS ROSS ALLOY BELINFANTE

BROWN, ADA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12491          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BROWN, ADRIANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05207          ONDERLAW, LLC

BROWN, ALEXIS                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003316-21        WEITZ & LUXENBERG

BROWN, ALEXIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17320          WEITZ & LUXENBERG

BROWN, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03677          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17260          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16434          NACHAWATI LAW GROUP

BROWN, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20319          ONDERLAW, LLC

BROWN, ALISON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15145          ASHCRAFT & GEREL

BROWN, ALISON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15145          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, ALVESTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13884          DALIMONTE RUEB, LLP

BROWN, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15696          NACHAWATI LAW GROUP

BROWN, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05376          ONDERLAW, LLC

BROWN, AMECIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16678          NACHAWATI LAW GROUP

BROWN, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17577          THE WASHINGTON FIRM, PC

BROWN, ANDREA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17049          ONDERLAW, LLC

BROWN, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08515          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03254          ONDERLAW, LLC

BROWN, ANGELA LOUISE            BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230660         PRESZLER LAW FIRM LLP

BROWN, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13517          MORELLI LAW FIRM, PLLC

BROWN, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07013          ONDERLAW, LLC

BROWN, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18175          GORI JULIAN & ASSOCIATES, P.C.

BROWN, ANTONIO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07025          ONDERLAW, LLC

BROWN, ARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16645          CELLINO & BARNES, P.C.

BROWN, AVIES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16938          ONDERLAW, LLC

BROWN, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13603          MORRIS BART & ASSOCIATES




                                                                           Page 143 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 145 of 702

           Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

BROWN, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11259          NACHAWATI LAW GROUP

BROWN, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04954          ONDERLAW, LLC

BROWN, BEATRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13148          NACHAWATI LAW GROUP

BROWN, BECKY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14744          LENZE LAWYERS, PLC

BROWN, BECKY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14744          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BROWN, BERTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04340          LENZE KAMERRER MOSS, PLC

BROWN, BETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08664          BLIZZARD & NABERS, LLP

BROWN, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05120          BURNS CHAREST LLP

BROWN, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05120          BURNS CHAREST LLP

BROWN, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13374          NACHAWATI LAW GROUP

BROWN, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08766          NACHAWATI LAW GROUP

BROWN, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09907          ONDERLAW, LLC

BROWN, BILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03896          ONDERLAW, LLC

BROWN, BOBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16175          NACHAWATI LAW GROUP

BROWN, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09508          MICHAEL HINGLE & ASSOCIATES, LLC

BROWN, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04368          ONDERLAW, LLC
BROWN, CAMMIE EST OF CASSIE
                                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-0427              SWMW LAW, LLC
COLWELL
BROWN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12270          ASHCRAFT & GEREL

BROWN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12270          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03135          FLETCHER V. TRAMMELL

BROWN, CAROLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09383          ONDERLAW, LLC

BROWN, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05502          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, CAROLYN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003410-20        GOLOMB & HONIK, P.C.

BROWN, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05817          ONDERLAW, LLC

BROWN, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13464          WATERS & KRAUS, LLP

BROWN, CARRIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10736          GOLDENBERGLAW, PLLC

BROWN, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18921          NACHAWATI LAW GROUP

BROWN, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05562          NAPOLI SHKOLNIK, PLLC

BROWN, CELESTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16719          NACHAWATI LAW GROUP

BROWN, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11677          POTTS LAW FIRM

BROWN, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08042          ASHCRAFT & GEREL

BROWN, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17250          ASHCRAFT & GEREL, LLP

BROWN, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17250          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 144 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                         Appendix A (Part 1) Page 146 of 702

           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BROWN, CLAUDIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08775          LEVIN SIMES LLP

BROWN, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17575          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

BROWN, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11170          WILLIAMS HART LAW FIRM

BROWN, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14211          ONDERLAW, LLC

BROWN, CRYSTALYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03993          ONDERLAW, LLC

BROWN, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10830          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BROWN, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07823          THE MILLER FIRM, LLC

BROWN, DANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09994          LINVILLE LAW GROUP

BROWN, DAPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12632          DALIMONTE RUEB, LLP

BROWN, DAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19414          ASHCRAFT & GEREL, LLP

BROWN, DAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07788          ONDERLAW, LLC

BROWN, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18728          MOTLEY RICE, LLC

BROWN, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06529          MOTLEY RICE, LLC

BROWN, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13247          ONDERLAW, LLC

BROWN, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12631          ASHCRAFT & GEREL

BROWN, DENICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09791          ONDERLAW, LLC

BROWN, DENNELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18092          ARNOLD & ITKIN LLP

BROWN, DESIREE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10255          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18965          NACHAWATI LAW GROUP

BROWN, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01189          COHEN & MALAD, LLP

BROWN, DIANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16766          NACHAWATI LAW GROUP

BROWN, DIANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16779          NACHAWATI LAW GROUP

BROWN, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08790          BARON & BUDD, P.C.

BROWN, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15375          ONDERLAW, LLC

BROWN, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08699          WATERS & KRAUS, LLP

BROWN, EDNA                   IL - CIRCUIT COURT - COOK COUNTY             2018-L-10476           CLIFFORD LAW OFFICES, P.C.

BROWN, EDNA                   IL - CIRCUIT COURT - COOK COUNTY             2017-L-003010          MEYERS & FLOWERS, LLC

BROWN, EDNA                   IL - CIRCUIT COURT - COOK COUNTY             2018-L-10476           TAFT STETTINIUS & HOLLISTER LLP

BROWN, EDNA                   IL - CIRCUIT COURT - COOK COUNTY             2017-L-003010          THE MILLER FIRM, LLC

BROWN, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15222          CAMPBELL & ASSOCIATES

BROWN, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15222          FRAZER PLC

BROWN, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19715          ARNOLD & ITKIN LLP

BROWN, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09591          ASHCRAFT & GEREL

BROWN, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06071          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                         Page 145 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 147 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

BROWN, ELLEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12834          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, ELLEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10115          MORELLI LAW FIRM, PLLC

BROWN, ESTEFANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11555          THE CARLSON LAW FIRM

BROWN, ESTHER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12545          KLINE & SPECTER, P.C.

BROWN, EVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17827          NACHAWATI LAW GROUP

BROWN, FELICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06942          ONDERLAW, LLC

BROWN, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02244          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, GEORGIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09191          ONDERLAW, LLC

BROWN, GLENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09703          FLETCHER V. TRAMMELL

BROWN, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08414          ONDERLAW, LLC

BROWN, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16864          NACHAWATI LAW GROUP

BROWN, HELENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02145          MOTLEY RICE, LLC

BROWN, IRENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10263          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12100          DALIMONTE RUEB, LLP

BROWN, JACQUELYN                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC688134               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BROWN, JACQUELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16774          NACHAWATI LAW GROUP

BROWN, JACQUELYN                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC688134               ROSS FELLER CASEY, LLP

BROWN, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05957          ONDERLAW, LLC

BROWN, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11611          NACHAWATI LAW GROUP

BROWN, JANIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11623          THE MILLER FIRM, LLC

BROWN, JAYNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06293          ONDERLAW, LLC

BROWN, JEANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13183          BARRETT LAW GROUP

BROWN, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08372          FLETCHER V. TRAMMELL

BROWN, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09721          ONDERLAW, LLC

BROWN, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11697          ONDERLAW, LLC

BROWN, JESSICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09198          DAVIS, BETHUNE & JONES, L.L.C.

BROWN, JO                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19970          NACHAWATI LAW GROUP

BROWN, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18077          CELLINO & BARNES, P.C.

BROWN, JOANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09278          MURRAY LAW FIRM
BROWN, JOHN D. AND BROWN,
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03392-18AS       WEITZ & LUXENBERG
ELIZABETH
BROWN, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17150          BURNS CHAREST LLP

BROWN, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06739          ONDERLAW, LLC

BROWN, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15297          THORNTON LAW FIRM LLP




                                                                            Page 146 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 148 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

BROWN, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16837          MOTLEY RICE, LLC

BROWN, JULIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10845          NACHAWATI LAW GROUP

BROWN, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15814          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BROWN, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09297          BURNS CHAREST LLP

BROWN, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01277          JOHNSON LAW GROUP

BROWN, KARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16739          NACHAWATI LAW GROUP

BROWN, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19872          CELLINO & BARNES, P.C.

BROWN, KATIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16619          WEITZ & LUXENBERG

BROWN, KETSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10027          ONDERLAW, LLC

BROWN, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18362          THE SEGAL LAW FIRM

BROWN, KRISTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07153          ONDERLAW, LLC

BROWN, KRYSTAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16873          NACHAWATI LAW GROUP

BROWN, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02952          ONDERLAW, LLC

BROWN, LAURIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17132          NAPOLI SHKOLNIK, PLLC

BROWN, LEA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16754          NACHAWATI LAW GROUP

BROWN, LEANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01307          SIMMONS HANLY CONROY

BROWN, LILLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18002          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BROWN, LILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12773          THE DEATON LAW FIRM

BROWN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01802          ASHCRAFT & GEREL

BROWN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09032          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16844          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01802          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, LINDA                     CA - SUPERIOR COURT - KERN COUNTY            BCV-18-100706          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16789          NACHAWATI LAW GROUP

BROWN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10950          NACHAWATI LAW GROUP

BROWN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05015          ONDERLAW, LLC

BROWN, LINDA                     CA - SUPERIOR COURT - KERN COUNTY            BCV-18-100706          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BROWN, LINDA                     CA - SUPERIOR COURT - KERN COUNTY            BCV-18-100706          THE SMITH LAW FIRM, PLLC

BROWN, LIONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11934          FLETCHER V. TRAMMELL

BROWN, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01910          ARNOLD & ITKIN LLP

BROWN, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10046          ONDERLAW, LLC

BROWN, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11413          MCSWEENEY/LANGEVIN, LLC

BROWN, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17289          ONDERLAW, LLC




                                                                            Page 147 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                           Appendix A (Part 1) Page 149 of 702

             Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

BROWN, LUCINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11935          NACHAWATI LAW GROUP

BROWN, LYNETTE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-3015-18          PARKER WAICHMAN, LLP

BROWN, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17039          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                CA - SUPERIOR COURT - SAN BERNARDINO
BROWN, MARGARET                                                              CIVDS1820014           BISNAR AND CHASE
                                COUNTY
BROWN, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02608          THE BENTON LAW FIRM, PLLC

BROWN, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09471          THE MILLER FIRM, LLC

BROWN, MARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16129          ONDERLAW, LLC

BROWN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11910          ASHCRAFT & GEREL, LLP

BROWN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11910          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12893          BLIZZARD & NABERS, LLP

BROWN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03360          ONDERLAW, LLC

BROWN, MARYANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07914          ONDERLAW, LLC

BROWN, MELANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04872          THE WHITEHEAD LAW FIRM, LLC

BROWN, MICHELE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20043          NACHAWATI LAW GROUP

BROWN, MYRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03890          ONDERLAW, LLC

BROWN, NATALIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17262          ONDERLAW, LLC

BROWN, NEACOLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09968          GORI JULIAN & ASSOCIATES, P.C.

BROWN, NELL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09214          THE DUGAN LAW FIRM, APLC

BROWN, NELLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05160          ONDERLAW, LLC

BROWN, ONA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11262          ARNOLD & ITKIN LLP

BROWN, OZZIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17183          THE CUFFIE LAW FIRM

BROWN, PATRICIA                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17315          ONDERLAW, LLC

BROWN, PATRICIA                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC

BROWN, PATRICIA                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

BROWN, PATRICIA                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

BROWN, PATSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03573          ONDERLAW, LLC

BROWN, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07418          NAPOLI SHKOLNIK, PLLC

BROWN, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07418          NAPOLI SHKOLNIK, PLLC

BROWN, RACHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08675          ONDERLAW, LLC

BROWN, REAGANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12779          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, RENEE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19149          BARON & BUDD, P.C.

BROWN, RENESSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10268          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                           Page 148 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 150 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BROWN, ROBERT                 NY - SUPREME COURT - NYCAL                   190375/2017            MEIROWITZ & WASSERBERG, LLP

BROWN, ROBERT                 NY - SUPREME COURT - NYCAL                   190375/2017            MEIROWITZ & WASSERBERG, LLP

BROWN, ROBERTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07618          ONDERLAW, LLC

BROWN, ROSALIND               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13255          ONDERLAW, LLC

BROWN, ROSE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16155          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BROWN, ROSE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09992          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, ROSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07596          ONDERLAW, LLC

BROWN, ROXANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14138          WAGSTAFF & CARTMELL, LLP

BROWN, RUTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11954          NACHAWATI LAW GROUP

BROWN, SALLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17089          JOHNSON LAW GROUP

BROWN, SALLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05573          JOHNSON LAW GROUP

BROWN, SALLY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

BROWN, SALLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07980          ONDERLAW, LLC

BROWN, SALLY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

BROWN, SALLY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

BROWN, SARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11436          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BROWN, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13531          DRISCOLL FIRM, P.C.

BROWN, SARINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18044          ONDERLAW, LLC

BROWN, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14788          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14763          NAPOLI SHKOLNIK, PLLC

BROWN, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09325          ONDERLAW, LLC

BROWN, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11231          SIMMONS HANLY CONROY

BROWN, SHELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06139          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, SHELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06139          ONDERLAW, LLC

BROWN, SHELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06139          THE SMITH LAW FIRM, PLLC

BROWN, SHERI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03491          ONDERLAW, LLC

BROWN, SHIELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12630          THE MILLER FIRM, LLC

BROWN, SHIRLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17022          THE SEGAL LAW FIRM

BROWN, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05894          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, STACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10902          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

BROWN, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13829          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03671          BLIZZARD & NABERS, LLP

BROWN, SUSAN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002244-20        GOLOMB & HONIK, P.C.

BROWN, TERESA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                         Page 149 of 1405
                            Case 23-12825-MBK                  Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                               Appendix A (Part 1) Page 151 of 702

           Claimant Name                              State Filed                      Docket Number                              Plaintiff Counsel

BROWN, TERESA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2260-17          COHEN, PLACITELLA & ROTH

BROWN, TERESA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

BROWN, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00532          HEYGOOD, ORR & PEARSON

BROWN, TERESA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

BROWN, TERESA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

BROWN, TERESA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

BROWN, TERESA; SANTOS, CAROLANNE   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02404          GORI JULIAN & ASSOCIATES, P.C.

BROWN, TESHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13405          BERNSTEIN LIEBHARD LLP

BROWN, TONETTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11257          ASHCRAFT & GEREL

BROWN, TONYA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13408          ONDERLAW, LLC

BROWN, TRACY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00890          GORI JULIAN & ASSOCIATES, P.C.

BROWN, TYRRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16659          THE MILLER FIRM, LLC

BROWN, ULESSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05269          ONDERLAW, LLC

BROWN, VALERIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08590          ONDERLAW, LLC

BROWN, VALERIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09601          ONDERLAW, LLC

BROWN, VARONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14232          WATERS & KRAUS, LLP

BROWN, VIRGINIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12489          POTTS LAW FIRM

BROWN, WILMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06852          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWN, WYVONNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07124          ONDERLAW, LLC

BROWN, YOLANDA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002164-20        GOLOMB & HONIK, P.C.

BROWN, YVONNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11991          MORRIS BART & ASSOCIATES

BROWN, YVONNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19279          NACHAWATI LAW GROUP

BROWN-ALLEN, IDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16819          ONDERLAW, LLC

BROWN-DEVORCE, GLORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11597          NACHAWATI LAW GROUP

BROWNE, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19554          ASHCRAFT & GEREL, LLP

BROWNE, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19554          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWNE, CAMILLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05565          NAPOLI SHKOLNIK, PLLC

BROWNER, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03477          ONDERLAW, LLC

BROWN-HARRISON, RODELLA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00080          NASS CANCELLIERE BRENNER

BROWNING, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09012          THE ENTREKIN LAW FIRM

BROWNING, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09365          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWNING, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BROWNING, JOAN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002420-20        GOLOMB & HONIK, P.C.




                                                                              Page 150 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 152 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BROWNING, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14938          LENZE LAWYERS, PLC

BROWNING, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BROWNING, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14938          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BROWNING, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BROWNING, LYNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05463          ARNOLD & ITKIN LLP

BROWNING, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16574          DALIMONTE RUEB, LLP

BROWNING, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13218          REICH & BINSTOCK, LLP

BROWNING, TRACEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06568          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROWNLEE, JACQUELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10661          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

BROWN-WARREN, JUANITA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06347          ONDERLAW, LLC

BROWN-WILSON, GLORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09656          ONDERLAW, LLC

BROXSON, TERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04245          FLETCHER V. TRAMMELL

BROXTON, BILLIE                   MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BROXTON, BILLIE                   MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           PORTER & MALOUF, PA

BROXTON, BILLIE                   MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           THE SMITH LAW FIRM, PLLC

BROYLES, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06933          ONDERLAW, LLC

BRUBAKER, KARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07578          THE MILLER FIRM, LLC

BRUBAKER, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12876          THE MILLER FIRM, LLC

BRUBAKER, WENDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10978          NACHAWATI LAW GROUP

BRUCE, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09558          SALTZ MONGELUZZI & BENDESKY PC

BRUCE, DEVOTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04612          ONDERLAW, LLC

BRUCE, KAY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01367          BURNS CHAREST LLP

BRUCE, MINNIE                     GA - STATE COURT OF FULTON COUNTY            20EV003767             BARNES LAW GROUP, LLC

BRUCE, MINNIE                     GA - STATE COURT OF FULTON COUNTY            20EV003767             CHEELEY LAW GROUP

BRUCE, SUSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04373          SIMMONS HANLY CONROY

BRUCH, CONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16887          NACHAWATI LAW GROUP

BRUCKNER, FERN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21713          REICH & BINSTOCK, LLP

BRUCKNER, MELODY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12781          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRUECKER, ELLEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12756          THE MILLER FIRM, LLC

BRUEMMER, CATHERINE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRUEMMER, CATHERINE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

BRUEMMER, CATHERINE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

BRUEMMER, CATHERINE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

BRUEMMER, SHARRON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 151 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 153 of 702

               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

BRUENS, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRUESHABER, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08966          MOTLEY RICE, LLC

BRUGGEMAN, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03517          THE DIAZ LAW FIRM, PLLC

BRUGGER, ANNETTE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002087-20        GOLOMB & HONIK, P.C.

BRUGH, JEANNI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14369          NACHAWATI LAW GROUP

BRUHN, BROWNING                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BRUHN, BROWNING                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BRUHN, BROWNING                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRUHN, JEAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14922          LENZE LAWYERS, PLC

BRUHN, JEAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14922          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRUINSMA, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04319          ONDERLAW, LLC

BRUMFIELD, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00353          ASHCRAFT & GEREL

BRUMFIELD, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00353          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRUMFIELD, YAVONDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06673          ONDERLAW, LLC

BRUMLEVE, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04506          THE BENTON LAW FIRM, PLLC

BRUMLEY, JUNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18405          ONDERLAW, LLC

BRUMLEY, KATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04123          LEVIN SIMES LLP

BRUMMETT, KUEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06444          ONDERLAW, LLC

BRUMMETT, VANESSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04100          ONDERLAW, LLC

BRUMMOND, HOLLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08421          ONDERLAW, LLC

BRUNDIDGE, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07607          CELLINO & BARNES, P.C.

BRUNEAU, SIMONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17144          THE MILLER FIRM, LLC

BRUNELL, KEITHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08443          THE DUGAN LAW FIRM, APLC

BRUNELL, ROBERTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03114          ONDERLAW, LLC

BRUNELLE, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04993          ONDERLAW, LLC

BRUNER, JAMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05771          ONDERLAW, LLC

BRUNETTE, JANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01280          JOHNSON LAW GROUP

BRUNIER, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19404          CELLINO & BARNES, P.C.

BRUNK, BROOKE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07464          ARNOLD & ITKIN LLP

BRUNK, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00594          THE MILLER FIRM, LLC

BRUNK, VICTORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03681          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRUNNER, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16579          ONDERLAW, LLC

BRUNO, JOSEFINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16505          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRUNO, LILIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20393          ONDERLAW, LLC



                                                                             Page 152 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                         Appendix A (Part 1) Page 154 of 702

           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BRUNO, SHEILA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07061          FLETCHER V. TRAMMELL

BRUNO, TIARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01098          DRISCOLL FIRM, P.C.

BRUNO, VALERIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11478          HOLLAND LAW FIRM

BRUNSED, BIRGIT               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13544          FLETCHER V. TRAMMELL

BRUNSON, CLAUDINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09227          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRUNSON, LAKIEMA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02735          ONDERLAW, LLC

BRUNSON, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21887          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRUNSON, SHARON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11065          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRUNSON, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18415          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BRUNSON, TERRALYNN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11929          FLETCHER V. TRAMMELL

BRUNTON, MELVINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11571          NACHAWATI LAW GROUP

BRUNTY, SARAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15569          GIRARDI & KEESE

BRUSETH, MADGE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01854          JOHNSON LAW GROUP

BRUST, KATEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10738          THE LAW OFFICES OF SEAN M CLEARY

BRUTTON, MARGIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14738          MORRIS BART & ASSOCIATES

BRYAN CARPENTER               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

BRYAN, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05863          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRYAN, KAYLYN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002795-21        WEITZ & LUXENBERG

BRYAN, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00998          THE SEGAL LAW FIRM

BRYAN, SERITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16091          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BRYAN, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17659          ONDERLAW, LLC

BRYAN, TRACI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04274          ASHCRAFT & GEREL

BRYANT, AMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14222          BURNS CHAREST LLP

BRYANT, ARETHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

BRYANT, ARETHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

BRYANT, ARETHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRYANT, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10204          GORI JULIAN & ASSOCIATES, P.C.

BRYANT, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03841          ONDERLAW, LLC

BRYANT, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19448          NACHAWATI LAW GROUP

BRYANT, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03930          ONDERLAW, LLC

BRYANT, CASSANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14713          CAMPBELL & ASSOCIATES

BRYANT, CASSANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14713          FRAZER PLC

BRYANT, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11223          NACHAWATI LAW GROUP

BRYANT, COLLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15780          NACHAWATI LAW GROUP



                                                                         Page 153 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                             Appendix A (Part 1) Page 155 of 702

              Claimant Name                         State Filed                       Docket Number                               Plaintiff Counsel

BRYANT, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10694          NACHAWATI LAW GROUP

BRYANT, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08750          ONDERLAW, LLC

BRYANT, DAPHNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16902          NACHAWATI LAW GROUP

BRYANT, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRYANT, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          ONDERLAW, LLC

BRYANT, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          PORTER & MALOUF, PA

BRYANT, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          THE SMITH LAW FIRM, PLLC

BRYANT, DIXIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14593          CELLINO & BARNES, P.C.

BRYANT, FORMEIKA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04726          FLEMING, NOLEN & JEZ, LLP

BRYANT, IDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07605          ONDERLAW, LLC

BRYANT, IRENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02486          ONDERLAW, LLC

BRYANT, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08565          NACHAWATI LAW GROUP

BRYANT, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06034          ONDERLAW, LLC

BRYANT, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02352          JOHNSON LAW GROUP

BRYANT, KAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19290          NACHAWATI LAW GROUP

BRYANT, MARGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00842          ONDERLAW, LLC

BRYANT, MATTIA (MATTIE)           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03237          MOTLEY RICE, LLC

BRYANT, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12734          ASHCRAFT & GEREL

BRYANT, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10064          ONDERLAW, LLC

BRYANT, SHERRI                    MI - CIRCUIT COURT - WAYNE COUNTY            21-001960-NP           SERLING & ABRAMSON, P.C.

BRYANT, SHERRI AND BRYANT, MARK   MI - CIRCUIT COURT - WAYNE COUNTY            21-001960-NP           DEAN OMAR BRANHAM, LLP

BRYANT, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17305          ASHCRAFT & GEREL, LLP

BRYANT, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17305          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BRYANT, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BRYANT, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BRYANT, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BRYANT, SOLLIAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11366          ASHCRAFT & GEREL

BRYANT, VIACOUNTESS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17017          MORGAN & MORGAN

BRYANT, WENDY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-134-18           KEEFE BARTELS

BRYANT, WENDY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-134-18           LAW OFFICE OF GRANT D. AMEY, LLC

BRYANT-FRANCE, ROSE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00507          NAPOLI SHKOLNIK, PLLC

BRYANT-KIDWELL, RHONDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06361          ONDERLAW, LLC

BRYMER, DAWN (SPIRIT)             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04391          ONDERLAW, LLC




                                                                             Page 154 of 1405
                             Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 156 of 702

           Claimant Name                             State Filed                      Docket Number                              Plaintiff Counsel

BRYSON, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12546          FLETCHER V. TRAMMELL

BRYSON, ANN                       IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

BRYSON, LATONYA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002521-20        GOLOMB & HONIK, P.C.

BRYSON, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02468          JOHNSON LAW GROUP

BRZYCKI, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06090          THE ENTREKIN LAW FIRM
B-SZCZESNY, AMANDA; ORWOLL, F.;
                                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC634145               NAPOLI SHKOLNIK, PLLC
PONCE, A.
BUANNIC, LYNN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002447-18        FELDMAN & PINTO

BUBACZ, CARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14320          DUGAN LAW FIRM, PLC

BUBAK, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18824          NACHAWATI LAW GROUP

BUBOLTZ, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11234          SIMMONS HANLY CONROY

BUBRIG, REBA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11386          ALLAN BERGER AND ASSOCIATES

BUCARO, BARBARA                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01661-20AS       WEITZ & LUXENBERG

BUCCIERI, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10282          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUCHANAN, BAMBI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09723          ONDERLAW, LLC

BUCHANAN, BRITTANY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01914          ARNOLD & ITKIN LLP

BUCHANAN, CORNELL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06348          ONDERLAW, LLC

BUCHANAN, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09591          ONDERLAW, LLC

BUCHANAN, EVA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10919           ONDERLAW, LLC

BUCHANAN, EVON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07546          JOHNSON LAW GROUP

BUCHANAN, JEAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11133          ASHCRAFT & GEREL, LLP

BUCHANAN, KELLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18087          JOHNSON LAW GROUP

BUCHANAN, PANSY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02182          ONDERLAW, LLC

BUCHANAN, ROBBI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19815          CHAFFIN LUHANA LLP

BUCHECK, CURTIS                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

BUCHECK, CURTIS                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

BUCHECK, CURTIS                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

BUCHECK, CURTIS                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

BUCHITE, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08330          ONDERLAW, LLC

BUCHTA, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00915          GORI JULIAN & ASSOCIATES, P.C.

BUCIORELLI, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10888          ONDERLAW, LLC

BUCK, MARCIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2900-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUCK, MARCIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2900-15          PORTER & MALOUF, PA

BUCK, MARCIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2900-15          SEEGER WEISS LLP




                                                                             Page 155 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                          Appendix A (Part 1) Page 157 of 702

            Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

BUCK, MARCIA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2900-15          THE SMITH LAW FIRM, PLLC

BUCK, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12903          POGUST BRASLOW & MILLROOD, LLC

BUCK, TRACEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18198          JOHNSON LAW GROUP

BUCKHANON, ETHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18032          ASHCRAFT & GEREL

BUCKHANON, ETHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18032          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUCKHOLZ, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05537          BOHRER LAW FIRM, LLC

BUCKIE, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12718          MOTLEY RICE NEW JERSEY LLC

BUCKINGHAM, ALICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19035          NACHAWATI LAW GROUP

BUCKLER, CECILIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16943          NACHAWATI LAW GROUP

BUCKLES, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14603          ONDERLAW, LLC

BUCKLEY, ANNETTE               GA - STATE COURT OF WORTH COUNTY             ST19CV0056             BARNES LAW GROUP, LLC

BUCKLEY, ANNETTE               GA - STATE COURT OF WORTH COUNTY             ST19CV0056             CHEELEY LAW GROUP

BUCKLEY, BELINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15754          WATERS & KRAUS, LLP

BUCKLEY, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10295          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUCKLEY, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13626          THE MILLER FIRM, LLC

BUCKLEY, PENELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10082          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BUCKLEY, ROSEMARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02876          DEGARIS WRIGHT MCCALL

BUCKLEY, TARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19762          NACHAWATI LAW GROUP

BUCKLIN, KAYLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06414          THE MILLER FIRM, LLC

BUCKNER, KIM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08155          HOLLAND LAW FIRM

BUCKNER, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10462          ARNOLD & ITKIN LLP

BUCKNER, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02313          ONDERLAW, LLC

BUCKNER, STELLA JONES          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20048          DRISCOLL FIRM, P.C.

BUCKNER, STEPHANI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12272          ASHCRAFT & GEREL

BUCKNER, STEPHANI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12272          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUCKWALD, SONIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08258          ONDERLAW, LLC

BUCOLO, MICHELE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06598          SANDERS PHILLIPS GROSSMAN, LLC

BUCZEK, PATRICIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2239-17          GOLOMB SPIRT GRUNFELD PC

BUCZEK, ROYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUCZEK, ROYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          ONDERLAW, LLC

BUCZEK, ROYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          PORTER & MALOUF, PA

BUCZEK, ROYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          THE SMITH LAW FIRM, PLLC

BUDA, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10306          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUDZIUS, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14594          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



                                                                          Page 156 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 158 of 702

              Claimant Name                          State Filed                       Docket Number                             Plaintiff Counsel

BUEHLER, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12062          WILLIAMS DECLARK TUSCHMAN CO, LPA
BUEHLER,EVA L. ESTATE OF ROGER D
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002905-20        WEITZ & LUXENBERG
BUEHLER
BUEHLMAIER, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04279          ASHCRAFT & GEREL, LLP

BUELNA, MARTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04323          ONDERLAW, LLC

BUELOW, SHIRELY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BUELOW, SHIRELY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BUELOW, SHIRELY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BUENCAMINO, NELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01134          POTTS LAW FIRM

BUENO, IDALYS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06622          ONDERLAW, LLC

BUENO, JAYLEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03030          FLETCHER V. TRAMMELL

BUENO, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00688          GORI JULIAN & ASSOCIATES, P.C.

BUENROSTRO, GINA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001373-18        LEVY KONIGSBERG LLP

BUENTING, ASHLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01024          MOTLEY RICE NEW JERSEY LLC

BUFFALOE, ROCKY HENDRICKS          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05705          LAW OFFICES OF JAMES SCOTT FARRIN

BUFFAMONTI, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08394          CELLINO & BARNES, P.C.

BUFFINGTON, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19457          NACHAWATI LAW GROUP

BUFFORD, JOY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16953          NACHAWATI LAW GROUP

BUFORD, LOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20192          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUGG, TENESHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00183          ARNOLD & ITKIN LLP

BUGLIONE, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15524          JOHNSON LAW GROUP

BUHEIT, CHRISTINE D                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17419          THE FERRARO LAW FIRM, P.A.

BUHL, GARRETT                      NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01792-16AS       WILENTZ, GOLDMAN & SPITZER, P.A.

BUHL, PEGGY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16990          NACHAWATI LAW GROUP
BUHLIG, MARCELLA AND BUHLIG,
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-07265-19AS       WEITZ & LUXENBERG
WILLIAM
BUHR, TERESA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21896          NACHAWATI LAW GROUP

BUI, XUAN-MAI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12303          SULLO & SULLO, LLP

BUIE, DEBORAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12280          THE DIAZ LAW FIRM, PLLC

BUIE, KATIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BUIE, KATIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BUIE, KATIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BUJ, SILVIA                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001062-21        GOLOMB & HONIK, P.C.

BUJEIRO, ELISABEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01878          JOHNSON LAW GROUP

BUJERIO, ELISABEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16871          ONDERLAW, LLC




                                                                              Page 157 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                Desc
                                                            Appendix A (Part 1) Page 159 of 702

              Claimant Name                        State Filed                       Docket Number                                Plaintiff Counsel

BUJERIO, ELISABEL                FL - CIRCUIT COURT - MIAMI DADE COUNTY       13-2020CA026841-0000-01   ONDERLAW, LLC

BUJERIO, ELISABEL                FL - CIRCUIT COURT - MIAMI DADE COUNTY       13-2020CA026841-0000-01   OSBORNE & FRANCIS LAW FIRM PLLC

BUKATY, JULIANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17745             CELLINO & BARNES, P.C.

BUKOSKI, MUZEYYEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09705             FLETCHER V. TRAMMELL

BUKSAR, MARILYN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-594-18              MORELLI LAW FIRM, PLLC

BULGER, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12325             ONDERLAW, LLC

BULL, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16082             ASHCRAFT & GEREL, LLP

BULL, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16082             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BULL, TERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10964             THE SIMON LAW FIRM, PC

BULLARD, BRITTANY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09119             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BULLARD, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19347             ONDERLAW, LLC

BULLARD, JACKIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08411             ONDERLAW, LLC

BULLARD, KIM                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09001             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BULLARD, NATASHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04995             ONDERLAW, LLC

BULLINGTON, EDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13282             DALIMONTE RUEB, LLP

BULLOCK, ANNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05779             SIMMONS HANLY CONROY

BULLOCK, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16995             NACHAWATI LAW GROUP

BULLOCK, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09671             ONDERLAW, LLC

BULLOCK, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02335             DAVIS, BETHUNE & JONES, L.L.C.

BULLOCK, SABRINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17443             ONDERLAW, LLC

BUMGARDNER, CHARISE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08871             ONDERLAW, LLC

BUMGARNER, MARILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02455             ONDERLAW, LLC

BUMGARNER, RITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10395             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUMPHREY, CAROLYN                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002088-20           GOLOMB & HONIK, P.C.

BUMPHUS, TAMARSHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07705             ASHCRAFT & GEREL

BUMPHUS, TAMARSHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07705             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUMPUS, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03949             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUNCH, JACLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12330             ONDERLAW, LLC

BUNCH, KATIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21216             ONDERLAW, LLC

BUNCH, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10005             LAW OFFICES OF DONALD G. NORRIS

BUNCY, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00496             JOHNSON BECKER, PLLC

BUNDOCK, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08973             MURRAY LAW FIRM

BUNDORN CHOTIPRADIT              FEDERAL - MDL                                3:21-CV-19799             ONDERLAW, LLC

BUNDRIDGE, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02015             ONDERLAW, LLC



                                                                            Page 158 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 160 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BUNDY, VONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11397          NACHAWATI LAW GROUP

BUNGE, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16269          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUNGE, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20623          DALIMONTE RUEB, LLP

BUNIAK, VERA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06222          ONDERLAW, LLC

BUNK, TISHYLINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00500          JOHNSON BECKER, PLLC

BUNKER, KATI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03268          ONDERLAW, LLC

BUNKER, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18527          CHILDERS, SCHLUETER & SMITH, LLC

BUNKLEY, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03893          MARY ALEXANDER & ASSOCIATES, P.C.

BUNKLEY, ERWINNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04414          ONDERLAW, LLC

BUNN, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15372          MILLER DELLAFERA PLC

BUNNER, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10346          ONDERLAW, LLC

BUNOL, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17050          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUNT, IMO LOIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06329          ENVIRONMENTAL LITIGATION GROUP, PC

BUNT, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02355          ONDERLAW, LLC

BUNTEN, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13924          JOHNSON LAW GROUP

BUNTER, ERICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03318          WILLIAMS HART LAW FIRM

BUNTING, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02091          ONDERLAW, LLC

BUNTING, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07001          THE SIMON LAW FIRM, PC

BUNYARD, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00886          MORRIS BART & ASSOCIATES

BUONO, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17003          NACHAWATI LAW GROUP

BUONO, CORNELIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08363          ONDERLAW, LLC

BUPP, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06493          ONDERLAW, LLC

BURCH, DOROTHY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-00321521         WEITZ & LUXENBERG

BURCH, ELAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16474          NACHAWATI LAW GROUP

BURCH, JANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13316          WILLIAMS HART LAW FIRM

BURCH, JUDEITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03320          WILLIAMS HART LAW FIRM

BURCH, SHIRLEY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001812-18        GOLOMB SPIRT GRUNFELD PC

BURCH, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13360          FLETCHER V. TRAMMELL

BURCHAM, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10067          NACHAWATI LAW GROUP

BURCHETTE, DOLORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17863          ASHCRAFT & GEREL, LLP

BURCHETTE, DOLORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17863          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURCIAGA, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18013          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BURCIAR, ROSELYN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-146-18           ROSS FELLER CASEY, LLP

BURD, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03342          MORELLI LAW FIRM, PLLC



                                                                            Page 159 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 161 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BURD, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14021          DAVIS, BETHUNE & JONES, L.L.C.

BURDA, CYNTHIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002444-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

BURDEN, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03327          ONDERLAW, LLC

BURDEN-DAVIS, JOANNE          NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-26-18            KEEFE BARTELS

BURDEN-DAVIS, JOANNE          NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-26-18            LAW OFFICE OF GRANT D. AMEY, LLC

BURDICK, LANI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURDICK, LANI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394          ONDERLAW, LLC

BURDICK, LANI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394          PORTER & MALOUF, PA

BURDICK, LANI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394          THE SMITH LAW FIRM, PLLC

BURDINE, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04666          THE MILLER FIRM, LLC

BURDYCK, CHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09234          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURELL, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19307          NACHAWATI LAW GROUP

BURETT, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13796          FLETCHER V. TRAMMELL

BURFORD, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09329          ARNOLD & ITKIN LLP

BURGAN, YOLANDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURGAN, YOLANDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

BURGAN, YOLANDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

BURGAN, YOLANDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

BURGAN, YOLANDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

BURGART, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09097          SIMMONS HANLY CONROY

BURGE, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08967          MOTLEY RICE, LLC

BURGE, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20411          ASHCRAFT & GEREL, LLP

BURGER, BRITTANY              IL - CIRCUIT COURT - MADISON COUNTY          19-L-1059              SWMW LAW, LLC

BURGER, CHRISTIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08566          MARLIN & SALTZMAN LLP

BURGER, DARCY                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURGER, DARCY                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           PORTER & MALOUF, PA

BURGER, DARCY                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           THE SMITH LAW FIRM, PLLC

BURGER, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22185          DRISCOLL FIRM, P.C.

BURGER, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05185          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURGERT, JANINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08442          THE DUGAN LAW FIRM, APLC

BURGERT, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03584          ONDERLAW, LLC

BURGESS, AMANDALEE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00501          JOHNSON BECKER, PLLC

BURGESS, BEULAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16176          NACHAWATI LAW GROUP

BURGESS, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04722          JOHNSON LAW GROUP



                                                                         Page 160 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 162 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BURGESS, DIONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10845          ASHCRAFT & GEREL, LLP

BURGESS, FRANCES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01739          MOTLEY RICE, LLC

BURGESS, GAIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08855          ONDERLAW, LLC

BURGESS, JOYCE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002165-20        GOLOMB & HONIK, P.C.

BURGESS, KAY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13917          JOHNSON LAW GROUP

BURGESS, MELVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11614          KLEIN FRANK, P.C.

BURGESS, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01125          DUGAN LAW FIRM, PLC

BURGESS, NATALIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19667          JOHNSON BECKER, PLLC

BURGESS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09394          ONDERLAW, LLC

BURGESS, SHERRY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03247          ONDERLAW, LLC

BURGESS, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18592          THE SEGAL LAW FIRM

BURGESS, VICKI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01985          NACHAWATI LAW GROUP

BURGESS, YVONNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01139          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BURGETT, ELKE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08473          SANDERS VIENER GROSSMAN, LLP

BURGHER, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BURGHER, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15024          LENZE LAWYERS, PLC

BURGHER, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BURGHER, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15024          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BURGHER, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BURGIN, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12715          ONDERLAW, LLC

BURGIO, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15044          CELLINO & BARNES, P.C.

BURGO, CAROLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10100          ONDERLAW, LLC

BURGO, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17177          LINVILLE LAW GROUP

BURGOON, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12112          THE SEGAL LAW FIRM

BURGOS, ELIZABETH              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002952-15        SEEGER WEISS LLP

BURGOS, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05703          JOHNSON LAW GROUP

BURGS-JACKSON, LINDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13378          PARKER WAICHMAN, LLP

BURGSTALLER, KATHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05162          ONDERLAW, LLC

BURHAM, SHAUNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16616          NACHAWATI LAW GROUP

BURK, GERALDINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16166          JOHNSON LAW GROUP

BURK, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09569          ONDERLAW, LLC

BURKAT, MARGARET               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003399-21        MOTLEY RICE NEW JERSEY LLC

BURKE, ARLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09199          DIAMOND LAW

BURKE, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17836          JOHNSON LAW GROUP



                                                                          Page 161 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 163 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BURKE, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13186          JOHNSON LAW GROUP

BURKE, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08874          ONDERLAW, LLC

BURKE, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14725          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURKE, CONSTANCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18591          ONDERLAW, LLC

BURKE, CRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12629          MORGAN & MORGAN

BURKE, EDNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06076          ONDERLAW, LLC

BURKE, EILEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13549          LENZE LAWYERS, PLC

BURKE, KRISTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04182          ONDERLAW, LLC

BURKE, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12338          NAPOLI SHKOLNIK PLLC

BURKE, LORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04591          ANDRUS WAGSTAFF, P.C.

BURKE, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11573          NACHAWATI LAW GROUP

BURKE, OLGA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00054          BURNS CHAREST LLP

BURKE, ROSEMARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13674          ASHCRAFT & GEREL, LLP

BURKE, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12161          DRISCOLL FIRM, P.C.

BURKE, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09219          ONDERLAW, LLC

BURKE, SHEILA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001108-21        GOLOMB & HONIK, P.C.

BURKE, SHILOH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06295          ONDERLAW, LLC

BURKEEN, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05642          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

BURKES, ANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00698          THE MILLER FIRM, LLC

BURKETT, CAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10840          ASHCRAFT & GEREL

BURKETT, CRYSTAL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16495          NACHAWATI LAW GROUP

BURKETT, ELLEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05676          NAPOLI SHKOLNIK, PLLC

BURKEY, DARLINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08086          DUGAN LAW FIRM, PLC

BURKEY, SANDRA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002089-20        GOLOMB & HONIK, P.C.

BURKHALTER, KARLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18505          WEITZ & LUXENBERG

BURKHALTER, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01181          BURNS CHAREST LLP

BURKHALTER, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01181          BURNS CHAREST LLP

BURKHALTER, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03252          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURKHARDT, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15828          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BURKHART, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05971          ONDERLAW, LLC

BURKHART, NELL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18982          WEITZ & LUXENBERG

BURKHART, SYLVIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18038          DALIMONTE RUEB, LLP

BURKHOLDER, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13307          ASHCRAFT & GEREL

BURKHOLTZ, VIVIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14311          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 162 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 164 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BURKS, KIMBERLY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           ONDERLAW, LLC

BURKS, KIMBERLY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           PORTER & MALOUF, PA

BURKS, KIMBERLY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           THE SMITH LAW FIRM, PLLC

BURKS, LUCILLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17188          THE CUFFIE LAW FIRM

BURKS, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14385          FLETCHER V. TRAMMELL

BURKS, PATTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11312          PARKER WAICHMAN, LLP

BURKS, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08972          ONDERLAW, LLC

BURKS-SMITH, CLARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05145          ONDERLAW, LLC

BURL, DEONA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18961          NACHAWATI LAW GROUP

BURLEIGH, MARTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13335          NACHAWATI LAW GROUP

BURLEIGH, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07440          ASHCRAFT & GEREL

BURLEIGH, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07440          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURLESON, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06787          ONDERLAW, LLC

BURLESON, JUANITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13372          WAGSTAFF & CARTMELL, LLP

BURLEW, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04780          FLETCHER V. TRAMMELL

BURLEY, ERIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13952          CELLINO & BARNES, P.C.

BURLEY, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19634          ONDERLAW, LLC

BURLINGHAM, MARIAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12338          ONDERLAW, LLC

BURMASTER, TIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03310          ONDERLAW, LLC

BURMEISTER, JOLAINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05780          ONDERLAW, LLC

BURNAM, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14298          ASHCRAFT & GEREL, LLP

BURNAM, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14298          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURNELL, DAWNCINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08546          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURNETT, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03580          ONDERLAW, LLC

BURNETT, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07003          ONDERLAW, LLC

BURNETT, CORAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11921          MORRIS BART & ASSOCIATES

BURNETT, JERRYE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15376          ONDERLAW, LLC

BURNETT, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12194          ONDERLAW, LLC

BURNETT, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURNETT, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

BURNETT, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

BURNETT, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

BURNETT, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05651          ASHCRAFT & GEREL

BURNETT, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05651          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 163 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 165 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BURNETT, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01083          COHEN & MALAD, LLP

BURNETT, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16833          JOHNSON LAW GROUP

BURNETT, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01083          NIX PATTERSON & ROACH

BURNETT, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06744          THE SIMON LAW FIRM, PC

BURNETT, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05897          ONDERLAW, LLC

BURNETT, RAMONA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002421-20        GOLOMB & HONIK, P.C.

BURNETT, TYLER                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

BURNETTE, CHERYL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09521          GOLOMB SPIRT GRUNFELD PC

BURNETTE, KRISTY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07783          THE DIAZ LAW FIRM, PLLC

BURNETTE, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18413          NACHAWATI LAW GROUP

BURNETTE, LORI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09427          ONDERLAW, LLC

BURNETTE, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18784          FLETCHER V. TRAMMELL

BURNEY, ELVIRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08556          ONDERLAW, LLC

BURNEY, KATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20193          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURNEY, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15025          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURNEY, THOMASIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14890          MORELLI LAW FIRM, PLLC

BURNHAM, EARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14805          NAPOLI SHKOLNIK, PLLC

BURNHAM, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20395          ONDERLAW, LLC

BURNS, ANGIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01619          BEKMAN, MARDER, & ADKINS, LLC

BURNS, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14754          LENZE LAWYERS, PLC

BURNS, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14754          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BURNS, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06046          FLETCHER V. TRAMMELL

BURNS, DENISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12823          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURNS, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14855          LENZE LAWYERS, PLC

BURNS, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14855          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BURNS, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05738          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURNS, JOANEVA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09243          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURNS, JOANEVA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

BURNS, JOANEVA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

BURNS, JOANEVA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

BURNS, JOANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13559          ARNOLD & ITKIN LLP

BURNS, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06087          POGUST BRASLOW & MILLROOD, LLC

BURNS, KELLI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18520          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURNS, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11259          ASHCRAFT & GEREL



                                                                         Page 164 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 166 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BURNS, MELANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04393          ONDERLAW, LLC

BURNS, MELINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20194          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURNS, PAMELA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003315-20        GOLOMB & HONIK, P.C.

BURNS, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04571          CELLINO & BARNES, P.C.

BURNS, PATRICIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001377-20        COHEN, PLACITELLA & ROTH

BURNS, PATRICIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001377-20        FLETCHER V. TRAMMELL

BURNS, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13131          ONDERLAW, LLC

BURNS, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00305          THE BENTON LAW FIRM, PLLC

BURNS, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17929          JOHNSON LAW GROUP

BURNS, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BURNS, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BURNS, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BURNS, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11002          ONDERLAW, LLC

BURNS, SHELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

BURNS, SHELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15505          LENZE LAWYERS, PLC

BURNS, SHELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BURNS, SHELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15505          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BURNS, SHELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BURNS, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15148          ASHCRAFT & GEREL

BURNS, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15148          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURNS, TAMARA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2996-15          GOLOMB SPIRT GRUNFELD PC

BURNS, TRACI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06344          ENVIRONMENTAL LITIGATION GROUP, PC

BURNS-GARCIA, LILLIAN         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09481          ONDERLAW, LLC

BURO, LAURA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003209-19        GOLOMB SPIRT GRUNFELD PC

BURR, JACQUELYNN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09989          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

BURR, MONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17052          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURRELL, BEVERLY              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURRELL, BEVERLY              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

BURRELL, BEVERLY              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

BURRELL, BEVERLY              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

BURRELL, BEVERLY              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

BURRELL, JANEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09825          ONDERLAW, LLC

BURRELL, JUNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09596          ONDERLAW, LLC

BURRELL, MANUELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13642          THE DUGAN LAW FIRM



                                                                         Page 165 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                              Appendix A (Part 1) Page 167 of 702

               Claimant Name                         State Filed                      Docket Number                                Plaintiff Counsel

BURRELL, MELVA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14832            MCSWEENEY/LANGEVIN, LLC

BURRELL, TERRYLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07394            TORHOERMAN LAW LLC

BURRESS, ANNETTE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURRESS, ANNETTE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792            ONDERLAW, LLC

BURRESS, ANNETTE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792            PORTER & MALOUF, PA

BURRESS, ANNETTE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792            THE SMITH LAW FIRM, PLLC

BURRESS, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09242            ONDERLAW, LLC

BURRILL, FOOSSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10145            DAVIS, BETHUNE & JONES, L.L.C.

BURRIS, AMBER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11204            NAPOLI SHKOLNIK, PLLC

BURRIS, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13423            NACHAWATI LAW GROUP

BURRIS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21540            PARKER WAICHMAN, LLP

BURROUGHS, DARLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11059            DALIMONTE RUEB, LLP

BURROUGHS, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10129            ONDERLAW, LLC

BURROUGHS, JESSIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09642            ONDERLAW, LLC

BURROUGHS, MARY                   CA - SUPERIOR COURT - VENTURA COUNTY         56-2018-00521684-CU-PL-VTA LENZE KAMERRER MOSS, PLC

BURROUGHS, MELANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10047            ONDERLAW, LLC

BURROUGHS, REMONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08476            ANASTOPOULO LAW FIRM

BURROWBRIDGE, JOAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10102            ONDERLAW, LLC

BURROWS, BRANDY; JOFFROY, LISA    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC637233                 BISNAR AND CHASE

BURSE, LELIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03374            ONDERLAW, LLC

BURSINGER, JULIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12837            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURT, DOREEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16500            POTTS LAW FIRM

BURT, KEONYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16821            ONDERLAW, LLC

BURT, MARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02059            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURTON, ANDREA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00596            THE MILLER FIRM, LLC

BURTON, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19490            ASHCRAFT & GEREL, LLP

BURTON, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19490            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURTON, GLADYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02866            ONDERLAW, LLC

BURTON, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19874            ONDERLAW, LLC

BURTON, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04394            ONDERLAW, LLC

BURTON, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12260            NACHAWATI LAW GROUP

BURTON, MARECYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09244            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURTON, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02420            FLETCHER V. TRAMMELL




                                                                             Page 166 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 168 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BURTON, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07961          ONDERLAW, LLC

BURTON, PETRINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10901          NACHAWATI LAW GROUP

BURTON, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13574          NACHAWATI LAW GROUP

BURTON, ROBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11311          BARON & BUDD, P.C.

BURTON, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14375          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURTON, VERDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05231          CELLINO & BARNES, P.C.

BURTRAM, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16534          NACHAWATI LAW GROUP

BURTS, SIRENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01404          ONDERLAW, LLC

BURTTRAM, GINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08441          THE DUGAN LAW FIRM, APLC

BURUKHINA, NATALIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16601          NACHAWATI LAW GROUP

BURY, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17751          KARR TUTTLE CAMPBELL

BURYAN, YELENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13640          CORY, WATSON, CROWDER & DEGARIS P.C.

BURZENSKI, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05504          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BURZYCH, JILL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03278          NACHAWATI LAW GROUP

BUSACK, ALISON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17067          GORI JULIAN & ASSOCIATES, P.C.

BUSBEE, CLAUDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15272          DALIMONTE RUEB, LLP

BUSBIN, LYDIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18149          ASHCRAFT & GEREL, LLP

BUSBY, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11815          NACHAWATI LAW GROUP

BUSBY, CAROLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11015          ONDERLAW, LLC

BUSBY, GINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00245          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BUSBY, LATONIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11713          FLETCHER V. TRAMMELL

BUSBY, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09623          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUSBY, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20286          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUSCH, BARBARA                   IL - CIRCUIT COURT - COOK COUNTY             2018-L-1306            CLIFFORD LAW OFFICES, P.C.

BUSCH, BARBARA                   IL - CIRCUIT COURT - COOK COUNTY             2018-L-1306            TAFT STETTINIUS & HOLLISTER LLP

BUSCH, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06082          THE ENTREKIN LAW FIRM

BUSCH, GEORGANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17055          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUSCH, JOAN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002090-20        GOLOMB & HONIK, P.C.

BUSCH, MARTHA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-588-16           GOLOMB SPIRT GRUNFELD PC

BUSCH, NASTASSJA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13147          FLETCHER V. TRAMMELL

BUSCIACCO, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01177          GORI JULIAN & ASSOCIATES, P.C.

BUSH, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02293          ONDERLAW, LLC

BUSH, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08660          MORRIS BART & ASSOCIATES

BUSH, CHRISTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10971          NAPOLI SHKOLNIK, PLLC



                                                                            Page 167 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 169 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

BUSH, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07068          THE MILLER FIRM, LLC

BUSH, ESTHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17959          ASHCRAFT & GEREL

BUSH, ESTHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17959          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUSH, GEORGIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12838          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUSH, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18413          JOHNSON LAW GROUP

BUSH, KIM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08665          MORRIS BART & ASSOCIATES

BUSH, LAVONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01748          ONDERLAW, LLC

BUSH, LOLITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16545          NACHAWATI LAW GROUP

BUSH, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03407          PRIBANIC & PRIBANIC, LLC

BUSH, SUE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06077          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BUSH, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07547          ONDERLAW, LLC

BUSH, TRESHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20427          DRISCOLL FIRM, P.C.

BUSH, WILMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14266          DRISCOLL FIRM, P.C.

BUSHA, PATRICIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-349-18           POGUST BRASLOW & MILLROOD, LLC

BUSHAW, LINEECE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11802          BARRETT LAW GROUP

BUSHEY, ROCHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09359          WILLIAMS HART LAW FIRM

BUSHIKA, EVA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06234          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUSHMAN, CHARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09341          SANDERS VIENER GROSSMAN, LLP

BUSKIRK, TRACY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17644          MORELLI LAW FIRM, PLLC

BUSSEY, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22150          FLETCHER V. TRAMMELL

BUSSEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05347          HUTTON & HUTTON

BUSSIERE, SUZANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12409          ARNOLD & ITKIN LLP

BUSTAMANTE, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02051          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUSTER, EDWINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11180          NACHAWATI LAW GROUP

BUSTOS, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16704          NACHAWATI LAW GROUP

BUSTOS, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15524          GORI JULIAN & ASSOCIATES, P.C.

BUSTOS, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12429          HEYGOOD, ORR & PEARSON

BUTCHER, DARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01026          BARON & BUDD, P.C.

BUTCHER, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14435          ARNOLD & ITKIN LLP

BUTE, GENEVA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19770          ONDERLAW, LLC

BUTE, ROXANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20317          ONDERLAW, LLC

BUTLER, AMELIA                   MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUTLER, AMELIA                   MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           PORTER & MALOUF, PA

BUTLER, AMELIA                   MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           THE SMITH LAW FIRM, PLLC



                                                                            Page 168 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 170 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

BUTLER, CONSTANCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12144          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUTLER, COURTNEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08679          ONDERLAW, LLC

BUTLER, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14625          JOHNSON LAW GROUP

BUTLER, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12395          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

BUTLER, EMILY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05125          ONDERLAW, LLC

BUTLER, GLENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11134          ASHCRAFT & GEREL, LLP

BUTLER, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11746          THE MILLER FIRM, LLC

BUTLER, GRETA NICHOLS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06094          THE MILLER FIRM, LLC

BUTLER, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20396          ONDERLAW, LLC

BUTLER, JESSICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07767          BURNS CHAREST LLP

BUTLER, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06800          THE ENTREKIN LAW FIRM

BUTLER, JOE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001106-21        GOLOMB & HONIK, P.C.

BUTLER, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08531          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUTLER, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07297          ONDERLAW, LLC

BUTLER, KEMUEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07304          ONDERLAW, LLC

BUTLER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10319          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUTLER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10048          ONDERLAW, LLC

BUTLER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14504          POTTS LAW FIRM

BUTLER, LUCILLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00106          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

BUTLER, LUVENIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16535          NACHAWATI LAW GROUP

BUTLER, MARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16641          NACHAWATI LAW GROUP

BUTLER, MATTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03553          BURNS CHAREST LLP

BUTLER, NADJA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10293          ASHCRAFT & GEREL

BUTLER, NADJA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10293          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUTLER, REGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08547          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUTLER, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11930          MORELLI LAW FIRM, PLLC

BUTLER, SADE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13469          MORELLI LAW FIRM, PLLC

BUTLER, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12858          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUTLER, SHALAYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15715          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUTLER, SHAQUELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16628          NACHAWATI LAW GROUP

BUTLER, SHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11100          ONDERLAW, LLC

BUTLER, SIAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15766          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BUTLER, TEGRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11669          NACHAWATI LAW GROUP

BUTLER, TONYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13205          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC



                                                                             Page 169 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 171 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

BUTLER, VIVIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09326          ONDERLAW, LLC

BUTLER-HAGY, ANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13449          ONDERLAW, LLC

BUTLER-SISNROY, MARY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02325          JOHNSON LAW GROUP

BUTLER-WEST, VATTISEE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06470          BURNS CHAREST LLP

BUTT, DOLORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11648          DAVIS, BETHUNE & JONES, L.L.C.

BUTTE, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14153          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

BUTTERFIELD, ANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11981          THE MILLER FIRM, LLC

BUTTERFIELD, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12680          NAPOLI SHKOLNIK, PLLC

BUTTERFIELD, PAULA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003248-20        COHEN, PLACITELLA & ROTH

BUTTERFIELD, PAULA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003248-20        FLETCHER V. TRAMMELL

BUTTERWORTH, CINDY               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUTTERWORTH, CINDY               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

BUTTERWORTH, CINDY               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

BUTTERWORTH, CINDY               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

BUTTERWORTH, JACQUELIN           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-159-18           GOLOMB SPIRT GRUNFELD PC

BUTTERWORTH, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08188          ONDERLAW, LLC

BUTTITTA, PAULA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2716-17          GOLOMB SPIRT GRUNFELD PC

BUTTOR, SHEILA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003382-20        GOLOMB & HONIK, P.C.

BUTTOR, SHELIA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        L00049920              GOLOMB SPIRT GRUNFELD PC

BUTTS, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10324          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUTTS, PAMELA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2889-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUTTS, PAMELA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2889-15          PORTER & MALOUF, PA

BUTTS, PAMELA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2889-15          SEEGER WEISS LLP

BUTTS, PAMELA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2889-15          THE SMITH LAW FIRM, PLLC

BUTUCARU-COPACEL, MARIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19767          NACHAWATI LAW GROUP

BUTURLA, ROSE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01774          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUTZOW, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12913          BARRETT LAW GROUP

BUURSMA, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19489          ASHCRAFT & GEREL, LLP

BUURSMA, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19489          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BUVINGER, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15825          KILLIAN, DAVIS, RICHTER & MAYLE, PC

BUZA, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08969          MOTLEY RICE, LLC

BUZZANGA, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12000          ONDERLAW, LLC

BUZZARD, CHARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03056          WAGSTAFF & CARTMELL, LLP




                                                                            Page 170 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 172 of 702

              Claimant Name                          State Filed                       Docket Number                            Plaintiff Counsel

BUZZELLI, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18777          CELLINO & BARNES, P.C.

BUZZELLI, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15864          JOHNSON LAW GROUP

BYERLEY, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03866          JOHNSON LAW GROUP

BYERLEY, TRINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15140          TRAMMELL PC

BYERLY, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17588          ONDERLAW, LLC

BYERS, AMANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09129          CONSTANT LEGAL GROUP LLP

BYERS, BONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21976          CELLINO & BARNES, P.C.

BYERS, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07646          ONDERLAW, LLC

BYERS, VALENCIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06310          ONDERLAW, LLC

BYINGTON, ALMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15774          BART DURHAM INJURY LAW

BYINGTON, ALMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15774          FRAZER PLC

BYINGTON, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10990          ASHCRAFT & GEREL

BYLER, JENINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15684          SULLO & SULLO, LLP

BYNES, TERA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10328          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BYNUM, LANA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08143          FRAZER LAW LLC
BYNUM, PAULETTE B ESTATE OF PAUL
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-000442-21        WEITZ & LUXENBERG
MURRAY
BYNUM, ROYLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04346          ONDERLAW, LLC

BYNUM, TIFFANY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19386          NACHAWATI LAW GROUP

BYRD, DARLENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09513          MICHAEL HINGLE & ASSOCIATES, LLC

BYRD, DIANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12844          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

BYRD, DONNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08466          ONDERLAW, LLC

BYRD, EARNESTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18650          THE SEGAL LAW FIRM

BYRD, ERVINE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05198          ONDERLAW, LLC

BYRD, ESTELIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06267          ONDERLAW, LLC

BYRD, GLORIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17413          WEITZ & LUXENBERG

BYRD, JANEY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04606          FLETCHER V. TRAMMELL

BYRD, JOANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16532          NACHAWATI LAW GROUP

BYRD, KARLA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06548          ONDERLAW, LLC

BYRD, KATIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16644          NACHAWATI LAW GROUP

BYRD, KENYA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19045          NACHAWATI LAW GROUP

BYRD, LAURA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11938          POTTS LAW FIRM

BYRD, LORRANIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16553          NACHAWATI LAW GROUP

BYRD, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.




                                                                              Page 171 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 173 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

BYRD, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06420          DRISCOLL FIRM, P.C.

BYRD, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

BYRD, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

BYRD, ROSEMARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16633          NACHAWATI LAW GROUP

BYRD, TERRY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16604          NACHAWATI LAW GROUP

BYRDSONG, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00614          BURNS CHAREST LLP

BYRDSONG, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00614          BURNS CHAREST LLP

BYRNE, KIMBERLEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01710          JOHNSON LAW GROUP

BYRNES, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05380          ONDERLAW, LLC

BYRNES-LAVOIE, DIANE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05147          LAW OFF OF JEFFREY S GLASSMAN, LLC

BYROM, ANGELA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002422-20        GOLOMB & HONIK, P.C.

BZDAFKA, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14027          CELLINO & BARNES, P.C.

C. PENA, JORGE                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

C., K                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01043          NAPOLI SHKOLNIK, PLLC

CABA, JUANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20730          CELLINO & BARNES, P.C.

CABADING, CATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02666          MORELLI LAW FIRM, PLLC

CABAEL, LETICIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-555-16           SEEGER WEISS LLP

CABALEIRO, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16408          JOHNSON BECKER, PLLC

CABALLERO, LAURA                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC651995               PANISH, SHEA & BOYLE

CABALLERO, TAMI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CABALLERO, TAMI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

CABALLERO, TAMI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

CABALLERO, TAMI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

CABAN, ZAIDA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-001615-20          SZAFERMAN LAKIND BLUMSTEIN & BLADER

CABANA, ARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13226          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CABELL, CAROLYN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002423-20        GOLOMB & HONIK, P.C.

CABELLO, VANESSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17165          LIEFF CABRASER HEIMANN & BERNSTEIN

CABELLO, VANESSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17165          LIEFF CABRASER HEIMANN & BERNSTEIN

CABEZA, BEATRIZ                  IL - CIRCUIT COURT - COOK COUNTY             2018-L-1311            CLIFFORD LAW OFFICES, P.C.

CABRAL, JOAN                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CABRAL, MACHALIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05117          FLETCHER V. TRAMMELL

CABRAL, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19120          NACHAWATI LAW GROUP

CABRAL, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07619          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC




                                                                            Page 172 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 174 of 702

            Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

CABRERA, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07804          BISNAR AND CHASE

CABRERA, JOSEFA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15576          GIRARDI & KEESE

CABRERA, NORMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14347          ARNOLD & ITKIN LLP

CABRERA, RAMONA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07882          HOLLAND LAW FIRM

CABRERA, VIRGINIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00609          THE POTTS LAW FIRM, LLP

CACCIA, BERTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14373          FRAZER PLC

CACCIATORE, SUSAN              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000840-20        GOLOMB SPIRT GRUNFELD PC

CACIOPPE, SUSAN                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002072-20        GOLOMB & HONIK, P.C.

CADDICK, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05659          ASHCRAFT & GEREL

CADDICK, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05659          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CADE, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17094          JOHNSON LAW GROUP

CADENA, JANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18969          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CADIEUX, JOANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16526          NACHAWATI LAW GROUP

CADIS, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10411          NACHAWATI LAW GROUP

CADIZ, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10691          ONDERLAW, LLC

CADOR, MIGOLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19561          ONDERLAW, LLC

CADWELL, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15715          ARNOLD & ITKIN LLP

CAESAR, EURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19215          DRISCOLL FIRM, P.C.

CAFARO, LORETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11269          ASHCRAFT & GEREL

CAFFEE, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13506          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CAFFEE, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00182          JOHNSON LAW GROUP

CAFFEE, MARY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1870-16          DAMATO LAW FIRM, P.C.

CAFFERTY, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12274          ASHCRAFT & GEREL

CAFFERTY, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12274          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAFFERY, STAYSHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10883          ASHCRAFT & GEREL, LLP

CAGG, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01208          JOHNSON LAW GROUP

CAGGIANO, MARYANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16496          THE MILLER FIRM, LLC

CAGGIANO, VIRGINIA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002166-20        GOLOMB & HONIK, P.C.

CAGLE, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01136          NACHAWATI LAW GROUP

CAGLE, PATRICIA S.             NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-07561-19AS       WEITZ & LUXENBERG

CAGLE, THERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08464          SANDERS VIENER GROSSMAN, LLP

CAHALL, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19942          NACHAWATI LAW GROUP

CAHALL, MARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03606          ONDERLAW, LLC

CAHALL, MARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02687          WILLIAMS HART LAW FIRM



                                                                          Page 173 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 175 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CAHILL, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16638          ASHCRAFT & GEREL

CAHILL, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16638          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAHILL, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18678          NACHAWATI LAW GROUP

CAHILL, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12030          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAHN, LORNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07568          THE DUGAN LAW FIRM, APLC

CAHOON, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18990          MOTLEY RICE, LLC

CAIL, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12714          ONDERLAW, LLC

CAIMPON, CARMELITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07244          ONDERLAW, LLC

CAIN, ADINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21809          ONDERLAW, LLC

CAIN, ANITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08178          ONDERLAW, LLC

CAIN, CHARLES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08540          GORI JULIAN & ASSOCIATES, P.C.

CAIN, CHRISTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09283          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAIN, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05513          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAIN, DAWN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14801          LENZE LAWYERS, PLC

CAIN, DAWN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14801          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CAIN, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06006          KLINE & SPECTER, P.C.

CAIN, HELEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18936          NACHAWATI LAW GROUP

CAIN, JACQUELINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16888          ASHCRAFT & GEREL

CAIN, JACQUELINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16888          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAIN, JESSICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06382          ONDERLAW, LLC

CAIN, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20550          NACHAWATI LAW GROUP

CAIN, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11086          THE CARLSON LAW FIRM

CAIN, MARTHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08237          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAIN, MARY PRINCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21070          ASHCRAFT & GEREL

CAIN, MARY PRINCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21070          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAIN, MELBA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAIN, MELBA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

CAIN, MELBA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

CAIN, MELBA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

CAIN, MELBA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

CAIN, NIKKI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03670          SUGARMAN LAW, LLC

CAINE, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11729          POTTS LAW FIRM

CAINE, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09778          ONDERLAW, LLC

CAIRA, CONCETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19466          NACHAWATI LAW GROUP



                                                                             Page 174 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                         Appendix A (Part 1) Page 176 of 702

           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

CAIRATTI, ALFREDIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01320          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAIRNS, MELINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01978          MORGAN & MORGAN

CAIRNS, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07335          ONDERLAW, LLC

CAIRNS, ROSEMARIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07531          DALIMONTE RUEB, LLP

CAJIGAS, VIRGENMINA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08926          ONDERLAW, LLC

CALABRESE, KATHLEEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18605          JOHNSON LAW GROUP

CALAHAN, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17115          GORI JULIAN & ASSOCIATES, P.C.

CALANDRA, JOY                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CALANDRA, JOY                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC

CALANDRA, JOY                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

CALANDRA, JOY                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

CALASARA, ELMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16232          MOTLEY RICE, LLC

CALDABAUGH, TAMA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09290          ONDERLAW, LLC

CALDERON, ADELAIDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07834          HOLLAND LAW FIRM

CALDERON, CRESENCIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07021          THE ENTREKIN LAW FIRM

CALDERON, ELEANOR             CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327516             DANIEL & ASSOCIATES, LLC

CALDERON, ELEANOR             CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327516             KIESEL LAW, LLP

CALDERON, ELEANOR             CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327516             THE WHITEHEAD LAW FIRM, LLC

CALDERON, GENEVIEVE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18047          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CALDERON, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00745          JOHNSON LAW GROUP

CALDERWOOD, CYNTHIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18954          NACHAWATI LAW GROUP

CALDWELL, BARBARA             GA - STATE COURT OF TELFAIR COUNTY           19-CV-143              BARNES LAW GROUP, LLC

CALDWELL, BARBARA             GA - STATE COURT OF TELFAIR COUNTY           19-CV-143              CHEELEY LAW GROUP

CALDWELL, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12336          ONDERLAW, LLC

CALDWELL, CARRIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13418          NACHAWATI LAW GROUP

CALDWELL, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14023          ONDERLAW, LLC

CALDWELL, DOROTHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15926          CAMPBELL & ASSOCIATES

CALDWELL, DOROTHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15926          FRAZER PLC

CALDWELL, GERALDINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08783          ONDERLAW, LLC

CALDWELL, GERALDINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13148          THE BENTON LAW FIRM, PLLC

CALDWELL, IRENE MURRAY        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04760          NAPOLI SHKOLNIK PLLC

CALDWELL, JUDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16156          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC




                                                                         Page 175 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 177 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CALDWELL, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13903          NAPOLI SHKOLNIK, PLLC

CALDWELL, LE-TORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12098          NAPOLI SHKOLNIK, PLLC

CALDWELL, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18237          DRISCOLL FIRM, P.C.

CALDWELL, MARILYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CALDWELL, PEGGY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08552          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CALDWELL, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16809          MORELLI LAW FIRM, PLLC

CALDWELL, SHARONDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03931          ONDERLAW, LLC

CALDWELL, VICKY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17285          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CALDWELL-CLARKE, LESLIE          ONTARIO (TORONTO)                            CV-22-00677567-0000    PRESZLER INJURY LAWYERS

CALHOON, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10171          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CALHOON, SANDRA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

CALHOON, SANDRA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

CALHOON, SANDRA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

CALHOUN, BECKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CALHOUN, BECKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

CALHOUN, BECKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

CALHOUN, BECKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

CALHOUN, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14749          LENZE LAWYERS, PLC

CALHOUN, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14749          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CALHOUN, CAROL                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002091-20        GOLOMB & HONIK, P.C.

CALHOUN, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13455          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CALHOUN, MANDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08045          FLETCHER V. TRAMMELL

CALHOUN, PAM                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21084          MORELLI LAW FIRM, PLLC

CALHOUN, PATTI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16280          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CALHOUN, TRISH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01386          SULLO & SULLO, LLP
                                 LA - DISTRICT COURT - EAST BATON ROUGE
CALI, JULIE                                                                   C-705579 25            LANDRY & SWARR, L.L.C.
                                 PARISH
                                 LA - DISTRICT COURT - EAST BATON ROUGE
CALI, JULIE                                                                   C-705579 25            NACHAWATI LAW GROUP
                                 PARISH
CALICOTT, JULIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08439          FLETCHER V. TRAMMELL

CALIGIURI, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15521          ROSS FELLER CASEY, LLP

CALIGUIRE, ANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09355          ONDERLAW, LLC

CALIPSO, GWENDOLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10263          ONDERLAW, LLC

CALKIN, GINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01511          ONDERLAW, LLC

CALK-ROACH, ROSE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07526          ONDERLAW, LLC

CALL, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17886          TORHOERMAN LAW LLC



                                                                            Page 176 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 178 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CALL, STEPHANIE               CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC640571               THE MILLER FIRM, LLC

CALLAHAN, ELLEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10155          JOHNSON BECKER, PLLC

CALLAHAN, ELLEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16499          NACHAWATI LAW GROUP

CALLAHAN, JANET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:20-CV-12269              WILLIAMS HART LAW FIRM
                              PA - LACKAWANNA COUNTY COURT OF COMMON
CALLAHAN, JANICE                                                       2017-05897                 ROSS FELLER CASEY, LLP
                              PLEAS
CALLAHAN, JUDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:18-CV-09855              HEYGOOD, ORR & PEARSON

CALLAHAN, KADEE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16540          NACHAWATI LAW GROUP

CALLAHAN, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17804          ONDERLAW, LLC

CALLAHAN, MICHELLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05677          NAPOLI SHKOLNIK, PLLC

CALLAHAN, MOLLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13731          MARLIN & SALTZMAN LLP

CALLAHAN, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16637          NACHAWATI LAW GROUP

CALLAHAN, PHYLIS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11955          ASHCRAFT & GEREL, LLP

CALLAHAN, PHYLIS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11955          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CALLAHAN, SHELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

CALLAHAN, SHELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CALLAHAN, SHELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                              PA - PHILADELPHIA COUNTY COURT OF COMMON
CALLAHAN, THERESA                                                          180801273              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                              PLEAS
                              PA - PHILADELPHIA COUNTY COURT OF COMMON
CALLAHAN, THERESA                                                          180801273              EISENBERG, ROTHWEILER, WINKLER
                              PLEAS
CALLAHAN, TINA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2899-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CALLAHAN, TINA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2899-15          PORTER & MALOUF, PA

CALLAHAN, TINA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2899-15          SEEGER WEISS LLP

CALLAHAN, TINA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2899-15          THE SMITH LAW FIRM, PLLC

CALLAWAY, MONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15150          ASHCRAFT & GEREL

CALLAWAY, MONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15150          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CALLEGRI, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16498          NACHAWATI LAW GROUP

CALLEI, ADAMO                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08213          ARNOLD & ITKIN LLP

CALLIES, RAENELL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13012          SHAW COWART, LLP

CALLIHAN, AUTUMN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08662          ONDERLAW, LLC

CALLISON, MARIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CALLISON, MARIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

CALLISON, MARIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC




                                                                         Page 177 of 1405
                               Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                Appendix A (Part 1) Page 179 of 702

               Claimant Name                           State Filed                      Docket Number                              Plaintiff Counsel

CALLISON, MARIA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

CALLISON, MARIA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

CALLOWAY, AILEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16659          ARNOLD & ITKIN LLP

CALLOWAY, ALIEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02781          JOHNSON LAW GROUP

CALLOWAY, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14656          NACHAWATI LAW GROUP

CALLWOOD, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02537          ONDERLAW, LLC

CALONI, JEANNINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12714          ONDERLAW, LLC

CALTON, LAKIESHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10745          GOLDENBERGLAW, PLLC

CALVA, DOROTHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12166          DALIMONTE RUEB, LLP

CALVERT, BENNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16177          NACHAWATI LAW GROUP

CALVERT, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02738          ONDERLAW, LLC

CALVERT, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16109          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CALVERT, VICKIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01512          ONDERLAW, LLC

CALVETTI, JAMES                     NY - SUPREME COURT - NYCAL                   190198/2018            MEIROWITZ & WASSERBERG, LLP
CALVETTI, JAMES A & EST OF JOSEPH
                                    NY - SUPREME COURT - NYCAL                   190198/2018            MEIROWITZ & WASSERBERG, LLP
CALVETTI
CALVI, AMY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05518          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CALVI, DIANE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06084          THE ENTREKIN LAW FIRM

CALVIELLO, GERALDINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21044          CELLINO & BARNES, P.C.

CALVILLO, LAURA                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC710730               PANISH, SHEA & BOYLE

CALVIN, JOANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01347          BERNSTEIN LIEBHARD LLP

CALVO, SHARON                       FL - CIRCUIT COURT - PALM BEACH COUNTY       50-2020-CA-013952      OSBORNE & FRANCIS LAW FIRM PLLC

CAMACHO, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05599          ONDERLAW, LLC

CAMACHO, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00661          FLETCHER V. TRAMMELL

CAMACHO, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07210          JASON J. JOY & ASSCIATES P.L.L.C.

CAMAIONI, ROSEANNA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002319-20        GOLOMB & HONIK, P.C.

CAMARILLO, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09415          MUELLER LAW PLLC

CAMARILLO, DELPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14826          LENZE LAWYERS, PLC

CAMARILLO, DELPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14826          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CAMBRIA, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11513          KLINE & SPECTER, P.C.

CAMBRIA, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11175          ONDERLAW, LLC

CAMBRON, MONICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03446          CLIFFORD LAW OFFICES, P.C.

CAMEL, DONNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04395          ONDERLAW, LLC

CAMERA, ROSE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11696          NACHAWATI LAW GROUP




                                                                               Page 178 of 1405
                            Case 23-12825-MBK                  Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                               Appendix A (Part 1) Page 180 of 702

            Claimant Name                             State Filed                      Docket Number                              Plaintiff Counsel

CAMERILLO, DELPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05398          ONDERLAW, LLC

CAMERON, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03774          ONDERLAW, LLC

CAMERON, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16660          FLETCHER V. TRAMMELL

CAMERON, LENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19094          NACHAWATI LAW GROUP

CAMERON, LYNDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08733          DIAZ LAW FIRM, PLLC

CAMERON, LYNDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15785          NACHAWATI LAW GROUP

CAMERON, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16200          NACHAWATI LAW GROUP

CAMERON, TRACY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18267          DRISCOLL FIRM, P.C.

CAMERON, VERA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19563          NACHAWATI LAW GROUP

CAMERON, VICTORIA                  CA - SUPERIOR COURT - RIVERSIDE COUNTY       RIC1801115             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CAMILLI, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13005          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMIONSCHU, MARIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17063          THE MILLER FIRM, LLC
CAMMALLERI,EMILIO &
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-07266-19AS       WEITZ & LUXENBERG
CAMMALLERI,CLAUDETTE
CAMMARN, CARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20955          HOLLAND LAW FIRM

CAMP, ANDREA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00212          NACHAWATI LAW GROUP

CAMP, BARBARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10663          SANDERS VIENER GROSSMAN, LLP

CAMP, CARLA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMP, CARLA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

CAMP, CARLA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

CAMP, CARLA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

CAMP, CAROL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06745          THE SIMON LAW FIRM, PC

CAMP, JERRYE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14295          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMP, KIMBERLY AND CAMP, MICHAEL   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-02202-20AS       WEITZ & LUXENBERG

CAMP, METOKA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04369          ONDERLAW, LLC

CAMP, MICHELLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08047          ONDERLAW, LLC

CAMP, SHERRY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02889          FLETCHER V. TRAMMELL

CAMP, VALERIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06680          ONDERLAW, LLC

CAMPA, HELEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08334          ONDERLAW, LLC
                                   CA - SUPERIOR COURT - SAN BERNARDINO
CAMPA, ROSAMIA                                                                  CIV SB 2101419         LENZE LAWYERS, PLC
                                   COUNTY
                                   CA - SUPERIOR COURT - SAN BERNARDINO
CAMPA, ROSAMIA                                                                  CIV SB 2101419         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                                   COUNTY
CAMPANA, GERMANIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19118          NACHAWATI LAW GROUP

CAMPANY, MAMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10866          THE MILLER FIRM, LLC

CAMPBELL, ARDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02697          SIMMONS HANLY CONROY




                                                                              Page 179 of 1405
                             Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                               Appendix A (Part 1) Page 181 of 702

           Claimant Name                              State Filed                       Docket Number                               Plaintiff Counsel

CAMPBELL, ARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15502             CELLINO & BARNES, P.C.

CAMPBELL, ASHLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10884             ASHCRAFT & GEREL, LLP

CAMPBELL, BELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09859             ONDERLAW, LLC

CAMPBELL, BERTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05630             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMPBELL, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06983             THE SIMON LAW FIRM, PC

CAMPBELL, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16036             ASHCRAFT & GEREL, LLP

CAMPBELL, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16036             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMPBELL, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07449             DALIMONTE RUEB, LLP

CAMPBELL, BRENNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08196             ASHCRAFT & GEREL

CAMPBELL, BRENNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08196             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMPBELL, CHERI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15408             HILLIARD MARTINEZ GONZALES, LLP

CAMPBELL, CHERLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09094             ONDERLAW, LLC

CAMPBELL, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17643             ONDERLAW, LLC

CAMPBELL, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21503             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMPBELL, COLLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01103             DRISCOLL FIRM, P.C.

CAMPBELL, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03003             ONDERLAW, LLC

CAMPBELL, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10993             ONDERLAW, LLC

CAMPBELL, DAVELENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00676             POTTS LAW FIRM

CAMPBELL, DIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05524             ARNOLD & ITKIN LLP

CAMPBELL, DORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00655             ANDRUS WAGSTAFF, P.C.

CAMPBELL, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15630             THE SEGAL LAW FIRM

CAMPBELL, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03236             LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

CAMPBELL, ELLEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02416             JOHNSON LAW GROUP

CAMPBELL, EMILY                     CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-22863-CU-MT-CTL   ASPEY, WATKINS & DIESEL, PLLC

CAMPBELL, EMILY                     CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-22863-CU-MT-CTL   BURNS CHAREST LLP

CAMPBELL, GAY & EST OF IVY FERGUSON NY - SUPREME COURT - NYCAL                   190182/2018               MEIROWITZ & WASSERBERG, LLP

CAMPBELL, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06712             ONDERLAW, LLC

CAMPBELL, JANETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08374             HOLLAND LAW FIRM

CAMPBELL, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09751             MORELLI LAW FIRM, PLLC

CAMPBELL, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17671             THE MILLER FIRM, LLC

CAMPBELL, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07665             BURNS CHAREST LLP

CAMPBELL, JOY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01980             FLETCHER V. TRAMMELL

CAMPBELL, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06750             ONDERLAW, LLC




                                                                               Page 180 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                          Appendix A (Part 1) Page 182 of 702

           Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

CAMPBELL, KATHRYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02674          ONDERLAW, LLC

CAMPBELL, KIMBERLY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05873          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMPBELL, KIMBERLY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13452          ONDERLAW, LLC

CAMPBELL, KIMBERLY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12459          ONDERLAW, LLC

CAMPBELL, LATOYA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002842-21        WEITZ & LUXENBERG

CAMPBELL, LAURIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01434          ARNOLD & ITKIN LLP

CAMPBELL, LEANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11334          LEVIN SIMES LLP

CAMPBELL, LUCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19775          NACHAWATI LAW GROUP

CAMPBELL, MARCELL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04749          ASHCRAFT & GEREL

CAMPBELL, MARCELL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04749          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMPBELL, MARGARET            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

CAMPBELL, MARGARET            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CAMPBELL, MARGARET            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CAMPBELL, MARY                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

CAMPBELL, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05766          THE CARLSON LAW FIRM

CAMPBELL, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16579          NACHAWATI LAW GROUP

CAMPBELL, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12031          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMPBELL, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13661          THE DUGAN LAW FIRM

CAMPBELL, PAULETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08532          GORI JULIAN & ASSOCIATES, P.C.

CAMPBELL, PEARLIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12029          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CAMPBELL, RUBY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20131          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMPBELL, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20832          SANDERS PHILLIPS GROSSMAN, LLC

CAMPBELL, SHANNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05913          LOWRANCE LUNDELL LOFGREN

CAMPBELL, SHANNON             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04904          WILLIAMS HART LAW FIRM

CAMPBELL, SHARON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16619          NACHAWATI LAW GROUP

CAMPBELL, SURFLORUNIA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10196          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMPBELL, TAMMY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10637          NACHAWATI LAW GROUP

CAMPBELL, TAMMY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12340          ONDERLAW, LLC

CAMPBELL, TASHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15544          ANAPOL WEISS

CAMPBELL, TERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05679          NAPOLI SHKOLNIK, PLLC

CAMPBELL, VANESSA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1286-18          MORELLI LAW FIRM, PLLC

CAMPBELL, VEDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10306          ONDERLAW, LLC

CAMPBELL, WANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12100          MORELLI LAW FIRM, PLLC




                                                                         Page 181 of 1405
                              Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                Appendix A (Part 1) Page 183 of 702

              Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel

CAMPBELL, YAKEISHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08872          THE ENTREKIN LAW FIRM

CAMPBELL, YVONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02714          ONDERLAW, LLC

CAMPBELL-TURNER, VIRGINIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01034          THE SEGAL LAW FIRM

CAMPEN, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13371          ASHCRAFT & GEREL, LLP

CAMP-GRAY, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10169          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMPI, ERIN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01487          JOHNSON LAW GROUP

CAMPISI, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:21-CV-15578          JOHNSON LAW GROUP
CAMPO, SUSANNA ESTATE OF GIOVANNI
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY         MID-L-002418-21AS      LEVY KONIGSBERG LLP
CAMPO
CAMPO,SUSANNA EST OF GIOVANNI
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY         MID-L-002418-21AS      MAUNE RAICHLE HARTLEY FRENCH & MUDD
CAMPO
CAMPOLINI, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:20-CV-16613          THE MILLER FIRM, LLC

CAMPOS, NICOLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10352          ONDERLAW, LLC

CAMPOS, TERESA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAMPOS, TERESA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

CAMPOS, TERESA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

CAMPOS, TERESA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

CAMPOS, TERESA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

CAMPUS, ELEANOR                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05680          NAPOLI SHKOLNIK, PLLC

CANADA, SARAH TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02562          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

CANADAY, AMANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16620          NACHAWATI LAW GROUP

CANADY, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11447          NACHAWATI LAW GROUP

CANADY, CHRISTINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CANADY, CHRISTINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

CANADY, CHRISTINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

CANADY, ENITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14010          NACHAWATI LAW GROUP

CANADY, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13197          REICH & BINSTOCK, LLP

CANALES, CLAUDIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13232          THE MILLER FIRM, LLC

CANAN, CHARMINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16491          NACHAWATI LAW GROUP

CANANT, REGINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02260          ONDERLAW, LLC

CANARD, BEVERLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12278          THE DIAZ LAW FIRM, PLLC

CANCEL AYALA, NORMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

CANCIENNE, HAZEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16148          ASHCRAFT & GEREL, LLP

CANCIENNE, HAZEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16148          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CANDELARIO, MARTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01968          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.




                                                                               Page 182 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 184 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

CANDELLARIO, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07383          ONDERLAW, LLC

CANDIELLO, ROSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13429          JOHNSON LAW GROUP

CANEJO, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09717          ONDERLAW, LLC

CANFIELD, FERN                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CANFORA, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08928          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CANGE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10949          ONDERLAW, LLC

CANINE, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12428          THE MILLER FIRM, LLC

CANIPE, NATALIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10190          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CANN, DIANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03960          POTTS LAW FIRM

CANN, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17545          ARNOLD & ITKIN LLP

CANNADY, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09346          GORI JULIAN & ASSOCIATES, P.C.

CANNANE, BENITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07990          SUMMERS & JOHNSON, P.C.

CANNICE, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00516          BURNS CHAREST LLP

CANNING, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06349          ONDERLAW, LLC

CANNINI, PAULINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13619          THE SEGAL LAW FIRM

CANNON, ANNE                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CANNON, BERNICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03279          ONDERLAW, LLC

CANNON, BOBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10374          NACHAWATI LAW GROUP

CANNON, CANDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02329          ONDERLAW, LLC

CANNON, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16529          COHEN & MALAD, LLP

CANNON, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14494          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CANNON, ELDORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03720          MOTLEY RICE, LLC

CANNON, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05463          ONDERLAW, LLC

CANNON, JENNY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04936          ONDERLAW, LLC

CANNON, JESSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10060          TRAMMELL PC

CANNON, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16537          NACHAWATI LAW GROUP

CANNON, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01016          BURNS CHAREST LLP

CANNON, MARIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16568          NACHAWATI LAW GROUP

CANNON, MELODY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09113          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CANNON, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00887          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CANNON, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00887          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CANNON, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07751          DALIMONTE RUEB, LLP

CANNON, SHARITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16624          NACHAWATI LAW GROUP

CANNOVO, TRACY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01967          ONDERLAW, LLC



                                                                            Page 183 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 185 of 702

            Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

CANNY, ELLEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15034          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CANO, CLAIRE                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321204             THE MILLER FIRM, LLC

CANO, ISABEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01141          ONDERLAW, LLC

CANO, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17747          MUELLER LAW PLLC

CANOSA, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13123          ONDERLAW, LLC

CANSINO, LIZA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07280          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CANTAGI, MARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04922          WILLIAMS HART LAW FIRM

CANTALUPO, LOIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17887          ASHCRAFT & GEREL, LLP

CANTALUPO, LOIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17887          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CANTER, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15560          GIRARDI & KEESE

CANTER, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15560          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CANTERINO, DOMENICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13032          JOHNSON LAW GROUP

CANTLEY, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00930          NACHAWATI LAW GROUP

CANTLEY, LINDA                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     JCCP4872               MILBERG COLEMAN BRYSON PHILLIPS

CANTLEY, LINDA                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     JCCP4872               ROSS FELLER CASEY, LLP

CANTOR, BETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14033          THORNTON LAW FIRM LLP

CANTRELL, KATRINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08121          ONDERLAW, LLC

CANTRELL, KRISTAL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12492          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

CANTRELL, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05647          ASHCRAFT & GEREL

CANTRELL, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05647          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CANTRELL, SHERRY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10157          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CANTRELL, VERSIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11464          NACHAWATI LAW GROUP

CANTU, FRANCIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00723          JOHNSON LAW GROUP

CANTU, JUAN AND CANTU, LAURA      NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-000572-21        WEITZ & LUXENBERG

CANTU, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14482          ONDERLAW, LLC

CANTU, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11901          POTTS LAW FIRM

CANTWELL, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05636          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
CANZATE, KIMBERLY EST OF MARY
                                  IL - CIRCUIT COURT - MADISON COUNTY          18-L-1298              SWMW LAW, LLC
MINER
CAPECI, ANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15821          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CAPEHART, ALMEATHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18617          WEITZ & LUXENBERG

CAPEHART, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12669          BISNAR AND CHASE

CAPEK, CLAUDIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12957          JOHNSON LAW GROUP




                                                                             Page 184 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 186 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CAPERTON, REGINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21347          FLETCHER V. TRAMMELL

CAPIZZI, DENISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09595          ONDERLAW, LLC

CAPLES, EVANGELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18375          ONDERLAW, LLC

CAPLES, TANYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06299          ONDERLAW, LLC

CAPLIN, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09600          ONDERLAW, LLC

CAPO, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21587          FLETCHER V. TRAMMELL

CAPO, REGINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10779          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAPP, FLORENCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07073          ONDERLAW, LLC

CAPPA, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08353          FLETCHER V. TRAMMELL

CAPPELLO, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12397          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

CAPPELLO, TERRI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08554          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAPPIELLO, CHRISTINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11586          NACHAWATI LAW GROUP

CAPPS, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09217          ONDERLAW, LLC

CAPRIO, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09916          ONDERLAW, LLC

CAPRIOTTI, JOANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02350          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CAPUTO, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12117          THE MILLER FIRM, LLC

CARABALLO, DAISY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05916          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARABALLO, ESPERANZA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18748          MCSWEENEY/LANGEVIN, LLC

CARABETTA, PATRICIA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002510-21        GOLOMB & HONIK, P.C.

CARACAPPA, DIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03855          ONDERLAW, LLC

CARACCIOLO, ELSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19487          ASHCRAFT & GEREL, LLP

CARACCIOLO, ELSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19487          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARAGAN, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10336          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARAMANICA, EDWARD               NY - SUPREME COURT - NYCAL                   190191/2019            MEIROWITZ & WASSERBERG, LLP

CARANNANTE, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09215          ONDERLAW, LLC

CARAS, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05440          THE CARLSON LAW FIRM

CARASSALE, DONNA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2242-17          GOLOMB SPIRT GRUNFELD PC

CARASSALE, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07912          ONDERLAW, LLC

CARAWAY, PAULETTE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARAWAY, PAULETTE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

CARAWAY, PAULETTE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

CARAWAY, PAULETTE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

CARAWAY, PAULETTE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC




                                                                            Page 185 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 187 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CARBAJAL, LIDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARBAJAL, LIDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          ONDERLAW, LLC

CARBAJAL, LIDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          PORTER & MALOUF, PA

CARBAJAL, LIDIA                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318633             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CARBAJAL, LIDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          THE SMITH LAW FIRM, PLLC

CARBONE, ANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06719          ONDERLAW, LLC

CARBONNEAU, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12174          DAVIS, BETHUNE & JONES, L.L.C.

CARD, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16747          ASHCRAFT & GEREL

CARD, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16747          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARDAMONE, WENDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00605          ASHCRAFT & GEREL, LLP

CARDELLA, ANTOINETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02028          FLETCHER V. TRAMMELL

CARDELLA, SHELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20025          MUELLER LAW PLLC

CARDELLO, GAETANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08654          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARDEN, MINERVA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05753          ONDERLAW, LLC

CARDENAS, AIMEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

CARDENAS, AIMEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CARDENAS, AIMEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15052          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CARDENAS, AIMEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CARDENAS, CECILIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16486          NACHAWATI LAW GROUP
CARDENAS, JEAN AND ANDREA
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-04794-17AS       LEVY KONIGSBERG LLP
CARDENAS
CARDENAS, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18957          NACHAWATI LAW GROUP

CARDENAS, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21245          HOLLAND LAW FIRM

CARDENAS, MARISELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09720          ONDERLAW, LLC

CARDENAS, OLGA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01576          DALIMONTE RUEB, LLP

CARDER, CRYSTAL                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARDER, CRYSTAL                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

CARDER, CRYSTAL                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

CARDER, CRYSTAL                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

CARDER, CRYSTAL                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

CARDER, KATIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01810          ONDERLAW, LLC

CARDER, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20410          ONDERLAW, LLC

CARDINALE, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03286          ONDERLAW, LLC

CARDINALLI, CAY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02251          ONDERLAW, LLC




                                                                            Page 186 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 188 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CARDONA, JEANNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03658          ARNOLD & ITKIN LLP

CARDOSO, MAUREEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18744          NACHAWATI LAW GROUP

CARDWELL, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09498          ONDERLAW, LLC

CARDWELL, MALIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12398          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

CARDWELL, STACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09557          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CAREAGA, LYDIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17775          ASHCRAFT & GEREL, LLP

CAREAGA, LYDIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17775          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARELLA, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01900          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARELLAS, KRISTIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06769          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CARETTO, MINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08006          PARKER WAICHMAN, LLP

CAREW, MARYELLEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19470          NACHAWATI LAW GROUP

CAREW, TAMARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12327          MORGAN & MORGAN

CAREW, VENUS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06653          FLETCHER V. TRAMMELL

CAREY, CHRYSTAL                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321179             THE MILLER FIRM, LLC

CAREY, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20040          ARNOLD & ITKIN LLP

CAREY, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17734          ONDERLAW, LLC

CAREY, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12522          TRAMMELL PC

CAREY, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06815          THORNTON LAW FIRM LLP

CAREY, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08893          ONDERLAW, LLC

CAREY, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08167          FLETCHER V. TRAMMELL

CAREY-WESTOVER, TARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16610          NACHAWATI LAW GROUP

CARICCHIO, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03527          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARINCI, FRANCESCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10103          ONDERLAW, LLC

CARINI, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13207          NACHAWATI LAW GROUP

CARINI, LOURDES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16558          NACHAWATI LAW GROUP

CARKHUFF, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17803          THE SEGAL LAW FIRM

CARL, BRANDI                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6546-14          GOLOMB SPIRT GRUNFELD PC

CARLA KELDER                     FEDERAL - MDL                                3:21-CV-19697          JOHNSON BECKER, PLLC

CARLE, ALICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01913          ARNOLD & ITKIN LLP

CARLE, LOUISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09890          ONDERLAW, LLC

CARLE, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05930          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARLETON, ANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20667          MORGAN & MORGAN

CARLETON, CATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01062          THE BENTON LAW FIRM, PLLC




                                                                            Page 187 of 1405
                             Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                              Appendix A (Part 1) Page 189 of 702

            Claimant Name                            State Filed                       Docket Number                              Plaintiff Counsel

CARLEY, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07769          JASON J. JOY & ASSCIATES P.L.L.C.

CARLILE, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03306          ONDERLAW, LLC

CARLIN, HEATHER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08699          COHEN, PLACITELLA & ROTH

CARLIN, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09091          ONDERLAW, LLC

CARLINE, HELGA AND CARLINE, GERALD NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002842-20        WEITZ & LUXENBERG

CARLINE, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04418          ONDERLAW, LLC

CARLINE, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07441          ARNOLD & ITKIN LLP

CARLINO, ROSEANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09038          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARLISLE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07726          ONDERLAW, LLC

CARLISLE, ROLELIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12037          ARNOLD & ITKIN LLP

CARLISLE, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08892          ONDERLAW, LLC

CARLO, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01735          ONDERLAW, LLC

CARLOS, CANDELARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03899          ONDERLAW, LLC

CARLOTTA, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04232          ONDERLAW, LLC

CARLSON, CHRISTY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002320-20        GOLOMB & HONIK, P.C.

CARLSON, CHRISTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02176          JOHNSON LAW GROUP

CARLSON, ILIONE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10817          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARLSON, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02211          BURNS CHAREST LLP

CARLSON, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02211          BURNS CHAREST LLP

CARLSON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07365          THE DUGAN LAW FIRM, APLC

CARLSON, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05041          ONDERLAW, LLC

CARLSON, SARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14642          WATERS & KRAUS, LLP

CARLSTEAD, MARILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13158          DIAMOND LAW

CARLTON, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14703          LENZE LAWYERS, PLC

CARLTON, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14703          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CARLTON, ANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11625          THE MILLER FIRM, LLC

CARLTON, JACQUELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18458          WEITZ & LUXENBERG

CARLTON, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18943          NACHAWATI LAW GROUP

CARLTON, ROCKLIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19902          ONDERLAW, LLC

CARLYLE, MELODIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13237          THE MILLER FIRM, LLC

CARMACK, SABRINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07805          BISNAR AND CHASE

CARMACK, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14447          NACHAWATI LAW GROUP

CARMACK-SWIFT, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09788          DALIMONTE RUEB, LLP




                                                                              Page 188 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 190 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CARMELO, BONITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14384          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CARMEN ROBERTSON                 FEDERAL - MDL                                3:21-CV-19621          BISNAR AND CHASE

CARMEN VIERA                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CARMEN, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

CARMEN, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CARMEN, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CARMICHAEL, BERNICE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002092-20        GOLOMB & HONIK, P.C.

CARMICHAEL, CHARLENE MAY         BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230662         PRESZLER LAW FIRM LLP

CARMICHAEL, TERRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01983          CELLINO & BARNES, P.C.

CARMICHAEL, TIWANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00226          NACHAWATI LAW GROUP

CARMICHAEL, YVETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17362          ONDERLAW, LLC

CARMON, TRACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10500          ONDERLAW, LLC

CARMONA, RACHEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05962          JOHNSON LAW GROUP

CARMOUCHE, JUNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11377          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CARNEAL, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00201          JOHNSON BECKER, PLLC

CARNELL, MARYANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12823          JOHNSON LAW GROUP

CARNES, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17058          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARNES, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14386          FLETCHER V. TRAMMELL

CARNES, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07055          KILLIAN, DAVIS, RICHTER & MAYLE, PC

CARNEY, ALETHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01421          ONDERLAW, LLC

CARNEY, JANETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19045          MOTLEY RICE, LLC

CARNEY, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10764          ONDERLAW, LLC

CARNEY, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06985          THE SIMON LAW FIRM, PC

CARNLEY, ROSARIO                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09665          WEXLER WALLACE LLP

CARO, DIANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13420          NACHAWATI LAW GROUP

CARO, EDUVIGES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09292          ONDERLAW, LLC

CARO, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19367          JOHNSON LAW GROUP

CAROL CASINO                     FEDERAL - MDL                                3:21-CV-17247          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAROL CORLESS                    FEDERAL - MDL                                3:21-CV-19801          JOHNSON BECKER, PLLC

CAROL LABEAUME                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18560          ONDERLAW, LLC

CAROL MCGARY                     FEDERAL - MDL                                3:21-CV-19724          JOHNSON BECKER, PLLC

CAROL MITCHELL                   FEDERAL - MDL                                3:21-CV-19619          BISNAR AND CHASE

CAROL MOOROW                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CAROL ROBINSON                   FEDERAL - MDL                                3:21-CV-18747          MOTLEY RICE, LLC



                                                                            Page 189 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                         Appendix A (Part 1) Page 191 of 702

           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CAROL SCURRY                  FEDERAL - MDL                                3:21-CV-18932          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

CAROL STANLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18601          ONDERLAW, LLC

CAROL TOOMEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18735          MOTLEY RICE, LLC

CAROLE COLVIN                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CAROLE CUTRUMBES              IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CAROLINE GRAHAM               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003296-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

CAROLINE MURPHY               FEDERAL - MDL                                3:21-CV-19795          ONDERLAW, LLC

CAROLLO, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04543          TORHOERMAN LAW LLC

CAROLYN FLADLAND              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19659          JOHNSON BECKER, PLLC

CAROLYN FLADLAND              FEDERAL - MDL                                3:21-CV-19659          JOHNSON BECKER, PLLC

CAROLYN FLADLAND              FEDERAL - MDL                                3:21-CV-19659          JOHNSON BECKER, PLLC

CAROLYN OLSON                 FEDERAL - MDL                                3:21-CV-19067          MOTLEY RICE, LLC

CAROLYN SILAY                 FEDERAL - MDL                                3:21-CV-18717          FLETCHER V. TRAMMELL

CAROLYN SIRKER                FEDERAL - MDL                                3:21-CV-19617          BISNAR AND CHASE

CAROLYN SLAUGHTER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18014          THE MILLER FIRM, LLC

CAROLYN YANKE                 FEDERAL - MDL                                3:21-CV-18122          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

CARON, ANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08223          ONDERLAW, LLC

CARON, MARIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16573          NACHAWATI LAW GROUP

CAROTHERS, BETTY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10677          NACHAWATI LAW GROUP

CAROTHERS, PAMELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16544          NACHAWATI LAW GROUP

CARPEN, NANDIKUMARIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12976          CELLINO & BARNES, P.C.

CARPENTER, BARBARA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05368          GORI JULIAN & ASSOCIATES, P.C.

CARPENTER, BARBARA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16102          ONDERLAW, LLC

CARPENTER, BILLIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11333          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CARPENTER, BONNIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08133          ARNOLD & ITKIN LLP

CARPENTER, BRYAN              IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CARPENTER, CAROL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11845          GORI JULIAN & ASSOCIATES, P.C.

CARPENTER, CAROLYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14985          CELLINO & BARNES, P.C.

CARPENTER, CARRIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15151          ASHCRAFT & GEREL

CARPENTER, CARRIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15151          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARPENTER, CHARLYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04642          BARON & BUDD, P.C.

CARPENTER, DASENA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08379          FLETCHER V. TRAMMELL

CARPENTER, DAWN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11524          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CARPENTER, DAWN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17069          GORI JULIAN & ASSOCIATES, P.C.



                                                                         Page 190 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 192 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

CARPENTER, DAWNMARIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17051          THE BENTON LAW FIRM, PLLC

CARPENTER, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11543          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARPENTER, DEVANNI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16546          NACHAWATI LAW GROUP

CARPENTER, EUNICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06182          ONDERLAW, LLC

CARPENTER, JESSICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18371          NACHAWATI LAW GROUP

CARPENTER, KAREN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1931-16          ASHCRAFT & GEREL

CARPENTER, KELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03106          MARTINIAN & ASSOCIATES, INC.

CARPENTER, KELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03106          THE LAW OFFICES OF HAYTHAM FARAJ

CARPENTER, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09099          ONDERLAW, LLC

CARPENTER, MARVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08073          FLETCHER V. TRAMMELL

CARPENTER, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14312          JASON J. JOY & ASSCIATES P.L.L.C.

CARPENTER, ROSEMARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19786          ANDREW THORNTON HIGGINS RAZMARA LLP

CARPENTER, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08657          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARPENTER, STARLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15037          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARPENTER, VICKY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01516          JOHNSON LAW GROUP

CARPENTIERI, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17882          ASHCRAFT & GEREL, LLP

CARPENTIERI, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17882          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARPER, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12998          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CARPINTERO, RUBY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01795          JOHNSON LAW GROUP

CARR, ALEXIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15533          GORI JULIAN & ASSOCIATES, P.C.

CARR, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20212          ARNOLD & ITKIN LLP

CARR, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07375          ONDERLAW, LLC

CARR, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11556          NACHAWATI LAW GROUP

CARR, CARRIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18034          ASHCRAFT & GEREL

CARR, CARRIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18034          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARR, DESIREE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13223          THE MILLER FIRM, LLC

CARR, DIANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20202          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARR, FANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11896          THE MILLER FIRM, LLC

CARR, FRANCINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05008          WILLIAMS HART LAW FIRM

CARR, ILENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15498          BART DURHAM INJURY LAW

CARR, ILENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15498          FRAZER PLC

CARR, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17107          DIAZ LAW FIRM, PLLC

CARR, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08661          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARR, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12400          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN



                                                                            Page 191 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 193 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CARR, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11782          BOHRER LAW FIRM, LLC

CARR, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11782          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

CARR, RUTHIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11364          NACHAWATI LAW GROUP

CARR, SHELLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04784          ONDERLAW, LLC

CARRARO, JEANNE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

CARRAS, PAULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02078          THE FERRARO LAW FIRM, P.A.

CARRASCO, GUADALUPE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09959          DALIMONTE RUEB, LLP

CARRASCO, MARISOL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16550          NACHAWATI LAW GROUP

CARREAU, MARCELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01831          ASHCRAFT & GEREL

CARREAU, MARCELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01831          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARREIRO, SHANNON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16158          THE MILLER FIRM, LLC

CARRELL, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03938          ONDERLAW, LLC

CARREON, RAMON                  NY - SUPREME COURT - NYCAL                   190128/2020            MEIROWITZ & WASSERBERG, LLP

CARREON, RAMON                  NY - SUPREME COURT - NYCAL                   190128/2020            MEIROWITZ & WASSERBERG, LLP

CARREON, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09924          ONDERLAW, LLC

CARRERA, GUADALUPE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16419          ARNOLD & ITKIN LLP

CARRERO, AMPARO                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01198          GORI JULIAN & ASSOCIATES, P.C.

CARRETO, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00559          ONDERLAW, LLC

CARRICO, RASHEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04862          ONDERLAW, LLC

CARRIER, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARRIER, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

CARRIER, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

CARRIER, TAVITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09757          NACHAWATI LAW GROUP

CARRIERE, TONYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09724          ONDERLAW, LLC

CARRILLO, HILDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13015          ARNOLD & ITKIN LLP

CARRILLO, HILDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04956          ONDERLAW, LLC

CARRILLO, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10277          DAVIS, BETHUNE & JONES, L.L.C.

CARRILLO, STACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16392          JOHNSON LAW GROUP

CARRINGTON, CELESTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22164          DRISCOLL FIRM, P.C.

CARRINGTON, LENAE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08817          ONDERLAW, LLC

CARRINGTON, TAMMY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12623          ONDERLAW, LLC

CARRINO, SUSAN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001855-20        MOTLEY RICE NEW JERSEY LLC

CARRINO, SUSAN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001855-20        WILLIAMS HART LAW FIRM

CARRIUOLO, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14815          LENZE LAWYERS, PLC



                                                                           Page 192 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 194 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CARRIUOLO, DEBRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14815          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CARRIUOLO, JOANNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16557          NACHAWATI LAW GROUP

CARROLL, ALVETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07821          ASHCRAFT & GEREL

CARROLL, CRISTINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12401          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

CARROLL, EMILY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05789          ONDERLAW, LLC

CARROLL, INA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06190          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CARROLL, JULIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12494          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                              CA - SUPERIOR COURT - SAN BERNARDINO
CARROLL, KERRY                                                             CIVDS1719428           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                              COUNTY
CARROLL, LANELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17900          ASHCRAFT & GEREL, LLP

CARROLL, LANELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17900          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARROLL, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09500          ONDERLAW, LLC

CARROLL, MARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02435          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARROLL, MARRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11282          NACHAWATI LAW GROUP

CARROLL, MYRTLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08769          JOHNSON LAW GROUP

CARROLL, ROSELYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12750          SAUNDERS & WALKER, P.A.

CARROLL, ROXANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14483          ONDERLAW, LLC

CARROLL, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06551          LAW OFFICES OF CHARLES H JOHNSON,PA

CARROLL, SHARON               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARROLL, SHARON               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

CARROLL, SHARON               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

CARROLL, SHARON               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

CARROLL, SHARON               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

CARROLL, SHARON               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

CARROLL, SHARON               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

CARROLL, STACEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18193          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CARROLL, TAMARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12112          MORELLI LAW FIRM, PLLC

CARROLL, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08107          ONDERLAW, LLC

CARRUBBA, MARSHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17773          ASHCRAFT & GEREL, LLP

CARRUBBA, MARSHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17773          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARRUYO, MARIOL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09828          FLETCHER V. TRAMMELL

CARSON, ALMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16822          ONDERLAW, LLC

CARSON, CAROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09271          BURNS CHAREST LLP

CARSON, CAROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09271          BURNS CHAREST LLP




                                                                         Page 193 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 195 of 702

            Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

CARSON, CHRISTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10449          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARSON, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15460          JOHNSON LAW GROUP

CARSON, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00929          THE SEGAL LAW FIRM

CARSON, JESSIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16566          NACHAWATI LAW GROUP

CARSON, LATANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11716          FLETCHER V. TRAMMELL

CARSON, MARGIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09287          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARSON, RAMONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07444          HEYGOOD, ORR & PEARSON

CARTER, ANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13422          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARTER, ANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17400          ONDERLAW, LLC

CARTER, ARLITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10205          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARTER, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12791          ASHCRAFT & GEREL

CARTER, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01813          ONDERLAW, LLC

CARTER, BETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10781          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARTER, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05187          JOHNSON LAW GROUP

CARTER, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02360          BURNS CHAREST LLP

CARTER, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02360          BURNS CHAREST LLP

CARTER, CARMIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03637          ONDERLAW, LLC

CARTER, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11272          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CARTER, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01513          ONDERLAW, LLC

CARTER, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19475          NACHAWATI LAW GROUP

CARTER, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07548          LENZE KAMERRER MOSS, PLC

CARTER, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02283          ONDERLAW, LLC

CARTER, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00353          ONDERLAW, LLC

CARTER, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21812          ONDERLAW, LLC

CARTER, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15291          RICHARDSON RICHARDSON BOUDREAUX

CARTER, DOTTIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18334          WILLIAMS HART LAW FIRM

CARTER, EVELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09931          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARTER, FELICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01076          ONDERLAW, LLC

CARTER, FLORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01850          MOTLEY RICE, LLC

CARTER, GEORGEANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08440          THE DUGAN LAW FIRM, APLC

CARTER, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09152          MOTLEY RICE, LLC

CARTER, JANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16578          NACHAWATI LAW GROUP

CARTER, JANINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14575          DAVIS, BETHUNE & JONES, L.L.C.

CARTER, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19142          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.



                                                                          Page 194 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 196 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CARTER, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05930          ONDERLAW, LLC

CARTER, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07205          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CARTER, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09869          FLETCHER V. TRAMMELL

CARTER, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05250          ONDERLAW, LLC

CARTER, KELLY                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CARTER, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05267          ONDERLAW, LLC

CARTER, LAVINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16157          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CARTER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10011          GORI JULIAN & ASSOCIATES, P.C.

CARTER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16270          THE MILLER FIRM, LLC

CARTER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02087          JOHNSON LAW GROUP

CARTER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09947          ONDERLAW, LLC

CARTER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02990          TORHOERMAN LAW LLC

CARTER, LORNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05117          COHEN & MALAD, LLP

CARTER, LYNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18325          MUELLER LAW PLLC

CARTER, LYNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05342          ONDERLAW, LLC

CARTER, LYNETTE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

CARTER, LYNETTE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

CARTER, LYNETTE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

CARTER, MARIANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01192          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARTER, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19125          NACHAWATI LAW GROUP

CARTER, MARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02843          ONDERLAW, LLC

CARTER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19734          ARNOLD & ITKIN LLP

CARTER, MATTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16404          TRAMMELL PC

CARTER, MILLICENT                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10586          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARTER, MONA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11298          ASHCRAFT & GEREL

CARTER, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16571          NACHAWATI LAW GROUP

CARTER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08923          ONDERLAW, LLC

CARTER, PAULINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07125          ONDERLAW, LLC

CARTER, REGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20010          ARNOLD & ITKIN LLP

CARTER, RHONDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARTER, RHONDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

CARTER, RHONDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

CARTER, RHONDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

CARTER, RHONDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC



                                                                             Page 195 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                            Appendix A (Part 1) Page 197 of 702

             Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

CARTER, STELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10605          NACHAWATI LAW GROUP

CARTER, STELLA                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV335259             THE MILLER FIRM, LLC

CARTER, TARSHWA                 IL - CIRCUIT COURT - COOK COUNTY             2018-L-1310            CLIFFORD LAW OFFICES, P.C.

CARTER, TARSHWA                 IL - CIRCUIT COURT - COOK COUNTY             2018-L-1310            TAFT STETTINIUS & HOLLISTER LLP

CARTER-CRUZ, BERNADETTE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08558          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARTER-LEDSOME, PAMELA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15246          WATERS & KRAUS, LLP

CARTER-PALMER, PENELOPE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10900          NACHAWATI LAW GROUP

CARTER-SEIBERT, KAREN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19469          ARNOLD & ITKIN LLP

CARTHEN, JOANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00123          MOTLEY RICE NEW JERSEY LLC

CARTHER, ROSETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05933          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARTIER, ROBIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18091          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CARTLEDGE, NORMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07799          ONDERLAW, LLC

CARTOLANO, FRANCINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14994          CELLINO & BARNES, P.C.

CARTOLANO, VICTORIA             CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC690885               JAMES MORRIS LAW FIRM PC
CARTWRIGHT, BARBARA AND
                                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-04446-18AS       LEVY KONIGSBERG LLP
CARTWRIGHT,JASON
CARTWRIGHT, PATRICIA            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11681           ONDERLAW, LLC

CARTY, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12621          ONDERLAW, LLC

CARUSO, ANN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000944-21        JOHNSON LAW GROUP

CARUSO, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09036          COHEN & MALAD, LLP

CARUSO, GREGORY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2595-17          THE MILLER FIRM, LLC

CARUTHERS, TERRY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05668          ONDERLAW, LLC

CARVER, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16116          JOHNSON LAW GROUP

CARVER, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16581          NACHAWATI LAW GROUP

CARVER, GWEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03869          THE SEGAL LAW FIRM

CARVER, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01039          BARON & BUDD, P.C.

CARVER, MARGARITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05817          ASHCRAFT & GEREL, LLP

CARVER, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18955          NACHAWATI LAW GROUP

CARVER, RUTH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03549          THE DEATON LAW FIRM

CARWILE, ALICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16453          NACHAWATI LAW GROUP

CARY, LYNN                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CARY, LYNN                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

CARY, LYNN                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC




                                                                           Page 196 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 198 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CARY, LYNN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

CARY, LYNN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

CARY, TERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22078          MORELLI LAW FIRM, PLLC

CARYL, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01875          JOHNSON LAW GROUP

CARYL, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09313          ONDERLAW, LLC

CARZELL, MARQUETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06204          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASAMENTO, LORRAINE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001913-20        GOLOMB & HONIK, P.C.

CASANO, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:18-CV-16524              THE WEINBERG LAW FIRM
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
CASAR, SARAH                                                              200600044                  EISENBERG, ROTHWEILER, WINKLER
                                 PLEAS
CASARAVILLA, WALTER &
                                 NY - SUPREME COURT - NYCAL               190296/2020                WEITZ & LUXENBERG
CASARAVILLA, TAMMAR
CASARETTO, ALBERTO               FL - CIRCUIT COURT - BROWARD COUNTY          CACE-18-028502         KELLEY UUSTAL, PLC
CASARETTO,ALBERTO &
                                 FL - CIRCUIT COURT - BROWARD COUNTY          CACE-18-028502         LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.
CASARETTO,IRENE
CASAS, BELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17337          WEITZ & LUXENBERG

CASAS, SOLANGEL                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

CASAS, SOLANGEL                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

CASAS, SOLANGEL                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

CASAZZA, ROSEMARIE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000973-21        KLINE & SPECTER, P.C.

CASBOHM, HEATHER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16495          THE MILLER FIRM, LLC

CASCARDI, LITA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003316-20        GOLOMB & HONIK, P.C.

CASCELLA, KELLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12691          MORELLI LAW FIRM, PLLC

CASCI, KATHLEEN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

CASCI, KATHLEEN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

CASCI, KATHLEEN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

CASCONE, GINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00934          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASE, DANIELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16159          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CASE, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13603          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASE, IVON                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22063          MORELLI LAW FIRM, PLLC

CASE, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19129          NACHAWATI LAW GROUP

CASE, ROSE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14449          ASHCRAFT & GEREL

CASELLA, THERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09665          ASHCRAFT & GEREL

CASELLA, THERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09665          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASELLA, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10072          ARNOLD & ITKIN LLP




                                                                            Page 197 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 199 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CASEMAN, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05676          ONDERLAW, LLC

CASERO, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09386          ONDERLAW, LLC

CASERTA, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11352          MARY ALEXANDER & ASSOCIATES, P.C.

CASERTA, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04055          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

CASEY, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11279          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CASEY, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07477          MOORE LAW GROUP PLLC

CASEY, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07477          OLDFATHER LAW FIRM

CASEY, DONNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASEY, DONNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

CASEY, DONNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

CASEY, DONNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

CASEY, DONNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

CASEY, EDDA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002915-18        LOPEZ-MCHUGH, LLP

CASEY, EDDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13554          WAGSTAFF & CARTMELL, LLP

CASEY, GRAZYNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18849          ONDERLAW, LLC

CASEY, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12699          NAPOLI SHKOLNIK, PLLC

CASEY, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASEY, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

CASEY, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

CASEY, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

CASEY, KENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02677          ONDERLAW, LLC

CASEY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16627          ASHCRAFT & GEREL

CASEY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16627          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASEY, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08174          ONDERLAW, LLC

CASEY, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASEY, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

CASEY, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

CASEY, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

CASEY, SHELBA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11443          NACHAWATI LAW GROUP

CASEY, SHERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV08350           ONDERLAW, LLC

CASHER, YVONNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15933          HOLLAND LAW FIRM

CASHION, RITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16592          NACHAWATI LAW GROUP

CASIANO, JOSEPHINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12708          BARON & BUDD, P.C.

CASIAS, ANGELITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04772          ONDERLAW, LLC



                                                                            Page 198 of 1405
                             Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                              Appendix A (Part 1) Page 200 of 702

             Claimant Name                           State Filed                       Docket Number                               Plaintiff Counsel

CASIMIRE, CELESTINE GLOVER         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01119          WAGSTAFF & CARTMELL, LLP

CASKEY, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16274          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASKEY-SCHREIBER, LAURA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02316          JOHNSON LAW GROUP

CASLIN, LINDA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002522-20        GOLOMB & HONIK, P.C.

CASON, SHAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12850          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASPER, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04832          FLEMING, NOLEN & JEZ, LLP

CASPER, MARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04348          ONDERLAW, LLC

CASS, LOIS                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14496          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASSADA, JUNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00748          BURNS CHAREST LLP

CASSADA, JUNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00748          BURNS CHAREST LLP

CASSANDRA DURAN                    FEDERAL - MDL                                3:21-CV-18332          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

CASSEL, ARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10442          KLINE & SPECTER, P.C.

CASSELLA, SILVERIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21064          CELLINO & BARNES, P.C.

CASSELLO-MALONE, LILA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12520          ONDERLAW, LLC

CASSELMAN, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21139          MORELLI LAW FIRM, PLLC

CASSELMAN-KENDALL, NANCY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01730          JOHNSON LAW GROUP

CASSETTI, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11760          POTTS LAW FIRM

CASSIDY, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15865          BART DURHAM INJURY LAW

CASSIDY, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15865          FRAZER PLC

CASSIDY, RAYNITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14499          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASSIE CHAPEL                      FEDERAL - MDL                                3:21-CV-18533          FLETCHER V. TRAMMELL

CASSIO, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06430          ONDERLAW, LLC

CASSITY, KARI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09291          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASSITY, KARI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09291          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASTAN, MAURICE AND CASTAN, RITA   NY - SUPREME COURT - NYCAL                   190073/2018            LEVY KONIGSBERG LLP

CASTANEDA, RAYDEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10155          DAVIS, BETHUNE & JONES, L.L.C.

CASTANES, HARRIET                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003291-20        COHEN, PLACITELLA & ROTH

CASTEEL, PRISCILLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09796          ONDERLAW, LLC

CASTELLANO, MARINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12043          BISNAR AND CHASE

CASTELLANO, MARINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12043          BISNAR AND CHASE

CASTELLANOS, JESSICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17288          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASTELLANOS, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19781          NACHAWATI LAW GROUP

CASTELLI, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07580          WEXLER WALLACE LLP




                                                                              Page 199 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 201 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CASTELLO, MARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02795          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASTELLO, MAUREEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14168          MOTLEY RICE, LLC

CASTELLO, PEARL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19133          NACHAWATI LAW GROUP

CASTERLIN, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08680          ONDERLAW, LLC

CASTIGLIONI, STACEY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08196          ONDERLAW, LLC

CASTIGLONE, JEANROSE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00471          CELLINO & BARNES, P.C.

CASTILLE, BERNADETTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13298          THE DEATON LAW FIRM

CASTILLO, BECKY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02591          ANDREW THORNTON HIGGINS RAZMARA LLP

CASTILLO, CRYSTAL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10980          DALIMONTE RUEB, LLP

CASTILLO, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16048          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CASTILLO, ESPERANZA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10185          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASTILLO, JUN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10863          NACHAWATI LAW GROUP

CASTILLO, MARICHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13905          DALIMONTE RUEB, LLP

CASTILLO, MONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12625          ONDERLAW, LLC

CASTILLO, PAULA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERG HELLER & ANTOGNOLI, PC

CASTILLO, PAULA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

CASTILLO, PAULA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

CASTILLO, PAULA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

CASTILLO, PETRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19153          NACHAWATI LAW GROUP

CASTILLO, RACHAEL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08812          WILSON LAW PA

CASTILLO, SINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

CASTILLO, SINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15530          LENZE LAWYERS, PLC

CASTILLO, SINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CASTILLO, SINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15530          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CASTILLO, SINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CASTLE, ANNINA                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05729-18AS       WEITZ & LUXENBERG

CASTLE, BRIDGET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00041          ASHCRAFT & GEREL

CASTLE, BRIDGET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00041          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASTLE, HEATHER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03660          ARNOLD & ITKIN LLP

CASTNER, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14323          GOLOMB SPIRT GRUNFELD PC

CASTONGUAY, CHRISTINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00502          JOHNSON BECKER, PLLC

CASTORE, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13602          DRISCOLL FIRM, P.C.

CASTRICONE, ELIZABETH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10295          ONDERLAW, LLC




                                                                          Page 200 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                              Appendix A (Part 1) Page 202 of 702

           Claimant Name                             State Filed                      Docket Number                                Plaintiff Counsel

CASTRO, ALICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17350            ASHCRAFT & GEREL, LLP

CASTRO, ALICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17350            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASTRO, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14486            ONDERLAW, LLC

CASTRO, CINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02776            ONDERLAW, LLC

CASTRO, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06414            ONDER SHELTON O'LEARY & PETERSON LLC

CASTRO, KERIJANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791            JACOBS OHARA MCMULLEN , P.C.

CASTRO, KERIJANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791            ONDERLAW, LLC

CASTRO, KERIJANE                  CA - SUPERIOR COURT - ORANGE COUNTY          30-2017-00952945-CU-PL-CXC ONDERLAW, LLC

CASTRO, KERIJANE                  CA - SUPERIOR COURT - ORANGE COUNTY          30-2017-00952945-CU-PL-CXC SALKOW LAW, APC

CASTRO, KERIJANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791            THE POTTS LAW FIRM, LLP

CASTRO, KERIJANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791            ZEVAN DAVIDSON ROMAN LLC

CASTRO, LEILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12164            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASTRO, LOURDES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06099            ONDERLAW, LLC

CASTRO, MARJORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09117            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CASTRO, MARSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11388            MORELLI LAW FIRM, PLLC

CASTRO, VANESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10404            ONDERLAW, LLC

CASTRONOVA, REGINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10671            THE JACOB D. FUCHSBERG LAW FIRM

CASWELL, KRISTEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00533            LUNDY, LUNDY, SOILEAU & SOUTH, LLP

CATALANO, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07375            WILLIAMS HART LAW FIRM

CATALDO, JOANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10104            ONDERLAW, LLC

CATANIA, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12581            ONDERLAW, LLC

CATANZARO, DORIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13215            NACHAWATI LAW GROUP

CATAPANO, ROSEANNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CATAPANO, ROSEANNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545             GOLDENBERGLAW, PLLC

CATAPANO, ROSEANNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545             ONDERLAW, LLC

CATAPANO, ROSEANNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545             PORTER & MALOUF, PA

CATAPANO, ROSEANNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545             THE SMITH LAW FIRM, PLLC

CATARIOUS, LORI                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1618-19            COHEN, PLACITELLA & ROTH

CATCHINGS, KRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17167            ONDERLAW, LLC

CATER, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16630            NACHAWATI LAW GROUP

CATES, CARLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12853            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CATES, FLORENCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11527            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CATES, LINDA EST MARIA CATES      NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-08223-18AS         LEVY KONIGSBERG LLP




                                                                             Page 201 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 203 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CATES, VICKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14999          NACHAWATI LAW GROUP

CATHCART, MARILYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08357          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CATHERINE FIELDS                 FEDERAL - MDL                                3:21-CV-16749          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CATHERINE GILLIGAN               FEDERAL - MDL                                3:21-CV-19590          ONDERLAW, LLC

CATHERINE RODRIGUEZ              IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CATHERINE SCOTT                  FEDERAL - MDL                                3:21-CV-19754          ONDERLAW, LLC

CATHERS, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20434          ONDERLAW, LLC

CATHY BAIRD                      FEDERAL - MDL                                3:21-CV-19649          JOHNSON BECKER, PLLC

CATHY CARRERA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18060          WEITZ & LUXENBERG

CATHY MOSS                       FEDERAL - MDL                                3:21-CV-16701          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CATHY NEAL                       FEDERAL - MDL                                3:21-CV-19415          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

CATHY NEAL                       FEDERAL - MDL                                3:21-CV-19415          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

CATILLER, BARBARA                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CATO, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19885          CELLINO & BARNES, P.C.

CATO, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14739          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CATOE, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18100          JOHNSON LAW GROUP

CATRETT, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17990          ASHCRAFT & GEREL

CATRETT, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17990          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CATRON, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01423          ARNOLD & ITKIN LLP

CAUBBLE, DELORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10159          ONDERLAW, LLC

CAUDILL, KIMBERY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04978          ONDERLAW, LLC

CAUDILL, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14566          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CAUDILLO, PHYLLIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05936          ONDERLAW, LLC

CAUDLE, MARION                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10525          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CAULK, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13293          NACHAWATI LAW GROUP

CAULTON, MARCIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00225          JOHNSON BECKER, PLLC

CAUSEY, JOANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15485          JOHNSON LAW GROUP

CAUSEY, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08424          ONDERLAW, LLC

CAUSWAY, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09848          FLETCHER V. TRAMMELL

CAUTI, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16426          ARNOLD & ITKIN LLP

CAVANAGH, CATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01217          ASHCRAFT & GEREL

CAVANAGH, CATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01217          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAVANAUGH, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08492          KENNY & KENNY, PLLC

CAVANAUGH, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02196          JOHNSON LAW GROUP



                                                                            Page 202 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 204 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CAVAZOS, GRACIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13487          ARNOLD & ITKIN LLP

CAVAZOS, ROSALINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09595          ASHCRAFT & GEREL

CAVE, JALISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20428          DRISCOLL FIRM, P.C.

CAVETT, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04401          DOMENGEAUX WRIGHT ROY & EDWARDS,LLC

CAVETT, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16634          NACHAWATI LAW GROUP

CAVICCHIO, JACQUELINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16165          MOTLEY RICE, LLC

CAVIN, EURYDICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14695          NAPOLI SHKOLNIK, PLLC

CAVINESS, STACY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15914          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

CAVOLT, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09400          MICHAEL BRANDY LYNCH FIRM

CAVOLT, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09400          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

CAVOR, BALINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14501          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAWTHRA, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16176          HENINGER GARRISON DAVIS, LLC

CAYANAN, LAINNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09690          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CAYE, MONIQUE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03441          THE KING FIRM

CAYLOR, SARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03334          ASHCRAFT & GEREL

CAYLOR, SARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03334          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CAZALOT, VONCEIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09804          MORRIS BART & ASSOCIATES

CAZARES, CARLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16636          NACHAWATI LAW GROUP

CAZARES, NICOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02285          THE MILLER FIRM, LLC

CAZARES, VERONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03699          ONDERLAW, LLC

CEA, ELIZABETH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10521          YAEGER LAW, PLLC

CEBALLOS, RITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09503          ONDERLAW, LLC

CEBALLOS, SONIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19910          CELLINO & BARNES, P.C.

CEBALLOS, THERESSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17146          ONDERLAW, LLC

CECCATO, RHONDA                   CA - SUPERIOR COURT - RIVERSIDE COUNTY       RIC1804316             SIMMONS HANLY CONROY

CECELIA THOMAS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18980          WEITZ & LUXENBERG

CECERE, JENNIFER                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

CECHURA, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CECHURA, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

CECHURA, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

CECHURA, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

CECIL, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07719          ASHCRAFT & GEREL, LLP

CECIL, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05997          MARLIN & SALTZMAN LLP

CECIL, ROSE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14409          ASHCRAFT & GEREL



                                                                             Page 203 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 205 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CECILIA CRAIG                  FEDERAL - MDL                                3:21-CV-19566          ONDERLAW, LLC

CECILIA HERNANDEZ              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18270          ONDERLAW, LLC

CECILIA PAPPAS                 NJ - STATE                                   ATL-L-003365-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

CEDERLE, LUCILLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19418          THE MILLER FIRM, LLC

CEJA, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01752          TRAMMELL PC

CELAURO, LUIGIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02299          MOTLEY RICE, LLC

CELESTINE, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13428          NACHAWATI LAW GROUP

CELESTINO, CHERRY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04360          JOHNSON BECKER, PLLC

CELI, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19516          JOHNSON LAW GROUP

CENA, ROXANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11372          DRISCOLL FIRM, P.C.

CENTENO, ELSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17050          ONDERLAW, LLC

CENTENO, JADIRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17726          ONDERLAW, LLC

CENTERS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13841          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CENTRILLA, EILEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12834          POGUST BRASLOW & MILLROOD, LLC

CENTRILLA, EILEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12834          POGUST BRASLOW & MILLROOD, LLC

CEPEDA, FATIMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14340          ARNOLD & ITKIN LLP

CEPHAS, LYNETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09097          ONDERLAW, LLC

CERCEO, ALINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07130          ONDERLAW, LLC

CERIGNY, MANDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11717          NACHAWATI LAW GROUP

CERNA, SONIA                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC620355               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CERNIGLIA, JANET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10662          HOLLAND LAW FIRM

CERRITOS, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02489          ONDERLAW, LLC

CERRITTO, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19162          NACHAWATI LAW GROUP

CERRONE, CHERI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13800          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CERRONE, CLAIRE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10138          ONDERLAW, LLC

CERRONE-KENNEDY, DELORES       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07895          PAUL LLP

CERVANTES, ALICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16489          NACHAWATI LAW GROUP

CERVANTES, LORRAINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05695          ONDERLAW, LLC

CESARIO, CHRISTINE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000776-21        GOLOMB & HONIK, P.C.

CESMAT, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02778          ONDERLAW, LLC

CESPEDES, RHONDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07032          ONDERLAW, LLC

CETINA, TANYA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17535          WEITZ & LUXENBERG

CHABINEC, ANGELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20772          ONDERLAW, LLC




                                                                          Page 204 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 206 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CHACON, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02035          JOHNSON LAW GROUP

CHADDOCK, GRACIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18997          NACHAWATI LAW GROUP

CHAFFEY, DEBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07498          ONDERLAW, LLC

CHAFFIN, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18988          NACHAWATI LAW GROUP

CHAFFINS, BARBARA WEAVER         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06032          DALIMONTE RUEB, LLP

CHAIN, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17961          ONDERLAW, LLC

CHAIREZ, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17412          JOHNSON LAW GROUP

CHAISSON, GRACE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09807          MORRIS BART & ASSOCIATES

CHAKALOS, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:14-CV-07079          KUHARSKI LEVITZ & GIOVINAZZO

CHAKALOS, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:14-CV-07079          MOTLEY RICE, LLC

CHALEKIAN, SUZANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18420          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

CHALIFOUR, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01798          JOHNSON LAW GROUP

CHALK, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02117          ONDERLAW, LLC

CHALKER, JEANETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18051          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CHALLENGER, VEDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14481          WATERS & KRAUS, LLP

CHAMBERLAIN, ANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06555          ONDERLAW, LLC

CHAMBERLAIN, BUCKY               NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-008455-20        WEITZ & LUXENBERG

CHAMBERLAIN, CAMILLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16825          ONDERLAW, LLC

CHAMBERLAIN, GERTRUDE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05870          KLINE & SPECTER, P.C.

CHAMBERLAIN, LYDIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02543          ONDERLAW, LLC

CHAMBERLIN, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00469          CELLINO & BARNES, P.C.

CHAMBERLIN, LEIGH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

CHAMBERLIN, LEIGH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CHAMBERLIN, LEIGH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CHAMBERLIN, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09064          BARON & BUDD, P.C.

CHAMBERLIN, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09064          JENNER LAW, P.C.

CHAMBERS, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19189          BARON & BUDD, P.C.

CHAMBERS, BERNICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16178          NACHAWATI LAW GROUP

CHAMBERS, BONNIE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHAMBERS, BONNIE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

CHAMBERS, BONNIE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

CHAMBERS, BONNIE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

CHAMBERS, BONNIE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

CHAMBERS, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00098          FLETCHER V. TRAMMELL



                                                                            Page 205 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                         Appendix A (Part 1) Page 207 of 702

           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CHAMBERS, CELINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15267          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHAMBERS, DIANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00196          ASHCRAFT & GEREL

CHAMBERS, DIANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00196          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHAMBERS, JANICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12402          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

CHAMBERS, JOANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16793          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

CHAMBERS, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11905          ASHCRAFT & GEREL, LLP

CHAMBERS, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11905          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHAMBERS, LATICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05459          ARNOLD & ITKIN LLP

CHAMBERS, LISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13313          NACHAWATI LAW GROUP

CHAMBERS, LULLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00958          HEYGOOD, ORR & PEARSON

CHAMBERS, MARJORIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07253          ONDERLAW, LLC

CHAMBERS, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10049          ONDERLAW, LLC

CHAMBERS, RUTH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15377          ONDERLAW, LLC

CHAMBERS, SYLVIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15805          COHEN & MALAD, LLP

CHAMBERS, SYLVIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15805          NIX PATTERSON & ROACH

CHAMBERS, VIRGINIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07702          ASHCRAFT & GEREL

CHAMBERS, VIRGINIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07702          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHAMBERS-WHITE, LATICE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19616          LEE COSSELL & CROWLEY, LLP

CHAMBLISS, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15578          GIRARDI & KEESE

CHAMPAGNE, CATHEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06882          POTTS LAW FIRM

CHAMPAGNE, MANNON             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11379          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CHAMPION, GENEVIEVE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09284          NAPOLI SHKOLNIK, PLLC

CHAMPION, HOLLIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03467          ONDERLAW, LLC

CHAMPION, JACKIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01277          ASHCRAFT & GEREL

CHAMPION, JACKIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01277          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHAMPION, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12405          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

CHAMPION, MINNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12567          THE SIMON LAW FIRM, PC

CHAMPION-COLEMAN, DORA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08920          DALIMONTE RUEB, LLP

CHANCE, HELEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18836          NACHAWATI LAW GROUP

CHANCELLOR, TRACI             NY - SUPREME COURT - NYCAL                   190155/2019            MEIROWITZ & WASSERBERG, LLP

CHANDLER, ANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06280          ENVIRONMENTAL LITIGATION GROUP, PC

CHANDLER, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02845          ONDERLAW, LLC

CHANDLER, CAROLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18871          NACHAWATI LAW GROUP

CHANDLER, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18383          ONDERLAW, LLC



                                                                         Page 206 of 1405
                             Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 208 of 702

             Claimant Name                          State Filed                       Docket Number                            Plaintiff Counsel

CHANDLER, DENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06864          THE ENTREKIN LAW FIRM

CHANDLER, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05515          ONDERLAW, LLC

CHANDLER, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10509          NACHAWATI LAW GROUP

CHANDLER, EMILY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02347          GOLDENBERGLAW, PLLC

CHANDLER, JESSICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16484          TORHOERMAN LAW LLC

CHANDLER, KELLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07459          ARNOLD & ITKIN LLP

CHANDLER, LYNANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16640          NACHAWATI LAW GROUP

CHANDLER, LYNANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03256          ONDERLAW, LLC

CHANDLER, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12897          GORI JULIAN & ASSOCIATES, P.C.

CHANDLER, SHAUNTIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18048          POTTS LAW FIRM

CHANDLER, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19723          ARNOLD & ITKIN LLP

CHANDLER, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07622          BARRETT LAW GROUP

CHANDLER, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02671          ONDERLAW, LLC

CHANEY, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07513          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHANEY, BOBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16516          HENINGER GARRISON DAVIS, LLC

CHANEY, JEANNINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13777          ONDERLAW, LLC

CHANEY, KRISTI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07783          THE DUGAN LAW FIRM, APLC

CHANEY, VALETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13242          GORI JULIAN & ASSOCIATES, P.C.

CHANG, HAE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13354          NACHAWATI LAW GROUP

CHANGUS, MYRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12202          ONDERLAW, LLC

CHAN-JONES, JAYDENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09003          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHANTHAPANYA, DAVAHN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05853          MOTLEY RICE, LLC

CHANTHAXOTH, SAMANTHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06150          ONDERLAW, LLC

CHAPA, JOANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06866          JOHNSON LAW GROUP

CHAPALA, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18054          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CHAPEL, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05520          POTTS LAW FIRM

CHAPIN, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03662          ARNOLD & ITKIN LLP

CHAPIN, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01466          FLETCHER V. TRAMMELL

CHAPMAN, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02515          ONDERLAW, LLC

CHAPMAN, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13238          NACHAWATI LAW GROUP

CHAPMAN, BERNADETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18395          NACHAWATI LAW GROUP
CHAPMAN, CHRISTOPHER & CHAPMAN,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002923-20        WEITZ & LUXENBERG
ANGELA
CHAPMAN, CRYSTAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01084          ONDERLAW, LLC

CHAPMAN, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10705          NACHAWATI LAW GROUP



                                                                             Page 207 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 209 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CHAPMAN, EVELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07894          HOLLAND LAW FIRM

CHAPMAN, JUNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03362          JOHNSON LAW GROUP

CHAPMAN, JUNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03362          LEVIN SIMES LLP

CHAPMAN, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08746          FLETCHER V. TRAMMELL

CHAPMAN, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04763          THE MILLER FIRM, LLC

CHAPMAN, LETHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16643          NACHAWATI LAW GROUP

CHAPMAN, MARGUERITE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01805          ASHCRAFT & GEREL

CHAPMAN, MARGUERITE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01805          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHAPMAN, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00192          ASHCRAFT & GEREL

CHAPMAN, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00192          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHAPMAN, MEREDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05263          POTTS LAW FIRM

CHAPMAN, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09295          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHAPMAN, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19401          NACHAWATI LAW GROUP

CHAPMAN, SHERRY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002390-20        GOLOMB & HONIK, P.C.

CHAPMAN, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00597          THE MILLER FIRM, LLC

CHAPMAN, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00120          MOTLEY RICE NEW JERSEY LLC

CHAPPELL, KELLY                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHAPPELL, KELLY                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

CHAPPELL, KELLY                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

CHAPPELL, KELLY                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

CHAPPELL, KELLY                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

CHAPPELL, LILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21813          ONDERLAW, LLC

CHAPPELL, REBBECCA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03936          MOTLEY RICE, LLC

CHAPPELL, ROXANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05683          NAPOLI SHKOLNIK, PLLC

CHAPUT, KIMBERLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03687          ONDERLAW, LLC

CHARBONNEAU, COLETTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15289          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CHARELLE, COURTNEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07156          NACHAWATI LAW GROUP

CHARLEBOIS, PAMELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01578          DEGARIS WRIGHT MCCALL

CHARLES DIFATTA JR.            IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CHARLES, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02492          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

CHARLES, DEBRA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002093-20        GOLOMB & HONIK, P.C.

CHARLES, ELERIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05134          ONDERLAW, LLC

CHARLES, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01027          SKIKOS, CRAWFORD, SKIKOS & JOSEPH




                                                                          Page 208 of 1405
                             Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 210 of 702

           Claimant Name                             State Filed                      Docket Number                              Plaintiff Counsel

CHARLES, ETHERIDGE D & PASTORE,   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00932-17AS       DARLENE; SIMON GREENSTONE PANATIER,

CHARLES, GRACE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16697          ASHCRAFT & GEREL

CHARLES, GRACE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16697          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHARLES, LORRAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16647          NACHAWATI LAW GROUP

CHARLES, NORALEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16416          ANDRUS WAGSTAFF, P.C.

CHARLES, ROSE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01681          GALANTE & BIVALACQUA LLC

CHARLES, ROSE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01681          POURCIAU LAW FIRM, LLC

CHARLES, ROSE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01681          THE CHEEK LAW FIRM

CHARLES, SILVA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16645          NACHAWATI LAW GROUP

CHARLES, TINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02596          ONDERLAW, LLC

CHARLES-ADAMS, CELIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHARLES-ADAMS, CELIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

CHARLES-ADAMS, CELIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

CHARLES-ADAMS, CELIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

CHARLES-ADAMS, CELIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

CHARLOTTE DELANEY                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CHARLOTTE SCHREIBER               FEDERAL - MDL                                3:21-CV-18799          FLETCHER V. TRAMMELL

CHARLOTTE WALTERS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18456          WEITZ & LUXENBERG

CHARMAINE KUMIEGA                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CHARMAINE MYERS                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CHARNOFF, PHYLLIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00506          JOHNSON BECKER, PLLC

CHARTER, MELINDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

CHARTER, MELINDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

CHARTER, MELINDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

CHASE, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09195          DAVIS, BETHUNE & JONES, L.L.C.

CHASE, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09286          ONDERLAW, LLC

CHASE, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHASE, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

CHASE, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

CHASE, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

CHASE, MELAGRETO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04401          ONDERLAW, LLC

CHASON, MEGAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17064          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHASON, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01371          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHASSE, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00347          ASHCRAFT & GEREL



                                                                             Page 209 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                         Appendix A (Part 1) Page 211 of 702

           Claimant Name                        State Filed                       Docket Number                               Plaintiff Counsel

CHASSE, CHRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00347          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHASTAIN, KATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04785          ONDERLAW, LLC

CHASTAIN, MARIBEL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03205          ONDERLAW, LLC

CHASTEEN, SARAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12558          JOHNSON LAW GROUP

CHATFIELD, CANDIDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08630          ROSS FELLER CASEY, LLP

CHATMAN, DAVIDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14368          JOHNSON LAW GROUP

CHATMON, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01135          POTTS LAW FIRM

CHAUDHRI, SHIREEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12676          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CHAVANA, ORALIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12018          NACHAWATI LAW GROUP

CHAVEZ, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05733          ONDERLAW, LLC

CHAVEZ, DIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16648          NACHAWATI LAW GROUP

CHAVEZ, EVANGELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02910          ONDERLAW, LLC

CHAVEZ, EVELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17441          THE MILLER FIRM, LLC

CHAVEZ, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12907          DIAMOND LAW

CHAVEZ, LAUREL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08560          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHAVEZ, LINDA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002424-20        GOLOMB & HONIK, P.C.

CHAVEZ, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08120          JASON J. JOY & ASSCIATES P.L.L.C.

CHAVEZ, MARIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13352          ROSS FELLER CASEY, LLP

CHAVEZ, MICHELLE              CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV328220             ASPEY, WATKINS & DIESEL, PLLC

CHAVEZ, MICHELLE              CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV328220             BURNS CHAREST LLP

CHAVEZ, MIRNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15581          GIRARDI & KEESE

CHAVEZ, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07909          ONDERLAW, LLC

CHAVEZ, RACHEL                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002619-21        WEITZ & LUXENBERG

CHAVEZ, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14569          DAVIS, BETHUNE & JONES, L.L.C.

CHAVEZ, SANJUANITA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01774          ONDERLAW, LLC

CHAVEZ, SHELSEA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09782          NACHAWATI LAW GROUP

CHAVEZ, SONIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05773          MOTLEY RICE, LLC

CHAVIRA, FRANCISCO            NY - SUPREME COURT - NYCAL                   190168/2019            MEIROWITZ & WASSERBERG, LLP

CHAVIRA, FRANCISCO V          NY - SUPREME COURT - NYCAL                   190168/2019            MEIROWITZ & WASSERBERG, LLP

CHAVIS, SHERITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09669          GORI JULIAN & ASSOCIATES, P.C.

CHAYTOR, LAURIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17748          ONDERLAW, LLC

CHEATHAM, DANESSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01960          ONDERLAW, LLC

CHEATHAM, ELIZABETH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08112          FLEMING, NOLEN & JEZ, LLP




                                                                         Page 210 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 212 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CHEATHAM, JOYCE MURRAY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13303          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CHEATHAM, MARJORIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18049          DALIMONTE RUEB, LLP

CHECKAN, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15528          JOHNSON LAW GROUP

CHEDAKA, NIKITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08667          MORRIS BART & ASSOCIATES

CHEEK, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08365          ONDERLAW, LLC

CHEEK, DIMETRIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002482-21        WEITZ & LUXENBERG

CHEEK, KARI                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV309242             THE MILLER FIRM, LLC

CHEELY-HALL, CINDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08248          MORELLI LAW FIRM, PLLC

CHEESE, ESTATE OF LISA A         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01125          CALCAGNO & ASSOCIATES, LLP

CHEGAR, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04277          ONDERLAW, LLC

CHELF, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05877          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHEN, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14243          ASHCRAFT & GEREL, LLP

CHEN, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14243          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHEN, CUI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14652          KLINE & SPECTER, P.C.

CHEN, MARIA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

CHEN, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11303          PARKER WAICHMAN, LLP

CHENAULT, DELORES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14825          LENZE LAWYERS, PLC

CHENAULT, DELORES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14825          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CHENEVERT, DUSTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16211          ARNOLD & ITKIN LLP

CHENEY, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19065          NACHAWATI LAW GROUP

CHENIER, ROSEMARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01192          COHEN & MALAD, LLP

CHENNAULT, WILLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02611          THE BENTON LAW FIRM, PLLC

CHENOFF, MARSHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15378          ONDERLAW, LLC

CHERAMIE, LYNN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12434          THE MILLER FIRM, LLC

CHERIM, LUCIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15107          SIMMONS HANLY CONROY

CHERMAK, JONI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06223          DIAMOND LAW

CHERNEY, ARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01326          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHERRA, NARINDER                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHERRA, NARINDER                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

CHERRA, NARINDER                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

CHERRA, NARINDER                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

CHERRIE, ALYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01621          PARKER WAICHMAN, LLP

CHERRY, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01317          ASHCRAFT & GEREL




                                                                            Page 211 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 213 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

CHERRY, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01317          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHERRY, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00785          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CHERRY, LISA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002321-20        GOLOMB & HONIK, P.C.

CHERRY, LUCILLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10977          NACHAWATI LAW GROUP

CHERRY, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09862          MOTLEY RICE, LLC

CHERRY, SHAVON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09823          ONDERLAW, LLC

CHERYL DWECK                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CHERYL HUGHEY                    FEDERAL - MDL                                3:21-CV-19569          ONDERLAW, LLC

CHERYL THOMPSON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15169          LENZE LAWYERS, PLC

CHERYL THOMPSON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15169          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CHESLEY, KENITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16656          NACHAWATI LAW GROUP

CHESMORE, PATSY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14244          ASHCRAFT & GEREL, LLP

CHESMORE, PATSY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14244          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHESNA, YVONNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11436          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CHESNUTT, MACKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHESNUTT, MACKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

CHESNUTT, MACKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

CHESNUTT, MACKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

CHESSON, EMMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12329          ONDERLAW, LLC

CHESTEEN, MOLLY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-414-14           PORTER & MALOUF, PA

CHESTEEN, MOLLY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-414-14           SEEGER WEISS LLP

CHESTEEN, MOLLY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-414-14           THE SMITH LAW FIRM, PLLC

CHESTER, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13198          THE SEGAL LAW FIRM

CHESTER, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10655          THE CARLSON LAW FIRM

CHESTER, VEDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13369          FLETCHER V. TRAMMELL

CHESTNUT, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07581          THE MILLER FIRM, LLC

CHESTON, ELOISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00598          THE MILLER FIRM, LLC

CHEVALIER, ROSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04647          THE MILLER FIRM, LLC

CHEVALIER, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11892          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHEW, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00192          ONDERLAW, LLC

CHEWNING, TANYA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03576          ONDERLAW, LLC

CHEZEN, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06211          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHIARAMONTE, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09379          ARNOLD & ITKIN LLP

CHIARAMONTE, PHYLLIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05960          VENTURA LAW



                                                                            Page 212 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 214 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CHIARAVALLOTI, JOSEPHINE       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002539-17        NAPOLI SHKOLNIK, PLLC

CHIARELLO, GERALDINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08254          FLETCHER V. TRAMMELL

CHIARI, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01841          BROWN CHIARI LLP

CHIAROLANZA, HAYDEE            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002323-20        GOLOMB & HONIK, P.C.

CHICK, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12820          MORELLI LAW FIRM, PLLC

CHIDERS, JONI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14463          FLETCHER V. TRAMMELL

CHIDINMA SALAKO                NJ - STATE                                   ATL-L-006056-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

CHILARSKI, MICHAEL             IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CHILD, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10912          ONDERLAW, LLC

CHILDERS, ATIM                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07223          ARNOLD & ITKIN LLP

CHILDERS, ISLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19480          NACHAWATI LAW GROUP

CHILDERS, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16955          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

CHILDERS, KIMAIKI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11848          NACHAWATI LAW GROUP

CHILDERS, TAHNEE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12348          ONDERLAW, LLC

CHILDERS, TERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12689          FRAZER PLC

CHILDERS, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09192          ONDERLAW, LLC

CHILDERSS, KATRINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12151          NACHAWATI LAW GROUP

CHILDRED, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18351          NACHAWATI LAW GROUP

CHILDRESS, GINNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11323          JOHNSON LAW GROUP

CHILDRESS, GINNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11323          LEVIN SIMES LLP

CHILDRESS, JULIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08534          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHILDRESS, MARTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13279          JOHNSON LAW GROUP

CHILDRESS, MARTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05874          ONDERLAW, LLC

CHILDRESS, TOWONNER            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16661          NACHAWATI LAW GROUP

CHILDS, CHERRIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15553          ONDERLAW, LLC

CHILDS, CLARISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12245          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHILES, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19951          NACHAWATI LAW GROUP

CHILES-PATT, CAROLYN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03256          ASHCRAFT & GEREL

CHILES-PATT, CAROLYN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03256          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHILTON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05980          ONDERLAW, LLC

CHIMENTO, CAROL                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2234-17          GOLOMB SPIRT GRUNFELD PC

CHIMENTO, GAIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHIMENTO, GAIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          ONDERLAW, LLC

CHIMENTO, GAIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          PORTER & MALOUF, PA



                                                                          Page 213 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                  Desc
                                                            Appendix A (Part 1) Page 215 of 702

              Claimant Name                        State Filed                       Docket Number                                  Plaintiff Counsel

CHIMENTO, GAIL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396             THE SMITH LAW FIRM, PLLC

CHIMITS, JUDI                    CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-00988028-CU-MT-CXC BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHIMITS, JUDI                    CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-00988028-CU-MT-CXC ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CHIMITS, JUDI                    CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-00988028-CU-MT-CXC THE SMITH LAW FIRM, PLLC

CHIMOCK, BERNADINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15583             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CHIN, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09210             THE DUGAN LAW FIRM, APLC

CHINAPANA, SUNITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09485             ONDERLAW, LLC

CHINEN, ADA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05821             JASON J. JOY & ASSCIATES P.L.L.C.

CHIOCCA, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03991             ONDERLAW, LLC

CHIODO, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17072             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHIPMAN, HEIDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08824             ONDERLAW, LLC

CHIPPS-HILVERDING, NANCY         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05688             NAPOLI SHKOLNIK, PLLC

CHIRA, MILLICENT                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14684             RODAL LAW, P.A.

CHISHOLM, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10686             KLINE & SPECTER, P.C.

CHISHOLM, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19489             NACHAWATI LAW GROUP

CHISLER, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10244             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHISM, FELICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16663             NACHAWATI LAW GROUP

CHISM, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09488             FLETCHER V. TRAMMELL

CHISM, ZABRINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16673             NACHAWATI LAW GROUP

CHISOLM, GEORGIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14403             ASHCRAFT & GEREL

CHITTUM, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17839             THE SEGAL LAW FIRM

CHITWOOD, MARGARET               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002246-20           GOLOMB & HONIK, P.C.

CHITWOOD, MARIETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10899             ASHCRAFT & GEREL, LLP

CHIUMIENTO, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15628             JOHNSON LAW GROUP

CHIZMAIDA, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12153             ASHCRAFT & GEREL

CHLUS, HEATHER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16609             ASHCRAFT & GEREL

CHLUS, HEATHER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16609             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHMELYNSKI, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14750             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHMURA, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07594             ASHCRAFT & GEREL, LLP

CHMURA, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07594             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHO, STEPHANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00517             JOHNSON BECKER, PLLC

CHOATE, GRETCHEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02341             DAVIS, BETHUNE & JONES, L.L.C.




                                                                            Page 214 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 216 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CHOATE, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

CHOATE, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

CHOATE, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

CHOATE, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

CHOATE, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20636          ONDERLAW, LLC

CHOATE, SHAWNE                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318635             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CHOI, FRANCINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10895          NAPOLI SHKOLNIK, PLLC

CHOI, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00958          ONDERLAW, LLC

CHOINIERE, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17110          GORI JULIAN & ASSOCIATES, P.C.

CHOLEWA, JANET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHOLEWA, JANET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

CHOLEWA, JANET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

CHOLEWA, JANET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

CHOLEWA, JANET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

CHOLEWA, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12105          MORELLI LAW FIRM, PLLC

CHOPYAK, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14504          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHOTOOSINGH, ASHLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10683          NACHAWATI LAW GROUP

CHOUINARD, DOLORES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16675          NACHAWATI LAW GROUP

CHOUINARD, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14759          ONDERLAW, LLC

CHOWDHRY, ASIMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18589          ONDERLAW, LLC

CHOWDHURY, SHAHEDA              GA - STATE COURT OF GWINNETT COUNTY          20-C-00166-S2          CHILDERS, SCHLUETER & SMITH, LLC

CHOWDHURY, SHAHEDA              GA - STATE COURT OF GWINNETT COUNTY          20-C-00166-S2          WILLIAMS KHERKHER HART BOUNDAS, LLP

CHREST, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07897          FLETCHER V. TRAMMELL

CHRETIEN, AVRIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12498          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

CHRISLEY, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13413          THE FERRARO LAW FIRM, P.A.

CHRISMAN, LEONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13574          NAPOLI SHKOLNIK PLLC

CHRIST, CLAIRE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19495          NACHAWATI LAW GROUP

CHRISTAKIS, VICKY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06019          THE SEGAL LAW FIRM

CHRISTEN, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15162          NAPOLI SHKOLNIK, PLLC

CHRISTENSEN, KARELEEN           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002325-20        GOLOMB & HONIK, P.C.

CHRISTENSEN, KITTY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09483          ARNOLD & ITKIN LLP

CHRISTENSEN, LEANNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19659          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CHRISTENSEN, MARINDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03635          ONDERLAW, LLC




                                                                           Page 215 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 217 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CHRISTENSON, JEAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12357          GOLDENBERGLAW, PLLC

CHRISTENSON, MICHELLE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

CHRISTENSON, MICHELLE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CHRISTENSON, MICHELLE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CHRISTI, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18992          JOHNSON LAW GROUP

CHRISTIAN, CARLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20555          DRISCOLL FIRM, P.C.

CHRISTIAN, COLLEEN             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002746-21        WEITZ & LUXENBERG

CHRISTIAN, FAYEJEAN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12211          ASHCRAFT & GEREL

CHRISTIAN, JOAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11594          GOLDENBERGLAW, PLLC

CHRISTIAN, LORIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19396          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CHRISTIAN, NANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18847          ANDRUS WAGSTAFF, P.C.

CHRISTIAN, RUGINER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08122          GORI JULIAN & ASSOCIATES, P.C.

CHRISTIAN, RUGINER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02712          ONDERLAW, LLC

CHRISTIAN, TRACY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08563          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHRISTIANSEN, CHRISTI          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18761          JOHNSON LAW GROUP

CHRISTIANSEN, COLLEEN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05675          ONDERLAW, LLC

CHRISTIANSEN, COLLEEN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10308          THE MILLER FIRM, LLC

CHRISTIANSEN, KAREN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09769          ONDERLAW, LLC

CHRISTIE, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13195          NACHAWATI LAW GROUP

CHRISTIE, TONYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05839          ONDERLAW, LLC

CHRISTINA ASHER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18514          ONDERLAW, LLC

CHRISTINA COLLINS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18070          WEITZ & LUXENBERG

CHRISTINA CONKLIN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17592          THE MILLER FIRM, LLC

CHRISTINA MONTIEL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18288          WEITZ & LUXENBERG

CHRISTINA POLITES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18222          ONDERLAW, LLC

CHRISTINE HICKS                FEDERAL - MDL                                3:21-CV-19774          ONDERLAW, LLC

CHRISTINE KINGSLEY             FEDERAL - MDL                                3:21-CV-18657          FLETCHER V. TRAMMELL

CHRISTINE MILLER               FEDERAL - MDL                                3:21-CV-19036          MOTLEY RICE, LLC

CHRISTINE PANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18365          ONDERLAW, LLC

CHRISTMAN, MARTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19183          NACHAWATI LAW GROUP

CHRISTMAN, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19499          NACHAWATI LAW GROUP

CHRISTOPHER, CATHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02664          ONDERLAW, LLC

CHRISTOPHER, JUDITH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:21-CV-01976              ONDERLAW, LLC
                               PA - PHILADELPHIA COUNTY COURT OF COMMON
CHRISTOPHER, KAREN                                                      180404579                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                               PLEAS



                                                                          Page 216 of 1405
                               Case 23-12825-MBK           Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                           Appendix A (Part 1) Page 218 of 702

               Claimant Name                         State Filed                  Docket Number                            Plaintiff Counsel
                                  PA - PHILADELPHIA COUNTY COURT OF COMMON
CHRISTOPHER, KAREN                                                         180404579              EISENBERG, ROTHWEILER, WINKLER
                                  PLEAS
CHRISTOPHER, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:20-CV-16120          NACHAWATI LAW GROUP

CHRISTOPHER, KELLY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1721-18      PARKER WAICHMAN, LLP

CHRISTOPHER, MARSHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11043      MARTIN BAUGHMAN, PLLC

CHRISTOPHER, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21155      CELLINO & BARNES, P.C.

CHRISTOPHER, PERLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12256      THE MILLER FIRM, LLC

CHRISTOPHERSEN, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451      DONALD L. SCHLAPPRIZZI P.C.

CHRISTOPHERSEN, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451      LENZE LAWYERS, PLC

CHRISTOPHERSEN, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CHRISTOPHERSON, SHIRLEY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05462      PETERSON & ASSOCIATE, P.C.

CHRISTOPHERSON, YVONNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09368      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHRISTY, KIMBERLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13188      JOHNSON LAW GROUP

CHROSTOFFERSEN, MERINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20072      ONDERLAW, LLC

CHROSTOWSKI, HEATHER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14969      HILLIARD MARTINEZ GONZALES, LLP

CHROWL, DEBORAH                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02744      ASHCRAFT & GEREL, LLP

CHROWL, DEBORAH                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02744      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHRUCH, SHERON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08146      FRAZER LAW LLC

CHRYSLER, SHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11891      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHRYSTLER, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09175      HOLLAND LAW FIRM

CHTAY, SAMIRAH                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002326-20    GOLOMB & HONIK, P.C.

CHUBB, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05692      NAPOLI SHKOLNIK, PLLC

CHUDY, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04381      TORHOERMAN LAW LLC

CHUDYK, KRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20771      CELLINO & BARNES, P.C.

CHUMBURIDZE, TEO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14295      ASHCRAFT & GEREL, LLP

CHUMBURIDZE, TEO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14295      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHURA, DEBORAH GAY                BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230663     PRESZLER LAW FIRM LLP

CHURCH, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01243      THE MILLER FIRM, LLC

CHURCH, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08188      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHURCH, JANE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003871-20    COHEN, PLACITELLA & ROTH, P.C.

CHURCH, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13842      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CHURCH, LILLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03548      LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

CHURCH, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14371      JOHNSON LAW GROUP

CHURCH, VIKKI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451      DONALD L. SCHLAPPRIZZI P.C.




                                                                             Page 217 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 219 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CHURCH, VIKKI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CHURCH, VIKKI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15056          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CHURCH, VIKKI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CHURCHILL, JANICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01685          THE SEGAL LAW FIRM

CHURCHILL, SHERRY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11336          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CIACCIO-BROWN, JANETTE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22184          DRISCOLL FIRM, P.C.

CIAMPA, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11812          ARNOLD & ITKIN LLP

CIAMPOLI, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02067          JOHNSON LAW GROUP

CIANCIO, ADRIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06692          THE SIMON LAW FIRM, PC

CIANCIOLA, ESTHER              IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CIANFRINI, CHRISTINE           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2719-15          GOLOMB SPIRT GRUNFELD PC

CIANI, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05188          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CICALA, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15319          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CICALESE, CHIARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02684          ONDERLAW, LLC

CICCARIELLO, KATHRYN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12737          THE DEATON LAW FIRM

CICCONE, KIM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15577          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

CICCONE, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04578          HEYGOOD, ORR & PEARSON

CICCONE, PHYLLIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14490          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CICERO, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00852          BROWN CHIARI LLP

CICHOSZ, PATRICIA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002183-20        GOLOMB & HONIK, P.C.

CIDILA, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05699          ONDERLAW, LLC

CIERS, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16112          ONDERLAW, LLC

CILELI, TULAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10967          NACHAWATI LAW GROUP

CILIBERTO, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07345          ONDERLAW, LLC

CILLI, SANTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05690          ONDERLAW, LLC

CIMINO, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21191          CELLINO & BARNES, P.C.

CIMINO, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05592          CELLINO & BARNES, P.C.

CINC, POMPILIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11172          WILLIAMS HART LAW FIRM

CINDY CARTHEL                  FEDERAL - MDL                                3:21-CV-19711          JOHNSON BECKER, PLLC

CINDY LOPRESTO                 FEDERAL - MDL                                3:21-CV-19076          MOTLEY RICE, LLC

CINDY LOPRESTO                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19076          MOTLEY RICE, LLC

CINTHIA DEVRIES                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02710          ASHCRAFT & GEREL, LLP

CINTHIA DEVRIES                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02710          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CINTRA, YORLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16679          NACHAWATI LAW GROUP



                                                                          Page 218 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 220 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CINTRON, BLANCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08342          COHEN & MALAD, LLP

CINTRON, ELMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00607          GOLOMB SPIRT GRUNFELD PC

CINTRON, MARTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

CINTRON, REGINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17763          ONDERLAW, LLC

CIPOLLA, LUCIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12425          SANDERS VIENER GROSSMAN, LLP

CIPPONERI, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11437          NACHAWATI LAW GROUP
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
CIPRIANI, GAIL                                                                190903904              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                 PLEAS
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
CIPRIANI, GAIL                                                                190903904              EISENBERG, ROTHWEILER, WINKLER
                                 PLEAS
CIPRIANI, GERALDINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06504          ONDERLAW, LLC

CIRRINCIONE, GIOSEPPINA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13122          CHAFFIN LUHANA LLP

CISCO, CAROLYN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CISCO, CAROLYN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

CISCO, CAROLYN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

CISCO, CAROLYN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

CISCO, CAROLYN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

CISNEROS, ANABEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14711          LENZE LAWYERS, PLC

CISNEROS, ANABEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14711          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CISNEROS, BRANDY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002441-20        GOLOMB & HONIK, P.C.

CISNEROS, MARI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02784          ONDERLAW, LLC

CITRON, ROBIN                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02664          ASHCRAFT & GEREL, LLP

CITRON, ROBIN                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02664          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CIUCHTA, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08275          BURNS CHAREST LLP

CIULLA, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04698          ONDERLAW, LLC

CIULLA, RENEE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002327-20        GOLOMB & HONIK, P.C.

CIVIDANES, MAGDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12943          CELLINO & BARNES, P.C.

CIZEWSKI, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05812          ONDERLAW, LLC

CLACK, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03947          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLAFFEY, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11792          POTTS LAW FIRM

CLAIBON, CHRISANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03670          FLETCHER V. TRAMMELL

CLAIBORNE, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14337          FRAZER PLC

CLAIR, KRISTI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03078          JOHNSON BECKER, PLLC

CLAIRE LOVE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18974          JOHNSON LAW GROUP

CLAIRE THOMASSON                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC




                                                                            Page 219 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 221 of 702

             Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

CLAKLEY, JESSICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10475          ARNOLD & ITKIN LLP

CLANCY, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18664          JOHNSON BECKER, PLLC

CLANCY, RANDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01537          WILLIAMS HART LAW FIRM

CLANCY, TASHINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12574          ASHCRAFT & GEREL, LLP

CLANCY, TASHINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12574          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARA ORSI                      FEDERAL - MDL                                3:21-CV-18724          FLETCHER V. TRAMMELL

CLARDY, BRYCANDIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02766          THE SEGAL LAW FIRM

CLARK, ADRIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11106          WAGSTAFF & CARTMELL, LLP

CLARK, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06589          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, ALLYSON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09183          DAVIS, BETHUNE & JONES, L.L.C.

CLARK, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09054          ONDERLAW, LLC

CLARK, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16744          ASHCRAFT & GEREL

CLARK, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16744          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00963          ONDERLAW, LLC

CLARK, BERNADETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01728          HENINGER, GARRISON, DAVIS, LLC

CLARK, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11875          ONDERLAW, LLC

CLARK, BOBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12678          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, BRANDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10667          NACHAWATI LAW GROUP

CLARK, BRIDGETT                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09865          FLETCHER V. TRAMMELL

CLARK, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10160          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, CHRISTIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03412          ONDERLAW, LLC

CLARK, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02548          ONDERLAW, LLC

CLARK, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02013          NACHAWATI LAW GROUP

CLARK, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11854          NACHAWATI LAW GROUP

CLARK, CONSTANCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17294          ONDERLAW, LLC

CLARK, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11274          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CLARK, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20176          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18268          DRISCOLL FIRM, P.C.

CLARK, DEBORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12993          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01126          ONDERLAW, LLC

CLARK, DELPHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02081          THE FERRARO LAW FIRM, P.A.

CLARK, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16845          JOHNSON LAW GROUP

CLARK, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12109          MORELLI LAW FIRM, PLLC

CLARK, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01140          NACHAWATI LAW GROUP



                                                                           Page 220 of 1405
                               Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                                Appendix A (Part 1) Page 222 of 702

               Claimant Name                           State Filed                       Docket Number                              Plaintiff Counsel

CLARK, DORSHELL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12990          HILLIARD MARTINEZ GONZALES, LLP

CLARK, EUTAWNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12150          ASHCRAFT & GEREL

CLARK, EVELYN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07189          ONDERLAW, LLC

CLARK, FELICIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11549          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, GWENDOLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10462          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, HELEN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09975          ONDERLAW, LLC

CLARK, IDA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11652          HARRISON DAVIS STEAKLEY MORRISON

CLARK, JACQUELINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08870          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CLARK, JACQUELINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02327          ONDERLAW, LLC

CLARK, JANICE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11361          SANDERS VIENER GROSSMAN, LLP

CLARK, JANICE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04019          THE SEGAL LAW FIRM

CLARK, JANIE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11706          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, JEANNE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07010          ONDERLAW, LLC

CLARK, JENNIFER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07114          ONDERLAW, LLC

CLARK, JOAN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18019          ASHCRAFT & GEREL

CLARK, JOAN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18019          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, JOANNE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08368          DANIEL & ASSOCIATES, LLC

CLARK, JUDITH                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16687          NACHAWATI LAW GROUP

CLARK, JUDY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16113          ONDERLAW, LLC

CLARK, JUNE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13838          JOHNSON LAW GROUP

CLARK, KATHERINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09963          GORI JULIAN & ASSOCIATES, P.C.

CLARK, KATHIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06345          ONDERLAW, LLC

CLARK, KATHLEEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03539          THE DEATON LAW FIRM

CLARK, KATRINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03147          WILLIAMS HART LAW FIRM

CLARK, KAYME                         NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03809-18AS       THE EARLY FIRM, LLC

CLARK, KAYME A. & CLARK, DUSTON W.   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03809-18AS       DEAN OMAR BRANHAM, LLP

CLARK, LADELL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16693          NACHAWATI LAW GROUP

CLARK, LAURA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08055          ROSS FELLER CASEY, LLP

CLARK, LINDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06560          ONDERLAW, LLC

CLARK, LINDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05660          ONDERLAW, LLC

CLARK, LINDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15902          THE BENTON LAW FIRM, PLLC

CLARK, LISA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16925          ONDERLAW, LLC

CLARK, MARIE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11320          JOHNSON LAW GROUP

CLARK, MARIE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11320          LEVIN SIMES LLP



                                                                                Page 221 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 223 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

CLARK, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18127          JOHNSON LAW GROUP

CLARK, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02177          JOHNSON LAW GROUP

CLARK, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11941          NACHAWATI LAW GROUP

CLARK, MINNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12415          JASON J. JOY & ASSCIATES P.L.L.C.

CLARK, MOZELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01652          DALIMONTE RUEB, LLP

CLARK, MYRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21176          ONDERLAW, LLC

CLARK, NANCY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002329-20        GOLOMB & HONIK, P.C.

CLARK, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09560          ONDERLAW, LLC

CLARK, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12621          ONDERLAW, LLC

CLARK, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05696          BURNS CHAREST LLP

CLARK, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05696          BURNS CHAREST LLP

CLARK, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

CLARK, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

CLARK, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

CLARK, QUEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10164          NAPOLI SHKOLNIK PLLC

CLARK, RANDALYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06172          HOLLAND LAW FIRM

CLARK, RENEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03273          ONDERLAW, LLC

CLARK, ROBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08971          MOTLEY RICE, LLC

CLARK, ROSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19194          NACHAWATI LAW GROUP

CLARK, ROSALYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17708          ONDERLAW, LLC

CLARK, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16700          NACHAWATI LAW GROUP

CLARK, ROSEMARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08108          ONDERLAW, LLC

CLARK, ROSEMARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10924          SANDERS VIENER GROSSMAN, LLP

CLARK, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10252          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, SHAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09027          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CLARK, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16697          NACHAWATI LAW GROUP

CLARK, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14577          DAVIS, BETHUNE & JONES, L.L.C.

CLARK, SUNANTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00520          JOHNSON BECKER, PLLC

CLARK, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07874          FLETCHER V. TRAMMELL

CLARK, TABITHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04646          ONDERLAW, LLC

CLARK, TARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15164          NAPOLI SHKOLNIK, PLLC

CLARK, TEAUNNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05711          ONDERLAW, LLC




                                                                            Page 222 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 224 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CLARK, TERICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16848          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, TRISTAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13279          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK, WENDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01717          JOHNSON LAW GROUP

CLARK, ZELMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02436          ONDERLAW, LLC

CLARKE, KRISTEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08204          ONDERLAW, LLC

CLARKE, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01174          GORI JULIAN & ASSOCIATES, P.C.

CLARKE, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07761          ONDERLAW, LLC

CLARKE, TRISHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04147          FLETCHER V. TRAMMELL

CLARKE, WALDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13143          BARRETT LAW GROUP

CLARK-HANSEN, LAURA           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARK-HANSEN, LAURA           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

CLARK-HANSEN, LAURA           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

CLARK-HANSEN, LAURA           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

CLARK-HANSEN, LAURA           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

CLARK-HESTER, TAMMY           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

CLARK-HESTER, TAMMY           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

CLARK-HESTER, TAMMY           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

CLARK-PARKER, GERTRUDE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11422          NACHAWATI LAW GROUP

CLARKSON, DENITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01480          ONDERLAW, LLC

CLARKSON, WILMA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16745          ASHCRAFT & GEREL

CLARKSON, WILMA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16745          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLARSON, GENA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01248          JOHNSON LAW GROUP

CLARY, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08883          ONDERLAW, LLC

CLARY-JONES, SHARON           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06551          ONDERLAW, LLC

CLASS, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10163          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLATTERBUCK, DEBORAH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14807          LENZE LAWYERS, PLC

CLATTERBUCK, DEBORAH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14807          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CLAUDIA HOLLAND               DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02754          ASHCRAFT & GEREL

CLAUDIA HOLLAND               DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02754          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLAUDY, NAOMI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00924          MORRIS BART & ASSOCIATES

CLAUSELL, CATOYA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17210          ONDERLAW, LLC

CLAUSER, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06165          FLETCHER V. TRAMMELL

CLAUSS, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09617          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLAVARIO, MARIA               MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                         Page 223 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 225 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

CLAVARIO, MARIA                  MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC

CLAVARIO, MARIA                  MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

CLAVARIO, MARIA                  MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

CLAVETTE, GUILDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01462          HANNON LAW FIRM, LLC

CLAVON, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08276          ONDERLAW, LLC

CLAWSON, EVELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16703          NACHAWATI LAW GROUP

CLAXTON, CHRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02647          ONDERLAW, LLC

CLAXTON, FELICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13350          NACHAWATI LAW GROUP

CLAY, JOCELYNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01514          ONDERLAW, LLC

CLAY, KAROLINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03971          THE SEGAL LAW FIRM

CLAY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11205          ONDERLAW, LLC

CLAY, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00756          ONDERLAW, LLC

CLAY, SHAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04831          ONDERLAW, LLC

CLAY, SONJA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16707          NACHAWATI LAW GROUP

CLAYBAUGH, DEBORAH               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002184-20        GOLOMB & HONIK, P.C.

CLAYBERGER, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15506          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLAYBORN, VERA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07169          ONDERLAW, LLC

CLAYCOMB, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19811          NACHAWATI LAW GROUP

CLAYTON, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01215          ASHCRAFT & GEREL

CLAYTON, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01215          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLAYTON, CRISTI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01897          ONDERLAW, LLC

CLAYTON, LAURETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16611          ASHCRAFT & GEREL

CLAYTON, LAURETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16611          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLAYTON, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01335          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLAYTON, SILVIA                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC705654               AHDOOT & WOLFSON, PC

CLAYTON, SILVIA                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC705654               ASPEY, WATKINS & DIESEL, PLLC

CLAYTON, ZENOVIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06699          THE SIMON LAW FIRM, PC

CLAYTOR, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16709          NACHAWATI LAW GROUP

CLEAR, ARICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13610          DRISCOLL FIRM, P.C.

CLEAR, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06839          SULLO & SULLO, LLP

CLEARY, JULIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00080          FLETCHER V. TRAMMELL

CLEGHORN, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16626          NACHAWATI LAW GROUP

CLELLAND, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19505          NACHAWATI LAW GROUP

CLEM, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05935          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 224 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                          Appendix A (Part 1) Page 226 of 702

            Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

CLEM, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04206          ONDERLAW, LLC

CLEMANS, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05761          ASHCRAFT & GEREL

CLEMANS, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05761          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLEMENCE, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13573          NACHAWATI LAW GROUP

CLEMENS, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04296          ASHCRAFT & GEREL

CLEMENS, LORETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02324          JOHNSON LAW GROUP

CLEMENS, PAULIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06682          ONDERLAW, LLC

CLEMENT, ANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03846          THE KING FIRM

CLEMENTE, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12195          ONDERLAW, LLC

CLEMENTE, ROSA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001107-21        GOLOMB & HONIK, P.C.

CLEMENTS, AMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLEMENTS, AMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

CLEMENTS, AMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

CLEMENTS, AMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

CLEMENTS, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04160          ONDERLAW, LLC

CLEMENTS, NITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08532          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLEMENTS, PENELOPE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16662          NACHAWATI LAW GROUP

CLEMENTS, RENEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13029          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLEMENTS, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03796          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLEMMONS, ELIZABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00599          THE MILLER FIRM, LLC

CLEMMONS, JEANETTE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002753-21        WEITZ & LUXENBERG

CLEMON, FRANKIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03923          ONDERLAW, LLC

CLEMONS, KERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13532          JOHNSON LAW GROUP

CLEMONS, MANDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08758          ONDERLAW, LLC

CLEMONS, TESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04744          ONDERLAW, LLC

CLESTER, LOIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02914          ONDERLAW, LLC

CLEVELAND, CONNIE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003276-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

CLEVELAND, DELOIS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06341          ONDERLAW, LLC

CLEVELAND, DOLORES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10741          NACHAWATI LAW GROUP

CLEVELAND, SHANNON             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03682          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLEVENGER, LORI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14755          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLEVERLEY, VERNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12530          THE MILLER FIRM, LLC

CLEVINGER, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19604          MORELLI LAW FIRM, PLLC




                                                                          Page 225 of 1405
                               Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                               Appendix A (Part 1) Page 227 of 702

               Claimant Name                          State Filed                      Docket Number                            Plaintiff Counsel

CLICK, DIANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08377          CHILDERS, SCHLUETER & SMITH, LLC

CLICK, HEATHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06209          FLETCHER V. TRAMMELL

CLICK, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01016          NAPOLI SHKOLNIK, PLLC

CLIFF, JERI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05102          WILLIAMS HART LAW FIRM

CLIFF, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07637          ONDERLAW, LLC

CLIFF, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06001          THE WHITEHEAD LAW FIRM, LLC

CLIFFORD, EMMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21873          ASHCRAFT & GEREL, LLP

CLIFFORD, GAIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15769          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CLIFFORD, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16658          NACHAWATI LAW GROUP

CLIFFORD, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06086          THE ENTREKIN LAW FIRM

CLIFFORD, SHARYN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2578-17          THE MILLER FIRM, LLC

CLIFFORD, VERA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01526          ONDERLAW, LLC

CLIFT, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13282          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLIFTON, JOYCE                     CA - SUPERIOR COURT - ALAMEDA COUNTY         RG18897918             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
CLIFTON, REJEANA ESTATE OF JAMES
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003946-21        WEITZ & LUXENBERG
CLIFTON
CLINARD, GRACE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05138          ONDERLAW, LLC

CLINE, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02799          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLINE, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02895          ONDERLAW, LLC

CLINE, CHERYL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08840          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLINE, DIANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00158          ONDERLAW, LLC

CLINE, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09499          THE MILLER FIRM, LLC

CLINE, LAURIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002968-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

CLINE, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09249          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLINE, NATALIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13092          TRAMMELL PC

CLINE, PEARL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06088          ONDERLAW, LLC

CLINE, PENELOPE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14056          JOHNSON LAW GROUP

CLINE, REBEKAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03121          FLETCHER V. TRAMMELL

CLINE, TONI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16355          ONDERLAW, LLC

CLINEFF, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17126          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

CLINGAN, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12504          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

CLINKENBEARD, ABIGALE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

CLINKENBEARD, ABIGALE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLINKENBEARD, ABIGALE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC




                                                                              Page 226 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 228 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CLINKENBEARD, ABIGALE            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

CLINKENBEARD, ABIGALE            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

CLINKSCALES, NAOMI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17304          TRAMMELL PC

CLINTON, JAQUEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13553          HILLIARD MARTINEZ GONZALES, LLP

CLINTON, MARION                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16664          NACHAWATI LAW GROUP

CLINTON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16665          NACHAWATI LAW GROUP

CLIVER, SUSAN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001044-21        GOLOMB & HONIK, P.C.

CLIVIO, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10749          NACHAWATI LAW GROUP

CLOBES-WYNN, KATRINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09785          CORRIE YACKULIC LAW FIRM, PLLC

CLOBES-WYNN, KATRINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09785          RIVERA LAW OFFICES, PLLC

CLOO, CHERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13610          PARKER WAICHMAN, LLP

CLORISA MARTINEZ                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18388          ONDERLAW, LLC

CLOSE, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09586          ONDERLAW, LLC

CLOSSER, BELINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00240          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CLOUD, ANJILLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09906          ONDERLAW, LLC

CLOUD, CANDACE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10527          THE MILLER FIRM, LLC

CLOUD, KIKUE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16666          NACHAWATI LAW GROUP

CLOUD, REGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00692          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLOUD, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10150          GOLOMB SPIRT GRUNFELD PC

CLOUGH, LYNNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03071          ONDERLAW, LLC

CLOUGH, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02876          PARKER WAICHMAN, LLP

CLOUSER, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16087          NACHAWATI LAW GROUP

CLOUSER, BLANCHE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06258          BOHRER LAW FIRM, LLC

CLOUSER, BLANCHE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06258          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

CLOUSER, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08749          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CLOUTIER, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16753          ASHCRAFT & GEREL

CLOUTIER, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16753          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLOVER, RANAE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06165          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CLOYD, ASHLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01935          ONDERLAW, LLC

CLUBB, MARZELL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19136          ONDERLAW, LLC

CLUFF, GAYLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17295          ASHCRAFT & GEREL, LLP

CLUFF, GAYLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17295          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLUGSTON, NICOLE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-0813-15          GOLOMB SPIRT GRUNFELD PC

CLUNIS, EMITY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11183          NACHAWATI LAW GROUP



                                                                            Page 227 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 229 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CLUTS, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07527          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLYBURN, BRIDGETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15912          ASHCRAFT & GEREL, LLP

CLYBURN, BRIDGETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15912          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CLYBURN, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15500          WILLIAMS HART LAW FIRM

CLYMA, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08370          ONDERLAW, LLC

COAKLEY, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00022          ROURKE AND BLUMENTHAL, LLP

COAKLEY, ETHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16985          ARNOLD & ITKIN LLP

COALSON, MICHAEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00499          DIAMOND LAW

COATES, BRIDGET                   IL - CIRCUIT COURT - COOK COUNTY             2018-L-1625            CLIFFORD LAW OFFICES, P.C.

COATES, BRIDGET                   IL - CIRCUIT COURT - COOK COUNTY             2018-L-1625            TAFT STETTINIUS & HOLLISTER LLP

COATES, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04737          THE BENTON LAW FIRM, PLLC

COATES, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18051          ONDERLAW, LLC

COATNEY, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14515          HILLIARD MARTINEZ GONZALES, LLP

COATS, CAEOL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09199          ONDERLAW, LLC

COATS, OLEVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16672          NACHAWATI LAW GROUP

COATS, ROBERT                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

COBB, ALICE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002095-20        GOLOMB & HONIK, P.C.

COBB, CATHERINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08683          MORRIS BART & ASSOCIATES

COBB, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02349          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COBB, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02349          JOHNSON LAW GROUP

COBB, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02349          LEVIN SIMES LLP

COBB, GLADYS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16160          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

COBB, LESLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11668          NACHAWATI LAW GROUP

COBB, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14258          DRISCOLL FIRM, P.C.

COBB, RONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02124          FLETCHER V. TRAMMELL

COBB, TAMI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08038          HOLLAND LAW FIRM

COBB, VANDRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERG HELLER & ANTOGNOLI, PC

COBB, VANDRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

COBB, VANDRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

COBB, VANDRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

COBBS, ALEXANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10891          ONDERLAW, LLC

COBBS, NICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01760          ONDERLAW, LLC

COBBS, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14477          THE CHEEK LAW FIRM

COBBS-GREEN, ANDREA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20216          MOTLEY RICE, LLC



                                                                             Page 228 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 230 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

COBERN, BILLIEMAE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05484          ONDERLAW, LLC

COBLE, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10869          THE MILLER FIRM, LLC

COBLE, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05417          ONDERLAW, LLC

COBLENTZ, VERNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16867          THE SEGAL LAW FIRM

COBURN, YVONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21817          ONDERLAW, LLC

COCA, TANYA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01567          BURNS CHAREST LLP

COCA, TANYA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01567          BURNS CHAREST LLP

COCCA, BETH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16570          THE MILLER FIRM, LLC

COCCO, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09533          ROSS FELLER CASEY, LLP

COCHELL, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06205          ONDERLAW, LLC

COCHRAN, DANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14224          BARON & BUDD, P.C.

COCHRAN, GWENDOLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12156          BARRETT LAW GROUP

COCHRAN, LILLIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12159          PARKER WAICHMAN, LLP

COCHRAN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12467          MORGAN & MORGAN

COCHRAN, SARAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03878          THE SEGAL LAW FIRM

COCHRANE, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16497          GORI JULIAN & ASSOCIATES, P.C.

COCKERHAM, BRENDA                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

COCKRAN, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18417          NACHAWATI LAW GROUP

COCKRELL, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03423          ONDERLAW, LLC

COCKRELL, REGINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09560          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COCKRELL, SELMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03450          ONDERLAW, LLC

COCKROFT, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06155          ONDERLAW, LLC

COCKRUM, LAURICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20877          ONDERLAW, LLC

COCO, RUTH                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21075          ASHCRAFT & GEREL, LLP

COCO, RUTH                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21075          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COCOZZA, JAMIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004169-20        GOLOMB & HONIK, P.C.

CODDINGTON, SHAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08735          ONDERLAW, LLC

CODI, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10992          ONDERLAW, LLC

CODRINGTON, RUTH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07133          ONDERLAW, LLC

CODY, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05936          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CODY, HANNAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19240          NACHAWATI LAW GROUP

CODY, MARILYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19222          NACHAWATI LAW GROUP

CODY, MARTHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08382          DANIEL & ASSOCIATES, LLC

COE, JUDITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05851          ONDERLAW, LLC



                                                                             Page 229 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 231 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

COE, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00522          JOHNSON BECKER, PLLC

COE, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09390          ONDERLAW, LLC

COE, SHERI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09673          ONDERLAW, LLC

COEN, JOANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09919          ONDERLAW, LLC

COFFEL, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08176          FLETCHER V. TRAMMELL

COFFEY, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09248          LENZE KAMERRER MOSS, PLC

COFFEY, LAUREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07837          ASHCRAFT & GEREL

COFFEY, LAUREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COFFEY, VERNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14379          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COFFIN, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20094          NACHAWATI LAW GROUP

COFFIN, LYNN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001466-20        GOLOMB & HONIK, P.C.

COFFINGER, CHRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16892          ASHCRAFT & GEREL

COFFINGER, CHRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16892          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COFFMAN, ASHLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11743          SLATER, SLATER, SCHULMAN, LLP

COFFMAN, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17168          ONDERLAW, LLC

COGAN, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08331          ONDERLAW, LLC

COGAR, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03189          GORI JULIAN & ASSOCIATES, P.C.

COGDELL, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11064          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

COGDILL, APRIL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19338          NACHAWATI LAW GROUP

COGHILL, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02140          ONDERLAW, LLC

COGLIANDRO, KELLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04348          ASHCRAFT & GEREL

COGORNO, PIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02162          JOHNSON LAW GROUP

COGSWORTH, NORMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18966          NACHAWATI LAW GROUP

COHAN, AGNES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07690          ONDERLAW, LLC

COHAN, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12863          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
COHEE, PAMELA & EST OF VINCENT
                                 NY - SUPREME COURT - NYCAL                   190082/2018            MEIROWITZ & WASSERBERG, LLP
COHEE
COHEN, ALEXANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17764          ONDERLAW, LLC

COHEN, AMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12882          DRISCOLL FIRM, P.C.

COHEN, CONNIE                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004448-21        LEVY KONIGSBERG LLP

COHEN, CONNIE                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004448-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD

COHEN, CONSUELO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12063          LEVIN SIMES ABRAMS LLP

COHEN, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03678          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COHEN, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03379          ONDERLAW, LLC

COHEN, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06026          TORHOERMAN LAW LLC



                                                                            Page 230 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 232 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

COHEN, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16877          THE MILLER FIRM, LLC

COHEN, MINNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08183          NAPOLI SHKOLNIK, PLLC

COHEN, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12111          MORELLI LAW FIRM, PLLC

COHEN, SARI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14780          SULLO & SULLO, LLP

COHEN, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19306          DRISCOLL FIRM, P.C.

COHEN, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16209          NACHAWATI LAW GROUP

COHN, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15234          BERNSTEIN LIEBHARD LLP

COHN, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16702          NACHAWATI LAW GROUP

COHN, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17490          ONDERLAW, LLC

COHN-SHARON, LILLIAN             IL - CIRCUIT COURT - COOK COUNTY             2018-L-1629            CLIFFORD LAW OFFICES, P.C.

COHRS, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18425          JOHNSON LAW GROUP

COKER, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16794          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

COKER, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08591          NACHAWATI LAW GROUP

COLANDRA, BARBARA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-303-18           GOLOMB SPIRT GRUNFELD PC

COLANDRA, BARBARA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-303-18           LUNDY, LUNDY, SOILEAU & SOUTH, LLP

COLANGELO, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19026          RAIPHER PC

COLATA, SERA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07460          ARNOLD & ITKIN LLP

COLATA, SERA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02342          ONDERLAW, LLC

COLBERT, BRANDIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17742          CELLINO & BARNES, P.C.

COLBERT, EMILY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04376          DIAMOND LAW

COLBERT, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09990          GORI JULIAN & ASSOCIATES, P.C.

COLBERT, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15054          JOHNSON LAW GROUP

COLBETH, SUZANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13320          WILLIAMS HART LAW FIRM

COLBURN, NICHOLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09674          NACHAWATI LAW GROUP

COLBY, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00826          GOLOMB SPIRT GRUNFELD PC

COLCLOUGH, WILLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00769          ONDERLAW, LLC

COLE, ANGILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08286          FLETCHER V. TRAMMELL

COLE, CANDACE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05136          ONDERLAW, LLC

COLE, CHARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17354          ONDERLAW, LLC

COLE, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17211          ONDERLAW, LLC

COLE, COLETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06061          ONDERLAW, LLC

COLE, DEMETRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19462          SANDERS PHILLIPS GROSSMAN, LLC

COLE, EUGENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00423          NAPOLI SHKOLNIK, PLLC




                                                                            Page 231 of 1405
                              Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                                Appendix A (Part 1) Page 233 of 702

              Claimant Name                            State Filed                      Docket Number                            Plaintiff Counsel

COLE, FREEDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03009          JOHNSON LAW GROUP

COLE, FREEDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04836          ONDERLAW, LLC

COLE, GLADYS                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20132          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLE, JEANETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10117          ONDERLAW, LLC

COLE, JOHN ESTATE OF ROBERTA COLE   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-07272-18AS       LEVY KONIGSBERG LLP

COLE, KAREN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15546          ONDERLAW, LLC

COLE, KATHERINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06637          ONDERLAW, LLC

COLE, LAUREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17491          ONDERLAW, LLC

COLE, LINDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02592          ONDERLAW, LLC

COLE, LISA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09932          ONDERLAW, LLC

COLE, LOLITA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13127          JOHNSON LAW GROUP

COLE, LONI                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

COLE, LONI                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

COLE, LONI                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COLE, LUGENIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02790          ONDERLAW, LLC

COLE, LWANDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01709          ONDERLAW, LLC

COLE, MARILYN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00416          ASHCRAFT & GEREL

COLE, MARILYN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00416          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLE, MARY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09155          BARON & BUDD, P.C.

COLE, MASHEILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19393          MOTLEY RICE, LLC

COLE, MILDRED                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15585          GIRARDI & KEESE

COLE, PATRICIA WILBANKS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12618          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

COLE, PAULA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06525          BURNS CHAREST LLP

COLE, ROBIN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19439          ARNOLD & ITKIN LLP

COLE, SAVANNAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02147          ONDERLAW, LLC

COLE, SHEMEKA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12349          ONDERLAW, LLC

COLE, TANYA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02153          ARNOLD & ITKIN LLP

COLE, TONIA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02350          JOHNSON LAW GROUP

COLE, VELDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06814          BARON & BUDD, P.C.

COLE, VELMA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16714          NACHAWATI LAW GROUP

COLE, VONSEAL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLE, VONSEAL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

COLE, VONSEAL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA




                                                                               Page 232 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 234 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

COLE, VONSEAL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

COLE-GRAHAM, YVETTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08286          THE MILLER FIRM, LLC

COLELLA, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08439          THE DUGAN LAW FIRM, APLC

COLELLA, SHARON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05214          GORI JULIAN & ASSOCIATES, P.C.

COLELLO, MELISSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13961          OSBORNE, ASSOCIATES LAW FIRM, P.A.

COLELLO, MELISSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13961          WILLIAMS HART LAW FIRM

COLEMAN, AISHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11611          ONDERLAW, LLC

COLEMAN, AMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04184          ONDERLAW, LLC

COLEMAN, ANNETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13367          NACHAWATI LAW GROUP

COLEMAN, ARLETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06477          ONDERLAW, LLC

COLEMAN, BEVERLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00938          ONDERLAW, LLC

COLEMAN, BEVERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02846          ONDERLAW, LLC

COLEMAN, BILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14752          LENZE LAWYERS, PLC

COLEMAN, BILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14752          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COLEMAN, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08667          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLEMAN, CAROLANN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08855          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLEMAN, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05952          MURRAY LAW FIRM

COLEMAN, CHERRIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13251          ASHCRAFT & GEREL

COLEMAN, CHERRIE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1313-16          ASHCRAFT & GEREL

COLEMAN, CHERRIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08430          DALIMONTE RUEB, LLP

COLEMAN, CHERRIE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1313-16          GOLOMB SPIRT GRUNFELD PC

COLEMAN, CORONIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10001          FLETCHER V. TRAMMELL

COLEMAN, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10433          GOLDENBERGLAW, PLLC

COLEMAN, DENISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02947          ONDERLAW, LLC

COLEMAN, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01469          ONDERLAW, LLC

COLEMAN, ERIKA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12156          DRISCOLL FIRM, P.C.

COLEMAN, EVA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02142          GOLDENBERGLAW, PLLC

COLEMAN, JAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03017          FLETCHER V. TRAMMELL

COLEMAN, KIMBERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00607          ASHCRAFT & GEREL, LLP

COLEMAN, KIMBERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13831          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLEMAN, LAVERNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12407          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

COLEMAN, LEATHE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13042          THE BENTON LAW FIRM, PLLC

COLEMAN, LEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08859          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLEMAN, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00190          ASHCRAFT & GEREL



                                                                         Page 233 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 235 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

COLEMAN, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00190          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLEMAN, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05890          ONDERLAW, LLC

COLEMAN, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15504          ONDERLAW, LLC

COLEMAN, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14545          FLETCHER V. TRAMMELL

COLEMAN, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01156          COHEN & MALAD, LLP

COLEMAN, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01156          DELISE & HALL

COLEMAN, MRYTLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16752          ASHCRAFT & GEREL

COLEMAN, MRYTLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16752          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLEMAN, OLIVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09565          DALIMONTE RUEB, LLP

COLEMAN, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09036          THE MILLER FIRM, LLC

COLEMAN, PRISCILLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11895          DAVIS, BETHUNE & JONES, L.L.C.

COLEMAN, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16292          JOHNSON LAW GROUP

COLEMAN, ROHNDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13571          NACHAWATI LAW GROUP

COLEMAN, SARAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06742          ONDERLAW, LLC

COLEMAN, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02826          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLEMAN, TONA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLEMAN, TONA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

COLEMAN, TONA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

COLEMAN, TONA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

COLEMAN, TONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06669          ONDERLAW, LLC

COLEMAN, WILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09008          THE MILLER FIRM, LLC

COLEMAN, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07612          JOHNSON BECKER, PLLC

COLEMAN-NEAL, ROSALIND           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20569          ONDERLAW, LLC

COLEMAN-SANDOVAL, TONYA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08561          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLEMERE, JOY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13426          ONDERLAW, LLC

COLES, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10693          NACHAWATI LAW GROUP

COLETTE, WENDEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10646          BLIZZARD & NABERS, LLP

COLEY, EDNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12409          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

COLEY, ELICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06431          JOEL E. BROWN & ASSOCIATES, P.C.

COLEY, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00171          ASHCRAFT & GEREL

COLEY, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00171          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLEY, NANETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16721          NACHAWATI LAW GROUP

COLEY, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16729          NACHAWATI LAW GROUP

COLGRAVE, ROSALEE                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC



                                                                            Page 234 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 236 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

COLGROVE, CATHRYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03761          ASHCRAFT & GEREL, LLP

COLGROVE, CATHRYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03761          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLGROVE, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00770          ONDERLAW, LLC

COLISTER, ETHEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00889          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLLAZO, BRUNILDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18920          NACHAWATI LAW GROUP

COLLAZO, HARRIET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16768          NACHAWATI LAW GROUP

COLLEN, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09479          THE MILLER FIRM, LLC

COLLETT, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10399          GORI JULIAN & ASSOCIATES, P.C.

COLLETT, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09433          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLLETTE MURRAY                FEDERAL - MDL                                3:21-CV-19807          JOHNSON BECKER, PLLC

COLLETTE MURRAY                FEDERAL - MDL                                3:21-CV-19807          JOHNSON BECKER, PLLC

COLLETTE, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19075          CELLINO & BARNES, P.C.

COLLEVECHIO, KELLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09642          MORELLI LAW FIRM, PLLC

COLLEY, SHAUNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08232          HENINGER GARRISON DAVIS, LLC

COLLIER, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16759          NACHAWATI LAW GROUP

COLLIER, PATIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12083          DALIMONTE RUEB, LLP

COLLIER, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00535          BARON & BUDD, P.C.

COLLIER, TERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13348          GOLOMB SPIRT GRUNFELD PC

COLLIGAN, SUE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11103          ONDERLAW, LLC

COLLING, HOPE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14898          LENZE LAWYERS, PLC

COLLING, HOPE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14898          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COLLINS, ALLEAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06487          ONDERLAW, LLC

COLLINS, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08288          THE MILLER FIRM, LLC

COLLINS, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02566          THE SEGAL LAW FIRM

COLLINS, BERNICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18424          NACHAWATI LAW GROUP

COLLINS, BERNICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05497          ONDERLAW, LLC

COLLINS, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10666          NACHAWATI LAW GROUP

COLLINS, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04402          ONDERLAW, LLC

COLLINS, CLARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00943          JOHNSON LAW GROUP

COLLINS, CLARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12691          ONDERLAW, LLC

COLLINS, CLAUDIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09627          ASHCRAFT & GEREL

COLLINS, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07989          BURNS CHAREST LLP

COLLINS, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07989          BURNS CHAREST LLP

COLLINS, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09288          ONDERLAW, LLC



                                                                          Page 235 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 237 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

COLLINS, DAPHNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06021          ONDERLAW, LLC

COLLINS, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11599          NACHAWATI LAW GROUP

COLLINS, DEETTA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002953-21        WEITZ & LUXENBERG

COLLINS, DELOISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09121          ONDERLAW, LLC

COLLINS, DENISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16749          NACHAWATI LAW GROUP

COLLINS, DOLORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

COLLINS, DOLORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

COLLINS, DOLORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COLLINS, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18823          FLETCHER V. TRAMMELL

COLLINS, EDANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12694          MORELLI LAW FIRM, PLLC

COLLINS, ERMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10610          LIAKOS LAW APC

COLLINS, ESTHER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03849          BARRETT LAW GROUP

COLLINS, EULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15208          JOHNSON LAW GROUP

COLLINS, EVA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05728          ONDERLAW, LLC

COLLINS, FREIDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14874          LENZE LAWYERS, PLC

COLLINS, FREIDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14874          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COLLINS, GLADYS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09951          POTTS LAW FIRM

COLLINS, HARRIET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18793          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

COLLINS, HELEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02810          ONDERLAW, LLC

COLLINS, IRENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08028          ONDERLAW, LLC

COLLINS, JANNELL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05149          ONDERLAW, LLC

COLLINS, JOHNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04811          ASHCRAFT & GEREL, LLP

COLLINS, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15439          HENINGER GARRISON DAVIS, LLC

COLLINS, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18129          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

COLLINS, KARMEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18178          GORI JULIAN & ASSOCIATES, P.C.

COLLINS, KATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00550          ONDERLAW, LLC

COLLINS, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05914          JOHNSON BECKER, PLLC

COLLINS, KATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12298          MOTLEY RICE, LLC

COLLINS, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00894          ONDERLAW, LLC

COLLINS, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13238          THE MILLER FIRM, LLC

COLLINS, LESLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07640          ONDERLAW, LLC

COLLINS, LINDA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002330-20        GOLOMB & HONIK, P.C.

COLLINS, LORETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00509          WILLIAMS HART LAW FIRM

COLLINS, LORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01342          JOHNSON LAW GROUP



                                                                          Page 236 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                          Appendix A (Part 1) Page 238 of 702

            Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

COLLINS, MARILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05088          ONDERLAW, LLC

COLLINS, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02985          ONDERLAW, LLC

COLLINS, MARYANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14241          ARNOLD & ITKIN LLP

COLLINS, NATASHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15379          ONDERLAW, LLC

COLLINS, NETTIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02087          FLETCHER V. TRAMMELL

COLLINS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12003          FLETCHER V. TRAMMELL

COLLINS, PATRICIA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2243-17          GOLOMB SPIRT GRUNFELD PC

COLLINS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          JACOBS OHARA MCMULLEN , P.C.

COLLINS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ONDERLAW, LLC

COLLINS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          THE POTTS LAW FIRM, LLP

COLLINS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ZEVAN DAVIDSON ROMAN LLC

COLLINS, PAULA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01233          GORI JULIAN & ASSOCIATES, P.C.

COLLINS, PEARLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01806          ASHCRAFT & GEREL

COLLINS, PEARLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01806          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLLINS, RACHEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08926          FLETCHER V. TRAMMELL

COLLINS, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07560          HENINGER GARRISON DAVIS, LLC

COLLINS, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18678          JOHNSON LAW GROUP

COLLINS, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18678          LEVIN SIMES ABRAMS LLP

COLLINS, ROSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05660          ASHCRAFT & GEREL

COLLINS, ROSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05660          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLLINS, SHEILA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10594          JOHNSON LAW GROUP

COLLINS, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08157          NACHAWATI LAW GROUP

COLLINS, TERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11817          ARNOLD & ITKIN LLP

COLLINS, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05999          DALIMONTE RUEB, LLP

COLLINS, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03680          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLLINS, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13688          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

COLLINS, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09250          ONDERLAW, LLC

COLLINS, WINNETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09554          ONDERLAW, LLC

COLLINS-HINES, MARGARET        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10726          NACHAWATI LAW GROUP

COLLISON, LINDA                CA - SUPERIOR COURT - FRESNO COUNTY          18CECG02789            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLLISON, LINDA                CA - SUPERIOR COURT - FRESNO COUNTY          18CECG02789            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COLLISON, LINDA                CA - SUPERIOR COURT - FRESNO COUNTY          18CECG02789            THE SMITH LAW FIRM, PLLC

COLLUM, CATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06319          HEYGOOD, ORR & PEARSON

COLLURA, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11437          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



                                                                          Page 237 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 239 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

COLLYMORE, DENIQUE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19787          LENZE LAWYERS, PLC

COLOMBI, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01114          GORI JULIAN & ASSOCIATES, P.C.

COLOMBO, PAULETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18294          ASHCRAFT & GEREL, LLP

COLOMBRINO, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09801          DALIMONTE RUEB, LLP

COLON, ELAINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19911          CELLINO & BARNES, P.C.

COLON, EMMA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003471-20        GOLOMB & HONIK, P.C.

COLON, IRIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19260          NACHAWATI LAW GROUP

COLON, JUANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09882          ONDERLAW, LLC

COLON, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21022          TORHOERMAN LAW LLC

COLON, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03889          ONDERLAW, LLC

COLON, MIRNEVA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

COLON, MYRNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08667          ONDERLAW, LLC

COLON, NELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06534          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

COLON, ROSA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03292          DALIMONTE RUEB, LLP

COLON, VIVIAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02160          ONDERLAW, LLC

COLQUHOUN, KATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00167          ASHCRAFT & GEREL

COLQUHOUN, KATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00167          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLSON, JOLAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10295          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLSON, LESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06304          JOHNSON LAW GROUP

COLSON, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16781          NACHAWATI LAW GROUP

COLSTEN, MICHAEL                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

COLSTEN, MICHAEL                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

COLSTON, OCA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05918          MURRAY LAW FIRM

COLTELLI, DIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02570          FLETCHER V. TRAMMELL

COLTER, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15516          TAUTFEST BOND

COLTER, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16843          NAPOLI SHKOLNIK, PLLC

COLTON, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18976          JOHNSON LAW GROUP

COLTRANE, DORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05662          ASHCRAFT & GEREL

COLTRANE, DORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05662          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLUCCI, ALMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06776          ONDERLAW, LLC

COLUCCI, ELISABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12696          THE DIETRICH LAW FIRM, PC

COLUNGA, GRISELDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02132          ONDERLAW, LLC

COLVIN, CAROLE                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC




                                                                             Page 238 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 240 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

COLVIN, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17983          FLETCHER V. TRAMMELL

COLVIN, MARCIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20136          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLVIN, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03659          ARNOLD & ITKIN LLP

COLVIN, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01328          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLVIN, ROSEMARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12864          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLVIN, VALERIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05883          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLVIN, VIRGINIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002927-21        WEITZ & LUXENBERG

COLWELL, CHERYL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COLWELL, CHERYL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

COLWELL, CHERYL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

COLWELL, CHERYL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

COLWELL, CHERYL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

COLWELL, DANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16787          NACHAWATI LAW GROUP

COLWELL, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07789          ONDERLAW, LLC

COLWELL, ROYA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           ONDERLAW, LLC

COLWELL, ROYA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           PORTER & MALOUF, PA

COLWELL, ROYA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           THE SMITH LAW FIRM, PLLC

COMARDELLE, PAMELA                LA - DISTRICT COURT - LAFOURCHE PARISH       C-133279               POURCIAU LAW FIRM, LLC

COMAS, ESTHER                     FL - CIRCUIT COURT - MIAMI DADE COUNTY       17-29574CA01           THE FERRARO LAW FIRM, P.A.

COMBEST, KAYLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01515          ONDERLAW, LLC

COMBS, CINDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01595          MOTLEY RICE, LLC

COMBS, DELLAJEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COMBS, DELLAJEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          ONDERLAW, LLC

COMBS, DELLAJEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          PORTER & MALOUF, PA

COMBS, DELLAJEAN                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318645             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COMBS, DELLAJEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          THE SMITH LAW FIRM, PLLC

COMBS, FELICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04403          ONDERLAW, LLC

COMBS, JODIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14690          FRAZER PLC

COMBS, JODIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14690          VISRAM-GIRALDO LAW GROUP, LLP

COMBS, LONDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11194          ONDERLAW, LLC

COMBS, MISTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16793          NACHAWATI LAW GROUP

COMBS, THELMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06586          ONDERLAW, LLC

COMEAUX, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10502          ONDERLAW, LLC

COMER, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08244          FLETCHER V. TRAMMELL



                                                                             Page 239 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 241 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

COMFORT, GAYLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10121          ONDERLAW, LLC

COMMESSO, JO ANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13075          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COMMODORE, ARLISS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00974          FLETCHER V. TRAMMELL

COMPERCHIO, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10125          ONDERLAW, LLC

COMPSON, DARCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09514          SANDERS VIENER GROSSMAN, LLP

COMPSTON, TAMARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11132          GOLDENBERGLAW, PLLC

COMPTON, JO                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10885          ASHCRAFT & GEREL, LLP

COMPTON, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10953          NACHAWATI LAW GROUP

COMPTON, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18137          ONDERLAW, LLC

COMPTON, VERNESSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01804          JOHNSON LAW GROUP

COMSTOCK, ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04317          ONDERLAW, LLC

CONARD, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16651          ARNOLD & ITKIN LLP

CONCETTA OMBRELLINO              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18312          ONDERLAW, LLC

CONDELLO, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19988          CELLINO & BARNES, P.C.

CONDO, JULIA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002933-20        COHEN, PLACITELLA & ROTH

CONDON, CAROL                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002185-20        GOLOMB & HONIK, P.C.

CONDON, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16506          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONDON, SHARI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19073          WEXLER WALLACE LLP

CONDRA, CIERRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05214          ONDERLAW, LLC

CONDREY, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07171          ONDERLAW, LLC

CONE, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16842          NACHAWATI LAW GROUP

CONEY, JIMMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19163          CELLINO & BARNES, P.C.

CONGROVE, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10638          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONKLIN, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06279          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONKLIN, CHARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15398          MORELLI LAW FIRM, PLLC

CONKLIN, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18977          NACHAWATI LAW GROUP

CONKLIN, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02916          ONDERLAW, LLC

CONKLIN, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12088          MARLIN & SALTZMAN LLP

CONKLIN, JO                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17926          NACHAWATI LAW GROUP

CONLEY, ALEXIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11677          MURPHY, FALCON & MURPHY, P.A.

CONLEY, ANNETTE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6755-14          SEEGER WEISS LLP

CONLEY, ARDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15089          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CONLEY, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16749          ASHCRAFT & GEREL




                                                                            Page 240 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                          Appendix A (Part 1) Page 242 of 702

            Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

CONLEY, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16749          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONLEY, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18991          NACHAWATI LAW GROUP

CONLEY, DEBBIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10430          JOHNSON LAW GROUP

CONLEY, DORIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19510          NACHAWATI LAW GROUP

CONLEY, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20140          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONLEY, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06092          ONDERLAW, LLC

CONLEY, KRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07856          WILLIAMS HART LAW FIRM

CONLEY, LILLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16844          NACHAWATI LAW GROUP

CONLEY, MANDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11736          JOHNSON LAW GROUP

CONLEY, MANDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11736          LEVIN SIMES LLP

CONLEY, ROBERTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONLEY, ROBERTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

CONLEY, ROBERTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

CONLEY, ROBERTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

CONLEY, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01808          ASHCRAFT & GEREL

CONLEY, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01808          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONLEY, STEVY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20356          PARKER WAICHMAN, LLP

CONLEY, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07692          DALIMONTE RUEB, LLP

CONLON, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10884          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONN, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09883          ONDERLAW, LLC

CONNALLY, CHAMANE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18857          NACHAWATI LAW GROUP

CONNEL, MAUREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11559          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONNELL, ROBIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06648          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONNELLY, LYNETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03529          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONNER, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07151          MORRIS BART & ASSOCIATES

CONNER, JULIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09954          ONDERLAW, LLC

CONNER, JUSSETT                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CONNER, KATHRYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02436          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONNER, LILLIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13533          FLETCHER V. TRAMMELL

CONNER, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10663          JOHNSON BECKER, PLLC

CONNER, ZENOBIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07151          ONDERLAW, LLC

CONNER-MCGUIRE, DORA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16845          NACHAWATI LAW GROUP

CONNERS, JOANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02061          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONNERY, MORGAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12506          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN



                                                                          Page 241 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 243 of 702

           Claimant Name                         State Filed                       Docket Number                             Plaintiff Counsel

CONNERY, RITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09382          FLETCHER V. TRAMMELL

CONNIE BROWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17575          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CONNIE CLEVELAND               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003276-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

CONNIE COHEN                   NJ - STATE                                   MID-L-004448-21        LEVY KONIGSBERG LLP

CONNIE GARCIA                  FEDERAL - MDL                                3:21-CV-19451          ONDERLAW, LLC

CONNIE GREEN                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02722          ASHCRAFT & GEREL

CONNIE GREEN                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02722          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONNIE MAGUIRE                 FEDERAL - MDL                                3:21-CV-19749          JOHNSON BECKER, PLLC

CONNIE MAGUIRE                 FEDERAL - MDL                                3:21-CV-19749          JOHNSON BECKER, PLLC

CONNIE METROVKA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003239-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

CONNIE WILLIAMS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17586          THE MILLER FIRM, LLC

CONNOLLY, CAROL                IL - CIRCUIT COURT - COOK COUNTY             2019-L-11201           SALVI, SCHOSTOK & PRITCHARD P.C.

CONNOLLY, CAROL                IL - CIRCUIT COURT - COOK COUNTY             2019-L-11201           SANDERS PHILLIPS GROSSMAN, LLC

CONNOLLY, JOAN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001049-19        MORELLI LAW FIRM, PLLC

CONNOLLY, SUNSHINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09201          NACHAWATI LAW GROUP

CONNOLLY-AMBURGEY, BETHAN      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09488          ONDERLAW, LLC

CONNOR, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06125          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONNOR, PATRICIA               NJ - SUPERIOR COURT - SOMERSET COUNTY        3:21-CV-01287          ARNOLD & ITKIN LLP

CONNORS, ANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15788          THE MILLER FIRM, LLC

CONNORS, JEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06481          ONDERLAW, LLC

CONNORS, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02093          ONDERLAW, LLC

CONNORS, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21819          ONDERLAW, LLC

CONNORS, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16499          WILLIAMS HART LAW FIRM

CONNORS, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04047          ONDERLAW, LLC

CONOLLY, LUCIE-PEARL           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19829          CELLINO & BARNES, P.C.

CONOLLY, LUCIE-PEARL           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17774          ONDERLAW, LLC

CONOVER, CONSUELO              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01775          ONDERLAW, LLC

CONOVER, PEGGY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05802          TRAMMELL PC

CONOVER, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08510          DAVIS, BETHUNE & JONES, L.L.C.

CONOVER, TALEKAH               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002629-21        GOLOMB & HONIK, P.C.

CONRAD, ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12419          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONRAD, CHRISTIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03465          ONDERLAW, LLC

CONRAD, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21975          CELLINO & BARNES, P.C.

CONROW, ELLEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21181          NACHAWATI LAW GROUP



                                                                          Page 242 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 244 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

CONROW, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12999          JOHNSON LAW GROUP

CONROY, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10626          BISNAR AND CHASE

CONSALVAS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09124          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONSIGLIO, ANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05736          ONDERLAW, LLC

CONSOLE, DERBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08861          ONDERLAW, LLC

CONSTANT, BECKY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07305          ONDERLAW, LLC

CONSTANT, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08568          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONTE, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15517          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CONTE, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12197          GOLOMB & HONIK, P.C.

CONTE, SHIRLEY                   CA - SUPERIOR COURT - MONTERREY COUNTY       18CV000583             BARRETT LAW GROUP

CONTE, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BARRETT LAW GROUP, P.A.

CONTE, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

CONTE, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

CONTE, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          GOLDENBERG HELLER & ANTOGNOLI, PC

CONTE, SHIRLEY                   CA - SUPERIOR COURT - MONTERREY COUNTY       18CV000583             PRATT & ASSOCIATES

CONTE, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11101          ONDERLAW, LLC

CONTI, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08323          FLETCHER V. TRAMMELL

CONTRADES, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18353          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

CONTRERAS, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04312          ONDERLAW, LLC

CONTRERAS, SONIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13253          REICH & BINSTOCK, LLP

CONTRERAS, TRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09448          NACHAWATI LAW GROUP

CONVERSE, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20452          ONDERLAW, LLC

CONVERSE, HILARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17586          ONDERLAW, LLC

CONWAY, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14210          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CONWAY, LUPE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04439          ONDERLAW, LLC

CONWAY, PAULINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19542          ASHCRAFT & GEREL, LLP

CONWAY, PAULINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19542          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CONWAY, VANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06482          ONDERLAW, LLC

CONWAY, WILMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07170          ONDERLAW, LLC

CONYERS, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09522          JOHNSON LAW GROUP

COOK, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19914          ARNOLD & ITKIN LLP

COOK, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10408          ARNOLD & ITKIN LLP

COOK, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21437          SIMMONS HANLY CONROY

COOK, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18434          NACHAWATI LAW GROUP



                                                                            Page 243 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 245 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

COOK, BEVERLY TALBERT            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12483          FRAZER LAW LLC

COOK, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06758          DALIMONTE RUEB, LLP

COOK, BRIDGETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03311          ONDERLAW, LLC

COOK, BRITTANI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12143          THE BENTON LAW FIRM, PLLC

COOK, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18145          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

COOK, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16846          NACHAWATI LAW GROUP

COOK, CLAUDIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19500          ASHCRAFT & GEREL, LLP

COOK, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14178          ASHCRAFT & GEREL, LLP

COOK, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14178          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOK, DELLIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14757          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOK, DENA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09797          ONDERLAW, LLC

COOK, DOLORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07361          ONDERLAW, LLC

COOK, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13246          SANDERS PHILLIPS GROSSMAN, LLC

COOK, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12703          NAPOLI SHKOLNIK, PLLC

COOK, DYANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07412          HEYGOOD, ORR & PEARSON

COOK, ELAINE                     IL - CIRCUIT COURT - COOK COUNTY             2018-L-1811            CLIFFORD LAW OFFICES, P.C.

COOK, ELAINE                     IL - CIRCUIT COURT - COOK COUNTY             2018-L-1811            TAFT STETTINIUS & HOLLISTER LLP

COOK, ELIZABETH                  LA - DISTRICT COURT - JEFFERSON PARISH       810351 D               GALANTE & BIVALACQUA LLC

COOK, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02118          ONDERLAW, LLC

COOK, ELIZABETH                  LA - DISTRICT COURT - JEFFERSON PARISH       810351 D               POURCIAU LAW FIRM, LLC

COOK, ESTER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16852          NACHAWATI LAW GROUP

COOK, HALEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01206          JOHNSON LAW GROUP

COOK, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06622          FLETCHER V. TRAMMELL

COOK, JACKIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18035          ASHCRAFT & GEREL

COOK, JACKIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18035          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOK, JANNETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00961          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

COOK, JESSICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19657          SULLO & SULLO, LLP

COOK, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00510          THE SEGAL LAW FIRM

COOK, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06285          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOK, KARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15079          DALIMONTE RUEB, LLP

COOK, KERRIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10266          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

COOK, KIM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19049          NACHAWATI LAW GROUP

COOK, KYNDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOK, KYNDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          ONDERLAW, LLC



                                                                            Page 244 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 246 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

COOK, KYNDA                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681547               ONDERLAW, LLC

COOK, KYNDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          PORTER & MALOUF, PA

COOK, KYNDA                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681547               SALKOW LAW, APC

COOK, KYNDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          THE SMITH LAW FIRM, PLLC

COOK, LATASHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12624          ONDERLAW, LLC

COOK, LEAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08400          FLETCHER V. TRAMMELL

COOK, LOLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18627          NACHAWATI LAW GROUP

COOK, LOUISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20141          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOK, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06202          JOHNSON LAW GROUP

COOK, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06202          LEVIN SIMES LLP

COOK, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07214          THE BENTON LAW FIRM, PLLC

COOK, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10702          THE MILLER FIRM, LLC

COOK, NICOLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16850          NACHAWATI LAW GROUP
COOK, PATRICIA AND DUCKWORTH,
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-000294-21        WEITZ & LUXENBERG
RODNEY
COOK, PRISCILLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOK, PRISCILLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

COOK, PRISCILLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

COOK, PRISCILLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

COOK, REGINAE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          DONALD L. SCHLAPPRIZZI P.C.

COOK, REGINAE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08494          ONDERLAW, LLC

COOK, REGINAE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10878          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COOK, REGINAE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COOK, RESHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07004          ONDERLAW, LLC

COOK, SARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11665          NACHAWATI LAW GROUP

COOK, SARINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10172          GOLDENBERGLAW, PLLC

COOK, SHARON                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC690498               JAMES MORRIS LAW FIRM PC

COOK, STACEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01470          ONDERLAW, LLC

COOK, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10936          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOK, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01550          BURNS CHAREST LLP

COOK, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01550          BURNS CHAREST LLP

COOK, TANYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15093          ASHCRAFT & GEREL

COOK, TANYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15093          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 245 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 247 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

COOK, TONI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20456          ONDERLAW, LLC

COOK, VELMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05861          ONDERLAW, LLC

COOK, WENDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15587          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COOKE, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19292          NACHAWATI LAW GROUP

COOKE, TAMARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02322          ONDERLAW, LLC

COOKE, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17171          ONDERLAW, LLC

COOK-ELLISON, CARMEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02474          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOKS, SHANAY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18789          CELLINO & BARNES, P.C.

COOK-WILDER, ANITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12705          NAPOLI SHKOLNIK, PLLC

COOL, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15845          NACHAWATI LAW GROUP

COOLEEN, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01632          MORELLI LAW FIRM, PLLC

COOLEY, CASSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01070          ONDERLAW, LLC

COOLIDGE, JANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20412          CHAPPELL, SMITH & ARDEN, P.A.

COOMBES, CLARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14782          LENZE LAWYERS, PLC

COOMBES, CLARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14782          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COOMBS, CHERI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09193          ONDERLAW, LLC

COOMER, HARRIETT                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09863          ONDERLAW, LLC

COOMES, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20042          TRAMMELL PC

COON, JEWEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07191          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COON, RENEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07322          WAGSTAFF & CARTMELL, LLP

COON, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOPER, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21778          FLETCHER V. TRAMMELL

COOPER, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15565          GIRARDI & KEESE

COOPER, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15565          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COOPER, ANGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10137          NAPOLI SHKOLNIK PLLC

COOPER, ASHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04192          ONDERLAW, LLC

COOPER, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10272          ASHCRAFT & GEREL

COOPER, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09660          ONDERLAW, LLC

COOPER, CHERYL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOPER, CHERYL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

COOPER, CHERYL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

COOPER, CLARICE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOPER, CLARICE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC




                                                                            Page 246 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 248 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

COOPER, CLARICE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

COOPER, CLARICE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

COOPER, CLARICE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

COOPER, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13523          THE BENTON LAW FIRM, PLLC

COOPER, EMMIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12868          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOPER, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03839          THE KING FIRM

COOPER, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19514          NACHAWATI LAW GROUP

COOPER, JACKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14759          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOPER, JAMIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02300          ONDERLAW, LLC

COOPER, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06618          CRAIG SWAPP & ASSOCIATES

COOPER, JENNIFER               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003214-21        WEITZ & LUXENBERG

COOPER, JESSICA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002843-21        WEITZ & LUXENBERG

COOPER, JULIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17383          FLETCHER V. TRAMMELL

COOPER, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07197          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOPER, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08688          MORRIS BART & ASSOCIATES

COOPER, KATY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00668          THE MILLER FIRM, LLC

COOPER, KRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08863          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOPER, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02154          FLETCHER V. TRAMMELL

COOPER, LAUREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18507          WEITZ & LUXENBERG

COOPER, LAURETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16718          NACHAWATI LAW GROUP

COOPER, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13549          HOVDE, DASSOW, & DEETS, LLC

COOPER, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13549          THE MILLER FIRM, LLC

COOPER, LORETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09885          ONDERLAW, LLC

COOPER, MARJORIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16727          NACHAWATI LAW GROUP

COOPER, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15872          LEVIN SIMES ABRAMS LLP

COOPER, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14537          NAPOLI SHKOLNIK PLLC

COOPER, MATTIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19519          NACHAWATI LAW GROUP

COOPER, MICHELE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09194          ONDERLAW, LLC

COOPER, MICHELLE               NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-001326-21        LEVY KONIGSBERG LLP

COOPER, MICHELLE               NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-001326-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD

COOPER, MILDRED                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11020          NACHAWATI LAW GROUP

COOPER, OTHA MERLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11803          POTTS LAW FIRM

COOPER, PAULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19548          ASHCRAFT & GEREL, LLP

COOPER, PAULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19548          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                          Page 247 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 249 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

COOPER, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02571          DRISCOLL FIRM, P.C.

COOPER, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16996          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOPER, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06375          CELLINO & BARNES, P.C.

COOPER, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17966          ONDERLAW, LLC

COOPER, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08238          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOPER, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11078          JOHNSON BECKER, PLLC

COOPER, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08572          ONDERLAW, LLC

COOPER, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04604          PARKER WAICHMAN, LLP

COOPER, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06650          FLETCHER V. TRAMMELL

COOPER, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16760          NACHAWATI LAW GROUP

COOPER, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07574          NACHAWATI LAW GROUP

COOPER, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16161          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

COOPER, TOYMICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09996          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOPERMAN, MARCIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17082          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COOPER-MCNULTY, CYNTHIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03751          JOHNSON LAW GROUP

COOPER-MCNULTY, CYNTHIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03751          LEVIN SIMES LLP

COOTS, CATHERINE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002332-20        GOLOMB & HONIK, P.C.

COOTS, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15848          NACHAWATI LAW GROUP

COPE, MARJORIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12524          THE MILLER FIRM, LLC

COPELAND, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05235          JOHNSON LAW GROUP

COPELAND, FRANCES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00547          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COPELAND, SYLVIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18628          NACHAWATI LAW GROUP

COPELAND, TAKESHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13224          THE MILLER FIRM, LLC

COPENHAVER, CHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13648          THE DUGAN LAW FIRM

COPERTINO, LORRAINE              IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

COPPEDGE, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03969          ONDERLAW, LLC

COPPEE, NICOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03258          ONDERLAW, LLC

COPPENGER, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02294          JOHNSON LAW GROUP

COPPOLA, MARYANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12165          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COPPOLECCHIA, ANGELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08828          ONDERLAW, LLC

COQUERAN, ALICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19858          ASHCRAFT & GEREL, LLP

COQUERAN, ALICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19858          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORA REBER                       FEDERAL - MDL                                3:21-CV-16744          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORA, JEAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04694          ONDERLAW, LLC



                                                                            Page 248 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 250 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CORA, VIRGINIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09979          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORBALLY, BETH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03125          ONDERLAW, LLC

CORBEIL, KATHLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12347          ASHCRAFT & GEREL

CORBEIL, KATHLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12347          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORBELLI, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17851          THE SEGAL LAW FIRM

CORBETT, ANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04923          ONDERLAW, LLC

CORBETT, BARBARA                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC651027               MANIER & HEROD

CORBETT, BARBARA                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC651027               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CORBETT, BARBARA                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC651027               SOUTHERLAND LAW FIRM, PLLC

CORBETT, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09992          GORI JULIAN & ASSOCIATES, P.C.

CORBETT, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09303          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORBETT, ERNESTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16699          NACHAWATI LAW GROUP

CORBETT, NATASHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17957          ONDERLAW, LLC
CORBETT,HILLARY ESTATE OF C
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01860-20AS       LEVY KONIGSBERG LLP
LICHENSTEIN
CORBIN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05356          ONDERLAW, LLC

CORBIN, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03561          DALIMONTE RUEB, LLP

CORBIN, GAYLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09695          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CORBIN, JILL                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002523-20        GOLOMB & HONIK, P.C.

CORBIN, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08117          ONDERLAW, LLC

CORBIN, STACI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04896          THE MILLER FIRM, LLC

CORBITT, LULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14179          ASHCRAFT & GEREL, LLP

CORBITT, LULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14179          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORBITT, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07344          ONDERLAW, LLC

CORBY, TONI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01753          HEYGOOD, ORR & PEARSON

CORCORAN, BETSY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002524-20        GOLOMB & HONIK, P.C.

CORCORAN, JOSEPHINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10649          SANDERS VIENER GROSSMAN, LLP

CORDELL, LORETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11033          JOHNSON BECKER, PLLC

CORDER, JAMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16476          KIESEL LAW, LLP

CORDER, JAMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16476          LAW OFFICE OF HAYTHAM FARAJ

CORDER, JAMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16476          MARTINIAN & ASSOCIATES, INC.

CORDER, LORIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13328          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORDER-JONES, WANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20024          MUELLER LAW PLLC




                                                                             Page 249 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                           Appendix A (Part 1) Page 251 of 702

             Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CORDERO, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04711          ONDERLAW, LLC

CORDERO, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17968          ONDERLAW, LLC

CORDES, HOWARD                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CORDES, HOWARD                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CORDES, JO-ANN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003317-20        GOLOMB & HONIK, P.C.

CORDIER, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11804          NACHAWATI LAW GROUP

CORDIER-HYMAN, LISA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04782          NACHAWATI LAW GROUP

CORDIER-HYMAN, LISA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04782          ZINNS LAW, LLC

CORDONA, BELINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06371          ONDERLAW, LLC

CORDONNIER, ANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16510          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORDOVA, EVANGELINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18154          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CORDOVA, GREGORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04747          SIMMONS HANLY CONROY

CORDOVA, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12334          ASHCRAFT & GEREL

CORDOVA, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12334          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORDOVA, LUCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13641          THE DUGAN LAW FIRM, APLC

CORDOVA, RITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02742          THE SEGAL LAW FIRM

CORDOVA, VALERIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10261          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORDOVES, ARLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17519          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

COREA, PEGGY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10766          KLINE & SPECTER, P.C.

CORELL, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19337          NACHAWATI LAW GROUP

COREY, EARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15285          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

COREY, EARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13132          ONDERLAW, LLC

COREY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01472          ASHCRAFT & GEREL

COREY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01472          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORGLIANO, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02383          CELLINO & BARNES, P.C.

CORI FAVOR                      FEDERAL - MDL                                3:21-CV-19058          MOTLEY RICE, LLC

CORKINS, DEENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14824          LENZE LAWYERS, PLC

CORKINS, DEENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14824          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CORLESS, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19801          JOHNSON BECKER, PLLC

CORLESS, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13287          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORLESS, LEIGH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19282          JOHNSON LAW GROUP

CORLETTO, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17486          WAGSTAFF & CARTMELL, LLP

CORLEW, ASHLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08119          ARNOLD & ITKIN LLP

CORLEY, DANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14507          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                           Page 250 of 1405
                                Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 252 of 702

           Claimant Name                             State Filed                       Docket Number                            Plaintiff Counsel

CORLEY, DORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11496          ONDERLAW, LLC

CORLEY, EVELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19340          NACHAWATI LAW GROUP

CORLEY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05471          ONDERLAW, LLC

CORLEY, MARIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07042          THE SIMON LAW FIRM, PC

CORLEY, OPAL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04404          ONDERLAW, LLC

CORLEY, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08618          ONDERLAW, LLC

CORLEY, TERESAS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01972          MOTLEY RICE, LLC

CORLISS-KELLY, MARCIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10128          ONDERLAW, LLC

CORMAN, PATTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13490          ONDERLAW, LLC

CORMIER, DENISE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000643-18        GOLOMB SPIRT GRUNFELD PC

CORMIER, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16715          NACHAWATI LAW GROUP

CORMIER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08208          FLETCHER V. TRAMMELL

CORMIER, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17940          ONDERLAW, LLC

CORMIER, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13111          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CORMIER-FRANCO, MARSHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10099          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORNEJO, BEE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09528          ONDERLAW, LLC

CORNELIEN-CADET, ANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16515          NAPOLI SHKOLNIK, PLLC

CORNELIOUS, ALESIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11133          GOLDENBERGLAW, PLLC

CORNELIUS, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14961          ASHCRAFT & GEREL, LLP

CORNELIUS, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14961          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORNELIUS, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20012          ARNOLD & ITKIN LLP

CORNELIUS, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13591          JOHNSON LAW GROUP

CORNELIUSEN, MARILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02279          HENINGER GARRISON DAVIS, LLC

CORNELL, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12854          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORNELL, JEWEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11761          DALIMONTE RUEB, LLP

CORNELL, NEDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00669          THE MILLER FIRM, LLC
CORNELL, WILLIAM EST OF DIANE
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003129-20        WEITZ & LUXENBERG
CORNELL
CORNER, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02459          ONDERLAW, LLC

CORNETT, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19523          NACHAWATI LAW GROUP

CORNETT, SHANNON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02112          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CORNFIELD, LYNN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00525          JOHNSON BECKER, PLLC

CORNINE, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02281          JOHNSON LAW GROUP

CORNS, REGINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01637          MORELLI LAW FIRM, PLLC

COROMANDEL, KENDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19900          CELLINO & BARNES, P.C.



                                                                              Page 251 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 253 of 702

            Claimant Name                          State Filed                       Docket Number                             Plaintiff Counsel

CORONA, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16196          NACHAWATI LAW GROUP

CORONADO, MARIO                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004460-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD
CORONADO, MARIO AND PORRAS,
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004460-21        LEVY KONIGSBERG LLP
MELANIE
CORONEL, GENOVEVA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19348          NACHAWATI LAW GROUP

CORONEOS, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05747          ASHCRAFT & GEREL

CORONEOS, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05747          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORPUS, EDNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22209          NACHAWATI LAW GROUP

CORRAGGIO, JERRELYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01633          FLETCHER V. TRAMMELL

CORRAL, BEATRIZ                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CORRAL, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02019          JOHNSON LAW GROUP

CORRALES, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02854          FLETCHER V. TRAMMELL

CORRAO, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05922          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORREA, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16940          ONDERLAW, LLC

CORREDOR, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00583          NACHAWATI LAW GROUP

CORREIA, ELAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12561          ONDERLAW, LLC

CORREIA, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10800          NACHAWATI LAW GROUP

CORREIA, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17426          WEITZ & LUXENBERG

CORRELL, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06189          FLETCHER V. TRAMMELL

CORRIE, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00482          DIAMOND LAW

CORRIGAN, JILLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10986          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

CORRIGAN, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17698          JOHNSON LAW GROUP

CORRIVEAU, CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01465          ASHCRAFT & GEREL

CORRIVEAU, CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01465          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORRON, ALLISON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10545          LIAKOS LAW APC

CORRSETTI, SALMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20947          CELLINO & BARNES, P.C.

CORRY, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16492          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORSETTI, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09254          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CORSINI, PATSY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02828          HOLLAND LAW FIRM

CORTES DE MARRON, ALTAGRACIA     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BARRETT LAW GROUP, P.A.

CORTES DE MARRON, ALTAGRACIA     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

CORTES DE MARRON, ALTAGRACIA     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

CORTES DE MARRON, ALTAGRACIA     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          GOLDENBERG HELLER & ANTOGNOLI, PC

CORTES, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20090          ARNOLD & ITKIN LLP




                                                                            Page 252 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                              Appendix A (Part 1) Page 254 of 702

               Claimant Name                         State Filed                      Docket Number                               Plaintiff Counsel

CORTES, LILLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18561          DRISCOLL FIRM, P.C.

CORTES, RAMONITA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003318-20        GOLOMB & HONIK, P.C.

CORTEZ, GILDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07216          ONDERLAW, LLC

CORTEZ, LILLIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16306          JOHNSON LAW GROUP

CORTEZ, LORNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16720          NACHAWATI LAW GROUP

CORTEZ, MARY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1933-16          ASHCRAFT & GEREL
                                  LA - DISTRICT COURT - EAST BATON ROUGE
CORTEZ, SANDRA                                                                 C-676334 25            CHEHARDY, SHERMAN, WILLIAMS,RECILE,STAKELUM & HAYES, LLP
                                  PARISH
                                  LA - DISTRICT COURT - EAST BATON ROUGE
CORTEZ, SANDRA                                                                 C-676334 25            THE CHEEK LAW FIRM
                                  PARISH
CORTEZ, SHELLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14921          NAPOLI SHKOLNIK, PLLC

CORTI, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19531          NACHAWATI LAW GROUP

CORTRIGHT, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10313          MORGAN & MORGAN

CORY LEU                          IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

COSBY, CASSANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08129          FLEMING, NOLEN & JEZ, LLP

COSBY, CASSANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21268          MORELLI LAW FIRM, PLLC

COSBY, JEANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15386          BURNS CHAREST LLP

COSBY, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05360          ONDERLAW, LLC

COSBY, KIM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15426          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COSBY, LAMEKA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04043          ONDERLAW, LLC

COSENZA, ROSE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15259          THE BENTON LAW FIRM, PLLC

COSGROVE, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18148          JOHNSON LAW GROUP

COSIO, KARINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06690          THE SIMON LAW FIRM, PC

COSNER, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09896          ONDERLAW, LLC

COSPER, VALERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07944          ONDERLAW, LLC

COSS, ROGER AND COSS, SUSAN       NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05031-19AS       LEVY KONIGSBERG LLP

COSTA, ALTA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00128          CELLINO & BARNES, P.C.

COSTA, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COSTA, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

COSTA, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

COSTA, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

COSTA, KATHLEEN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COSTA, KATHLEEN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

COSTA, KATHLEEN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

COSTA, KATHLEEN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA




                                                                             Page 253 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 255 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

COSTA, KATHLEEN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

COSTA, LINDELIA                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     16-CV-296601           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

COSTANTINO, SHERRI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14649          ONDERLAW, LLC

COSTANZA, SANDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18159          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

COSTANZO, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05244          MORGAN & MORGAN

COSTANZO, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10551          ONDERLAW, LLC

COSTELLO, ELIZABETH              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10919           ONDERLAW, LLC

COSTELLO, JOANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14234          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

COSTELLO, TRINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14593          JOHNSON LAW GROUP

COSTELLOW, SARAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04278          ONDERLAW, LLC

COSTER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07281          ONDERLAW, LLC

COSTLEY, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09457          FLETCHER V. TRAMMELL

COSTLEY, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18379          ONDERLAW, LLC

COSTLOW, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13134          THE MILLER FIRM, LLC

COSTON, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17079          HOLLAND LAW FIRM

COSTOSO, JEANETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10252          DRISCOLL FIRM, P.C.

COTCAMP, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COTCAMP, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

COTCAMP, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

COTCAMP, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

COTE, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01338          DRISCOLL FIRM, P.C.

COTE, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15368          DAVIS, BETHUNE & JONES, L.L.C.

COTE, TABATHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01982          MOTLEY RICE, LLC

COTHRAN, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04632          ONDERLAW, LLC

COTIC, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09699          MORELLI LAW FIRM, PLLC

COTMAN-RIDGE, MARILYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18269          DRISCOLL FIRM, P.C.

COTNER, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18971          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COTNOIR, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08462          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COTTEN, MONIQUE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002447-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

COTTINGHAM, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17089          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COTTO, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12594          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

COTTO, SUSANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12541          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

COTTON, BARI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05896          ONDERLAW, LLC




                                                                            Page 254 of 1405
                              Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                Appendix A (Part 1) Page 256 of 702

           Claimant Name                               State Filed                      Docket Number                              Plaintiff Counsel

COTTON, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08537          THE MILLER FIRM, LLC

COTTON, JOAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02465          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COTTON, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02331          ONDERLAW, LLC

COTTON, TYAISHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10619          NACHAWATI LAW GROUP

COTTON, VICTORIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COTTON, VICTORIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

COTTON, VICTORIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

COTTON, VICTORIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

COTTRELL, CORINNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18350          THE WEINBERG LAW FIRM

COTTRELL, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09360          WILLIAMS HART LAW FIRM

COTTRILL, BECKY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13240          THE MILLER FIRM, LLC

COTTRILL, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15437          ONDERLAW, LLC
COUCH, ALEXANDER AND COUCH,
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-004514-21          WEITZ & LUXENBERG
NORMA
COUCH, CHARLOTTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01902          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COUCH, DEBRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06746          THE SIMON LAW FIRM, PC

COUCH, ELAIME                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00672          THE MILLER FIRM, LLC

COUCH, LAURA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04406          ONDERLAW, LLC

COUCH, MARILYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15734          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COUCH, SHAILEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18511          WEITZ & LUXENBERG

COUCH, SHANNON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02547          ONDERLAW, LLC

COUCHMAN, DREAMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14856          LENZE LAWYERS, PLC

COUCHMAN, DREAMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14856          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COUGHLIN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09298          BURNS CHAREST LLP

COUGHLIN, SHERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01331          JOHNSON LAW GROUP

COUILLARD, RUTH                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02665          ASHCRAFT & GEREL, LLP

COUILLARD, RUTH                   DC - USDC FOR THE DISTRICT OF COLUMBIA         1:21-CV-02665          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
COULBOURN, SHIRLEY AND COULBOURN,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY         MID-L-008396-20        WEITZ & LUXENBERG
DANIEL
COULBOURN, VIRGIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:21-CV-08272          ONDERLAW, LLC

COULING, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09054          ONDERLAW, LLC

COULL, ERIKA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04228          ONDERLAW, LLC

COULLOUDON, LILEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10655          DIAZ LAW FIRM, PLLC

COULSTON, KIMBERLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16050          THE SEGAL LAW FIRM

COULTER, CHARLOTTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05799          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC




                                                                               Page 255 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 257 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

COULTER, JACKIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09244          DAVIS, BETHUNE & JONES, L.L.C.

COULTER, SHERRY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003898-20        ASHCRAFT & GEREL

COULTER, SHERRY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003898-20        GOLOMB & HONIK, P.C.

COULTER, TIFFANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07429          ONDERLAW, LLC

COUNCE, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11482          WATERS & KRAUS, LLP

COUNCIL-COUCH, ETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09062          BARON & BUDD, P.C.

COUNTS, CATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11045          ARNOLD & ITKIN LLP

COUNTS, CATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18932          NACHAWATI LAW GROUP

COUNTS, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15656          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COURSE-CISLO, TRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11236          JOHNSON BECKER, PLLC

COURSEN, SYLVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02164          ONDERLAW, LLC

COURT, DALE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11369          MORELLI LAW FIRM, PLLC

COURTER, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08129          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COURTLAND, PAULA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01934          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COURTNEY MOREY                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

COURTNEY, BRANDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16670          NACHAWATI LAW GROUP

COURTNEY, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04718          COHEN & MALAD, LLP

COURTNEY, GLENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13026          FLETCHER V. TRAMMELL

COURTNEY, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15729          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

COURTNEY, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11195          ONDERLAW, LLC

COURTNEY-MORONG, MARILYN         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07439          ONDERLAW, LLC

COURTS, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05104          ONDERLAW, LLC

COURVILLE, LELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09751          BARON & BUDD, P.C.

COUSETTE, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01758          JOHNSON LAW GROUP

COUSINS, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07220          ONDERLAW, LLC

COUZIN, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09807          ONDERLAW, LLC

COVEN, BETTY E.                  NY - SUPREME COURT - NYCAL                   190101/2019            KARST & VON OISTE, LLP

COVIL, DIONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16696          NACHAWATI LAW GROUP

COVINGTON, DARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12026          ONDERLAW, LLC

COVINGTON, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08526          THE SEGAL LAW FIRM

COVINGTON, LORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11125          ONDERLAW, LLC

COVINGTON, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01531          THE MILLER FIRM, LLC

COVINGTON, SALLY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000247-19        LOPEZ-MCHUGH, LLP




                                                                            Page 256 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 258 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

COVINGTON, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11846          NACHAWATI LAW GROUP

COVINGTON, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16744          NACHAWATI LAW GROUP

COVINGTON, SUZANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12453          JOHNSON BECKER, PLLC

COVINGTON, TAMIKO                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20457          ONDERLAW, LLC

COVINGTON, TRACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18576          ONDERLAW, LLC

COWAN, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06058          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COWAN, ROXANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16218          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

COWANS, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02745          DALIMONTE RUEB, LLP

COWARD, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

COWARD, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

COWARD, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COWARD, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16652          ARNOLD & ITKIN LLP

COWART, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16733          NACHAWATI LAW GROUP

COWDEN, BETHYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20784          ONDERLAW, LLC

COWEN, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16688          NACHAWATI LAW GROUP

COWEN, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02535          ONDERLAW, LLC

COWEN, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08380          ONDERLAW, LLC

COWEN, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17372          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

COWLES, CHERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02918          ONDERLAW, LLC

COWLES, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14946          ONDERLAW, LLC

COWLES, JOICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02487          ONDERLAW, LLC

COWLES, MARION                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15589          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

COWLEY, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09554          FLETCHER V. TRAMMELL

COWLEY, MELANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05240          ONDERLAW, LLC

COWLEY, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14511          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COX, ANGELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12898          WATERS & KRAUS, LLP

COX, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04701          HUTTON & HUTTON

COX, BEATRICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11263          NACHAWATI LAW GROUP

COX, BEVERLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03728          WILLIAMS HART LAW FIRM

COX, BRANDIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08702          ONDERLAW, LLC

COX, CARRIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00068          CHAPPELL, SMITH & ARDEN, P.A.

COX, CATHY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04532          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COX, CELESTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11943          FLETCHER V. TRAMMELL

COX, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13701          ARNOLD & ITKIN LLP



                                                                            Page 257 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 259 of 702

               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

COX, CYNTHIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15919          ASHCRAFT & GEREL, LLP

COX, CYNTHIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15919          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COX, DEBRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06870          THE ENTREKIN LAW FIRM

COX, DOROTHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15893          DALIMONTE RUEB, LLP

COX, GWENDOLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10062          THE HANNON LAW FIRM, LLC

COX, IRENE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09006          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COX, JAZZMIN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001846-21        GOLOMB & HONIK, P.C.

COX, JENNIFER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10291          ONDERLAW, LLC

COX, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12634          DALIMONTE RUEB, LLP

COX, KAREN AND COX, TIMOTHY       NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006283-20AS      WEITZ & LUXENBERG

COX, LISA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02253          ONDERLAW, LLC

COX, LUCINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05534          ONDERLAW, LLC

COX, LYNETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13639          DAVIS, BETHUNE & JONES, L.L.C.

COX, LYNETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13694          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

COX, MANDY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02695          WILLIAMS HART LAW FIRM

COX, MARION                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08231          ONDERLAW, LLC

COX, MARTHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06779          BARNES LAW GROUP, LLC

COX, MARTHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06779          CHEELEY LAW GROUP

COX, MARTHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09588          ONDERLAW, LLC

COX, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10298          THE MILLER FIRM, LLC

COX, NORMA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03591          ONDERLAW, LLC

COX, ROBERTA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15293          MOTLEY RICE, LLC

COX, SHOCKEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12507          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

COX, SONYA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14039          WATERS & KRAUS, LLP

COX, SUSAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09474          ONDERLAW, LLC

COX, TERESA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00689          GORI JULIAN & ASSOCIATES, P.C.

COX, WANDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12167          DALIMONTE RUEB, LLP

COX-LAFRAMBOISE, CONNIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12083          SIMMONS HANLY CONROY

COY DEBERRY                       DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02697          ASHCRAFT & GEREL, LLP

COY DEBERRY                       DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02697          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

COY, DENISE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08645          ROSS FELLER CASEY, LLP

COY, VIRGINIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16742          NACHAWATI LAW GROUP

COYE, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03162          CELLINO & BARNES, P.C.




                                                                             Page 258 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 260 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

COZART, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21822          ONDERLAW, LLC

COZZIE, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07852          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRABB, PENELOPE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15190          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRABBE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16776          NACHAWATI LAW GROUP

CRABTREE, DIANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10129          ONDERLAW, LLC

CRABTREE, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13660          ONDERLAW, LLC

CRABTREE, REATA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08200          ASHCRAFT & GEREL

CRADDOCK, CLARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18867          NACHAWATI LAW GROUP

CRADDOCK, SHARMAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08342          FLETCHER V. TRAMMELL

CRADER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07067          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRAFT, RACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09876          ONDERLAW, LLC

CRAFT, TAMMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11258          ONDERLAW, LLC

CRAGO, MARION                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19376          NACHAWATI LAW GROUP

CRAIG, CANDACE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRAIG, CANDACE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

CRAIG, CANDACE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

CRAIG, CANDACE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

CRAIG, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07964          ONDERLAW, LLC

CRAIG, MARRILY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6504-14          SEEGER WEISS LLP

CRAIG, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08395          HOLLAND LAW FIRM

CRAIG, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11682          NACHAWATI LAW GROUP

CRAIG, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16510          THE MILLER FIRM, LLC

CRAIG, MEGAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12858          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRAIG, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09925          ONDERLAW, LLC

CRAIG, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09262          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRAIG, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01634          MORELLI LAW FIRM, PLLC

CRAIG, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16757          NACHAWATI LAW GROUP

CRAIG, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16782          ARNOLD & ITKIN LLP

CRAIG, TEENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03215          ONDERLAW, LLC

CRAIGHEAD, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11253          NACHAWATI LAW GROUP

CRAIG-HOGLAN, CONSTANCE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12886          DRISCOLL FIRM, P.C.

CRAIN, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03791          ONDERLAW, LLC

CRAIN, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09282          NAPOLI SHKOLNIK, PLLC

CRAIN, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00166          ASHCRAFT & GEREL



                                                                            Page 259 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 261 of 702

            Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

CRAIN, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00166          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRAIN, STACEY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-357-18           KEEFE BARTELS

CRAIN, STACEY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-357-18           LAW OFFICE OF GRANT D. AMEY, LLC

CRAMER, AMANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17608          KIRTLAND & PACKARD, LLP

CRAMER, DULSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11819          GOZA & HONNOLD, LLC

CRAMER, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09719          ONDERLAW, LLC

CRAMER, ROSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19383          NACHAWATI LAW GROUP

CRAMER, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          DONALD L. SCHLAPPRIZZI P.C.

CRAMER, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10705          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CRAMER, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CRAMER, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12035          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRAMER, TONYA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01167          GORI JULIAN & ASSOCIATES, P.C.

CRAMMER, JORDAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13674          FLETCHER V. TRAMMELL

CRANDALL, CLAUDIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07789          THE DUGAN LAW FIRM, APLC

CRANDALL, PEGGY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01226          NACHAWATI LAW GROUP

CRANE, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09521          FLETCHER V. TRAMMELL

CRANE, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11374          MORELLI LAW FIRM, PLLC

CRANE, JACQUELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16460          CELLINO & BARNES, P.C.

CRANE, JOYCELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12824          JOHNSON LAW GROUP

CRANE, LESLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01761          ONDERLAW, LLC

CRANE, SHARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16765          NACHAWATI LAW GROUP

CRANFILL, TERRI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10520          LENZE LAWYERS, PLC

CRANFORD, EVELYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11979          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRANFORD, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12600          SANDERS VIENER GROSSMAN, LLP

CRANFORD, MACHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10927          DALIMONTE RUEB, LLP

CRANFORD, TRACYE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19458          THE DILORENZO LAW FIRM, LLC

CRANSTON, JEANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07791          THE DUGAN LAW FIRM, APLC

CRASE, LYNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12557          POTTS LAW FIRM

CRAVANAS, ELAINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01904          ARNOLD & ITKIN LLP

CRAVEN, DENISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18956          NACHAWATI LAW GROUP

CRAVEN, JONI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16710          NACHAWATI LAW GROUP

CRAVEN, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10131          ONDERLAW, LLC

CRAVEN, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01481          JOHNSON LAW GROUP

CRAVEN, MARTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21280          ONDERLAW, LLC



                                                                          Page 260 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                         Appendix A (Part 1) Page 262 of 702

           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CRAVEN, ZINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11162          GOLDENBERGLAW, PLLC

CRAVENOR, TERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10271          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRAVILLION, ETHEL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01022          THE SEGAL LAW FIRM

CRAWFORD, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16115          NACHAWATI LAW GROUP

CRAWFORD, BEVERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20263          MOTLEY RICE, LLC

CRAWFORD, CATHARINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12862          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRAWFORD, CATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06878          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRAWFORD, CELAI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09152          ONDERLAW, LLC

CRAWFORD, DOROTHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11209          NACHAWATI LAW GROUP

CRAWFORD, ELOISE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13647          DALIMONTE RUEB, LLP

CRAWFORD, GLENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00939          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRAWFORD, KARLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13673          ONDERLAW, LLC

CRAWFORD, KIMBERLY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05216          ONDERLAW, LLC

CRAWFORD, LISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10041          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRAWFORD, LISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07443          ONDERLAW, LLC

CRAWFORD, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05827          ONDERLAW, LLC

CRAWFORD, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10050          ONDERLAW, LLC

CRAWFORD, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05165          ONDERLAW, LLC

CRAWFORD, MORGAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09852          ONDERLAW, LLC

CRAWFORD, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11990          NACHAWATI LAW GROUP

CRAWFORD, NIKKI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12615          THE SIMON LAW FIRM, PC

CRAWFORD, PAULINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11643          NACHAWATI LAW GROUP

CRAWFORD, PHYLLIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01619          HOLLAND LAW FIRM

CRAWFORD, ROSALEE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08190          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRAWFORD, SANDRA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003103-20        MOTLEY RICE NEW JERSEY LLC

CRAWFORD, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11352          SANDERS PHILLIPS GROSSMAN, LLC

CRAWFORD, SHUNDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10163          ONDERLAW, LLC

CRAWFORD, STEPHANIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11655          TORHOERMAN LAW LLC

CRAWFORD, VERSIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06998          ONDERLAW, LLC

CRAWHORN, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

CRAWHORN, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CRAWHORN, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CRAWLEY, JOAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14180          ASHCRAFT & GEREL, LLP

CRAWLEY, JOAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14180          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                         Page 261 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 263 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

CRAWLEY, LISA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000045-16        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRAWLEY, LISA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000045-16        PORTER & MALOUF, PA

CRAWLEY, LISA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000045-16        SEEGER WEISS LLP

CRAWLEY, LISA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000045-16        THE SMITH LAW FIRM, PLLC

CRAWLEY, MAMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14434          ASHCRAFT & GEREL

CREAL, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13439          DONALD L. SCHLAPPRIZZI P.C.

CREAMER, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09710          ARNOLD & ITKIN LLP

CREAMER, DOROEHEA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11578          NACHAWATI LAW GROUP

CREAMER, HEIDIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16705          NACHAWATI LAW GROUP

CREAMER, HEIDIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16705          ONDERLAW, LLC

CREAMER, LAVERA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07097          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CREAMER, MISTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14472          FLETCHER V. TRAMMELL

CREASY, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13326          DAVIS, BETHUNE & JONES, L.L.C.

CREDLE, CARMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06354          JOHNSON LAW GROUP

CREDLE, DEBORAH                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02745          ASHCRAFT & GEREL

CREDLE, DEBORAH                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02745          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CREEACH, DANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11572          NACHAWATI LAW GROUP

CREECH, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08647          DAVIS, BETHUNE & JONES, L.L.C.

CREECH, ERNESTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19763          NACHAWATI LAW GROUP

CREECH, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00879          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CREECH, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11624          THE MILLER FIRM, LLC

CREECH, SANDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10439          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CREED, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09497          ONDERLAW, LLC

CREED, LORI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02075          JOHNSON LAW GROUP

CREED, LORI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02075          LEVIN SIMES LLP

CREIGHTON, ALICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06360          ONDERLAW, LLC

CREIGHTON, LESLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21823          ONDERLAW, LLC

CRENSHAW, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01820          THE CUFFIE LAW FIRM

CRENSHAW, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05117          ONDERLAW, LLC

CRENSHAW, JEAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15787          THE SEGAL LAW FIRM

CRENSHAW, LAKEISHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04058          THE MILLER FIRM, LLC

CRENSHAW, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11070          HAFELI STARAN & CHRIST , P.C.

CRESCIONE, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10568          ONDERLAW, LLC

CRESON, DORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00164          ASHCRAFT & GEREL



                                                                             Page 262 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 264 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

CRESON, DORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00164          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRESPO, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11174          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

CRESSMAN, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13395          WATERS & KRAUS, LLP

CRESSWELL, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09626          FLETCHER V. TRAMMELL

CRESWELL, ARTIE                   CA - SUPERIOR COURT - CONTRA COSTA COUNTY    MSC18-02142            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CRESWELL, ARTRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16381          NACHAWATI LAW GROUP

CRETHERS, CORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02726          ONDERLAW, LLC

CREW, LAKISHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08609          ONDERLAW, LLC

CREWS, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11603          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CREWS, BELINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07006          HOLLAND LAW FIRM

CREWS, CHARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16677          NACHAWATI LAW GROUP

CREWS, LYDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19238          ARNOLD & ITKIN LLP

CREWS, SAMANTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03031          WEXLER WALLACE LLP

CREZO, VELINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06074          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CREZO, VELINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07046          ONDERLAW, LLC

CRIADO, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09476          ONDERLAW, LLC

CRIBB, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14170          JOHNSON LAW GROUP

CRIBB, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05963          JOHNSON LAW GROUP

CRIDER, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08671          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRIGGER, SAMANTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09448          ONDERLAW, LLC

CRIM, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20458          ONDERLAW, LLC

CRIMMINS, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15697          LENZE KAMERRER MOSS, PLC

CRINCOLI, LOUISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13475          THE FERRARO LAW FIRM, P.A.

CRINER, SALLY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002215-20        GOLOMB & HONIK, P.C.

CRIOLLO, GUADALUPE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10591          GOLOMB & HONIK, P.C.

CRIPE, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10549          LIAKOS LAW APC

CRIPPEN, CANDACE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09933          ONDERLAW, LLC

CRISMON, CYNTHIA                  CA - SUPERIOR COURT - RIVERSIDE COUNTY       RIC1819719             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRISMON, CYNTHIA                  CA - SUPERIOR COURT - RIVERSIDE COUNTY       RIC1819719             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CRISMON, CYNTHIA                  CA - SUPERIOR COURT - RIVERSIDE COUNTY       RIC1819719             THE SMITH LAW FIRM, PLLC

CRISO, IRENE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003183-20        COHEN, PLACITELLA & ROTH

CRISO, IRENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00533          EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

CRISOSTOMO, YOLANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                             Page 263 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                              Appendix A (Part 1) Page 265 of 702

               Claimant Name                         State Filed                      Docket Number                                Plaintiff Counsel

CRISOSTOMO, YOLANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059            ONDERLAW, LLC

CRISOSTOMO, YOLANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059            PORTER & MALOUF, PA

CRISOSTOMO, YOLANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059            THE SMITH LAW FIRM, PLLC

CRISP, DEBBIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04977            ONDERLAW, LLC

CRISP, IRENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13440            ONDERLAW, LLC

CRISP, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19799            HENINGER GARRISON DAVIS, LLC

CRISP, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10872            THE MILLER FIRM, LLC

CRISP-SILVA, CHANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12229            ROSS FELLER CASEY, LLP

CRIST, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14836            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRISTOBAL, NANETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09159            BARRETT LAW GROUP

CRISWELL, CRISANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00093            FLETCHER V. TRAMMELL

CRITE-WILKINS, GWENDOLYN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06980            ONDERLAW, LLC

CRIVELLO, CHRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18270            DRISCOLL FIRM, P.C.

CROAL, COLLETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16463            CELLINO & BARNES, P.C.

CROBARGER, KALA                   CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-33875-CU-PL-NC   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROBARGER, KALA                   CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-33875-CU-PL-NC   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CROBARGER, KALA                   CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-33875-CU-PL-NC   THE SMITH LAW FIRM, PLLC

CROCE, AVIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08241            ONDERLAW, LLC

CROCHET, JODY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821             ONDERLAW, LLC

CROCHET, JODY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821             PORTER & MALOUF, PA

CROCHET, JODY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821             THE SMITH LAW FIRM, PLLC

CROCKER, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00188            ASHCRAFT & GEREL

CROCKER, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00188            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROCKER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09252            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROCKER, LOIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07411            ONDERLAW, LLC

CROCKETT, ANNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12023            FLETCHER V. TRAMMELL

CROCKETT, DARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16684            NACHAWATI LAW GROUP

CROCKETT, KANISHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02477            DRISCOLL FIRM, P.C.

CROCKETT-TURNER, SHARON           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15576            THE SEGAL LAW FIRM

CROCOLL, CROCOLL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11624            BRUERA LAW FIRM PLLC

CROFT, GLENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10642            JAMES MORRIS LAW FIRM PC

CROFT, GRETI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18784            HOLLAND LAW FIRM

CROFT, WALISHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03215            MORELLI LAW FIRM, PLLC

CROFTS, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04172            ONDERLAW, LLC



                                                                             Page 264 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                         Appendix A (Part 1) Page 266 of 702

           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

CROLLARD, SHELLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08868          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROMER, SOMBEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROMER, SOMBEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          GOLDENBERGLAW, PLLC

CROMER, SOMBEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          ONDERLAW, LLC

CROMER, SOMBEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          PORTER & MALOUF, PA

CROMER, SOMBEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          THE SMITH LAW FIRM, PLLC

CROMPTON, LORRAINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16774          ONDERLAW, LLC

CROMWELL, PAULA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09497          THE MILLER FIRM, LLC

CRONANDER, LAURA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20460          ONDERLAW, LLC

CRONE, DENIS                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC673674               THE BRANDI LAW FIRM

CRONE, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08573          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRONEY, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03684          ONDERLAW, LLC

CRONIN, JEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11349          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CRONK, ANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19979          LEVIN SEDRAN & BERMAN

CRONKHITE, KRISTIN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17227          THE MILLER FIRM, LLC

CRONKRITE, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11355          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROOK, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10723          NACHAWATI LAW GROUP

CROOK, JEWEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00876          ENVIRONMENTAL LITIGATION GROUP, PC

CROOK, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16982          ONDERLAW, LLC

CROOKS, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10596          NACHAWATI LAW GROUP

CROOKS, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11270          ASHCRAFT & GEREL

CROOMS, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06738          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

CROPP, ROSEMARIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12848          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROPPER, DANASTACIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07051          ONDERLAW, LLC

CROPPER, LIBERTY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

CROPPER, LIBERTY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CROPPER, LIBERTY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CROSBY, BERTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20111          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROSBY, LUELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03669          FLETCHER V. TRAMMELL

CROSBY, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03071          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROSBY, PEARL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13503          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CROSBY, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03303          ONDERLAW, LLC

CROSLAND, THELMA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06461          THE ENTREKIN LAW FIRM




                                                                         Page 265 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 267 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CROSS, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16674          NACHAWATI LAW GROUP

CROSS, CORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11555          THE MILLER FIRM, LLC

CROSS, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15380          ONDERLAW, LLC

CROSS, ELIZABETH                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL_L-002525-20        GOLOMB & HONIK, P.C.

CROSS, HERLUNDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17709          NACHAWATI LAW GROUP

CROSS, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14708          ONDERLAW, LLC

CROSS, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14877          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

CROSS, LANELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10439          GORI JULIAN & ASSOCIATES, P.C.

CROSS, LETTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17264          TORHOERMAN LAW LLC

CROSS, LILLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02612          COHEN, PLACITELLA & ROTH

CROSS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROSS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

CROSS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

CROSS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

CROSS, MELANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17313          LEVIN SIMES ABRAMS LLP

CROSS, RENEA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003171-19        GOLOMB SPIRT GRUNFELD PC

CROSS, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01747          ONDERLAW, LLC

CROSS, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06070          POGUST BRASLOW & MILLROOD, LLC

CROSS, VEDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10278          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROSSLAND, KRISTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02663          ONDERLAW, LLC

CROSSLAND-MALLOY, BEVERLY        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004201-20        GOLOMB & HONIK, P.C.

CROSSLEY, ANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20461          ONDERLAW, LLC

CROSSLEY, LYNN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

CROSSWHITE, CHARLOTTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01842          THE MILLER FIRM, LLC

CROTSER, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01318          ASHCRAFT & GEREL

CROTSER, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01318          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROTZER, DIANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03112          ONDERLAW, LLC

CROUCH, CYNTHIA LORRAINE         NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00179-19AS       LEVY KONIGSBERG LLP

CROUCH, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12864          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROUCH, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20462          ONDERLAW, LLC

CROUSE, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12440          THE DIETRICH LAW FIRM, PC

CROUSE, JEANNETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06641          ARNOLD & ITKIN LLP

CROUSE, KANDACE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06938          ONDERLAW, LLC

CROUSE, LAURINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02745          THE SEGAL LAW FIRM



                                                                            Page 266 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 268 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

CROW, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12467          SANDERS PHILLIPS GROSSMAN, LLC

CROW, CAROLINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12331          ONDERLAW, LLC

CROWDER, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01445          ONDERLAW, LLC

CROWDER, DEBORAH                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2898-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROWDER, DEBORAH                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2898-15          PORTER & MALOUF, PA

CROWDER, DEBORAH                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2898-15          SEEGER WEISS LLP

CROWDER, DEBORAH                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2898-15          THE SMITH LAW FIRM, PLLC

CROWE, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09368          ONDERLAW, LLC

CROWE, ARITHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15910          ASHCRAFT & GEREL, LLP

CROWE, ARITHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15910          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CROWE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15478          ONDERLAW, LLC

CROWE, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

CROWE, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CROWE, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CROWE, REBEKAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01432          CELLINO & BARNES, P.C.

CROWE, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02157          JOHNSON BECKER, PLLC

CROWELL, LORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00337          NACHAWATI LAW GROUP

CROWL, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07141          ONDERLAW, LLC

CROWL, JEANNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11874          NACHAWATI LAW GROUP

CROWL, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02936          ASHCRAFT & GEREL

CROWLEY, DARBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00985          LIEFF CABRASER HEIMANN & BERNSTEIN

CROWLEY, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09201          DIAMOND LAW

CROWN, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11825          ARNOLD & ITKIN LLP

CROXTON, JOANN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002334-20        GOLOMB & HONIK, P.C.

CROXTON, LEAH                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002442-20        GOLOMB & HONIK, P.C.

CROY, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01030          THE SEGAL LAW FIRM

CRUCE, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10994          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

CRUCHELOW, MARLYS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09829          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRUDUP, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00737          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CRUM, CARLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05163          ONDERLAW, LLC

CRUM, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08579          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRUMBLE, ELFREDIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19532          NACHAWATI LAW GROUP

CRUMLISH, KATHLEEN               MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRUMLISH, KATHLEEN               MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC



                                                                            Page 267 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 269 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

CRUMLISH, KATHLEEN                MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

CRUMLISH, KATHLEEN                MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

CRUMM, SHANNON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05529          ARNOLD & ITKIN LLP

CRUMP, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09449          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRUMP, INEZ                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16949          SANDERS PHILLIPS GROSSMAN, LLC

CRUMP, MARIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11400          ASHCRAFT & GEREL

CRUMP, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16714          LINVILLE LAW GROUP

CRUMP, MICHELE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08103          ONDERLAW, LLC

CRUMP, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11761          NACHAWATI LAW GROUP

CRUSE, DEBORAH                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002600-20        GOLOMB & HONIK, P.C.

CRUSE, LINDSI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14476          FLETCHER V. TRAMMELL

CRUSE, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01474          ONDERLAW, LLC

CRUSE, SONJI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16752          NACHAWATI LAW GROUP

CRUSHA, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

CRUSHA, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CRUSHA, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15176          LENZE LAWYERS, PLC

CRUSHA, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CRUSHA, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15176          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

CRUSON, HEIDI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03732          JOHNSON LAW GROUP

CRUTCHFIELD, KIM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20207          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRUTCHFIELD, MARSHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10450          WILLIAMS HART LAW FIRM

CRUZ, AIDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11142          NACHAWATI LAW GROUP

CRUZ, CARMEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08264          ONDERLAW, LLC

CRUZ, CHRISTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01138          FLETCHER V. TRAMMELL

CRUZ, CLARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10714          JOHNSON BECKER, PLLC

CRUZ, EMILY DELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05009          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRUZ, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13217          FLETCHER V. TRAMMELL

CRUZ, JOHNANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13210          DALIMONTE RUEB, LLP

CRUZ, JOSEFINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19454          ASHCRAFT & GEREL, LLP

CRUZ, JOSEFINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19454          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CRUZ, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01544          ONDERLAW, LLC

CRUZ, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16737          NACHAWATI LAW GROUP

CRUZ, NIRMA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-133-18           KEEFE BARTELS

CRUZ, NIRMA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-133-18           LAW OFFICE OF GRANT D. AMEY, LLC



                                                                             Page 268 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 270 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CRUZ, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15931          JOHNSON LAW GROUP

CRUZ, RIONA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12391          BARRETT LAW GROUP

CRUZ, SAMANTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07415          HEYGOOD, ORR & PEARSON

CRUZ, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15723          NACHAWATI LAW GROUP

CRUZ, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20463          ONDERLAW, LLC

CRUZ, SHANTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13806          ONDERLAW, LLC

CRUZ, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

CRUZ, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15531          LENZE LAWYERS, PLC

CRUZ, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CRUZ, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15531          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CRUZ, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CRUZ, VIVIAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16260          CELLINO & BARNES, P.C.

CRUZ, ZENAIDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16204          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CRUZE, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

CRUZE, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

CRUZE, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CRUZ-GUZMAN, CARMEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

CRYSTAL BELLE-ROBINSON           IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CRYSTAL DUKES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17974          WEITZ & LUXENBERG

CRYSTAL EDWARDS                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CUAMBA, VERONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00289          COHEN & MALAD, LLP

CUBBY, CLARISSA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002726-21        WEITZ & LUXENBERG

CUBLEY, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04675          ONDERLAW, LLC

CUCCHIARA, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17826          NACHAWATI LAW GROUP

CUCCHIELLA, LOUISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00351          ASHCRAFT & GEREL

CUCCHIELLA, LOUISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00351          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CUCINOTTA, JO LYNN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00526          JOHNSON BECKER, PLLC

CUCURELLA, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17771          ASHCRAFT & GEREL, LLP

CUCURELLA, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17771          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CUDDON, LEONORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04958          BURNS CHAREST LLP

CUDDY, ANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01904          FLETCHER V. TRAMMELL

CUELLAR, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15297          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CUEVAS, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08739          ONDERLAW, LLC

CUEVAS, BRAUDELINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12724          CELLINO & BARNES, P.C.



                                                                            Page 269 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                             Appendix A (Part 1) Page 271 of 702

               Claimant Name                        State Filed                       Docket Number                               Plaintiff Counsel

CUEVAS, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16114          ONDERLAW, LLC

CUEVAS, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16750          ASHCRAFT & GEREL

CUEVAS, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16750          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CUEVAS, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18969          NACHAWATI LAW GROUP

CUEVAS, ZULEMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08685          ONDERLAW, LLC

CUFF, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05346          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CUFF, SHAWNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10056          GORI JULIAN & ASSOCIATES, P.C.

CUGINI, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11256          NACHAWATI LAW GROUP

CUKOVIC, ALEKSANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03374          MOTLEY RICE, LLC

CULBREATH, PHENOLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00673          THE MILLER FIRM, LLC

CULCLASURE, AUGUSTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13814          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CULHANE, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13124          NACHAWATI LAW GROUP

CULLEN, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19932          NACHAWATI LAW GROUP

CULLEN, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02440          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CULLEN, FRANCES                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002335-20        GOLOMB & HONIK, P.C.

CULLEN, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13096          MORELLI LAW FIRM, PLLC

CULLEN, ROSELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16997          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CULLEN, VALERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09456          SANDERS VIENER GROSSMAN, LLP

CULLEN-CHIGAS, DIANE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17766          ONDERLAW, LLC

CULLER, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02060          ONDERLAW, LLC

CULLETTO, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20463          ASHCRAFT & GEREL, LLP

CULLETTO, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20463          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CULLEY, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11337          HART MCLAUGHLIN & ELDRIDGE

CULLINS, GAIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14433          ASHCRAFT & GEREL

CULLISON, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13471          THE MILLER FIRM, LLC

CULLIVAN, LUCIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06566          JOHNSON LAW GROUP

CULOTTA, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20210          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CULP, JERRLYN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002338-20        GOLOMB & HONIK, P.C.

CULP, MELVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04447          FLEMING, NOLEN & JEZ, LLP

CULPEPPER, ALLEGRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16147          ASHCRAFT & GEREL, LLP

CULPEPPER, ALLEGRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16147          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CULPEPPER, AMELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03952          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CULPEPPER, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09898          ONDERLAW, LLC

CULPEPPER, TINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.



                                                                             Page 270 of 1405
                           Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                           Appendix A (Part 1) Page 272 of 702

           Claimant Name                          State Filed                       Docket Number                               Plaintiff Counsel

CULPEPPER, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451             LENZE LAWYERS, PLC

CULPEPPER, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20863             ONDERLAW, LLC

CULPEPPER, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CULVER, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00384             KLINE & SPECTER, P.C.

CULVER, NELDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12737             ASHCRAFT & GEREL

CUMBERLAND, MARCELEINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00487             DIAMOND LAW

CUMBIE, GRACIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05374             WILLIAMS HART LAW FIRM

CUMBY, LAVERNE                  CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-23869-CU-MT-CTL   ASPEY, WATKINS & DIESEL, PLLC

CUMBY, LAVERNE                  CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-23869-CU-MT-CTL   BURNS CHAREST LLP

CUMBY, SANDRA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002443-20           GOLOMB & HONIK, P.C.

CUMMINGS, ANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09640             ONDERLAW, LLC

CUMMINGS, CHARLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12127             FLETCHER V. TRAMMELL

CUMMINGS, DIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16782             NACHAWATI LAW GROUP

CUMMINGS, EMMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-20067             MCSWEENEY/LANGEVIN, LLC
CUMMINGS, JAMES AND CUMMINGS,
                                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00617-20AS          WEITZ & LUXENBERG
ROSEMARY
CUMMINGS, KAREN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002160-18           COHEN, PLACITELLA & ROTH

CUMMINGS, MAUREEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09101             ONDERLAW, LLC

CUMMINGS, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07350             THE MILLER FIRM, LLC

CUMMINGS, SHAMIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08562             CHILDERS, SCHLUETER & SMITH, LLC

CUMMINS, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18165             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CUMMINS, PHYLLIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11438             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CUNCIC, SUZANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12027             NACHAWATI LAW GROUP

CUNDIFF, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17297             GOZA & HONNOLD, LLC

CUNNING, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07270             ONDERLAW, LLC

CUNNINGAN-WILSON, SHARON        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05702             POGUST BRASLOW & MILLROOD, LLC

CUNNINGHAM, AMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01419             BURNS CHAREST LLP

CUNNINGHAM, AMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01419             BURNS CHAREST LLP

CUNNINGHAM, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10630             NAPOLI SHKOLNIK, PLLC

CUNNINGHAM, BONNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12209             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CUNNINGHAM, CATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12773             ASHCRAFT & GEREL

CUNNINGHAM, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02297             LUNDY, LUNDY, SOILEAU & SOUTH, LLP

CUNNINGHAM, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10147             ONDERLAW, LLC

CUNNINGHAM, ELVA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17181             ONDERLAW, LLC




                                                                           Page 271 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 273 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

CUNNINGHAM, JACQUELINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15255          DRISCOLL FIRM, P.C.

CUNNINGHAM, JOANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

CUNNINGHAM, JOANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14939          LENZE LAWYERS, PLC

CUNNINGHAM, JOANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

CUNNINGHAM, JOANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14939          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CUNNINGHAM, JOANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CUNNINGHAM, KAY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13276          BARON & BUDD, P.C.

CUNNINGHAM, KAY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06129          THE ENTREKIN LAW FIRM

CUNNINGHAM, MILDRED             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09437          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CUNNINGHAM, NORMA               CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327526             DANIEL & ASSOCIATES, LLC

CUNNINGHAM, NORMA               CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327526             KIESEL LAW, LLP

CUNNINGHAM, NORMA               CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327526             THE WHITEHEAD LAW FIRM, LLC

CUNNINGHAM, PAMELA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002526-20        GOLOMB & HONIK, P.C.

CUNNINGHAM, PATRICIA            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CUNNINGHAM, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18976          NACHAWATI LAW GROUP

CUNNINGHAM, PATRICIA            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

CUNNINGHAM, PATRICIA            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

CUNNINGHAM, PATRICIA            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

CUNNINGHAM, RHONDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20823          WILLIAMS HART LAW FIRM

CUNNINGHAM, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12140          FLETCHER V. TRAMMELL

CUNNINGHAM, SARAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11435          NACHAWATI LAW GROUP

CUNNINGHAM, VIRGINIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01185          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CUNNINGHAM, VIRGINIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03410          MOTLEY RICE, LLC

CUNNINGHAM, YAVONNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06662          CHILDERS, SCHLUETER & SMITH, LLC

CUNNINGHAM-SCURTO, MARY         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CUNNINGHAM-SCURTO, MARY         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

CUNNINGHAM-SCURTO, MARY         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

CUNNINGHAM-SCURTO, MARY         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

CUOZZO, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18562          ONDERLAW, LLC

CUPELES, MELISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08120          ONDERLAW, LLC

CUPELLI, WENDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09431          HILLIARD MARTINEZ GONZALES, LLP

CUPIL, ORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18982          NACHAWATI LAW GROUP




                                                                           Page 272 of 1405
                              Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                Appendix A (Part 1) Page 274 of 702

              Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel

CUPINA, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11300          ONDERLAW, LLC

CUPO, MARION                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

CUPO, MARION                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

CUPO, MARION                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

CUPO, MARION                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

CUPP, ALICE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01810          ASHCRAFT & GEREL

CUPP, ALICE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01810          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CUPP, ELENA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07589          ONDERLAW, LLC

CUPPER, JUNE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20251          THE SEGAL LAW FIRM

CUPPS, CATHERINE AND CUPPS, CLIFTON NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002853-20        WEITZ & LUXENBERG

CUPSTID, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04818          ASHCRAFT & GEREL, LLP

CUPULONG, MARITESS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01480          COHEN & MALAD, LLP

CURCIO, JOANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08263          THE LAW OFFICES OF SEAN M CLEARY

CURE, ADRIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02614          THE MILLER FIRM, LLC

CURETON, RENEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14165          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CURIEL, MONICA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15301          DRISCOLL FIRM, P.C.

CURILLA, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20464          ONDERLAW, LLC

CURLIE, GERALDINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03253          LUDWIG LAW FIRM, PLC

CURRAN, JACQUELINE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002760-21        WEITZ & LUXENBERG

CURRAN, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17329          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CURRAN, SHAWNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01772          ONDERLAW, LLC

CURRAN, VALENTIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15666          ONDERLAW, LLC

CURRIE, CHERYL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09695          MORELLI LAW FIRM, PLLC

CURRIE, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09806          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CURRIER, SAVANNAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19398          NACHAWATI LAW GROUP

CURRIER-RUSACK, JANALYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

CURRIER-RUSACK, JANALYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14913          LENZE LAWYERS, PLC

CURRIER-RUSACK, JANALYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

CURRIER-RUSACK, JANALYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14913          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CURRIER-RUSACK, JANALYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

CURRY, ALICE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16790          GORI JULIAN & ASSOCIATES, P.C.

CURRY, ANGELA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03748          HOLLAND LAW FIRM

CURRY, AUDREY                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003213-21        WEITZ & LUXENBERG




                                                                               Page 273 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 275 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CURRY, CHARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14923          ONDERLAW, LLC

CURRY, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02377          ONDERLAW, LLC

CURRY, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11780          NACHAWATI LAW GROUP

CURRY, JEANETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01521          ONDERLAW, LLC

CURRY, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09810          ONDERLAW, LLC

CURRY, JUANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09985          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CURRY, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00154          ARNOLD & ITKIN LLP

CURRY, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11426          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CURRY, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15591          GIRARDI & KEESE

CURRY, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10148          ONDERLAW, LLC

CURRY, RANDI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19321          MOTLEY RICE, LLC

CURRY, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03137          FLETCHER V. TRAMMELL

CURRY, SAUNDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04307          ROSS FELLER CASEY, LLP

CURRY, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01989          DALIMONTE RUEB, LLP

CURRY, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00674          THE MILLER FIRM, LLC

CURTHS, DORCAS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11632          NACHAWATI LAW GROUP

CURTIN, KATHLEEN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002339-20        GOLOMB & HONIK, P.C.

CURTIN, MAGDALENA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06547          ONDERLAW, LLC

CURTIS, APRIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18542          CHILDERS, SCHLUETER & SMITH, LLC

CURTIS, APRIL                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002844-21        WEITZ & LUXENBERG

CURTIS, CHERYLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03216          ONDERLAW, LLC

CURTIS, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13582          DRISCOLL FIRM, P.C.

CURTIS, ESTHER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18824          MOTLEY RICE, LLC

CURTIS, FLORENCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19032          NACHAWATI LAW GROUP

CURTIS, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06536          ONDERLAW, LLC

CURTIS, JAVONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05143          ONDERLAW, LLC

CURTIS, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20216          NACHAWATI LAW GROUP

CURTIS, JODY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14946          NACHAWATI LAW GROUP

CURTIS, JODY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05339          ONDERLAW, LLC

CURTIS, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11511          KLINE & SPECTER, P.C.

CURTIS, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02265          ONDERLAW, LLC

CURTIS, NICHOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11007          NACHAWATI LAW GROUP

CURTIS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01135          JOHNSON LAW GROUP

CURTIS, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18775          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.



                                                                             Page 274 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 276 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

CURTIS, RAMONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16338          BURNS CHAREST LLP

CURTIS, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01274          BURNS CHAREST LLP

CURTIS, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01274          BURNS CHAREST LLP

CURTIS, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12350          ONDERLAW, LLC

CURTIS, SHEILLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07341          ONDERLAW, LLC

CURTIS, TAMARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15510          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

CURTIS, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18849          ONDERLAW, LLC

CURTIS, THEA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12822          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

CURYK, ALEXA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09950          GORI JULIAN & ASSOCIATES, P.C.

CUSANELLI, SHERRY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03605          ONDERLAW, LLC

CUSHENBERRY, KAY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12673          DRISCOLL FIRM, P.C.

CUSHING, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08584          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CUSHMAN, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07162          ARNOLD & ITKIN LLP

CUSICK, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19399          ONDERLAW, LLC

CUSTER, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06501          ONDERLAW, LLC

CUSTIS, GERALDINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13351          NACHAWATI LAW GROUP

CUSTODIO, MARANGELY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17529          WEITZ & LUXENBERG

CUSUMANO, JOSEPHINE            NJ - SUPERIOR COURT - ATLANTIC COUNTY        L00166719              GOLOMB SPIRT GRUNFELD PC

CUTHBERT, NORMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12028          ONDERLAW, LLC

CUTLER, SUZANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00538          JOHNSON BECKER, PLLC

CUTLIP, CASSANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09705          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CUTRER, LORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11948          MORRIS BART & ASSOCIATES

CUTRONE, FRANCES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12511          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

CUTRONE, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16723          NACHAWATI LAW GROUP

CUTRUMBES, CAROLE              IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

CUTTER, JANIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12654          NAPOLI SHKOLNIK, PLLC

CVETKOVIC, GRESCHEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21826          ONDERLAW, LLC

CVIRIK, ESTHER                 ONTARIO (TORONTO)                            CV-22-00679043-0000    PRESZLER INJURY LAWYERS

CYMBALUK, LOUISE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002483-18        ROSS FELLER CASEY, LLP

CYNEWSKI, ALTHEA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002527-20        GOLOMB & HONIK, P.C.

CYNTHIA DEANS                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02695          ASHCRAFT & GEREL, LLP

CYNTHIA DEANS                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02695          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CYNTHIA POTEAT                 FEDERAL - MDL                                3:21-CV-19681          CORY, WATSON, CROWDER & DEGARIS P.C.

CYNTHIA POTEAT                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19681          CORY, WATSON, CROWDER & DEGARIS, P.C.



                                                                          Page 275 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 277 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

CYNTHIA ROMINE                   FEDERAL - MDL                                3:21-CV-19718          BISNAR AND CHASE

CYNTHIA SCRUGGS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18205          ONDERLAW, LLC

CYNTHIA SCRUGGS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18205          ONDERLAW, LLC

CYNTHIA SHED                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18622          WEITZ & LUXENBERG

CYNTHIA, GREENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14285          ASHCRAFT & GEREL, LLP

CYNTHIA, GREENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14285          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

CYPHERS, GENEVA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06944          ONDERLAW, LLC

CZAJKOWSKI, MARYBETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00360          ONDERLAW, LLC

CZAPANSKY, BETTIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00086          MOTLEY RICE, LLC

DABBS, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13489          ONDERLAW, LLC

DABELL, D'ANN                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DABNEY, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13411          NACHAWATI LAW GROUP

DACE, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09647          ONDERLAW, LLC

DACOVICH, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06596          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DACRUZ, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16017          NACHAWATI LAW GROUP

DACUS, PATRICIA                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02746          ASHCRAFT & GEREL, LLP

DACUS, PATRICIA                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02746          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DADDARIO, JOHANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11230          DALIMONTE RUEB, LLP

DADLES, VICKI                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02666          ASHCRAFT & GEREL, LLP

DADLES, VICKI                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02666          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DADLES, VICKI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16491          THE MILLER FIRM, LLC

DAFFINRUD, APEARLELLA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19818          NACHAWATI LAW GROUP

DAFOE, JOY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06763          HOVDE, DASSOW, & DEETS, LLC

DAFOE, JOY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06763          THE MILLER FIRM, LLC

DAGA, FLORENCIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03033          FLETCHER V. TRAMMELL

DAGGETT, REVIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07901          TORHOERMAN LAW LLC

DAGH-GOODMAN, DEBRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11415          DAVIS, BETHUNE & JONES, L.L.C.

DAGLIERI, ANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08905          GOZA & HONNOLD, LLC

DAGOSTINO, GERALDINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14087          NAPOLI SHKOLNIK, PLLC

DAGROSA, PATRICIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-194-18           MORELLI LAW FIRM, PLLC

DAHDAL, FATENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13209          ONDERLAW, LLC

DAHER, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16112          JOHNSON LAW GROUP

DAHILIG, KATHLEEN SHELTON        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01333          JOHNSON LAW GROUP

DAHL, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08243          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 276 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 278 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

DAHL, JULIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12131          ONDERLAW, LLC

DAHL, KARI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17092          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAHL, MICHELE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAHL, MICHELE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

DAHL, MICHELE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

DAHL, MICHELE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

DAHLBERG, MADDALENA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16741          NACHAWATI LAW GROUP

DAHLGREN, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05826          ONDERLAW, LLC

DAHLMAN, RACHEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17160          WILLIAMS HART LAW FIRM

DAHME, BARB                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15844          NACHAWATI LAW GROUP

DAHMS, DEB                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04994          ONDERLAW, LLC

DAIGLE, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16742          ASHCRAFT & GEREL

DAIGLE, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16742          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAIGLE, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02098          ONDERLAW, LLC

DAIGLE, KATHLEEN                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC698281               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

DAIGNEAU, STACEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03252          ONDERLAW, LLC

DAILEY, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03012          ONDERLAW, LLC

DAILEY, ESTHER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00876          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DAILEY, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13592          DRISCOLL FIRM, P.C.

DAILEY, MARYANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19639          ONDERLAW, LLC

DAILEY, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16949          WEITZ & LUXENBERG

DAILEY, SHELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19471          NACHAWATI LAW GROUP

DAILEY, TERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06046          POGUST BRASLOW & MILLROOD, LLC

DAILEY, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04110          ONDERLAW, LLC

DAILY, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12924          ONDERLAW, LLC

DAILY, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06785          ONDERLAW, LLC

DAKA, BETTIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09791          BARON & BUDD, P.C.

DAKA, BETTIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09485          ONDERLAW, LLC

DAKE, VICKY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17480          ASHCRAFT & GEREL

DALBY, JO                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15727          WATERS & KRAUS, LLP

DALBY, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17881          ASHCRAFT & GEREL, LLP

DALBY, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17881          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DALE, ARRETTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09543          ONDERLAW, LLC




                                                                             Page 277 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 279 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

DALE, DIANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02434          HOLLAND LAW FIRM

DALE, LANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21699          ASHCRAFT & GEREL, LLP

DALE, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19352          ONDERLAW, LLC

DALEDA DESHONG                   FEDERAL - MDL                                3:21-CV-16919          DAVIS, BETHUNE & JONES, L.L.C.

DALEN, JONI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17099          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DALEY, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06585          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DALEY, DEIDRE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16755          NACHAWATI LAW GROUP

DALEY, JONEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00801          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DALEY, MAIRON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09602          THE SEGAL LAW FIRM

DALEY, REESE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05865          ONDERLAW, LLC

DALEY, ROBBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06089          POGUST BRASLOW & MILLROOD, LLC

DALEY, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04494          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DALFERES, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03312          ONDERLAW, LLC

DALLAIRE, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08951          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DALLAS, DALE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00821          ONDERLAW, LLC

DALLAS, DESHANNON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07036          ONDERLAW, LLC

DALLAS, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11027          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

DALLATOR, ELVIRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07242          NAPOLI SHKOLNIK, PLLC

DALLER, MARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14045          LENZE KAMERRER MOSS, PLC

DALLEY, TASMIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01911          ARNOLD & ITKIN LLP

DALMORAL, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19556          NACHAWATI LAW GROUP

DALTO, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09903          ONDERLAW, LLC

DALTON, BEVERLY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002589-20        GOLOMB & HONIK, P.C.

DALTON, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09074          ROSS FELLER CASEY, LLP

DALTON, GLENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12028          DRISCOLL FIRM, P.C.

DALTON, GLORIEST                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05096          ONDERLAW, LLC

DALTON, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13662          THE DUGAN LAW FIRM, APLC

DALTON, LEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07910          MORGAN & MORGAN

DALTON, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11170          NACHAWATI LAW GROUP

DALTON, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18530          THE MILLER FIRM, LLC

DALTON, TETIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10627          ARNOLD & ITKIN LLP

DALVERY, ESTHER                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002443-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

DALY, MEGAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06744          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

DALYRMPLE, MELANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10935          NACHAWATI LAW GROUP



                                                                            Page 278 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 280 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

DALZELL, GERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18368          NACHAWATI LAW GROUP

DAMBROSIA, ASCENZIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14866          CELLINO & BARNES, P.C.

DAMEWORTH, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DAMEWORTH, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14945          LENZE LAWYERS, PLC

DAMEWORTH, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DAMEWORTH, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14945          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DAMEWORTH, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DAMHOF, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00163          ASHCRAFT & GEREL

DAMHOF, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00163          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAMICO, ANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03667          FLETCHER V. TRAMMELL

DAMICO, HEATHER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05855          NAPOLI SHKOLNIK, PLLC

DAMMASCHKE, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00058          ONDERLAW, LLC

DANA, KATHY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000085-19        DALIMONTE RUEB, LLP

DANA, KATHY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000085-19        GOLOMB SPIRT GRUNFELD PC

DANA, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00162          ASHCRAFT & GEREL

DANA, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00162          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DANAH WRIGHT                     FEDERAL - MDL                                3:21-CV-19686          CORY, WATSON, CROWDER & DEGARIS P.C.

DANAHER, MARTIN                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-04686-19AS       LEVY KONIGSBERG LLP

DANAHEY, AMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11034          JOHNSON BECKER, PLLC

DANBY, DIANA                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DANCE, LAKEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07716          ASHCRAFT & GEREL, LLP

DANCE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07844          COHEN, PLACITELLA & ROTH

DANCY, CATESIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19073          NACHAWATI LAW GROUP

DANCY, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04934          ONDERLAW, LLC

DANDO, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02820          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DANDO, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01819          ONDERLAW, LLC

DANEK, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DANEK, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

DANEK, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

DANEK, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

DANEL, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13615          JOHNSON LAW GROUP

DANG, THUNGA                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     18CV335260             THE MILLER FIRM, LLC

DANGELO, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13427          ASHCRAFT & GEREL

DANIECE MILLER                   FEDERAL - MDL                                3:21-CV-19083          MOTLEY RICE, LLC



                                                                            Page 279 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 281 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

DANIEL SIMON                      NY - SUPREME COURT - NYCAL                   190252/2017            MEIROWITZ & WASSERBERG, LLP

DANIEL, ASHLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17567          TRAMMELL PC

DANIEL, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05653          ASHCRAFT & GEREL

DANIEL, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05653          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DANIEL, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01421          GIRARDI & KEESE

DANIEL, DORIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02498          ASHCRAFT & GEREL

DANIEL, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12351          OCONNOR, MCGUINNESS, CONTE, DOYLE,

DANIEL, JEFFREY                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DANIEL, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18400          ONDERLAW, LLC

DANIEL, LECHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18528          ONDERLAW, LLC

DANIEL, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11851          ASHCRAFT & GEREL, LLP

DANIEL, LULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09588          ONDERLAW, LLC

DANIEL, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11730          COHEN & MALAD, LLP

DANIEL, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11730          NIX PATTERSON & ROACH

DANIEL, SIOBAINNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02260          JOHNSON BECKER, PLLC

DANIEL, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18876          ANDRUS WAGSTAFF, P.C.

DANIEL, TAMALA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03217          ONDERLAW, LLC

DANIEL, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11798          KLINE & SPECTER, P.C.

DANIEL, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13614          JOHNSON LAW GROUP

DANIELS, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02645          ONDERLAW, LLC

DANIELS, CHACORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14372          ARNOLD & ITKIN LLP

DANIELS, CLAUDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06402          ONDERLAW, LLC

DANIELS, DANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14794          LENZE LAWYERS, PLC

DANIELS, DANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14794          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DANIELS, DEANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10753          JAMES MORRIS LAW FIRM PC

DANIELS, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02923          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DANIELS, FREDERICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17060          THE SEGAL LAW FIRM

DANIELS, JACQUELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07942          ONDERLAW, LLC

DANIELS, JEANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18496          DALIMONTE RUEB, LLP

DANIELS, JERALDINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16783          NACHAWATI LAW GROUP

DANIELS, KATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10079          ONDERLAW, LLC

DANIELS, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08796          ONDERLAW, LLC

DANIELS, KATHRYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08689          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                             Page 280 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 282 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DANIELS, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01767          ONDERLAW, LLC

DANIELS, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08806          MORRIS BART & ASSOCIATES

DANIELS, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06469          ONDERLAW, LLC

DANIELS, MORIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10955          ONDERLAW, LLC

DANIELS, NORA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

DANIELS, NORA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

DANIELS, NORA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

DANIELS, RACHAEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00642          THE SEGAL LAW FIRM

DANIELS, RHONDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10698          WALTON TELKEN FOSTER, LLC

DANIELS, SHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18054          ONDERLAW, LLC

DANIELS, SONYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14553          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DANIELS, SONYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07142          ONDERLAW, LLC

DANIELS, TERESA                CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV330512             THE MILLER FIRM, LLC

DANIELS, TERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13234          GORI JULIAN & ASSOCIATES, P.C.

DANIELS, TIFFANY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11539          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DANIELS, YVONNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12259          THORNTON LAW FIRM

DANIELS-BRIDGES, RETHA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05876          ONDERLAW, LLC

DANIELSON, SHARON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16983          ARNOLD & ITKIN LLP

DANKERT, JAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10774          NACHAWATI LAW GROUP

DANKO, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11370          NACHAWATI LAW GROUP

DANKO, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14597          DALIMONTE RUEB, LLP

DANKO, MAERUSHKA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DANKO, MAERUSHKA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

DANKO, MAERUSHKA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

DANKO, MAERUSHKA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

DANN DABELL                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DANNA, ROSA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003383-20        GOLOMB & HONIK, P.C.

DANNER, DOREEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17629          JOHNSON LAW GROUP

DANNER, JANINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14072          HILLIARD MARTINEZ GONZALES, LLP

DANNER, LINDA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L964-17            COHEN & MALAD, LLP

DANNER, LINDA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L964-17            GOLOMB SPIRT GRUNFELD PC

DANNER, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00604          DALIMONTE RUEB, LLP

DANNS, EVELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16794          NACHAWATI LAW GROUP




                                                                          Page 281 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 283 of 702

              Claimant Name                          State Filed                       Docket Number                            Plaintiff Counsel

DANNUNZIO, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22165          DRISCOLL FIRM, P.C.

DANSBY, JESSICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16813          NACHAWATI LAW GROUP
DANTIN, MELODY BAEHR & EST OF
                                   NY - SUPREME COURT - NYCAL                   190342/2017            MEIROWITZ & WASSERBERG, LLP
LLOYD BAEHR
DANTIN, MELODY JOY BAEHR           NY - SUPREME COURT - NYCAL                   190342/2017            MEIROWITZ & WASSERBERG, LLP

DANTINNE, TERESITA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327533             KIESEL LAW, LLP

DANTINNE, TERESITA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327533             THE WHITEHEAD LAW FIRM, LLC

DANTZLER, SABRINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08247          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAOUST, NIKKI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05533          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAPICE, FRANCIS & DAPICE, MAUREEN H NY - SUPREME COURT - WESTCHESTER COUNTY     62317/2021             KARST & VON OISTE, LLP

D'APRILE, LOIS                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02667          ASHCRAFT & GEREL, LLP

D'APRILE, LOIS                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02667          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAQUIENO, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10705          NAPOLI SHKOLNIK, PLLC

DARAG, MILA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12638          DALIMONTE RUEB, LLP

DARANDA, TAMARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05705          ONDERLAW, LLC

DARBY, BEVERLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14750          LENZE LAWYERS, PLC

DARBY, BEVERLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14750          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DARBY, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17424          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

DARCANGELO, COLLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09106          ONDERLAW, LLC

DARCEY, ELEANOR                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15034          NAPOLI SHKOLNIK, PLLC

DARCY LAVALLEE                     FEDERAL - MDL                                3:21-CV-19065          MOTLEY RICE, LLC

DARDAR, APRIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05786          ONDERLAW, LLC

DARDAR, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20797          ONDERLAW, LLC

DARDEN, AMANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15381          ONDERLAW, LLC

DARDEN, JOVINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05662          ONDERLAW, LLC

DARDEN, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03917          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DARDEN, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00281          THE DUGAN LAW FIRM, APLC

DARDEN, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13832          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DARE, SUZANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03316          JOHNSON LAW GROUP

DARE, SUZANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06879          ONDERLAW, LLC

DARE, VIRGINIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14044          FLETCHER V. TRAMMELL

DARIAN, NAHID                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC647812               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

DARLENE MILLER                     FEDERAL - MDL                                3:21-CV-19777          ONDERLAW, LLC




                                                                              Page 282 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                           Appendix A (Part 1) Page 284 of 702

             Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

DARLENE MOORE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18716          JOHNSON LAW GROUP

DARLING, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05480          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DARLING, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19498          NACHAWATI LAW GROUP

DARLING, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02720          THE MILLER FIRM, LLC

DARLING, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02449          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DARLING-MITCHELL, YVONNE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03705          ONDERLAW, LLC

DARLINGTON, FRANCES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01042          MCSWEENEY/LANGEVIN, LLC

DARMAND, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08546          JOHNSON LAW GROUP

DARNEL, CATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15037          NACHAWATI LAW GROUP

DARNELL, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19535          NACHAWATI LAW GROUP

DARNELL, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05129          POTTS LAW FIRM

DARNELL, LASHAWN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19430          ARNOLD & ITKIN LLP

DARR, RUBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00294          CELLINO & BARNES, P.C.

DARRAH-NORDBERG, DIANE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09266          ONDERLAW, LLC

DASALLA, RAMONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10678          BURNS CHAREST LLP

DASHER, CARRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13216          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

DASILVA, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15966          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DASKALAKIS, CHRYSANTHE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14178          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DASTOLI, ARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04807          ASHCRAFT & GEREL, LLP

DAU, JEAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15640          THE BENTON LAW FIRM, PLLC

DAUBERT, LEILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00190          ONDERLAW, LLC

DAUBNMIRE, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19444          NACHAWATI LAW GROUP

DAUGEREAU, TARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05291          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

DAUGEREAU, TARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08118          ONDERLAW, LLC

DAUGHDRILL, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21224          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

DAUGHERTY, DEANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10646          JAMES MORRIS LAW FIRM PC

DAUGHERTY, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08914          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
DAUGHERTY, JAMES & DAUGHERTY
                                CA - SUPERIOR COURT - ALAMEDA COUNTY         RG19013937             KAZAN,MCCLAIN,SATTERLEY & GREENWOOD
ALISON
DAUGHERTY, JENNIFER             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002480-21        WEITZ & LUXENBERG

DAUGHERTY, KAY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09367          DALIMONTE RUEB, LLP

DAUGHERTY, ROBBIE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003297-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

DAUGHTON, MALEA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12169          THE MILLER FIRM, LLC

DAUGHTRY, BONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01611          TRAMMELL PC




                                                                           Page 283 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 285 of 702

            Claimant Name                            State Filed                       Docket Number                             Plaintiff Counsel

DAUGHTRY, JUANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20047          NACHAWATI LAW GROUP

DAUGHTRY, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15270          MOTLEY RICE, LLC

DAUGHTRY, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04652          ONDERLAW, LLC

DAUKSZA, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16904          THE MILLER FIRM, LLC

DAUNIS, ELAINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13398          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

DAVAZIER, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12175          DAVIS, BETHUNE & JONES, L.L.C.

DAVELLA, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13904          ROSS FELLER CASEY, LLP

DAVENPORT, CARRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16829          ONDERLAW, LLC

DAVENPORT, KELLY                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     CIVDS1725511           ASHCRAFT & GEREL

DAVENPORT, KELLY                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     CIVDS1725511           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DAVENPORT, LOLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12514          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

DAVENPORT, NAOMI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16827          NACHAWATI LAW GROUP

DAVENPORT, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01524          ONDERLAW, LLC

DAVENPORT, SHAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04264          JOHNSON LAW GROUP

DAVEY, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11676          THE CARLSON LAW FIRM
DAVI, BARBARA A. EST OF JAMES H.
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00470-20AS       WEITZ & LUXENBERG
DAVIS
DAVI, LINDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13967          ONDERLAW, LLC

DAVID THOMPSON                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DAVID, GRACE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09979          MORRIS BART & ASSOCIATES

DAVID, LAURIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22127          GOLDENBERGLAW, PLLC

DAVID, MARY                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002444-20        GOLOMB & HONIK, P.C.

DAVID, WANDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00352          ONDERLAW, LLC

DAVIDOVICS, ESTHER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03585          ONDERLAW, LLC

DAVIDSEN, ANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06764          ONDERLAW, LLC

DAVIDSON, ANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00608          DALIMONTE RUEB, LLP

DAVIDSON, ANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06604          JOHNSON BECKER, PLLC

DAVIDSON, CHARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16828          NACHAWATI LAW GROUP

DAVIDSON, DORTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11404          MCGOWAN, HOOD & FELDER, LLC

DAVIDSON, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02322          MOTLEY RICE, LLC

DAVIDSON, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09706          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIDSON, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04787          ONDERLAW, LLC

DAVIDSON, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17768          ONDERLAW, LLC




                                                                              Page 284 of 1405
                              Case 23-12825-MBK                   Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                  Appendix A (Part 1) Page 286 of 702

             Claimant Name                               State Filed                      Docket Number                              Plaintiff Counsel

DAVIDSON, LOUISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16829          NACHAWATI LAW GROUP

DAVIDSON, NELLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05141          ONDERLAW, LLC

DAVIDSON, ROBERTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05880          ONDERLAW, LLC

DAVIDSON, VICTORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09465          ONDERLAW, LLC

DAVIE, ANN                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04408          ONDERLAW, LLC

DAVIE, LAURIE                         DE - USDC FOR THE DISTRICT OF DELAWARE       1:21-CV-02747          ASHCRAFT & GEREL

DAVIE, LAURIE                         DE - USDC FOR THE DISTRICT OF DELAWARE       1:21-CV-02747          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIES, HILDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11224          PARKER WAICHMAN, LLP

DAVIES, LYNN, EST OF MICHAEL DAVIES   NY - SUPREME COURT - NYCAL                   190348/2017            LEVY KONIGSBERG LLP

DAVILA, DIANA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVILA, DIANA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

DAVILA, DIANA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

DAVILA, DIANA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

DAVILA, EVANGELINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16728          THE SEGAL LAW FIRM

DAVILLA, MYLYNDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16830          NACHAWATI LAW GROUP

DAVIN, BEATRICE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21827          ONDERLAW, LLC

DAVIS, ALISHIA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

DAVIS, ALISHIA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

DAVIS, ALISHIA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

DAVIS, ALMEDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01906          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, ALONDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09267          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, AMANDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17457          ONDERLAW, LLC

DAVIS, AMANDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01995          ONDERLAW, LLC

DAVIS, ANGELA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08197          ASHCRAFT & GEREL

DAVIS, ANGELA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08197          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, ANTOINETTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09297          ONDERLAW, LLC

DAVIS, ARLENE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16789          THE MILLER FIRM, LLC

DAVIS, AUDREY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13512          MCSWEENEY/LANGEVIN, LLC

DAVIS, BARBARA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10298          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

DAVIS, BENITA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16832          ONDERLAW, LLC

DAVIS, BETTY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18440          NACHAWATI LAW GROUP

DAVIS, BETTY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20493          ONDERLAW, LLC

DAVIS, BLANCA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08595          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                                 Page 285 of 1405
                               Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                               Appendix A (Part 1) Page 287 of 702

            Claimant Name                             State Filed                       Docket Number                            Plaintiff Counsel

DAVIS, BONNIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02256          JOHNSON BECKER, PLLC

DAVIS, BRENDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10103          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
DAVIS, BRIAN K EST OF K DAVIS & L
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00407-19AS       WEITZ & LUXENBERG
DAVIS
DAVIS, BRITTANY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09592          BURNS CHAREST LLP

DAVIS, CAROL                        CA - SUPERIOR COURT - SANTA BARBARA          17-CV-01045            HEYGOOD, ORR & PEARSON

DAVIS, CAROLYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01905          ARNOLD & ITKIN LLP

DAVIS, CAROLYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11452          NACHAWATI LAW GROUP

DAVIS, CARRIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16234          ONDERLAW, LLC

DAVIS, CATHERINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05458          ARNOLD & ITKIN LLP

DAVIS, CHANNING                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09165          SANDERS VIENER GROSSMAN, LLP

DAVIS, CHARDONNAY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14922          ONDERLAW, LLC

DAVIS, CHERIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11237          SIMMONS HANLY CONROY

DAVIS, CHERYL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11465          ASHCRAFT & GEREL

DAVIS, CHRISTIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03313          ONDERLAW, LLC

DAVIS, CHRISTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08512          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, CHRISTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14484          FLETCHER V. TRAMMELL

DAVIS, CINDY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10342          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, CINDY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07370          ONDERLAW, LLC

DAVIS, CLARA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06060          ONDERLAW, LLC

DAVIS, CLARA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14866          TAUTFEST BOND

DAVIS, COLMIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17213          ONDERLAW, LLC

DAVIS, CONNIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13676          ONDERLAW, LLC

DAVIS, CONSTANCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03698          THE SEGAL LAW FIRM

DAVIS, CYNTHIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04424          MOTLEY RICE, LLC

DAVIS, DAJIAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01684          JOHNSON LAW GROUP

DAVIS, DARLENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03219          ONDERLAW, LLC

DAVIS, DARLENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12384          THE MILLER FIRM, LLC

DAVIS, DAYNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16630          ONDERLAW, LLC

DAVIS, DEBBIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06413          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, DEBBIE                       CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318660             KIESEL LAW, LLP

DAVIS, DEBBIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11902          NACHAWATI LAW GROUP

DAVIS, DEBORAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08282          FLETCHER V. TRAMMELL

DAVIS, DEBORAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05555          THE MILLER FIRM, LLC




                                                                               Page 286 of 1405
                               Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                                Appendix A (Part 1) Page 288 of 702

               Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

DAVIS, DEBORAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04377          TORHOERMAN LAW LLC

DAVIS, DEBRA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05497          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DAVIS, DEBRA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09763          ONDERLAW, LLC

DAVIS, DEBRA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03713          SANDERS PHILLIPS GROSSMAN, LLC

DAVIS, DEBRA                         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003312-21        WEITZ & LUXENBERG

DAVIS, DELLA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06094          ONDERLAW, LLC

DAVIS, DELORES                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06494          ONDERLAW, LLC

DAVIS, DENISE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02154          ONDERLAW, LLC

DAVIS, DENISE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01498          ONDERLAW, LLC

DAVIS, DESSIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05021          THE MILLER FIRM, LLC

DAVIS, DIANA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10253          DRISCOLL FIRM, P.C.

DAVIS, DIANA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13174          ONDERLAW, LLC

DAVIS, DIANE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14978          ONDERLAW, LLC

DAVIS, DINA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14839          LENZE LAWYERS, PLC

DAVIS, DINA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14839          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DAVIS, DOLORES                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07343          ONDERLAW, LLC

DAVIS, DONNA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08332          ONDERLAW, LLC

DAVIS, DONNA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11079          SILL LAW GROUP, PLLC

DAVIS, DORIS & EST OF PATRICK L DAVIS NY - SUPREME COURT - NYCAL                  190339/2016            MEIROWITZ & WASSERBERG, LLP

DAVIS, DOROTHY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03636          BARON & BUDD, P.C.

DAVIS, EARLENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12961          ONDERLAW, LLC

DAVIS, EDNA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10889          THE MILLER FIRM, LLC

DAVIS, ELIZABETH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, ELIZABETH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04845          ONDERLAW, LLC

DAVIS, ERICA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07461          ARNOLD & ITKIN LLP

DAVIS, ESTELITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01893          THE DUGAN LAW FIRM

DAVIS, ETHELINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14829          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, EVELYN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02962          FLETCHER V. TRAMMELL

DAVIS, EVERLYN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14870          LENZE LAWYERS, PLC

DAVIS, EVERLYN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14870          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DAVIS, FERN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00699          POTTS LAW FIRM

DAVIS, FRANCES                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05296          ONDERLAW, LLC

DAVIS, GENEVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18291          WEITZ & LUXENBERG




                                                                                Page 287 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 289 of 702

               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

DAVIS, GERALDINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00910          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, GERTRUDE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13242          NACHAWATI LAW GROUP

DAVIS, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03450          CLIFFORD LAW OFFICES, P.C.

DAVIS, GLYNNDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07903          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

DAVIS, HARRIET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16837          NACHAWATI LAW GROUP

DAVIS, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18833          NACHAWATI LAW GROUP

DAVIS, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02802          ONDERLAW, LLC

DAVIS, IRENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15374          HENINGER GARRISON DAVIS, LLC

DAVIS, JAMILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05164          ONDERLAW, LLC

DAVIS, JANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11751          ARNOLD & ITKIN LLP

DAVIS, JANIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17494          ONDERLAW, LLC

DAVIS, JEANETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02062          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04579          ONDERLAW, LLC

DAVIS, JENNY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16238          THE WHITEHEAD LAW FIRM, LLC

DAVIS, JESSICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04042          ONDERLAW, LLC

DAVIS, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00799          ONDERLAW, LLC

DAVIS, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05783          ONDERLAW, LLC

DAVIS, JOANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08511          DAVIS, BETHUNE & JONES, L.L.C.

DAVIS, JONI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17135          TRAMMELL PC

DAVIS, JOY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10168          LAW OFFICES OF DONALD G. NORRIS

DAVIS, JUDITH                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02694          ASHCRAFT & GEREL, LLP

DAVIS, JUDITH                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02694          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00326          CELLINO & BARNES, P.C.

DAVIS, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08366          HUTTON & HUTTON

DAVIS, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18095          JOHNSON LAW GROUP

DAVIS, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01221          ONDERLAW, LLC

DAVIS, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20394          LIEFF CABRASER HEIMANN & BERNSTEIN

DAVIS, KATHLEEN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000408-21        GOLOMB & HONIK, P.C.

DAVIS, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17771          JOHNSON LAW GROUP

DAVIS, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06883          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, KATINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16839          NACHAWATI LAW GROUP

DAVIS, KELLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05394          ONDERLAW, LLC

DAVIS, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07285          BARRETT LAW GROUP

DAVIS, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.



                                                                             Page 288 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 290 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DAVIS, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DAVIS, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11062          ONDERLAW, LLC

DAVIS, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DAVIS, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07957          ONDERLAW, LLC

DAVIS, LA CARLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10866          NACHAWATI LAW GROUP

DAVIS, LARETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01559          ONDERLAW, LLC

DAVIS, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18297          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DAVIS, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21562          JOHNSON LAW GROUP

DAVIS, LEAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14524          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, LEANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02861          ONDERLAW, LLC

DAVIS, LEATHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10008          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04003          ONDERLAW, LLC

DAVIS, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11655          DAVIS, BETHUNE & JONES, L.L.C.

DAVIS, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19573          NACHAWATI LAW GROUP

DAVIS, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17056          THE SEGAL LAW FIRM

DAVIS, LORILEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00916          THE POTTS LAW FIRM, LLP

DAVIS, LUCCEAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18271          DRISCOLL FIRM, P.C.

DAVIS, LYNAE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

DAVIS, LYNAE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

DAVIS, LYNAE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

DAVIS, MARABETH                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, MARABETH                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

DAVIS, MARABETH                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

DAVIS, MARABETH                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

DAVIS, MARABETH                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

DAVIS, MARGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07768          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02725          ONDERLAW, LLC

DAVIS, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05212          SULLO & SULLO, LLP

DAVIS, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08670          COHEN & MALAD, LLP

DAVIS, MARIZONA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16832          NACHAWATI LAW GROUP

DAVIS, MARSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14438          HILLIARD MARTINEZ GONZALES, LLP

DAVIS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05663          ASHCRAFT & GEREL

DAVIS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11967          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05663          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 289 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 291 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

DAVIS, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07694          DALIMONTE RUEB, LLP

DAVIS, MARY                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002932-21        WEITZ & LUXENBERG

DAVIS, MELINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13010          THE MILLER FIRM, LLC

DAVIS, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01426          ARNOLD & ITKIN LLP

DAVIS, MELONY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02812          ONDERLAW, LLC

DAVIS, MICHEALE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17506          NACHAWATI LAW GROUP

DAVIS, MICHELE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16863          NACHAWATI LAW GROUP

DAVIS, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04784          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05972          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12163          DALIMONTE RUEB, LLP

DAVIS, NORMA                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV307559             THE MILLER FIRM, LLC

DAVIS, OLA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DAVIS, OLA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DAVIS, OLA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DAVIS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18307          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DAVIS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15257          DRISCOLL FIRM, P.C.

DAVIS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08095          DUGAN LAW FIRM, PLC

DAVIS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13424          NACHAWATI LAW GROUP

DAVIS, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12793          HENINGER GARRISON DAVIS, LLC

DAVIS, REGINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04979          ONDERLAW, LLC

DAVIS, RENEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07249          ONDERLAW, LLC

DAVIS, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08917          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08779          NACHAWATI LAW GROUP

DAVIS, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07732          ONDERLAW, LLC

DAVIS, ROBIN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003334-21        WEITZ & LUXENBERG

DAVIS, RONCINDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19450          NACHAWATI LAW GROUP

DAVIS, ROSETTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11428          NACHAWATI LAW GROUP

DAVIS, ROSIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02962          ONDERLAW, LLC

DAVIS, RUTHANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00498          ANDRUS WAGSTAFF, P.C.

DAVIS, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04843          ONDERLAW, LLC

DAVIS, SHALANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20494          ONDERLAW, LLC

DAVIS, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17200          DRISCOLL FIRM, P.C.

DAVIS, SHAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10175          GOLDENBERGLAW, PLLC




                                                                             Page 290 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 292 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

DAVIS, SHEILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06670          ONDERLAW, LLC

DAVIS, SHENIQUA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13466          NAPOLI SHKOLNIK, PLLC

DAVIS, SHERICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07093          BURNS CHAREST LLP

DAVIS, SHERICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07093          BURNS CHAREST LLP

DAVIS, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18316          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DAVIS, SHIRLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DAVIS, SHIRLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15510          LENZE LAWYERS, PLC

DAVIS, SHIRLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DAVIS, SHIRLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15510          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DAVIS, SHIRLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DAVIS, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21030          HOLLAND LAW FIRM

DAVIS, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00895          JOHNSON LAW GROUP

DAVIS, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08397          THE MILLER FIRM, LLC

DAVIS, SINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16834          NACHAWATI LAW GROUP

DAVIS, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07155          ONDERLAW, LLC

DAVIS, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17796          ONDERLAW, LLC

DAVIS, TAYJHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19552          NACHAWATI LAW GROUP

DAVIS, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04176          ONDERLAW, LLC

DAVIS, TERIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03496          ONDERLAW, LLC

DAVIS, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12146          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03783          ONDERLAW, LLC

DAVIS, TIMMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08933          ONDERLAW, LLC

DAVIS, TIRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11877          ONDERLAW, LLC

DAVIS, TRACEY                     LA - DISTRICT COURT - ORLEANS PARISH         2019-9175              THE CHEEK LAW FIRM

DAVIS, TRACEY                     LA - DISTRICT COURT - ORLEANS PARISH         2019-9175              UNGLESBY LAW FIRM

DAVIS, TRACI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03879          JOHNSON LAW GROUP

DAVIS, ULRIKE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03590          ONDERLAW, LLC

DAVIS, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07760          ONDERLAW, LLC

DAVIS, VALORIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18163          GORI JULIAN & ASSOCIATES, P.C.

DAVIS, VERA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10108          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAVIS, VERNONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12516          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

DAVIS, VICTORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16838          NACHAWATI LAW GROUP

DAVIS, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12411          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

DAVIS, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05157          ONDERLAW, LLC



                                                                             Page 291 of 1405
                                 Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                               Appendix A (Part 1) Page 293 of 702

            Claimant Name                             State Filed                       Docket Number                              Plaintiff Counsel
DAVIS, VONDA ESTATE OF SANDRA
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-000232-21        WEITZ & LUXENBERG
BRYANT
DAVIS, WILLENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11692          THE MILLER FIRM, LLC

DAVIS, WILLIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16836          NACHAWATI LAW GROUP

DAVIS, YVETTE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02218          THE MILLER FIRM, LLC

DAVIS, ZENINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06667          ONDERLAW, LLC
DAVIS,D; GIROLAMO,B; SETZER,C;
                                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07927          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
TALUCCI,B
DAVIS,D; GIROLAMO,B; SETZER,C;
                                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07927          ONDERLAW, LLC
TALUCCI,B
DAVIS,D; GIROLAMO,B; SETZER,C;
                                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07927          PORTER & MALOUF, PA
TALUCCI,B
DAVIS,D; GIROLAMO,B; SETZER,C;
                                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07927          THE SMITH LAW FIRM, PLLC
TALUCCI,B
DAVIS-ALVAREZ, ANGELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05465          ARNOLD & ITKIN LLP

DAVIS-BLAIR, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01872          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

DAVIS-CAMPBELL, DERHETA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06793          THE ENTREKIN LAW FIRM

DAVIS-CARTER, VICTORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20801          THE MILLER FIRM, LLC

DAVISON, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11167          NACHAWATI LAW GROUP

DAVISON, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13816          CELLINO & BARNES, P.C.

DAVISON, SARAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00919          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DAVISSON, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DAVISSON, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DAVISSON, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10123          PARKER WAICHMAN, LLP

DAVISSON, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DAVISSON, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07491          ONDERLAW, LLC

DAVISSON, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14492          ONDERLAW, LLC

DAVIS-THOMAS, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08399          DANIEL & ASSOCIATES, LLC

DAVISTON, VICKI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01131          DUGAN LAW FIRM, PLC

DAVITT, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13809          ONDERLAW, LLC

DAVLIN, DORIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08459          SIMMONS HANLY CONROY

DAVLIN, MIKELLE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003384-20        GOLOMB & HONIK, P.C.

DAVNER, MARY LOU                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13195          DALIMONTE RUEB, LLP

DAVONNA BOOTH                       FEDERAL - MDL                                3:21-CV-19596          ONDERLAW, LLC

DAVY, JAMIE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07260          ONDERLAW, LLC

DAWE, DONNA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09129          POGUST BRASLOW & MILLROOD, LLC

DAWIEC, SYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12530          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN



                                                                               Page 292 of 1405
                                 Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                               Appendix A (Part 1) Page 294 of 702

               Claimant Name                          State Filed                       Docket Number                            Plaintiff Counsel

DAWKINS, CONSTANCE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002169-18        GOLOMB & HONIK, P.C.

DAWKINS, TIFFANY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04372          THE DUGAN LAW FIRM, APLC

DAWN CROSBY-KORZENIOWSKI            FEDERAL - NON-MDL                            1:21-CV-11721          LAW OFFICES OF JEFFREY S. GLASSMAN, LLC

DAWN SMITH                          FEDERAL - MDL                                3:21-CV-19156          MOTLEY RICE, LLC

DAWOOD, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10149          ONDERLAW, LLC

DAWOOD, KAWAB GEORGE                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003693-20        CHANDLER KLICS, LLP
DAWOOD, KAWAB GEORGE &
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003693-20        KARST & VON OISTE, LLP
DAWOOD,NABIL
DAWSON, ALBERTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16390          NACHAWATI LAW GROUP

DAWSON, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07183          THE BENTON LAW FIRM, PLLC

DAWSON, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08968          ONDERLAW, LLC

DAWSON, DIANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09668          ONDERLAW, LLC

DAWSON, KATHERINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16424          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

DAWSON, LAURA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01661          ONDERLAW, LLC

DAWSON, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13516          THE MILLER FIRM, LLC

DAWSON, PASSION                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2433-17          KEEFE BARTELS

DAWSON, PASSION                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2433-17          LAW OFFICE OF GRANT D. AMEY, LLC

DAWSON, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15526          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DAWSON, STEFANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08414          ONDERLAW, LLC

DAWSON, TAMMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20710          ONDERLAW, LLC

DAWSON, YOLANDA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002127-21        ARNOLD & ITKIN LLP

DAWSON, YOLANDA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002127-21        COHEN, PLACITELLA & ROTH

DAY, CAROLYN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14325          DALIMONTE RUEB, LLP
DAY, CLAIRE ESTATE OF ARLENE J
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05285-18AS       WEITZ & LUXENBERG
MAYVILLE
DAY, DEBRA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15324          ONDERLAW, LLC

DAY, DONNA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02878          FRAZER PLC

DAY, ELIZABETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04894          FLETCHER V. TRAMMELL

DAY, ETTA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19631          ONDERLAW, LLC

DAY, KAYE                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06771          ONDERLAW, LLC

DAY, LILLIAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13363          FLETCHER V. TRAMMELL

DAY, LOIS                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15613          ASHCRAFT & GEREL, LLP

DAY, LUCILLE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13962          JOHNSON LAW GROUP

DAY, MELISSA                        CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV323999             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAY, MELISSA                        CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV323999             KIESEL LAW, LLP




                                                                               Page 293 of 1405
                               Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                 Appendix A (Part 1) Page 295 of 702

             Claimant Name                              State Filed                      Docket Number                              Plaintiff Counsel

DAY, MELISSA                         CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV323999             THE SMITH LAW FIRM, PLLC

DAY, NANCY                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16726          NACHAWATI LAW GROUP

DAY, PATRICIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01168          ASHCRAFT & GEREL

DAY, PATRICIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01168          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAY, PATRICIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06208          ONDERLAW, LLC

DAY, SARA                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DAY, SARA                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DAY, SARA                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DAY, SUE                             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08168          FLETCHER V. TRAMMELL

DAY, WILLIAM                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       2122-CC00581           FLINT LAW FIRM LLC

DAY, WILLIAM E. III AND DAY, LAURA   MO - CIRCUIT COURT - CITY OF ST. LOUIS       2122-CC00581           KARST & VON OISTE, LLP

DAY, WINNIFRED                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16476          FLETCHER V. TRAMMELL

DAY, YVONNE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00950          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAYAL, VENITA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14171          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DAYE, PATRICIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09793          ONDERLAW, LLC

DAYEKH, RANIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14472          JOHNSON LAW GROUP

DAYRIES, LOUBERTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16736          NACHAWATI LAW GROUP

DAY-ROSS, CARMELIZA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19724          CELLINO & BARNES, P.C.

DAY-SMITH, LENORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09384          ONDERLAW, LLC

DAYTON, ROSANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09294          ONDERLAW, LLC

DAZEN, JEANETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17587          KIESEL LAW, LLP

DAZEN, JEANETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17587          LAW OFFICE OF HAYTHAM FARAJ

DAZEN, JEANETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17587          MARTINIAN & ASSOCIATES, INC.

DAZEY, KELLY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07723          ROSS FELLER CASEY, LLP

DE ALBA, OLIVIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11078          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DE CRUZ, JESSE                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC715170               ASHCRAFT & GEREL

DE CRUZ, JESSE                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC715170               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DE ESCAMILLA, CARMEN                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     20CV366707             BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

DE ESTEVES, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07641          THE ENTREKIN LAW FIRM

DE FORERO, KAREN                     CA - SUPERIOR COURT - ALAMEDA COUNTY         RG21085730             FLETCHER V. TRAMMELL

DE FORERO, KAREN                     CA - SUPERIOR COURT - ALAMEDA COUNTY         RG21085730             SCHNEIDER WALLACE COTTRELL KONECKY

DE GUZMAN, SALVACION                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15690          MORELLI LAW FIRM, PLLC



                                                                                Page 294 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 296 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

DE KING, YVONNE RUA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03638          ONDERLAW, LLC

DE LA CRUZ, NATALI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05870          ONDERLAW, LLC

DE LA ROSA, EVA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19037          NACHAWATI LAW GROUP

DE LA TORRE, JUDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06760          ARNOLD & ITKIN LLP

DE LEON, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12481          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

DE LEON, OLENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08399          JOHNSON LAW GROUP

DE LEON, TASIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04416          ONDERLAW, LLC

DE LOPEZ, JUANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16447          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DE LOS REYES, KATRINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02186          JOHNSON LAW GROUP

DE LOS REYES, MARUBY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10882          ARNOLD & ITKIN LLP

DE LOS SANTOS, MARIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17420          ONDERLAW, LLC

DE LOZA, ADELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07533          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DE LUCA, JOYCE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-00079-21         GOLOMB & HONIK, P.C.
                                 CA - SUPERIOR COURT - SAN BERNARDINO
DE MARRON, ALTAGRACIA                                                         CIVDS1803670           BARRETT LAW GROUP
                                 COUNTY
                                 CA - SUPERIOR COURT - SAN BERNARDINO
DE MARRON, ALTAGRACIA                                                         CIVDS1803670           PRATT & ASSOCIATES
                                 COUNTY
DE RAMUS, PHYLLIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04558          THE BENTON LAW FIRM, PLLC
DE ROJAS, RACHAEL & EST OF
                                 NY - SUPREME COURT - NYCAL                   190285/2019            MEIROWITZ & WASSERBERG, LLP
MARGARITA ROJAS
DE TOTH, NINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16738          NACHAWATI LAW GROUP

DE TROLIO, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02829          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEAGUIAR, MARTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09899          ONDERLAW, LLC

DEAK, JAYNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13375          CRAIG SWAPP & ASSOCIATES

DEAL, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08252          FLETCHER V. TRAMMELL

DEAL, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09109          HOLLAND LAW FIRM

DEAL, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17960          ASHCRAFT & GEREL

DEAL, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17960          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEAL, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16145          ASHCRAFT & GEREL, LLP

DEAL, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16145          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEAL-SCOTT, MALEEKA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13409          PARKER WAICHMAN, LLP

DEAN, ANDREA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00031          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DEAN, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00998          BURNS CHAREST LLP

DEAN, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21835          ONDERLAW, LLC




                                                                            Page 295 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 297 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

DEAN, DORENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11848          WATERS & KRAUS, LLP

DEAN, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02302          ONDERLAW, LLC

DEAN, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13652          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEAN, JULIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13429          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEAN, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07146          ONDERLAW, LLC

DEAN, LOIS                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14958          ASHCRAFT & GEREL, LLP

DEAN, LOIS                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14958          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEAN, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16260          FLETCHER V. TRAMMELL

DEAN, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01858          ASHCRAFT & GEREL

DEAN, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01858          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEAN, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07597          ASHCRAFT & GEREL, LLP

DEAN, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07597          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEAN, RHONDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06586          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEAN, TAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02811          ONDERLAW, LLC

DEAN, TAVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10888          ASHCRAFT & GEREL, LLP

DEAN, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13769          ONDERLAW, LLC

DEAN, VICKIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14667          THE DIETRICH LAW FIRM, PC

DEAN, WENDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13494          ONDERLAW, LLC

DEANDA, DORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05671          ONDERLAW, LLC

DEANECELLI, DAWN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02814          ONDERLAW, LLC

DEANES, WILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04645          BARON & BUDD, P.C.

DEANGELIS, GAIL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05763          ONDERLAW, LLC

DEANN SORENSON                    FEDERAL - MDL                                3:21-CV-19728          JOHNSON BECKER, PLLC

DEANN STRACHAN                    FEDERAL - MDL                                3:21-CV-19247          ASHCRAFT & GEREL

DEANN STRACHAN                    FEDERAL - MDL                                3:21-CV-16858          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                                                                                      BROWN, READDICK, BUMGARTNER, CARTER, STRICKLAND & WATKINS
DEANNA SHELTON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18461
                                                                                                      LLP
DEANNA SUTO                       FEDERAL - MDL                                3:21-CV-19744          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

DEANS, CYNTHIA                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02695          ASHCRAFT & GEREL, LLP

DEANS, CYNTHIA                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02695          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEANS, TARKEISHA                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02696          ASHCRAFT & GEREL, LLP

DEANS, TARKEISHA                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02696          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEAR, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10150          ONDERLAW, LLC

DEAR, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12069          SALTZ MONGELUZZI & BENDESKY PC

DEARBORNE, VIVIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04221          SULLO & SULLO, LLP



                                                                             Page 296 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 298 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DEARDOFF, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21553          ONDERLAW, LLC

DEARDORF, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07641          ONDERLAW, LLC

DEARING, SALLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02848          ONDERLAW, LLC

DEARMAN, SARAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13028          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEARMAS, INELDA                  FL - CIRCUIT COURT - MIAMI DADE COUNTY       19-1806CA01            THE FERRARO LAW FIRM, P.A.

DEARTH, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14535          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEARY, PENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02814          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

DEATON, APRIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05170          ONDERLAW, LLC

DEATON, APRIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10154          ONDERLAW, LLC

DEATON, LEA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

DEATON, LEA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEATON, LEA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13022          CELLINO & BARNES, P.C.

DEATON, LEA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

DEATON, LEA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

DEATON, LEA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

DEATON, PENELOPE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13937          ASHCRAFT & GEREL

DEATON, PENELOPE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13937          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEBAILEY, SHAWANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DEBAILEY, SHAWANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DEBAILEY, SHAWANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DEBANO, JUSTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08281          ONDERLAW, LLC

DEBARBIERIS, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12525          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEBAUN, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06682          THE SIMON LAW FIRM, PC

DEBBIE COHEN                     FEDERAL - MDL                                3:21-CV-16115          SLATER, SLATER, SCHULMAN, LLP

DEBBIE COHEN                     FEDERAL - MDL                                3:21-CV-16115          SLATER, SLATER, SCHULMAN, LLP

DEBENHAM, GIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19465          NACHAWATI LAW GROUP

DEBERRY, COY                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02697          ASHCRAFT & GEREL, LLP

DEBERRY, COY                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02697          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEBERRY, SARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14501          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DEBISH, MICHELE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06038          PARKER WAICHMAN, LLP

DEBLIECK, JANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00627          MORELLI LAW FIRM, PLLC

DEBLOCK, DARLINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

DEBLOCK, DARLINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC




                                                                            Page 297 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 299 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DEBLOCK, DARLINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

DEBLOCK, DARLINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

DEBOISE, RUTHIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16740          NACHAWATI LAW GROUP

DEBOLT, SARAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06320          ONDERLAW, LLC

DEBORAH CARR                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18255          ONDERLAW, LLC

DEBORAH CHROWL                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02744          ASHCRAFT & GEREL, LLP

DEBORAH CHROWL                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02744          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEBORAH CREDLE                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02745          ASHCRAFT & GEREL

DEBORAH CREDLE                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02745          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEBORAH HEATH                 FEDERAL - MDL                                3:21-CV-18112          FLETCHER V. TRAMMELL

DEBORAH HENSLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18811          MOTLEY RICE, LLC

DEBORAH HERNANDEZ             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18502          WEITZ & LUXENBERG

DEBORAH NIX                   FEDERAL - MDL                                3:21-CV-18866          MOTLEY RICE, LLC

DEBORAH PENDER-KING           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18983          WEITZ & LUXENBERG

DEBORAH RICCIO                FEDERAL - MDL                                3:21-CV-18855          MOTLEY RICE, LLC

DEBORAH SAMUELSBARIL          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18778          WEITZ & LUXENBERG

DEBOSE, BLONDENIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09889          ONDERLAW, LLC

DEBOTH, RAMONA                CA - SUPERIOR COURT - LAKE COUNTY            CV416760               THE DIAZ LAW FIRM, PLLC

DEBOTH, RAMONA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12007          VAUGHAN LAW FIRM PC

DEBRA BENNETT                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18385          ONDERLAW, LLC

DEBRA CRUSHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15176          LENZE LAWYERS, PLC

DEBRA CRUSHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15176          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DEBRA DAVIS                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003312-21        WEITZ & LUXENBERG

DEBRA DUCHAINE                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02714          ASHCRAFT & GEREL, LLP

DEBRA DUCHAINE                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02714          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEBRA FORMOLA                 FEDERAL - MDL                                3:21-CV-16555          DAVIS, BETHUNE & JONES, L.L.C.

DEBRA GABRIEL                 DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02753          ASHCRAFT & GEREL

DEBRA GABRIEL                 DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02753          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEBRUCE, JEANNE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10919           ONDERLAW, LLC

DECAMP, JAYNE                 DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02699          ASHCRAFT & GEREL, LLP

DECAMP, JAYNE                 DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02699          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DECARLO, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20866          CELLINO & BARNES, P.C.

DECASTRIS, JOANNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10493          ROSS FELLER CASEY, LLP

DECASTRO, JEANETTE            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000404-19        LEVY KONIGSBERG LLP



                                                                         Page 298 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 300 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DECAUSEY, YVONNE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003753-20        GOLOMB & HONIK, P.C.

DECAYLOR, RITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19209          ONDERLAW, LLC

DECEMBRE, AMERICUS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16694          NACHAWATI LAW GROUP

DECK, LEANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18004          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DECKARD, MAVIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16834          ONDERLAW, LLC

DECKELMANN, VIRGINIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19553          NACHAWATI LAW GROUP

DECKER, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20496          ONDERLAW, LLC

DECKER, KARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03440          THE KING FIRM

DECKER, KATHERINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

DECKER, KATHERINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

DECKER, KATHERINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

DECKER, LORI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15281          ONDERLAW, LLC

DECKER, MARTHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

DECKER, MARTHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

DECKER, MARTHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

DECKER, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16865          THE MILLER FIRM, LLC

DECKER-CLARK, CHEYANN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10155          ONDERLAW, LLC

DECKER-GIBBS, PATSY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09997          LAW OFFICES OF DONALD G. NORRIS

DECKMAN, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13207          ONDERLAW, LLC

DECLERCK, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20946          CELLINO & BARNES, P.C.

DECOLA, JODI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04407          ONDERLAW, LLC

DECOSTA, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16745          NACHAWATI LAW GROUP

DECOTEAUX, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12167          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DECOTTLE, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13295          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DECOUX, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02903          ONDERLAW, LLC

DECUIRE, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20041          ONDERLAW, LLC

DEDEAAUX, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12342          FRAZER LAW LLC

DEDIOS, CONSUELO                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03894          ONDERLAW, LLC

DEDMAN, SAMANTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18568          ONDERLAW, LLC

DEDOSANTOS-VALDIVA, CAROLINA     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12738          ASHCRAFT & GEREL

DEE, HELEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05049          ROSS FELLER CASEY, LLP

DEEM, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05863          NAPOLI SHKOLNIK, PLLC

DEEN, NORMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09336          TRAMMELL PC

DEES, GLENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08694          WILLIAMS HART LAW FIRM



                                                                            Page 299 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                 Desc
                                                            Appendix A (Part 1) Page 301 of 702

            Claimant Name                          State Filed                      Docket Number                                  Plaintiff Counsel

DEES, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06940             HOLLAND LAW FIRM

DEFABBI, THERESA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        L00050120                 GOLOMB SPIRT GRUNFELD PC

DEFAZIO, ANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15645             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEFEHR, VIOLET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16974             ONDERLAW, LLC

DEFFLER, SARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01156             MOTLEY RICE, LLC

DEFIGH, AMELIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07592             ONDERLAW, LLC

DEFILIPPIS, KATHYRN             IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291                 NAPOLI SHKOLNIK, PLLC

DEFILIPPIS, KATHYRN             IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291                 NAPOLI SHKOLNIK, PLLC

DEFONZO, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10158             ONDERLAW, LLC

DEFORERO, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16444             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DEFOREST, ALVIN                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291                 NAPOLI SHKOLNIK, PLLC

DEFOREST, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01419             ARNOLD & ITKIN LLP

DEFOSSE, ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15320             HEYGOOD, ORR & PEARSON

DEFRAGA, ROBERTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00926             DALIMONTE RUEB, LLP

DEFRANCE, LILLIAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10496             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEFRANCO, COLLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16833             NACHAWATI LAW GROUP

DEGAND, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10470             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEGANO, DELORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01055             ARNOLD & ITKIN LLP

DEGANO, SUSAN                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02706             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEGEYTER, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06871             FLETCHER V. TRAMMELL

DEGIDIO, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11707             GOLOMB SPIRT GRUNFELD PC

DEGIDIO, KATHLEEN               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042              ONDERLAW, LLC

DEGIDIO, KATHLEEN               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042              PORTER & MALOUF, PA

DEGIDIO, KATHLEEN               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042              THE SMITH LAW FIRM, PLLC

DEGIDIO-MUELLER, CHRISTINA      CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-01035843-CU-PL-CXC BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEGIDIO-MUELLER, CHRISTINA      CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-01035843-CU-PL-CXC ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DEGIDIO-MUELLER, CHRISTINA      CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-01035843-CU-PL-CXC THE SMITH LAW FIRM, PLLC

DEGILIO, ROSE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05852             ONDERLAW, LLC

DEGNAN, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441             DONALD L. SCHLAPPRIZZI P.C.

DEGNAN, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441             LENZE LAWYERS, PLC

DEGNAN, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DEGRAFFENREID, KEAUNDREA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09794             ONDERLAW, LLC

DEGRAFFINREID, ATHIELIA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02239             ONDERLAW, LLC

DEGROOT, JANICE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002217-20           GOLOMB & HONIK, P.C.



                                                                           Page 300 of 1405
                                Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                              Appendix A (Part 1) Page 302 of 702

                Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

DEGRYSE, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16572          DALIMONTE RUEB, LLP

DEGUZMAN, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16163          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DEHART, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20497          ONDERLAW, LLC

DEHATE, SHERRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10052          ONDERLAW, LLC

DEIMLER, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05875          NAPOLI SHKOLNIK, PLLC

DEISHER, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01969          ASHCRAFT & GEREL

DEISHER, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01969          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEITERS, MARCELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20501          ONDERLAW, LLC

DEJESUS, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEJESUS, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394          ONDERLAW, LLC

DEJESUS, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394          PORTER & MALOUF, PA

DEJESUS, EVELYN                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318636             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DEJESUS, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394          THE SMITH LAW FIRM, PLLC

DEJESUS, IRIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10932          NACHAWATI LAW GROUP

DEJESUS, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16753          NACHAWATI LAW GROUP

DEJESUS, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12103          DALIMONTE RUEB, LLP

DEJON, MARTI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08001          ONDERLAW, LLC

DEKEN, JANINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DEKEN, JANINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DEKEN, JANINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DEKEYZER, EULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01906          JOHNSON LAW GROUP

DEKLEIN, YVONNE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002218-20        GOLOMB & HONIK, P.C.

DEL ANGEL, DENISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11682          THE CARLSON LAW FIRM

DEL GUIDICE, LORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00238          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEL HOYO, OMAYRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12592          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

DEL REAL, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07754          DALIMONTE RUEB, LLP

DEL TORO, ENEDINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14241          JOHNSON LAW GROUP

DEL VALLE, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DEL VALLE, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DEL VALLE, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DEL VECCHIO, PALMIRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16756          NACHAWATI LAW GROUP

DELA TORRE, DELIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17775          JOHNSON LAW GROUP




                                                                              Page 301 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 303 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

DELABARRE, GEORGIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16144          ASHCRAFT & GEREL, LLP

DELABARRE, GEORGIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16144          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DELAC, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01667          BERNSTEIN LIEBHARD LLP

DELACRUZ, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08796          PARKER WAICHMAN, LLP

DELACRUZ, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10918          FLETCHER V. TRAMMELL

DELAMAR, BERNADETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10385          BARNES LAW GROUP, LLC

DELAMAR, BERNADETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10385          CHEELEY LAW GROUP

DELANEY, CAITLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09531          ONDERLAW, LLC

DELANEY, CHARLOTTE               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DELANEY, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14182          ASHCRAFT & GEREL, LLP

DELANEY, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14182          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DELANEY, JULIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DELANOY, DENISE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001869-20        GOLOMB & HONIK, P.C.

DELANUEZ, DIANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05627          COHEN & MALAD, LLP

DELAROSA, DENISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16763          NACHAWATI LAW GROUP

DELAROSA, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08097          DUGAN LAW FIRM, PLC

DELASHMIT, MELISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09219          MORELLI LAW FIRM, PLLC

DELAUNE, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13186          MOTLEY RICE NEW JERSEY LLC

DELAVEGA, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09098          SIMMONS HANLY CONROY

DELBERNETTE DEDRICK              FEDERAL - MDL                                3:21-CV-19883          ONDERLAW, LLC

DELCOURT, AMY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002219-20        GOLOMB & HONIK, P.C.

DELEON, ANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18337          NACHAWATI LAW GROUP

DELEON, ARGELIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06196          ONDERLAW, LLC

DELEON, BELINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16269          NACHAWATI LAW GROUP

DELEON, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04915          ONDERLAW, LLC

DELEON, MARISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09884          SANDERS VIENER GROSSMAN, LLP

DELEON, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07111          ONDERLAW, LLC

DELEON, NAYADE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001467-20        GOLOMB & HONIK, P.C.

DELEON, OMARINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16772          NACHAWATI LAW GROUP

DELEON, PETRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20154          NACHAWATI LAW GROUP

DELEON, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01190          ONDERLAW, LLC

DELEON-BRAITERMAN, NORMA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02118          ONDERLAW, LLC

DELFIN SEPE                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DELGADO, CHRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04588          JOHNSON BECKER, PLLC



                                                                            Page 302 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 304 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DELGADO, DORA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07843          THE DUGAN LAW FIRM

DELGADO, FRANCES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01439          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DELGADO, HERLINDA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DELGADO, HERLINDA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

DELGADO, HERLINDA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

DELGADO, HERLINDA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

DELGADO, HERLINDA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

DELGADO, JENNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10031          JASON J. JOY & ASSCIATES P.L.L.C.

DELGADO, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          JACOBS OHARA MCMULLEN , P.C.

DELGADO, REBECCA              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681839               ONDERLAW, LLC

DELGADO, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ONDERLAW, LLC

DELGADO, REBECCA              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681839               SALKOW LAW, APC

DELGADO, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          THE POTTS LAW FIRM, LLP

DELGADO, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ZEVAN DAVIDSON ROMAN LLC

DELGADO, RHONDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08124          ONDERLAW, LLC

DELGADO, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19056          HOLLAND LAW FIRM

DELIBERTO, ELEANORA           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001573-21        GOLOMB & HONIK, P.C.

DELICRUZ, LYNN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20504          ONDERLAW, LLC

DELISA, CAROL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

DELISA, CAROL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

DELISA, CAROL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

DELISA, CAROL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

DELLA-MONICA, NOLA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09523          ONDERLAW, LLC

DELLEVAS, ALEXANDRA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07429          HEYGOOD, ORR & PEARSON

DELMAN, JANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11797          KLINE & SPECTER, P.C.

DELMORE, JEVETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16777          NACHAWATI LAW GROUP

DELOACH, CONNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15264          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DELOCH, VICKIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03588          ONDERLAW, LLC

DELONG, ANGIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11394          NACHAWATI LAW GROUP

DELONG, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02926          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DELONG, TERRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04193          ONDERLAW, LLC

DELONG, TONYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13590          ONDERLAW, LLC

DELORES DELSIGNORE            IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC




                                                                         Page 303 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 305 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DELP, RHONDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11659          TORHOERMAN LAW LLC

DELPH, KALLIOPI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10255          DRISCOLL FIRM, P.C.

DELPIER, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03682          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DELPRIORE, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17045          CELLINO & BARNES, P.C.

DELSESTO, ELAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15498          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DELSIGNORE, DELORES               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DELSO, ELISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17476          MORELLI LAW FIRM, PLLC

DELTOUR, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12960          BURNS CHAREST LLP

DELTOUR, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12960          BURNS CHAREST LLP

DELUCA, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08880          NACHAWATI LAW GROUP

DELUCA, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11986          NACHAWATI LAW GROUP

DELUCCA, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10694          MORRIS BART & ASSOCIATES

DELUCIA, KELI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12667          DRISCOLL FIRM, P.C.

DELUCIA, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15442          THE SEGAL LAW FIRM

DELUNA, STACEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07755          DALIMONTE RUEB, LLP

DEMAILLE-SMITH, LORI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08302          THE LAW OFFICES OF SEAN M CLEARY

DEMAILO, LUCRETIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09840          WAGSTAFF & CARTMELL, LLP

DEMAND, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11215          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

DEMARCO, GRACE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000858-18        GOLOMB & HONIK, P.C.

DEMARCO, NADINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15332          JOHNSON BECKER, PLLC

DEMAREE, SHIRLEY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

DEMAREE, SHIRLEY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

DEMAREE, SHIRLEY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

DEMAS, CLAIRE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19710          CELLINO & BARNES, P.C.

DEMEDUK, JOANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12597          POTTS LAW FIRM

DEMELIA, MARYLOU                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10971          THE SIMON LAW FIRM, PC

DEMELLO, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEMELLO, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          ONDERLAW, LLC

DEMELLO, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          PORTER & MALOUF, PA

DEMELLO, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          THE SMITH LAW FIRM, PLLC

DEMELLO, ROSELANI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15020          MCSWEENEY/LANGEVIN, LLC

DEMELO, ELBA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18288          ARNOLD & ITKIN LLP

DEMERITT, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18453          NACHAWATI LAW GROUP

DEMERS, AGNES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00610          HEYGOOD, ORR & PEARSON



                                                                             Page 304 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 306 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

DEMERS, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15355          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEMETRO, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19536          ASHCRAFT & GEREL, LLP

DEMETRO, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19536          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEMIRJIAN, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14876          BLIZZARD & NABERS, LLP

DEMITA, ARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11023          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEMMONS, SELENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02870          ONDERLAW, LLC

DEMORGANDIE, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04986          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEMOSS, SHAWN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07573          DRISCOLL FIRM, P.C.

DEMOTTE, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21454          MUELLER LAW PLLC

DEMOUCHET, JEANETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08686          HILLIARD MARTINEZ GONZALES, LLP

DEMPSEY, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03247          MORELLI LAW FIRM, PLLC

DEMPSEY, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15210          JOHNSON LAW GROUP

DEMPSEY, JAMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09807          FLETCHER V. TRAMMELL

DEMPSEY, KORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10333          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEMPSEY, RITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20213          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEMSKI, EILEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02612          THE BENTON LAW FIRM, PLLC

DEMUS, WILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11672          SUMMERS & JOHNSON, P.C.

DEMYAN, DENIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05641          BURNS CHAREST LLP

DENATO, LYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13668          THE MILLER FIRM, LLC

DENEEN, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14270          THORNTON LAW FIRM LLP

DENELL, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13311          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DENEUT, SYREETA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20506          ONDERLAW, LLC

DENGEL, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05098          ONDERLAW, LLC

DENGLER, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01441          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DENISE BROOKS                    IL - CIRCUIT COURT - COOK COUNTY             2017L011567            MEYERS & FLOWERS, LLC

DENISE BROOKS                    IL - CIRCUIT COURT - COOK COUNTY             2017L011567            THE MILLER FIRM, LLC

DENISE FISHER                    FEDERAL - MDL                                3:21-CV-17155          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DENISE JEFFERSON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17912          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

DENISE RODGERS                   FEDERAL - MDL                                3:21-CV-19776          ONDERLAW, LLC

DENISON, LAURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16784          NACHAWATI LAW GROUP

DENITHORNE, ALLANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18651          ONDERLAW, LLC

DENK, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00955          JOHNSON LAW GROUP

DENKE, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13080          JOHNSON LAW GROUP

DENKERS, VERDEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19587          NACHAWATI LAW GROUP



                                                                            Page 305 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 307 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DENKINS, DAWN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17101          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DENLEY, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01179          ASHCRAFT & GEREL

DENLEY, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01179          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DENNARD, PAULA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

DENNARD, PAULA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

DENNARD, PAULA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

DENNEY, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06781          BARNES LAW GROUP, LLC

DENNEY, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06781          CHEELEY LAW GROUP

DENNEY, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14873          THE SEGAL LAW FIRM

DENNING, OLIVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10958          ASHCRAFT & GEREL

DENNIS SALKO                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DENNIS, ANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08061          GOZA & HONNOLD, LLC

DENNIS, DANIELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16222          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DENNIS, DONELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07093          ONDERLAW, LLC

DENNIS, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16624          ASHCRAFT & GEREL

DENNIS, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16624          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DENNIS, FRANCINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03218          ONDERLAW, LLC

DENNIS, HELENA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DENNIS, HELENA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

DENNIS, HELENA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

DENNIS, HELENA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

DENNIS, HELENA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

DENNIS, MABLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10984          NACHAWATI LAW GROUP

DENNIS, MARIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01762          ONDERLAW, LLC

DENNIS, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DENNIS, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DENNIS, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04105          ONDERLAW, LLC

DENNIS, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DENNIS, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19605          ONDERLAW, LLC

DENNIS, TAMEKA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09800          NACHAWATI LAW GROUP

DENNIS, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06322          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DENNISON, TANYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04941          ONDERLAW, LLC

DENNY, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00178          JOHNSON LAW GROUP

DENOCHICK, NICOLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12874          THE SIMON LAW FIRM, PC



                                                                          Page 306 of 1405
                               Case 23-12825-MBK                  Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                                  Appendix A (Part 1) Page 308 of 702

               Claimant Name                             State Filed                      Docket Number                             Plaintiff Counsel

DENOON, SONJA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03613          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

DENOYIOR, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12170          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DENSON, TERKEETA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10886          THE MILLER FIRM, LLC

DENT, JOYCE                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09262          ONDERLAW, LLC

DENT, OLIVIA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18989          NACHAWATI LAW GROUP

DENT, TABATHA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10611          NACHAWATI LAW GROUP

DENT, TINA                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01308          SIMMONS HANLY CONROY

DENTICE, ANGELA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14714          LENZE LAWYERS, PLC

DENTICE, ANGELA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14714          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DENTITH, JANE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02343          DAVIS, BETHUNE & JONES, L.L.C.

DENTON, DONNA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01045          JOHNSON LAW GROUP

DENTON, ELAINE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DENTON, ELAINE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DENTON, ELAINE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DENTON, ELAINE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15220          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

DENTON, KATHLEEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16206          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DENUCCI, APRIL                        DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02707          ASHCRAFT & GEREL, LLP

DENUCCI, APRIL                        DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02707          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DENUNE-ROY, NIKKI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13365          THE SEGAL LAW FIRM

DENUNZIO, MAUREEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13587          DRISCOLL FIRM, P.C.

DENWIDDIE, MONICA ; LIEFELD, EILEEN   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1922-CC11352           WILLIAMS HART LAW FIRM

DENWIDDIE, MONICA; LIEFELD, EILEEN    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1922-CC11352           THE SIMON LAW FIRM, PC

DENYER, MARIA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12598          ASHCRAFT & GEREL, LLP

DENYS, CORNELIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03211          JOHNSON BECKER, PLLC

DEOLIVEIRA, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06710          BAILLY AND MCMILLAN, LLP

DEPACE, FRANCES                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16167          CELLINO & BARNES, P.C.

DEPALMA, LISA                         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003350-21        WILENTZ, GOLDMAN & SPITZER, P.A.

DEPALMA, NOREEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02419          THE MILLER FIRM, LLC

DEPARTHY, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09917          ONDERLAW, LLC

DEPAULO-HARGRAVES, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08333          ONDERLAW, LLC

DEPAULT, TINA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03625          JOHNSON LAW GROUP

DEPENZE, STEPHENY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00942          MORRIS BART & ASSOCIATES

DEPEW, LISA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09484          FLETCHER V. TRAMMELL




                                                                                 Page 307 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 309 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DEPODESTA, GAIL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11379          ONDERLAW, LLC

DEPPE, KIMBERLY                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-04447-18AS       WEITZ & LUXENBERG

DEPREZ, CLAUDIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01091          ROSS FELLER CASEY, LLP

DEPUTRON, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09075          ONDERLAW, LLC

DERAKHSHANI, DOROTHY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03258          ASHCRAFT & GEREL

DERAKHSHANI, DOROTHY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03258          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DERAMUS, PHYLLIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19504          NACHAWATI LAW GROUP

DERANGE, PATRICIA              DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02708          ASHCRAFT & GEREL, LLP

DERANGE, PATRICIA              DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02708          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DERBAUM, TREVA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

DERBAUM, TREVA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

DERBAUM, TREVA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

DERBYSHIRE, AIMEE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03042          REICH & BINSTOCK, LLP

DERDEN, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17497          JOHNSON LAW GROUP

DEREG, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02103          FLETCHER V. TRAMMELL

DERIBAS, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17809          ONDERLAW, LLC

DERINGER, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11565          NACHAWATI LAW GROUP

DERITA, DOLORES                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DERITA, DOLORES                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

DERITA, DOLORES                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

DERITA, DOLORES                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

DEROCCO, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07544          WILLIAMS HART LAW FIRM

DEROSA, KERRI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13235          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEROSA, NORMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16786          NACHAWATI LAW GROUP

DEROSARIO, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09412          ONDERLAW, LLC

DEROSE, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07981          MOTLEY RICE, LLC

DEROUEN, MARGIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04758          ONDERLAW, LLC

DEROUEN, RANDY                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-005122-20        LEVY KONIGSBERG LLP

DERR, ARTHENE                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DERRENBACHER, DOROTHY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09580          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DERRICK, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05825          DALIMONTE RUEB, LLP

DERRICK, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07014          BARRETT LAW GROUP

DERRY, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16604          THE MILLER FIRM, LLC




                                                                          Page 308 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 310 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DERTON, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10706          THE MILLER FIRM, LLC

DESAI, MEENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16450          JOHNSON LAW GROUP

DESALLE, ELISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12975          MORRIS BART & ASSOCIATES

DESANTIS, EVA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09877          ONDERLAW, LLC

DESCHAMPS, VICKY               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002640-21        WEITZ & LUXENBERG

DESELLE, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04634          ONDERLAW, LLC

DESERSA, DOVALIEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DESERSA, DOVALIEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15193          LENZE LAWYERS, PLC

DESERSA, DOVALIEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DESERSA, DOVALIEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15193          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DESERSA, DOVALIEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DESIMONE, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12859          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DESIMONE, LIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13216          DALIMONTE RUEB, LLP

DESJARDINS, THERESA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16788          NACHAWATI LAW GROUP

DESKINS, ANNETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04983          ONDERLAW, LLC

DESLAURIERS, NORMANDE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15015          JOHNSON BECKER, PLLC

DESMOND, JESSICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16797          NACHAWATI LAW GROUP

DESOMER, TORY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16814          NACHAWATI LAW GROUP

DESORCY, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11224          THE SIMON LAW FIRM, PC

DESOTELL, JULIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06742          THE SIMON LAW FIRM, PC

DESPAIN, ROXANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12491          ONDERLAW, LLC

DESSELLE, PIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13027          FLETCHER V. TRAMMELL

DESSLER, LUCILLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09173          ONDERLAW, LLC

DESTEFANO, LAURA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DESTEFANO, LAURA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

DESTEFANO, LAURA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

DESTEFANO, LAURA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

DESTEFANO, LAURA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

DESTEFANO, LAURIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10523          GOLDENBERGLAW, PLLC

DETAR, EVELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18074          KIESEL LAW, LLP

DETAR, EVELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18074          MARTINIAN & ASSOCIATES, INC.

DETAR, EVELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18074          THE LAW OFFICES OF HAYTHAM FARAJ

DETHERAGE, DOLLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11791          NACHAWATI LAW GROUP

DETMAN, NICOLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00603          HOLLAND LAW FIRM



                                                                          Page 309 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 311 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

DETONNO, THERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18797          CELLINO & BARNES, P.C.

DETORRE, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00740          CELLINO & BARNES, P.C.

DETRES, ISADORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05401          GOLOMB SPIRT GRUNFELD PC

DETTLING, FAYE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08191          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEUSON, DIANE VAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18983          NACHAWATI LAW GROUP

DEUTSCH, DANIELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07041          ONDERLAW, LLC

DEVALL, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05739          ONDERLAW, LLC

DEVARGAS, CASANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00911          GORI JULIAN & ASSOCIATES, P.C.

DEVELLIS, DALE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12285          BURNS CHAREST LLP

DEVER, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10693          BURNS CHAREST LLP

DEVERA, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03666          FLETCHER V. TRAMMELL

DEVILBISS, MOIRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV10160           ONDERLAW, LLC

DEVILLE, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05636          GALANTE & BIVALACQUA LLC

DEVILLE, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05636          POURCIAU LAW FIRM, LLC

DEVILLE, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05636          THE CHEEK LAW FIRM

DEVILLE, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13117          ONDERLAW, LLC

DEVILLIER, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13854          JOHNSON LAW GROUP

DEVINE, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16868          NACHAWATI LAW GROUP

DEVINE, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12357          ONDERLAW, LLC

DEVINE, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03067          BISNAR AND CHASE

DEVINS, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04597          FLETCHER V. TRAMMELL

DEVITA, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20994          CELLINO & BARNES, P.C.

DEVIZIO, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16947          NACHAWATI LAW GROUP

DEVLIN, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10190          ONDERLAW, LLC

DEVLIN, MERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02822          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEVLIN, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06340          ONDERLAW, LLC

DEVOE, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19496          KROGER GARDIS & REGAS, LLP

DEVON HAMNER                      FEDERAL - MDL                                3:21-CV-18921          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

DEVONE, JOANN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2354-17          FELDMAN & PINTO

DEVONE, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00799          ONDERLAW, LLC

DEVORE, ANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01713          ARNOLD & ITKIN LLP

DEVORE, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08971          JASON J. JOY & ASSCIATES P.L.L.C.

DEVORE, KUIKIEW                   MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEVORE, KUIKIEW                   MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC



                                                                             Page 310 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 312 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DEVORE, KUIKIEW                  MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

DEVORE, KUIKIEW                  MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

DEVOULD, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03584          ONDERLAW, LLC

DEVRIES, CINTHIA                 DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02710          ASHCRAFT & GEREL, LLP

DEVRIES, CINTHIA                 DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02710          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEVRIES, JEANETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11393          SANDERS VIENER GROSSMAN, LLP

DEWALL, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08557          CELLINO & BARNES, P.C.

DEWALT, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04539          BURNS CHAREST LLP

DEWATER, DANIELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03657          ARNOLD & ITKIN LLP

DEWBERRY, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03011          FLETCHER V. TRAMMELL

DEWEASE, ELSSYE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17795          ONDERLAW, LLC

DEWEES, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05941          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEWEESE, GAIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10162          ONDERLAW, LLC

DEWITT, BRIDGET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01958          ONDERLAW, LLC

DEWITT, COLETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07636          ONDERLAW, LLC

DEWITT, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09685          GORI JULIAN & ASSOCIATES, P.C.

DEWS, LEXIDEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08519          ONDERLAW, LLC

DEXEL, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16877          NACHAWATI LAW GROUP
                                 PA - ALLEGHENY COUNTY COURT OF COMMON
DEXTER, DONNA                                                                 GD21000312             ARNOLD & ITKIN LLP
                                 PLEAS
DEXTER, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05625          SANDERS PHILLIPS GROSSMAN, LLC

DEXTER, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DEXTER, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

DEXTER, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

DEXTER, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

DEYO, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01969          FLETCHER V. TRAMMELL

DEZELLEM, MYRNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11053          BURNS CHAREST LLP

DEZEN, SHARI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17796          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

DEZERN, TAMARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12275          ASHCRAFT & GEREL

DEZERN, TAMARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12275          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DHAN, RIMAL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12837          JOHNSON LAW GROUP

DHEIN, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11038          WILLIAMS HART LAW FIRM

DHONDT, KIM                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

DI GIROLAMO, BONNIE              CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318642             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




                                                                            Page 311 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 313 of 702

              Claimant Name                         State Filed                      Docket Number                               Plaintiff Counsel

DI NUNZIO, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05280           ONDERLAW, LLC

DI PIETO, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11651           BLIZZARD & NABERS, LLP
                                 CANADA - COURT OF THE QUEEN'S BENCH OF
DI SANTO, DIANE                                                               1901-11748              GUARDIAN LAW GROUP, LLP
                                 ALBERTA JUDICIAL DISTRICT OF CALGARY
DIA, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15382           ONDERLAW, LLC

DIAL, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07054           BARRETT LAW GROUP

DIAL, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03771           ONDERLAW, LLC

DIAMBRI, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09250           ONDERLAW, LLC

DIAMICO, PEGGIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02444           ASHCRAFT & GEREL

DIAMOND, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00106           LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

DIAMOND, GLADYS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16748           ASHCRAFT & GEREL

DIAMOND, GLADYS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16748           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIAMOND, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-MD-00004           JUSTICE LAW

DIAMOND-COX, HOPE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            ONDERLAW, LLC

DIAMOND-COX, HOPE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            PORTER & MALOUF, PA

DIAMOND-COX, HOPE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            THE SMITH LAW FIRM, PLLC

DIAMONDS, DENEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01503           MORRIS BART & ASSOCIATES

DIANA DANBY                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291               NAPOLI SHKOLNIK, PLLC

DIANA HEISTERHAGEN               FEDERAL - MDL                                3:21-CV-19760           JOHNSON BECKER, PLLC

DIANE MOORE                      FEDERAL - MDL                                3:21-CV-16999           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIANE PAGE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19006           MORGAN & MORGAN

DIANE SPIELMAN                   FEDERAL - MDL                                3:21-CV-18008           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

DIANE WALTON                     CA - STATE                                   21STCV40557             BISNAR AND CHASE

DIANE, DELVECCHIO                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17253           ASHCRAFT & GEREL, LLP

DIANE, DELVECCHIO                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17253           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIANGELO, OLIVIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07849           ONDERLAW, LLC

DIANNE PUTIN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003336-21         WEITZ & LUXENBERG

DIAS, MARIA                      FL - CIRCUIT COURT - PALM BEACH COUNTY       502020CA13955XXXXMBAF   ONDERLAW, LLC

DIAS, MARIA                      FL - CIRCUIT COURT - PALM BEACH COUNTY       502020CA13955XXXXMBAF   OSBORNE & FRANCIS LAW FIRM PLLC

DIAS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441           DONALD L. SCHLAPPRIZZI P.C.

DIAS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441           LENZE LAWYERS, PLC

DIAS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DIAZ, BETH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14154           ASHCRAFT & GEREL

DIAZ, CARMEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07806           BISNAR AND CHASE




                                                                            Page 312 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 314 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DIAZ, CARMEN DE LA CORDAD         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08692          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIAZ, ELSA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16885          NACHAWATI LAW GROUP

DIAZ, ELSA                        CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC689568               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DIAZ, ESPERANZA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16316          THE MILLER FIRM, LLC

DIAZ, EVANGELINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03160          JOHNSON LAW GROUP

DIAZ, GEORGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11260          ASHCRAFT & GEREL

DIAZ, JULIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15016          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DIAZ, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14527          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIAZ, LESLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12712          NAPOLI SHKOLNIK, PLLC

DIAZ, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08390          JOHNSON LAW GROUP

DIAZ, MANUELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06897          ASHCRAFT & GEREL, LLP

DIAZ, MANUELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12944          PAUL LLP

DIAZ, MARTA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12454          HEYGOOD, ORR & PEARSON

DIAZ, NICOLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17450          FLETCHER V. TRAMMELL

DIAZ, RAMONA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11598          THE MILLER FIRM, LLC

DIAZ, ROSA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09261          ONDERLAW, LLC

DIAZ, TAWNYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16880          NACHAWATI LAW GROUP

DIAZ, YESENIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16883          NACHAWATI LAW GROUP

DIAZ-ARTIGUES, MARICARMEN         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06099          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIAZ-CRUZ, SHAKIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07972          ONDERLAW, LLC

DIAZ-FERNANDEZ, JACQUELINE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16164          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DIAZ-GALARZA, EVELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10839          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

DIAZ-REGUS, CELIDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10981          THE SIMON LAW FIRM, PC

DIBATTISTA, DELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09958          JASON J. JOY & ASSCIATES P.L.L.C.

DIBATTISTA, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04592          ONDERLAW, LLC

DIBATTISTA, LESLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

DIBATTISTA, LESLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIBATTISTA, LESLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

DIBATTISTA, LESLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

DIBATTISTA, LESLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

DIBBERN, STEPHANIE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002247-20        GOLOMB & HONIK, P.C.

DIBBS, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07881          HOLLAND LAW FIRM




                                                                             Page 313 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                         Appendix A (Part 1) Page 315 of 702

           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

DIBELLO, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08325          FLETCHER V. TRAMMELL

DIBERNARDO, ELSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08699          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DICANIO, LINDA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-300-18           GOLOMB SPIRT GRUNFELD PC

DICANIO, LINDA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-300-18           SKIKOS, CRAWFORD, SKIKOS & JOSEPH

DICARLO, JUDY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1951-20          ARNOLD & ITKIN LLP

DICARLO, JUDY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1951-20          COHEN, PLACITELLA & ROTH

DICARLO, RITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05855          MOTLEY RICE, LLC

DICARLO, TAMMY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19553          ASHCRAFT & GEREL, LLP

DICARLO, TAMMY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19553          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DICARLO-WAKELEY, SANDRA       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07120          THE SIMON LAW FIRM, PC

DICESARE, LAURA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1368-16          ROSS FELLER CASEY, LLP

DICESARE, SHARON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09108          ONDERLAW, LLC

DICHIARA, KIMBERLY            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000516-21        WILENTZ, GOLDMAN & SPITZER, P.A.

DICK, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06158          THE SEGAL LAW FIRM

DICK, DEFLOY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03684          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DICKE, MARYANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08987          HOLLAND LAW FIRM

DICKE, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16307          ONDERLAW, LLC

DICKEL, DIANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02381          CELLINO & BARNES, P.C.

DICKEN, JODY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03079          JOHNSON BECKER, PLLC

DICKENS, CYNTHIA              CA - SUPERIOR COURT - SANTA CLARA COUNTY     16-CV-297634           MORRIS LAW FIRM

DICKENS, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14044          ONDERLAW, LLC

DICKENS, PASTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16891          NACHAWATI LAW GROUP

DICKENS, ROSE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12529          GRANT & EISENHOFER P. A.

DICKERSON, BELINDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04420          ONDERLAW, LLC

DICKERSON, CAROLYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19078          CELLINO & BARNES, P.C.

DICKERSON, CHARLENE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03445          ONDERLAW, LLC

DICKERSON, GLORIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02044          ONDERLAW, LLC

DICKERSON, LISA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003144-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

DICKERSON, MARILYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11491          HOLLAND LAW FIRM

DICKERSON, MARTHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11287          NACHAWATI LAW GROUP

DICKERSON, MISTY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14488          FLETCHER V. TRAMMELL

DICKERSON, TAMMY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10475          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DICKERSON, TAMMY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04291          JOHNSON LAW GROUP




                                                                         Page 314 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 316 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DICKERSON, TERI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01490          FLETCHER V. TRAMMELL

DICKERSON, VICTORIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08441          FLETCHER V. TRAMMELL

DICKES, JULEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13967          JOHNSON LAW GROUP

DICKEY, ARMITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05670          ASHCRAFT & GEREL

DICKEY, FRANKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17991          ASHCRAFT & GEREL

DICKEY, FRANKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17991          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DICKEY, GLENDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DICKEY, GLENDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

DICKEY, GLENDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

DICKEY, GLENDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

DICKEY, MACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20507          ONDERLAW, LLC

DICKEY, MARYAM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12031          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DICKEY, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12531          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

DICKEY, SUSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01375          LAW OFFICES OF PETER G ANGELOS, PC

DICKEY, SUSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01375          LAW OFFICES OF PETER G ANGELOS, PC

DICKINSON, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14816          LENZE LAWYERS, PLC

DICKINSON, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14816          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DICKINSON, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10312          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DICKISON, MICHELE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05172          ONDERLAW, LLC

DICKSON, JEANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07877          ONDERLAW, LLC

DICKSON, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13372          FLETCHER V. TRAMMELL

DICKSON, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14275          THE MILLER FIRM, LLC

DICKS-RADFORD, BELINDA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07129          ONDERLAW, LLC

DICORATO, JOAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11150          NACHAWATI LAW GROUP

DICOSIMO, ROXANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10394          JOHNSON LAW GROUP

DICTOR, EILEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17322          FLETCHER V. TRAMMELL

DIDONATO, LORETTA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004007-20        GOLOMB & HONIK, P.C.

DIECKMANN, CHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01691          RILEYCATE, LLC

DIEDRE HARRIS                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003285-21        WEITZ & LUXENBERG

DIEFENDERFER, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12532          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

DIEFENDERFER, TRACI             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05424          POTTS LAW FIRM

DIEGO, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11385          ONDERLAW, LLC

DIEHL, CATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06006          DALIMONTE RUEB, LLP

DIEHL, KIM                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC



                                                                           Page 315 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 317 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

DIEHL, SALLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16165          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DIEMER, MARYANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00907          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIENER, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12116          MORELLI LAW FIRM, PLLC

DIESING, GINGER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16896          NACHAWATI LAW GROUP

DIETRICH, BELINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02999          ONDERLAW, LLC

DIETRICK, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09916          NACHAWATI LAW GROUP

DIETSCH, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10054          ONDERLAW, LLC

DIETTERICH, BRIANNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-20508          ONDERLAW, LLC

DIETTERICH, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11375          MORELLI LAW FIRM, PLLC

DIETZ, STEVEN                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DIETZ, STEVEN                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DIEU-STEELE, SHERRI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01338          JOHNSON LAW GROUP

DIEW, AUDREY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00688          THE MILLER FIRM, LLC

DIEZ, LUZ                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09304          ONDERLAW, LLC

DIFATTA JR., CHARLES             IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DIFELICE, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11608          NACHAWATI LAW GROUP

DIFRANCESCO, MAUREEN             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002347-20        GOLOMB & HONIK, P.C.

DIFRANCO, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08015          ONDERLAW, LLC

DIFRANCO, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00042          ASHCRAFT & GEREL

DIFRANCO, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00042          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIGGS, CHEQUAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00613          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIGGS, EVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12814          MORELLI LAW FIRM, PLLC

DIGGS, PEARL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09537          JOHNSON LAW GROUP

DIGIACOMO, CHRISTINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10289          ASHCRAFT & GEREL

DIGIACOMO, CHRISTINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10289          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIGIOSIO, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19381          NAPOLI SHKOLNIK PLLC

DIIANNI, EILEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14387          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

DIIORIO, CELESTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00099          CELLINO & BARNES, P.C.

DIKIS, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06598          ONDERLAW, LLC

DILDINE, CARROLL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05401          ONDERLAW, LLC

DILEO, VELVET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14779          THE JACOB D. FUCHSBERG LAW FIRM

DILGER, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18367          NACHAWATI LAW GROUP

DILIBERTO, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12829          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

DILKS, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17418          JOHNSON LAW GROUP



                                                                            Page 316 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 318 of 702

               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

DILL, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15974          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DILLAHUNT, JANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11149          NACHAWATI LAW GROUP

DILLARD, ELCIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04897          ARNOLD & ITKIN LLP

DILLARD, FAY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08334          ONDERLAW, LLC

DILLARD, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04400          MOTLEY RICE, LLC

DILLARD, MILDRED                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17587          ONDERLAW, LLC

DILLARD, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03473          STEWART & STEWART

DILLARD, STACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00225          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DILLASHAW, EULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08576          PARKER WAICHMAN, LLP

DILLEY, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06008          ONDERLAW, LLC

DILLEY, DEIDRE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17279          ONDERLAW, LLC

DILLON, ANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16219          NACHAWATI LAW GROUP

DILLON, EVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06030          THE DIAZ LAW FIRM, PLLC

DILLON, HATTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08165          ONDERLAW, LLC

DILLON, IRENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19693          FLETCHER V. TRAMMELL

DILLON, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13546          ARNOLD & ITKIN LLP

DILLON, JEANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11999          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DILLON, LAUREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02664          ONDERLAW, LLC

DILLON, LUCILLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12549          TRAMMELL PC

DILLON, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07469          ONDERLAW, LLC

DILLON, VERLENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15543          GORI JULIAN & ASSOCIATES, P.C.

DILLOW, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00950          JOHNSON LAW GROUP

DILORETO, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11218          WATERS & KRAUS, LLP

DILULLO, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11772          NACHAWATI LAW GROUP

DILWORTH, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17032          THE SEGAL LAW FIRM

DILWORTH, TONJA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14529          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIMARIA, DIANE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-185-18           MCELDREW YOUNG

DIMARINO, DAWN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07587          THE MILLER FIRM, LLC

DIMARINO, ROSE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002340-20        GOLOMB & HONIK, P.C.

DIMARIO, JOSEPH                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DIMARIO, JOSEPH                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DIMARZO, MARION                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIMARZO, MARION                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

DIMARZO, MARION                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA



                                                                             Page 317 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 319 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

DIMARZO, MARION                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

DIMATULAC, CECILIA               MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIMATULAC, CECILIA               MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC

DIMATULAC, CECILIA               MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

DIMATULAC, CECILIA               MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

DIMONTE, TINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12276          ASHCRAFT & GEREL

DIMONTE, TINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DINA HUTT                        FEDERAL - MDL                                3:21-CV-18325          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

DINAN, KERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11988          TRAMMELL PC

DINET, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16384          ONDERLAW, LLC

DINEYAZHE, ROSANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13164          DIAMOND LAW

DINGESS, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10254          DRISCOLL FIRM, P.C.

DINGESS, TONI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03686          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DINGMAN, PAULINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06091          THE ENTREKIN LAW FIRM

DINGWELL, ANGELINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09477          FLETCHER V. TRAMMELL

DINKA, DIANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15917          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

DINKAR, PREMDEVIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16913          NACHAWATI LAW GROUP

DINKEL, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00276          BURNS CHAREST LLP

DINKINS, LAJUAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11272          ASHCRAFT & GEREL

DINKINS, LOQUATOR                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03567          ONDERLAW, LLC

DINKINS, LOQUATOR                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09747          WILLIAMS HART LAW FIRM

DINKINS, MAY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08985          ONDERLAW, LLC

DINNEEN, KELLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10654          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIODATO, DOREEN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003212-21        WEITZ & LUXENBERG

DIONESOTES, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07560          THE DUGAN LAW FIRM, APLC

DIORIO, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02089          JOHNSON LAW GROUP

DIOSO, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08970          ONDERLAW, LLC

DIOVANNI, EVELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08715          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIPALERMO, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07261          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

DIPAOLO-COPP, JODI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03004          FLETCHER V. TRAMMELL

DIPERSIO, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08453          ONDERLAW, LLC

DIPIETRO, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14059          JOHNSON LAW GROUP

DIPIETRO, TRACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14004          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIPLACIDO, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18996          NACHAWATI LAW GROUP



                                                                            Page 318 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 320 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DIPPOLD, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12824          BROWN CHIARI LLP

DIPPOLITO, DORIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06886          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIPSEY, VICTORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09534          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIRICO, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01012          POTTS LAW FIRM

DIRKMAN, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12972          POGUST BRASLOW & MILLROOD, LLC

DIRKS, SHARONDA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIRKS, SHARONDA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

DIRKS, SHARONDA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

DIRKS, SHARONDA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

DIRKS, SHARONDA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

DIRKSON, PATRICIA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1912-16          ASHCRAFT & GEREL

DIRKSON, PATRICIA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1912-16          GOLOMB SPIRT GRUNFELD PC

DIROCCO, MARY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

DIROCCO, MARY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

DIROCCO, MARY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

DISALLE, BECKY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12535          JOHNSON BECKER, PLLC

DISANTIS, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03824          ONDERLAW, LLC

DISHMAN, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08533          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DISHNO, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14384          JOHNSON LAW GROUP

DISNEY, ELLEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11006          ONDERLAW, LLC

DISPENSA, DAWN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03439          CLIFFORD LAW OFFICES, P.C.

DISRUD-JORIS, CARRIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03793          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DISSMORE, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14244          BURNS CHAREST LLP

DISTASIO, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14703          ONDERLAW, LLC

DISTEFANO, DONNA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-598-15           GOLOMB SPIRT GRUNFELD PC

DISTEFANO, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02453          ONDERLAW, LLC

DITMORE, ANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11687          THE MILLER FIRM, LLC

DITMORE, ERIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08950          ONDERLAW, LLC

DITOMMASO, JILL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16141          THORNTON LAW FIRM LLP

DITTEMORE, DESIREE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11909          ASHCRAFT & GEREL, LLP

DITTEMORE, DESIREE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11909          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DITTER, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05684          ONDERLAW, LLC

DITTMAR, JO-ANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18627          WEITZ & LUXENBERG

DITTRICH, JOAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10298          GOLDENBERGLAW, PLLC



                                                                          Page 319 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 321 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

DITZELL, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17073          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

DIUTE, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16741          ASHCRAFT & GEREL

DIUTE, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16741          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIVENANZO, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00611          GOLOMB SPIRT GRUNFELD PC

DIVERS, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09292          ONDERLAW, LLC

DIVIDUO, ZULMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

DIVINCENZO, JUDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08401          DANIEL & ASSOCIATES, LLC

DIVINE, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIVINE, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          ONDERLAW, LLC

DIVINE, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          PORTER & MALOUF, PA

DIVINE, DIANA                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318643             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DIVINE, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          THE SMITH LAW FIRM, PLLC

DIVITA, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13518          DANIEL & ASSOCIATES, LLC

DIVITA, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07202          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIVJAK, ELSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02706          PARKER WAICHMAN LLP

DIX, IDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04725          ASHCRAFT & GEREL

DIX, IDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04725          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIXIE FORBES-GORBY               FEDERAL - MDL                                3:21-CV-17134          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIXON, AMBER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05530          BOHRER LAW FIRM, LLC

DIXON, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12099          DALIMONTE RUEB, LLP

DIXON, BRANDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09986          GORI JULIAN & ASSOCIATES, P.C.

DIXON, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02373          CATES MAHONEY, LLC

DIXON, CHRISTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16921          NACHAWATI LAW GROUP

DIXON, COURTNEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14546          FLETCHER V. TRAMMELL

DIXON, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09315          ONDERLAW, LLC

DIXON, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00141          MUELLER LAW PLLC

DIXON, EARLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06065          ONDERLAW, LLC

DIXON, EDNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15747          NACHAWATI LAW GROUP

DIXON, INEZ                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12257          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIXON, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02268          MOTLEY RICE, LLC

DIXON, JEANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05664          ASHCRAFT & GEREL

DIXON, JEANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05664          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIXON, JO                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07806          ONDERLAW, LLC




                                                                            Page 320 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 322 of 702

               Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

DIXON, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02069          BURNS CHAREST LLP

DIXON, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03022          FLETCHER V. TRAMMELL

DIXON, JUNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16918          NACHAWATI LAW GROUP

DIXON, LANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09864          ONDERLAW, LLC

DIXON, MARSHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22173          DRISCOLL FIRM, P.C.

DIXON, MARSHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11113          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

DIXON, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06640          CHILDERS, SCHLUETER & SMITH, LLC

DIXON, MELODY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13557          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIXON, ROSA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08420          ONDERLAW, LLC

DIXON, SARAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08598          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIXON, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08752          ONDERLAW, LLC

DIXON, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10347          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DIXON, TIMIKA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11593          SALTZ MONGELUZZI & BENDESKY PC

DIXON, VERA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07970          ONDERLAW, LLC

DIXON, ZELINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01105          MOTLEY RICE, LLC

DIXSON, KOZETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01857          ONDERLAW, LLC

DIXSON-HENDERSON, MARVA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19586          ONDERLAW, LLC

DIZON, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03864          JOHNSON LAW GROUP

DIZON, DANA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

DJUIKOM-NGUENOUTTO, BEATRICE      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07385          ONDERLAW, LLC

DOAK, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10795          NACHAWATI LAW GROUP

DOAK, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09814          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

DOANE, ELEANOR                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07938          ONDERLAW, LLC

DOBACK, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17503          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOBBINS, CATHEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02794          ONDERLAW, LLC

DOBBINS, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21836          ONDERLAW, LLC

DOBBINS, LEAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14071          HILLIARD MARTINEZ GONZALES, LLP

DOBBINS, WIMONT                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02711          ASHCRAFT & GEREL, LLP

DOBBINS, WIMONT                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02711          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOBBS, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01071          ONDERLAW, LLC

DOBSON, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16746          ONDERLAW, LLC
DOCKERY, LOREN EST OF DOCKERY,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05372-17AS       LEVY KONIGSBERG LLP
SANDRA
DOCKHAM, NELLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07839          ASHCRAFT & GEREL

DOCKHAM, NELLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07839          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 321 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 323 of 702

             Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

DOCTORELLO, LYNDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10164          ONDERLAW, LLC

DODD, BOBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08161          ONDERLAW, LLC

DODD, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10429          JOHNSON LAW GROUP

DODD, CASA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02658          HENINGER GARRISON DAVIS, LLC

DODD, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10890          ASHCRAFT & GEREL, LLP

DODD, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DODD, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DODD, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DODD, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05052          ONDERLAW, LLC

DODDROE, CAROLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08568          PARKER WAICHMAN, LLP

DODDY, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14760          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DODGE, ALEXANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09532          ONDERLAW, LLC

DODGE, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04188          ONDERLAW, LLC

DODGE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09726          DRISCOLL FIRM, P.C.

DODGE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07112          ONDERLAW, LLC

DODGEN, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00893          ONDERLAW, LLC

DODSON, DIANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10055          ONDERLAW, LLC

DODSON, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09810          ONDERLAW, LLC

DODSON, EUGENIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14219          DRISCOLL FIRM, P.C.

DODSON, HEIDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20515          ONDERLAW, LLC

DODSON, LORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DODSON, LORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DODSON, LORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11928          NACHAWATI LAW GROUP

DODSON, LORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DODSON, MARJORIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06331          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DODSON, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11031          THE SEGAL LAW FIRM

DODWORTH, LAURIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12058          SIMMONS HANLY CONROY

DOERFLINGER, MARILEA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13060          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DOHERTY, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21979          CELLINO & BARNES, P.C.

DOHERTY, JESSICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03246          WEXLER WALLACE LLP

DOHERTY, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11876          ASHCRAFT & GEREL

DOHERTY, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14692          MORELLI LAW FIRM, PLLC

DOHERTY, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08512          DAVIS, BETHUNE & JONES, L.L.C.




                                                                           Page 322 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 324 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DOHERTY, TINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09244          JOHNSON LAW GROUP

DOHNERT, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12534          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

DOIEL, DEBORAH                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002096-20        GOLOMB & HONIK, P.C.

DOKES, FRANKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05510          ONDERLAW, LLC

DOKTER, LINDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOKTER, LINDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           ONDERLAW, LLC

DOKTER, LINDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           PORTER & MALOUF, PA

DOKTER, LINDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           THE SMITH LAW FIRM, PLLC

DOLAN, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16737          ASHCRAFT & GEREL

DOLAN, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16737          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOLAN, LISA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002845-21        WEITZ & LUXENBERG

DOLBY, DEBRA                     FL - CIRCUIT COURT - PASCO COUNTY            2019CA000220WS         THE FERRARO LAW FIRM, P.A.

DOLEY, LOUISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12947          TRAMMELL PC

DOLIVEIRA, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09370          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOLL, LINDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOLL, LINDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

DOLL, LINDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

DOLL, LINDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

DOLL, LINDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

DOLL, RENEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16935          NACHAWATI LAW GROUP

DOLLAR, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15061          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DOLLAR, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DOLLAR, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DOLLAR, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DOLLAR, ROBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04349          ASHCRAFT & GEREL

DOLLARD, SHERWYNIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17229          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

DOLLINS, JUDY                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DOLORES FULTON                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DOLORES SHABRACK                 FEDERAL - MDL                                3:21-CV-19689          JOHNSON BECKER, PLLC

DOMAGALLA, ROBIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14580          WEXLER WALLACE LLP

DOMAN (OVERACRE), DANIELLE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DOMAN (OVERACRE), DANIELLE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DOMAN (OVERACRE), DANIELLE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DOMANIECKI, LINDA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003495-20        MORELLI LAW FIRM, PLLC



                                                                            Page 323 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                         Appendix A (Part 1) Page 325 of 702

           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

DOMANIECKI, LINDA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003495-20        THE SEGAL LAW FIRM

DOMATO, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11532          ASHCRAFT & GEREL

DOMBROWSKI, LOTTIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18141          SIMMONS HANLY CONROY

DOMESTICO, NATALIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14423          DALIMONTE RUEB, LLP

DOMIER, PAULETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03574          ONDERLAW, LLC

DOMINA, DAWN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07020          ONDERLAW, LLC

DOMINGUE, TAMMY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02542          THE MILLER FIRM, LLC

DOMINGUEZ, BARBARA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10169          ONDERLAW, LLC

DOMINGUEZ, CAROL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08667          ARNOLD & ITKIN LLP

DOMINGUEZ, DAILINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16940          NACHAWATI LAW GROUP

DOMINGUEZ, DAILINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05424          ONDERLAW, LLC

DOMINGUEZ, DEBBIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15684          NACHAWATI LAW GROUP

DOMINGUEZ, DORA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14852          LENZE LAWYERS, PLC

DOMINGUEZ, DORA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14852          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DOMINGUEZ, MARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06105          ONDERLAW, LLC

DOMINGUEZ, SUSAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06369          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOMINGUEZ, SUSAN              CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV328930             THE MILLER FIRM, LLC

DOMINIQUE BANKS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18624          WEITZ & LUXENBERG

DOMINQUEZ, ALICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07288          ONDERLAW, LLC

DOMINSKI, TERESE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08723          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOMROE, JANIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09594          THE SEGAL LAW FIRM

DONAHUE, ANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21226          ONDERLAW, LLC

DONAHUE, BEVERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11956          POTTS LAW FIRM

DONAHUE, KAREN                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02712          ASHCRAFT & GEREL, LLP

DONAHUE, KAREN                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02712          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DONAHUE, MARION               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11702          DANIEL & ASSOCIATES, LLC

DONAHUE, MARION               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11702          THE WHITEHEAD LAW FIRM, LLC

DONAHUE, SAMI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03481          ONDERLAW, LLC

DONALD, GEORGIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18881          NACHAWATI LAW GROUP

DONALD, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17537          ASHCRAFT & GEREL

DONALD, LETTIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12336          BARRETT LAW GROUP

DONALD, MABLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09900          ONDERLAW, LLC

DONALDSON, DONNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14274          ASHCRAFT & GEREL, LLP




                                                                         Page 324 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 326 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

DONALDSON, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14274          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DONALDSON, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11552          THE MILLER FIRM, LLC

DONALDSON, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09607          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DONALDSON, LORI (EUBANKS)         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10174          ONDERLAW, LLC

DONALDSON, LUDVINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10665          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DONALDSON, MELANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07687          ONDERLAW, LLC

DONALDSON, ROBERTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12353          ONDERLAW, LLC

DONALDSON, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10613          NACHAWATI LAW GROUP

DONALS, DEBORAH                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2394-14          PORTER & MALOUF, PA

DONALS, DEBORAH                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2394-14          SEEGER WEISS LLP

DONALS, DEBORAH                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2394-14          THE SMITH LAW FIRM, PLLC

DONART, TONI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01389          WAGSTAFF & CARTMELL, LLP

DONATH, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17706          ONDERLAW, LLC

DONATO, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07172          ONDERLAW, LLC

DONAWAY, LUANN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001616-21        MOTLEY RICE NEW JERSEY LLC

DONAWAY, LUANN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001616-21        WILLIAMS HART LAW FIRM

DONEGAN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11495          ONDERLAW, LLC

DONHAM, STACEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12195          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DONIA, MILDRED                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01890          JOHNSON BECKER, PLLC

DONIS, ARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12629          POTTS LAW FIRM

DONITA ERICKSEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18443          JOHNSON LAW GROUP

DONLEY, IRIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12094          DRISCOLL FIRM, P.C.

DONLON, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07689          ONDERLAW, LLC

DONNA ELMHORST                    FEDERAL - MDL                                3:21-CV-18066          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DONNA GAWNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18610          JOHNSON LAW GROUP

DONNA JOURNEY                     FEDERAL - MDL                                3:21-CV-19056          MOTLEY RICE, LLC

DONNA MECK                        FEDERAL - MDL                                3:21-CV-19033          MOTLEY RICE, LLC

DONNA SAULTER                     FEDERAL - MDL                                3:21-CV-19685          JOHNSON BECKER, PLLC

DONNA SHULL                       DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02740          ASHCRAFT & GEREL, LLP

DONNA SHULL                       DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02740          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DONNA WOODS                       FEDERAL - MDL                                3:21-CV-16809          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DONNA, BEATRICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09189          DAVIS, BETHUNE & JONES, L.L.C.

DONNA, HOLDER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02907          ONDERLAW, LLC

DONNA, JOHNSON,                   CA - SUPERIOR COURT - LOS ANGELES            BC679466               WEITZ & LUXENBERG



                                                                             Page 325 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 327 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DONNELLY, CAMILLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08949          ROSS FELLER CASEY, LLP

DONNELLY, CHAROLTTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10602          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DONNELLY, CINDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DONNELLY, CINDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

DONNELLY, CINDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

DONNELLY, CINDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

DONNELLY, KATE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15533          WAGSTAFF & CARTMELL, LLP

DONNELLY, LAURA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12125          POTTS LAW FIRM

DONNELLY, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02267          CELLINO & BARNES, P.C.

DONNELLY, SUSAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16823          NACHAWATI LAW GROUP

DONNER, LYDIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DONNER, LYDIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

DONNER, LYDIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

DONNER, LYDIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

DONNER, MARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18769          JOHNSON LAW GROUP

DONOHOE, CATHIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21170          ONDERLAW, LLC

DONOHOE, SHEILA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12995          PARKER WAICHMAN, LLP

DONOHUE, ROBIN                MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DONOHUE, ROBIN                MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC

DONOHUE, ROBIN                MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

DONOHUE, ROBIN                MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

DONOSO, DARIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12277          ASHCRAFT & GEREL

DONOSO, DARIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12277          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DONOVAN, ANDREA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21488          ONDERLAW, LLC

DONOVAN, ANNEMARIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04995          ONDERLAW, LLC

DONOVAN, JUEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08728          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DONOVAN, KATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13273          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DONOVAN, LORETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17390          THE MILLER FIRM, LLC

DONOVAN, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11559          NACHAWATI LAW GROUP

DOOHER, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06321          LYNN LAW FIRM

DOOLEY, ALICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18144          JOHNSON LAW GROUP

DOOLEY, DELANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16825          NACHAWATI LAW GROUP

DOOLEY, DIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOOLEY, DIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC



                                                                         Page 326 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 328 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

DOOLEY, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

DOOLEY, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

DOOLEY, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08236          FLETCHER V. TRAMMELL

DOOLEY, JUANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20037          NACHAWATI LAW GROUP

DOOLEY, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09768          DANIEL & ASSOCIATES, LLC

DOOLITTLE, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12207          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOPLER, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01809          ASHCRAFT & GEREL

DOPLER, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01809          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DORADO, TABBATHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01981          ONDERLAW, LLC

DORAME, CARMEN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002574-20        GOLOMB & HONIK, P.C.

DORAN, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16826          NACHAWATI LAW GROUP

DORAN, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03380          MOTLEY RICE, LLC

DORCIL, FAITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14872          LENZE LAWYERS, PLC

DORCIL, FAITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14872          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DORFMAN, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12040          MARLIN & SALTZMAN LLP

DORIAN BONAMO                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DORIN, MARION                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20758          ONDERLAW, LLC

DORINDA HENDERSON-WILLIAMS       FEDERAL - MDL                                3:21-CV-19564          ONDERLAW, LLC

DORIS CORDERO                    FEDERAL - MDL                                3:21-CV-16528          DAVIS, BETHUNE & JONES, L.L.C.

DORIS DUCRE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18063          WEITZ & LUXENBERG

DORLEY, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06092          THE ENTREKIN LAW FIRM

DORMAN, TRACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12170          FLETCHER V. TRAMMELL

DORN, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07526          DALIMONTE RUEB, LLP

DORN, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21026          CELLINO & BARNES, P.C.

DORN, THERESA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002366-20        GOLOMB & HONIK, P.C.

DORNA FRANCIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17589          THE MILLER FIRM, LLC

DORNAN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01712          WILLIAMS HART LAW FIRM

DORNEY, LILLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19144          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

DOROTHEE TREMAINE                FEDERAL - MDL                                3:21-CV-19107          MOTLEY RICE, LLC

DOROTHY ALLEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18062          THE DUNKEN LAW FIRM

DOROTHY COLLINS                  FEDERAL - MDL                                3:21-CV-18823          FLETCHER V. TRAMMELL

DOROTHY HUNNICUTT                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DOROTHY KLAUSNER                 FEDERAL - MDL                                3:21-CV-19751          JOHNSON BECKER, PLLC

DOROTHY KLAUSNER                 FEDERAL - MDL                                3:21-CV-19751          JOHNSON BECKER, PLLC



                                                                            Page 327 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 329 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

DOROTHY ORMSBY                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DORR, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16133          ONDERLAW, LLC

DORR, TACY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18802          ARNOLD & ITKIN LLP

DORRIS, ARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06421          ONDERLAW, LLC

DORSA, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15910          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

DORSEY, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18879          NACHAWATI LAW GROUP

DORSEY, CONCETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10165          GOLOMB SPIRT GRUNFELD PC

DORSEY, DEBORAH                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003266-21        WEITZ & LUXENBERG

DORSEY, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10219          GORI JULIAN & ASSOCIATES, P.C.

DORSEY, IRMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06753          ONDERLAW, LLC

DORSEY, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05959          JOHNSON LAW GROUP

DORSEY, KENDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19259          ARNOLD & ITKIN LLP

DORSEY, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04075          WILLIAMS HART LAW FIRM

DORSEY, LYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10969          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DORSEY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16831          NACHAWATI LAW GROUP

DORSEY, SUMMER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07024          NACHAWATI LAW GROUP

DORSEY, VICKI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12367          ONDERLAW, LLC

DORSEY, VIOLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06335          ONDERLAW, LLC

DORSEY, VIOLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02675          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DORSTEN, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08080          DAVIS, BETHUNE & JONES, L.L.C.

DORTCH, BLANCHIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19615          THE SEGAL LAW FIRM

DORTCH, MABLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01137          GORI JULIAN & ASSOCIATES, P.C.

DORTON, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18801          ARNOLD & ITKIN LLP

DORZEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03518          BEKMAN, MARDER, & ADKINS, LLC

DOS REIS, CLEIDE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07367          THE DUGAN LAW FIRM, APLC

DOS SANTOS, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01880          LENZE LAWYERS, PLC

DOSEY, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14730          LENZE LAWYERS, PLC

DOSEY, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14730          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DOSEY-DAVIS, BESSIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12287          BURNS CHAREST LLP

DOSIA, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07811          ONDERLAW, LLC

DOSIER, EMILY                    IL - CIRCUIT COURT - COOK COUNTY             20-L-013449            COONEY AND CONWAY

DOSS, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20517          ONDERLAW, LLC

DOSS, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01187          SLATER, SLATER, SCHULMAN, LLP

DOSS, MARLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00161          ASHCRAFT & GEREL



                                                                            Page 328 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 330 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

DOSS, MARLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00161          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOSS, SALENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12689          MORELLI LAW FIRM, PLLC

DOSS, VICTORIA (VICKEY)          CA - SUPERIOR COURT - PLACER COUNTY          SCV38336               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DOSTAL, KAREN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002367-20        GOLOMB & HONIK, P.C.

DOSTER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11336          LEVIN SIMES LLP

DOTSON, AILEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01316          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOTSON, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05857          ONDERLAW, LLC

DOTSON, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06096          THE ENTREKIN LAW FIRM

DOTSON, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10755          SIMMONS HANLY CONROY

DOTSON, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16833          NACHAWATI LAW GROUP

DOTSON, RONALD                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-005986-21        LEVY KONIGSBERG LLP

DOTSON, RONALD                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-005986-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD

DOTSON, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21561          ONDERLAW, LLC

DOTSON, SONYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16866          NACHAWATI LAW GROUP

DOTY, AMBER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05419          ONDERLAW, LLC

DOTY, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19219          DRISCOLL FIRM, P.C.

DOTY, DIANE                      IL - CIRCUIT COURT - MCLEAN COUNTY           2017L000050            WYLDER CORWIN KELLY LLP

DOTY, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10523          LENZE LAWYERS, PLC

DOTY, THERESE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01039          POTTS LAW FIRM

DOUB, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08990          FITZGERALD LAW GROUP, LLC

DOUCETTE, ROSEMARIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08969          ONDERLAW, LLC

DOUGAN, THERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03484          ONDERLAW, LLC

DOUGHERTY, DEBRA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV339072             CHILDERS, SCHLUETER & SMITH, LLC

DOUGHERTY, DEBRA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV339072             KIESEL LAW, LLP

DOUGHERTY, EILEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03764          ASHCRAFT & GEREL, LLP

DOUGHERTY, EILEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03764          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOUGHERTY, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21837          ONDERLAW, LLC

DOUGHERTY, ROBERTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18587          MOTLEY RICE, LLC

DOUGHERTY, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15208          DRISCOLL FIRM, P.C.

DOUGHTERTY, CRYSTAL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01522          ONDERLAW, LLC

DOUGHTERY, WINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11935          DANIEL & ASSOCIATES, LLC

DOUGHTY, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08475          TRAMMELL PC

DOUGLAS, BARDEN AND ROSLYN       NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01809-17AS       LEVY KONIGSBERG LLP

DOUGLAS, BEATRICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07573          ONDERLAW, LLC



                                                                            Page 329 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 331 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DOUGLAS, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04748          ASHCRAFT & GEREL

DOUGLAS, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04748          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOUGLAS, CASSANDRA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19109          NACHAWATI LAW GROUP

DOUGLAS, CHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02060          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOUGLAS, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16905          NACHAWATI LAW GROUP

DOUGLAS, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21429          HOLLAND LAW FIRM

DOUGLAS, DIANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09800          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOUGLAS, GERALDINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16899          NACHAWATI LAW GROUP

DOUGLAS, HARLYNN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16823          SULLO & SULLO, LLP

DOUGLAS, JOANN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

DOUGLAS, JOANN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

DOUGLAS, JOANN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

DOUGLAS, KIMBERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09787          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOUGLAS, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03081          ONDERLAW, LLC

DOUGLAS, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16851          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOUGLAS, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19416          BARON & BUDD, P.C.

DOUGLAS, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17508          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOUGLAS, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19416          MOTLEY RICE, LLC

DOUGLAS, MAUREEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12296          MOTLEY RICE, LLC

DOUGLAS, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05346          ROSS FELLER CASEY, LLP

DOUGLAS, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10914          NACHAWATI LAW GROUP

DOUGLAS, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15408          ARNOLD & ITKIN LLP

DOUGLAS, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15495          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOUGLAS, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14265          ASHCRAFT & GEREL

DOUGLAS, VALERIE              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC671457               PANISH, SHEA & BOYLE

DOUGLASS, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03369          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOUGLASS, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03369          PORTER & MALOUF, PA

DOUTHIT, TRACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09245          ONDERLAW, LLC

DOUTHIT, TRACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09245          ONDERLAW, LLC

DOUTHIT, TRACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09245          ONDERLAW, LLC

DOUTHITT, JACINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DOUTHITT, JACINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14907          LENZE LAWYERS, PLC

DOUTHITT, JACINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC




                                                                         Page 330 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                           Appendix A (Part 1) Page 332 of 702

             Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

DOUTHITT, JACINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14907          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DOUTHITT, JACINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DOUVIER, RENEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10986          DALIMONTE RUEB, LLP

DOVE, CHARLOTTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09421          ONDERLAW, LLC

DOVE, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16936          NACHAWATI LAW GROUP

DOVE, MARGIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003324-21        GOLOMB & HONIK, P.C.

DOVE, MONIQUE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08645          ONDERLAW, LLC

DOVEL, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03438          ONDERLAW, LLC

DOVERSPIKE, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19796          NACHAWATI LAW GROUP

DOWD, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21671          ONDERLAW, LLC

DOWD, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOWD, DEBORAH                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2244-17          GOLOMB SPIRT GRUNFELD PC

DOWD, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          ONDERLAW, LLC

DOWD, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          PORTER & MALOUF, PA

DOWD, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          THE SMITH LAW FIRM, PLLC

DOWD, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06601          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOWDEE, JULIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10083          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOWDELL, LYNDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17105          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOWDELL, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12043          ARNOLD & ITKIN LLP

DOWDY, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09802          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DOWDY, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20522          ONDERLAW, LLC

DOWELL, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20782          ONDERLAW, LLC

DOWELLS-COBLE, RETHA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16951          NACHAWATI LAW GROUP

DOWLER, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11037          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

DOWLING, JOY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13059          DALIMONTE RUEB, LLP

DOWLING, ROXANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05540          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOWNARD, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05048          ONDERLAW, LLC

DOWNARD, ROBERTA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002846-21        WEITZ & LUXENBERG

DOWNER, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14776          LENZE LAWYERS, PLC

DOWNER, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14775          LENZE LAWYERS, PLC

DOWNER, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14775          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DOWNER, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14776          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DOWNES, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07570          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                           Page 331 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 333 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DOWNEY, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08604          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOWNEY, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00339          THE BENTON LAW FIRM, PLLC

DOWNEY, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00147          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DOWNEY, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06958          ONDERLAW, LLC

DOWNEY, FRANCINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16061          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOWNEY, YVONNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10794          ONDERLAW, LLC

DOWNIE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00517          THE BENTON LAW FIRM, PLLC

DOWNIN, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16785          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

DOWNING, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11715          NACHAWATI LAW GROUP

DOWNING, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11933          NACHAWATI LAW GROUP

DOWNING, TINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17554          WEITZ & LUXENBERG

DOWNS, CRYSTAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12120          FLETCHER V. TRAMMELL

DOWNS, ELRITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09252          ONDERLAW, LLC

DOWNS, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14436          ASHCRAFT & GEREL

DOWNS, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13839          LANGDON & EMISON

DOWNS, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10697          WATERS & KRAUS, LLP

DOWNS, MARSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16968          NACHAWATI LAW GROUP

DOWNS, SUE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1771-16          DAMATO LAW FIRM, P.C.

DOWNS, SUE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1771-16          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

DOWNS, VIVIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13978          NAPOLI SHKOLNIK, PLLC

DOYLE, ANTONETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14721          LENZE LAWYERS, PLC

DOYLE, ANTONETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14721          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DOYLE, CATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13377          JOHNSON LAW GROUP

DOYLE, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07770          ROSS FELLER CASEY, LLP

DOYLE, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14556          FLETCHER V. TRAMMELL

DOYLE, GLENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10056          ONDERLAW, LLC

DOYLE, HELLEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05827          NAPOLI SHKOLNIK, PLLC

DOYLE, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05107          ONDERLAW, LLC

DOYLE, JESSICA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOYLE, JESSICA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

DOYLE, JESSICA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

DOYLE, JESSICA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

DOYLE, JESSICA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

DOYLE, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15272          CELLINO & BARNES, P.C.



                                                                            Page 332 of 1405
                              Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                Appendix A (Part 1) Page 334 of 702

              Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel

DOYLE, LINDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10529          YAEGER LAW, PLLC

DOYLE, MARGERY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1298-18          ASHCRAFT & GEREL

DOYLE, MARGERY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1298-18          GOLOMB SPIRT GRUNFELD PC

DOYLE, MARSHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18485          JOHNSON LAW GROUP

DOYLE, RENEE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12715          NAPOLI SHKOLNIK, PLLC

DOYLE, SHERRIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17532          WEITZ & LUXENBERG

DOYLE,DANIEL C & DOYLE,KRISTIE LYNN CA - SUPERIOR COURT - SANTA CLARA            18CV333609             KAZAN,MCCLAIN,SATTERLEY & GREENWOOD

DOYTRE, LORILIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03533          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOZIER, CONNIESTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10350          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DOZIER, DONNA                       NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-005948-21        FLINT LAW FIRM LLC

DOZIER, DONNA                       NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-005948-21        MOTLEY RICE, LLC

DOZIER, NICOLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03468          ARNOLD & ITKIN LLP

DOZIER, VERNA                       NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-08467-19AS       WEITZ & LUXENBERG

DOZIER, ZHENYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13231          GORI JULIAN & ASSOCIATES, P.C.

DRAA, AMY                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20637          ONDERLAW, LLC

DRABIK, RUTH                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19124          NACHAWATI LAW GROUP

DRADT, CATHY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14893          NACHAWATI LAW GROUP

DRAGAN, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09859          WILLIAMS HART LAW FIRM

DRAGON, VICTORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12939          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DRAGONETTI, MARYANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07340          ONDERLAW, LLC

DRAIN-MATHIS, CHANELL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17244          ONDERLAW, LLC

DRAKE, ANGELIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05264          ONDERLAW, LLC

DRAKE, DIANA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13044          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DRAKE, ELIZABETH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08005          ONDERLAW, LLC

DRAKE, FRONA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06048          FLETCHER V. TRAMMELL

DRAKE, LATONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18323          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DRAKE, RANN                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DRAKE, RANN                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

DRAKE, RANN                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

DRAKE, RANN                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

DRAKE, RANN                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

DRAKE, TINA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02178          ONDERLAW, LLC

DRALLE, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03567          DALIMONTE RUEB, LLP




                                                                               Page 333 of 1405
                            Case 23-12825-MBK                  Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                               Appendix A (Part 1) Page 335 of 702

            Claimant Name                             State Filed                      Docket Number                              Plaintiff Counsel

DRAPER, CHARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18021          JOHNSON LAW GROUP

DRAPER, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19089          NACHAWATI LAW GROUP

DRAWENEK, LYNNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13075          HABUSH HABUSH & ROTTIER SC
DRAYTON, DARLENE ESTATE OF ORL&O
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004523-21        LEVY KONIGSBERG LLP
MERCADO
DRAYTON, LANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01311          SIMMONS HANLY CONROY

DRAYTON, REBECCA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DRAYTON, REBECCA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

DRAYTON, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17532          ONDERLAW, LLC

DRAYTON, REBECCA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

DRAYTON, REBECCA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

DRAYTON, REBECCA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

DRAYTON, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16970          NACHAWATI LAW GROUP

DRAZICH, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10670          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DREER, TERESA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002103-20        GOLOMB & HONIK, P.C.

DREIER, DIANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00394          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DREILING, RAMONA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10958          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

DREITLEIN, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06322          ONDERLAW, LLC

DREMANN, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13508          DEGARIS WRIGHT MCCALL

DRENGACS, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17797          ALLEN & NOLTE PLLC

DRENNON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12080          NACHAWATI LAW GROUP

DRESSER, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09902          ONDERLAW, LLC

DRESSLER, JERI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08661          GORI JULIAN & ASSOCIATES, P.C.

DRESSLER, RENEE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18042          ONDERLAW, LLC

DREW, JANICE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10178          ONDERLAW, LLC

DREW, KRISTIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16818          FLETCHER V. TRAMMELL

DREWNOSKI, MARYANNN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08857          ONDERLAW, LLC

DREWRY, MARCIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16972          NACHAWATI LAW GROUP

DREXEL, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18340          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DREYER, PATTI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17240          ASHCRAFT & GEREL, LLP

DREYER, PATTI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17240          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DREYER, YVONNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05634          JOHNSON LAW GROUP

DREYFOUS, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13380          NACHAWATI LAW GROUP

DRINKHOUSE, ALFREDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00665          MORELLI LAW FIRM, PLLC




                                                                              Page 334 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 336 of 702

              Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

DRINKWATER, MAUDIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19512          NACHAWATI LAW GROUP

DRISCOLL, COLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19313          NACHAWATI LAW GROUP

DRISCOLL, COLLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09181          MUELLER LAW PLLC

DRISCOLL, ELIZABETH               IL - CIRCUIT COURT - ST. CLAIR COUNTY        18-L-0572              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DRISCOLL, ELIZABETH               IL - CIRCUIT COURT - ST. CLAIR COUNTY        18-L-0572              DRISCOLL FIRM, P.C.

DRISCOLL, LOUISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07542          FLETCHER V. TRAMMELL

DRISCOLL-FITZPATRICK, TRACEY      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09409          NACHAWATI LAW GROUP

DRIVER, ALEXIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13455          FLETCHER V. TRAMMELL

DRIVER, LEILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09080          ONDERLAW, LLC

DRIVER, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19501          NACHAWATI LAW GROUP

DRIVER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02126          FLETCHER V. TRAMMELL

DRIVER, MAXINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10957          ONDERLAW, LLC

DRIVER, MAXINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21554          ONDERLAW, LLC

DRIVER, SANDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04938          ONDERLAW, LLC

DROG, JEAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09799          ONDERLAW, LLC

DROOK, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04254          FLETCHER V. TRAMMELL

DROOK, JOYE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10872          ARNOLD & ITKIN LLP

DRUCK, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07102          ONDERLAW, LLC

DRUDI, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15501          WILLIAMS HART LAW FIRM

DRUEDING, KRISTEN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000888-21        MESSA & ASSOCIATES, P.C.

DRUM, DENISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16755          ONDERLAW, LLC

DRUMGOLE, ANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03315          ONDERLAW, LLC

DRUMMOND, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17118          NACHAWATI LAW GROUP

DRYER, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18878          NACHAWATI LAW GROUP

DRYER-ANDREWS, JOYCE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DRYER-ANDREWS, JOYCE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

DRYER-ANDREWS, JOYCE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

DRYER-ANDREWS, JOYCE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

DRZYMALA, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07606          CELLINO & BARNES, P.C.

DU BOSE, GEORGIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06552          ONDERLAW, LLC

DU FRIEND, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02057          JOHNSON LAW GROUP

DU PURTON, PANAGIOTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12942          CELLINO & BARNES, P.C.

DUANE-MCAULIFFE, ROXANNE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10333          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUARTE, HEATHER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07724          ROSS FELLER CASEY, LLP



                                                                             Page 335 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 337 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DUBA, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15540          THE MILLER FIRM, LLC

DUBE, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07369          THE DUGAN LAW FIRM, APLC

DUBE, WENDY                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02713          ASHCRAFT & GEREL, LLP

DUBE, WENDY                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02713          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUBER, STACEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18023          JOHNSON LAW GROUP

DUBIN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16430          ARNOLD & ITKIN LLP

DUBLIN, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11657          NACHAWATI LAW GROUP

DUBOIS, BILLIE-JO                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07140          ONDERLAW, LLC

DUBOIS, CATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03081          WAGSTAFF & CARTMELL, LLP

DUBOIS, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04725          ONDERLAW, LLC

DUBOIS, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19296          NACHAWATI LAW GROUP

DUBON, MARTHA                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-06012-18AS       WEITZ & LUXENBERG

DUBOSE, DELORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10008          THE SIMON LAW FIRM, PC

DUBOSE, DORA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

DUBOSE, DORA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

DUBOSE, DORA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

DUBOSE, DORA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

DUBOSE, JEANETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09538          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUCHAINE, DEBRA                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02714          ASHCRAFT & GEREL, LLP

DUCHAINE, DEBRA                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02714          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUCHESNE, CLAUDETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10294          ASHCRAFT & GEREL

DUCHESNE, CLAUDETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10294          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUCKSWORTH, SHERRON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10757          MOTLEY RICE, LLC

DUCKWORTH, INGRID                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07165          ARNOLD & ITKIN LLP

DUCKWORTH, MADALINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

DUCKWORTH, MADALINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

DUCKWORTH, MADALINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

DUCONGE, CATRINNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16288          THE MILLER FIRM, LLC

DUCOTE, ANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12286          BLOOD HURST & OREARDON LLP

DUCRAN, ADRIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08126          ARNOLD & ITKIN LLP

DUCRE, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18063          WEITZ & LUXENBERG

DUCROT, REJANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10785          BURNS CHAREST LLP

DUDA, TRACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10963          NACHAWATI LAW GROUP

DUDDY, DEIRDRE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01281          SIMMONS HANLY CONROY



                                                                            Page 336 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 338 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DUDEK, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10180          ONDERLAW, LLC

DUDEK, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11781          SANDERS VIENER GROSSMAN, LLP

DUDIS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16166          ASHCRAFT & GEREL

DUDIS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16166          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUDKOWSKI, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15301          CELLINO & BARNES, P.C.

DUDLEY, IRIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05564          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUDLEY, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17308          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUDUIT, DEANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10637          LEVIN SIMES LLP

DUE, JILL                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05574          JOHNSON LAW GROUP

DUELL, LONNETTE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002208-20        GOLOMB & HONIK, P.C.

DUENAS, MARIBEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09180          CELLINO & BARNES, P.C.

DUET, LORRAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11380          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DUFAULT, MELLISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01760          ONDERLAW, LLC

DUFF, JUNE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12874          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUFF, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02094          ONDERLAW, LLC

DUFF, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09097          ONDERLAW, LLC

DUFF, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10479          ARNOLD & ITKIN LLP

DUFF, WILLADEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08116          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUFFEY, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16387          JOHNSON BECKER, PLLC

DUFFIN, DAWNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14564          DAVIS, BETHUNE & JONES, L.L.C.

DUFFIN, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10501          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUFFY, CLAUDIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08972          ONDERLAW, LLC

DUFFY, DARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08187          ONDERLAW, LLC

DUFFY, DENISE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUFFY, DENISE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

DUFFY, DENISE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

DUFFY, DENISE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

DUFFY, FLORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19513          NACHAWATI LAW GROUP

DUFFY, JOYCE                      NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01439-20AS       WEITZ & LUXENBERG

DUFFY, LANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14272          DRISCOLL FIRM, P.C.

DUFFY, LILA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06723          THE SIMON LAW FIRM, PC

DUFFY, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06822          ONDERLAW, LLC

DUFNER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15891          DALIMONTE RUEB, LLP

DUFORD, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14530          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 337 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                              Appendix A (Part 1) Page 339 of 702

               Claimant Name                         State Filed                      Docket Number                               Plaintiff Counsel

DUFOUR, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14383          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DUFRENE, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10996          MORRIS BART & ASSOCIATES

DUFRENE, JOAN                     LA - DISTRICT COURT - JEFFERSON PARISH       810092-O               GALANTE & BIVALACQUA LLC

DUFRENE, JOAN                     LA - DISTRICT COURT - JEFFERSON PARISH       810092-O               POURCIAU LAW FIRM, LLC

DUFRESNE, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10460          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUFRESNE, NINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01137          POTTS LAW FIRM

DUFRESNE, ROSELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13901          FLEMING, NOLEN & JEZ, LLP

DUGAN, ARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11036          JOHNSON BECKER, PLLC

DUGAN, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12539          JOHNSON BECKER, PLLC

DUGAN, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09726          NAPOLI SHKOLNIK, PLLC

DUGAN, KRISTEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09821          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUGAN, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18379          NACHAWATI LAW GROUP

DUGAS, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08722          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUGAS, JUANITA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2462-17          KEEFE BARTELS

DUGGAN, JESSICA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003211-21        WEITZ & LUXENBERG

DUGGER, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

DUGGER, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15561          LENZE LAWYERS, PLC

DUGGER, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

DUGGER, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15561          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DUGGER, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DUGOSH, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10928          THE MILLER FIRM, LLC

DUGUID, MIRIAM                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14213          ONDERLAW, LLC

DUHAMEL, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18073          DALIMONTE RUEB, LLP

DUHE, SILVIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003210-21        WEITZ & LUXENBERG

DUHON, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10924          LEVIN SIMES ABRAMS LLP

DUICH, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01296          JOHNSON LAW GROUP

DUJULIO, FAITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12334          GOLOMB & HONIK, P.C.

DUKE, ANDRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01408          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUKE, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09828          MORRIS BART & ASSOCIATES

DUKE, TULANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08686          ONDERLAW, LLC

DUKES, ANDRIEA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17286          THE CUFFIE LAW FIRM

DUKES, KATHLEEN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

DUKES, KATHLEEN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUKES, KATHLEEN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC



                                                                             Page 338 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 340 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DUKES, KATHLEEN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

DUKES, KATHLEEN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

DUKES, MAMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17307          ASHCRAFT & GEREL, LLP

DUKES, MAMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17307          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUKES, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12238          THE BENTON LAW FIRM, PLLC

DUKES, NORMA                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02715          ASHCRAFT & GEREL, LLP

DUKES, NORMA                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02715          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUKES, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13119          ONDERLAW, LLC

DUKEWITS, SUZANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12716          ONDERLAW, LLC

DULA, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10992          ASHCRAFT & GEREL

DULANEY, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09053          ROSS FELLER CASEY, LLP

DULL, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11626          THE MILLER FIRM, LLC

DUMAS, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01654          DALIMONTE RUEB, LLP

DUMAS, LEA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06290          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUMESNIL, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08470          ONDERLAW, LLC

DUMITRU, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16944          ONDERLAW, LLC

DUMONT, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16495          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUMORMAY, MARIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002070-21        GOLOMB & HONIK, P.C.

DUMOVICH, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01092          POTTS LAW FIRM

DUNAWAY, PAULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03193          GORI JULIAN & ASSOCIATES, P.C.

DUNBAR, CHARLOTTE                CA - SUPERIOR COURT - ALAMEDA COUNTY         RG17873018             THE BRANDI LAW FIRM

DUNBAR, GLENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03482          ONDERLAW, LLC

DUNBAR, KATE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08187          ONDERLAW, LLC

DUNBAR, PATRICIA                 IL - CIRCUIT COURT - COOK COUNTY             2018-L-1789            CLIFFORD LAW OFFICES, P.C.

DUNBAR, PATRICIA                 IL - CIRCUIT COURT - COOK COUNTY             2018-L-1789            TAFT STETTINIUS & HOLLISTER LLP

DUNBAR, PEGGY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05710          MOTLEY RICE, LLC

DUNBAR, TAKIYAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17703          ONDERLAW, LLC

DUNCAN, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00516          BURNS CHAREST LLP

DUNCAN, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00516          BURNS CHAREST LLP

DUNCAN, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18631          NACHAWATI LAW GROUP

DUNCAN, DARLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00732          THE MILLER FIRM, LLC

DUNCAN, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07054          ONDERLAW, LLC

DUNCAN, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04345          ONDERLAW, LLC

DUNCAN, DIANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20144          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 339 of 1405
                            Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 341 of 702

           Claimant Name                             State Filed                      Docket Number                             Plaintiff Counsel

DUNCAN, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04024          THE SEGAL LAW FIRM

DUNCAN, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14762          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUNCAN, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00743          THE MILLER FIRM, LLC

DUNCAN, LATOYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14069          HILLIARD MARTINEZ GONZALES, LLP

DUNCAN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10483          ONDERLAW, LLC

DUNCAN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17614          ONDERLAW, LLC

DUNCAN, MARILYN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002355-20        GOLOMB & HONIK, P.C.

DUNCAN, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09175          ONDERLAW, LLC

DUNCAN, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19738          ASHCRAFT & GEREL, LLP

DUNCAN, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19738          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUNCAN, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06471          ONDERLAW, LLC

DUNCAN, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02401          ONDERLAW, LLC

DUNCAN, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03956          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUNCAN, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01970          ONDERLAW, LLC

DUNCAN, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11124          BURNS CHAREST LLP

DUNFORD, CLOEATA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03070          ONDERLAW, LLC

DUNGAN, CHARMAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04485          ARNOLD & ITKIN LLP

DUNHAM, LUCIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05665          ASHCRAFT & GEREL

DUNHAM, LUCIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05665          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUNHAM, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19211          BERMAN & SIMMONS, P. A.

DUNHAM, WILMA                     NY - SUPREME COURT - NYCAL                   190222/2019            MEIROWITZ & WASSERBERG, LLP

DUNHAM, WILMA & DUNHAM, SHELBY D NY - SUPREME COURT - NYCAL                    190222/2019            MEIROWITZ & WASSERBERG, LLP

DUNIGAN, KECIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15773          SIMMONS HANLY CONROY

DUNKER, MARGARET                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002964-15        SEEGER WEISS LLP

DUNKER-CROSS, BECKY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04735          ONDERLAW, LLC

DUNKIN, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18998          NACHAWATI LAW GROUP

DUNKLEY, JUANITA                  BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230701         PRESZLER LAW FIRM LLP

DUNLAP, CHRISTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12103          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

DUNLAP, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19559          NACHAWATI LAW GROUP

DUNLAP, NUANA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUNLAP, NUANA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

DUNLAP, NUANA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

DUNLAP, NUANA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA




                                                                             Page 340 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 342 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DUNLAP, NUANA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

DUNLOP, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18659          FLETCHER V. TRAMMELL

DUNLOP, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13063          ONDERLAW, LLC

DUNMIRE, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05377          WILLIAMS HART LAW FIRM

DUNMORE, ANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13190          DALIMONTE RUEB, LLP

DUNN, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17879          ASHCRAFT & GEREL, LLP

DUNN, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17879          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUNN, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14814          LENZE LAWYERS, PLC

DUNN, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17122          NACHAWATI LAW GROUP

DUNN, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14814          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

DUNN, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02855          ONDERLAW, LLC

DUNN, DRAMONDA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002445-20        GOLOMB & HONIK, P.C.

DUNN, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10474          ONDERLAW, LLC

DUNN, JOANNE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002857-21        MOTLEY RICE NEW JERSEY LLC

DUNN, JOANNE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002857-21        WILLIAMS HART LAW FIRM

DUNN, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01168          BLIZZARD & NABERS, LLP

DUNN, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09926          ONDERLAW, LLC

DUNN, MAGGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12413          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

DUNN, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15286          JOHNSON LAW GROUP

DUNN, MARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14764          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUNN, MARSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10353          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUNN, MELVA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09654          MORELLI LAW FIRM, PLLC

DUNN, NAKEISHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13111          FLETCHER V. TRAMMELL

DUNN, PEGGY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

DUNN, PEGGY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

DUNN, PEGGY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

DUNN, SHELIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2972-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUNN, SHELIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2972-15          PORTER & MALOUF, PA

DUNN, SHELIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2972-15          SEEGER WEISS LLP

DUNN, SHELIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2972-15          THE SMITH LAW FIRM, PLLC

DUNN, TAMMI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05218          ONDERLAW, LLC

DUNN, TRISHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15428          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DUNN, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10440          RIESEN DURANT, LLC




                                                                           Page 341 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 343 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DUNNAVANT, TEREASA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05446          WILSON LAW PA

DUNN-BORGRA, LAURA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07919          ASHCRAFT & GEREL

DUNNE, JEANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05969          JOHNSON LAW GROUP

DUNNING, ANGELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07794          ASHCRAFT & GEREL

DUNNING, ANGELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07794          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUNPHY, COLLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08833          ONDERLAW, LLC

DUNPHY, VICTORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00539          JOHNSON BECKER, PLLC

DUNSTAN, GEORGIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09440          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUNSTER, HEATHER               ONTARIO (TORONTO)                            CV-22-00679644-0000    PRESZLER INJURY LAWYERS

DUNSTON, IDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02116          ONDERLAW, LLC

DUPART, SHERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11355          MARY ALEXANDER & ASSOCIATES, P.C.

DUPAS, FAITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19192          JOHNSON LAW GROUP

DUPELL, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18862          NACHAWATI LAW GROUP

DUPONT, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17769          ASHCRAFT & GEREL, LLP

DUPONT, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17769          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUPOUX, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15348          OSBORNE & FRANCIS LAW FIRM PLLC

DUPREE, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10761          NACHAWATI LAW GROUP

DUPREE, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03859          ONDERLAW, LLC

DUPUY, CHINHUI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02894          FLETCHER V. TRAMMELL

DUQUETTE, ISABELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19565          NACHAWATI LAW GROUP

DURAN, CATHERINE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DURAN, CATHERINE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

DURAN, CATHERINE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

DURAN, CATHERINE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

DURAN, HELEN                   CA - SUPERIOR COURT - SANTA CRUZ COUNTY      17CV321180             THE MILLER FIRM, LLC

DURAN, LILIA (JASSO)           CA - SUPERIOR COURT - SANTA CLARA COUNTY     16-CV-299610           GIBBS LAW GROUP LLP

DURAN, LOUISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02705          WILLIAMS HART LAW FIRM

DURAN, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13541          ARNOLD & ITKIN LLP

DURAN, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06633          ARNOLD & ITKIN LLP

DURAN, PRISCILLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05433          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

DURAN, ROSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01471          SHAW COWART, LLP

DURAN, SHABA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13498          FLETCHER V. TRAMMELL

DURAN, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18302          WEITZ & LUXENBERG

DURAND-BLOUNT, JESSICA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05114          ONDERLAW, LLC



                                                                          Page 342 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 344 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

DURANT, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13514          HILLIARD MARTINEZ GONZALES, LLP

DURANTE, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05839          NAPOLI SHKOLNIK, PLLC

DURBIN, DAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16073          HOVDE, DASSOW, & DEETS, LLC

DURBIN, DAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16073          THE MILLER FIRM, LLC

DURBIN, RACHAEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00142          CHAPPELL, SMITH & ARDEN, P.A.

DURDEN, LESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01117          GORI JULIAN & ASSOCIATES, P.C.

DURFEE, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11335          GORI JULIAN & ASSOCIATES, P.C.

DURFEE, PEGGY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09616          THE SEGAL LAW FIRM

DURHAM, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20215          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DURHAM, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04422          ONDERLAW, LLC

DURHAM, APRIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13457          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DURHAM, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08383          ASHCRAFT & GEREL

DURHAM, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08383          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DURHAM, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06465          THE ENTREKIN LAW FIRM

DURHAM, TAMMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05367          ONDERLAW, LLC

DURHEIM, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17347          WEITZ & LUXENBERG

DURING, MARGALINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07520          ASHCRAFT & GEREL, LLP

DURING, MARGALINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07520          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DURIO, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20003          ONDERLAW, LLC

DURIVAGE, JILL                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006033-21        NAPOLI SHKOLNIK, PLLC

DURIVAGE, JILL                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006033-21        NAPOLI SHKOLNIK, PLLC

DURKEE, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07950          DALIMONTE RUEB, LLP

DURKIN, ESTHER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17101          DIAZ LAW FIRM, PLLC

DUROVEY, TAMARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06606          JOHNSON BECKER, PLLC

DURRAH, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05332          ONDERLAW, LLC

DURRANCE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16183          MOTLEY RICE, LLC

DURRETT, HEATHER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08154          ONDERLAW, LLC

DURRETT, IMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09804          FLETCHER V. TRAMMELL

DURSO, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18272          DRISCOLL FIRM, P.C.

DURSO, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18272          DRISCOLL FIRM, P.C.

DURYEE, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17626          JOHNSON LAW GROUP

DUTCH, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11158          ARNOLD & ITKIN LLP

DUTCH, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01858          ONDERLAW, LLC




                                                                            Page 343 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 345 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

DUTTON, AMY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

DUTTON, AMY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

DUTTON, AMY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

DUTTON, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08975          ONDERLAW, LLC

DUVAL, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16656          ASHCRAFT & GEREL

DUVAL, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16656          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUVALL, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03528          THE MILLER FIRM, LLC

DUVALL, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15563          NACHAWATI LAW GROUP

DUVALL, EDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06768          GORI JULIAN & ASSOCIATES, P.C.

DUVALL, MICHELE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DUVALL, MICHELE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

DUVALL, MICHELE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

DUVALL, SETH                     AR - CIRCUIT COURT - PULASKI COUNTY          60CV-21-3496           NACHAWATI LAW GROUP

DUZIK, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09465          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DVORSCEK, MEGAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11997          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

DWECK, CHERYL                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DWELLE, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01451          HEYGOOD, ORR & PEARSON

DWORAK, CHERLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14531          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DWYER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17790          ONDERLAW, LLC

DYAR, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02348          DAVIS, BETHUNE & JONES, L.L.C.

DYAR, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13274          JOHNSON LAW GROUP

DYCKMAN, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05130          HELMSDALE LAW, LLP

DYE, AMY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06187          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DYE, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13778          NAPOLI SHKOLNIK, PLLC

DYE, DARLEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08154          ONDERLAW, LLC

DYE, JACQUELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01437          ONDERLAW, LLC

DYE, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12226          MOTLEY RICE, LLC

DYE, NORMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19024          ONDERLAW, LLC

DYE, SANDRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DYE, SANDRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

DYE, SANDRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

DYE, SANDRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

DYE, SANDRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

DYER, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05072          ONDERLAW, LLC



                                                                            Page 344 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 346 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

DYER, BARBARA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003385-20        GOLOMB & HONIK, P.C.

DYER, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04148          ONDERLAW, LLC

DYER, MIRIAM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15139          JOHNSON LAW GROUP

DYER, NELLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20556          DRISCOLL FIRM, P.C.

DYER, PAMELA                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02717          ASHCRAFT & GEREL

DYER, PAMELA                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02717          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DYER, ROBINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06570          JOHNSON LAW GROUP

DYER, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18762          JOHNSON LAW GROUP

DYER, VALERIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10810          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DYESS, ZELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17427          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

DYETT, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06627          ONDERLAW, LLC

DYHHOUSE, ANNE MARIE              IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

DYKE, DONNA VAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01481          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

DYKEMAN, AMBER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00411          NAPOLI SHKOLNIK, PLLC

DYKER, NOEL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16167          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

DYKSTRA, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17446          POTTS LAW FIRM

DYMBURT, MAXENE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002136-17        GOLOMB SPIRT GRUNFELD PC

DYMOND, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00723          ONDERLAW, LLC

DYREK, AMELIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17495          ONDERLAW, LLC

DYSART, GERALDINE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002446-20        GOLOMB & HONIK, P.C.

DYSON, BOBBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09547          BURNS CHAREST LLP

DYSON, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10601          NACHAWATI LAW GROUP

DZIEDZIC, MICHELLE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1304-18          LOCKS LAW FIRM

DZIESZKOWSKI, KIMBERLY            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1157-16          ASHCRAFT & GEREL, LLP

DZIESZKOWSKI, KIMBERLY            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1157-16          DAMATO LAW FIRM, P.C.

E.J. LEWIS                        IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

EAGAN, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06290          ONDERLAW, LLC

EAGERS, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07356          RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

EAGLETON, TANYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07928          THE MILLER FIRM, LLC

EAGLIN, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04974          THE LEVENSTEN LAW FIRM, P.C.

EAKER, BERTIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12570          ASHCRAFT & GEREL, LLP

EAKER, BERTIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12570          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EAMES, LINNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14487          ARNOLD & ITKIN LLP

EANES, JENNY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17148          NACHAWATI LAW GROUP



                                                                             Page 345 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 347 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

EARL, SUZETTE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

EARL, SUZETTE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

EARL, SUZETTE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

EARLE, GRAZELDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03282          ONDERLAW, LLC

EARLE, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08249          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EARLE, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13048          TRAMMELL PC

EARLE, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19521          NACHAWATI LAW GROUP

EARLEY, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16836          ONDERLAW, LLC

EARLS, AUDREY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09496          FLETCHER V. TRAMMELL

EARLS, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14552          HOLLAND LAW FIRM

EARLS, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14817          LENZE LAWYERS, PLC

EARLS, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14817          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

EARLS-RODGERS, JANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17684          THE MILLER FIRM, LLC

EARLY, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06882          ONDERLAW, LLC

EARNEST, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17151          NACHAWATI LAW GROUP

EARNHARDT, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20326          ONDERLAW, LLC

EARNHARDT, ROSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05665          ONDERLAW, LLC

EARP, JILL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10037          GORI JULIAN & ASSOCIATES, P.C.

EASH, KATHY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1010-16          SEEGER WEISS LLP

EASLEY, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02349          DAVIS, BETHUNE & JONES, L.L.C.

EASLEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12196          ONDERLAW, LLC

EASLY, DOLORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02978          ONDERLAW, LLC

EASON, ONNETA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03111          MOTLEY RICE, LLC

EAST, ARLEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14728          LENZE LAWYERS, PLC

EAST, ARLEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14728          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

EAST, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15781          DRISCOLL FIRM, P.C.

EASTER, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13802          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EASTER, GLENDA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002368-20        GOLOMB & HONIK, P.C.

EASTER, LOUISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18298          ARNOLD & ITKIN LLP

EASTER, MARJORIE                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

EASTER, TRAMAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15224          CAMPBELL & ASSOCIATES

EASTER, TRAMAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15224          FRAZER PLC

EASTERLING, GENEVA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19495          ASHCRAFT & GEREL, LLP

EASTERLING, GENEVA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19495          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 346 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 348 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

EASTERLING, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02595          ONDERLAW, LLC

EASTERLING-TORGIANI, JULIA       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EASTERLING-TORGIANI, JULIA       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

EASTERLING-TORGIANI, JULIA       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

EASTERLING-TORGIANI, JULIA       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

EASTERLING-TORGIANI, JULIA       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

EASTERWOOD, LORRAINE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1136-15          GOLOMB SPIRT GRUNFELD PC

EASTIN, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20538          DALIMONTE RUEB, LLP

EASTMAN, ALMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EASTMAN, ALMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          GOLDENBERGLAW, PLLC

EASTMAN, ALMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          ONDERLAW, LLC

EASTMAN, ALMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          PORTER & MALOUF, PA

EASTMAN, ALMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          THE SMITH LAW FIRM, PLLC

EASTMAN, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13830          MOTLEY RICE, LLC

EASTMAN, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20022          NACHAWATI LAW GROUP

EASTON, MEAGAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06905          ONDERLAW, LLC

EASTWOOD, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02126          FLETCHER V. TRAMMELL

EATON, GERALDINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16966          THE MILLER FIRM, LLC

EATON, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20146          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EATON, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10960          ASHCRAFT & GEREL

EATON, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18068          WEITZ & LUXENBERG

EATON, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00499          ROSS LAW OFFICES, P.C.

EATON, PAMELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17157          NACHAWATI LAW GROUP

EATON, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04808          ONDERLAW, LLC

EATON, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11628          PIERCE SKRABANEK BRUERA, PLLC

EATON, RUBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13250          ONDERLAW, LLC

EBEL, MELA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09115          ONDERLAW, LLC

EBER, ELLEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03152          ASHCRAFT & GEREL, LLP

EBERHARDT, JANICE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2700-17          KEEFE BARTELS

EBERHARDT, JANICE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2700-17          LAW OFFICE OF GRANT D. AMEY, LLC

EBERHARDT, VALI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09729          JOHNSON LAW GROUP

EBERSOLD, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18596          JOHNSON LAW GROUP

EBERSOLDT, PRISCILLA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10713          THE MILLER FIRM, LLC

EBERT, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08215          ONDERLAW, LLC



                                                                            Page 347 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 349 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

EBONI EVANS                      FEDERAL - MDL                                3:21-CV-19663          JOHNSON BECKER, PLLC

EBRAHIMI, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05685          REICH & BINSTOCK, LLP

EBY, ROBERTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07209          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ECHEVARRIA, ALBA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14682          SANDERS PHILLIPS GROSSMAN, LLC

ECHEVARRIA, CECILIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13097          FLETCHER V. TRAMMELL

ECHEVARRIA, WILMARIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05090          ONDERLAW, LLC

ECHEVERRIA, EVA                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC628228               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ECHOLS, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05789          TRAMMELL PC

ECHOLS, KEMO                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC701474               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ECK, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10876          ONDERLAW, LLC

ECK, KELLY                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002369-20        GOLOMB & HONIK, P.C.

ECK, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17165          NACHAWATI LAW GROUP

ECKEL, JANICE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003320-21        GOLOMB & HONIK, P.C.

ECKELS, JOZEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08342          ONDERLAW, LLC

ECKER, VALERIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003436-20        SANDERS PHILLIPS GROSSMAN, LLC

ECKER, VALERIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002923-21        WEITZ & LUXENBERG

ECKERT, PANSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05467          PETERSON & ASSOCIATE, P.C.

ECKERT, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07658          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ECKES, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14068          ONDERLAW, LLC

ECKLOR, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17220          NACHAWATI LAW GROUP

ECKSTEIN, DARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06467          ONDERLAW, LLC

EDBERG, EYDIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13599          GOLDENBERGLAW, PLLC

EDDE, BOBBIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14024          ONDERLAW, LLC

EDDINS, KARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09248          ONDERLAW, LLC

EDDINS, KARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09248          ONDERLAW, LLC

EDDINS, KARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09248          ONDERLAW, LLC

EDDINS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17223          NACHAWATI LAW GROUP

EDDLEMAN, TERI                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDDLEMAN, TERI                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

EDDLEMAN, TERI                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

EDDLEMAN, TERI                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

EDDLEMAN, TERI                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

EDDLEMON, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07186          ONDERLAW, LLC




                                                                            Page 348 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 350 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

EDDY, CHRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14316          TORHOERMAN LAW LLC

EDDY, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11021          ONDERLAW, LLC

EDDY, KENNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21531          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

EDDY, MONA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00841          ONDERLAW, LLC

EDDY, YVONNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20524          ONDERLAW, LLC

EDE, LORI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12679          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDE, THERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02927          ONDERLAW, LLC

EDE, TRICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01570          MURRAY LAW FIRM

EDEN, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09026          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDEN, SVETLANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14159          WATERS & KRAUS, LLP

EDENS, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12198          ONDERLAW, LLC

EDGAR, WILMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09695          ONDERLAW, LLC

EDGE, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06794          THE SIMON LAW FIRM, PC

EDGERTON, NATALIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10680          KLINE & SPECTER, P.C.

EDGEWORTH, SALOME                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18069          WEITZ & LUXENBERG

EDGIN, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08520          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDGIN, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16739          ASHCRAFT & GEREL

EDGIN, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16739          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDITH LONGMIRE                   FEDERAL - MDL                                3:21-CV-16552          DAVIS, BETHUNE & JONES, L.L.C.

EDLUND, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03034          REICH & BINSTOCK, LLP

EDMOND, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05165          ONDERLAW, LLC

EDMOND, URSULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15430          GORI JULIAN & ASSOCIATES, P.C.

EDMONDS, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10623          NACHAWATI LAW GROUP

EDMONDS, DELORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

EDMONDS, DELORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

EDMONDS, DELORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13183          NACHAWATI LAW GROUP

EDMONDS, DELORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

EDMONDS, JANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02320          ONDERLAW, LLC

EDMONDS, LAURIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09222          ONDERLAW, LLC

EDMONDS, LESLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19801          NACHAWATI LAW GROUP

EDMONDS, MONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10895          ONDERLAW, LLC

EDMONDS, RENEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10096          THE LAW OFFICES OF SEAN M CLEARY

EDMONDSON, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11463          NAPOLI SHKOLNIK, PLLC

EDSALL, PENNY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07008          ONDERLAW, LLC



                                                                            Page 349 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                         Appendix A (Part 1) Page 351 of 702

           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

EDSILL, KATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12878          THE MILLER FIRM, LLC

EDUARDO PEREZ JR.             IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

EDWARD PHILLIPS               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

EDWARD, CHARLESETTA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12443          PRO SE

EDWARDS, ANDREA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07817          ONDERLAW, LLC

EDWARDS, ANNABELLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12638          BLIZZARD & NABERS, LLP

EDWARDS, ARISHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02868          CHILDERS, SCHLUETER & SMITH, LLC

EDWARDS, ARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01129          COHEN & MALAD, LLP

EDWARDS, AUDREY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00627          BURNS CHAREST LLP

EDWARDS, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20525          ONDERLAW, LLC

EDWARDS, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01632          ONDERLAW, LLC

EDWARDS, BERTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10260          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDWARDS, BEVERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09395          ONDERLAW, LLC

EDWARDS, BOBBIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18963          NACHAWATI LAW GROUP

EDWARDS, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08593          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDWARDS, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14015          MORGAN & MORGAN

EDWARDS, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09745          SLACK & DAVIS LLP

EDWARDS, CHRISHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00513          THE CUFFIE LAW FIRM

EDWARDS, CORA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16446          JOHNSON LAW GROUP

EDWARDS, CRYSTAL              IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

EDWARDS, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10947          ONDERLAW, LLC

EDWARDS, DARLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14798          LENZE LAWYERS, PLC

EDWARDS, DARLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14798          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

EDWARDS, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07048          ROSS FELLER CASEY, LLP

EDWARDS, DAWN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004168-20        GOLOMB & HONIK, P.C.

EDWARDS, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13450          ONDERLAW, LLC

EDWARDS, DENISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDWARDS, DENISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

EDWARDS, DENISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

EDWARDS, DENISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

EDWARDS, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11175          NACHAWATI LAW GROUP

EDWARDS, ELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07288          BURNS CHAREST LLP

EDWARDS, ELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07288          BURNS CHAREST LLP

EDWARDS, HAZEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11386          MORELLI LAW FIRM, PLLC



                                                                         Page 350 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                         Appendix A (Part 1) Page 352 of 702

           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

EDWARDS, JANET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06611          GORI JULIAN & ASSOCIATES, P.C.

EDWARDS, JEANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19809          NACHAWATI LAW GROUP

EDWARDS, JENNIFER             NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006054-21        PUTNICK LEGAL, LLC

EDWARDS, JESSICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00824          ONDERLAW, LLC

EDWARDS, KATHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09715          ASHCRAFT & GEREL

EDWARDS, KATHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09715          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDWARDS, LATASHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14184          ANDRUS WAGSTAFF, P.C.

EDWARDS, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12280          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDWARDS, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06291          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDWARDS, MAMIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22224          NACHAWATI LAW GROUP

EDWARDS, MARSHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04805          JOHNSON LAW GROUP

EDWARDS, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18101          FLETCHER V. TRAMMELL

EDWARDS, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19527          NACHAWATI LAW GROUP

EDWARDS, MISCHELLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09722          ASHCRAFT & GEREL

EDWARDS, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14551          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDWARDS, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09413          CELLINO & BARNES, P.C.

EDWARDS, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10532          NACHAWATI LAW GROUP

EDWARDS, NEFERTITI            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14505          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

EDWARDS, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDWARDS, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933          GOLDENBERGLAW, PLLC

EDWARDS, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933          ONDERLAW, LLC

EDWARDS, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933          PORTER & MALOUF, PA

EDWARDS, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933          THE SMITH LAW FIRM, PLLC

EDWARDS, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14294          ASHCRAFT & GEREL

EDWARDS, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14294          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDWARDS, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08806          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EDWARDS, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04423          ONDERLAW, LLC

EDWARDS, PRECIOUS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17242          NACHAWATI LAW GROUP

EDWARDS, PRECIOUS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05685          ONDERLAW, LLC

EDWARDS, RITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02906          ONDERLAW, LLC

EDWARDS, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12506          HEYGOOD, ORR & PEARSON

EDWARDS, SHERRICE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02211          ONDERLAW, LLC

EDWARDS, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12830          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

EDWARDS, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16916          THE CUFFIE LAW FIRM



                                                                         Page 351 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                          Appendix A (Part 1) Page 353 of 702

            Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

EDWARDS, STACEY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1183-16          ASHCRAFT & GEREL

EDWARDS, STACEY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1183-16          GOLOMB SPIRT GRUNFELD PC

EDWARDS, TAI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05941          JOHNSON LAW GROUP

EDWARDS, TANTRELL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18460          WEITZ & LUXENBERG

EDWARDS, TASHONDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10922          NACHAWATI LAW GROUP

EDWARDS, TERRINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07702          ONDERLAW, LLC

EDWARDS, TINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01079          ONDERLAW, LLC

EDWARDS, VOCTORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07068          ONDERLAW, LLC

EDWARDS-ALFORD, BARBARA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04843          WILLIAMS HART LAW FIRM

EDWARDS-FOUNTAIN, BERNICE      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12938          TRAMMELL PC

EDWARDS-HARTE, AMY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06333          ONDERLAW, LLC

EDWARDS-ROWE, JACQUELYN        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18810          HOLLAND LAW FIRM

EDWARDS-SIKES, MICHELE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03861          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EEL, PENELOPE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004064-20        GOLOMB & HONIK, P.C.

EFENDIC, MULIJA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10673          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EFFLANDT, ANN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002575-20        GOLOMB & HONIK, P.C.

EGAN, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02761          THE MILLER FIRM, LLC

EGAN, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13424          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EGENDOERFER, DIANE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11811          SULLO & SULLO, LLP

EGGERS, BARBARA                OK - DISTRICT COURT - OKLAHOMA COUNTY        CJ-2018-4739           ZELBST, HOLMES & BUTLER
EGGERS,VERNON EST OF BARBARA
                               OK - DISTRICT COURT - OKLAHOMA COUNTY        CJ-2018-4739           DEAN OMAR BRANHAM, LLP
EGGERS
EGLEN, LAURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11072          JOHNSON BECKER, PLLC

EGLI, MEREDITH                 CA - SUPERIOR COURT - ALAMEDA COUNTY         RG20075272             KAZAN,MCCLAIN,SATTERLEY & GREENWOOD

EHART, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03938          DANIEL & ASSOCIATES, LLC

EHART, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03938          THE WHITEHEAD LAW FIRM, LLC

EHLING, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16736          ASHCRAFT & GEREL

EHLING, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16736          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EHRENBORG, JEANNETTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05857          RAPPAPORT, GLASS, LEVINE & ZULLO

EHRENSING, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20262          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EHRIG, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10087          GORI JULIAN & ASSOCIATES, P.C.

EHRLICH, JULIET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20112          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EHRLICH, MELINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17123          CLARK ROBB MASON COULMBE, ET AL.

EIBEN, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17107          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                          Page 352 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 354 of 702

              Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

EICH, KATHERINE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000484-21        GOLOMB & HONIK, P.C.

EICH, MAUREEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11041          MARTIN BAUGHMAN, PLLC

EICHELBERGER, MILDRED             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11300          WATERS & KRAUS, LLP

EICHENWALD, SONIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19682          ONDERLAW, LLC

EICHLER, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20322          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EICHNER, MARJORIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05331          FLETCHER V. TRAMMELL

EICHORST, ROSEMARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06934          JOHNSON LAW GROUP

EICK, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03017          JOHNSON LAW GROUP

EIDSON, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02753          SANGISETTY LAW FIRM, LLC

EIFER, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11769          NACHAWATI LAW GROUP

EILEEN FERRALL                    FEDERAL - MDL                                3:21-CV-19885          ONDERLAW, LLC

EILEEN GONZALES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18588          ONDERLAW, LLC

EILEEN GRUNSPAN-SHIPLEY           FEDERAL - MDL                                3:21-CV-17157          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
EILLERS, BRIDGETTE; PADILLA,
                                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC657839               BISNAR AND CHASE
ANAKELLA
EINBINDER, JOANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11539          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EISCHEN, CHERILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07299          ASHCRAFT & GEREL

EISELE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08731          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

EISENHARDT, MARGARET              LA - DISTRICT COURT - ORLEANS PARISH         2017-10826             GALANTE & BIVALACQUA LLC

EISENHARDT, MARGARET              LA - DISTRICT COURT - ORLEANS PARISH         2017-10826             POURCIAU LAW FIRM, LLC

EISENHARDT, MARGARET              LA - DISTRICT COURT - ORLEANS PARISH         2017-10826             THE CHEEK LAW FIRM

EISENLAUER, KIM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17261          NACHAWATI LAW GROUP

EISHEN, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19196          CELLINO & BARNES, P.C.

EISINGER, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22172          ONDERLAW, LLC

EISLER, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18263          ONDERLAW, LLC

EISMAN, GESELE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05834          HARRY I. KATZ, PC

EISMAN-DORR, ROBERTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18358          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

EITEL, DOROTHY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

EITEL, DOROTHY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

EITEL, DOROTHY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

EITEL, DOROTHY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

EKKER, GINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00977          JOHNSON LAW GROUP

EKUWSUMI, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04574          ONDERLAW, LLC

ELAINE DENTON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15220          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




                                                                             Page 353 of 1405
                                Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 355 of 702

               Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

ELAINE HEARD                       FEDERAL - MDL                                3:20-CV-19395          NACHAWATI LAW GROUP

ELAINE MORANG                      FEDERAL - MDL                                3:21-CV-19050          MOTLEY RICE, LLC

EL-ATRACHE, DEDE                   CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2017-00031394       THE BRANDI LAW FIRM

ELDER, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11401          NACHAWATI LAW GROUP

ELDER, HARRIETT                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06611          ONDERLAW, LLC

ELDER, ILA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11439          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ELDER, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11906          ASHCRAFT & GEREL, LLP

ELDER, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11906          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELDER, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20559          COHEN, PLACITELLA & ROTH

ELDER, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08381          ONDERLAW, LLC

ELDER, ROSEMARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19486          ASHCRAFT & GEREL, LLP

ELDER, ROSEMARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19486          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELDERIDGE, GAYLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08452          ONDERLAW, LLC

ELDRIDGE, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20127          MOTLEY RICE, LLC

ELDRIDGE, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01048          THE SEGAL LAW FIRM

ELDRIDGE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06747          THE SIMON LAW FIRM, PC

ELDRIDGE, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08562          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELDRIDGE, REGINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20449          ASHCRAFT & GEREL, LLP

ELDRIDGE, REGINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20449          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELDRIDGE, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12035          NACHAWATI LAW GROUP

ELEDGE, DOROTHY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002447-20        GOLOMB & HONIK, P.C.

ELENA WALSH                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18529          JOHNSON LAW GROUP

ELENN STEINBERG                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18039          ASHCRAFT & GEREL, LLP
ELFANT, B EST OF JOSEPHINE M.
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05791-18AS       LEVY KONIGSBERG LLP
MARCHESANO
ELFSTROM, ELLEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18770          NACHAWATI LAW GROUP

ELGART, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03079          BERNSTEIN LIEBHARD LLP

ELGIN, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14420          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELHAG, AMAL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02798          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

ELIA, JAKLIN                       CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318648             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ELIAS, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11563          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELIAS, JULIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10680          BURNS CHAREST LLP

ELIF, DOGANALP,                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05279-17AS       LEVY KONIGSBERG LLP

ELIGAH, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15849          NACHAWATI LAW GROUP

ELIJAH, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07057          ONDERLAW, LLC



                                                                              Page 354 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 356 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

ELIO, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELION, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20268          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELISABETH SAN JUAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18417          JOHNSON LAW GROUP

ELISSA WRIGHT                    FEDERAL - MDL                                3:21-CV-19513          MORELLI LAW FIRM, PLLC

ELIZABETH CHAVEZ                 FEDERAL - MDL                                3:21-CV-19881          ONDERLAW, LLC

ELIZABETH GEBHARD                FEDERAL - MDL                                3:21-CV-19647          JOHNSON BECKER, PLLC

ELIZABETH GOLDING                FEDERAL - MDL                                3:21-CV-16527          DAVIS, BETHUNE & JONES, L.L.C.

ELIZABETH GOODEMOTE-MOGOR        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15226          LENZE LAWYERS, PLC

ELIZABETH GOODEMOTE-MOGOR        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15226          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ELIZABETH THOMPSON-GAINES        FEDERAL - MDL                                3:21-CV-18797          FLETCHER V. TRAMMELL
ELIZABETH,LEAVITT TERESA &
                                 CA - SUPERIOR COURT - ALAMEDA COUNTY         RG17882401             DEAN; KAZAN, MCCLAIN, SATTERLEY & GREENWOOD
MCELROY,
ELIZARDO, VICKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09628          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELIZONDO, NEYDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03584          ONDERLAW, LLC

EL-KHAYYAT, DAVENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00948          GORI JULIAN & ASSOCIATES, P.C.

ELKHOLY-ZEILER, MAGDA            NJ - ATLANTA COUNTY SUPERIOR COURT           ATL-L002539-19         CALCAGNO & ASSOCIATES, LLP

ELKIN, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15528          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ELKINS, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03378          ONDERLAW, LLC

ELKINS, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

ELKINS, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14931          LENZE LAWYERS, PLC

ELKINS, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

ELKINS, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14931          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ELKINS, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ELKINS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02150          FRAZER PLC

ELKINS, RHONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05205          ONDERLAW, LLC

ELKINS, SHERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18057          ONDERLAW, LLC

ELKINS, TOYE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10337          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELLARD, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10296          ASHCRAFT & GEREL

ELLARD, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10296          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELLEDGE, VELMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08235          ONDERLAW, LLC

ELLEN ANDERSON                   FEDERAL - MDL                                3:21-CV-18644          FLETCHER V. TRAMMELL

ELLEN, MILLER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06244          ONDERLAW, LLC

ELLENOR WADE                     FEDERAL - MDL                                3:21-CV-19239          ASHCRAFT & GEREL, LLP




                                                                            Page 355 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 357 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

ELLER, MARIAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14018          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELLER, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15908          ASHCRAFT & GEREL, LLP

ELLER, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15908          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELLERD, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15203          JOHNSON LAW GROUP

ELLERSON, STEPHANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07816          DALIMONTE RUEB, LLP

ELLERT, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19536          NACHAWATI LAW GROUP

ELLIANO, DOLORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12525          THE MILLER FIRM, LLC

ELLINGBURG, LAKEVIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08044          ONDERLAW, LLC

ELLINGSON, DOTTIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15147          JOHNSON LAW GROUP

ELLINGTON, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03688          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELLIOT, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02629          ONDERLAW, LLC

ELLIOT, EMMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13649          DALIMONTE RUEB, LLP

ELLIOT, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12937          ONDERLAW, LLC

ELLIOT, RACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16982          ARNOLD & ITKIN LLP

ELLIOT, SHERYL                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELLIOT, SHERYL                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

ELLIOT, SHERYL                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

ELLIOT, SHERYL                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

ELLIOT, SHERYL                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

ELLIOT, VERNEDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01467          MORELLI LAW FIRM, PLLC

ELLIOTT, ADA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17332          WEITZ & LUXENBERG

ELLIOTT, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18696          THE SEGAL LAW FIRM

ELLIOTT, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16126          ONDERLAW, LLC

ELLIOTT, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18347          NACHAWATI LAW GROUP

ELLIOTT, CATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03453          FLETCHER V. TRAMMELL

ELLIOTT, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16726          ASHCRAFT & GEREL

ELLIOTT, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16726          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELLIOTT, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16110          ONDERLAW, LLC

ELLIOTT, DANIELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01749          WILLIAMS HART LAW FIRM

ELLIOTT, DAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12683          DANIEL & ASSOCIATES, LLC

ELLIOTT, DIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05623          ARNOLD & ITKIN LLP

ELLIOTT, GWENDOLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09514          MICHAEL HINGLE & ASSOCIATES, LLC

ELLIOTT, IDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09039          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELLIOTT, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13677          ONDERLAW, LLC



                                                                             Page 356 of 1405
                                Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                               Appendix A (Part 1) Page 358 of 702

                Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

ELLIOTT, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04425          ONDERLAW, LLC

ELLIOTT, MARSHIYYAT                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18298          CELLINO & BARNES, P.C.

ELLIOTT, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08290          ROSS FELLER CASEY, LLP

ELLIOTT, MILEAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03220          ONDERLAW, LLC

ELLIOTT, RENEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18231          FLETCHER V. TRAMMELL

ELLIOTT, RUBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11038          JOHNSON BECKER, PLLC

ELLIOTT, VALERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10595          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELLIOTT, VICKY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20271          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELLIS, ANNIE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-150-18           KEEFE BARTELS

ELLIS, ANNIE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-150-18           LAW OFFICE OF GRANT D. AMEY, LLC

ELLIS, ARBUTUS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14534          EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

ELLIS, BELINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13152          NACHAWATI LAW GROUP

ELLIS, BRENDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERG HELLER & ANTOGNOLI, PC

ELLIS, BRENDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

ELLIS, BRENDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

ELLIS, BRENDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

ELLIS, CANDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14276          ASHCRAFT & GEREL, LLP

ELLIS, CANDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELLIS, CELIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17287          NACHAWATI LAW GROUP

ELLIS, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11472          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ELLIS, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10219          BLIZZARD & NABERS, LLP

ELLIS, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08394          NACHAWATI LAW GROUP

ELLIS, DENIA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002901-21        WEITZ & LUXENBERG

ELLIS, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03864          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELLIS, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09273          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELLIS, DORIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11651          NACHAWATI LAW GROUP

ELLIS, EUNICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17286          NACHAWATI LAW GROUP

ELLIS, JANE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10181          ONDERLAW, LLC

ELLIS, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08919          DALIMONTE RUEB, LLP

ELLIS, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04918          THE MILLER FIRM, LLC

ELLIS, JENESICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11384          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ELLIS, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

ELLIS, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14926          LENZE LAWYERS, PLC

ELLIS, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC



                                                                              Page 357 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 359 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

ELLIS, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14926          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ELLIS, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ELLIS, JERRY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02469          BURNS CHAREST LLP

ELLIS, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18366          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ELLIS, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14460          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

ELLIS, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19579          NACHAWATI LAW GROUP

ELLIS, KAYLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07040          ONDERLAW, LLC

ELLIS, MARYANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01340          ONDERLAW, LLC

ELLIS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08336          ONDERLAW, LLC

ELLIS, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07400          MOTLEY RICE, LLC

ELLIS, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09127          THE LAW OFFICES OF SEAN M CLEARY

ELLIS, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03588          POTTS LAW FIRM

ELLIS, VALARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03472          ONDERLAW, LLC

ELLIS, VERNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02866          SANGISETTY LAW FIRM, LLC

ELLISON, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11312          BARON & BUDD, P.C.

ELLISON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05828          JASON J. JOY & ASSCIATES P.L.L.C.

ELLISON, CANDICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11073          PARKER WAICHMAN, LLP

ELLISON, CAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08836          ONDERLAW, LLC

ELLISON, MEGHAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09557          ONDERLAW, LLC

ELLISON, MICHELE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05961          DALIMONTE RUEB, LLP

ELLISON, PATRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08135          ONDERLAW, LLC

ELLISON, SHIRLEETA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002107-20        MOTLEY RICE NEW JERSEY LLC

ELLSWORTH, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01993          JOHNSON LAW GROUP

ELLSWORTH, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11694          GOZA & HONNOLD, LLC

ELLSWORTH-ANDREWS, JANET          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05788          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELMORE, DELORES M                 IL - CIRCUIT COURT - MADISON COUNTY          17-L-1591              MAUNE RAICHLE HARTLEY FRENCH & MUDD

ELMORE, DESIREE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14467          ANDRUS WAGSTAFF, P.C.

ELMORE, MONA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05381          WILLIAMS HART LAW FIRM

ELMSHAEUSER, NINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05767          JOHNSON LAW GROUP

ELMSHAEUSER, NINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05767          LEVIN SIMES LLP

ELOVICH, DYAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11144          GORI JULIAN & ASSOCIATES, P.C.

ELROD, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06678          THE SIMON LAW FIRM, PC

ELROD, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02264          ONDERLAW, LLC

ELROD, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10076          MURRAY LAW FIRM



                                                                             Page 358 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 360 of 702

               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

ELSASSER, DORTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08035          HOLLAND LAW FIRM

ELSBERRY, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20526          ONDERLAW, LLC

ELSEL, INGRID                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17881          JOHNSON LAW GROUP

ELSEY, RHANDI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05942          PARKER WAICHMAN, LLP

EL-SHABAZZ, QAMARRAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18299          WEITZ & LUXENBERG

ELSIE, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19502          DALIMONTE RUEB, LLP

ELSIFOR, KIMBERLY                 DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02718          ASHCRAFT & GEREL, LLP

ELSIFOR, KIMBERLY                 DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02718          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELSMORE, JOANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09554          ONDERLAW, LLC

ELSON, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12496          JOHNSON BECKER, PLLC
ELSON, PHYLLIS ESTATE OF EUGENE
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-005478-21        WEITZ & LUXENBERG
ELSON
ELSTON, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10451          NACHAWATI LAW GROUP

ELSTON, JESENTA                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

ELSTON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07144          DALIMONTE RUEB, LLP

ELSTON, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10676          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ELVEBAK, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02617          THE MILLER FIRM, LLC

ELWELL, GARY                      NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-02301-20AS       WEITZ & LUXENBERG

ELWOOD, TERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14162          WATERS & KRAUS, LLP

ELY, CHRISTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10141          DAVIS, BETHUNE & JONES, L.L.C.

ELY, DEBRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09420          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

ELY, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10407          ONDERLAW, LLC

ELY, MELISSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19738          ARNOLD & ITKIN LLP

ELZAYATY, FATHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01091          GOLOMB SPIRT GRUNFELD PC

ELZIE, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08600          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EMANUEL, CHARLENE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002448-20        GOLOMB & HONIK, P.C.

EMBERTON, KIM                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17289          NACHAWATI LAW GROUP

EMBREY, GEORGIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12663          TRAMMELL PC

EMBREY, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08607          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EMBRY, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10938          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EMBRY, CHRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06428          DRISCOLL FIRM, P.C.

EMBRY, MARTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00840          ONDERLAW, LLC

EMEL, ROMAYNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04930          ONDERLAW, LLC

EMERSON, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13000          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                             Page 359 of 1405
                               Case 23-12825-MBK            Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                            Appendix A (Part 1) Page 361 of 702

             Claimant Name                           State Filed                  Docket Number                              Plaintiff Counsel
                                  PA - PHILADELPHIA COUNTY COURT OF COMMON
EMERSON, GAYLE                                                             009334                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                  PLEAS
                                  PA - PHILADELPHIA COUNTY COURT OF COMMON
EMERSON, GAYLE                                                             009334                 EISENBERG, ROTHWEILER, WINKLER
                                  PLEAS
EMERSON, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:20-CV-15549          JOHNSON LAW GROUP

EMERSON, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10679      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EMERSON, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01795      MONTROSE LAW LLP

EMERT-SCHMOLL, SALLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13843      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EMERY, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11120      GOLDENBERGLAW, PLLC

EMERY, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01364      COHEN & MALAD, LLP

EMERY, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05675      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EMERY, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17184      MORELLI LAW FIRM, PLLC

EMERY, SHONDA; RIPLEY, DAWNE      CA - SUPERIOR COURT - SACRAMENTO COUNTY      34-2017-00210628   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

EMILYON, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00008      ONDERLAW, LLC

EMINETH, LADONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20527      ONDERLAW, LLC

EMMA CUMMINGS                     FEDERAL - MDL                                3:21-CV-20067      MCSWEENEY/LANGEVIN, LLC

EMMA TIMS                         FEDERAL - MDL                                3:20-CV-19390      NACHAWATI LAW GROUP

EMMA, GAIL                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002835-20    GOLOMB & HONIK, P.C.

EMMANUEL, SVETLANA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000171-21    GOLOMB & HONIK, P.C.

EMMANUEL, SVETLANA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001971-20    MOTLEY RICE NEW JERSEY LLC

EMMANUEL, SVETLANA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001971-20    WILLIAMS HART LAW FIRM

EMMERT, NINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03999      ONDERLAW, LLC

EMMILE ATCHISON                   FEDERAL - MDL                                3:21-CV-18661      FLETCHER V. TRAMMELL

EMMONS, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06556      BURNS CHAREST LLP

EMPERIO, DELIACORAZON             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-001601-20      GOLOMB & HONIK, P.C.

ENCINAS, ANDREA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02315      JOHNSON LAW GROUP

ENCINAS, ARTEMISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16989      MCSWEENEY/LANGEVIN, LLC

ENCINAS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00446      KNAPP & ROBERTS, P.C.

ENDERS, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10158      ONDERLAW, LLC

ENDERS, GEORGINA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ENDERS, GEORGINA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613       ONDERLAW, LLC

ENDERS, GEORGINA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613       PORTER & MALOUF, PA

ENDERS, GEORGINA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613       THE SMITH LAW FIRM, PLLC

ENDICOTT, COURTNEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08385      ONDERLAW, LLC




                                                                             Page 360 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 362 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

ENDICOTT, RHONDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12535          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

ENDICOTT, SHARON              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1711-16          GOLOMB SPIRT GRUNFELD PC

ENDLICH, LEATRICE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03538          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ENDRES, CHRISTINA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000611-21        ARNOLD & ITKIN LLP

ENDRES, CHRISTINA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000611-21        COHEN, PLACITELLA & ROTH

ENDRIZZI, BERNARDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03689          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ENDSLEY, DELLA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

ENDSLEY, DELLA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ENDSLEY, DELLA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

ENDSLEY, DELLA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

ENDSLEY, DELLA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

ENDY, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01861          HOLLAND LAW FIRM

ENERA, PAULETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01121          THE POTTS LAW FIRM, LLP

ENG, CASSANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01976          FLETCHER V. TRAMMELL

ENGDAHL, FATMATA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06668          ONDERLAW, LLC

ENGEL, JAMIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02998          MOTLEY RICE, LLC

ENGEL, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15463          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ENGELHARDT, CYNTHIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10545          ONDERLAW, LLC

ENGELMAN, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16169          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ENGELMANN, MARIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19496          LENZE LAWYERS, PLC

ENGELS, SHAHZADEE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07662          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ENGELSMAN, SHAWNA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06026          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ENGEMANN, MICHELLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12527          THE MILLER FIRM, LLC

ENGER, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17293          NACHAWATI LAW GROUP

ENGERS, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02336          THE FERRARO LAW FIRM, P.A.

ENGLAND, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12079          BERNSTEIN LIEBHARD LLP

ENGLAND, BENNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18874          NACHAWATI LAW GROUP

ENGLAND, BONNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17394          ARNOLD & ITKIN LLP

ENGLAND, CHRIS                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ENGLAND, CHRIS                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

ENGLAND, CHRIS                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

ENGLAND, CHRIS                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

ENGLAND, CHRIS                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

ENGLAND, CONNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10962          ASHCRAFT & GEREL, LLP



                                                                         Page 361 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                Desc
                                                             Appendix A (Part 1) Page 363 of 702

               Claimant Name                        State Filed                       Docket Number                                Plaintiff Counsel

ENGLAND, ELLI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08844            ONDERLAW, LLC

ENGLAND, MARIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2603-17            COHEN, PLACITELLA & ROTH

ENGLAND, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19540            NACHAWATI LAW GROUP

ENGLAND, REGINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05834            ONDERLAW, LLC

ENGLAND, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16195            NACHAWATI LAW GROUP

ENGLAND, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02135            LIEFF CABRASER HEIMANN & BERNSTEIN

ENGLE, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01583            MORRIS BART & ASSOCIATES

ENGLE, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06978            THE SIMON LAW FIRM, PC

ENGLE, ROSALIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08451            TORHOERMAN LAW LLC

ENGLE, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13760            DANIEL & ASSOCIATES, LLC

ENGLEHART, DARNELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07019            ONDERLAW, LLC

ENGLER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07337            ONDERLAW, LLC

ENGLISH, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ENGLISH, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059            ONDERLAW, LLC

ENGLISH, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059            PORTER & MALOUF, PA

ENGLISH, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059            THE SMITH LAW FIRM, PLLC

ENGLISH, BRITTANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05585            ONDERLAW, LLC

ENGLISH, DELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03568            DALIMONTE RUEB, LLP

ENGLISH, JANELL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04947            FLETCHER V. TRAMMELL

ENGLISH, JULIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09671            ONDERLAW, LLC

ENGLISH, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03480            JOHNSON LAW GROUP

ENGLISH, SARAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20499            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ENGLISH, TERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592            DONALD L. SCHLAPPRIZZI P.C.

ENGLISH, TERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ENGLISH, TERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10706            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ENGLISH, TERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02416            THE MILLER FIRM, LLC

ENGLUND, GAYE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05868            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ENG-MAXWELL, JEAN                 CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2017-43908-CU-PL-NC   KIESEL LAW, LLP

ENGSTROM, RENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00254            BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

ENGVALDSEN, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13812            ONDERLAW, LLC

ENINGOWUK, LUCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04045            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ENISELINA TAUFA                   FEDERAL - MDL                                3:21-CV-19175            MOTLEY RICE, LLC

ENLOE, JANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17116            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ENNES, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07926            THE MILLER FIRM, LLC



                                                                             Page 362 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 364 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

ENNIN, CORINTHIANS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02642          ONDERLAW, LLC

ENNIS, CHANTIP                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11102          ONDERLAW, LLC

ENNIS, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09281          ONDERLAW, LLC

ENOCH, NORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05858          ONDERLAW, LLC

ENOCHS, YVONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04118          LEVIN SIMES LLP

ENOS, ELIZABETH                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC661139               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

ENRICO, BONNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10260          ONDERLAW, LLC

ENRIGHT, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18418          NACHAWATI LAW GROUP

ENRIQUEZ, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09213          THE DUGAN LAW FIRM, APLC

ENRIQUEZ, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14028          NAPOLI SHKOLNIK, PLLC

ENRIQUEZ, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10996          THE SIMON LAW FIRM, PC

ENSELL, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13475          FLETCHER V. TRAMMELL

ENSIGN, CATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11207          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ENSIGN, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09428          ONDERLAW, LLC

ENSLEY, CARMEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14631          ONDERLAW, LLC

ENSOR, BARBARA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ENSOR, BARBARA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

ENSOR, BARBARA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

ENSOR, BARBARA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

ENSOR, BARBARA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

ENTERLINE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07912          ONDERLAW, LLC

EOFF, KIMBERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14702          WILLIAMS HART LAW FIRM

EPIFANE, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10546          SANDERS VIENER GROSSMAN, LLP

EPLIN, SHERRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05541          COHEN & MALAD, LLP

EPLIN, SHERRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05541          NIX PATTERSON & ROACH

EPLING, VERA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06569          ONDERLAW, LLC

EPPERLY, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10580          ONDERLAW, LLC

EPPERSON, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06966          THE SIMON LAW FIRM, PC

EPPERSON, MIRIAM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10182          ONDERLAW, LLC

EPPES-WARD, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15678          THE MILLER FIRM, LLC

EPPRIGHT, SAMMIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22177          DRISCOLL FIRM, P.C.

EPPS, ALLYCIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17124          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EPPS, ANTONIETA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15153          JOHNSON LAW GROUP




                                                                             Page 363 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 365 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

EPPS, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10749          ONDERLAW, LLC

EPPS, EARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10783          NACHAWATI LAW GROUP

EPPS, MYRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20015          THE DIAZ LAW FIRM, PLLC

EPPS, RUBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16937          THE SEGAL LAW FIRM

EPPS, TAMMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11985          MILLER DELLAFERA PLC

EPSMAN, LYNN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13355          HENINGER GARRISON DAVIS, LLC

EPSTEIN, BEATRIZ                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC624387               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

ERBE, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10913          THE MILLER FIRM, LLC

ERBER, JONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     1:21-CV-02719          ASHCRAFT & GEREL, LLP

ERBER, JONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     1:21-CV-02719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ERBLAND, JULIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06335          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ERBY, MINNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09177          THE BENTON LAW FIRM, PLLC

ERCOLINA, JENNY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06521          HEYGOOD, ORR & PEARSON

ERDAL, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05108          ONDERLAW, LLC

ERDMAN, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01892          ONDERLAW, LLC

EREKA WHITT                     FEDERAL - MDL                                3:21-CV-18871          MOTLEY RICE, LLC

ERFURTH, LILY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11937          NACHAWATI LAW GROUP

ERIC GLATZLE                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

ERICA SPEARS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18509          ONDERLAW, LLC

ERICKSEN, DONITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18443          JOHNSON LAW GROUP

ERICKSON, CONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12880          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ERICKSON, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

ERICKSON, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

ERICKSON, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

ERICKSON, GERALYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09955          MOTLEY RICE, LLC

ERICKSON, LUANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15928          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ERICKSON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12599          THE SIMON LAW FIRM, PC

ERICKSON, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17799          ONDERLAW, LLC

ERICKSON, TAMI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04292          ONDERLAW, LLC

ERICKSON, TAMI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12801          THE DEATON LAW FIRM

ERICKSON, TERESA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ERICKSON, TERESA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

ERICKSON, TERESA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC




                                                                           Page 364 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 366 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

ERICKSON, TERESA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

ERICKSON, TERESA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

ERIKA GRANADOS                    FEDERAL - MDL                                3:21-CV-19547          ONDERLAW, LLC

ERIKA JORGENSEN                   FEDERAL - MDL                                3:21-CV-07179          ONDERLAW, LLC

ERIKSEN, STEPHAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07680          BARON & BUDD, P.C.

ERIVES, ELSA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

ERIVES, ELSA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

ERIVES, ELSA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

ERNST, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10628          ARNOLD & ITKIN LLP

ERNST, DANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02698          SIMMONS HANLY CONROY

ERNST, KAREN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002220-20        GOLOMB & HONIK, P.C.

ERNST, ROSE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07438          ONDERLAW, LLC

ERPELDING, LYNNE PHILLIPS         CA - SUPERIOR COURT - SACRAMENTO COUNTY      34-2018-00231685       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ERPELDING, LYNNE PHILLIPS         CA - SUPERIOR COURT - SACRAMENTO COUNTY      34-2018-00231685       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ERPELDING, LYNNE PHILLIPS         CA - SUPERIOR COURT - SACRAMENTO COUNTY      34-2018-00231685       THE SMITH LAW FIRM, PLLC

ERRANTE, ROSEANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14495          ONDERLAW, LLC

ERRIGO, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15487          BERNSTEIN LIEBHARD LLP

ERSKINE, DAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14802          LENZE LAWYERS, PLC

ERSKINE, DAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14802          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ERSKINE, JEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20145          MOTLEY RICE, LLC

ERVES, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13227          THE MILLER FIRM, LLC

ERVIN, ANTONIETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01435          ONDERLAW, LLC

ERVIN, CORIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03316          ONDERLAW, LLC

ERVIN, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18995          NACHAWATI LAW GROUP

ERVIN, LORETTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14396          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ERVIN, TAMIKA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06101          NAPOLI SHKOLNIK, PLLC

ERVIN-DIETSCHER, GWENDOLYN        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19718          ARNOLD & ITKIN LLP

ERWIN, DEANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02502          BURNS CHAREST LLP

ERWIN, DEANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02502          BURNS CHAREST LLP

ERWIN, WILMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19508          ONDERLAW, LLC

ERYSIAN, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17498          ONDERLAW, LLC

ESCALANTE, ARMANDINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06069          ONDERLAW, LLC




                                                                             Page 365 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 367 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

ESCALANTE, GINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14155          ASHCRAFT & GEREL

ESCALANTE, LORENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04194          ONDERLAW, LLC

ESCALANTE-GARZA, FERNANDO        IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

ESCAMILLA, JUANITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06082          ONDERLAW, LLC

ESCAMILLA, RACHEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08085          ONDERLAW, LLC

ESCANUELAS, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14716          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ESCARENO, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17295          NACHAWATI LAW GROUP

ESCH, JENNIFER                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002672-20        COHEN, PLACITELLA & ROTH

ESCLOVON, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12560          JUSTINIAN & ASSOCIATES PLLC

ESCOBAR, LOURDES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14176          JOHNSON LAW GROUP

ESCOBAR, ROCIO                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14315          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ESCOBAR, ROSARIO                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-02313-18AS       WEITZ & LUXENBERG

ESCOBEDO, FRANCES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01857          CELLINO & BARNES, P.C.

ESCOBEDO, GUADALUPE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09743          SLACK & DAVIS LLP

ESCOBEDO, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08364          ONDERLAW, LLC

ESCOBEDO, ROSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03694          DANIEL & ASSOCIATES, LLC

ESCOBEDO, ROSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03694          THE WHITEHEAD LAW FIRM, LLC

ESCOVAR, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06974          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESHELMAN, EDNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02718          WILLIAMS HART LAW FIRM

ESHELMAN, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18382          JOHNSON LAW GROUP

ESHLEMAN, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12033          DALIMONTE RUEB, LLP

ESKANDANI, KATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18918          CELLINO & BARNES, P.C.

ESKEW, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06321          ONDERLAW, LLC

ESLER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16969          THE MILLER FIRM, LLC

ESLINGER, LESSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13813          ONDERLAW, LLC

ESMOND, CHETECA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12441          ONDERLAW, LLC

ESMOND, CHETECA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06097          THE ENTREKIN LAW FIRM

ESPARZA, IVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09499          THE MILLER FIRM, LLC

ESPARZA, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13607          DRISCOLL FIRM, P.C.

ESPARZA, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05892          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESPENSHADE, ROSE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08687          ONDERLAW, LLC

ESPERANZA CARABALLO              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18748          MCSWEENEY/LANGEVIN, LLC

ESPINO, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08965          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESPINOSA, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12517          ONDERLAW, LLC



                                                                            Page 366 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 368 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

ESPINOSA, LESLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17796          ONDERLAW, LLC

ESPINOSA, PAMELA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002370-20        GOLOMB & HONIK, P.C.

ESPINOZA, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20528          ONDERLAW, LLC

ESPINOZA, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09015          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ESPINOZA, RAYNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16143          ASHCRAFT & GEREL, LLP

ESPINOZA, RAYNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16143          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESPINOZA, ROCHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17682          THE MILLER FIRM, LLC

ESPINOZA, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00833          ONDERLAW, LLC

ESPINOZA, YOLANDA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002221-20        GOLOMB & HONIK, P.C.

ESPOSITO, BRUNHILDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06325          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESPOSITO, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06337          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESPOSITO, ROSE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10990          NACHAWATI LAW GROUP

ESPOSITO, SHERRI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08678          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESPY, JOANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16374          MORELLI LAW FIRM, PLLC

ESQUIBEL, SANDRA                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321181             THE MILLER FIRM, LLC

ESQUIVEL, BERTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10505          ONDERLAW, LLC

ESQUIVEL, KATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10185          ONDERLAW, LLC

ESSER, MAUREEN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2058-17          COHEN, PLACITELLA & ROTH

ESSIG, ASHLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10507          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESTABROOK, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12814          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESTELL, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01231          NACHAWATI LAW GROUP

ESTELL, KELLI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02097          FLETCHER V. TRAMMELL

ESTELLE, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESTELLE, PAMELA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2283-17          GOLOMB SPIRT GRUNFELD PC

ESTELLE, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          ONDERLAW, LLC

ESTELLE, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          PORTER & MALOUF, PA

ESTELLE, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          THE SMITH LAW FIRM, PLLC

ESTEP, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

ESTEP, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14915          LENZE LAWYERS, PLC

ESTEP, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

ESTEP, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14915          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ESTEP, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ESTEP, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17765          ONDERLAW, LLC




                                                                             Page 367 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 369 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

ESTEP, STEPHANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07086          ONDERLAW, LLC

ESTEP, VIKKI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14573          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESTES, DARDANELLES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05547          ARNOLD & ITKIN LLP

ESTES, MARCIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07338          JOHNSON LAW GROUP

ESTES, MARTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17297          NACHAWATI LAW GROUP

ESTES, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06608          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESTES, RAMONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16657          FLETCHER V. TRAMMELL

ESTES, TOYA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14539          MORRIS BART & ASSOCIATES

ESTEVE, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16874          ONDERLAW, LLC

ESTHER CIANCIOLA                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

ESTHER CURTIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18824          MOTLEY RICE, LLC

ESTHER RHODES                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02738          ASHCRAFT & GEREL, LLP

ESTHER RHODES                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02738          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESTILL, WAYNE                     IL - CIRCUIT COURT - MADISON COUNTY          20-L-0239              SWMW LAW, LLC

ESTRADA, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13594          DRISCOLL FIRM, P.C.

ESTRADA, LYDIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01077          ONDERLAW, LLC

ESTRADA, MIRIAM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16912          NACHAWATI LAW GROUP

ESTRADA, ROMONA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07665          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ESTRADA-CASTREJON, SOLEDAD        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01798          DRISCOLL FIRM, P.C.

ESTRELLA-MAGALLANES, YOLANDA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16879          NACHAWATI LAW GROUP

ESWAY, PEGGY                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV322148             BOUCHER LLP

ESWAY, PEGGY                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV322148             KIESEL LAW, LLP

ETCITTY, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18496          ONDERLAW, LLC

ETEBARI, SALLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06113          ONDERLAW, LLC

ETHEL BLAIR                       FEDERAL - MDL                                3:21-CV-19741          JOHNSON BECKER, PLLC

ETHEL LOUDERMILK                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

ETHERIDGE, DAVID                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00932-17AS       SZAFERMAN LAKIND BLUMSTEIN & BLADER

ETHERIDGE, REGINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08531          THE MILLER FIRM, LLC

ETHRIDGE, ELNORE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12363          ASHCRAFT & GEREL

ETHRIDGE, ELNORE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12363          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ETSITTY, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19382          REICH & BINSTOCK, LLP

ETTA RODERICK                     FEDERAL - MDL                                3:21-CV-19732          ONDERLAW, LLC

ETTANNANI, ROSALIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13180          WEXLER WALLACE LLP

ETTINGER, PHYLLIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19204          REICH & BINSTOCK, LLP



                                                                             Page 368 of 1405
                             Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 370 of 702

             Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

ETUKUDOH, GLORY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03538          ONDERLAW, LLC

EUBANK, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08315          FLETCHER V. TRAMMELL

EUBANK, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19593          NACHAWATI LAW GROUP

EUBANKS, BETTIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04416          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EUBANKS, SHIRLEY                 GA - STATE COURT OF DEKALB COUNTY            19A78294               BARNES LAW GROUP, LLC

EUBANKS, SHIRLEY                 GA - STATE COURT OF DEKALB COUNTY            19A78294               CHEELEY LAW GROUP

EUGENI, LORETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19960          CELLINO & BARNES, P.C.

EULAU, ALAN AND EULAU, BARBARA   NY - SUPREME COURT - NYCAL                   190211/2020            WEITZ & LUXENBERG

EURE, ZORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07685          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EUREKA, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19546          NACHAWATI LAW GROUP

EURIBE, GRACIELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07372          THE DUGAN LAW FIRM, APLC

EVANCHEC, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12865          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVANGELINE CAPLES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18375          ONDERLAW, LLC

EVANOSKI, LINDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVANOSKI, LINDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

EVANOSKI, LINDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

EVANS, ASHLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12327          PARKER WAICHMAN, LLP

EVANS, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00775          THE MILLER FIRM, LLC

EVANS, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07498          ASHCRAFT & GEREL, LLP

EVANS, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07498          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVANS, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11870          ROSS FELLER CASEY, LLP

EVANS, CARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10177          GOLDENBERGLAW, PLLC

EVANS, CAROLINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07802          ASHCRAFT & GEREL

EVANS, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16820          FLETCHER V. TRAMMELL

EVANS, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07967          ONDERLAW, LLC

EVANS, CHARLOTTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10186          ONDERLAW, LLC

EVANS, CHRISTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11160          GOLDENBERGLAW, PLLC

EVANS, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08606          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVANS, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04122          LEVIN SIMES LLP

EVANS, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16938          NACHAWATI LAW GROUP

EVANS, DELORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13797          JOHNSON LAW GROUP

EVANS, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10933          ONDERLAW, LLC




                                                                            Page 369 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 371 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

EVANS, DOREEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20570          ONDERLAW, LLC

EVANS, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10774          ONDERLAW, LLC

EVANS, DORRETHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00773          THE MILLER FIRM, LLC

EVANS, ELAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14345          ARNOLD & ITKIN LLP

EVANS, EMMA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002222-20        GOLOMB & HONIK, P.C.

EVANS, ERON                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

EVANS, ERON                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

EVANS, ERON                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

EVANS, GINGER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00566          ONDERLAW, LLC

EVANS, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08068          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVANS, JARONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08402          FLETCHER V. TRAMMELL

EVANS, JEANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03698          JOHNSON LAW GROUP

EVANS, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05772          FLETCHER V. TRAMMELL

EVANS, JODI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18503          WEITZ & LUXENBERG

EVANS, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16617          WEITZ & LUXENBERG

EVANS, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10346          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVANS, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03201          MORGAN & MORGAN

EVANS, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10250          SANDERS VIENER GROSSMAN, LLP

EVANS, KELSEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08860          NACHAWATI LAW GROUP

EVANS, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01105          DRISCOLL FIRM, P.C.

EVANS, LEONORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12398          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVANS, LILLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11293          NACHAWATI LAW GROUP

EVANS, MARGIE                    GA - STATE COURT OF RICHMOND COUNTY          2018RCS01222           BARNES LAW GROUP, LLC

EVANS, MARGIE                    GA - STATE COURT OF RICHMOND COUNTY          2018RCS01222           CHEELEY LAW GROUP

EVANS, MARGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20571          ONDERLAW, LLC

EVANS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11841          NACHAWATI LAW GROUP

EVANS, MAUREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06439          FLETCHER V. TRAMMELL

EVANS, PENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVANS, PENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

EVANS, PENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

EVANS, PENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

EVANS, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01925          JOHNSON LAW GROUP

EVANS, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09995          LAW OFFICES OF DONALD G. NORRIS

EVANS, SUELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03222          ONDERLAW, LLC



                                                                            Page 370 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 372 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

EVANS, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16933          NACHAWATI LAW GROUP

EVANS, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03570          THE DEATON LAW FIRM

EVANS, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20851          TORHOERMAN LAW LLC

EVANS, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16174          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

EVANS, THERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03692          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVANS, VAKESHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16266          MORELLI LAW FIRM, PLLC

EVANS, VERONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09544          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVANS, VICKIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03728          MORELLI LAW FIRM, PLLC

EVANS, WHITNEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15039          ONDERLAW, LLC

EVANS-MORRISON, FELICIA        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVANS-MORRISON, FELICIA        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

EVANS-MORRISON, FELICIA        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

EVANS-MORRISON, FELICIA        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

EVANS-MORRISON, FELICIA        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

EVDOSUK, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10057          ONDERLAW, LLC

EVELAND, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05283          ONDERLAW, LLC

EVELEIGH, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06363          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVELYN WEATHERBIE              FEDERAL - MDL                                3:21-CV-19176          MOTLEY RICE, LLC

EVEREST, NICOLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12118          MORELLI LAW FIRM, PLLC

EVERETT, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09600          SANDERS PHILLIPS GROSSMAN, LLC

EVERETT, SHERRI                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002728-21        GOLOMB & HONIK, P.C.

EVERETT, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09622          ASHCRAFT & GEREL

EVERETT, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09622          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVERETTE, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13022          TRAMMELL PC

EVERHART, KRISTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12415          NAPOLI SHKOLNIK, PLLC

EVERLITH, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10893          ONDERLAW, LLC

EVERLY, FAITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00060          ONDERLAW, LLC

EVERMAN, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVERS, ANNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11396          SANDERS VIENER GROSSMAN, LLP

EVERSOLE, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05152          JOHNSON LAW GROUP

EVERSOLE, VICKI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04996          ONDERLAW, LLC

EVERSON, DORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19485          ASHCRAFT & GEREL

EVERSON, DORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19485          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EVERSON, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03318          ONDERLAW, LLC



                                                                          Page 371 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 373 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

EVERSON, SALLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01750          WILLIAMS HART LAW FIRM

EVERSPAUGH, WANDA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002727-21        WEITZ & LUXENBERG

EVERTT, SHERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

EVERTT, SHERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

EVERTT, SHERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

EVERY, RUBY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

EVERY, RUBY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15490          LENZE LAWYERS, PLC

EVERY, RUBY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

EVERY, RUBY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15490          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

EVERY, RUBY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

EWANITSKO, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09878          ONDERLAW, LLC

EWBANK, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08132          ONDERLAW, LLC

EWELL, HELEN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001046-21        GOLOMB & HONIK, P.C.

EWING, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09711          ARNOLD & ITKIN LLP

EWING, MARISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09614          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

EWING, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07673          THE LAW OFFICES OF PETER G. ANGELOS

EXLINE, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06371          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

EXLINE, DINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13220          DALIMONTE RUEB, LLP

EYER, CHERI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05651          ONDERLAW, LLC

EYES, CECELIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02309          THE DUGAN LAW FIRM

EYZAGUIRRE, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00805          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

EZELL, ADRIENNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16166          NACHAWATI LAW GROUP

EZELL, JIMMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20509          ONDERLAW, LLC

EZERINS, MARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00541          HOLLAND LAW FIRM

EZZAT, AZZA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09435          ONDERLAW, LLC

FAAPOULI, NAOMI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FAAPOULI, NAOMI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FAAPOULI, NAOMI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FABER, ARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17297          SALTZ MONGELUZZI & BENDESKY PC

FABER, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15348          CELLINO & BARNES, P.C.

FABIAN, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07810          ONDERLAW, LLC

FABIAN, PENNY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-711-15           GOLOMB SPIRT GRUNFELD PC

FABRE, MARGIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11967          THE MILLER FIRM, LLC

FABREGAS, LUISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06563          JOHNSON LAW GROUP



                                                                             Page 372 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                             Appendix A (Part 1) Page 374 of 702

              Claimant Name                         State Filed                      Docket Number                                Plaintiff Counsel

FABRITIS, HAZEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21664            ONDERLAW, LLC

FABRIZIO, CINDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04293            ONDERLAW, LLC

FABRIZIO, PATRICIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-108-18             KEEFE BARTELS

FABRIZIO, PATRICIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-108-18             LAW OFFICE OF GRANT D. AMEY, LLC

FACEMIRE, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05809            JOHNSON BECKER, PLLC

FACSINA, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15916            THE BENTON LAW FIRM, PLLC

FADDEN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14802            JASON J. JOY & ASSCIATES P.L.L.C.

FAGAN, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04417            WEXLER WALLACE LLP

FAGAN, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441            DONALD L. SCHLAPPRIZZI P.C.

FAGAN, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15586            LENZE LAWYERS, PLC

FAGAN, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441            LENZE LAWYERS, PLC

FAGAN, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15586            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FAGAN, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FAGAN, KELLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18373            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FAGAN, SARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08942            BARON & BUDD, P.C.

FAGOT, DESRIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09249            DAVIS, BETHUNE & JONES, L.L.C.

FAGUNDO, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11332            LEVIN SIMES LLP

FAHERTY, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00606            HEYGOOD, ORR & PEARSON

FAHEY, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14292            ASHCRAFT & GEREL, LLP

FAHEY, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14292            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAHEY, GAYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09213            ONDERLAW, LLC

FAHIMI, SOLMAZ                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791            JACOBS OHARA MCMULLEN , P.C.

FAHIMI, SOLMAZ                   CA - SUPERIOR COURT - ORANGE COUNTY          30-2017-00952889-CU-PL-CXC ONDERLAW, LLC

FAHIMI, SOLMAZ                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791            ONDERLAW, LLC

FAHIMI, SOLMAZ                   CA - SUPERIOR COURT - ORANGE COUNTY          30-2017-00952889-CU-PL-CXC SALKOW LAW, APC

FAHIMI, SOLMAZ                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791            THE POTTS LAW FIRM, LLP

FAHIMI, SOLMAZ                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791            ZEVAN DAVIDSON ROMAN LLC

FAHNSTROM, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00043            ASHCRAFT & GEREL

FAHNSTROM, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00043            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAHRBACH, JEANINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09674            ONDERLAW, LLC

FAHRER, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18681            CELLINO & BARNES, P.C.

FAHS, BONITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAHS, BONITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792            ONDERLAW, LLC

FAHS, BONITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792            PORTER & MALOUF, PA



                                                                            Page 373 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 375 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FAHS, BONITA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

FAIELLA, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05404          JOHNSON LAW GROUP

FAIL, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15417          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAILOR, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17500          ONDERLAW, LLC

FAIN, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10297          ASHCRAFT & GEREL

FAIN, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10297          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAIR, APRIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14722          LENZE LAWYERS, PLC

FAIR, APRIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14722          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FAIR, LORETTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08183          ARNOLD & ITKIN LLP

FAIR, SYLVIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11362          THE DUGAN LAW FIRM, APLC

FAIRBANKS, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12283          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAIRBROTHER, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11110          ONDERLAW, LLC

FAIRCHILD, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10511          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAIRCHILD, TRACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11216          WATERS & KRAUS, LLP

FAIRCLOTH, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06740          ONDERLAW, LLC

FAIRLEY, AUGUSTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16031          ASHCRAFT & GEREL, LLP

FAIRLEY, AUGUSTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16031          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAIRLEY, MYRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17712          THE SEGAL LAW FIRM

FAIRLEY, NEESHAWNDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13745          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAIRWEATHER, ROBIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03091          FLETCHER V. TRAMMELL

FAISON, CLARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10339          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAISON, GRACE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-955-15           GOLOMB SPIRT GRUNFELD PC

FAISON, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16890          NACHAWATI LAW GROUP

FAITH OLIVER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15231          LENZE LAWYERS, PLC

FAITH OLIVER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15231          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FAJARDIN, LYNDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19427          CELLINO & BARNES, P.C.

FAJARDO, REFUGIO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05371          BERNSTEIN LIEBHARD LLP

FAJARDO, ROSEMARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03024          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

FAJKUS, VIKKI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12959          THE MILLER FIRM, LLC

FALBO, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20874          CELLINO & BARNES, P.C.

FALCHECK, ANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05234          BURNS CHAREST LLP

FALCO, SUE                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001314-21        GOLOMB & HONIK, P.C.

FALCON, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17245          THE SEGAL LAW FIRM




                                                                             Page 374 of 1405
                                 Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                                Appendix A (Part 1) Page 376 of 702

               Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

FALCON, REBECCA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01265          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FALCON, REGINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FALCON, REGINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FALCON, REGINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FALCON, ROSALVA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FALCON, ROSALVA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FALCON, ROSALVA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FALCONE, CHRISTINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09832          FLETCHER V. TRAMMELL

FALCONER, MARIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04427          ONDERLAW, LLC

FALGOUT, DELANIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05350          ONDERLAW, LLC
                                     LA - DISTRICT COURT - EAST BATON ROUGE
FALGOUT, MARY                                                                     C 670243 27            POURCIAU LAW FIRM, LLC
                                     PARISH
                                     LA - DISTRICT COURT - EAST BATON ROUGE
FALGOUT, MARY                                                                     C 670243 27            THE CHEEK LAW FIRM
                                     PARISH
FALIS, SARAH                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03274          ONDERLAW, LLC

FALK, AUDIE D. AND FALK, ALVIN       NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05029-19AS       WEITZ & LUXENBERG

FALK, JANET                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05615          POTTS LAW FIRM

FALKINGHAM, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01859          JOHNSON LAW GROUP

FALKNER, ROBERTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16249          NACHAWATI LAW GROUP

FALLS, CYNTHIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09549          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FALLS, GLADYS                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19091          NACHAWATI LAW GROUP

FALLS, LENA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11384          MORELLI LAW FIRM, PLLC

FALONE, MICHELE                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     18STCV07430            BISNAR AND CHASE

FALOTICO, LYNDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19814          NACHAWATI LAW GROUP

FALTUS, TIMOTHY EST OF SHARI FALTUS IL - CIRCUIT COURT - ST. CLAIR COUNTY         17-L-0751              THE ONDER LAW FIRM

FALZARANO, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12954          JOHNSON LAW GROUP

FALZONE, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13696          DRISCOLL FIRM, P.C.

FAMBRO, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19548          NACHAWATI LAW GROUP

FAMULARO, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13615          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAN, SHARON                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05659          CORRIE YACKULIC LAW FIRM, PLLC

FANCHER, DORIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FANCHER, DORIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15192          LENZE LAWYERS, PLC

FANCHER, DORIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FANCHER, DORIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15192          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FANCHER, DORIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




                                                                                Page 375 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 377 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FANDREY, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08973          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FANDREY, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11999          DALIMONTE RUEB, LLP

FANELLI, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17131          CELLINO & BARNES, P.C.

FANEUF, TAMATHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FANEUF, TAMATHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

FANEUF, TAMATHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

FANEUF, TAMATHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

FANFA, TONI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07646          VENTURA LAW

FANG, QIANYI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00221          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

FANG, SARAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08894          HILLIARD MARTINEZ GONZALES, LLP

FANGROW, JOANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10767          ONDERLAW, LLC

FANNIE MARSHALL                   FEDERAL - MDL                                3:21-CV-20003          DALIMONTE RUEB, LLP

FANNON, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12442          ONDERLAW, LLC

FANSLER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22239          ASHCRAFT & GEREL, LLP

FANSLER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FANSLER, MARY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2285-17          GOLOMB SPIRT GRUNFELD PC

FANSLER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          ONDERLAW, LLC

FANSLER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          PORTER & MALOUF, PA

FANSLER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          THE SMITH LAW FIRM, PLLC

FANTZ, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00997          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FARACI, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14300          ASHCRAFT & GEREL, LLP

FARACI, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14300          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FARAZI, RAHIMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08252          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FARBO, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06892          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FARDIG, CORAL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13990          NAPOLI SHKOLNIK, PLLC
                                  CA - SUPERIOR COURT - SAN BERNARDINO
FARIAS, KATHERINE                                                              CIVDS1813699           BISNAR AND CHASE
                                  COUNTY
FARIAS, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18038          JOHNSON LAW GROUP

FARINA, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11731          NACHAWATI LAW GROUP

FARINO, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09904          ONDERLAW, LLC

FARISHIAN, ESTRELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19484          ASHCRAFT & GEREL, LLP

FARISHIAN, ESTRELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19484          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FARIVAR, GOLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16713          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

FARJO, DIALA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14831          LENZE LAWYERS, PLC




                                                                             Page 376 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 378 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FARJO, DIALA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14831          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FARKAS, CAROLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20990          CELLINO & BARNES, P.C.

FARLEY, CAROLANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21604          GORI JULIAN & ASSOCIATES, P.C.

FARLEY, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08324          ONDERLAW, LLC

FARLEY, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20499          MOTLEY RICE, LLC

FARLEY, GEORGIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16798          NACHAWATI LAW GROUP

FARLEY, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13838          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FARLEY, JUSTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16802          NACHAWATI LAW GROUP

FARLEY, PATRICIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2094-17          GOLOMB SPIRT GRUNFELD PC

FARLEY, RONA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16475          FLETCHER V. TRAMMELL

FARLEY, RONA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2503-15          GOLOMB SPIRT GRUNFELD PC

FARLEY, RONA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05614          ONDERLAW, LLC

FARMER, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02844          FLETCHER V. TRAMMELL

FARMER, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12331          PARKER WAICHMAN, LLP

FARMER, CRYSTAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09553          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FARMER, DANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FARMER, DANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

FARMER, DANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

FARMER, DANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

FARMER, DANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

FARMER, DOLLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03320          ONDERLAW, LLC

FARMER, GRETTIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09497          ONDERLAW, LLC

FARMER, HESTER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20156          NACHAWATI LAW GROUP

FARMER, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06364          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FARMER, LENEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12800          THE DEATON LAW FIRM

FARMER, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10676          BURNS CHAREST LLP

FARMER, TIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06830          MOTLEY RICE, LLC

FARMER-JORDAN, SHIRLEY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00172          CELLINO & BARNES, P.C.

FARMER-OLSEN, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09446          ONDERLAW, LLC

FARNAM, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07184          HOLLAND LAW FIRM

FARNER, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17257          MILLER DELLAFERA PLC

FARNSWORTH, JEANETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16065          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FARON, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03787          ARNOLD & ITKIN LLP




                                                                             Page 377 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                             Appendix A (Part 1) Page 379 of 702

              Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

FAROOQI-WILLISON, SHAEDA         CANADA - ONTARIO SUPERIOR COURT OF JUSTICE CV-16-553046             ROCHON GENOVA LLP

FAROOQI-WILLISON, SHAEDA         CANADA - ONTARIO SUPERIOR COURT OF JUSTICE CV-16-553046             WILL DAVIDSON LLP

FARQUHARSON, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15338          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FARR, HEIDI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19255          MOTLEY RICE, LLC

FARR, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13068          JOHNSON LAW GROUP

FARR, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19001          NACHAWATI LAW GROUP

FARR, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03571          DALIMONTE RUEB, LLP

FARRA, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00856          ROSS FELLER CASEY, LLP

FARRAND, DREAMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11567          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FARRAR, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17067          THE SEGAL LAW FIRM

FARRELL, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07527          ONDERLAW, LLC

FARRELL, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14602          ASHCRAFT & GEREL, LLP

FARRELL, JANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11869          NACHAWATI LAW GROUP

FARRELL, KATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06505          ONDERLAW, LLC

FARRELL, KEISHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01128          ONDERLAW, LLC

FARRELL, MARGARET                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001836-18        MORELLI LAW FIRM, PLLC

FARRELL, MARILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10509          ONDERLAW, LLC

FARRELL, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01142          ONDERLAW, LLC

FARRIA, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20147          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FARRICK, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08389          FLETCHER V. TRAMMELL

FARRINGTON, JACQUELINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09679          ONDERLAW, LLC

FARRINGTON, KIM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00426          NAPOLI SHKOLNIK, PLLC

FARRINGTON, LORENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12414          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

FARRINGTON, PENELOPE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09117          NAPOLI SHKOLNIK, PLLC

FARRINGTON, PENOLOPE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07940          ONDERLAW, LLC

FARRINGTON, STEPHANIE            FL - CIRCUIT COURT - MIAMI DADE COUNTY       2016-16715-CA-01       JOHN B. OSTROW, P.A.

FARRINGTON, STEPHANIE            FL - CIRCUIT COURT - MIAMI DADE COUNTY       2016-16715-CA-01       SCHLESINGER LAW OFFICES, P.A.

FARRIS, ANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06193          FLETCHER V. TRAMMELL

FARRIS, MARIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09558          ONDERLAW, LLC

FARRIS, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09372          ONDERLAW, LLC

FARRIS-FOSTER, VALERIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17035          ASHCRAFT & GEREL, LLP

FARRO, RISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FARRO, RISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC




                                                                            Page 378 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 380 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FARRO, RISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

FARRO, RISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

FARRO, RISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

FARTHING, MARCIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002223-20        GOLOMB & HONIK, P.C.

FARUQI, NAILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04033          CRAIG SWAPP & ASSOCIATES

FARVE, MERIAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10997          ASHCRAFT & GEREL

FARVER, MARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06368          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FASSE, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12415          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

FATIGATO, JULIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03158          FLETCHER V. TRAMMELL

FATSCHEL, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14834          LENZE LAWYERS, PLC

FATSCHEL, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14834          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FATTAL, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FATTAL, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FATTAL, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FATTEL, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14952          LENZE LAWYERS, PLC

FATTEL, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14952          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FATUNDIMU, GERALDINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12293          ASHCRAFT & GEREL

FATUNDIMU, GERALDINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12293          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAUCETTE, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13418          FRAZER LAW LLC

FAUCHER, GRACIELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09308          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAULK, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14551          HOLLAND LAW FIRM

FAULK, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13704          ARNOLD & ITKIN LLP

FAULK, RUBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17719          THE MILLER FIRM, LLC

FAULK, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06545          ONDERLAW, LLC

FAULKNER, LENORE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20573          ONDERLAW, LLC

FAULKNER, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15651          ASHCRAFT & GEREL, LLP

FAULTERSACK, CHRISTINA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01153          THE MILLER FIRM, LLC

FAUST, JOY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04369          STEWART & STEWART

FAUST, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11048          NACHAWATI LAW GROUP

FAUST, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08226          ONDERLAW, LLC

FAUSTMANN, ANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09062          ONDERLAW, LLC

FAVALORO, GAIL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09474          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAVER, SHERRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07431          ONDERLAW, LLC

FAVICHIA, MARCELINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12108          THE MILLER FIRM, LLC



                                                                            Page 379 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                 Desc
                                                             Appendix A (Part 1) Page 381 of 702

              Claimant Name                         State Filed                      Docket Number                                  Plaintiff Counsel

FAVOR, BLOSSOM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14644             ONDERLAW, LLC

FAVORITE, CINDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03260             ASHCRAFT & GEREL

FAVORITE, CINDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03260             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAVORS, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10466             WILLIAMS HART LAW FIRM

FAVORS, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13006             FLETCHER V. TRAMMELL

FAVRE, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13630             DAVIS, BETHUNE & JONES, L.L.C.

FAVREAU, LORRAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09812             ONDERLAW, LLC

FAY, DOROTHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04455             MURRAY LAW FIRM

FAY, PRISCILLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03696             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAY, PRISCILLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03696             PORTER & MALOUF, PA

FAYARD, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19860             ASHCRAFT & GEREL, LLP

FAYARD, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19860             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FAYNE, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08438             THE DUGAN LAW FIRM, APLC

FAZIO, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06478             BURNS CHAREST LLP

FAZIO, LYNNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07292             POGUST BRASLOW & MILLROOD, LLC

FE ROMANOFF                      FEDERAL - MDL                                3:21-CV-19660             JOHNSON BECKER, PLLC

FEAGINS, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08136             ONDERLAW, LLC

FEARON, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06711             JOHNSON LAW GROUP

FEARON, SUSAN                    CA - SUPERIOR COURT - VENTURA COUNTY         56-2018-00519620-CU-PL-VTA BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FEARON, SUSAN                    CA - SUPERIOR COURT - VENTURA COUNTY         56-2018-00519620-CU-PL-VTA ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FEARON, SUSAN                    CA - SUPERIOR COURT - VENTURA COUNTY         56-2018-00519620-CU-PL-VTA THE SMITH LAW FIRM, PLLC

FEARS, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00763             POTTS LAW FIRM

FEARS, MILDRED                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FEARS, MILDRED                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134              GOLDENBERGLAW, PLLC

FEARS, MILDRED                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134              ONDERLAW, LLC

FEARS, MILDRED                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134              PORTER & MALOUF, PA

FEARS, MILDRED                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134              THE SMITH LAW FIRM, PLLC

FEASTER, GWENDOLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11856             ARNOLD & ITKIN LLP

FEATHER SNEAGLE                  FEDERAL - MDL                                3:21-CV-18236             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

FEATHERS, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09370             GORI JULIAN & ASSOCIATES, P.C.

FEATHERSTON, JANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02646             ONDERLAW, LLC

FEATHERSTON, KAYLEIGH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03566             ONDERLAW, LLC

FEATHERSTONE, MARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14582             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FEBO, FANNY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09692             MORELLI LAW FIRM, PLLC



                                                                            Page 380 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 382 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

FEBUS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17260          JOHNSON LAW GROUP

FEDD, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18946          NACHAWATI LAW GROUP

FEDE, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16072          THE MILLER FIRM, LLC

FEDEWA, MISTI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08690          ONDERLAW, LLC

FEFIE, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04552          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

FEGETT, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09693          MORELLI LAW FIRM, PLLC

FEHER, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

FEHER, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

FEHER, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FEHER, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11338          LEVIN SIMES LLP

FEHR, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18392          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FEICHKO, MOLLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13398          NACHAWATI LAW GROUP

FEICHT, VADA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17311          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FEIDLER, SYLVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20074          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
FEIN, DEBORAH                                                                 191101112              FELDMAN & PINTO
                                 PLEAS
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
FEIN, DEBORAH                                                                 191101112              WILLIAMS HART LAW FIRM
                                 PLEAS
FEINSTEIN, BRIAN                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

FEKIN, ELEANORE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02202          CELLINO & BARNES, P.C.

FELDAN, KAREEN                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC720945               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

FELDERMAN, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15008          ARNOLD & ITKIN LLP

FELDKAMP, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21114          HOLLAND LAW FIRM

FELDMAN, AMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01417          BURNS CHAREST LLP

FELDMAN, AMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01417          BURNS CHAREST LLP

FELDMAN, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18489          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FELDMAN, DIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12673          BISNAR AND CHASE

FELDMAN, MARJORIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03163          LENZE LAWYERS, PLC

FELDMAN, TRACY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00236          JOHNSON BECKER, PLLC

FELDMANN, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12704          THORNTON LAW FIRM

FELDMANN, TERRI                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV331116             KIESEL LAW, LLP

FELDMANN, TERRI                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV331116             THE WHITEHEAD LAW FIRM, LLC

FELENSTEIN, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14661          CELLINO & BARNES, P.C.

FELGER, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14825          ONDERLAW, LLC




                                                                            Page 381 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 383 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FELICELLO, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17339          ASHCRAFT & GEREL, LLP

FELICELLO, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17339          ONDERLAW, LLC

FELICIANO, CARMEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10735          NACHAWATI LAW GROUP

FELIX, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13056          DALIMONTE RUEB, LLP

FELIX, YOLANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16875          NACHAWATI LAW GROUP

FELIZ, MARLENE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003319-20        GOLOMB & HONIK, P.C.

FELKINS, TANYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FELKINS, TANYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FELKINS, TANYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FELL, ALISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14278          GOLOMB & HONIK, P.C.

FELLER, RYAN                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

FELLOWS, CHRISTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07044          HOLLAND LAW FIRM

FELLOWS, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07790          JOHNSON LAW GROUP

FELLS, ANDREA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12576          HEYGOOD, ORR & PEARSON

FELTER, CHRISTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08550          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FELTHOUSEN, BONNIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FELTHOUSEN, BONNIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

FELTHOUSEN, BONNIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

FELTHOUSEN, BONNIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

FELTNER, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03411          BARON & BUDD, P.C.

FELTNER, JOAN                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02755          ASHCRAFT & GEREL

FELTNER, JOAN                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02755          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FELTNER, RUBY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05346          ONDERLAW, LLC

FELTON, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18591          ONDERLAW, LLC

FELTON, MELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01228          GORI JULIAN & ASSOCIATES, P.C.

FELTS, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03249          MORELLI LAW FIRM, PLLC

FELTUS, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07686          THE BENTON LAW FIRM, PLLC

FELTY, ERNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07405          ONDERLAW, LLC

FELTY, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03307          ONDERLAW, LLC

FELTY, TAMIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11863          ARNOLD & ITKIN LLP

FEMMINELLA, JOAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05860          MOTLEY RICE, LLC

FENCH, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18480          DALIMONTE RUEB, LLP




                                                                             Page 382 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 384 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FENCIL, NOREEN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-676-16           ASHCRAFT & GEREL

FENCIL, NOREEN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-676-16           GOLOMB SPIRT GRUNFELD PC

FENDERSON, ASHLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09248          ONDERLAW, LLC

FENER, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16261          CELLINO & BARNES, P.C.

FENERAN, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17241          ASHCRAFT & GEREL, LLP

FENERAN, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17241          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FENLEY, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14317          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FENLEY, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13265          SANDERS PHILLIPS GROSSMAN, LLC

FENNELL, LAVERNE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FENNELL, LAVERNE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

FENNELL, LAVERNE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

FENNELL, LAVERNE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

FENNELL, LAVERNE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

FENNELL, ZANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16119          ONDERLAW, LLC

FENNIGKOH, JOAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11239          SIMMONS HANLY CONROY

FENSTEMAKER, TERESA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11247          NAPOLI SHKOLNIK, PLLC

FENTIMAN, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01714          ONDERLAW, LLC

FENTON, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09812          FLETCHER V. TRAMMELL

FENTON, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04431          ONDERLAW, LLC

FENWICK-SANCHEZ, JUDITH        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07847          ONDERLAW, LLC

FEOLA, MARILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19108          NACHAWATI LAW GROUP

FERARI, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07510          ASHCRAFT & GEREL, LLP

FERARI, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07510          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FERDINAND, PHYLLIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11440          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FERGERSON, RAMONA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16922          NACHAWATI LAW GROUP

FERGUSON, ALTHEA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16599          NACHAWATI LAW GROUP

FERGUSON, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05744          ONDERLAW, LLC

FERGUSON, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12523          BLIZZARD & NABERS, LLP

FERGUSON, DIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00774          THE MILLER FIRM, LLC

FERGUSON, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09523          SANDERS VIENER GROSSMAN, LLP

FERGUSON, ELLEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15664          ONDERLAW, LLC

FERGUSON, EMILY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05073          ONDERLAW, LLC

FERGUSON, ERNESTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12223          ONDERLAW, LLC

FERGUSON, IVY                  NY - SUPREME COURT - NYCAL                   190182/2018            MEIROWITZ & WASSERBERG, LLP



                                                                          Page 383 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 385 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FERGUSON, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12875          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FERGUSON, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13034          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FERGUSON, LISA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002504-21        WEITZ & LUXENBERG

FERGUSON, MARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10968          GORI JULIAN & ASSOCIATES, P.C.

FERGUSON, MICHELL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08124          DALIMONTE RUEB, LLP

FERGUSON, MICHELL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08124          GOLDENBERGLAW, PLLC

FERGUSON, PHOEBIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08962          CHAPPELL, SMITH & ARDEN, P.A.

FERGUSON, PRINCESS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05880          NAPOLI SHKOLNIK, PLLC

FERGUSON, RASHIDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07977          ONDERLAW, LLC

FERGUSON, RODNEYTA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05820          ONDERLAW, LLC

FERGUSON, TAISKA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10403          GORI JULIAN & ASSOCIATES, P.C.

FERGUSON, VICKIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02175          BURNS CHAREST LLP

FERGUSON, VICKIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02175          BURNS CHAREST LLP

FERGUSON-WILLIAMS, MERTIS      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10766          ONDERLAW, LLC

FERKETICH, FELICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05102          BISNAR AND CHASE

FERLAND, ERIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11130          BURNS CHAREST LLP

FERLITA, STEPHANIE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

FERLITA, STEPHANIE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

FERLITA, STEPHANIE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

FERLITA, STEPHANIE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

FERMAN, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00841          COHEN & MALAD, LLP

FERMAN, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00841          DELISE & HALL

FERN CANFIELD                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

FERNANDES, CHERYLANN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13067          JOEL E. BROWN & ASSOCIATES, P.C.

FERNANDEZ, BRISELDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18061          ONDERLAW, LLC

FERNANDEZ, DENISE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18949          NACHAWATI LAW GROUP

FERNANDEZ, ELSE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08237          CELLINO & BARNES, P.C.

FERNANDEZ, FATIMA              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC703745               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

FERNANDEZ, FATIMA              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC703745               ROSS FELLER CASEY, LLP

FERNANDEZ, H. PATRICIA         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002688-20        GOLOMB & HONIK, P.C.

FERNANDEZ, JACKELINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10755          MOTLEY RICE, LLC

FERNANDEZ, JUANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01067          ONDERLAW, LLC

FERNANDEZ, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17697          ONDERLAW, LLC

FERNANDEZ, LORRAINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20202          NACHAWATI LAW GROUP



                                                                          Page 384 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 386 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FERNANDEZ, LYDIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08250          MORELLI LAW FIRM, PLLC

FERNANDEZ, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01172          DRISCOLL FIRM, P.C.

FERNANDEZ, NICOLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13600          DRISCOLL FIRM, P.C.

FERNANDEZ, NICOLE              NY - SUPREME COURT - NEW YORK COUNTY         190139/2021            WEITZ & LUXENBERG

FERNANDEZ, SOL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09390          JOHNSON BECKER, PLLC

FERNANDEZ, TERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15605          GIRARDI & KEESE

FERNANDEZ, TERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15605          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FERNANDO ESCALANTE-GARZA       IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

FERNLEY, SELINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03223          ONDERLAW, LLC

FERRAN, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09466          ONDERLAW, LLC

                               PA - PHILADELPHIA COUNTY COURT OF COMMON
FERRANTE, JOANNA                                                        200102188                  EISENBERG, ROTHWEILER, WINKLER
                               PLEAS
FERRARA, ANGELA                NY - SUPREME COURT - NYCAL                   190219/2020            WEITZ & LUXENBERG

FERRARA, JOAN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FERRARA, JOAN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

FERRARA, JOAN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

FERRARA, JOAN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

FERRARI, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07281          ONDERLAW, LLC

FERRARI, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18785          CELLINO & BARNES, P.C.

FERRARO, JANICE                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

FERREIRA, CARMEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17630          THE MILLER FIRM, LLC

FERREIRA, RAMONA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16073          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

FERREIRA, WENDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09707          GORI JULIAN & ASSOCIATES, P.C.

FERREL, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10952          ASHCRAFT & GEREL, LLP

FERRELL, ANNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21838          ONDERLAW, LLC

FERRELL, CHARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16108          JOHNSON LAW GROUP

FERRELL, CLISTIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11092          NACHAWATI LAW GROUP

FERRELL, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01948          JOHNSON LAW GROUP

FERRELL, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01871          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FERRELL, GLENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09599          ASHCRAFT & GEREL

FERRELL, HELEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00992          MOTLEY RICE, LLC

FERRELL, JESSICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10478          ARNOLD & ITKIN LLP

FERRELL, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14999          JOHNSON LAW GROUP




                                                                          Page 385 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 387 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FERRELL, KAYLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11244          NACHAWATI LAW GROUP

FERRELL, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09813          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FERRELL, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08812          BARON & BUDD, P.C.

FERRELL, RONNITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08109          ONDERLAW, LLC

FERRELL, SANDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12114          DALIMONTE RUEB, LLP

FERRELL, TAMIKA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03708          ONDERLAW, LLC

FERRELL, TEANIKA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15361          DAVIS, BETHUNE & JONES, L.L.C.

FERRELL, TEANIKA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16893          NACHAWATI LAW GROUP

FERRELL, TRENA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01659          DALIMONTE RUEB, LLP

FERRELL, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00177          ASHCRAFT & GEREL

FERRELL, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00177          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FERRELL-LYNN, DEBORAH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10909          JOHNSON LAW GROUP

FERRER, GIAVONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17082          DRISCOLL FIRM, P.C.

FERRER, MARISOL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15963          NACHAWATI LAW GROUP

FERRERA, GEORGIANNA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13662          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FERRERI, TONI                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-001379-20          COHEN, PLACITELLA & ROTH

FERRETTI, FRANCESCA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01160          GORI JULIAN & ASSOCIATES, P.C.

FERRI, NICOLETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05967          ONDERLAW, LLC

FERRIBY, HELEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14890          LENZE LAWYERS, PLC

FERRIBY, HELEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14890          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FERRIE, KATHRYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15568          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FERRIER, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16247          THE SEGAL LAW FIRM

FERRIER, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06246          BURNS CHAREST LLP

FERRIER, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06246          BURNS CHAREST LLP

FERRIS, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01939          JOHNSON LAW GROUP

FERRO, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09106          ONDERLAW, LLC

FESKANICH, ROXANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08876          ONDERLAW, LLC

FESPERMAN, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10346          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FESSLER, HOLLI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05391          GORI JULIAN & ASSOCIATES, P.C.

FESTA, RAMONA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FESTA, RAMONA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

FESTA, RAMONA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

FESTA, RAMONA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

FESTER, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16626          ASHCRAFT & GEREL



                                                                          Page 386 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 388 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

FESTER, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16626          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FETTERS, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03663          ARNOLD & ITKIN LLP

FETZ, JEANIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05636          ONDERLAW, LLC

FEUERSTEIN, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11497          NACHAWATI LAW GROUP

FEWRY, NOREEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10748          GOLDENBERGLAW, PLLC

FEY, TRACIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06182          BURNS CHAREST LLP

FICACCI, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16070          HOVDE, DASSOW, & DEETS, LLC

FICACCI, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16070          THE MILLER FIRM, LLC

FICCARDI, SUZANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06658          ONDERLAW, LLC

FICHERA, MARY-BETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15918          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

FICHTER, ERICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01956          ONDERLAW, LLC

FICK, LAURA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11940          NACHAWATI LAW GROUP

FICK, MARSHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09868          ONDERLAW, LLC

FIDLER, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04523          JOHNSON LAW GROUP

FIE, KATHLEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01175          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

FIEDLER, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09011          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FIEDLER, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12883          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FIEGEL, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02081          JOHNSON LAW GROUP

FIELD, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02025          FLETCHER V. TRAMMELL

FIELD, CONSTANCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08002          ONDERLAW, LLC

FIELD, DIERDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14218          HOLLAND LAW FIRM

FIELD, ELLEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12672          DRISCOLL FIRM, P.C.

FIELDINGS, JEANETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19816          NACHAWATI LAW GROUP

FIELDS, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09715          ONDERLAW, LLC

FIELDS, AUNITRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04432          ONDERLAW, LLC

FIELDS, CATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05806          ONDERLAW, LLC

FIELDS, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08610          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FIELDS, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04662          ONDERLAW, LLC

FIELDS, DEBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16470          MORGAN & MORGAN

FIELDS, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14074          SALTZ MONGELUZZI & BENDESKY PC

FIELDS, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13506          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

FIELDS, IRENE                     FL - CIRCUIT COURT - BROWARD COUNTY          CACE20000933           BABBITT, JOHNSON, OSBORNE & LECLAINCHE, P.A.

FIELDS, IRENE                     FL - CIRCUIT COURT - BROWARD COUNTY          CACE20000933           WILLIAMS HART LAW FIRM

FIELDS, KORRI                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002449-20        GOLOMB & HONIK, P.C.



                                                                             Page 387 of 1405
                             Case 23-12825-MBK                  Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                Appendix A (Part 1) Page 389 of 702

             Claimant Name                             State Filed                      Docket Number                              Plaintiff Counsel

FIELDS, LILLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05201          JOHNSON LAW GROUP

FIELDS, MADELENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05949          VENTURA LAW

FIELDS, ROSALIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16927          NACHAWATI LAW GROUP

FIELDS, SUSAN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

FIELDS, SUSAN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

FIELDS, SUSAN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

FIELDS, THEOLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16957          NACHAWATI LAW GROUP

FIELDS, TRACEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18895          MOTLEY RICE, LLC

FIELDS, URMA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19705          NACHAWATI LAW GROUP

FIELDS,, MARVIN                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00011-20AS       WEITZ & LUXENBERG

FIENAGHA, VIOLA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001468-20        GOLOMB & HONIK, P.C.

FIERRO, ALBA                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002743-21        WEITZ & LUXENBERG

FIERRO, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08346          ONDERLAW, LLC

FIERRO, JANIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12716          NAPOLI SHKOLNIK, PLLC

FIERRO, KRISTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06052          TRAMMELL PC

FIERRO, MARTHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11284          GORI JULIAN & ASSOCIATES, P.C.

FIERRO-QUINTANA, VESENTA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11019          NACHAWATI LAW GROUP

FIESTER, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13425          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FIGUEROA, ADELAIDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18497          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FIGUEROA, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12762          ONDERLAW, LLC

FIGUEROA, KATIA AND FIGUEROA, DAVID NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00854-18AS       WEITZ & LUXENBERG

FIGUEROA, KEISHLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10891          NACHAWATI LAW GROUP

FIGUEROA, LETICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16870          NACHAWATI LAW GROUP

FIGUEROA, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01629          MORELLI LAW FIRM, PLLC
FIGUEROA, RICHARD EST OF SHARON
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-001004-21        WEITZ & LUXENBERG
ALVAREZ
FIGURES, BOBBIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13259          ONDERLAW, LLC

FIGURES, JANICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06639          ARNOLD & ITKIN LLP

FIGURES, JANICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FIGURES, JANICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FIGURES, JANICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FIGURSKI, SUZANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16731          ASHCRAFT & GEREL

FIGURSKI, SUZANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16731          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FIKE, REBECCA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FIKE, REBECCA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC



                                                                               Page 388 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 390 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FIKE, REBECCA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FILICETTI, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09525          CELLINO & BARNES, P.C.

FILIFILI, RASELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02993          ONDERLAW, LLC

FILIPASIC, LYDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10564          SANDERS VIENER GROSSMAN, LLP

FILIPSKI, ANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12360          ONDERLAW, LLC

FILLERS, VALERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13602          MORRIS BART & ASSOCIATES

FILLEUL, SUZANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FILLEUL, SUZANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

FILLEUL, SUZANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

FILLEUL, SUZANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

FILLEY, BETH                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002104-20        GOLOMB & HONIK, P.C.

FILLINGER, YVONNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13042          JOHNSON LAW GROUP

FILLMORE, JILL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09904          ONDERLAW, LLC

FILMORE, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14336          DALIMONTE RUEB, LLP

FILMORE, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07617          ONDERLAW, LLC

FILOMENO, NURYS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01471          ONDERLAW, LLC

FIMPLE, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12537          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

FINCH, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10420          MORRIS BART & ASSOCIATES

FINCH, DAWN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09832          ONDERLAW, LLC

FINCH, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15571          GIRARDI & KEESE

FINCH, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08904          ARNOLD & ITKIN LLP

FINCH, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19408          NACHAWATI LAW GROUP

FINCH, WANNETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09797          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FINCHAM, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19940          NACHAWATI LAW GROUP

FINCHER, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05933          ONDERLAW, LLC

FINCHER, CRYSTAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15383          ONDERLAW, LLC

FINCK, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09282          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FINCK, LISA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

FINCK, LISA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

FINCK, LISA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

FINDLAY, SHEILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13470          NAPOLI SHKOLNIK, PLLC

FINDLEY, SAMANTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13096          GOLDENBERGLAW, PLLC

FINE, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22167          DRISCOLL FIRM, P.C.




                                                                             Page 389 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 391 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FINE, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09627          JOHNSON LAW GROUP

FINE, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04928          ONDERLAW, LLC

FINEGAN, ANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16855          THE MILLER FIRM, LLC

FINERD, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06731          THE SIMON LAW FIRM, PC

FINGERHUT, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09076          ROSS FELLER CASEY, LLP

FINGERS, MAMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03353          THE BENTON LAW FIRM, PLLC

FINIGAN, HEIDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08152          ONDERLAW, LLC

FINK, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02353          ONDERLAW, LLC

FINK, DORIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05860          ONDERLAW, LLC

FINK, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09380          ONDERLAW, LLC

FINKBEIN, CATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09289          ONDERLAW, LLC

FINKBINER, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11923          NACHAWATI LAW GROUP

FINKELSTEIN, LYNN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14205          DRISCOLL FIRM, P.C.

FINKEN, EARLENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08157          FLETCHER V. TRAMMELL

FINKLEA, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10016          FLETCHER V. TRAMMELL

FINLASON, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01873          JOHNSON LAW GROUP

FINLAYSON, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13682          FLETCHER V. TRAMMELL

FINLEY, DANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FINLEY, DANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

FINLEY, DANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

FINLEY, DANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

FINLEY, LUCILLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02713          ONDERLAW, LLC

FINLEY, MELANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02391          BUZIN LAW, P.C.

FINLEY, MELANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02391          MERSON LAW PLLC

FINLEY, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19949          NACHAWATI LAW GROUP

FINN, JO ANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06548          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FINN, KATHRYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11166          PARKER WAICHMAN, LLP

FINN, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00082          MOTLEY RICE, LLC

FINN, TERRESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18524          JOHNSON LAW GROUP

FINNERTY, EDWARD                  IL - CIRCUIT COURT - COOK COUNTY             21-L-4679              COONEY AND CONWAY

FINNEY, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00168          BURNS CHAREST LLP

FINNIGAN, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16888          NACHAWATI LAW GROUP

FIOLA, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07866          BURNS CHAREST LLP

FIORANELLI, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19409          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 390 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 392 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

FIORE, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01094          KLINE & SPECTER, P.C.

FIORE, ROSEMARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05999          JOHNSON LAW GROUP

FIORE, ROSEMARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07184          ONDERLAW, LLC

FIORE-ITHIER, COLLETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08205          JASON J. JOY & ASSCIATES P.L.L.C.

FIORINI, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09211          ONDERLAW, LLC

FIRESTONE, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17797          ONDERLAW, LLC

FIRLE, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17965          ONDERLAW, LLC

FIRTH, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FIRTH, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

FIRTH, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

FIRTH, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

FISCHBACH, CHARLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16625          ASHCRAFT & GEREL

FISCHBACH, CHARLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16625          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FISCHER, CATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12460          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

FISCHER, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16773          ONDERLAW, LLC

FISCHER, MARCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11516          ASHCRAFT & GEREL

FISCHER, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09306          ONDERLAW, LLC

FISCHER, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17106          GORI JULIAN & ASSOCIATES, P.C.

FISCHER, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10628          NACHAWATI LAW GROUP

FISCHESSER, ANGELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18501          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FISH, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03565          PETERSON & ASSOCIATE, P.C.

FISH, EVELYN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2504-15          GOLOMB SPIRT GRUNFELD PC

FISH, KATHY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03576          ONDERLAW, LLC

FISHBEIN, DEBRA                   FL - CIRCUIT COURT - PALM BEACH COUNTY       2018CA001928           THE FERRARO LAW FIRM, P.A.

FISHER, ALISON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10366          NACHAWATI LAW GROUP

FISHER, ALTA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16481          ONDERLAW, LLC

FISHER, AULBREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07509          ONDERLAW, LLC

FISHER, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16140          ASHCRAFT & GEREL, LLP

FISHER, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16140          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FISHER, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09632          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FISHER, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05098          LEVIN SIMES LLP

FISHER, DOLORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19044          MCSWEENEY/LANGEVIN, LLC

FISHER, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18278          JOHNSON LAW GROUP

FISHER, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08033          ONDERLAW, LLC



                                                                             Page 391 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 393 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FISHER, KRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13597          DRISCOLL FIRM, P.C.

FISHER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02450          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FISHER, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16895          NACHAWATI LAW GROUP

FISHER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07831          ARNOLD & ITKIN LLP

FISHER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15126          HENINGER GARRISON DAVIS, LLC

FISHER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19689          NACHAWATI LAW GROUP

FISHER, MARYLEA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13636          THE MILLER FIRM, LLC

FISHER, MICHELE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10743          SANDERS VIENER GROSSMAN, LLP

FISHER, MITZIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12382          MOTLEY RICE, LLC

FISHER, ROSALINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12758          ARNOLD & ITKIN LLP

FISHER, ROSANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12345          BARRETT LAW GROUP

FISHER, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19555          NACHAWATI LAW GROUP

FISHER, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02277          ONDERLAW, LLC

FISHER, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18599          ONDERLAW, LLC

FISHER, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04440          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

FISHER, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01050          WEITZ & LUXENBERG

FISHER, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20602          CELLINO & BARNES, P.C.

FISHER-LACEY, VIVIAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16740          ONDERLAW, LLC

FISHERO, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01635          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FISHKIND, LYNN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FISHKIND, LYNN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

FISHKIND, LYNN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

FISHKIND, LYNN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

FISHMAN, ALLISON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21705          FLETCHER V. TRAMMELL

FISHMAN, ARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01039          NAPOLI SHKOLNIK, PLLC

FISHMAN, KAREN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000950-18        FELDMAN & PINTO

FISK, MICHELE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16106          ONDERLAW, LLC

FISKE, MARTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14615          FLETCHER V. TRAMMELL

FISSEL, JAYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19142          ONDERLAW, LLC

FITCH, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16112          THE CUFFIE LAW FIRM

FITCH, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13977          DANIEL & ASSOCIATES, LLC

FITCH, HILDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09363          ONDERLAW, LLC

FITCH, JANICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05901          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FITCH, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13570          NACHAWATI LAW GROUP



                                                                             Page 392 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 394 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

FITCH, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03117          FLETCHER V. TRAMMELL

FITCH, MARIAN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1944-16          NAPOLI SHKOLNIK PLLC

FITE, SHELBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19306          NACHAWATI LAW GROUP

FITROS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14496          ONDERLAW, LLC

FITZ, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          DONALD L. SCHLAPPRIZZI P.C.

FITZ, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FITZ, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10708          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FITZ, RACHEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16950          NACHAWATI LAW GROUP

FITZGERALD, AIMEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16816          FLETCHER V. TRAMMELL

FITZGERALD, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10735          THE MILLER FIRM, LLC

FITZGERALD, JENNIFER              CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV324262             ASHCRAFT & GEREL

FITZGERALD, JENNIFER              CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV324262             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FITZGERALD, MARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09712          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FITZGERALD, RANAE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08973          MOTLEY RICE, LLC

FITZGIBBON, CANDICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11970          THE MILLER FIRM, LLC

FITZHUGH, ANTONIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07912          ONDERLAW, LLC

FITZHUGH, ANTONIA                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681548               ONDERLAW, LLC

FITZHUGH, ANTONIA                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681548               SALKOW LAW, APC

FITZHUGH, BETTY                   FL - CIRCUIT COURT - BROWARD COUNTY          CACE19001150           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FITZHUGH, BETTY                   FL - CIRCUIT COURT - BROWARD COUNTY          CACE19001150           KELLEY UUSTAL, PLC

FITZHUGH, SHERRI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00870          POTTS LAW FIRM

FITZMAURICE, BRIGETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16791          NACHAWATI LAW GROUP

FITZPATRICK, ALISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17000          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FITZPATRICK, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FITZPATRICK, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

FITZPATRICK, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

FITZPATRICK, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

FITZPATRICK, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09311          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FITZPATRICK, DENISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09323          TAUTFEST BOND

FITZPATRICK, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07578          DRISCOLL FIRM, P.C.

FITZPATRICK, PHYLLIS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11765          NACHAWATI LAW GROUP

FITZPATRICK, WILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01154          ONDERLAW, LLC




                                                                             Page 393 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                         Appendix A (Part 1) Page 395 of 702

           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

FITZSIMMONS, CAROL            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-430-18           KEEFE BARTELS

FITZSIMMONS, CAROL            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-430-18           LAW OFFICE OF GRANT D. AMEY, LLC

FITZWATER, LOREEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04352          ONDERLAW, LLC

FITZWATER, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01454          ARNOLD & ITKIN LLP

FIVECOAT, SONDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01751          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FIVGAS, AGNES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19884          CELLINO & BARNES, P.C.

FJAYAN, AQUILINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09831          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLACK, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10344          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLADER, JANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06100          THE ENTREKIN LAW FIRM

FLAGG, JOCELYN                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-00068720         COHEN, PLACITELLA & ROTH

FLAGG, JOCELYN                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-00068720         FLETCHER V. TRAMMELL

FLAGLER, CONNIE MICHELLE      ONTARIO (TORONTO)                            CV-22-00678877-0000    PRESZLER INJURY LAWYERS

FLAHARDY, FRANCIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13453          ONDERLAW, LLC

FLAKE, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16687          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLANAGAN, JILL                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1228-16          ASHCRAFT & GEREL, LLP

FLANAGAN, JILL                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1228-16          GOLOMB SPIRT GRUNFELD PC

FLANAGAN, ROSE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14537          NAPOLI SHKOLNIK, PLLC

FLANAGAN, ROXIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00881          ONDERLAW, LLC

FLANAGAN, SHERYL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01481          JOHNSON LAW GROUP

FLANARY, SONYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17171          THE MILLER FIRM, LLC

FLANDERS, ANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18088          JOHNSON LAW GROUP

FLANERY, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11750          NACHAWATI LAW GROUP

FLANIGAN, VANESSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16881          NACHAWATI LAW GROUP

FLANNAGAN, DIANE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03311          ARNOLD & ITKIN LLP

FLANNERY, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07743          ONDERLAW, LLC

FLASHMAN, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02607          MOTLEY RICE, LLC

FLECHA, JOSEPHINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12538          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

FLECK, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16674          NAPOLI SHKOLNIK, PLLC

FLECKENSTEIN, PATSY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10863          THE MILLER FIRM, LLC

FLEDDERMAN, NELLMARY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09757          PENDLEY, BAUDIN & COFFIN, LLP

FLEENOR, DORIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06373          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLEENOR, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09177          ONDERLAW, LLC

FLEISCHMAN, CHERYL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13237          ONDERLAW, LLC




                                                                         Page 394 of 1405
                              Case 23-12825-MBK                   Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                  Appendix A (Part 1) Page 396 of 702

            Claimant Name                                State Filed                      Docket Number                              Plaintiff Counsel

FLEISHMAN, LADAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00199          FLETCHER V. TRAMMELL

FLEITES, ROSA                         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000428-21        GOLOMB & HONIK, P.C.

FLEMING, BETTIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08051          ONDERLAW, LLC

FLEMING, CHERYL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07255          JOHNSON BECKER, PLLC

FLEMING, CHRISTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16795          NACHAWATI LAW GROUP

FLEMING, EVELYN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08613          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLEMING, GAIL                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14368          NACHAWATI LAW GROUP

FLEMING, HELEN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00190          CELLINO & BARNES, P.C.

FLEMING, HILDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04343          ONDERLAW, LLC

FLEMING, MELISSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00404          GEOFFREY B. GOMPERS & ASSOC, P.C.

FLEMING, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00427          ONDERLAW, LLC

FLEMINGS, LORENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19562          NACHAWATI LAW GROUP

FLEMISTER, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02510          BURNS CHAREST LLP

FLEMISTER, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02510          BURNS CHAREST LLP

FLENER, TAMATHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06940          ONDERLAW, LLC
                                      OH - COURT OF COMMON PLEASE - CUYAHOGA
FLERCHINGER, LIZ EST OF D MCKILLIPS                                                CV-21-942692           BEVAN & ASSOCIATES LPA, INC.
                                      COUNTY
FLESCH, VERONICA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20441          ASHCRAFT & GEREL, LLP

FLESCH, VERONICA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20441          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLESHIN, DIANE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14011          NAPOLI SHKOLNIK PLLC

FLESHMAN, NATALIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03644          ONDERLAW, LLC

FLESHMAN, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19930          MCSWEENEY/LANGEVIN, LLC

FLESHMAN, VICKIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14290          ASHCRAFT & GEREL, LLP

FLESHMAN, VICKIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14290          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLETCHER, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12645          DALIMONTE RUEB, LLP

FLETCHER, BOBBIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002902-21        WEITZ & LUXENBERG

FLETCHER, CAROLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17243          ASHCRAFT & GEREL, LLP

FLETCHER, CAROLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17243          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLETCHER, CAROLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09854          MORRIS BART & ASSOCIATES

FLETCHER, CASAUNDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10310          GOLDENBERGLAW, PLLC

FLETCHER, CATHERINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLETCHER, CATHERINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

FLETCHER, CATHERINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

FLETCHER, CATHERINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC




                                                                                 Page 395 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 397 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

FLETCHER, DEANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08247          ONDERLAW, LLC

FLETCHER, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12882          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLETCHER, ELESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10994          DALIMONTE RUEB, LLP

FLETCHER, HOLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16942          NACHAWATI LAW GROUP

FLETCHER, JOANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08872          ONDERLAW, LLC

FLETCHER, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10700          BLIZZARD & NABERS, LLP

FLETCHER, LEZLIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002224-20        GOLOMB & HONIK, P.C.

FLETCHER, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00923          ARNOLD & ITKIN LLP

FLETCHER, MILENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16897          NACHAWATI LAW GROUP

FLETCHER, MIRANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01816          ONDERLAW, LLC

FLETCHER, WANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13533          FLETCHER V. TRAMMELL

FLEURETTE, GLENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09579          FLETCHER V. TRAMMELL

FLEURY, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16192          ASHCRAFT & GEREL, LLP

FLEURY, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16192          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLEWELLEN, REGINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05888          NAPOLI SHKOLNIK, PLLC

FLICKER, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02900          ONDERLAW, LLC

FLICKINGER, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12879          THE MILLER FIRM, LLC

FLIN, LEUREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16946          NACHAWATI LAW GROUP

FLINN, DANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00732          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FLINT, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11705          NACHAWATI LAW GROUP

FLIPPIN, GLENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13928          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLIPPO, KAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09680          ONDERLAW, LLC

FLISS, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08702          ONDERLAW, LLC

FLONNORY, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08087          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

FLOOD, ANITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04855          MOTLEY RICE, LLC

FLORENCE HAMILTON                 FEDERAL - MDL                                3:21-CV-19893          ONDERLAW, LLC

FLORENCE TAYLOR                   FEDERAL - MDL                                3:21-CV-17829          PARAFINCZUK WOLF, P.A.

FLORENCE TAYLOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17829          PARAFINCZUK WOLF, P.A.

FLORENCE, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17445          ONDERLAW, LLC

FLORENCE-SKIPPER, ANN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13200          REICH & BINSTOCK, LLP

FLORENT, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07586          ONDERLAW, LLC

FLORES, ALICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11191          NACHAWATI LAW GROUP

FLORES, ALMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08351          FLETCHER V. TRAMMELL

FLORES, ANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17043          ONDERLAW, LLC



                                                                             Page 396 of 1405
                               Case 23-12825-MBK                   Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                   Appendix A (Part 1) Page 398 of 702

              Claimant Name                               State Filed                      Docket Number                              Plaintiff Counsel

FLORES, ANAMARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15529          SLATER, SLATER, SCHULMAN, LLP

FLORES, ANGELA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04371          ONDERLAW, LLC

FLORES, ANITA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10962          ASHCRAFT & GEREL

FLORES, ANN                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04796          HOVDE, DASSOW, & DEETS, LLC

FLORES, ANN                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04796          THE MILLER FIRM, LLC

FLORES, ANNFRANCES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13518          ARNOLD & ITKIN LLP

FLORES, CARMEN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15288          CELLINO & BARNES, P.C.

FLORES, CARMEN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06295          MOTLEY RICE, LLC

FLORES, CLAUDIA                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002371-20        GOLOMB & HONIK, P.C.

FLORES, CORAZON                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLORES, CORAZON                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

FLORES, CORAZON                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

FLORES, CORAZON                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

FLORES, CORAZON                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

FLORES, CYNTHIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20490          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FLORES, DELFINA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16892          NACHAWATI LAW GROUP

FLORES, DIANE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07235          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLORES, DIXIE                          NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002225-20        GOLOMB & HONIK, P.C.

FLORES, ESTHER                         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2845-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLORES, ESTHER                         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2845-15          PORTER & MALOUF, PA

FLORES, ESTHER                         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2845-15          SEEGER WEISS LLP

FLORES, ESTHER                         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2845-15          THE SMITH LAW FIRM, PLLC

FLORES, HAYDEE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00807          ARNOLD & ITKIN LLP

FLORES, HELEN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

FLORES, HELEN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09460          ONDERLAW, LLC

FLORES, JESSICA; GREEN; VIRGINIA       CA - SUPERIOR COURT - SANTA CLARA COUNTY     16-CV-293936           THE MILLER FIRM, LLC

FLORES, KATHERINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10190          ONDERLAW, LLC

FLORES, LEAH                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01542          HOVDE, DASSOW, & DEETS, LLC

FLORES, LEAH                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01542          THE MILLER FIRM, LLC

FLORES, LINDA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08102          FLETCHER V. TRAMMELL

FLORES, LIZETH                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19902          CELLINO & BARNES, P.C.

FLORES, LOUIS                          NY - SUPREME COURT - NYCAL                   19011/2020             MEIROWITZ & WASSERBERG, LLP

FLORES, LOUIS S. & FLORES, BERTHA G.   NY - SUPREME COURT - NYCAL                   19011/2020             MEIROWITZ & WASSERBERG, LLP

FLORES, MARIA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16391          DALIMONTE RUEB, LLP



                                                                                  Page 397 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 399 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

FLORES, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08660          VENTURA LAW

FLORES, MARIANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02722          WILLIAMS HART LAW FIRM

FLORES, MARYANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09818          FLETCHER V. TRAMMELL

FLORES, MAXINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FLORES, MAXINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FLORES, MAXINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FLORES, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19830          CELLINO & BARNES, P.C.

FLORES, OFELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10890          NACHAWATI LAW GROUP

FLORES, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08409          FLETCHER V. TRAMMELL

FLORES, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18273          DRISCOLL FIRM, P.C.

FLORES, RACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08694          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLORES, RACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16915          NACHAWATI LAW GROUP

FLORES, ROSALIE                   DC - SUPERIOR COURT - DISTRICT OF COLUMBIA   1:21-CV-02756          ASHCRAFT & GEREL

FLORES, ROSALIE                   DC - SUPERIOR COURT - DISTRICT OF COLUMBIA   1:21-CV-02756          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLORES, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16954          NACHAWATI LAW GROUP

FLORES, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FLORES, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15533          LENZE LAWYERS, PLC

FLORES, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FLORES, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15533          LENZE LAWYERS, PLC

FLORES, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15533          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FLORES, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FLORES, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15533          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

FLORES, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12688          DANIEL & ASSOCIATES, LLC

FLORES, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15840          NACHAWATI LAW GROUP

FLORES, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07537          DRISCOLL FIRM, P.C.

FLORES, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16900          NACHAWATI LAW GROUP

FLORES, YOLANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07695          DALIMONTE RUEB, LLP

FLORES, YRANIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000584-21        GOLOMB & HONIK, P.C.

FLORES-ANANY, ESMERALDA           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002521-21        WEITZ & LUXENBERG

FLORES-RODRIGUEZ, SAMARY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

FLOREZ, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14493          ARNOLD & ITKIN LLP

FLOREZ, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08348          ONDERLAW, LLC




                                                                             Page 398 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 400 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FLOREZ, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01824          THE BENTON LAW FIRM, PLLC

FLOW, ELVA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11000          MORRIS BART & ASSOCIATES

FLOWE, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10963          ASHCRAFT & GEREL

FLOWERS, ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06864          HENINGER GARRISON DAVIS, LLC

FLOWERS, DENISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01636          MORELLI LAW FIRM, PLLC

FLOWERS, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03578          ONDERLAW, LLC

FLOWERS, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17317          ONDERLAW, LLC

FLOWERS, LILLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07066          ONDERLAW, LLC

FLOWERS, MARVIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06011          DALIMONTE RUEB, LLP

FLOWERS, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18036          ASHCRAFT & GEREL

FLOWERS, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18036          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLOWERS, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04038          ONDERLAW, LLC

FLOWERS, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05607          WATERS & KRAUS, LLP

FLOWERS, SAMANTHA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLOWERS, SAMANTHA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

FLOWERS, SAMANTHA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

FLOWERS, SAMANTHA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

FLOWERS, SAMANTHA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

FLOWERS, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16141          ASHCRAFT & GEREL, LLP

FLOWERS, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16141          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLOWERS, TAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12203          ONDERLAW, LLC

FLOWERS, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00917          THE SEGAL LAW FIRM

FLOWERS, TRANSITA               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

FLOYD, ALMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10385          DANIEL & ASSOCIATES, LLC

FLOYD, AVA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15970          NACHAWATI LAW GROUP

FLOYD, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19937          NACHAWATI LAW GROUP

FLOYD, BETTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19566          NACHAWATI LAW GROUP

FLOYD, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12812          ONDERLAW, LLC

FLOYD, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03238          ONDERLAW, LLC

FLOYD, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20732          CELLINO & BARNES, P.C.

FLOYD, JEANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09258          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLOYD, JENNIFER                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLOYD, JENNIFER                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

FLOYD, JENNIFER                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC



                                                                           Page 399 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 401 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FLOYD, JENNIFER                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

FLOYD, JENNIFER                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

FLOYD, PARIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12087          DRISCOLL FIRM, P.C.

FLOYD, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08929          ONDERLAW, LLC

FLOYD, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05646          ONDERLAW, LLC

FLOYD, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07227          ONDERLAW, LLC

FLOYD, VIVIAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16917          NACHAWATI LAW GROUP

FLOYD, YOLANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10191          ONDERLAW, LLC

FLOYD-TOBLER, ROSALYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10595          NACHAWATI LAW GROUP

FLUHARTY, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12294          ASHCRAFT & GEREL

FLUHARTY, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12294          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLUKER, MILDRED                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002903-21        WEITZ & LUXENBERG

FLUKER, ROSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09605          FLETCHER V. TRAMMELL

FLUNDER, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18226          CELLINO & BARNES, P.C.

FLURRY, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03752          ONDERLAW, LLC

FLYNN, CATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07846          THE DUGAN LAW FIRM, APLC

FLYNN, CATINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13802          FLETCHER V. TRAMMELL

FLYNN, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14289          ASHCRAFT & GEREL, LLP

FLYNN, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14289          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLYNN, JANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14507          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FLYNN, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11949          NACHAWATI LAW GROUP

FLYNN, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14498          FLETCHER V. TRAMMELL

FLYNN, REGINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19483          ASHCRAFT & GEREL, LLP

FLYNN, REGINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19483          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FLYNN, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11411          DAVIS, BETHUNE & JONES, L.L.C.

FLYNN, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05357          ONDERLAW, LLC

FLYNT, FRANCES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18456          FRAZER PLC

FOARD, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18690          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOCHT, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11019          ONDERLAW, LLC

FOCHTMAN, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14171          JOHNSON LAW GROUP

FODA, RANDA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

FODA, RANDA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FODA, RANDA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

FODA, RANDA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA



                                                                             Page 400 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 402 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FODA, RANDA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

FODD, GAILTRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06376          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FODELL, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11323          NACHAWATI LAW GROUP

FODERA, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09271          SANDERS VIENER GROSSMAN, LLP

FODROCY, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21621          GORI JULIAN & ASSOCIATES, P.C.

FOERSTER, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11469          THE MILLER FIRM, LLC

FOGARTY, CARMINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09366          ONDERLAW, LLC

FOGARTY, DOLORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14303          ASHCRAFT & GEREL, LLP

FOGARTY, DOLORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14303          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOGEL, HARRIET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16958          THE DIETRICH LAW FIRM, PC

FOGEL, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12366          ASHCRAFT & GEREL

FOGEL, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12366          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOGG, CATHERINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10356          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOGLE, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00685          ROSS FELLER CASEY, LLP

FOGLE, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11071          THE SIMON LAW FIRM, PC

FOGLE, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09393          ONDERLAW, LLC

FOGLE, ERNESTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16873          HOLLAND LAW FIRM

FOGLE, JOANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13329          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOGLE, SHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13556          ARNOLD & ITKIN LLP

FOHN, ROSE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03225          ONDERLAW, LLC

FOISY, BERNADETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09592          FLETCHER V. TRAMMELL

FOLDS, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01993          MOTLEY RICE, LLC

FOLEY, BRANDI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10668          NACHAWATI LAW GROUP

FOLEY, CAMILLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00777          WAGNER REESE, LLP

FOLEY, HEIDI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14571          WATERS & KRAUS, LLP

FOLEY, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10931          THE MILLER FIRM, LLC

FOLEY-LANDRY, MARTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00044          ASHCRAFT & GEREL

FOLEY-LANDRY, MARTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00044          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOLIGNO, PHYLLIS                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001905-16        COHEN, PLACITELLA & ROTH

FOLIO, LORENTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15593          GIRARDI & KEESE

FOLIO, LORENTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19580          NACHAWATI LAW GROUP

FOLIO, LORENTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15593          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FOLKESTAD, RUTH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15559          ONDERLAW, LLC

FOLKS, LENDA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002212-20        GOLOMB & HONIK, P.C.



                                                                             Page 401 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 403 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

FOLKS, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04409          ONDERLAW, LLC

FOLOKY, VERONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07579          LEVIN SEDRAN & BERMAN

FOLOS, CASMIERA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1939-16          DAMATO LAW FIRM, P.C.

FOLSOM, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08390          ASHCRAFT & GEREL

FOLSOM, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08390          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOLTZ, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13428          JOHNSON LAW GROUP

FOLTZ, JENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08231          ONDERLAW, LLC

FOMBY, WILMAJEAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03686          THE SEGAL LAW FIRM

FONCERRADA, PENNY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13372          ASHCRAFT & GEREL, LLP

FONDREN, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07083          BURNS CHAREST LLP

FONDREN, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07083          BURNS CHAREST LLP

FONDULIS, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00688          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FONG-LING FRAILEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18707          JOHNSON LAW GROUP

FONNER, CYNTHIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003223-21        WEITZ & LUXENBERG

FONSECA, SONIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00617          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FONT, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13140          NACHAWATI LAW GROUP

FONTAINE, BRIDGET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06528          JOHNSON BECKER, PLLC

FONTAINE, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03639          BARON & BUDD, P.C.

FONTAINE, THERESA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003233-21        WEITZ & LUXENBERG

FONTANA, LORRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11064          ONDERLAW, LLC

FONTANILLE, HOPE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09350          ONDERLAW, LLC

FONTENOT, HEATHER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02142          ONDERLAW, LLC

FONTENOT, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08692          MORRIS BART & ASSOCIATES

FOOTE, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17674          THE MILLER FIRM, LLC

FOOTE, LILLIE                    IL - CIRCUIT COURT - ST. CLAIR COUNTY        19L0875                COOK, BARTHOLOMEW, SHEVLIN, COOK & JONES LLP

FOOTE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12560          THE SIMON LAW FIRM, PC

FOOTE, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13062          ONDERLAW, LLC

FOOTMAN-DACIL, LEAHRE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06292          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

FOOTS, SONJA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15295          BURNS CHAREST LLP

FORANCE, JOANN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1239-16          DAMATO LAW FIRM, P.C.

FORANCE, JOANN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1239-16          HERMAN GEREL, LLP

FORBERG, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02884          ONDERLAW, LLC

FORBES, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05018          THE MILLER FIRM, LLC

FORBES, BRENDA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002761-21        WEITZ & LUXENBERG



                                                                            Page 402 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 404 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

FORBES, JANES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17205          THE MILLER FIRM, LLC

FORBES, OPIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14435          ASHCRAFT & GEREL

FORBES, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17720          FLETCHER V. TRAMMELL

FORCE, JODI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16934          NACHAWATI LAW GROUP

FORCIER, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08994          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FORD, ANNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05383          ONDERLAW, LLC

FORD, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12594          LEVY BALDANTE FINNEY & RUBENSTEIN

FORD, BELINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10662          NACHAWATI LAW GROUP

FORD, DEANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02830          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FORD, DEANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02296          LENZE LAWYERS, PLC

FORD, DENISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14827          LENZE LAWYERS, PLC

FORD, DENISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14827          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FORD, DORIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19590          NACHAWATI LAW GROUP

FORD, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06140          LAW OFFICE OF GRANT D. AMEY, LLC

FORD, GLENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16443          FLETCHER V. TRAMMELL

FORD, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10421          GORI JULIAN & ASSOCIATES, P.C.

FORD, HILDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11099          NACHAWATI LAW GROUP

FORD, IRENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18513          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FORD, JESSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16944          NACHAWATI LAW GROUP

FORD, KATHLEEN                    CA - SUPERIOR COURT - SONOMA COUNTY          SCV262201              SIMMONS HANLY CONROY

FORD, LAVANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04823          ONDERLAW, LLC

FORD, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19113          NACHAWATI LAW GROUP

FORD, LYNDA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000300-21        GOLOMB & HONIK, P.C.

FORD, MARRISSIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16949          NACHAWATI LAW GROUP

FORD, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09179          ONDERLAW, LLC

FORD, NEOLIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09725          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FORD, PAULETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01911          JOHNSON LAW GROUP

FORD, PRISCILLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16847          ONDERLAW, LLC

FORD, RUBASHUANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16955          NACHAWATI LAW GROUP

FORD, SARAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04434          ONDERLAW, LLC

FORD, STACEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09193          THORNTON LAW FIRM LLP

FORD, TAMYKA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01812          ONDERLAW, LLC

FORD, THELMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13068          BARON & BUDD, P.C.

FORD, THELMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13068          GREER, RUSSELL, DENT & LEATHERS, PA



                                                                             Page 403 of 1405
                                Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                               Appendix A (Part 1) Page 405 of 702

             Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel

FORD, TINA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07285          ONDERLAW, LLC

FORDE, ELLEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09570          ONDERLAW, LLC

FORDHAM, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14231          WATERS & KRAUS, LLP

FORD-KNIGHT, JULIETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09964          MORRIS BART & ASSOCIATES

FORDYCE, JOHNNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07511          ASHCRAFT & GEREL

FORDYCE, JOHNNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07511          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FORDYCE, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06603          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOREMAN, CHANTHONY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10312          GOLDENBERGLAW, PLLC

FOREMAN, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01659          JOHNSON LAW GROUP

FOREMAN, GEORGANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05669          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

FOREMAN, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10454          WILLIAMS HART LAW FIRM

FOREST, HILDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11825          NACHAWATI LAW GROUP

FORET, ELOISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08939          BARON & BUDD, P.C.

FORGAR, TERRY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002163-21        WEITZ & LUXENBERG

FORGET, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17766          ASHCRAFT & GEREL, LLP

FORGET, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17766          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FORLIVESI-AMARAL, LISA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03752          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

FORLIVESI-AMARAL, LISA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03752          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

FORMALEJO, TONI                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FORMALEJO, TONI                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

FORMALEJO, TONI                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

FORMALEJO, TONI                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

FORMALEJO, TONI                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

FORMAN, CHARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17295          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

FORMAN, JEAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09410          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                   OH - COURT OF COMMON PLEASE - CUYAHOGA
FORMAN,JEFFREY A ESTATE OF D                                                    CV21942837             FAHRENBACH; KELLEY & FERRARO, LLP
                                   COUNTY
FORNEY, LULA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14542          POTTS LAW FIRM

FORNEY, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16959          NACHAWATI LAW GROUP

FORNWALT, PEGGY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10414          ONDERLAW, LLC

FORREST, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08873          ONDERLAW, LLC

FORREST, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06384          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FORREST, SANDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04967          GRANT & EISENHOFER P. A.
FORREST,V; GIESE,V; MARINO,D;
                                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00419           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
VOGELER,S
FORREST,V; GIESE,V; MARINO,D;
                                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00419           ONDERLAW, LLC
VOGELER,S



                                                                              Page 404 of 1405
                                Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                               Appendix A (Part 1) Page 406 of 702

            Claimant Name                             State Filed                      Docket Number                              Plaintiff Counsel
FORREST,V; GIESE,V; MARINO,D;
                                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00419           PORTER & MALOUF, PA
VOGELER,S
FORREST,V; GIESE,V; MARINO,D;
                                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00419           THE SMITH LAW FIRM, PLLC
VOGELER,S
FORRESTER, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07945          ONDERLAW, LLC

FORRESTER, LAVERNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11685          NACHAWATI LAW GROUP

FORRESTER, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07960          ONDERLAW, LLC

FORRIDER, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17729          ONDERLAW, LLC

FORSBERG, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02780          BURNS CHAREST LLP

FORSBERG, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02780          BURNS CHAREST LLP

FORSE, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08420          ONDERLAW, LLC

FORSEY, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03579          DALIMONTE RUEB, LLP

FORSHEE, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00968          THE MILLER FIRM, LLC

FORSTALL, JANELL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07850          THE DUGAN LAW FIRM

FORSTER, GRACE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17624          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

FORSTING, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03586          ONDERLAW, LLC

FORSTON, CARMEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09022          ONDERLAW, LLC

FORSYTH, EMILY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17952          ASHCRAFT & GEREL

FORSYTH, EMILY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17952          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FORSYTHE, ANTOINETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09966          NACHAWATI LAW GROUP

FORSYTHE, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16482          NAPOLI SHKOLNIK, PLLC

FORSYTHE, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06352          ONDERLAW, LLC

FORT, BETTY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10386          BARNES LAW GROUP, LLC

FORT, BETTY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10386          CHEELEY LAW GROUP

FORT, KATHRYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15200          JOHNSON LAW GROUP

FORTE, JOAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12017          THE SEGAL LAW FIRM

FORTI, MARILYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08532          THE MILLER FIRM, LLC

FORTIER, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06351          ONDERLAW, LLC

FORTIER, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13263          THE MILLER FIRM, LLC

FORTNER, GINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02000          FLETCHER V. TRAMMELL

FORTON, EVELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11561          NACHAWATI LAW GROUP

FORTS, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00498          THE SEGAL LAW FIRM

FORTT, LOUISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16966          NACHAWATI LAW GROUP

FORTUNATA LIBERATORE               FEDERAL - MDL                                3:21-CV-18861          MOTLEY RICE, LLC



                                                                              Page 405 of 1405
                              Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                               Appendix A (Part 1) Page 407 of 702

              Claimant Name                           State Filed                       Docket Number                               Plaintiff Counsel

FORTUNATO, EILEEN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L424-18               ROSS FELLER CASEY, LLP

FORTUNE, ERIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13365             FLETCHER V. TRAMMELL

FORY, KAREN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03322             ONDERLAW, LLC

FOSELLA, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16679             THE MILLER FIRM, LLC

FOSS, KAREN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00357             NACHAWATI LAW GROUP

FOSSA, CONSTANCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04537             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOSSELL, LINDA                      CA - SUPERIOR COURT - ORANGE COUNTY          2018-00967024-CU-PL-CXC   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
FOSTEESTATE, EDWIN OF C MCKNIGHT-
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-000312-21           LEVY KONIGSBERG LLP
FOSTER
FOSTER, ANISSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18502             WILLIAMS HART LAW FIRM

FOSTER, BETTYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13141             FLETCHER V. TRAMMELL

FOSTER, BONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02780             GOLDENBERGLAW, PLLC

FOSTER, BRANDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21839             ONDERLAW, LLC

FOSTER, CATHY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08612             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOSTER, CATINNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17921             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOSTER, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08583             ONDERLAW, LLC

FOSTER, DAWN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06798             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOSTER, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18905             NACHAWATI LAW GROUP

FOSTER, DESIREE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09305             ONDERLAW, LLC

FOSTER, DIANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12993             DALIMONTE RUEB, LLP

FOSTER, EVA                         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002450-20           GOLOMB & HONIK, P.C.

FOSTER, GEORGIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00072             ASHCRAFT & GEREL

FOSTER, GERALDINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11741             ONDERLAW, LLC

FOSTER, JANNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17007             NACHAWATI LAW GROUP

FOSTER, JEANIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07671             THE DUGAN LAW FIRM, APLC

FOSTER, JEANITTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14587             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOSTER, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07319             ONDERLAW, LLC

FOSTER, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20314             ONDERLAW, LLC

FOSTER, KRISTEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06547             BURNS CHAREST LLP

FOSTER, KRISTINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13813             SULLO & SULLO, LLP

FOSTER, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11757             COHEN & MALAD, LLP

FOSTER, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441             DONALD L. SCHLAPPRIZZI P.C.

FOSTER, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441             LENZE LAWYERS, PLC

FOSTER, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11757             NIX PATTERSON & ROACH




                                                                               Page 406 of 1405
                               Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                  Desc
                                                               Appendix A (Part 1) Page 408 of 702

               Claimant Name                          State Filed                      Docket Number                                   Plaintiff Counsel

FOSTER, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FOSTER, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19206               ARNOLD & ITKIN LLP

FOSTER, LIZZIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05407               ONDERLAW, LLC

FOSTER, LOTTIE                     CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2017-00032641-CU-PL-NC   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOSTER, LOTTIE                     CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2017-00032641-CU-PL-NC   KIESEL LAW, LLP

FOSTER, MAGGIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10698               NACHAWATI LAW GROUP

FOSTER, MYRNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04767               THE MILLER FIRM, LLC

FOSTER, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03460               ONDERLAW, LLC

FOSTER, NICOLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02259               JOHNSON BECKER, PLLC

FOSTER, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01141               GORI JULIAN & ASSOCIATES, P.C.

FOSTER, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09975               MUELLER LAW PLLC

FOSTER, SHERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08594               WILLIAMS HART LAW FIRM

FOSTER, STACEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17365               FLETCHER V. TRAMMELL

FOSTER, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02762               CELLINO & BARNES, P.C.

FOSTER, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15819               NACHAWATI LAW GROUP

FOSTER, TRACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19596               NACHAWATI LAW GROUP

FOSTER, VICKI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441               DONALD L. SCHLAPPRIZZI P.C.

FOSTER, VICKI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441               LENZE LAWYERS, PLC

FOSTER, VICKI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FOSTER, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14287               ASHCRAFT & GEREL, LLP

FOSTER, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14287               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOSTER, ZIPPORAH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOSTER, ZIPPORAH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792               ONDERLAW, LLC

FOSTER, ZIPPORAH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792               PORTER & MALOUF, PA

FOSTER, ZIPPORAH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792               THE SMITH LAW FIRM, PLLC

FOUCH, KATIE                       MI - CIRCUIT COURT - WAYNE COUNTY            21-007997-NP                SERLING & ABRAMSON, P.C.
FOUCH, T & FOUCH, K EST OF KATIE
                                   MI - CIRCUIT COURT - WAYNE COUNTY            21-007997-NP                KARST & VON OISTE, LLP
FOUCH
FOUCHIE, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03269               ONDERLAW, LLC

FOULKES, SUZANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09567               FLETCHER V. TRAMMELL

FOUNTAIN, CASSANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13711               NACHAWATI LAW GROUP

FOUNTAIN, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09698               ONDERLAW, LLC

FOURNIER, M                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15094               ASHCRAFT & GEREL

FOURNIER, M                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15094               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                              Page 407 of 1405
                            Case 23-12825-MBK                   Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                Appendix A (Part 1) Page 409 of 702

            Claimant Name                              State Filed                      Docket Number                              Plaintiff Counsel

FOURNIER, MONIQUE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18080          NACHAWATI LAW GROUP

FOURNIER, REBECCA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002105-20        GOLOMB & HONIK, P.C.

FOUST, DIANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19607          NACHAWATI LAW GROUP

FOUST, GLADYS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02311          THE MILLER FIRM, LLC

FOUST, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03857          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOUST, LETITIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16973          NACHAWATI LAW GROUP

FOUT, DIANNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13437          THE SEGAL LAW FIRM

FOUT, JEANNIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15504          THE MILLER FIRM, LLC

FOWLE, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOWLE, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

FOWLE, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

FOWLE, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

FOWLER, AZAZIAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02161          ONDERLAW, LLC

FOWLER, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12452          ONDERLAW, LLC

FOWLER, CHERYL                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOWLER, CHERYL                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC

FOWLER, CHERYL                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

FOWLER, CHERYL                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

FOWLER, DAWN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05059          ONDERLAW, LLC

FOWLER, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07121          ONDERLAW, LLC

FOWLER, DIANE AND FOWLER, CLINTON   CA - SUPERIOR COURT - LOS ANGELES            21STCV23555            FROST LAW FIRM, PC

FOWLER, FAITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOWLER, FAITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          GOLDENBERGLAW, PLLC

FOWLER, FAITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          ONDERLAW, LLC

FOWLER, FAITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          PORTER & MALOUF, PA

FOWLER, FAITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          THE SMITH LAW FIRM, PLLC

FOWLER, GAIL                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-55-18            COHEN, PLACITELLA & ROTH

FOWLER, JULIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07621          NACHAWATI LAW GROUP

FOWLER, KAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08148          FOX AND FARLEY

FOWLER, LAURA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11679          NACHAWATI LAW GROUP

FOWLER, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16347          MOORE LAW GROUP PLLC

FOWLER, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08587          ONDERLAW, LLC

FOWLER, MARY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC




                                                                               Page 408 of 1405
                                Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                               Appendix A (Part 1) Page 410 of 702

              Claimant Name                           State Filed                      Docket Number                              Plaintiff Counsel

FOWLER, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

FOWLER, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

FOWLER, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

FOWLER, MOLLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21768          HOLLAND LAW FIRM

FOWLER, NINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01885          FLETCHER V. TRAMMELL

FOWLER, PENNY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14156          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FOWLER, SHERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16993          NACHAWATI LAW GROUP

FOWLER, VICKIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05829          ONDERLAW, LLC

FOX, ANGELA                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002762-21        WEITZ & LUXENBERG

FOX, ANN                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15974          NACHAWATI LAW GROUP

FOX, BONNIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16372          TORHOERMAN LAW LLC

FOX, CAROLYN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11220          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOX, CYNTHIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12964          JOHNSON LAW GROUP

FOX, DEBORAH                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002372-20        GOLOMB & HONIK, P.C.

FOX, DEBRA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06381          ONDERLAW, LLC

FOX, ELDA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19402          CELLINO & BARNES, P.C.

FOX, HELEN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05648          ASHCRAFT & GEREL

FOX, HELEN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05648          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOX, JACQUELINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15007          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOX, JACQUELINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15007          GOLOMB SPIRT GRUNFELD PC

FOX, JEANETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12115          MORELLI LAW FIRM, PLLC

FOX, JOANN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07793          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOX, KATHLEEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10054          BARON & BUDD, P.C.

FOX, LESLIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14109          EISENBERG, ROTHWEILER, WINKLER

FOX, LORRANIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08698          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOX, LORRIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17590          ONDERLAW, LLC

FOX, LORRIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02578          GOLDENBERGLAW PLLC

FOX, MARIE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14468          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FOX, MARJORIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05303          POTTS LAW FIRM

FOX, MEGAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11953          FLETCHER V. TRAMMELL

FOX, MELINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16198          WEXLER WALLACE LLP

FOX, MELISSA AND FOX, MICHAEL      NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-04418-18AS       WEITZ & LUXENBERG

FOX, PAM                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20064          ARNOLD & ITKIN LLP




                                                                              Page 409 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 411 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FOX, SARAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02134          BURNS CHAREST LLP

FOX, SARAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02134          BURNS CHAREST LLP

FOX, STEPHANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09977          GORI JULIAN & ASSOCIATES, P.C.

FOX, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13666          JOHNSON LAW GROUP

FOX, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19122          NACHAWATI LAW GROUP

FOX, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13979          DANIEL & ASSOCIATES, LLC

FOX, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12510          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

FOX, VANESSA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FOX, VANESSA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

FOX, VANESSA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

FOX, VANESSA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

FOX, VANESSA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

FOX, YVETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00918          ROSS FELLER CASEY, LLP

FOXWELL, ROSE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12509          JOHNSON BECKER, PLLC

FOXWORTH, RAYLETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05469          ONDERLAW, LLC

FOXWORTH, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08699          ONDERLAW, LLC

FOY, IOLA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10358          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRACASSE, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13223          REICH & BINSTOCK, LLP

FRAGA, CARRIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03915          ONDERLAW, LLC

FRAILEY, FONG-LING               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18707          JOHNSON LAW GROUP

FRALEY, DOLLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11688          THE MILLER FIRM, LLC

FRANCE, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07808          BISNAR AND CHASE

FRANCES BLANKENSHIP              DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02663          ASHCRAFT & GEREL, LLP

FRANCES BLANKENSHIP              DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02663          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRANCES COSTLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18379          ONDERLAW, LLC

FRANCES GARMAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18266          ONDERLAW, LLC

FRANCES SKITZKI                  FEDERAL - MDL                                3:21-CV-18003          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

FRANCESCHINI, CATHLEEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13344          ONDERLAW, LLC

FRANCESE, PHYLLIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06924          ONDERLAW, LLC

FRANCES-JONES, BRENDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09812          MORRIS BART & ASSOCIATES

FRANCHI, FRANCESCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12033          ONDERLAW, LLC

FRANCINE CAMPBELL                FEDERAL - MDL                                3:21-CV-16912          DAVIS, BETHUNE & JONES, L.L.C.

FRANCIS, AISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05616          JOHNSON LAW GROUP

FRANCIS, ANNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19802          NACHAWATI LAW GROUP



                                                                            Page 410 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 412 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

FRANCIS, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07733          THE ENTREKIN LAW FIRM

FRANCIS, CRYSTAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08358          FLETCHER V. TRAMMELL

FRANCIS, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08945          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRANCIS, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02312          CELLINO & BARNES, P.C.

FRANCIS, FLORENCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08916          ONDERLAW, LLC

FRANCIS, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13165          HEYGOOD, ORR & PEARSON

FRANCIS, MAGGY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07530          REMER & GEORGES-PIERRE, PLLC

FRANCIS, MIKE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06111          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRANCIS, NELDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12529          JOHNSON LAW GROUP

FRANCIS, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19613          NACHAWATI LAW GROUP

FRANCIS, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17000          NACHAWATI LAW GROUP

FRANCISSIMPIER, MORGAN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17531          WEITZ & LUXENBERG

FRANCK, NENITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05790          ONDERLAW, LLC

FRANCO, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03093          ONDERLAW, LLC

FRANCO, CLAUDIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14235          DRISCOLL FIRM, P.C.

FRANCO, GLADYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18481          WATERS & KRAUS, LLP
                                  CA - SUPERIOR COURT - SAN BERNARDINO
FRANCO, JULIE                                                                  CIVDS1823459           BISNAR AND CHASE
                                  COUNTY
FRANCO, MISTI                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002765-21        WEITZ & LUXENBERG

FRANCOIS, CARLA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003224-21        WEITZ & LUXENBERG

FRANCUCK, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19309          NACHAWATI LAW GROUP

FRANGOS, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21305          MORGAN & MORGAN

FRANK, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07321          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRANK, ERIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRANK, ERIN                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-304-18           GOLOMB SPIRT GRUNFELD PC

FRANK, ERIN                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-304-18           LUNDY, LUNDY, SOILEAU & SOUTH, LLP

FRANK, ERIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          ONDERLAW, LLC

FRANK, ERIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          PORTER & MALOUF, PA

FRANK, ERIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          THE SMITH LAW FIRM, PLLC

FRANK, JOANNE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003340-20        MORELLI LAW FIRM, PLLC

FRANK, JOANNE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003340-20        THE SEGAL LAW FIRM

FRANK, JOHNNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06765          THE SIMON LAW FIRM, PC

FRANK, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21190          ROSS FELLER CASEY, LLP

FRANK, KAREN ANITA                BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230670         PRESZLER LAW FIRM LLP




                                                                             Page 411 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 413 of 702

             Claimant Name                          State Filed                       Docket Number                            Plaintiff Counsel
FRANK, LISA L. EST OF JUDITH
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-08377-18AS       LEVY KONIGSBERG LLP
BLANKSCHAEN
FRANK, LOTTIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09732          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRANK, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20476          ASHCRAFT & GEREL, LLP

FRANK, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20476          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRANK, RACHEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02114          ONDERLAW, LLC

FRANK, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02772          ONDERLAW, LLC

FRANKE, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10782          NACHAWATI LAW GROUP

FRANKENBERRY, SUSAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08821          NASS CANCELLIERE BRENNER

FRANKHAUSER, PAULA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13191          FLETCHER V. TRAMMELL

FRANKLIN, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10372          NACHAWATI LAW GROUP

FRANKLIN, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11260          NAPOLI SHKOLNIK, PLLC

FRANKLIN, BRITTIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11491          BARRETT LAW GROUP

FRANKLIN, CYNTHIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002528-20        GOLOMB & HONIK, P.C.

FRANKLIN, DIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11408          ONDERLAW, LLC

FRANKLIN, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10197          ONDERLAW, LLC

FRANKLIN, ELOISE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002451-20        GOLOMB & HONIK, P.C.

FRANKLIN, ELVA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17505          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

FRANKLIN, FELICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15756          NACHAWATI LAW GROUP

FRANKLIN, JEAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01776          ONDERLAW, LLC

FRANKLIN, JESSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01385          ONDERLAW, LLC

FRANKLIN, JOCYLN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19146          MOTLEY RICE, LLC

FRANKLIN, KRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16945          ONDERLAW, LLC

FRANKLIN, LAYNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02317          ONDERLAW, LLC

FRANKLIN, LINDA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1934-16          ASHCRAFT & GEREL

FRANKLIN, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20956          ASHCRAFT & GEREL, LLP

FRANKLIN, LINDA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1934-16          DAMATO LAW FIRM, P.C.

FRANKLIN, LOIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10362          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRANKLIN, MARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01800          DRISCOLL FIRM, P.C.

FRANKLIN, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01896          ONDERLAW, LLC

FRANKLIN, OLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06392          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRANKLIN, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09314          ONDERLAW, LLC

FRANKLIN, RUTH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07177          ONDERLAW, LLC

FRANKLIN, SALLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08690          ONDERLAW, LLC




                                                                             Page 412 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 414 of 702

           Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

FRANKLIN, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05861          MOTLEY RICE, LLC

FRANKLIN, SONIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11735          HENINGER GARRISON DAVIS, LLC

FRANKLIN, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01135          DUGAN LAW FIRM, PLC

FRANKLIN, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15147          ONDERLAW, LLC

FRANKLIN, VERONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FRANKLIN, VERONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FRANKLIN, VERONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FRANKLIN, WAVERLYNN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00519          THE SEGAL LAW FIRM

FRANKLIN-JACKSON, SHARINESE      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002106-20        GOLOMB & HONIK, P.C.

FRANKLIN-KNIGHT, PENNY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09940          NACHAWATI LAW GROUP

FRANKOSKI, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00866          ASHCRAFT & GEREL, LLP

FRANKS, LEANANI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03539          ONDERLAW, LLC

FRANKS, QUANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17281          ONDERLAW, LLC

FRANLIN KIRK                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

FRANS, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09698          MORELLI LAW FIRM, PLLC

FRANTZ, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15851          NACHAWATI LAW GROUP

FRANTZ, KAREN                    NY - SUPREME COURT - NYCAL                   190060/2018            MEIROWITZ & WASSERBERG, LLP

FRANTZ, KAREN                    NY - SUPREME COURT - NYCAL                   190060/2018            MEIROWITZ & WASSERBERG, LLP

FRANTZ, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15908          DRISCOLL FIRM, P.C.

FRANULOVICH-MARTIN, TINA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00736          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FRANZ, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09854          WILLIAMS HART LAW FIRM

FRANZ, MARJORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02831          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRANZEN, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15924          ASHCRAFT & GEREL, LLP

FRANZEN, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15924          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRASCA, JANINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02686          THE SEGAL LAW FIRM

FRASER, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12692          MORELLI LAW FIRM, PLLC

FRASER, NICHOLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01469          FLETCHER V. TRAMMELL

FRASER, NICOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13545          KIESEL LAW, LLP

FRASER, NICOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13545          LAW OFFICE OF HAYTHAM FARAJ

FRASER, NICOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13545          MARTINIAN & ASSOCIATES, INC.

FRASURE, SHAUNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16375          TORHOERMAN LAW LLC

FRATANTARO, LUCIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10299          ASHCRAFT & GEREL

FRATANTARO, LUCIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10299          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRAUSTO, BEATRIZ                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 413 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                          Appendix A (Part 1) Page 415 of 702

            Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

FRAUSTO, BEATRIZ               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRAUSTO, BEATRIZ               CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681549               ONDERLAW, LLC

FRAUSTO, BEATRIZ               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793          ONDERLAW, LLC

FRAUSTO, BEATRIZ               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          ONDERLAW, LLC

FRAUSTO, BEATRIZ               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          PORTER & MALOUF, PA

FRAUSTO, BEATRIZ               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793          PORTER & MALOUF, PA

FRAUSTO, BEATRIZ               CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681549               SALKOW LAW, APC

FRAUSTO, BEATRIZ               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793          THE SMITH LAW FIRM, PLLC

FRAUSTO, BEATRIZ               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          THE SMITH LAW FIRM, PLLC

FRAZEE, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10454          ARNOLD & ITKIN LLP

FRAZER, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05298          ARNOLD & ITKIN LLP

FRAZIER, AGNES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04847          ONDERLAW, LLC

FRAZIER, BERTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18826          THE SEGAL LAW FIRM

FRAZIER, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05969          ONDERLAW, LLC

FRAZIER, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00969          DANIEL & ASSOCIATES, LLC

FRAZIER, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10728          NACHAWATI LAW GROUP

FRAZIER, ELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11090          ONDERLAW, LLC

FRAZIER, GEORGIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08365          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRAZIER, HEATHER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18829          NACHAWATI LAW GROUP

FRAZIER, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03313          JOHNSON LAW GROUP

FRAZIER, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05414          ONDERLAW, LLC

FRAZIER, JULIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18787          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FRAZIER, KATRINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05465          ONDERLAW, LLC

FRAZIER, KELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05558          ONDERLAW, LLC

FRAZIER, KHADIJA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03588          ONDERLAW, LLC

FRAZIER, LAVERNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16840          THE MILLER FIRM, LLC

FRAZIER, LUANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02451          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRAZIER, PAMELA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1524-17          ROSS FELLER CASEY, LLP

FRAZIER, SADIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06515          HENINGER GARRISON DAVIS, LLC

FRAZIER, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01448          EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

FRAZIER, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01448          SALTZ MONGELUZZI & BENDESKY PC

FRAZIER, TONIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FRAZIER, TONIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC




                                                                          Page 414 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 416 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FRAZIER, TONIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FRAZIER, TONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00211          ASHCRAFT & GEREL

FRAZIER, TONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00211          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRAZIER, YOLAND                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08710          THE MILLER FIRM, LLC

FREDELL, SALLY                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

FREDENBURGH, LEONORA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001491-20        GOLOMB & HONIK, P.C.

FREDERIC, SONJA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09067          ONDERLAW, LLC

FREDERICK, ALICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10364          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FREDERICK, AMY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

FREDERICK, AMY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FREDERICK, AMY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

FREDERICK, AMY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

FREDERICK, AMY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

FREDERICK, JENNIFER              DE - SUPERIOR COURT - NEW CASTLE COUNTY      N18C-06-056            NAPOLI SHKOLNIK, PLLC

FREDERICK, JENNIFER              DE - SUPERIOR COURT - NEW CASTLE COUNTY      N18C-06-056            NAPOLI SHKOLNIK, PLLC

FREDERICK, JUANITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08748          ONDERLAW, LLC

FREDERICK, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14226          DRISCOLL FIRM, P.C.

FREDERICK, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11093          ONDERLAW, LLC

FREDERICK, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08467          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FREDERICK, SHERRI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17026          NACHAWATI LAW GROUP

FREDERICKS, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10076          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FREDERICKS, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15757          GIRARDI & KEESE

FREDERICKS, ROBERTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08019          ASHCRAFT & GEREL

FREDRICK, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11864          NAPOLI SHKOLNIK, PLLC

FREDRICK, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08287          FLETCHER V. TRAMMELL

FREDRICKS, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00277          FLETCHER V. TRAMMELL

FREDRICKSON, MELISSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16904          ASHCRAFT & GEREL, LLP

FREDSALL, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11719          JOHNSON LAW GROUP

FREE, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07346          NAPOLI SHKOLNIK, PLLC

FREEBURG, SHAUN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19640          ONDERLAW, LLC

FREELAND, CHARLOTTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12496          JOHNSON BECKER, PLLC

FREEMAN, ALETHA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L002453-20         GOLOMB & HONIK, P.C.

FREEMAN, BELINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19627          NACHAWATI LAW GROUP




                                                                            Page 415 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                         Appendix A (Part 1) Page 417 of 702

           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

FREEMAN, BELINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20644          ONDERLAW, LLC

FREEMAN, BENNETTA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-434-18           KEEFE BARTELS

FREEMAN, BENNETTA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-434-18           LAW OFFICE OF GRANT D. AMEY, LLC

FREEMAN, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05853          ONDERLAW, LLC

FREEMAN, BLANCHE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10058          ONDERLAW, LLC

FREEMAN, CARMEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07391          ONDERLAW, LLC

FREEMAN, COLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09477          PARKER WAICHMAN, LLP

FREEMAN, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17062          NACHAWATI LAW GROUP

FREEMAN, DONNARAE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16405          MOTLEY RICE, LLC

FREEMAN, EMERALD              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05608          ONDERLAW, LLC

FREEMAN, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05898          NAPOLI SHKOLNIK, PLLC

FREEMAN, JACQUELYN            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001469-20        GOLOMB & HONIK, P.C.

FREEMAN, JEANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20582          ONDERLAW, LLC

FREEMAN, JESSICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17110          NACHAWATI LAW GROUP

FREEMAN, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17093          NACHAWATI LAW GROUP

FREEMAN, JULIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17069          NACHAWATI LAW GROUP

FREEMAN, KIM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FREEMAN, KIM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

FREEMAN, KIM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

FREEMAN, KIM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

FREEMAN, KIMBERLEY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15050          JOHNSON LAW GROUP

FREEMAN, KIMBERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01486          BURNS CHAREST LLP

FREEMAN, KIMBERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01486          BURNS CHAREST LLP

FREEMAN, LANEICE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002931-18        GOLOMB SPIRT GRUNFELD PC

FREEMAN, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17036          NACHAWATI LAW GROUP

FREEMAN, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19577          ASHCRAFT & GEREL, LLP

FREEMAN, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19577          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FREEMAN, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16735          MORELLI LAW FIRM, PLLC

FREEMAN, MELANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01560          ONDERLAW, LLC

FREEMAN, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21069          ASHCRAFT & GEREL

FREEMAN, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21069          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FREEMAN, ROBERTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17079          NACHAWATI LAW GROUP

FREEMAN, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FREEMAN, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC



                                                                         Page 416 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 418 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FREEMAN, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

FREEMAN, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

FREEMAN, TERREZ                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10435          ONDERLAW, LLC

FREEMAN, VICTORIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

FREEMAN, VIRGINIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11065          ONDERLAW, LLC

FREEMAN-CALLAHAN, LEATHA       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12601          HOSSLEY EMBRY LLP

FREETHY-HOCKRIDGE, JOAN        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13644          THE DUGAN LAW FIRM

FREEZE, IRENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10273          THE SEGAL LAW FIRM

FREGER, VICTORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FREGER, VICTORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FREGER, VICTORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FREIBURGER, BARBARA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01140          NACHAWATI LAW GROUP

FREIDA, ANNAMARIE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FREIDA, ANNAMARIE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

FREIDA, ANNAMARIE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

FREIDA, ANNAMARIE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

FREIER, CATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20287          CELLINO & BARNES, P.C.

FREITAS, PHYLLIS               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FREITAS, PHYLLIS               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

FREITAS, PHYLLIS               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

FRELIGH, AMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18287          WEITZ & LUXENBERG

FRELIX, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13391          GOLOMB & HONIK, P.C.

FREMOUNT, MICHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09176          DAVIS, BETHUNE & JONES, L.L.C.

FREMOUNT, ROSALYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17377          ONDERLAW, LLC

FRENCH, CLARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03115          SULLO & SULLO, LLP

FRENCH, CYNDEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05924          ONDERLAW, LLC

FRENCH, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00242          JOHNSON BECKER, PLLC

FRENCH, GENEVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12881          THE MILLER FIRM, LLC

FRENCH, GLENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06636          ARNOLD & ITKIN LLP

FRENCH, JEANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12050          THE MILLER FIRM, LLC

FRENCH, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13410          NACHAWATI LAW GROUP

FRENCH, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06270          ONDERLAW, LLC

FRENCH, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11968          NACHAWATI LAW GROUP

FRENDO, MELISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09973          ONDERLAW, LLC



                                                                          Page 417 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 419 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

FRERES, REGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04196          ONDERLAW, LLC

FRERICHS, MARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11840          NACHAWATI LAW GROUP

FREUDENTHAL, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04837          JOHNSON LAW GROUP

FREW, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14494          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FREY, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15456          ONDERLAW, LLC

FRIAS, GIANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17640          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FRICK, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FRICK, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15420          LENZE LAWYERS, PLC

FRICK, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FRICK, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15420          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FRICK, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FRIE, ERIK                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04450          PETERSON & ASSOCIATE, P.C.

FRIE, ROSALIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FRIE, ROSALIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FRIE, ROSALIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FRIED, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06456          THE SEGAL LAW FIRM

FRIEDMAN, MADELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03780          CELLINO & BARNES, P.C.

FRIEDRICH, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17358          ONDERLAW, LLC

FRIEDRICH, LILLIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10200          ONDERLAW, LLC

FRIEND, DARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRIEND, DARLENE                   CA - SUPERIOR COURT - SAN BENITO             CU-17-00162            ONDERLAW, LLC

FRIEND, DARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          ONDERLAW, LLC

FRIEND, DARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          PORTER & MALOUF, PA

FRIEND, DARLENE                   CA - SUPERIOR COURT - SAN BENITO             CU-17-00162            SALKOW LAW, APC

FRIEND, DARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          THE SMITH LAW FIRM, PLLC

FRIEND, GLENNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12315          POTTS LAW FIRM

FRIEND, MARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10367          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRIGON, MICKEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11000          ASHCRAFT & GEREL

FRISBIE-JONES, ANITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00380          ASHCRAFT & GEREL

FRISBY, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00099          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

FRISCHOLZ, RUTH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17062          JOHNSON LAW GROUP

FRISCO, CARIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13394          NACHAWATI LAW GROUP

FRISSORA, ANNETTE                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004867-21        WEITZ & LUXENBERG

FRITCH, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12668          DRISCOLL FIRM, P.C.



                                                                             Page 418 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 420 of 702

              Claimant Name                          State Filed                       Docket Number                            Plaintiff Counsel

FRITSON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09823          ONDERLAW, LLC

FRITZ, DARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14319          THE MILLER FIRM, LLC

FRITZ, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09819          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRITZ, SHEILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10060          ONDERLAW, LLC

FRITZ, TANYA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002529-20        GOLOMB & HONIK, P.C.

FRIZELL, CHEREE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09555          ONDERLAW, LLC

FRIZELL, MARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14345          WILLIAMS HART LAW FIRM

FROCK, MEGHAN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001492-20        GOLOMB & HONIK, P.C.

FROELICH, LEONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11382          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FROGGE, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17114          NACHAWATI LAW GROUP

FRONCHECK, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07473          ONDERLAW, LLC

FRONK, SUZANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10597          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FROST, BELINDA AND FROST, THOMAS   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1030              SWMW LAW, LLC

FROST, CHRISTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11385          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

FROST, CHRISTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05790          ONDERLAW, LLC

FROST, ELLEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10878          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FROST, FU-CHYUNG                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11601          NACHAWATI LAW GROUP

FROST, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00853          BROWN CHIARI LLP

FROST, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15925          DRISCOLL FIRM, P.C.

FROST, SHERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17130          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FROST-PEMBERTON, ELIZABETH         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17589          ONDERLAW, LLC

FROTHINGHAM, TONI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11692          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FROWNFELTER, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10609          ONDERLAW, LLC

FRUCIANO, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11396          NACHAWATI LAW GROUP

FRUGE, ASHLEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11003          MORRIS BART & ASSOCIATES

FRY, JOAN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06129          ONDERLAW, LLC

FRY, LAURA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15299          CELLINO & BARNES, P.C.

FRY, ROXY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07810          BISNAR AND CHASE

FRY, SALLY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09729          ONDERLAW, LLC

FRYE, CECELIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03960          THE SEGAL LAW FIRM

FRYE, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08691          ONDERLAW, LLC

FRYE, KATHLEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11074          JOHNSON BECKER, PLLC

FRYE, KATHY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01320          ASHCRAFT & GEREL




                                                                              Page 419 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 421 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

FRYE, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01320          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRYE, SARAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12688          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FRYE-MORAGNE, ANN                IL - CIRCUIT COURT - COOK COUNTY             2017-L-13316           CLIFFORD LAW OFFICES, P.C.

FRYE-MORAGNE, ANN                IL - CIRCUIT COURT - COOK COUNTY             2017-L-13316           TAFT STETTINIUS & HOLLISTER LLP

FRYE-POE, LANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05148          ONDERLAW, LLC

FRYER, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17732          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

FRYMIRE, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08693          BURNS CHAREST LLP

FRYREAR, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12536          DRISCOLL FIRM, P.C.

FUCHS, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13454          ONDERLAW, LLC

FUDGE-HITE, FLORENCE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11007          THE SIMON LAW FIRM, PC

FUECHSEL, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14227          JOHNSON LAW GROUP

FUEL, LOYA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13249          ONDERLAW, LLC

FUENTES, PATSY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-660-16           SEEGER WEISS LLP

FUGATE, ANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08841          ONDERLAW, LLC

FUGATE, VONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FUGATE, VONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FUGATE, VONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FUGIEL, DEBRA                    IL - CIRCUIT COURT - COOK COUNTY             2018-L-1806            CLIFFORD LAW OFFICES, P.C.

FUGIEL, DEBRA                    IL - CIRCUIT COURT - COOK COUNTY             2018-L-1806            TAFT STETTINIUS & HOLLISTER LLP

FUGLER, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08928          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

FUHR, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01242          THE CARLSON LAW FIRM

FUHRMAN, MARGARETE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12664          DRISCOLL FIRM, P.C.

FUJII, KRYSTAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09572          JOHNSON LAW GROUP

FULEP, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11186          WEXLER WALLACE LLP

FULFER, WANDA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002606-20        GOLOMB & HONIK, P.C.

FULGIONE, ELEANOR                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06514          HENINGER GARRISON DAVIS, LLC

FULK, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02716          SIMMONS HANLY CONROY

FULKERSON, CHRISTINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11865          ARNOLD & ITKIN LLP

FULKERSON, ELRINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17765          ASHCRAFT & GEREL, LLP

FULKERSON, ELRINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17765          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FULKERSON, PHOEBE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14500          ONDERLAW, LLC

FULLARD, FELISHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18363          NACHAWATI LAW GROUP

FULLEM, GEORGIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03536          BLIZZARD & NABERS, LLP

FULLEN, RICHARD                  NY - SUPREME COURT - NYCAL                   190065/2018            MEIROWITZ & WASSERBERG, LLP



                                                                            Page 420 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 422 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

FULLEN, RICHARD W              NY - SUPREME COURT - NYCAL                   190065/2018            MEIROWITZ & WASSERBERG, LLP

FULLER, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20217          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FULLER, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05371          ONDERLAW, LLC

FULLER, DIANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09868          MORRIS BART & ASSOCIATES

FULLER, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21313          FLETCHER V. TRAMMELL

FULLER, JESSICA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002759-21        WEITZ & LUXENBERG

FULLER, KARLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03830          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

FULLER, KATHLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10370          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FULLER, LILLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09388          FLETCHER V. TRAMMELL

FULLER, LYNN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08386          ASHCRAFT & GEREL

FULLER, LYNN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08386          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FULLER, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13044          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FULLER, OTHELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10082          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FULLER, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11643          ARNOLD & ITKIN LLP

FULLER, PEARL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07119          ONDERLAW, LLC

FULLER, ROBIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02606          MOTLEY RICE, LLC

FULLER, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17115          NACHAWATI LAW GROUP

FULLER, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05062          THE MILLER FIRM, LLC

FULLER, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10052          GORI JULIAN & ASSOCIATES, P.C.

FULLER, TAMBRIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11263          ASHCRAFT & GEREL

FULLER, THRESIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11070          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

FULLER, TIPPHANY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08925          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FULLER-CROUCH, LEAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22140          LENZE LAWYERS, PLC

FULLERTON, ANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09443          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FULLERTON, ESTELITA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19134          NACHAWATI LAW GROUP

FULLMORE, MIA                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC628366               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FULMER, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06493          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FULMER, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09637          ONDERLAW, LLC

FULP, CHRISTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09894          ONDERLAW, LLC

FULTON, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02910          BURNS CHAREST LLP

FULTON, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02910          BURNS CHAREST LLP

FULTON, DOLORES                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

FULTON, HOLLI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13915          KIESEL LAW, LLP

FULTON, HOLLI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13915          LAW OFFICE OF HAYTHAM FARAJ



                                                                          Page 421 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 423 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

FULTON, HOLLI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13915          MARTINIAN & ASSOCIATES, INC.

FULTON, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06566          ONDERLAW, LLC

FULTON, TARITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17116          NACHAWATI LAW GROUP

FULTON, WINIFRED                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001808-18        COHEN, PLACITELLA & ROTH

FULTZ, DAWNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02303          ONDERLAW, LLC

FUNDERBURK, ANNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03269          ASHCRAFT & GEREL

FUNDERBURK, ANNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03269          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FUNDERBURK, DORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12719          NAPOLI SHKOLNIK, PLLC

FUNDERBURKE, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18894          NACHAWATI LAW GROUP

FUNES, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14401          ONDERLAW, LLC

FUNG, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07190          BLIZZARD & NABERS, LLP

FUNT, CAROLINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02180          WEXLER WALLACE LLP

FUOCCO, CHARLENE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

FUOCCO, CHARLENE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

FUOCCO, CHARLENE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

FUOCO, CHARLENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FUOCO, CHARLENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

FUOCO, CHARLENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

FUOCO, CHARLENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

FUOCO, CHARLENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

FUOSS, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11268          ASHCRAFT & GEREL

FUQUA, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07100          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FUQUAY, BINRU                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10551          LIAKOS LAW APC

FUQUAY, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14286          ASHCRAFT & GEREL, LLP

FUQUAY, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14286          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FURBY, REVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11115          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

FURHMAN, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01352          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FURIA, MARINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05392          JOHNSON LAW GROUP

FURLONG, CRYSTAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08505          NACHAWATI LAW GROUP

FURMAN, BETZY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03248          ONDERLAW, LLC

FURNISH, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10965          ASHCRAFT & GEREL

FURY, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02787          ONDERLAW, LLC

FUSARO, CARMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19318          CELLINO & BARNES, P.C.




                                                                             Page 422 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 424 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

FUSCO, REGINA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002373-20        GOLOMB & HONIK, P.C.

FUSEK, BETSY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00056          ONDERLAW, LLC

FUSELIER, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07522          ASHCRAFT & GEREL

FUSELIER, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07522          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FUSELLO, KRISTIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12246          CELLINO & BARNES, P.C.

FUSON, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14055          THE MILLER FIRM, LLC

FUSON, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05211          ONDERLAW, LLC

FUSSELL, JOSEPHINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13213          ONDERLAW, LLC

FUST, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12394          BARNES LAW GROUP, LLC

FUST, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12394          CHEELEY LAW GROUP

FUTADO, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13980          WILLIAMS HART LAW FIRM

FUTCH, LESLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

FUTCH, LESLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15113          LENZE LAWYERS, PLC

FUTCH, LESLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

FUTCH, LESLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15113          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FUTCH, LESLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

FUTCH, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09517          THE MILLER FIRM, LLC

FUTERMAN, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14825          MUELLER LAW PLLC

FUZESSY, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18719          ASHCRAFT & GEREL

FUZESSY, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18719          ASHCRAFT & GEREL

FYHRIE, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03697          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

FYLER, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14710          ARNOLD & ITKIN LLP

FYOCK, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07563          JOHNSON LAW GROUP

GAAL, TAMARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04048          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GABALDON, EPITACIO               IL - CIRCUIT COURT - MADISON COUNTY          2020-L-000922          DICKEY LAW FIRM, LLP

GABBARD, PENELOPE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12906          BARRETT LAW GROUP

GABBERT, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01038          NAPOLI SHKOLNIK, PLLC

GABBERT-ROBERTSON, MARVALEE      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20200          HOLLAND LAW FIRM

GABBITAS, ERMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08176          FLETCHER V. TRAMMELL

GABEL, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06513          HENINGER GARRISON DAVIS, LLC

GABLE, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05075          NAPOLI SHKOLNIK, PLLC

GABLE, ERNESTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11259          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GABLE, JADE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13888          ONDERLAW, LLC

GABLE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09756          ONDERLAW, LLC



                                                                            Page 423 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 425 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GABLER, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15284          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GABLER, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02835          ONDERLAW, LLC

GABREE, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17117          NACHAWATI LAW GROUP

GABRIEL, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17119          NACHAWATI LAW GROUP

GABRIEL, DEBRA                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02753          ASHCRAFT & GEREL

GABRIEL, DEBRA                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02753          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GABRIELE, ALICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14995          JOHNSON LAW GROUP

GABRIELE, CARMELA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

GABRIELE, CARMELA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

GABRIELE, CARMELA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

GABRION, LUCINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11827          NACHAWATI LAW GROUP

GABRISZESKI, NANCY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09294          ONDERLAW, LLC

GABUTIN, ROSALINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13060          ONDERLAW, LLC

GACCETTA, WANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02346          JOHNSON LAW GROUP

GADBERRY, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03423          FLETCHER V. TRAMMELL

GADD, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04165          LENZE KAMERRER MOSS, PLC

GADD, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14875          NACHAWATI LAW GROUP

GADDIE, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07635          ONDERLAW, LLC

GADDY, DENICKA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12615          ARNOLD & ITKIN LLP

GADFIELD, MERRY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12704          NAPOLI SHKOLNIK, PLLC

GADSDEN, MINNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11239          CELLINO & BARNES, P.C.

GADSON, CAROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06562          ONDERLAW, LLC

GADSON, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12482          FRAZER LAW LLC

GADSON, OCTAVIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06587          ONDERLAW, LLC

GADSON, ROSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02298          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

GAETAN, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08561          JOHNSON LAW GROUP

GAFFEY, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12891          FLETCHER V. TRAMMELL

GAFFEY, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00184          CELLINO & BARNES, P.C.

GAFFNEY, ALEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12178          DAVIS, BETHUNE & JONES, L.L.C.

GAFFNEY, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08740          ONDERLAW, LLC

GAFFNEY, KAYLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17400          SIMMONS HANLY CONROY

GAFFNEY, MYRNA                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02720          ASHCRAFT & GEREL, LLP

GAFFNEY, MYRNA                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAFFORD, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01504          MORRIS BART & ASSOCIATES



                                                                         Page 424 of 1405
                              Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                                Appendix A (Part 1) Page 426 of 702

              Claimant Name                            State Filed                      Docket Number                               Plaintiff Counsel

GAGE, HATTIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03162          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAGE, HAZEL                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17137          NACHAWATI LAW GROUP

GAGE, LINDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04542          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAGE, WANDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04451          FLEMING, NOLEN & JEZ, LLP

GAGLIANO, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09656          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAGLIARDI, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08551          MOTLEY RICE, LLC

GAGLIARDI, ROSALIA                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03805-18AS       LOCKS LAW FIRM
GAGLIARDI, ROSALIA AND GAGLIARDI,
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03805-18AS       LEVY KONIGSBERG LLP
ENRICO
GAGLIARDI, THERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09439          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAGLIARDI-JEAN, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02536          ONDERLAW, LLC

GAGNE, SUSAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00327          WAGSTAFF & CARTMELL, LLP

GAGNON, GEORGEANNE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAGNON, GEORGEANNE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

GAGNON, GEORGEANNE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

GAIGL, CHRISTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12290          ONDERLAW, LLC

GAIL CHAVIS                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18257          ONDERLAW, LLC

GAIL JOHNSON                        FEDERAL - MDL                                3:21-CV-18377          FLETCHER V. TRAMMELL

GAIL TRAVER                         FEDERAL - MDL                                3:21-CV-16139          SLATER, SLATER, SCHULMAN, LLP

GAINER, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15039          WEITZ & LUXENBERG

GAINES, AGNES                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10737          ONDERLAW, LLC

GAINES, BESSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00364          MORELLI LAW FIRM, PLLC

GAINES, CATHERINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21336          BARRETT LAW GROUP

GAINES, CELESTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10283          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAINES, FAY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03804          THE KING FIRM

GAINES, GWENDOLYN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001617-21        GOLOMB & HONIK, P.C.

GAINES, HEATHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01483          JOHNSON LAW GROUP

GAINES, LYNN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12520          ARNOLD & ITKIN LLP

GAINES, PEARL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11409          CELLINO & BARNES, P.C.

GAINES, SHARI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12596          BARRETT LAW GROUP

GAINES-DANIEL, JULIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05091          ONDERLAW, LLC

GAINEY, AMANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04197          WILLIAMS HART LAW FIRM

GAINEY, JEANETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19544          THE SEGAL LAW FIRM

GAINEY, MARY                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002710-20        GOLOMB & HONIK, P.C.




                                                                               Page 425 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 427 of 702

              Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

GAIR-LEVIN, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08728          ONDERLAW, LLC

GAITANOS, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07373          THE DUGAN LAW FIRM, APLC

GAITER, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15086          WATERS & KRAUS, LLP

GAIUS, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11989          POTTS LAW FIRM

GAJAFSKY, JESSICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01510          ONDERLAW, LLC

GALADE, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12446          WATERS & KRAUS, LLP

GALAN, MELVIN AND GALAN, LOUISE   NY - SUPREME COURT - NYCAL                   190287/2020            LEVY KONIGSBERG LLP

GALANG, AUDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00166          LAW OFF OF ISAAC TOVEG PROFESSIONAL

GALANIS, TEDDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13816          ONDERLAW, LLC

GALANTE, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13456          ONDERLAW, LLC

GALANTI, JANET                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004123-20        THE MILLER FIRM, LLC

GALANTO, SYLVIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10935          ONDERLAW, LLC

GALAT, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GALAT, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GALAT, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GALATI, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02454          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GALAVIZ, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21150          FLETCHER V. TRAMMELL

GALAYDA, EDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02048          TRAMMELL PC

GALBIS, ELY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19899          CELLINO & BARNES, P.C.

GALBREATH, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10258          GORI JULIAN & ASSOCIATES, P.C.

GALBREATH, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11067          ONDERLAW, LLC

GALBRETH, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08856          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GALDAMEZ, YESENIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19166          NACHAWATI LAW GROUP

GALE, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13191          JOHNSON LAW GROUP

GALEANO, IRMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04952          ONDERLAW, LLC

GALES, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04002          ONDERLAW, LLC

GALES, LATONYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07296          ONDERLAW, LLC

GALIAZZI, MARIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           ONDERLAW, LLC

GALIAZZI, MARIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           PORTER & MALOUF, PA

GALIAZZI, MARIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           THE SMITH LAW FIRM, PLLC

GALIMORE, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07610          ONDERLAW, LLC

GALINDO, CLARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11228          THE MILLER FIRM, LLC

GALINDO, NOREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17142          NACHAWATI LAW GROUP




                                                                             Page 426 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                           Appendix A (Part 1) Page 428 of 702

             Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

GALINDO, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07126          ONDERLAW, LLC

GALL, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10296          THE MILLER FIRM, LLC

GALLAGHER, ANTONIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04824          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GALLAGHER, CECELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14290          DANIEL & ASSOCIATES, LLC

GALLAGHER, CELIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10013          DIAMOND LAW

GALLAGHER, JANETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14822          JOHNSON LAW GROUP

GALLAGHER, MELISSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00725          CELLINO & BARNES, P.C.

GALLAGHER, RACHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01971          ASHCRAFT & GEREL

GALLAGHER, RACHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01971          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GALLAGHER, REGINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04516          THE BENTON LAW FIRM, PLLC

GALLAGHER, RUTHANNE RHODES      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14044          HILLIARD MARTINEZ GONZALES, LLP

GALLAGHER, TERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13018          MARLIN & SALTZMAN LLP

GALLAGOS, BEVERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07625          ONDERLAW, LLC

GALLANT, ANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10209          ARNOLD & ITKIN LLP

GALLANT, DENISE MICHELLE        BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230665         PRESZLER LAW FIRM LLP

GALLARDO, ANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10840          ONDERLAW, LLC

GALLATY, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17242          ASHCRAFT & GEREL, LLP

GALLATY, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17242          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GALLAUGHER, RENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02101          ONDERLAW, LLC

GALLEGOS, ANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10089          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GALLEGOS, GINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01770          PARKER WAICHMAN, LLP

GALLEGOS, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07552          GORI JULIAN & ASSOCIATES, P.C.

GALLEGOS, JOSEFINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08695          WILLIAMS HART LAW FIRM

GALLEGOS, KIM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13521          FLETCHER V. TRAMMELL

GALLEGOS, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19532          MOTLEY RICE, LLC

GALLEY, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11293          SIMMONS HANLY CONROY

GALLIA, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10256          GORI JULIAN & ASSOCIATES, P.C.

GALLIMORE, AIMEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16295          NACHAWATI LAW GROUP

GALLINARO, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06395          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GALLNITZ, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06899          ASHCRAFT & GEREL, LLP

GALLO, ELIZABETH                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2711-17          COHEN, PLACITELLA & ROTH

GALLO, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15929          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

GALLO, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17165          THE MILLER FIRM, LLC




                                                                           Page 427 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 429 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GALLOT, CASSANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00087          MORRIS BART & ASSOCIATES

GALLOW, LORENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19111          BARON & BUDD, P.C.

GALLOW, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05278          ONDERLAW, LLC

GALLOWAY, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07791          ONDERLAW, LLC

GALLOWAY, LUELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09824          FLETCHER V. TRAMMELL

GALLOWAY, ROXIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09085          ONDERLAW, LLC

GALLOWAY, YVONNE                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV323998             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GALLOWAY, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04990          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GALLOWAY, YVONNE                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV323998             KIESEL LAW, LLP

GALLOWAY, YVONNE                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV323998             THE SMITH LAW FIRM, PLLC

GALLUP, REGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15370          DAVIS, BETHUNE & JONES, L.L.C.

GALLUP, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16142          ASHCRAFT & GEREL, LLP

GALLUP, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16142          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GALOVSKI, MIRJANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07711          DALIMONTE RUEB, LLP

GALPIN, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16705          WEXLER WALLACE LLP

GALVAN, IRMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14676          JOHNSON LAW GROUP

GALVEZ, APRIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10901          ASHCRAFT & GEREL, LLP

GALVEZ, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15090          WATERS & KRAUS, LLP

GAMACHE, REID                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18961          ASHCRAFT & GEREL, LLP

GAMAGE, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13111          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAMAUNT, JOANNE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAMAUNT, JOANNE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

GAMAUNT, JOANNE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

GAMAUNT, JOANNE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

GAMAUNT, JOANNE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

GAMBEL, LYNNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01811          ASHCRAFT & GEREL

GAMBEL, LYNNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01811          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAMBINO, CHRISTINA                CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV324488             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAMBINO, CHRISTINA                CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV324488             KIESEL LAW, LLP

GAMBINO-PELUSO, ANTONIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03949          ONDERLAW, LLC

GAMBLE, FRANCINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09550          ONDERLAW, LLC

GAMBLE, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00937          CHAFFIN LUHANA LLP




                                                                             Page 428 of 1405
                           Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 430 of 702

           Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

GAMBLE, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10204          ONDERLAW, LLC

GAMBLE, WILLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17186          MORELLI LAW FIRM, PLLC

GAMBLES, TAMATHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05368          ONDERLAW, LLC

GAMBLIN, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01293          JOHNSON LAW GROUP

GAMBLIN, VERONA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01133          JOHNSON LAW GROUP

GAMBOA, ADRIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09479          BISNAR AND CHASE

GAMBOE, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19819          NACHAWATI LAW GROUP

GAMBREL, SUSIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13818          ONDERLAW, LLC

GAMELIN, ROSEMARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15437          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

GAMER, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15713          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAMEZ, CRYSTAL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11408          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GAMEZ, DANIELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17149          NACHAWATI LAW GROUP

GAMEZ, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05169          ONDERLAW, LLC

GAMIERE, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19180          NACHAWATI LAW GROUP

GAMMELL, LORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15910          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GANGE, ANNMARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07499          ONDERLAW, LLC

GANIERE, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08188          ONDERLAW, LLC

GANLEY, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09489          ONDERLAW, LLC

GANN, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01715          JOHNSON LAW GROUP

GANN, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04679          ONDERLAW, LLC

GANN, SHERRY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GANN, SHERRY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

GANN, SHERRY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

GANN, SHERRY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

GANN, SHERRY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

GANSBERG, JEFFREY              IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

GANSKY-STEVENS, MARY           NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05169-18AS       WEITZ & LUXENBERG
GANTMAN, MURIEL C & GANTMAN,
                               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1922-CC11781           KARST & VON OISTE, LLP
STANLEY H
GANTMAN, STANLEY               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1922-CC11781           FLINT LAW FIRM LLC

GANTT, ADRIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10890          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GANTT, SYLVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03466          ONDERLAW, LLC

GANTZ, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13308          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GANZ, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11568          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                          Page 429 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 431 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

GAPAC, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17161          NACHAWATI LAW GROUP

GAPPMAYER, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06397          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARABEDIAN, ANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11497          CELLINO & BARNES, P.C.

GARAFALO, DALE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002163-18        GOLOMB & HONIK, P.C.

GARAVAGLIA, AMANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16623          NACHAWATI LAW GROUP

GARBER, ELLEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17135          CELLINO & BARNES, P.C.

GARBER, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17423          FLETCHER V. TRAMMELL

GARBETT, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03865          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARBRECHT, MELISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21132          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARCES, ELOISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08935          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARCES, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19093          ONDERLAW, LLC

GARCIA, ADELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18286          ARNOLD & ITKIN LLP

GARCIA, ANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18177          GORI JULIAN & ASSOCIATES, P.C.

GARCIA, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06101          THE ENTREKIN LAW FIRM

GARCIA, ANNMARIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003064-21        WEITZ & LUXENBERG

GARCIA, BERTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11799          NACHAWATI LAW GROUP

GARCIA, BERTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04138          ONDERLAW, LLC

GARCIA, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01990          JOHNSON LAW GROUP

GARCIA, BLANCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09526          ONDERLAW, LLC

GARCIA, CARMEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17168          NACHAWATI LAW GROUP

GARCIA, CAROLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14959          HILLIARD MARTINEZ GONZALES, LLP

GARCIA, CHRYSIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10808          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARCIA, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14557          JOHNSON LAW GROUP

GARCIA, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11004          ONDERLAW, LLC

GARCIA, DALILA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-334-18           DARCY JOHNSON DAY, P.C.

GARCIA, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14392          JOHNSON LAW GROUP

GARCIA, DEBRA                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327347             THE MILLER FIRM, LLC

GARCIA, DEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17422          ONDERLAW, LLC

GARCIA, DEIDRE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15538          THE MILLER FIRM, LLC

GARCIA, DINAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02301          ONDERLAW, LLC

GARCIA, DOLORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03338          ONDERLAW, LLC

GARCIA, EDWARD AND LISA          NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01515-17AS       WEITZ & LUXENBERG

GARCIA, ELIDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08675          ONDERLAW, LLC




                                                                            Page 430 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 432 of 702

              Claimant Name                         State Filed                      Docket Number                               Plaintiff Counsel

GARCIA, ELISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19122          FLETCHER V. TRAMMELL

GARCIA, ELISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19122          WILLIAMS HART LAW FIRM

GARCIA, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00575          DIAMOND LAW

GARCIA, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19637          NACHAWATI LAW GROUP

GARCIA, ERLINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14864          LENZE LAWYERS, PLC

GARCIA, ERLINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14864          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GARCIA, ESTER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15527          WAGSTAFF & CARTMELL, LLP

GARCIA, GRACIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16580          ONDERLAW, LLC

GARCIA, GUADALUPE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12667          DRISCOLL FIRM, P.C.

GARCIA, GUADALUPE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03540          ONDERLAW, LLC

GARCIA, HILDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18802          MOTLEY RICE, LLC

GARCIA, JENNIFER                 NY - SUPREME COURT - NYCAL                   190064/2018            MEIROWITZ & WASSERBERG, LLP

GARCIA, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01985          ONDERLAW, LLC

GARCIA, JENNY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11058          WILLIAMS HART LAW FIRM

GARCIA, JOLYNN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13268          NACHAWATI LAW GROUP

GARCIA, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11213          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARCIA, JUANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10837          NACHAWATI LAW GROUP

GARCIA, KIM                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARCIA, KIM                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

GARCIA, KIM                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

GARCIA, KIM                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

GARCIA, KIM                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

GARCIA, LAURIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05905          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARCIA, LAURIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18629          DRISCOLL FIRM, P.C.

GARCIA, LILLIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARCIA, LILLIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          ONDERLAW, LLC

GARCIA, LILLIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          PORTER & MALOUF, PA

GARCIA, LILLIAN                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318637             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GARCIA, LILLIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          THE SMITH LAW FIRM, PLLC

GARCIA, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11701          NACHAWATI LAW GROUP

GARCIA, LOUISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08290          THE ALARID LAW FIRM, P.C.

GARCIA, LUPE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18341          NAPOLI SHKOLNIK, PLLC

GARCIA, MARIA                    NY - SUPREME COURT - NYCAL                   190061/2018            MEIROWITZ & WASSERBERG, LLP




                                                                            Page 431 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 433 of 702

              Claimant Name                         State Filed                      Docket Number                             Plaintiff Counsel

GARCIA, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01545          ONDERLAW, LLC

GARCIA, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06571          ONDERLAW, LLC

GARCIA, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20574          ONDERLAW, LLC

GARCIA, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12363          POTTS LAW FIRM

GARCIA, MARIA V                  NY - SUPREME COURT - NYCAL                   190061/2018            MEIROWITZ & WASSERBERG, LLP

GARCIA, MARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20575          ONDERLAW, LLC

GARCIA, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09639          FLETCHER V. TRAMMELL

GARCIA, MERCEDES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10592          ONDERLAW, LLC

GARCIA, MIDIAM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09175          DAVIS, BETHUNE & JONES, L.L.C.

GARCIA, MINERVA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10542          SANDERS VIENER GROSSMAN, LLP

GARCIA, NATALIE                  CA - SUPERIOR COURT - IMPERIAL COUNTY        ECU09404               DICKSON KOHAN & BABLOVE LLP

GARCIA, NORA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08268          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARCIA, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16139          DALIMONTE RUEB, LLP

GARCIA, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07195          ONDERLAW, LLC

GARCIA, PEGGY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04484          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARCIA, PERCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06944          CHILDERS, SCHLUETER & SMITH, LLC

GARCIA, RALPH                    NY - SUPREME COURT - NYCAL                   190392/2017            MEIROWITZ & WASSERBERG, LLP

GARCIA, RALPH                    NY - SUPREME COURT - NYCAL                   190392/2017            MEIROWITZ & WASSERBERG, LLP

GARCIA, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GARCIA, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GARCIA, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08462          ONDERLAW, LLC

GARCIA, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GARCIA, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12375          DAVIS, BETHUNE & JONES, L.L.C.

GARCIA, ROSARIO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01920          ONDERLAW, LLC

GARCIA, SHEILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20788          ONDERLAW, LLC

GARCIA, SOL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09731          ONDERLAW, LLC

GARCIA, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16893          JOHNSON LAW GROUP

GARCIA, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16267          MORELLI LAW FIRM, PLLC

GARCIA, SYLVIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10205          ONDERLAW, LLC

GARCIA, TAMMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11535          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GARCIA, TAMMY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARCIA, TAMMY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

GARCIA, TAMMY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC




                                                                            Page 432 of 1405
                             Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 434 of 702

           Claimant Name                             State Filed                      Docket Number                              Plaintiff Counsel

GARCIA, TAMMY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

GARCIA, TAMMY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

GARCIA, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13544          ARNOLD & ITKIN LLP

GARCIA, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00598          FLETCHER V. TRAMMELL

GARCIA, TERESITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16483          MORELLI LAW FIRM, PLLC

GARCIA, THERESA                   IL - CIRCUIT COURT - COOK COUNTY             20-L-4505              VOGELZANG LAW

GARCIA, THERESA M.                IL - CIRCUIT COURT - COOK COUNTY             20-L-4505              DEAN OMAR BRANHAM, LLP

GARCIA, VENISE                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC677961               NAPOLI SHKOLNIK, PLLC

GARCIA, VERA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02963          ONDERLAW, LLC

GARCIA, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20584          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

GARCIA, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14042          MORELLI LAW FIRM, PLLC

GARCIA, YOHANY                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

GARCIA, YVONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09632          THE CARLSON LAW FIRM

GARCIA, ZAIDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16143          DALIMONTE RUEB, LLP
GARCIA,JENNIFER GARCIA & EST OF
                                  NY - SUPREME COURT - NYCAL                   190064/2018            MEIROWITZ & WASSERBERG, LLP
HIPOLITO GARCIA
GARCIA-FERRY, LINDA               CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC703709               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARCIA-FERRY, LINDA               CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC703709               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GARCIA-FERRY, LINDA               CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC703709               THE SMITH LAW FIRM, PLLC

GARCIA-LUNA, NOLI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13458          ONDERLAW, LLC

GARDINER, MILDRED                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

GARDINER, MILDRED                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

GARDINER, MILDRED                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

GARDNER, ANNA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002530-20        GOLOMB & HONIK, P.C.

GARDNER, ANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14223          DRISCOLL FIRM, P.C.

GARDNER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17203          DRISCOLL FIRM, P.C.

GARDNER, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09675          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARDNER, DANIELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15454          ONDERLAW, LLC

GARDNER, DIXIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11796          NACHAWATI LAW GROUP

GARDNER, DORIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00681          BART DURHAM INJURY LAW

GARDNER, DORIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00681          FRAZER PLC

GARDNER, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10029          FLETCHER V. TRAMMELL

GARDNER, GAYLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14592          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARDNER, GERTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09357          DALIMONTE RUEB, LLP




                                                                             Page 433 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 435 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GARDNER, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10086          WILLIAMS HART LAW FIRM

GARDNER, MELODY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03765          DALIMONTE RUEB, LLP

GARDNER, MLISSA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARDNER, MLISSA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

GARDNER, MLISSA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

GARDNER, MLISSA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

GARDNER, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05389          WILLIAMS HART LAW FIRM

GARDNER, PEGGY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11837          ASHCRAFT & GEREL

GARDNER, PENNY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17178          NACHAWATI LAW GROUP

GARDNER, SHEENA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01738          ARNOLD & ITKIN LLP

GARDNER, TRACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14280          ASHCRAFT & GEREL, LLP

GARDNER, TRACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14280          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARDNER, VALERIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14596          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARDUNO, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05945          ONDERLAW, LLC

GARFIELD, EMILEE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13455          NACHAWATI LAW GROUP

GARFOOT, ELIZABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00057          JASON J. JOY & ASSCIATES P.L.L.C.

GARGALA, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00884          ONDERLAW, LLC

GARGES, JENNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16850          MORGAN & MORGAN

GARICA, GEORGINIA             CA - SUPERIOR COURT - RIVERSIDE COUNTY       RIC-1719825            THE BRANDI LAW FIRM

GARISON, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17729          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GARLAND, LADONNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10089          GORI JULIAN & ASSOCIATES, P.C.

GARLAND, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02699          SIMMONS HANLY CONROY

GARLAND, ROBIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17183          NACHAWATI LAW GROUP

GARLAND, SOPHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09876          WAGSTAFF & CARTMELL, LLP

GARLINGTON, VERA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11454          ONDERLAW, LLC

GARLOCK, YVONNE               CA - SUPERIOR COURT - FRESNO COUNTY          18CECG00563            BARRETT LAW GROUP

GARLOCK, YVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BARRETT LAW GROUP, P.A.

GARLOCK, YVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

GARLOCK, YVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

GARLOCK, YVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          GOLDENBERG HELLER & ANTOGNOLI, PC

GARLOCK, YVONNE               CA - SUPERIOR COURT - FRESNO COUNTY          18CECG00563            PRATT & ASSOCIATES

GARMAN, GEORGIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11411          PARKER WAICHMAN, LLP




                                                                         Page 434 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                         Appendix A (Part 1) Page 436 of 702

           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

GARMON, CRYSTAL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09887          ONDERLAW, LLC

GARMOND, LATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14280          DRISCOLL FIRM, P.C.

GARNER, CHRISTINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15641          HILLIARD MARTINEZ GONZALES, LLP

GARNER, CONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01611          GOZA & HONNOLD, LLC

GARNER, DARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06289          ENVIRONMENTAL LITIGATION GROUP, PC

GARNER, ELAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00067          ASHCRAFT & GEREL

GARNER, ELAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00067          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARNER, EMILY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03431          ONDERLAW, LLC

GARNER, JANETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11426          NACHAWATI LAW GROUP

GARNER, KAREENA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07066          CHILDERS, SCHLUETER & SMITH, LLC

GARNER, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07506          ONDERLAW, LLC

GARNER, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05761          ONDERLAW, LLC

GARNER, PAULA                 DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02721          ASHCRAFT & GEREL, LLP

GARNER, PAULA                 DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02721          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARNER, SHERLAND              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15202          SALTZ MONGELUZZI & BENDESKY PC

GARNER, TINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06419          ONDERLAW, LLC

GARNER, WILMA                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

GARNES, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07824          BISNAR AND CHASE

GARNETT, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04332          ONDERLAW, LLC

GARNETT, DORTHEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05290          MORRIS BART & ASSOCIATES

GARNETT, DORTHEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19502          NACHAWATI LAW GROUP

GARONZIK, DIANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03216          ONDERLAW, LLC

GARONZIK, LILLIAN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13038          FLETCHER V. TRAMMELL

GAROZZO, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14158          CELLINO & BARNES, P.C.

GARRARD, KATHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13446          HEYGOOD, ORR & PEARSON

GARRATT, GAIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00365          WILLIAMS HART LAW FIRM

GARREN, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09033          WATERS & KRAUS, LLP

GARRETSON, JANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19857          ASHCRAFT & GEREL, LLP

GARRETSON, JANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19857          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARRETT, BUHL,                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01792-16AS       KEEFE LAW FIRM

GARRETT, CHARLESETTA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11503          NACHAWATI LAW GROUP

GARRETT, CRYSTAL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01516          ONDERLAW, LLC

GARRETT, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15047          ARNOLD & ITKIN LLP

GARRETT, FANNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13984          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                         Page 435 of 1405
                                Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 437 of 702

            Claimant Name                            State Filed                       Docket Number                            Plaintiff Counsel

GARRETT, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07359          ONDERLAW, LLC

GARRETT, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09096          ONDERLAW, LLC

GARRETT, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09096          ROSS FELLER CASEY, LLP

GARRETT, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09608          FLETCHER V. TRAMMELL

GARRETT, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13762          MORELLI LAW FIRM, PLLC

GARRETT, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GARRETT, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15461          LENZE LAWYERS, PLC

GARRETT, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GARRETT, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15461          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GARRETT, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GARRETT, RACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14687          JOHNSON LAW GROUP

GARRETT, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08437          THE DUGAN LAW FIRM, APLC

GARRETT, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09645          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GARRICK, CHANTEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11536          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GARRIE, ANGELLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10476          ODOM LAW FIRM, PA

GARRIS, ZACHARY                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01514-18AS       FLINT LAW FIRM LLC

GARRIS, ZACHARY                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01514-18AS       LOCKS LAW FIRM

GARRISON, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12760          ARNOLD & ITKIN LLP

GARRISON, DARCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13844          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARRISON, EILEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11709          NACHAWATI LAW GROUP

GARRISON, GENEVA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11057          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

GARRISON, JILL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09853          ONDERLAW, LLC

GARRISON, ROSE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12149          GOZA & HONNOLD, LLC

GARRISON, VICKI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05438          PARKER WAICHMAN, LLP

GARRITSON, LORENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06320          FLETCHER V. TRAMMELL

GARRITY, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14054          JOHNSON LAW GROUP

GARROW, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15732          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

GARSKO, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02941          ONDERLAW, LLC

GARTH, MAGGIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09780          BARON & BUDD, P.C.

GARVEY, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08066          DALIMONTE RUEB, LLP

GARVIN, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04765          ONDERLAW, LLC

GARWOOD, DIANE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-410-18           GOLOMB SPIRT GRUNFELD PC

GARY HECKER                        IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

GARY, MILO, AND MILO, PHYLLIS      RI - SUPERIOR COURT - BRISTOL COUNTY         PC-2016-0865           THE DEATON LAW FIRM



                                                                              Page 436 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 438 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GARY, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00023          ASHCRAFT & GEREL

GARY, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00023          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARY, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12203          ONDERLAW, LLC

GARZA, ANA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10942          BISNAR AND CHASE

GARZA, DIANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GARZA, DIANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

GARZA, DIANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06557          ONDERLAW, LLC

GARZA, DIANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

GARZA, DIANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

GARZA, DIANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

GARZA, FRANCES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04648          ONDERLAW, LLC

GARZA, JANIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01200          GORI JULIAN & ASSOCIATES, P.C.

GARZA, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17205          NACHAWATI LAW GROUP

GARZA, JORGE                      NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003299-21        WEITZ & LUXENBERG

GARZA, LILLIAN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1230-16          ASHCRAFT & GEREL, LLP

GARZA, LILLIAN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1230-16          GOLOMB SPIRT GRUNFELD PC

GARZA, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07165          BLIZZARD & NABERS, LLP

GARZA, MARJORIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002456-20        GOLOMB & HONIK, P.C.

GARZA, OLIVIA                     AZ - SUPERIOR COURT - PIMA COUNTY            C20184525              SCHMIDT & SETHI, PC

GARZA, OLIVIA                     AZ - SUPERIOR COURT - PIMA COUNTY            C20184525              SIMON GREENSTONE PANATIER

GARZA, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15505          TAUTFEST BOND

GARZA, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08189          ONDERLAW, LLC

GASBARRO, JOANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11901          ASHCRAFT & GEREL, LLP

GASBARRO, JOANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11901          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GASCON, ANDREA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14319          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GASE, CHARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16885          ASHCRAFT & GEREL

GASE, CHARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16885          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GASH, KRISTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07964          WILSON LAW PA

GASKIN, IRMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08940          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GASKIN, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09229          ONDERLAW, LLC

GASKIN, SHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16072          JOHNSON BECKER, PLLC

GASKINS, EMILY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00785          CELLINO & BARNES, P.C.

GASKINS, WILMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17231          THE MILLER FIRM, LLC

GASNER, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10562          ONDERLAW, LLC



                                                                             Page 437 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 439 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

GASPARD, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10782          PARKER WAICHMAN, LLP

GASPARD, ETHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11274          ASHCRAFT & GEREL

GASPARD, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14431          GORI JULIAN & ASSOCIATES, P.C.

GASPER, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19886          ONDERLAW, LLC

GASPER, SALLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12691          POTTS LAW FIRM

GASPERETTI, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10966          ASHCRAFT & GEREL

GASSAWAY, EUMEKE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09719          GOLOMB SPIRT GRUNFELD PC

GASSETT, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13403          NACHAWATI LAW GROUP

GASSMANN, KRISTIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13845          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAST, GEERTRUIDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04285          ONDERLAW, LLC

GAST, GLENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15921          ASHCRAFT & GEREL, LLP

GAST, GLENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15921          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GASTON, LODEAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11838          NACHAWATI LAW GROUP

GASTON, ORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09883          MORRIS BART & ASSOCIATES

GASTON, SONNEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14289          THE SEGAL LAW FIRM

GATANIS, BARBARA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004259-20        GOLOMB & HONIK, P.C.

GATCHELL, GINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03081          JOHNSON BECKER, PLLC

GATES, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01063          THE BENTON LAW FIRM, PLLC

GATES, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11318          DANIEL & ASSOCIATES, LLC

GATES, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17676          THE MILLER FIRM, LLC

GATES, JESEFINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17503          ONDERLAW, LLC

GATES, JOSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12930          PAUL LLP

GATES, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21667          ONDERLAW, LLC

GATES, SUZANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04650          LEVIN SIMES LLP

GATES-GREEN, REGINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08167          ONDERLAW, LLC

GATHERS, STACEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10935          THE MILLER FIRM, LLC

GATLIFF, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15526          GORI JULIAN & ASSOCIATES, P.C.

GATLIN, ADAIRE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09386          TRAMMELL PC

GATLIN, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02632          ONDERLAW, LLC

GATLIN, TYRENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09573          SALTZ MONGELUZZI & BENDESKY PC

GATSON, RONMUNDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10953          ONDERLAW, LLC

GATTER, ANDREA                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC627457               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GATTI, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11789          ONDERLAW, LLC
GATTONE, PEGGY B. AND GATTONE,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03039-18AS       WEITZ & LUXENBERG
PETER



                                                                             Page 438 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                Desc
                                                             Appendix A (Part 1) Page 440 of 702

              Claimant Name                         State Filed                      Docket Number                                 Plaintiff Counsel

GATTSHALL, KELSEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11524             NACHAWATI LAW GROUP

GATTUSO, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06623             FLETCHER V. TRAMMELL

GATTUSO, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07533             ONDERLAW, LLC

GAUDET, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03771             ASHCRAFT & GEREL, LLP

GAUDET, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03771             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAUDIO, THELMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03182             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GAUER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07766             ONDERLAW, LLC

GAUGH, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08497             ONDERLAW, LLC

GAUNT, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05397             WILLIAMS HART LAW FIRM

GAURUDER, JOHNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12758             ONDERLAW, LLC

GAUTHIER, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10786             WEXLER WALLACE LLP

GAUTHIER, LYNN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-3568-14             PORTER & MALOUF, PA

GAUTHIER, LYNN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-3568-14             SEEGER WEISS LLP

GAUTHIER, LYNN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-3568-14             THE SMITH LAW FIRM, PLLC

GAUTHIER, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18379             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAUTHIER, WENDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10717             THE MILLER FIRM, LLC

GAUTIER, MONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09568             NAPOLI SHKOLNIK, PLLC

GAUTIER, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12848             JONES WARD PLC

GAUVIN, VLADY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03394             ONDERLAW, LLC

GAVIN, CAMILLE                   CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-00992957-CU-MT-CXC ASPEY, WATKINS & DIESEL, PLLC

GAVIN, CAMILLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06484             BURNS CHAREST LLP

GAVIN, CAMILLE                   CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-00992957-CU-MT-CXC BURNS CHAREST LLP

GAVIN, ELLEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12030             ONDERLAW, LLC

GAVIN, ROSALYN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002              ONDERLAW, LLC

GAWLOWSKI, KRISTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06918             ONDERLAW, LLC

GAWNE, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18610             JOHNSON LAW GROUP

GAY, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07221             MARY ALEXANDER & ASSOCIATES, P.C.

GAY, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14302             ASHCRAFT & GEREL, LLP

GAY, LAURIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08947             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GAY, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11615             THE BARNES FIRM, P.C.

GAY, RACHEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08694             ONDERLAW, LLC

GAYHEART, CHRISTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20596             ONDERLAW, LLC

GAYLE SOUTHARD                   FEDERAL - MDL                                3:21-CV-19720             ONDERLAW, LLC




                                                                            Page 439 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 441 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

GAYLE SOUTHARD                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19720          ONDERLAW, LLC

GAYLE, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02441          DALIMONTE RUEB, LLP

GAYLYN HERRO                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17819          HENINGER GARRISON DAVIS, LLC

GAYNES, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14352          GOLOMB & HONIK, P.C.

GAYTAN, CARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09511          ONDERLAW, LLC

GAYZ, NORINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05118          ONDERLAW, LLC

GAZARD, DAISY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14600          NAPOLI SHKOLNIK PLLC

GEAR, LORI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14374          JOHNSON LAW GROUP

GEARHART, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05401          WILLIAMS HART LAW FIRM

GEARHART, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02925          FLETCHER V. TRAMMELL

GEARTY, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12547          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

GEARY, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GEARY, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14923          LENZE LAWYERS, PLC

GEARY, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GEARY, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14923          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GEARY, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GEATHERS, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02426          CATES MAHONEY, LLC

GEBARA, GAIL                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002127-20        GOLOMB & HONIK, P.C.

GEBARD, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09959          GORI JULIAN & ASSOCIATES, P.C.

GEER, NOLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GEER, NOLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GEER, NOLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GEER, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16906          THE MILLER FIRM, LLC

GEFFKE, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17726          ONDERLAW, LLC

GEHLKE, REBECCA                  CA - SUPERIOR COURT - RIVERSIDE COUNTY       RIC1901340             BISNAR AND CHASE

GEHRES, GRETCHEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17221          NACHAWATI LAW GROUP

GEHRING, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17798          ONDERLAW, LLC

GEHRINGER, DARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14284          ASHCRAFT & GEREL, LLP

GEHRINGER, DARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14284          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GEHRS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09832          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GEIBIG, RENEE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03383          ONDERLAW, LLC

GEIER, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08513          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GEIGER, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12211          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 440 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 442 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

GEIGER, VIKMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02450          ONDERLAW, LLC

GEIGER-WALDRON, BARBARA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13167          NACHAWATI LAW GROUP

GEIMER, JULIANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00551          ONDERLAW, LLC

GEISER, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11099          ONDERLAW, LLC

GEISSLER, JUDIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04051          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GELBKE, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02469          DALIMONTE RUEB, LLP

GELERMAN, ROZA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09684          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GELLEPIS, KEITH                  FL - CIRCUIT COURT - BROWARD COUNTY          CACE20018796           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GELLEPIS, KEITH                  FL - CIRCUIT COURT - BROWARD COUNTY          CACE20018796           KELLEY UUSTAL, PLC

GELLER, NORMAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV -13426         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GELO, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12823          CELLINO & BARNES, P.C.

GELSER-WEBB, PEG                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11499          ONDERLAW, LLC

GELTZ, PENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19189          NACHAWATI LAW GROUP

GELZINIS, ELEANOR                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000900-21        GOLOMB & HONIK, P.C.

GELZINIS, ELEANOR                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000900-21        GOLOMB & HONIK, P.C.

GEMME, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06999          ONDERLAW, LLC

GENDELMAN, SHERRI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00461          GEOFFREY B. GOMPERS & ASSOC, P.C.

GENDELMAN, SHERRI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00461          JEFFREY R. LESSIN & ASSOCIATES, PC

GENDREAU, PAULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20761          ONDERLAW, LLC

GENET, RENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01755          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GENEVA DAVIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18291          WEITZ & LUXENBERG

GENEVA WATTS                     FEDERAL - MDL                                3:21-CV-19708          ONDERLAW, LLC

GENEVA WATTS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19708          ONDERLAW, LLC

GENN, SHERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04068          SANDERS PHILLIPS GROSSMAN, LLC

GENNINE STEINFORT                FEDERAL - MDL                                3:21-CV-19053          MOTLEY RICE, LLC

GENNINE STEINFORT                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19053          MOTLEY RICE, LLC

GENOVESE, GABRIELE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17943          JOHNSON LAW GROUP

GENSTER, EMMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10293          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GENTHERT, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07976          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

GENTILE, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18693          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GENTILE, JOANNE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2698-18          MORELLI LAW FIRM, PLLC

GENTILE, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GENTILE, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

GENTILE, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA



                                                                            Page 441 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 443 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GENTILE, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

GENTILE, MARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13678          NACHAWATI LAW GROUP

GENTNER, LYDIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07975          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

GENTRY, ANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08959          ONDERLAW, LLC

GENTRY, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16854          NACHAWATI LAW GROUP

GENTRY, JEANETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10402          JOHNSON LAW GROUP

GENTRY, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17229          NACHAWATI LAW GROUP

GENTRY, LA CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09419          ONDERLAW, LLC

GENTRY, LEASA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13330          GORI JULIAN & ASSOCIATES, P.C.

GENTRY, MELODEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06401          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GENTRY, PENNY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10246          GORI JULIAN & ASSOCIATES, P.C.

GENTRY, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20704          CELLINO & BARNES, P.C.

GENTRY, RHONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10348          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GENTRY, TINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04499          NAPOLI SHKOLNIK, PLLC

GENTRY, TINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08238          ONDERLAW, LLC

GEOFFROY, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12233          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GEORGATOS, JEAN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GEORGATOS, JEAN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

GEORGATOS, JEAN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

GEORGATOS, JEAN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

GEORGATOS, JEAN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

GEORGE, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21613          GORI JULIAN & ASSOCIATES, P.C.

GEORGE, ELSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10775          NACHAWATI LAW GROUP

GEORGE, GINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03510          THE DIAZ LAW FIRM, PLLC

GEORGE, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13986          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GEORGE, JANIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01078          ONDERLAW, LLC

GEORGE, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12901          JOHNSON LAW GROUP

GEORGE, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08333          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GEORGE, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03949          CELLINO & BARNES, P.C.

GEORGE, RENEE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08293          YEAROUT & TRAYLOR, P.C.

GEORGE, ROSEANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19714          CELLINO & BARNES, P.C.

GEORGE, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02833          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GEORGE, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19482          ASHCRAFT & GEREL, LLP

GEORGE, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19482          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 442 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 444 of 702

             Claimant Name                          State Filed                       Docket Number                            Plaintiff Counsel

GEORGE, SUZANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14034          CELLINO & BARNES, P.C.

GEORGE, THEODORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03562          ONDERLAW, LLC

GEORGE, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08937          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

GEORGE, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GEORGE, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GEORGE, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GEORGE, WILMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08335          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

GEORGIA HANNAN                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

GEORGIANA, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09599          FLETCHER V. TRAMMELL

GEPHART, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17341          ASHCRAFT & GEREL, LLP

GEPHART, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17341          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GEPHART, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05946          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GERALD, FRONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18858          NACHAWATI LAW GROUP

GERALDINO, FLOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14668          ROSS FELLER CASEY, LLP

GERARD, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07887          HOLLAND LAW FIRM

GERARD, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14721          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GERARD, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00076          GOZA & HONNOLD, LLC

GERARD, ZELDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19197          NACHAWATI LAW GROUP

GERARDA ANI                       NJ - STATE                                   ATL-L-003358-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

GERARDA ANI                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003358-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GERAUER, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16179          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GERBER, DARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17939          ONDERLAW, LLC

GERBER, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13357          HENINGER GARRISON DAVIS, LLC

GERBINO, MICHELE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003341-20        MORELLI LAW FIRM, PLLC

GERBINO, MICHELE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003341-20        THE SEGAL LAW FIRM

GERBITZ, MARIA                    NM - DISTRICT COURT - SANTA FE               D-101-CV-2021-00892    BRUSTER PLLC

GERBITZ, MARIA                    NM - DISTRICT COURT - SANTA FE               D-101-CV-2021-00892    NACHAWATI LAW GROUP

GERDUNG, GEORGETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00577          DIAMOND LAW

GERE, ANA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10014          NAPOLI SHKOLNIK, PLLC

GERE, ANNA                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000806-19        NAPOLI SHKOLNIK, PLLC

GERECKE, COLLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11747          MARY ALEXANDER & ASSOCIATES, P.C.
GEREMIA, FRANCO AND GEREMIA,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-000845-21        WEITZ & LUXENBERG
PATRICIA
GERENA, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GERENA, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC



                                                                             Page 443 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 445 of 702

             Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

GERENA, VERONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GERETY, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02459          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GEREZ, CARMEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07992          MORELLI LAW FIRM, PLLC

GERG, LOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02255          BURNS CHAREST LLP

GERG, LOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02255          BURNS CHAREST LLP

GERHART, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11029          DALIMONTE RUEB, LLP

GERLACH, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02087          LAW OFFICES OF PETER G ANGELOS, PC

GERMAIN, MICHELLE AND EDDIE      NY - SUPREME COURT - NYCAL                   190049/2017            LEVY KONIGSBERG LLP

GERMANN, HELANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11595          NAPOLI SHKOLNIK, PLLC

GERMANO, TRAVEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13465          MORELLI LAW FIRM, PLLC

GERMANY, GAYLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GERMANY, GAYLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

GERMANY, GAYLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

GERMANY, GAYLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

GERMOND, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02461          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GERRARD, JEAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19730          ARNOLD & ITKIN LLP
                                 CA - SUPERIOR COURT - SAN BERNARDINO
GERRARD-KOENIG, SHERRY                                                        CIVDS1800712           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                                 COUNTY
GERREN, TIFFANY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12295          ASHCRAFT & GEREL

GERREN, TIFFANY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12295          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GERRISH, ANMBRA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GERRISH, ANMBRA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

GERRISH, ANMBRA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

GERRISH, ANMBRA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

GERSHENFELD, JANET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01069          ASHCRAFT & GEREL, LLP

GERSIN, SHERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04126          BLIZZARD & NABERS, LLP

GERVAIS, SALLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20222          CELLINO & BARNES, P.C.

GERWIN, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08454          ONDERLAW, LLC

GERYCH, KRISTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13133          THE MILLER FIRM, LLC

GESCHWIND, THELMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12579          ONDERLAW, LLC

GESLICKI, JACQUELINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01433          HURLEY MCKENNA & MERTZ

GESUALDO, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14282          ASHCRAFT & GEREL, LLP

GESUALDO, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14282          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GETCHELL, JESSICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07284          ONDERLAW, LLC




                                                                            Page 444 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 446 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

GETCHELL, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07805          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

GETER, REBECCA                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003870-21        WEITZ & LUXENBERG

GETHERS, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15384          ONDERLAW, LLC

GETTY, DEENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12727          THE SEGAL LAW FIRM

GETTY, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09527          ONDERLAW, LLC

GETZ, MARYANNA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002628-21        ASHCRAFT & GEREL, LLP

GETZ, MARYANNA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002628-21        GOLOMB & HONIK, P.C.

GEURIN, FAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02979          BURNS CHAREST LLP

GEURIN, FAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02979          BURNS CHAREST LLP

GEUS, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12211          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GEYER, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18145          ONDERLAW, LLC

GEYER, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GEYER, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

GEYER, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

GEYER, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

GHAFARY, MARYAM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17651          MOTLEY RICE, LLC

GHAFFAR-TEHRANI, SARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19694          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

GHALAMKAR, JUANITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07464          ONDERLAW, LLC

GHANOUM, FERYAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03661          ARNOLD & ITKIN LLP

GHERE, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08791          MURRAY LAW FIRM

GHETIA, ARUNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12060          SIMMONS HANLY CONROY

GHOLSON, SONYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06989          ONDERLAW, LLC

GHOLSTON, ALTHEA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10995          ONDERLAW, LLC

GHORMLEY, KERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10809          ONDERLAW, LLC

GIAMBRONE, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11429          KLINE & SPECTER, P.C.

GIAMPAPA, KATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10605          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIAMPIETRO, JO                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16139          ASHCRAFT & GEREL, LLP

GIAMPIETRO, JO                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16139          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIANCURSIO, JULIANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07442          ASHCRAFT & GEREL

GIANCURSIO, JULIANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07442          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIANFRANCESCO, PIPER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16898          NACHAWATI LAW GROUP

GIANGRECO, TERI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18274          DRISCOLL FIRM, P.C.

GIANNA, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17890          ASHCRAFT & GEREL, LLP




                                                                             Page 445 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 447 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GIANNA, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17890          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIANNECCHINI, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06339          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIANNETTINO, ROBIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13057          ONDERLAW, LLC

GIANNINI, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09181          DAVIS, BETHUNE & JONES, L.L.C.

GIANNINI, KATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11039          PARKER WAICHMAN, LLP

GIANNONE, MARIA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001882-18        ASHCRAFT & GEREL

GIANNONE, MARIA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001882-18        GOLOMB SPIRT GRUNFELD PC

GIANNOTTI, ANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09632          ASHCRAFT & GEREL

GIANNOTTI, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10069          ONDERLAW, LLC

GIANNOTTI, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10069          ONDERLAW, LLC

GIAQUINTO, JULIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20294          CELLINO & BARNES, P.C.

GIARD, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17448          THE SEGAL LAW FIRM

GIARDELLO, MICHELE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17076          POTTS LAW FIRM

GIBAS, MARJORIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIBAS, MARJORIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

GIBAS, MARJORIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

GIBAS, MARJORIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

GIBAS, MARJORIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

GIBBONS, CHARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02891          ONDERLAW, LLC

GIBBONS, ELEANOR                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09118          NAPOLI SHKOLNIK, PLLC

GIBBONS, HOLLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12042          BISNAR AND CHASE

GIBBONS, HOLLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12042          BISNAR AND CHASE

GIBBONS, IRMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

GIBBONS, IRMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15251          LENZE LAWYERS, PLC

GIBBONS, IRMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

GIBBONS, IRMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15251          LENZE LAWYERS, PLC

GIBBONS, IRMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15251          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GIBBONS, IRMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GIBBONS, IRMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15251          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

GIBBS, AGNES                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16168          NACHAWATI LAW GROUP

GIBBS, ALOMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00159          COLLEY SHROYER & ABRAHAM CO. LLC

GIBBS, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07852          BARRY, MCTIERNAN & WEDINGER

GIBBS, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07852          THE DUGAN LAW FIRM, APLC

GIBBS, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14399          ONDERLAW, LLC



                                                                             Page 446 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 448 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GIBBS, GOLDIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00439          DALIMONTE RUEB, LLP

GIBBS, KENDRA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

GIBBS, KENDRA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

GIBBS, KENDRA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

GIBBS, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04706          ROSS FELLER CASEY, LLP

GIBBS, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07872          ONDERLAW, LLC

GIBBS, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12883          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIBBS, SHEREE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03691          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIBBS, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08615          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIBBS, SIMON                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

GIBBS, SOUJERNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11040          DRISCOLL FIRM, P.C.

GIBER, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12681          BARRETT LAW GROUP

GIBLIN, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12984          HILLIARD MARTINEZ GONZALES, LLP

GIBLIN, EMMYLN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13375          JOHNSON LAW GROUP

GIBSON, ACCRISISUS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19014          NACHAWATI LAW GROUP

GIBSON, ALEXIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11024          LEVIN SIMES LLP

GIBSON, ALICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02472          DALIMONTE RUEB, LLP

GIBSON, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21364          ONDERLAW, LLC

GIBSON, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09375          ONDERLAW, LLC

GIBSON, BERNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09084          ONDERLAW, LLC

GIBSON, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20288          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIBSON, CARMEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07323          ONDERLAW, LLC

GIBSON, DEVIN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

GIBSON, DEVIN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIBSON, DEVIN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

GIBSON, DEVIN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

GIBSON, DEVIN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

GIBSON, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05972          ARNOLD & ITKIN LLP

GIBSON, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00695          JOHNSON LAW GROUP

GIBSON, ERNESTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13846          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIBSON, GINGER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05406          DRISCOLL FIRM, P.C.

GIBSON, HELEENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIBSON, HELEENA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2278-17          GOLOMB SPIRT GRUNFELD PC

GIBSON, HELEENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793          ONDERLAW, LLC



                                                                             Page 447 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 449 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GIBSON, HELEENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793          PORTER & MALOUF, PA

GIBSON, HELEENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793          THE SMITH LAW FIRM, PLLC

GIBSON, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08267          ONDERLAW, LLC

GIBSON, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09857          FLETCHER V. TRAMMELL

GIBSON, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08023          ASHCRAFT & GEREL

GIBSON, LATONJA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002485-21        WEITZ & LUXENBERG

GIBSON, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10947          NACHAWATI LAW GROUP

GIBSON, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00598          ONDERLAW, LLC

GIBSON, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13803          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIBSON, RHYS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12604          ONDERLAW, LLC

GIBSON, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14274          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GIBSON-HERRON, BRENDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09927          ONDERLAW, LLC

GIBSON-PACK, ALECIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIBSON-PACK, ALECIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

GIBSON-PACK, ALECIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

GIBSON-PACK, ALECIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

GIBSON-PACK, ALECIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

GIBSON-STARKS, LAWANNA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16901          NACHAWATI LAW GROUP

GIDCUMB, DORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09635          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIDDENS, HARRIET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12313          MORGAN & MORGAN, P.A.

GIDEON, JESSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04998          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIDICH, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16800          THE MILLER FIRM, LLC

GIDLEY, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05565          ONDERLAW, LLC

GIDLEY, SHANNON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17761          ONDERLAW, LLC

GIESEKE, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19719          CELLINO & BARNES, P.C.

GIESSERT, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11075          ONDERLAW, LLC

GIFFEN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08965          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIFFERSON, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09361          DALIMONTE RUEB, LLP

GIFFIN, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02725          WILLIAMS HART LAW FIRM

GIFFORD, ALISHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13667          FLETCHER V. TRAMMELL

GIFFORD, MONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01161          GORI JULIAN & ASSOCIATES, P.C.

GIFFORD, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09512          ONDERLAW, LLC

GIFFORD, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00416          ROSS FELLER CASEY, LLP

GIFT, NORMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06071          ONDERLAW, LLC



                                                                            Page 448 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                           Appendix A (Part 1) Page 450 of 702

             Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

GIGLIOTTI, CANDACE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05857          DOLCE PANEPINTO, P.C.

GIGUERE, VALERIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02553          JOHNSON LAW GROUP

GIL, ANA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00843          ONDERLAW, LLC

GIL, BECKY                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     16-CV-298038           THE MILLER FIRM, LLC

GILBERT, ALICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19033          NACHAWATI LAW GROUP

GILBERT, CARMEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16907          NACHAWATI LAW GROUP

GILBERT, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07918          HEYGOOD, ORR & PEARSON

GILBERT, CAROLINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01170          THE SEGAL LAW FIRM

GILBERT, DAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08778          ONDERLAW, LLC

GILBERT, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10614          BISNAR AND CHASE

GILBERT, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12368          ASHCRAFT & GEREL

GILBERT, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12368          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILBERT, GERALDINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13259          GORI JULIAN & ASSOCIATES, P.C.

GILBERT, GLADYS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10741          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GILBERT, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19086          CELLINO & BARNES, P.C.

GILBERT, LYNDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10101          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILBERT, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19552          ASHCRAFT & GEREL, LLP

GILBERT, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19552          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILBERT, PENNY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11804          ONDERLAW, LLC

GILBERT, ROBERTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14156          ASHCRAFT & GEREL

GILBERT, SUKANTHI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10468          WILLIAMS HART LAW FIRM

GILBERT, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08949          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILBERT, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13387          LAW OFF OF CHARLES H JOHNSON, PA

GILBERT, TOMIEKA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GILBERT, TOMIEKA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GILBERT, TOMIEKA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GILBERT, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07796          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILBERTO, ELAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06062          ONDERLAW, LLC

GILBERTSON, PENNY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06576          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILBRIDE, ELLYN                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002848-21        LEVY KONIGSBERG LLP

GILBRIDE, ELLYN                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002848-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD

GILCHRIST, BETHANESE            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001870-20        GOLOMB & HONIK, P.C.

GILCHRIST, PENNY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10542          NACHAWATI LAW GROUP




                                                                           Page 449 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 451 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

GILCHRIST, REGINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11410          NACHAWATI LAW GROUP

GILDHARRY, LILOUTIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13662          GOLOMB & HONIK, P.C.

GILDNER, BODIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17510          JOHNSON LAW GROUP

GILES, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09476          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

GILES, GAIL                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002226-20        GOLOMB & HONIK, P.C.

GILES, GINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09585          ONDERLAW, LLC

GILES, HENRIETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20225          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILES, IMONIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11245          NACHAWATI LAW GROUP

GILES, RUTH                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2888-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILES, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10010          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILES, RUTH                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2888-15          PORTER & MALOUF, PA

GILES, RUTH                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2888-15          SEEGER WEISS LLP

GILES, RUTH                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2888-15          THE SMITH LAW FIRM, PLLC

GILES, SUSAN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003323-21        GOLOMB & HONIK, P.C.

GILES, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18769          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILES, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10327          MOTLEY RICE, LLC

GILES-GAGNE, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21860          ONDERLAW, LLC

GILHAUS, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12466          ONDERLAW, LLC

GILKISON, JOANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01777          ONDERLAW, LLC

GILL, ELAINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01460          BURNS CHAREST LLP

GILL, ELAINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01460          BURNS CHAREST LLP

GILL, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01382          LAW OFFICES OF PETER G ANGELOS, PC

GILL, HEIDI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11164          GOLDENBERGLAW, PLLC

GILL, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11086          SILL LAW GROUP, PLLC

GILL, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00272          GOLDENBERGLAW PLLC

GILL, MARECIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07875          ONDERLAW, LLC

GILL, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01972          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GILL, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08636          THE DUGAN LAW FIRM, APLC

GILL, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15594          GIRARDI & KEESE

GILL, SHEILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05746          ONDERLAW, LLC

GILL, TINA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10951          ONDERLAW, LLC

GILL, VIRGINIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02428          CATES MAHONEY, LLC

GILLESPIE, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03951          ONDERLAW, LLC

GILLESPIE, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06408          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 450 of 1405
                                Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 452 of 702

                Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

GILLESPIE, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16910          NACHAWATI LAW GROUP

GILLESPIE, LAURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16919          NACHAWATI LAW GROUP

GILLESPIE, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09411          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILLETT, LAFETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16923          NACHAWATI LAW GROUP

GILLETTE, JANEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16177          ONDERLAW, LLC

GILLETTE, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01165          THE POINTE

GILLIAM, DOTTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10742          NACHAWATI LAW GROUP

GILLIAM, DOTTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03755          ONDERLAW, LLC

GILLIAM, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09869          WAGSTAFF & CARTMELL, LLP

GILLIAND, SONIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08241          FLETCHER V. TRAMMELL

GILLIE, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09959          LEVIN SIMES LLP

GILLIES, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09579          ASHCRAFT & GEREL

GILLIGAN, TINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12448          HART MCLAUGHLIN & ELDRIDGE

GILLILAND, ALTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07105          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILLILAND, CINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05312          ONDERLAW, LLC

GILLINGHAM, CINDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10061          ONDERLAW, LLC

GILLINGS-SUAZO, TIYANA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03418          ONDERLAW, LLC

GILLIS, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13125          ONDERLAW, LLC

GILLIS, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10347          ONDERLAW, LLC

GILLIS, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16853          ONDERLAW, LLC

GILLIS, NORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01931          ONDERLAW, LLC

GILLISPIE, JULIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08807          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILLISS, PAULA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002719-19        ASHCRAFT & GEREL

GILLISS, PAULA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002719-19        GOLOMB SPIRT GRUNFELD PC

GILMAN, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08862          BURNS CHAREST LLP

GILMAN, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08862          BURNS CHAREST LLP

GILMORE, ANIKA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00995          HILLIARD MARTINEZ GONZALES, LLP

GILMORE, APRIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10059          ONDERLAW, LLC

GILMORE, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13073          THE MILLER FIRM, LLC

GILMORE, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11246          THE SIMON LAW FIRM, PC

GILMORE, JAWANIKA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07287          ONDERLAW, LLC

GILMORE, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11825          GOZA & HONNOLD, LLC

GILMORE, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02835          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GILPIN, LAVITA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002457-20        GOLOMB & HONIK, P.C.



                                                                              Page 451 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 453 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

GILROY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GILROY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GILROY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GILTNER, BERDINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20328          ONDERLAW, LLC

GILYARD, THELMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19821          NACHAWATI LAW GROUP

GILZEAN, MONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06723          ONDERLAW, LLC

GINDI, MERVAT                     LA - DISTRICT COURT - JEFFERSON PARISH       811-065 C              BRUSTER PLLC

GINDI, MERVAT                     LA - DISTRICT COURT - JEFFERSON PARISH       811-065 C              NACHAWATI LAW GROUP

GINET, CIERA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13256          DRISCOLL FIRM, P.C.

GINGER MCCANN                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

GINGER SIMPSON                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

GINN, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11243          SIMMONS HANLY CONROY

GINOBILE, THERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06618          FLETCHER V. TRAMMELL

GINSBURG, TINA                    GA - STATE COURT OF GWINNETT COUNTY          18C039922              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GINSBURG, TINA                    GA - STATE COURT OF GWINNETT COUNTY          18C039922              CHILDERS, SCHLUETER & SMITH, LLC

GINSBURG, TINA                    GA - STATE COURT OF GWINNETT COUNTY          18C039922              ONDERLAW, LLC

GIORDANO, ESTELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02492          ONDERLAW, LLC

GIORDANO, LESLIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001763-18        ROSS FELLER CASEY, LLP

GIORDANO, ROSEMARIE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2661-17          ASHCRAFT & GEREL

GIORDANO, ROSEMARIE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2661-17          GOLOMB SPIRT GRUNFELD PC

GIORLANDO, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16189          CELLINO & BARNES, P.C.

GIOVANNI, ANGELICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11747          ONDERLAW, LLC

GIPSON, MADALYNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05061          THE MILLER FIRM, LLC

GIPSON, REGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIPSON, REGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

GIPSON, REGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

GIPSON, REGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

GIRADO, LETICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09824          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIRADO, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16939          NACHAWATI LAW GROUP

GIRARD, GEORGETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10227          THE LAW OFFICES OF SEAN M CLEARY

GIRARD, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08885          ONDERLAW, LLC

GIRASUOLO, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11888          MORELLI LAW FIRM, PLLC

GIROUX, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11695          JOHNSON LAW GROUP

GIRTON, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.



                                                                             Page 452 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 454 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

GIRTON, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GIRTON, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GIRTON, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04468          THE MILLER FIRM, LLC

GISELA MANLEY                    FEDERAL - MDL                                3:21-CV-18816          MOTLEY RICE, LLC

GISO, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08515          WOCL LEYDON LLC

GIST, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          DONALD L. SCHLAPPRIZZI P.C.

GIST, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GIST, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10879          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GISTESUND, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14195          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIST-MCLAURIN, ROBIN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21149          MORELLI LAW FIRM, PLLC

GITANA STEINS                    CA - STATE                                   21STCV40569            BISNAR AND CHASE

GITTENS, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05823          ONDERLAW, LLC

GIULIANO, LYDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02063          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIULIANO, ROSETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05900          NAPOLI SHKOLNIK, PLLC

GIUNTA, ANGELINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07012          RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

GIUSTI, ELEANOR                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002598-20        GOLOMB & HONIK, P.C.

GIVEN, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIVEN, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

GIVEN, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

GIVEN, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

GIVENS, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10515          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIVENS, DENITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08583          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GIVENS, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05903          NAPOLI SHKOLNIK, PLLC

GJELOSHAJ, DRITA                 CA - SUPERIOR COURT - RIVERSIDE COUNTY       RIC1809105             ASPEY, WATKINS & DIESEL, PLLC

GJELOSHAJ, DRITA                 CA - SUPERIOR COURT - RIVERSIDE COUNTY       RIC1809105             BURNS CHAREST LLP

GLABERMAN, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06796          THE ENTREKIN LAW FIRM

GLADDEN, RHUDIEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10070          ARNOLD & ITKIN LLP

GLADKIN, GAYLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10518          SALVI, SCHOSTOK & PRITCHARD P.C.

GLADMAN, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09450          KLINE & SPECTER, P.C.

GLADSON, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12787          SALTZ MONGELUZZI & BENDESKY PC

GLADSTONE, JESSICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08269          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLADSTONE, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09740          ONDERLAW, LLC

GLADYS FRANCO                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18481          WATERS & KRAUS, LLP

GLADYS VAN DYKE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3;21-CV-15250          LENZE LAWYERS, PLC



                                                                            Page 453 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 455 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GLADYS VAN DYKE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3;21-CV-15250          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GLADYS VANDYKE                 FEDERAL - MDL                                3:21-CV-15250          LENZE LAWYERS, PLC

GLADYS VANDYKE                 FEDERAL - MDL                                3:21-CV-15250          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GLANCY, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04877          ONDERLAW, LLC

GLANTON, VERBENA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-85-15            SEEGER WEISS LLP

GLANZ, KAREN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLANZ, KAREN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

GLANZ, KAREN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

GLANZ, KAREN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

GLANZ, KAREN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

GLASER, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11363          CELLINO & BARNES, P.C.

GLASER, GLORIA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321194             THE MILLER FIRM, LLC

GLASER, MARILYNN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02678          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLASER, SHEILA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02797          ONDERLAW, LLC

GLASGOW, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10915          ASHCRAFT & GEREL, LLP

GLASNAPP, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06615          FLETCHER V. TRAMMELL

GLASS, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09646          GOLOMB SPIRT GRUNFELD PC

GLASS, DIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11626          NACHAWATI LAW GROUP

GLASS, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11470          NACHAWATI LAW GROUP

GLASS, RACHEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15024          THE BENTON LAW FIRM, PLLC

GLASS, WILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16945          NACHAWATI LAW GROUP

GLASSCOCK, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07231          ONDERLAW, LLC

GLASSER, JUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12094          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GLASSO, MACHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05937          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLASSON, EVELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03261          ASHCRAFT & GEREL

GLASSON, EVELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03261          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLASSTANG, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLASSTANG, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

GLASSTANG, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

GLASSTANG, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

GLATZLE, ERIC                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

GLAUNER, KRISTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14586          PARKER WAICHMAN, LLP

GLAVA, DARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09188          ONDERLAW, LLC




                                                                          Page 454 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 456 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

GLAZE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18459          WEITZ & LUXENBERG

GLAZER, LORETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01451          ONDERLAW, LLC

GLAZIER, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11040          JOHNSON BECKER, PLLC

GLEASON, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12884          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLEASON, EDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08808          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLEASON, MARILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11237          NACHAWATI LAW GROUP

GLEASON, MARILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08890          ONDERLAW, LLC

GLEASON, MELYNDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15311          CELLINO & BARNES, P.C.

GLEASON, PATRICIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-329-18           DARCY JOHNSON DAY, P.C.

GLEBA, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01561          ONDERLAW, LLC

GLEISSNER, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01627          MOTLEY RICE, LLC

GLENDA, ELY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00414          NAPOLI SHKOLNIK, PLLC

GLENN, ALFREDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19030          NACHAWATI LAW GROUP

GLENN, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10097          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLENN, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10903          WAGSTAFF & CARTMELL, LLP

GLENN, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04435          ONDERLAW, LLC

GLENN, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16032          ASHCRAFT & GEREL, LLP

GLENN, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16032          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLESS-GREEN, HOLLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09648          ONDERLAW, LLC

GLESSNER, KAY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13847          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLICK, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05893          ONDERLAW, LLC

GLIDEWELL, LUCILLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14619          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLISSON, LILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10621          NACHAWATI LAW GROUP

GLORIA BURTON                    FEDERAL - MDL                                3:21-CV-19874          ONDERLAW, LLC

GLORIA LOLLIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15252          LENZE LAWYERS, PLC

GLORIA LOLLIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15252          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GLORIA ROMERO                    FEDERAL - MDL                                3:21-CV-19080          MOTLEY RICE, LLC

GLORIA ROSENBERGER               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003330-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

GLORIA TRASK                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18381          THE SEGAL LAW FIRM

GLORIA, SHERRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02496          THE DUGAN LAW FIRM

GLOVER, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04787          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLOVER, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00480          GORI JULIAN & ASSOCIATES, P.C.

GLOVER, DIXIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12907          JOHNSON LAW GROUP

GLOVER, LESLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06282          MORRIS BART & ASSOCIATES



                                                                            Page 455 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 457 of 702

           Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

GLOVER, MALINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16866          MOTLEY RICE, LLC

GLOVER, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02673          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GLOVER, NICCI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05840          HOLLAND LAW FIRM

GLOVER, SHEILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03051          WILLIAMS HART LAW FIRM

GLOVER, VIOLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03602          ONDERLAW, LLC

GLOVER, VIOLET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08336          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLOYN, GARY                      NY - SUPREME COURT - NYCAL                   190389/2018            MEIROWITZ & WASSERBERG, LLP

GLOYN, GARY & GLOYN, NORMAN      NY - SUPREME COURT - NYCAL                   190389/2018            MEIROWITZ & WASSERBERG, LLP

GLUCK, ERICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08384          ASHCRAFT & GEREL

GLUCK, ERICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08384          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GLYNN, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01239          JOHNSON LAW GROUP

GLYNN, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12748          WAGSTAFF & CARTMELL, LLP

GLYNN, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06100          NAPOLI SHKOLNIK, PLLC

GNACINSKI, LEOLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06113          NAPOLI SHKOLNIK, PLLC

GNIAS, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14979          JOHNSON LAW GROUP

GNIEWEK, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07792          ASHCRAFT & GEREL

GNIEWEK, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOAD, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17801          ONDERLAW, LLC

GOALEY, DAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00419          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GOATEE, ZARAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02017          JOHNSON LAW GROUP

GOBBEL, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02462          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOBERT, ISSABELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16948          NACHAWATI LAW GROUP

GOBLE, MAGGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16177          HENINGER GARRISON DAVIS, LLC

GOBLE, ROCHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02693          GORI JULIAN & ASSOCIATES, P.C.

GOBLE, SUSAN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-635-16           SEEGER WEISS LLP

GOCHENAUR, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08886          ONDERLAW, LLC

GODBEE, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00247          BURNS CHAREST LLP

GODBEE, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00247          BURNS CHAREST LLP

GODDARD, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06133          ONDERLAW, LLC

GODFREY, CONSTANCE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20228          ARNOLD & ITKIN LLP

GODFREY, GLENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04793          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GODFREY, JOELLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14548          JOHNSON LAW GROUP

GODFREY, KATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07188          THE BENTON LAW FIRM, PLLC

GODFREY, NATALIE                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     19STCV00599            MILBERG COLEMAN BRYSON PHILLIPS



                                                                            Page 456 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 458 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GODFREY, NATALIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10218          ONDERLAW, LLC

GODFREY, PORTIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1374-18          LEVY KONIGSBERG LLP

GODICH, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13613          DAVIS, BETHUNE & JONES, L.L.C.

GODIN, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17375          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GODIN, VANESSA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001640-18        COHEN, PLACITELLA & ROTH

GODINEZ, MARISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07849          BISNAR AND CHASE

GODLEWSKI, PHYLISS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16952          NACHAWATI LAW GROUP

GODSCHALL, MICHELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09689          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GODSO, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14371          ASHCRAFT & GEREL

GODSON, FELICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03776          ONDERLAW, LLC

GODSY, VICKY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19881          ASHCRAFT & GEREL, LLP

GODSY, VICKY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19881          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GODWIN, FRANKIETTIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10207          FLETCHER V. TRAMMELL

GODWIN, LOIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00731          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GODWIN, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GODWIN, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

GODWIN, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

GODWIN, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

GODWIN, MILDRED                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01583          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GODWIN, TINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10619          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

GOEB, CHRISTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08618          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOEDECKE-JONES, DEBORAH         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12324          LEVIN SIMES ABRAMS LLP

GOEDEL, SHERRY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17095          DIAZ LAW FIRM, PLLC

GOEHRING, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01563          ONDERLAW, LLC

GOELZ, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09687          ONDERLAW, LLC

GOENS, AMY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOENS, AMY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

GOENS, AMY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

GOENS, AMY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

GOENS, AMY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

GOERTZ, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19771          ONDERLAW, LLC

GOESSLER, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21173          ONDERLAW, LLC

GOETTSCH, DARLENE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002227-20        GOLOMB & HONIK, P.C.




                                                                           Page 457 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 459 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

GOETZ, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07037          SLATER, SLATER, SCHULMAN, LLP

GOETZE, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13618          NACHAWATI LAW GROUP

GOETZE, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08270          ONDERLAW, LLC

GOFF, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08089          ONDERLAW, LLC

GOFFINET, TERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17980          ONDERLAW, LLC

GOFORTH, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09895          ONDERLAW, LLC

GOFORTH, IRENE                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321194             THE MILLER FIRM, LLC

GOFORTH, TINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06541          LAW OFFICE OF CHARLES H JOHNSON, PA

GOINES, CASSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03091          ONDERLAW, LLC

GOINES, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOINES, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

GOINES, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

GOINES, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

GOINGS, MARILOU                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV323995             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOINGS, MARILOU                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV323995             KIESEL LAW, LLP

GOINGS, MARILOU                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV323995             THE SMITH LAW FIRM, PLLC

GOINS, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13897          ONDERLAW, LLC

GOINS, KIM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01343          ONDERLAW, LLC

GOINS, MAGGIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09785          BARON & BUDD, P.C.

GOINS, MARICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10207          GORI JULIAN & ASSOCIATES, P.C.

GOINS-TISDALE, LATOUSYA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18394          THE SEGAL LAW FIRM

GOLA, LORRAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11927          NACHAWATI LAW GROUP

GOLD, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14400          ONDERLAW, LLC

GOLD, ELENA                       CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV328933             THE MILLER FIRM, LLC

GOLD, ELISSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16192          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GOLDABER, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01953          ASHCRAFT & GEREL

GOLDABER, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01953          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOLDBERG, ELLEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20724          MORGAN & MORGAN

GOLDBERG, SANDRA                  GA - STATE COURT OF FORSYTH COUNTY           20SC-0670-A            BARNES LAW GROUP, LLC

GOLDBERG, SANDRA                  GA - STATE COURT OF FORSYTH COUNTY           20SC-0670-A            CHEELEY LAW GROUP

GOLDBERG, TAFFINEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12034          BLIZZARD & NABERS, LLP

GOLDEN, ARLENE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000345-20        GOLOMB SPIRT GRUNFELD PC




                                                                             Page 458 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                         Appendix A (Part 1) Page 460 of 702

           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

GOLDEN, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05366          GORI JULIAN & ASSOCIATES, P.C.

GOLDEN, DEBORAH               CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318625             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GOLDEN, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16956          NACHAWATI LAW GROUP

GOLDEN, HELEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08895          SANDERS VIENER GROSSMAN, LLP

GOLDEN, JOHELEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09637          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOLDEN, JUNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18919          NACHAWATI LAW GROUP

GOLDEN, MICHEAL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13672          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOLDEN, MONICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11882          NACHAWATI LAW GROUP

GOLDEN, ROSEMARY              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L003133-21-        GOLOMB & HONIK, P.C.

GOLDENBROOK, VALORIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07429          ARNOLD & ITKIN LLP

GOLDER, KARLETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16958          NACHAWATI LAW GROUP

GOLDESKI, CARLEEN             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2305-17          GOLOMB SPIRT GRUNFELD PC

GOLDFARB, STANLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02731          NAPOLI SHKOLNIK, PLLC

GOLDMAN, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15043          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOLDMAN, SHANECA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16435          ARNOLD & ITKIN LLP

GOLDSBOROUGH, DOLORES         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09076          ONDERLAW, LLC

GOLDSCHMIDT, CASSABDRA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02383          CATES MAHONEY, LLC

GOLDSMITH, ELAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03163          DALIMONTE RUEB, LLP

GOLDSMITH, ELAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18135          ONDERLAW, LLC

GOLDSMITH, MARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03305          ASHCRAFT & GEREL

GOLDSMITH, MARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03305          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOLDSTEIN, BARBARA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06230          DRISCOLL FIRM, P.C.

GOLDSTEIN, BELINDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13669          DRISCOLL FIRM, P.C.

GOLDSTEIN, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20773          ONDERLAW, LLC

GOLDSTEIN, LORRAINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOLDSTEIN, LORRAINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          ONDERLAW, LLC

GOLDSTEIN, LORRAINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          PORTER & MALOUF, PA

GOLDSTEIN, LORRAINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          THE SMITH LAW FIRM, PLLC

GOLDSTEIN, MICHELLE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08696          ONDERLAW, LLC

GOLDSTON, DOLLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07505          ONDERLAW, LLC

GOLIGHTLY, JEAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20231          ARNOLD & ITKIN LLP

GOLLEDGE, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10017          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                         Page 459 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 461 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

GOLLENBUSCH, DELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15580          WILLIAMS HART LAW FIRM

GOLLIDAY, MARCHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06312          ENVIRONMENTAL LITIGATION GROUP, PC

GOLOMBEK, PATRICIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002228-20        GOLOMB & HONIK, P.C.

GOLOSEWSKI, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02152          MOTLEY RICE, LLC

GOLSON, MARYANN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002506-21        WEITZ & LUXENBERG

GOLSTON, MARQUETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02163          ONDERLAW, LLC

GOLYSKI, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21968          CELLINO & BARNES, P.C.

GOMAN, SUSAN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L002109-20         GOLOMB & HONIK, P.C.

GOMES, ALTINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11336          NACHAWATI LAW GROUP

GOMES, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08697          ONDERLAW, LLC

GOMES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03866          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOMES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14268          DRISCOLL FIRM, P.C.

GOMES, VICTORIA                  IL - CIRCUIT COURT - COOK COUNTY             2018-L-1302            CLIFFORD LAW OFFICES, P.C.

GOMEZ, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18356          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

GOMEZ, ANGELITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07175          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

GOMEZ, APRIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11444          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOMEZ, DENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04726          THE MILLER FIRM, LLC

GOMEZ, DOLORES                   NY - SUPREME COURT - NYCAL                   190188/20              WEITZ & LUXENBERG

GOMEZ, ELAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10861          ASHCRAFT & GEREL, LLP

GOMEZ, ELIDA                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC671568               PANISH, SHEA & BOYLE

GOMEZ, EMILY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14283          ASHCRAFT & GEREL, LLP

GOMEZ, EMILY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14283          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOMEZ, ESTELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09470          ONDERLAW, LLC

GOMEZ, GLORIA                    IL - CIRCUIT COURT - COOK COUNTY             2021L005938            HART MCLAUGHLIN & ELDRIDGE

GOMEZ, GLORIA                    IL - CIRCUIT COURT - COOK COUNTY             2021L005938            WAGSTAFF & CARTMELL, LLP

GOMEZ, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GOMEZ, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GOMEZ, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GOMEZ, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18134          ONDERLAW, LLC

GOMEZ, LIDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08140          ONDERLAW, LLC

GOMEZ, LOUISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18555          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GOMEZ, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13436          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOMEZ, PORSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16960          NACHAWATI LAW GROUP

GOMEZ, ROSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 460 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 462 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GOMEZ, SOCORRO                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16926          ASHCRAFT & GEREL

GOMEZ, SOCORRO                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16926          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOMEZ, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10725          KNAPP & ROBERTS, P.C.

GOMEZ, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16962          NACHAWATI LAW GROUP

GOMEZ, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13520          THE MILLER FIRM, LLC

GOMEZ, VALERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12895          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOMEZ, VALERIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002763-21        WEITZ & LUXENBERG

GONDOLY, REGINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00569          THE SEGAL LAW FIRM

GONSALVES, CHARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05967          DALIMONTE RUEB, LLP

GONSALVES, GEORGIANN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GONSALVES, GEORGIANN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

GONSALVES, GEORGIANN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

GONSALVES, GEORGIANN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

GONSOULIN, MIRIAM                LA - DISTRICT COURT - ORLEANS PARISH         2019-11295             THE CHEEK LAW FIRM

GONSOULIN, MIRIAM                LA - DISTRICT COURT - ORLEANS PARISH         2019-11295             UNGLESBY LAW FIRM

GONXHE, KIMBERLY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-429-18           KEEFE BARTELS

GONXHE, KIMBERLY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-429-18           LAW OFFICE OF GRANT D. AMEY, LLC

GONZALEA, KRISTI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GONZALEA, KRISTI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GONZALEA, KRISTI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GONZALES, ANGIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12119          MORELLI LAW FIRM, PLLC

GONZALES, ANNETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07233          ONDERLAW, LLC

GONZALES, BARBARA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GONZALES, BARBARA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

GONZALES, BARBARA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

GONZALES, BARBARA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

GONZALES, CARMEN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GONZALES, CARMEN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           ONDERLAW, LLC

GONZALES, CARMEN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           PORTER & MALOUF, PA

GONZALES, CARMEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12736          THE DEATON LAW FIRM

GONZALES, CARMEN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           THE SMITH LAW FIRM, PLLC

GONZALES, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17448          ONDERLAW, LLC

GONZALES, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12906          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 461 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 463 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GONZALES, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12104          THE SIMON LAW FIRM, PC

GONZALES, EILEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18588          ONDERLAW, LLC

GONZALES, ERIKA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002273-20        GOLOMB & HONIK, P.C.

GONZALES, FRANCES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06526          ONDERLAW, LLC

GONZALES, JAMIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

GONZALES, JAMIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GONZALES, JAMIE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002518-20        GOLOMB & HONIK, P.C.

GONZALES, JAMIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10708          MORELLI LAW FIRM, PLLC

GONZALES, JAMIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

GONZALES, JAMIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

GONZALES, JAMIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

GONZALES, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07167          ONDERLAW, LLC

GONZALES, MARYJANE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11171          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

GONZALES, NORMA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08270          WILSON LAW PA

GONZALES, OLIVIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11069          GORI JULIAN & ASSOCIATES, P.C.

GONZALES, ROSE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08693          ONDERLAW, LLC

GONZALES, SIRIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01529          ONDERLAW, LLC

GONZALEZ, ANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04660          ONDERLAW, LLC

GONZALEZ, ANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01413          MOTLEY RICE, LLC

GONZALEZ, ANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00094          CELLINO & BARNES, P.C.

GONZALEZ, ANTONIA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000440-19        LOPEZ-MCHUGH, LLP

GONZALEZ, BLANCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12504          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GONZALEZ, CARMEN              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002442-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

GONZALEZ, CARMEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12563          ONDERLAW, LLC

GONZALEZ, CARMEN              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC699869               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GONZALEZ, CATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14232          JOHNSON LAW GROUP

GONZALEZ, CHRISTINA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16385          DALIMONTE RUEB, LLP

GONZALEZ, DENISE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08957          ONDERLAW, LLC

GONZALEZ, FLORENTINA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16933          JOHNSON LAW GROUP

GONZALEZ, HASSEL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16964          NACHAWATI LAW GROUP

GONZALEZ, IRMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12889          ASHCRAFT & GEREL, LLP

GONZALEZ, ISABEL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06630          ARNOLD & ITKIN LLP

GONZALEZ, JENNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20858          ONDERLAW, LLC

GONZALEZ, JUANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15758          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



                                                                         Page 462 of 1405
                             Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 464 of 702

            Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

GONZALEZ, JUANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14955          HILLIARD MARTINEZ GONZALES, LLP

GONZALEZ, JUANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15238          HILLIARD MARTINEZ GONZALES, LLP

GONZALEZ, KARLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07170          SULLO & SULLO, LLP

GONZALEZ, KIM                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09360          ONDERLAW, LLC

GONZALEZ, LAURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14676          NACHAWATI LAW GROUP

GONZALEZ, LUCILLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11824          SANDERS VIENER GROSSMAN, LLP

GONZALEZ, MARCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12914          HOLLAND LAW FIRM

GONZALEZ, MARIA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-99-18            COHEN & MALAD, LLP

GONZALEZ, MARIA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-99-18            GOLOMB SPIRT GRUNFELD PC

GONZALEZ, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16765          HOLLAND LAW FIRM

GONZALEZ, MARIA                   NY - SUPREME COURT - NYCAL                   190232/2019            MEIROWITZ & WASSERBERG, LLP

GONZALEZ, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16963          NACHAWATI LAW GROUP
GONZALEZ, MARIA & EST OF MIGUEL
                                  NY - SUPREME COURT - NYCAL                   190232/2019            MEIROWITZ & WASSERBERG, LLP
GARCIA
GONZALEZ, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11125          GOLOMB & HONIK, P.C.

GONZALEZ, MAYRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02268          ONDERLAW, LLC

GONZALEZ, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13531          FLETCHER V. TRAMMELL

GONZALEZ, RACHAEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09487          FLETCHER V. TRAMMELL

GONZALEZ, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05628          HEYGOOD, ORR & PEARSON

GONZALEZ, ROSE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

GONZALEZ, RUTH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17480          MCSWEENEY/LANGEVIN, LLC

GONZALEZ, SAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08349          FLETCHER V. TRAMMELL

GONZALEZ, SANJUANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00309          ONDERLAW, LLC

GONZALEZ, SONIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10515          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GONZALEZ, TABITHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11473          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GONZALEZ, UTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11194          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GONZALEZ, VIVIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10608          NACHAWATI LAW GROUP

GONZALEZ, VIVIENEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          DONALD L. SCHLAPPRIZZI P.C.

GONZALEZ, VIVIENEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GONZALEZ, VIVIENNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10739          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GONZALEZ-RODRIGUEZ, AMPARO        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06737          THE CHEEK LAW FIRM

GONZALEZ-SED, OLGA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10063          KLINE & SPECTER, P.C.

GONZALO, IRIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11148          NACHAWATI LAW GROUP

GOOCEY, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16121          ONDERLAW, LLC




                                                                             Page 463 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 465 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GOOD, CASSAUNDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18764          ONDERLAW, LLC

GOOD, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18058          ONDERLAW, LLC

GOODALE, KRYSTAL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08952          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOODE, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20576          ONDERLAW, LLC

GOODE, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06969          ONDERLAW, LLC

GOODE, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13198          ROSS FELLER CASEY, LLP

GOODE, HATTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05731          ONDERLAW, LLC

GOODE, OLIVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03107          ONDERLAW, LLC

GOODE, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07280          ONDERLAW, LLC

GOODE, ROXANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18239          DRISCOLL FIRM, P.C.

GOODE, SHANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11458          POTTS LAW FIRM

GOODE, WENDY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

GOODE, WENDY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

GOODE, WENDY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

GOODEMOTE-MOGOR, ELIZABETH       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GOODEMOTE-MOGOR, ELIZABETH       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GOODEMOTE-MOGOR, ELIZABETH       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15226          LENZE LAWYERS, PLC

GOODEMOTE-MOGOR, ELIZABETH       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GOODEMOTE-MOGOR, ELIZABETH       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15226          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

GOODEN, ANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08589          COHEN & MALAD, LLP

GOODEN, ANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08589          NIX PATTERSON & ROACH

GOODEN, CATHERINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERG HELLER & ANTOGNOLI, PC

GOODEN, CATHERINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

GOODEN, CATHERINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

GOODEN, CATHERINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

GOODEN, CHANTELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05422          WILLIAMS HART LAW FIRM

GOODEN, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10765          NACHAWATI LAW GROUP

GOODEN, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10878          ARNOLD & ITKIN LLP

GOODEN, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07677          GORI JULIAN & ASSOCIATES, P.C.

GOODEN, NAOMI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03001          MURRAY LAW FIRM

GOODEN, VIVIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18306          ARNOLD & ITKIN LLP

GOODFACE, ANNETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10696          NACHAWATI LAW GROUP

GOODIN, DIANE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

GOODIN, DIANE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 464 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                          Appendix A (Part 1) Page 466 of 702

           Claimant Name                         State Filed                      Docket Number                                Plaintiff Counsel

GOODIN, DIANE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811              ONDERLAW, LLC

GOODIN, DIANE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811              PORTER & MALOUF, PA

GOODIN, DIANE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811             THE SMITH LAW FIRM, PLLC

GOODING, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16971             NACHAWATI LAW GROUP

GOODIN-VASQUEZ, DENISE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05649             JOHNSON BECKER, PLLC

GOODMAN, AUDREY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15694             NACHAWATI LAW GROUP

GOODMAN, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10779             FLETCHER V. TRAMMELL

GOODMAN, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14320             THE MILLER FIRM, LLC

GOODMAN, JOAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13457             FLETCHER V. TRAMMELL

GOODMAN, KRISTY               CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-01011202-CU-PL-CXC ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GOODMAN, LILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09816             FLETCHER V. TRAMMELL

GOODMAN, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03521             NACHAWATI LAW GROUP

GOODMAN, MERRYAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17505             ONDERLAW, LLC

GOODMAN, MOLLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17247             ASHCRAFT & GEREL, LLP

GOODMAN, MOLLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17247             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOODMAN, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00825             MORELLI LAW FIRM, PLLC

GOODMAN, RHODA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13305             BARON & BUDD, P.C.

GOODMAN, SHEILA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11346             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GOODRICH, ALICE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002274-20           GOLOMB & HONIK, P.C.

GOODRICH, ELIZABETH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15552             ONDERLAW, LLC

GOODRICH, MEREDITH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15450             JOHNSON LAW GROUP

GOODRICH, RUBY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18925             ROSS FELLER CASEY, LLP

GOODRICH, RUTH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06496             ONDERLAW, LLC

GOODRICH, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02352             DAVIS, BETHUNE & JONES, L.L.C.

GOODRUM, EVELYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01750             JOHNSON LAW GROUP

GOODS, EMILY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16974             NACHAWATI LAW GROUP

GOODS, LOLITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01376             MOTLEY RICE, LLC

GOODSELL, ANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01726             JOHNSON LAW GROUP

GOODSON, ANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02099             MARLIN & SALTZMAN LLP

GOODSON, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13606             MORRIS BART & ASSOCIATES

GOODSON, KELLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08732             ONDERLAW, LLC

GOODSON, LOIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08956             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOODSON, RENEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05317             ONDERLAW, LLC




                                                                         Page 465 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                            Appendix A (Part 1) Page 467 of 702

            Claimant Name                          State Filed                       Docket Number                               Plaintiff Counsel

GOODWILL, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01490          FLEMING, NOLEN & JEZ, LLP
GOODWIN, ELIZABETH EST OF J
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003373-21AS      MAUNE RAICHLE HARTLEY FRENCH & MUDD
PRESCIANO
GOODWIN, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15342          BURNS CHAREST LLP

GOODWIN, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03551          THE DEATON LAW FIRM

GOODWIN, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOODWIN, RITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20578          ONDERLAW, LLC

GOODWIN, RUTH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10882          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

GOODWIN, SHEILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04835          LEVIN SIMES LLP

GOODWIN, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16649          JOHNSON LAW GROUP

GOODWIN, UNIQUE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01263          SLATER, SLATER, SCHULMAN, LLP

GOODY, MISTI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01956          ASHCRAFT & GEREL

GOODY, MISTI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01956          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOODYEAR, CAMMIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18556          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GOODYKOONTZ, NATALIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01533          ONDERLAW, LLC

GOOGE, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10893          ASHCRAFT & GEREL, LLP

GOOLSBY, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16975          NACHAWATI LAW GROUP

GOOS, LAVONNE                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-0369              FLINT LAW FIRM LLC

GOOSBY, EMMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05467          ONDERLAW, LLC

GOOSIC, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15777          FLETCHER V. TRAMMELL

GORDAN, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09356          DALIMONTE RUEB, LLP

GORDEN, JODY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10300          ASHCRAFT & GEREL

GORDEN, JODY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10300          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GORDEN, TRACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08217          ONDERLAW, LLC

GORDON, ANGELIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19067          NACHAWATI LAW GROUP

GORDON, ANTIONIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04149          ONDERLAW, LLC

GORDON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GORDON, BARBARA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2246-17          GOLOMB SPIRT GRUNFELD PC

GORDON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19644          NACHAWATI LAW GROUP

GORDON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720          ONDERLAW, LLC

GORDON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720          PORTER & MALOUF, PA

GORDON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720          THE SMITH LAW FIRM, PLLC

GORDON, BETSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06203          NAPOLI SHKOLNIK, PLLC

GORDON, CANDACE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19227          ARNOLD & ITKIN LLP




                                                                            Page 466 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 468 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GORDON, CANDACE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04436          ONDERLAW, LLC

GORDON, CARRIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08773          ONDERLAW, LLC

GORDON, CATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15924          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GORDON, CECILE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00530          BLIZZARD & NABERS, LLP

GORDON, CHARLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12214          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GORDON, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12052          DAVIS & CRUMP P.C.

GORDON, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12052          JOHNSON BECKER, PLLC

GORDON, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20379          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GORDON, DONESHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10922          THE MILLER FIRM, LLC

GORDON, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02656          HENINGER GARRISON DAVIS, LLC

GORDON, FLORIDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02940          ASHCRAFT & GEREL

GORDON, FREYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GORDON, FREYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          GOLDENBERGLAW, PLLC

GORDON, FREYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          ONDERLAW, LLC

GORDON, FREYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          PORTER & MALOUF, PA

GORDON, FREYA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318647             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GORDON, FREYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          THE SMITH LAW FIRM, PLLC

GORDON, JEANNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GORDON, JEANNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

GORDON, JEANNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

GORDON, JEANNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

GORDON, JUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01199          JOHNSON LAW GROUP

GORDON, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07375          THE DUGAN LAW FIRM, APLC

GORDON, LIZZA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16976          NACHAWATI LAW GROUP

GORDON, LUINDIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11442          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GORDON, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06669          ONDERLAW, LLC

GORDON, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11196          ONDERLAW, LLC

GORDON, MILDRED               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07713          CELLINO & BARNES, P.C.

GORDON, NICOLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06700          ROBINS KAPLAN, LLP

GORDON, NIKOLINA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           ONDERLAW, LLC

GORDON, NIKOLINA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           PORTER & MALOUF, PA

GORDON, NIKOLINA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           THE SMITH LAW FIRM, PLLC

GORDON, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12979          DALIMONTE RUEB, LLP




                                                                         Page 467 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                             Appendix A (Part 1) Page 469 of 702

              Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

GORDON, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GORDON, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GORDON, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GORDON, SHAMIKA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08946          LAW OFF OF ROGER 'ROCKY' WALTON, PC

GORDON, VELDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01416          ASHCRAFT & GEREL, LLP

GORDON-HERNANDEZ, JODY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14478          THE MILLER FIRM, LLC

GORDON-MONSOUR, CHERIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02065          ONDERLAW, LLC

GORDON-OZGUL, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GORDON-OZGUL, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18276          DRISCOLL FIRM, P.C.

GORDON-OZGUL, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GORDON-OZGUL, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GORDY, ILDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12086          DRISCOLL FIRM, P.C.

GORE, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11939          FLETCHER V. TRAMMELL

GORE, LAWANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08123          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GORE, WILLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01957          JOHNSON LAW GROUP

GOREE, LESHIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002709-20        GOLOMB & HONIK, P.C.

GORGES, CHERYL                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-613-16           GOLOMB SPIRT GRUNFELD PC

GORGONA, JUANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05001          ONDERLAW, LLC

GORHAM, EMMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06734          ONDERLAW, LLC

GORING, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16896          JOHNSON LAW GROUP

GORKA-DUDEK, KATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10221          ONDERLAW, LLC

GORKIN, MARJORIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18210          CELLINO & BARNES, P.C.

GORLINSKI, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08137          ONDERLAW, LLC

GORMAN, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05159          ONDERLAW, LLC

GORMAN, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07857          THE DUGAN LAW FIRM, APLC

GORMAN, JEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12099          NAPOLI SHKOLNIK PLLC

GORNEAU, ANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06171          ONDERLAW, LLC

GORNY, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08998          ONDERLAW, LLC

GORRELL, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08604          ONDERLAW, LLC

GORRELL, SAMANTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01313          SIMMONS HANLY CONROY

GORSKI, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10223          ONDERLAW, LLC

GORSKY, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00541          JOHNSON BECKER, PLLC

GORTAREZ, RACHEL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 468 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 470 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GORTAREZ, RACHEL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

GORTAREZ, RACHEL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

GORTAREZ, RACHEL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

GORTAREZ, RACHEL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

GORZ, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03342          ONDERLAW, LLC

GORZEGNO, CAROLYN                CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321182             THE MILLER FIRM, LLC

GOSHE, RONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12833          THE MILLER FIRM, LLC

GOSMAN, ERIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03178          ONDERLAW, LLC

GOSS, CARRIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18466          NACHAWATI LAW GROUP

GOSS, LEAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04294          ONDERLAW, LLC

GOSS, NICOLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05824          PARKER WAICHMAN LLP

GOSS, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11238          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOSSARD, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GOSSARD, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GOSSARD, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GOSSETT, JESSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08622          ONDERLAW, LLC

GOTCH, ELEANOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22055          DRISCOLL FIRM, P.C.

GOTEL, TORY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09993          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

GOTHARD, DENISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15000          CORY, WATSON, CROWDER & DEGARIS P.C.

GOTHARD, TAMMIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08961          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOTTHARD, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17044          WATERS & KRAUS, LLP

GOTTLIEB, DORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12065          POTTS LAW FIRM

GOTTLIEB, GAIL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08506          DAVIS, BETHUNE & JONES, L.L.C.

GOTZLER, KAREN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002110-20        GOLOMB & HONIK, P.C.

GOUCH, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16977          NACHAWATI LAW GROUP

GOUCHER, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11761          COHEN & MALAD, LLP

GOUCHER, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11761          NIX PATTERSON & ROACH

GOUDEAU, RETA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08720          ONDERLAW, LLC

GOUDY, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10470          WILLIAMS HART LAW FIRM

GOUDY, RUBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18972          JOHNSON LAW GROUP

GOUGH, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12371          ONDERLAW, LLC

GOULD, DALPHINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06856          KIESEL LAW, LLP

GOULD, DALPHINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06856          MARTINIAN & ASSOCIATES, INC.




                                                                            Page 469 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 471 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

GOULD, DALPHINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06856          THE LAW OFFICES OF HAYTHAM FARAJ

GOULD, DOLORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-06567          PRATT & ASSOCIATES

GOULD, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08977          PRIBANIC & PRIBANIC, LLC

GOULD, TAYLOR                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18688          SANDERS PHILLIPS GROSSMAN, LLC

GOUR, TIFFINY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07318          JOHNSON LAW GROUP

GOUR, TIFFINY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09548          ONDERLAW, LLC

GOURDINE, RUTH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07501          ONDERLAW, LLC

GOURLEY, ELLEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12216          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOUVEIA, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14664          ONDERLAW, LLC

GOVEIA, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09182          ONDERLAW, LLC

GOWDY, JEANNINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05613          ASHCRAFT & GEREL

GOWDY, JEANNINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05613          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GOWER, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10364          JOHNSON LAW GROUP

GOWING, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10881          ARNOLD & ITKIN LLP

GOWTON, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05152          ONDERLAW, LLC

GOYER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03937          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

GOYRIENA, OLGA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11757          WAGSTAFF & CARTMELL, LLP

GOZA, PATTI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09046          CORY, WATSON, CROWDER & DEGARIS P.C.

GRABOWSKI, MICHELE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11080          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GRACE, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11902          MORELLI LAW FIRM, PLLC

GRACE, KAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18078          CELLINO & BARNES, P.C.

GRACE, MADELINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07913          HEYGOOD, ORR & PEARSON

GRACE, MERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14285          JOHNSON LAW GROUP

GRACE, ROBYN                     MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRACE, ROBYN                     MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           PORTER & MALOUF, PA

GRACE, ROBYN                     MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           THE SMITH LAW FIRM, PLLC

GRADDY, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11491          ROSS FELLER CASEY, LLP

GRADY, JACQUELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03425          MOTLEY RICE, LLC

GRADY, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10154          ONDERLAW, LLC

GRAENING, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13027          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRAESER, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18273          JOHNSON LAW GROUP

GRAEWIN, JILL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10099          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRAF, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16462          NACHAWATI LAW GROUP

GRAF, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13139          JOHNSON LAW GROUP



                                                                            Page 470 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 472 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GRAFMYER, NIMNON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22226          NACHAWATI LAW GROUP

GRAFMYER, NIMNON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06309          ONDERLAW, LLC

GRAF-SPIEGEL, SUSAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02942          ASHCRAFT & GEREL

GRAFT, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21596          GORI JULIAN & ASSOCIATES, P.C.

GRAFTON, MANDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09809          NACHAWATI LAW GROUP

GRAGG, JUDY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       2022-CC00665           SWMW LAW, LLC

GRAH, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03380          ROSS FELLER CASEY, LLP

GRAHAM, ADA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00278          BACHUS & SCHANKER LLC

GRAHAM, ANGELIQUE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003230-21        WEITZ & LUXENBERG

GRAHAM, BERNICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17139          THE MILLER FIRM, LLC

GRAHAM, BILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03465          MOTLEY RICE, LLC

GRAHAM, CAROLINE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003296-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

GRAHAM, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13309          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRAHAM, CARRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13015          POTTS LAW FIRM

GRAHAM, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03908          MORELLI LAW FIRM, PLLC

GRAHAM, CONSTANCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08736          ONDERLAW, LLC

GRAHAM, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12531          TRAMMELL PC

GRAHAM, DORIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19652          NACHAWATI LAW GROUP

GRAHAM, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09432          HILLIARD MARTINEZ GONZALES, LLP

GRAHAM, ELSIE                    OR - CIRCUIT COURT - MULTNOMAH COUNTY        21CV40522              LAW OFFICES OF JEFFREY MUTNICK

GRAHAM, GAYLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRAHAM, GAYLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933          GOLDENBERGLAW, PLLC

GRAHAM, GAYLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933          ONDERLAW, LLC

GRAHAM, GAYLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933          PORTER & MALOUF, PA

GRAHAM, GAYLE                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318639             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GRAHAM, GAYLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933          THE SMITH LAW FIRM, PLLC

GRAHAM, GINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05544          MORELLI LAW FIRM, PLLC

GRAHAM, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07186          BARRETT LAW GROUP

GRAHAM, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12024          LENZE KAMERRER MOSS, PLC

GRAHAM, GRACE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12437          JOHNSON BECKER, PLLC

GRAHAM, HATTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16710          WATERS & KRAUS, LLP

GRAHAM, JAN                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     20STCV03578            ABTAHI LAW GROUP LLC

GRAHAM, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04416          ONDERLAW, LLC

GRAHAM, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17133          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 471 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 473 of 702

           Claimant Name                             State Filed                      Docket Number                              Plaintiff Counsel

GRAHAM, JOY                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002959-15        SEEGER WEISS LLP

GRAHAM, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16979          NACHAWATI LAW GROUP

GRAHAM, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09515          ONDERLAW, LLC

GRAHAM, KATHLEEN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

GRAHAM, KATHLEEN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

GRAHAM, KATHLEEN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

GRAHAM, LATOYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15101          ARNOLD & ITKIN LLP

GRAHAM, LIKEESHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06093          ONDERLAW, LLC

GRAHAM, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04836          BLIZZARD & NABERS, LLP

GRAHAM, LINDSEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06181          FLETCHER V. TRAMMELL

GRAHAM, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03614          JOHNSON LAW GROUP

GRAHAM, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03505          ONDERLAW, LLC

GRAHAM, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18782          CELLINO & BARNES, P.C.

GRAHAM, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20313          ONDERLAW, LLC

GRAHAM, MEAGAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10540          JOHNSON LAW GROUP

GRAHAM, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16996          NACHAWATI LAW GROUP

GRAHAM, ROSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12685          ARNOLD & ITKIN LLP

GRAHAM, RUTH                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321183             THE MILLER FIRM, LLC

GRAHAM, SALLY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002755-21        WEITZ & LUXENBERG

GRAHAM, SEPTEMBER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19525          ARNOLD & ITKIN LLP

GRAHAM, SHANDELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05918          JOHNSON LAW GROUP

GRAHAM, TERRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09364          ONDERLAW, LLC
GRAHAM,SCOTT EST OF PATRICIA
                                  NY - SUPREME COURT - NYCAL                   190072/2021            KARST & VON OISTE, LLP
GRAHAM
GRAHAM-CONOVER, CARLYN            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2366-17          GOLOMB SPIRT GRUNFELD PC

GRAHAM-MATTHEWS, MARGARET         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004207-20        ARNOLD & ITKIN LLP

GRAHAM-MATTHEWS, MARGARET         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004207-20        COHEN, PLACITELLA & ROTH

GRALEWSKI, CATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04819          ONDERLAW, LLC

GRALEY, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11492          ROSS FELLER CASEY, LLP

GRAME, MICHELINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12975          CELLINO & BARNES, P.C.

GRAMENZ, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07227          ONDERLAW, LLC

GRAMLICH, LANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01182          ASHCRAFT & GEREL

GRAMLICH, LANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01182          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRAMLING, JOANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06510          HENINGER GARRISON DAVIS, LLC




                                                                             Page 472 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 474 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

GRAMUGLIA, CARMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRAMUGLIA, CARMELA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2308-17          DARCY JOHNSON DAY, P.C.

GRAMUGLIA, CARMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          ONDERLAW, LLC

GRAMUGLIA, CARMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          PORTER & MALOUF, PA

GRAMUGLIA, CARMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          THE SMITH LAW FIRM, PLLC

GRAN, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16998          EISENBERG, ROTHWEILER, WINKLER

GRANA, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11719          MOTLEY RICE, LLC

GRANADO, ELIDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10271          HOLLAND LAW FIRM

GRANADOS, MONA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09645          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRANBERRY, BOBY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01453          ONDERLAW, LLC

GRANCHI, MARSHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10475          WILLIAMS HART LAW FIRM

GRANDE, LISA                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

GRANDE, REBECCA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002275-20        GOLOMB & HONIK, P.C.

GRANDERSON, WILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04472          THE MILLER FIRM, LLC

GRANGER, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13132          THE MILLER FIRM, LLC

GRANGER, SUZY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14287          FLETCHER V. TRAMMELL

GRANGER-WRIGHT, DEBRA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22058          DRISCOLL FIRM, P.C.

GRANIERI, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16924          BURNS CHAREST LLP

GRANIERI, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16924          BURNS CHAREST LLP

GRANNAN, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06979          ONDERLAW, LLC

GRANNIS, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08623          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRANNON, LEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10064          ONDERLAW, LLC

GRANT, BEATRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19098          MOTLEY RICE, LLC

GRANT, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00206          NACHAWATI LAW GROUP

GRANT, CHERALYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11511          NACHAWATI LAW GROUP

GRANT, DARLEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10369          NACHAWATI LAW GROUP

GRANT, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11905          MORELLI LAW FIRM, PLLC

GRANT, DORTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13551          ONDERLAW, LLC

GRANT, ELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08361          THE MILLER FIRM, LLC

GRANT, FELICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12657          POTTS LAW FIRM

GRANT, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09806          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRANT, JEANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GRANT, JEANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14924          LENZE LAWYERS, PLC




                                                                            Page 473 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 475 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GRANT, JEANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GRANT, JEANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14924          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GRANT, JEANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GRANT, JEANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10970          ASHCRAFT & GEREL

GRANT, JO                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00340          THE BENTON LAW FIRM, PLLC

GRANT, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09337          GORI JULIAN & ASSOCIATES, P.C.

GRANT, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06102          THE ENTREKIN LAW FIRM

GRANT, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08831          BARON & BUDD, P.C.

GRANT, MELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11121          ONDERLAW, LLC

GRANT, MERCEDES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08287          TRAMMELL PC

GRANT, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16998          NACHAWATI LAW GROUP

GRANT, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02727          WILLIAMS HART LAW FIRM

GRANT, RENEE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRANT, RENEE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

GRANT, RENEE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

GRANT, RENEE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

GRANT, RENEE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

GRANT, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10108          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRANT, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GRANT, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GRANT, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GRANT, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17015          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

GRANT, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20153          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRANT, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06173          HOLLAND LAW FIRM

GRANT, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20566          PARKER WAICHMAN, LLP

GRANT-HATHAWAY, DIANE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08547          ONDERLAW, LLC

GRANT-RICHBERG, TONYA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14489          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRANUM, ANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10972          ASHCRAFT & GEREL

GRASCH, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12296          ASHCRAFT & GEREL

GRASCH, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12296          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRASMAN, MARYANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07502          ONDERLAW, LLC

GRATER, BENAY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09207          ONDERLAW, LLC

GRAVELINE, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07943          ONDERLAW, LLC

GRAVELLE, LORI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18228          CELLINO & BARNES, P.C.



                                                                            Page 474 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 476 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

GRAVELY, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17433          CELLINO & BARNES, P.C.

GRAVELY, VIVIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11426          THE MILLER FIRM, LLC

GRAVER, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08809          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRAVES, ANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15779          THE MILLER FIRM, LLC

GRAVES, BRIDGET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08672          ASHCRAFT & GEREL

GRAVES, BRIDGET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08672          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRAVES, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12227          MOTLEY RICE, LLC

GRAVES, ELISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17526          DRISCOLL FIRM, P.C.

GRAVES, KRISTIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17017          NACHAWATI LAW GROUP

GRAVES, KRISTIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03860          ONDERLAW, LLC

GRAVES, LESLEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07521          DALIMONTE RUEB, LLP

GRAVES, LORNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17006          NACHAWATI LAW GROUP

GRAVES, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03809          THE SEGAL LAW FIRM

GRAVES, ROBYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05063          THE MILLER FIRM, LLC

GRAVES, ROSE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17025          NACHAWATI LAW GROUP

GRAVES, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16932          THE MILLER FIRM, LLC

GRAVES, TURESSER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09973          GORI JULIAN & ASSOCIATES, P.C.

GRAVITT-EVANS, BRENDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12970          FLETCHER V. TRAMMELL

GRAVLEY, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00729          ARNOLD & ITKIN LLP

GRAWBADGER, JEAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10973          ASHCRAFT & GEREL

GRAY, ADA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07540          ONDERLAW, LLC

GRAY, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03434          THE SEGAL LAW FIRM

GRAY, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20231          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRAY, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09114          ONDERLAW, LLC

GRAY, BRIDGET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22048          DRISCOLL FIRM, P.C.

GRAY, DARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00100          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

GRAY, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20523          JOHNSON LAW GROUP

GRAY, DELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04994          ONDERLAW, LLC

GRAY, DIANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00441          SALVI, SCHOSTOK & PRITCHARD P.C.

GRAY, DINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20137          ARNOLD & ITKIN LLP

GRAY, DONA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04635          ONDERLAW, LLC

GRAY, EARNESTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06833          ONDERLAW, LLC

GRAY, ELLEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15595          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GRAY, ELMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16498          FLETCHER V. TRAMMELL



                                                                            Page 475 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 477 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

GRAY, GAIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08752          MORRIS BART & ASSOCIATES

GRAY, GLADYS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17046          NACHAWATI LAW GROUP

GRAY, GWENDOLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17043          NACHAWATI LAW GROUP

GRAY, JACQUELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09879          ONDERLAW, LLC

GRAY, JACQULIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12761          THE MILLER FIRM, LLC

GRAY, JUANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12846          THE BENTON LAW FIRM, PLLC

GRAY, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03778          ONDERLAW, LLC

GRAY, KATHY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002276-20        GOLOMB & HONIK, P.C.

GRAY, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09589          ONDERLAW, LLC

GRAY, KIM                        NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05932-19AS       LEVY KONIGSBERG LLP

GRAY, LEGGERD                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08966          MORRIS BART & ASSOCIATES

GRAY, LOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18730          JOHNSON LAW GROUP

GRAY, LORENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10003          ONDERLAW, LLC

GRAY, LYNSHINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05531          HOVDE, DASSOW, & DEETS, LLC

GRAY, LYNSHINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05531          THE MILLER FIRM, LLC

GRAY, MABLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08499          ONDERLAW, LLC

GRAY, MARSHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19608          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

GRAY, MARTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00519          BURNS CHAREST LLP

GRAY, MARTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00519          BURNS CHAREST LLP

GRAY, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12631          ANDREW THORNTON HIGGINS RAZMARA LLP

GRAY, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08824          ONDERLAW, LLC

GRAY, MILDRED                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14840          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRAY, PATRICE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003063-21        WEITZ & LUXENBERG

GRAY, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08447          HOLLAND LAW FIRM

GRAY, PHYLISS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07449          ARNOLD & ITKIN LLP

GRAY, ROSA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05076          ONDERLAW, LLC

GRAY, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06734          BERMAN & SIMMONS, P. A.

GRAY, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17034          NACHAWATI LAW GROUP

GRAY, SARAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08845          ONDERLAW, LLC

GRAY, SHELBY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04053          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRAY, SHERRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13614          NACHAWATI LAW GROUP

GRAY, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01831          DRISCOLL FIRM, P.C.

GRAY, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13236          DALIMONTE RUEB, LLP

GRAY, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02928          ONDERLAW, LLC



                                                                            Page 476 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 478 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

GRAY, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06470          THE ENTREKIN LAW FIRM

GRAY, TABETHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06942          THE LEVENSTEN LAW FIRM, P.C.

GRAY, VELMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05765          ONDERLAW, LLC

GRAY, VIRGIE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002487-21        WEITZ & LUXENBERG

GRAY, YOLANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20029          MUELLER LAW PLLC

GRAY, YOLANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18043          ONDERLAW, LLC

GRAYESKI, ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19653          JOHNSON BECKER, PLLC

GRAYS, ARZETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16391          NACHAWATI LAW GROUP

GRAYS, ELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12094          NAPOLI SHKOLNIK, PLLC

GRAYS, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02509          BURNS CHAREST LLP

GRAYS, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02509          BURNS CHAREST LLP

GRAYSON, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10895          ASHCRAFT & GEREL, LLP

GRAYSON, FREDDIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18812          SANDERS PHILLIPS GROSSMAN, LLC

GRAYSON, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03697          ONDERLAW, LLC

GRAYSON, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19003          NACHAWATI LAW GROUP

GRAYSON, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06854          KIESEL LAW, LLP

GRAYSON, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06854          MARTINIAN & ASSOCIATES, INC.

GRAYSON, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06854          THE LAW OFFICES OF HAYTHAM FARAJ

GRAZES, ALADREA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11637          SALTZ MONGELUZZI & BENDESKY PC

GRAZES, ALADREA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11637          SALTZ MONGELUZZI & BENDESKY PC

GRAZULIS, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01791          ASHCRAFT & GEREL

GRAZULIS, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01791          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREANEY, EILEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15216          WEITZ & LUXENBERG

GREANY, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16854          ONDERLAW, LLC

GREATHOUSE, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03867          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREAVES, JACQUELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15486          JOHNSON LAW GROUP

GREAVES, SHERRYLEE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04461          ROSS FELLER CASEY, LLP

GRECO, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10545          BERNSTEIN LIEBHARD LLP

GRECO, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14050          ONDERLAW, LLC

GRECO, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09928          ONDERLAW, LLC

GRECO, MARY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001489-19        LOPEZ-MCHUGH, LLP

GRECO, MARY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001489-19        WAGSTAFF & CARTMELL, LLP

GREDZICKI, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12445          TRAMMELL PC

GREEAR, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08654          ONDERLAW, LLC



                                                                            Page 477 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 479 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GREELEY, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13026          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREELEY, PAULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16847          MORELLI LAW FIRM, PLLC

GREEN, ALETA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREEN, ALETA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

GREEN, ALETA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

GREEN, ALETA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

GREEN, ALETA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

GREEN, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00799          ONDERLAW, LLC

GREEN, ALICE                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318640             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GREEN, ANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05085          ONDERLAW, LLC

GREEN, APRIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09027          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREEN, ASHLEY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001395-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

GREEN, BETSY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06540          HOLLAND LAW FIRM

GREEN, BETSY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06540          JOHNSON LAW GROUP

GREEN, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08159          HOLLAND LAW FIRM

GREEN, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06417          ONDERLAW, LLC

GREEN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11990          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

GREEN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07953          THE MILLER FIRM, LLC

GREEN, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15782          GIRARDI & KEESE

GREEN, CHRIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12583          ASHCRAFT & GEREL, LLP

GREEN, CHRIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12583          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREEN, CONNIE                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02722          ASHCRAFT & GEREL

GREEN, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05572          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREEN, CONNIE                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02722          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREEN, DARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11209          MORRIS BART & ASSOCIATES

GREEN, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14808          LENZE LAWYERS, PLC

GREEN, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14808          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GREEN, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16856          ONDERLAW, LLC

GREEN, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09153          ARNOLD & ITKIN LLP

GREEN, DORI-ANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01358          ONDERLAW, LLC

GREEN, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14312          JOHNSON LAW GROUP

GREEN, EDNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19874          ASHCRAFT & GEREL, LLP

GREEN, EDNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19874          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 478 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 480 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

GREEN, EMILIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02252          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREEN, GERALDINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03704          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREEN, GERTRUDE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02975          ONDERLAW, LLC

GREEN, GLADYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06894          ONDERLAW, LLC

GREEN, GWENDOLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15783          GIRARDI & KEESE

GREEN, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02842          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREEN, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17066          NACHAWATI LAW GROUP

GREEN, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17359          ONDERLAW, LLC

GREEN, JAYME                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03126          ONDERLAW, LLC

GREEN, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06426          DRISCOLL FIRM, P.C.

GREEN, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10882          MORELLI LAW FIRM, PLLC

GREEN, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00992          TRAMMELL PC

GREEN, KIM                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09470          PARKER WAICHMAN, LLP

GREEN, LAURIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11762          NACHAWATI LAW GROUP

GREEN, LEESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00891          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GREEN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08590          HOVDE, DASSOW, & DEETS, LLC

GREEN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07239          ONDERLAW, LLC

GREEN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08590          THE MILLER FIRM, LLC

GREEN, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18457          WEITZ & LUXENBERG

GREEN, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11711          NACHAWATI LAW GROUP

GREEN, LORRAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07854          THE DUGAN LAW FIRM, APLC

GREEN, MARIANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14367          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GREEN, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15074          THE BENTON LAW FIRM, PLLC

GREEN, MARY LOU                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13077          JOHNSON LAW GROUP

GREEN, MIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11314          NACHAWATI LAW GROUP

GREEN, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06130          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREEN, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09264          GOZA & HONNOLD, LLC

GREEN, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05818          ONDERLAW, LLC

GREEN, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15789          GIRARDI & KEESE

GREEN, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03348          LUDWIG LAW FIRM, PLC

GREEN, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03868          MOTLEY RICE, LLC

GREEN, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09683          ONDERLAW, LLC

GREEN, TERRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18102          ONDERLAW, LLC

GREEN, TRACI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02610          ONDERLAW, LLC



                                                                            Page 479 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 481 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

GREEN, TRASI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14316          KNAPP & ROBERTS, P.C.

GREEN, TYRONZA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14567          FLETCHER V. TRAMMELL

GREEN, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14945          ONDERLAW, LLC

GREENBAUM, MYRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01960          ASHCRAFT & GEREL

GREENBAUM, MYRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01960          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREENBERG, ANN                   NY - SUPREME COURT - NYCAL                   190148/2021            LEVY KONIGSBERG LLP

GREENBERG, DORIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14257          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GREENBERG, GAIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15596          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GREENBERG, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14599          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREENBERG, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06605          CHILDERS, SCHLUETER & SMITH, LLC

GREENBERG, MARISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11415          NAPOLI SHKOLNIK, PLLC

GREENBERG, RITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09013          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREENBERGER, HELEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14892          LENZE LAWYERS, PLC

GREENBERGER, HELEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14892          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GREENE, AMANDA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000624-19        GOLOMB SPIRT GRUNFELD PC

GREENE, ANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13162          NACHAWATI LAW GROUP

GREENE, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00685          BART DURHAM INJURY LAW

GREENE, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00685          FRAZER PLC

GREENE, APRIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10913          JOHNSON LAW GROUP

GREENE, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09260          ANAPOL WEISS

GREENE, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05302          POTTS LAW FIRM

GREENE, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14868          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

GREENE, INA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01127          ONDERLAW, LLC

GREENE, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GREENE, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14914          LENZE LAWYERS, PLC

GREENE, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GREENE, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14914          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GREENE, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GREENE, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13482          ONDERLAW, LLC

GREENE, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10224          ONDERLAW, LLC

GREENE, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08335          ONDERLAW, LLC

GREENE, LEITHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10377          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

GREENE, MARGERY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17538          ASHCRAFT & GEREL

GREENE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10225          ONDERLAW, LLC



                                                                            Page 480 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 482 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GREENE, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GREENE, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GREENE, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18468          MORELLI LAW FIRM, PLLC

GREENE, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GREENE, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09701          ARNOLD & ITKIN LLP

GREENE, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15785          GIRARDI & KEESE

GREENE, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12324          PARKER WAICHMAN, LLP

GREENE, REGENIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13783          ONDERLAW, LLC

GREENE, SAUNDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03053          THE BENTON LAW FIRM, PLLC

GREENE, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10027          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREENE, STACI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05190          ONDERLAW, LLC

GREENE, TAMARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GREENE, TAMARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GREENE, TAMARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GREENE, VICKI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04503          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREENER, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02464          ONDERLAW, LLC

GREENFIELD, AMELIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08909          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREENFIELD, LILLIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17064          NACHAWATI LAW GROUP

GREENFIELD, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17061          NACHAWATI LAW GROUP

GREENFIELD, PAMELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15737          ONDERLAW, LLC

GREENHALGH, LOIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10959          NACHAWATI LAW GROUP

GREEN-HINES, YOLANDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREEN-HINES, YOLANDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

GREEN-HINES, YOLANDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

GREEN-HINES, YOLANDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

GREEN-KNOX, VIVIAN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06724          THE SIMON LAW FIRM, PC

GREENLAND, SHELLI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08512          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREENLAW, TECUMSEH             IL - CIRCUIT COURT - COOK COUNTY             2019L005794            DRISCOLL FIRM, P.C.

GREENLEAF, CHERYL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11834          NACHAWATI LAW GROUP

GREENLICK, LUELLEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11991          CELLINO & BARNES, P.C.

GREEN-NEWMAN, CARMEN           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

GREEN-NEWMAN, CARMEN           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

GREEN-NEWMAN, CARMEN           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

GREENSTEIN, NANCY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00294          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



                                                                          Page 481 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                            Appendix A (Part 1) Page 483 of 702

             Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

GREENWALD, DANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04033          ONDERLAW, LLC

GREENWALD, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

GREENWALD, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

GREENWALD, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GREENWALD, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16631          ONDERLAW, LLC

GREENWALD-HILL, DONNA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08271          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREENWELL, KATHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16441          FLETCHER V. TRAMMELL

GREENWOOD, BUNNIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06506          MUELLER LAW PLLC

GREENWOOD, DONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16835          NACHAWATI LAW GROUP

GREENWOOD, GOFFAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01801          DRISCOLL FIRM, P.C.

GREENWOOD, JULIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09487          PARKER WAICHMAN, LLP

GREENWOOD, LOIS                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

GREENWOOD, SUSAN                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000841-20        GOLOMB SPIRT GRUNFELD PC

GREER, FAITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11985          THE MILLER FIRM, LLC

GREER, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04769          THE MILLER FIRM, LLC

GREER, LAJOHNNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14682          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREER, LATISIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2471-17          KEEFE BARTELS

GREER, LATISIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2471-17          LAW OFFICE OF GRANT D. AMEY, LLC

GREER, LSTISIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17148          NAPOLI SHKOLNIK, PLLC

GREER, PATRICIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002229-20        GOLOMB & HONIK, P.C.

GREER, TONYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01541          ONDERLAW, LLC

GREER, TRACEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11370          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GREER, WILLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18878          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREG SMITH                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

GREGA, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16138          ASHCRAFT & GEREL, LLP

GREGA, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16138          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREGG, EDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14857          LENZE LAWYERS, PLC

GREGG, EDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14857          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GREGGS-LETT, CARRIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06210          NAPOLI SHKOLNIK, PLLC

GREGORY WIBLE                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

GREGORY, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18442          ONDERLAW, LLC

GREGORY, CACILIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06484          ONDERLAW, LLC

GREGORY, CLAUDIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10814          HOLLAND LAW FIRM

GREGORY, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15252          THE SEGAL LAW FIRM



                                                                           Page 482 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                          Appendix A (Part 1) Page 484 of 702

            Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

GREGORY, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREGORY, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          ONDERLAW, LLC

GREGORY, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          PORTER & MALOUF, PA

GREGORY, KAREN                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318649             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GREGORY, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          THE SMITH LAW FIRM, PLLC

GREGORY, KATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15457          ONDERLAW, LLC

GREGORY, LOU                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07826          ASHCRAFT & GEREL

GREGORY, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15597          GIRARDI & KEESE

GREGORY, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07997          ONDERLAW, LLC

GREGORY, SHAUNIEA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18247          THE MILLER FIRM, LLC

GREGORY, SONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10112          BARNES LAW GROUP, LLC

GREGORY, SONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10112          CHEELEY LAW GROUP

GREGORY, SUNDI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19247          JOHNSON LAW GROUP

GREGORY, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21427          HOLLAND LAW FIRM

GREGORY, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07078          ONDERLAW, LLC

GREGORY, TERRIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11451          NACHAWATI LAW GROUP

GREGORY, VICKI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11106          ONDERLAW, LLC

GREGORY-BILOTTA, MARGARET      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17653          ASHCRAFT & GEREL

GREHAN, LYNDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12436          MORELLI LAW FIRM, PLLC

GREINER, MARLIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02981          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREITZER, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15783          THE MILLER FIRM, LLC

GRELL, MIRIAM                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002065-21        GOLOMB & HONIK, P.C.

GRELLING, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03294          LANGDON & EMISON

GREMILLION, ERNESTINE          LA - DISTRICT COURT - ORLEANS PARISH         2019-7664              THE CHEEK LAW FIRM

GREMILLION, ERNESTINE          LA - DISTRICT COURT - ORLEANS PARISH         2019-7664              UNGLESBY LAW FIRM

GRENDELL, VICTORIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01872          FLETCHER V. TRAMMELL

GRENIER, CECILE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05932          ONDERLAW, LLC

GRENIER, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08669          ONDERLAW, LLC

GRENIER, RACHEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14809          REICH & BINSTOCK, LLP

GRENZOW, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09251          DAVIS, BETHUNE & JONES, L.L.C.

GRESHAM, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13304          BARON & BUDD, P.C.

GRESHAM, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18638          THE SEGAL LAW FIRM

GRESHAM, LAUNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15231          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC




                                                                          Page 483 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 485 of 702

               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

GRESHAM, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09233          ONDERLAW, LLC

GRESHAM, NICOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13225          DALIMONTE RUEB, LLP

GRESHAM, REBA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09828          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRESKE, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10764          CATES MAHONEY, LLC

GRESKI, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00985          HEYGOOD, ORR & PEARSON

GRESS, NICOLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21243          ONDERLAW, LLC

GRESSETT, BOBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11637          THE DIAZ LAW FIRM, PLLC

GRETCHEN, DILLON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04178          ONDERLAW, LLC

GREVE, SHEILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17364          ASHCRAFT & GEREL, LLP

GREVE, SHEILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17364          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREWAL, GURPREET KAUR             BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230641         PRESZLER LAW FIRM LLP

GREWAL, KAMALJIT                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03957          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GREWE, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04372          ONDERLAW, LLC

GREY, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07714          DALIMONTE RUEB, LLP

GREY, JEANETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19635          ONDERLAW, LLC

GREY, ROBERTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20296          ONDERLAW, LLC

GREZIK, BETTY HAMPTON             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11126          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

GRGUROVICH, KOSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21556          JOHNSON BECKER, PLLC

GRIDER, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11914          MORRIS BART & ASSOCIATES

GRIDLEY, CAROLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12166          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIEBEL, LYNNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12299          ASHCRAFT & GEREL

GRIEBEL, LYNNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12299          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIEBEL, LYNNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13122          ONDERLAW, LLC

GRIEGO, DOLORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11618          BISNAR AND CHASE

GRIEGO, GINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05661          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIER, ELLEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10578          ONDERLAW, LLC

GRIER, REGINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03801          HOLLAND LAW FIRM

GRIER, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18987          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIER, VYVEKA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11864          THE MILLER FIRM, LLC

GRIFFEE, CHRISTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06615          JOHNSON BECKER, PLLC

GRIFFETH, MANDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09025          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIFFEY, MONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21862          ONDERLAW, LLC

GRIFFIN, ALICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11496          NACHAWATI LAW GROUP

GRIFFIN, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06367          ONDERLAW, LLC



                                                                             Page 484 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                           Appendix A (Part 1) Page 486 of 702

             Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

GRIFFIN, BARBARA REITZELL       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16122          NACHAWATI LAW GROUP

GRIFFIN, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17131          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

GRIFFIN, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08555          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIFFIN, CARRESAL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02360          ONDERLAW, LLC

GRIFFIN, DEMETRICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08275          FLETCHER V. TRAMMELL

GRIFFIN, GERALDINE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-97-16            ASHCRAFT & GEREL

GRIFFIN, GERALDINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17322          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIFFIN, GERALDINE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-97-16            GOLOMB SPIRT GRUNFELD PC

GRIFFIN, GLADYS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10963          ASHCRAFT & GEREL, LLP

GRIFFIN, HELENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17145          NAPOLI SHKOLNIK, PLLC

GRIFFIN, INGRID                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06749          THE SIMON LAW FIRM, PC

GRIFFIN, JANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12170          GOZA & HONNOLD, LLC

GRIFFIN, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12697          NAPOLI SHKOLNIK, PLLC

GRIFFIN, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13534          ONDERLAW, LLC

GRIFFIN, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16892          NAPOLI SHKOLNIK, PLLC

GRIFFIN, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18198          THE MILLER FIRM, LLC

GRIFFIN, JULIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03842          ONDERLAW, LLC

GRIFFIN, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12484          FRAZER LAW LLC

GRIFFIN, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07403          THE DUGAN LAW FIRM, APLC

GRIFFIN, KELLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11347          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

GRIFFIN, KELLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18896          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

GRIFFIN, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17299          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

GRIFFIN, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11745          ONDERLAW, LLC

GRIFFIN, LYNETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08874          THE CARLSON LAW FIRM

GRIFFIN, MANDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00601          DALIMONTE RUEB, LLP

GRIFFIN, MARI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10478          WILLIAMS HART LAW FIRM

GRIFFIN, MARTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11278          ASHCRAFT & GEREL

GRIFFIN, MATTIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03958          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIFFIN, MELODY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11977          FLETCHER V. TRAMMELL

GRIFFIN, NADINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18314          NACHAWATI LAW GROUP

GRIFFIN, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20583          ONDERLAW, LLC

GRIFFIN, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07396          ONDERLAW, LLC

GRIFFIN, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04439          ONDERLAW, LLC

GRIFFIN, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20601          ONDERLAW, LLC



                                                                           Page 485 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 487 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GRIFFIN, PATTI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07827          ONDERLAW, LLC

GRIFFIN, PEARLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11672          NACHAWATI LAW GROUP

GRIFFIN, RACHEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03784          ONDERLAW, LLC

GRIFFIN, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14022          JOHNSON LAW GROUP

GRIFFIN, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19708          CELLINO & BARNES, P.C.

GRIFFIN, SHEILA                CA - SUPERIOR COURT - ALAMEDA COUNTY         RG16820115             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

GRIFFIN, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02255          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIFFIN, TONDRAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10615          NACHAWATI LAW GROUP

GRIFFIN, TRACEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22046          DRISCOLL FIRM, P.C.

GRIFFIS, CATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14916          ARNOLD & ITKIN LLP

GRIFFITH, ANGELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09772          GOLOMB SPIRT GRUNFELD PC

GRIFFITH, DIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03416          MOTLEY RICE, LLC

GRIFFITH, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08628          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIFFITH, EDNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18037          THORNTON LAW FIRM LLP

GRIFFITH, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07856          THE DUGAN LAW FIRM

GRIFFITH, JULIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

GRIFFITH, JULIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIFFITH, JULIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

GRIFFITH, JULIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

GRIFFITH, JULIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

GRIFFITH, LAFRANCIS            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12229          ONDERLAW, LLC

GRIFFITH, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06259          FLETCHER V. TRAMMELL

GRIFFITH, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00659          BURNS CHAREST LLP

GRIFFITH, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00659          BURNS CHAREST LLP

GRIFFITH, MARYANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15434          ONDERLAW, LLC

GRIFFITH, PAULINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03762          PENDLEY, BAUDIN & COFFIN, LLP

GRIFFITH, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19751          ASHCRAFT & GEREL, LLP

GRIFFITH, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19751          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIFFITHS, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18326          ONDERLAW, LLC

GRIFFITHS, FAITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19924          ONDERLAW, LLC

GRIFFON, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18338          NACHAWATI LAW GROUP

GRIGG, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05799          TRAMMELL PC

GRIGGS, KRISTEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17346          ASHCRAFT & GEREL, LLP

GRIGGS, KRISTEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17346          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                          Page 486 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                             Appendix A (Part 1) Page 488 of 702

              Claimant Name                         State Filed                      Docket Number                                Plaintiff Counsel

GRIGGS, LAUREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14602            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIGNON, PRISCILLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16359            ONDERLAW, LLC

GRIGSBY, CHARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07170            ONDERLAW, LLC

GRIGSBY, CHARLOTTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12044            THE MILLER FIRM, LLC

GRIGSBY, KIMBERLY                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC654016                 PANISH, SHEA & BOYLE

GRIJALVA, LAUREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIJALVA, LAUREN                 CA - SUPERIOR COURT - ORANGE COUNTY          30-2017-00952930-CU-PL-CXC ONDERLAW, LLC

GRIJALVA, LAUREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394            ONDERLAW, LLC

GRIJALVA, LAUREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394            PORTER & MALOUF, PA

GRIJALVA, LAUREN                 CA - SUPERIOR COURT - ORANGE COUNTY          30-2017-00952930-CU-PL-CXC SALKOW LAW, APC

GRIJALVA, LAUREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394            THE SMITH LAW FIRM, PLLC

GRILLO, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04325            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRILLO, DEBRAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08336            ONDERLAW, LLC

GRILLO, SALVATORE & CARMELLA     MO - CIRCUIT COURT - CITY OF ST. LOUIS       2022-CC09478             FLINT LAW FIRM LLC

GRIM, VIVAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18349            THE SEGAL LAW FIRM

GRIMALDI, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08385            ASHCRAFT & GEREL

GRIMALDI, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08385            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIMALDO, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02911            ONDERLAW, LLC

GRIMBERG, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18345            NACHAWATI LAW GROUP

GRIMES, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12628            WILLIAMS HART LAW FIRM

GRIMES, CAMILLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01550            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIMES, CAMILLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01550            MORRIS, CARY, ANDREWS, TALMADGE &

GRIMES, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07023            ONDERLAW, LLC

GRIMES, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07389            ONDERLAW, LLC

GRIMES, SHARI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09178            DAVIS, BETHUNE & JONES, L.L.C.

GRIMES, SHARON BENNETT           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03268            ONDERLAW, LLC

GRIMES, YVETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16194            NACHAWATI LAW GROUP

GRIMM, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10605            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIMM, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09966            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIMM, ELAINE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001809-18          GOLOMB SPIRT GRUNFELD PC

GRIMM, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09692            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIMM, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15816            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




                                                                            Page 487 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 489 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

GRIMM, PATSY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17033          DRISCOLL FIRM, P.C.

GRIMM, TERRIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00447          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GRIMM, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16653          ARNOLD & ITKIN LLP

GRIMMETT, KELLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08684          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIMSLEY, ANGELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15158          ASHCRAFT & GEREL

GRIMSLEY, ANGELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15158          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRIMSLEY, SHERRY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08588          HOVDE, DASSOW, & DEETS, LLC

GRIMSLEY, SHERRY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08588          THE MILLER FIRM, LLC

GRIMSTAD, TAMARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14684          KLINE & SPECTER, P.C.

GRINAGE, SHEENAE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08973          PRIBANIC & PRIBANIC, LLC

GRINDLE, KRISTEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09880          ONDERLAW, LLC

GRINNELL, HOLLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06936          ONDERLAW, LLC

GRINTER, LEAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17539          ASHCRAFT & GEREL

GRIPPANDO, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11703          NACHAWATI LAW GROUP

GRISHAM, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00982          THE SEGAL LAW FIRM

GRISIUS, RAE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06365          FLETCHER V. TRAMMELL

GRISMORE, LUELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19826          NACHAWATI LAW GROUP

GRISSOM, ALICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06736          THE SIMON LAW FIRM, PC

GRISSOM, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15117          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

GRISSOM, WILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11802          NACHAWATI LAW GROUP

GRITTON, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18352          NACHAWATI LAW GROUP

GRIZONT, POLINA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003510-20        SANDERS PHILLIPS GROSSMAN, LLC

GRIZZLE, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02395          JOHNSON LAW GROUP

GROCE, JULIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002531-20        GOLOMB & HONIK, P.C.

GRODEM, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07349          DALIMONTE RUEB, LLP

GROEGER, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03858          FLETCHER V. TRAMMELL

GROETSCH, HEATHER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18560          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GROFF, ELMAS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02271          MOTLEY RICE, LLC

GROFF, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07717          DALIMONTE RUEB, LLP

GROFF, SANYETTA                   CA - SUPERIOR COURT - KERN COUNTY            T180517                BISNAR AND CHASE

GROLER, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10704          NACHAWATI LAW GROUP

GROMADZKI, LEE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14975          ASHCRAFT & GEREL, LLP

GROMADZKI, LEE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14975          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GROMASKI, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12318          BARRETT LAW GROUP



                                                                             Page 488 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 490 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GRONDAHL, LUCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04467          POTTS LAW FIRM

GRONE, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03707          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRONEK, ROBYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18587          JOHNSON LAW GROUP

GRONER, TERA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07152          ONDERLAW, LLC

GROOME, SHARON                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GROOME, SHARON                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

GROOME, SHARON                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

GROOME, SHARON                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

GROOME, SHARON                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

GROOMS, EMMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16198          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GROOMS, SHERIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12371          DAVIS, BETHUNE & JONES, L.L.C.

GROOMS, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10701          CHAPPELL, SMITH & ARDEN, P.A.

GROOMS, SHURIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07017          NACHAWATI LAW GROUP

GROOMS, VIVIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11681          NACHAWATI LAW GROUP

GROOVER, PENNY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20411          MOTLEY RICE, LLC

GROSCH, NAOMI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13258          ARNOLD & ITKIN LLP

GROSE, KAYLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01915          ARNOLD & ITKIN LLP

GROSE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04379          JOHNSON LAW GROUP

GROSE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04379          LEVIN SIMES LLP

GROSECLOSE, DENAY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13950          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GROSS, ABBE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21928          ONDERLAW, LLC

GROSS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14731          LENZE LAWYERS, PLC

GROSS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14731          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GROSS, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17906          ONDERLAW, LLC

GROSS, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08606          ONDERLAW, LLC

GROSS, EDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12690          ONDERLAW, LLC

GROSS, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10958          NACHAWATI LAW GROUP

GROSS, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10788          NACHAWATI LAW GROUP

GROSS, KATIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09934          ONDERLAW, LLC

GROSS, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10066          ONDERLAW, LLC

GROSS, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04955          FLETCHER V. TRAMMELL

GROSS, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17244          ASHCRAFT & GEREL, LLP

GROSS, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17244          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GROSS, SONIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01452          ONDERLAW, LLC



                                                                            Page 489 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 491 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GROSS, TONI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16069          HOVDE, DASSOW, & DEETS, LLC

GROSS, TONI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16069          THE MILLER FIRM, LLC

GROSS, VICTORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00351          BURNS CHAREST LLP

GROSSETT, CASTEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13008          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GROSSHAUSER, JOAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06835          ONDERLAW, LLC

GROSSMAN, HELENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10440          GOLOMB SPIRT GRUNFELD PC

GROSSMAN, LYLA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1369-18          LEVY KONIGSBERG LLP

GROSVENOR, BRIDGET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09418          ONDERLAW, LLC

GROTE, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16724          NACHAWATI LAW GROUP

GROTH, DAWN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10949          CELLINO & BARNES, P.C.

GROTH, STEPHANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06833          BEKMAN, MARDER, & ADKINS, LLC

GROVE, DIANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17377          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GROVE, LAKITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20605          ONDERLAW, LLC

GROVE, MAUREEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09974          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GROVER, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09996          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GROVES, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15018          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GROVES, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09160          ONDERLAW, LLC

GROVES, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06257          NAPOLI SHKOLNIK, PLLC

GROVES, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19058          HOLLAND LAW FIRM

GROWE, VIOLETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01191          ONDERLAW, LLC

GRUALY-MALDONADO, LARA            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRUALY-MALDONADO, LARA            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

GRUALY-MALDONADO, LARA            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

GRUALY-MALDONADO, LARA            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

GRUBA, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09643          ONDERLAW, LLC

GRUBB, JEAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20006          MUELLER LAW PLLC

GRUBB, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07148          ONDERLAW, LLC

GRUBE, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08434          DALIMONTE RUEB, LLP

GRUBER, GRACIELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12996          FLETCHER V. TRAMMELL

GRUBER, KRISTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09410          HILLIARD MARTINEZ GONZALES, LLP

GRUBER, MARJORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00884          COHEN & MALAD, LLP

GRUBER, MARJORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00884          NIX PATTERSON & ROACH

GRUBS, CLEONE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04415          JOHNSON LAW GROUP

GRUDER, ILENE                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV334708             LIEFF CABRASER HEIMANN & BERNSTEIN



                                                                             Page 490 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                            Appendix A (Part 1) Page 492 of 702

              Claimant Name                        State Filed                       Docket Number                               Plaintiff Counsel

GRUNDEN, BETH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10806          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRUNDEN, MELINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15596          ONDERLAW, LLC

GRUNDY, PEGGY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12338          LAW OFFICES OF JAMES S. ROGERS

GRUNWELL, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14321          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRUSH, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15862          MUELLER LAW PLLC

GRUVER, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09535          FLETCHER V. TRAMMELL

GRUZINSKI, LESLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12155          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GRYCUK, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03367          ONDERLAW, LLC

GRYWALSKY, ANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09153          BARRETT LAW GROUP

GRZYB, HEATHER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04529          THE BENTON LAW FIRM, PLLC

GRZYBEK, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13333          DAVIS, BETHUNE & JONES, L.L.C.

GU, XIAO                         NY - SUPREME COURT - NYCAL                   190062/2018            MEIROWITZ & WASSERBERG, LLP

GU, XIAO X                       NY - SUPREME COURT - NYCAL                   190062/2018            MEIROWITZ & WASSERBERG, LLP

GUADALUPE, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19828          NACHAWATI LAW GROUP

GUAJARDO, DEANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01186          ONDERLAW, LLC

GUALTIERI, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16111          ONDERLAW, LLC

GUARD, LOUISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUARD, LOUISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

GUARD, LOUISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

GUARD, LOUISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

GUARDADO, MONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08867          ONDERLAW, LLC

GUARDADO, SHELLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15611          ONDERLAW, LLC

GUARINO, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15418          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUARINO-RIVERA, VICTORIA         DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02723          ASHCRAFT & GEREL, LLP

GUARINO-RIVERA, VICTORIA         DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02723          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUBECKA, ALAINA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002230-20        GOLOMB & HONIK, P.C.

GUBIN, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11321          CHRISTOPHER D. SMITH P.A.

GUBITZ, LADONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12346          ASHCRAFT & GEREL

GUBITZ, LADONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12346          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUCCIARDO, BEVERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03898          ONDERLAW, LLC

GUDAS, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          DONALD L. SCHLAPPRIZZI P.C.

GUDAS, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10744          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GUDAS, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




                                                                            Page 491 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 493 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

GUDZ, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11181          WEXLER WALLACE LLP

GUERNSEY, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14974          ASHCRAFT & GEREL, LLP

GUERNSEY, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14974          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUERRA, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03227          ONDERLAW, LLC

GUERRA, CARMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09468          ONDERLAW, LLC

GUERRA, CLAUDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01089          TRAMMELL PC

GUERRA, DOLORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12037          ONDERLAW, LLC

GUERRA, MARIA                    CANADA - ONTARIO SUPERIOR COURT OF JUSTICE 179011                   MERCHANT LAW GROUP LLP

GUERRA, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19539          ARNOLD & ITKIN LLP

GUERRA, SHERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06171          HOLLAND LAW FIRM

GUERRA-SAMUEL, MAYDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20628          ONDERLAW, LLC

GUERRERO, ALICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12435          THE MILLER FIRM, LLC

GUERRERO, HAZEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11753          ARNOLD & ITKIN LLP

GUERRERO, JUANA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002458-20        GOLOMB & HONIK, P.C.

GUERRERO, KATHELINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15438          MORELLI LAW FIRM, PLLC

GUERRERO, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10226          ONDERLAW, LLC

GUERRERO, LESLAY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12061          SIMMONS HANLY CONROY

GUERRERO, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11301          NACHAWATI LAW GROUP

GUERRERO, MELINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04340          ONDERLAW, LLC

GUERRERO, PETRA                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC690778               KIESEL LAW, LLP

GUERRERO, PETRA                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC690778               KNIGHT LAW GROUP, LLP

GUERRERO, RAMONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10907          NACHAWATI LAW GROUP

GUERRERO, TERRI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12644          DALIMONTE RUEB, LLP

GUESNIER, HILLARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07803          ONDERLAW, LLC

GUESS, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12158          DALIMONTE RUEB, LLP

GUEST, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09297          ONDERLAW, LLC

GUEVARA, SARITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10867          ONDERLAW, LLC

GUGLIOTTI, LOUISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11813          NACHAWATI LAW GROUP

GUIDEN, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13358          NACHAWATI LAW GROUP

GUIDI, MARILYNN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14873          MORELLI LAW FIRM, PLLC

GUIDRY, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20245          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUIDRY, KEISHAWN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04444          JOHNSON LAW GROUP

GUIDRY, KEISHAWN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16771          ONDERLAW, LLC




                                                                            Page 492 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 494 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GUIDRY, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07260          MOTLEY RICE, LLC

GUIDRY, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01541          BURNS CHAREST LLP

GUIDRY, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01541          BURNS CHAREST LLP

GUILAINE MCMILLAN                 FEDERAL - MDL                                3:21-CV-19665          CORY, WATSON, CROWDER & DEGARIS P.C.

GUILD, GREGORY AND NANCY          NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03527-17AS       LEVY KONIGSBERG LLP

GUILDS, CANDICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10331          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

GUILIANO, NOREEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08980          JASON J. JOY & ASSCIATES P.L.L.C.

GUILLAUME, CHRISTINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUILLAUME, CHRISTINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

GUILLAUME, CHRISTINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

GUILLAUME, CHRISTINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

GUILLAUME, CHRISTINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

GUILLEN, ELIDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07092          ONDERLAW, LLC

GUILLIAME, VIANELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18412          NACHAWATI LAW GROUP

GUILLORY, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11387          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GUILLORY, JUANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11341          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GUILLORY, RITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19112          NACHAWATI LAW GROUP

GUILLORY, SHANIQUA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08344          ONDERLAW, LLC

GUILLOT, BETTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11002          FLETCHER V. TRAMMELL

GUILLOT, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08755          MORRIS BART & ASSOCIATES

GUILLOT, PEARL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05637          ONDERLAW, LLC

GUINN, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17937          JOHNSON LAW GROUP

GUINN, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18416          NACHAWATI LAW GROUP

GUINN, CLARE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10684          NACHAWATI LAW GROUP

GUINN, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17588          KIESEL LAW, LLP

GUINN, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17588          LAW OFFICE OF HAYTHAM FARAJ

GUINN, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17588          MARTINIAN & ASSOCIATES, INC.

GUINN, RUBY                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-614-16           GOLOMB SPIRT GRUNFELD PC

GUINN, SELENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04679          ROSS FELLER CASEY, LLP

GUISE, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05381          GORI JULIAN & ASSOCIATES, P.C.

GUISTI, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15743          CELLINO & BARNES, P.C.

GUITIERREZ, MARYBETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03871          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUITY, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                             Page 493 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                           Appendix A (Part 1) Page 495 of 702

             Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

GUITY, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

GUITY, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

GUITY, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

GUKASYAN, ANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16029          NACHAWATI LAW GROUP

GULCZYNSKI, LYNESE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13076          HABUSH HABUSH & ROTTIER SC

GULICH, BROOK                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12801          MORELLI LAW FIRM, PLLC

GULKHANDIA, SUDHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14395          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GULKIS, ARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00061          THE FERRARO LAW FIRM, P.A.

GULLEDGE, CONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10252          FRAZER LAW LLC

GULLETT, CHRISTINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20249          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GULLETTE, VERNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10554          ONDERLAW, LLC

GULLEY, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16470          NACHAWATI LAW GROUP

GULLEY, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18422          NACHAWATI LAW GROUP

GULLEY, SHEILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05974          ONDERLAW, LLC

GULLIFORD, RUTH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02254          JOHNSON LAW GROUP

GULLMAN, ELIZABETH              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-310-16           ASHCRAFT & GEREL, LLP

GULLMAN, ELIZABETH              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-310-16           GOLOMB SPIRT GRUNFELD PC

GULLOTTI, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02517          BELLUCK & FOX, LLP

GULLY, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19896          THE BARNES FIRM, P.C.

GUMINSKI, ALICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00268          BURNS CHAREST LLP

GUMM, BRENDA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002155-20        GOLOMB & HONIK, P.C.

GUMM, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20199          NAPOLI SHKOLNIK, PLLC

GUMM, LANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11530          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GUMPERT, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05049          ONDERLAW, LLC

GUNBY, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09666          GORI JULIAN & ASSOCIATES, P.C.

GUNDBERG, JOANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12220          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUNDO, KARRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19913          JOHNSON BECKER, PLLC

GUNN, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01195          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC
GUNN, TINA EST OF MARGARET
                                IL - CIRCUIT COURT - MADISON COUNTY          20-L-1493              FLINT LAW FIRM LLC
BOTTOMS
GUNNELS, STEFANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00122          LENZE LAWYERS, PLC

GUNNELS, VERONICA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000588-19        LOPEZ-MCHUGH, LLP

GUNTER, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12548          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

GUNTER, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18240          DRISCOLL FIRM, P.C.

GUNTER, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01827          ASHCRAFT & GEREL



                                                                           Page 494 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 496 of 702

              Claimant Name                         State Filed                      Docket Number                               Plaintiff Counsel

GUNTER, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01827          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUNTER, TANYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17649          MOTLEY RICE, LLC

GUNTER, TONYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09743          ONDERLAW, LLC

GUNTER, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13567          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUNTHER, MAIDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06045          CHILDERS, SCHLUETER & SMITH, LLC

GUPTILL, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05869          MOTLEY RICE, LLC

GUPTON-BEARD, RUBY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03710          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GURAL, MAUREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10524          LENZE LAWYERS, PLC

GURDA, JEANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12251          FLEMING, NOLEN & JEZ, LLP

GURGA, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15441          HENINGER GARRISON DAVIS, LLC

GURGANIOUS-STANLEY, WENDY        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06263          NAPOLI SHKOLNIK, PLLC

GURGANUS, MARILYN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GURGANUS, MARILYN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

GURGANUS, MARILYN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

GURGANUS, MARILYN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

GURLEY, EARLINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06708          ONDERLAW, LLC

GURLEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17056          ONDERLAW, LLC

GURROLA, MARGARITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19830          NACHAWATI LAW GROUP

GURULE, ILEEA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03767          DALIMONTE RUEB, LLP

GUSE, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08936          ONDERLAW, LLC

GUST, MARSHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08262          ONDERLAW, LLC

GUSTA, PRISCILLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14305          THE SEGAL LAW FIRM

GUSTAFSON, CASSANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19131          NACHAWATI LAW GROUP

GUSTAFSON, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11260          NACHAWATI LAW GROUP

GUSTAFSON, MARILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07112          LAW OFFICE OF RICHARD R BARRETT

GUSTAFSON, PAULETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11354          NACHAWATI LAW GROUP

GUSTAFSON, SHARON                CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV328629             THE MILLER FIRM, LLC
GUSTAFSON, SHARON; WHITNEY;
                                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     16-CV-292902           THE MILLER FIRM, LLC
JENNIFER
GUSTAVSON, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12048          THE MILLER FIRM, LLC

GUSTIN, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18534          WEXLER WALLACE LLP

GUSTMAN, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09854          ONDERLAW, LLC

GUTHEIL, DENISE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY    ATL-L-003386-20            GOLOMB & HONIK, P.C.
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
GUTHRIE, BETTY                                                            181100269                  EISENBERG, ROTHWEILER, WINKLER
                                 PLEAS




                                                                            Page 495 of 1405
                              Case 23-12825-MBK           Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                          Desc
                                                          Appendix A (Part 1) Page 497 of 702

              Claimant Name                         State Filed                  Docket Number                            Plaintiff Counsel
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
GUTHRIE, BETTY                                                            181100269              MUELLER LAW PLLC
                                 PLEAS
GUTHRIE, BRANDI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:20-CV-18427          BURNETT LAW FIRM

GUTHRIE, JEANNIVEE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16918      THE CUFFIE LAW FIRM

GUTHRIE, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03001      FLETCHER V. TRAMMELL

GUTHRIE, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06530      JOHNSON LAW GROUP

GUTIERREZ, ANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02172      JOHNSON LAW GROUP

GUTIERREZ, ANGELA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003172-21    EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

GUTIERREZ, CHRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20044      ONDERLAW, LLC

GUTIERREZ, JESSICA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002277-20    GOLOMB & HONIK, P.C.

GUTIERREZ, LINDA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002459-20    GOLOMB & HONIK, P.C.

GUTIERREZ, LUCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14889      ONDERLAW, LLC

GUTIERREZ, MARGARITA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20938      NACHAWATI LAW GROUP

GUTIERREZ, MARICELA              CA - SUPERIOR COURT - LOS ANGELES            19STCV02585        WEITZ & LUXENBERG

GUTIERREZ, NELDA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002278-20    GOLOMB & HONIK, P.C.

GUTIERREZ, RINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00542      JOHNSON BECKER, PLLC

GUTIERREZ, ROSLINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00459      WAGSTAFF & CARTMELL, LLP

GUTIERREZ, YOLANDA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-23-16        GOLOMB SPIRT GRUNFELD PC

GUTIERREZ-CARRABALLO, GLORA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18428      NACHAWATI LAW GROUP

GUTMAN, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17943      ASHCRAFT & GEREL

GUTMAN, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17943      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUTOWIECZ, NATALIE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        L00197519          GOLOMB SPIRT GRUNFELD PC

GUTSHALL, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06403      ONDERLAW, LLC

GUTTILLA, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18438      NACHAWATI LAW GROUP

GUY, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08482      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GUY, JONIQUE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21500      BARON & BUDD, P.C.

GUY, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16343      ROSS FELLER CASEY, LLP

GUY, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03228      ONDERLAW, LLC

GUY, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03748      THE SEGAL LAW FIRM

GUY, TRESSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09284      ONDERLAW, LLC

GUYER, EVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06265      NAPOLI SHKOLNIK, PLLC

GUYETTE, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17805      ONDERLAW, LLC

GUYNES, LOIS                     CA - SUPERIOR COURT - AMADOR COUNTY          18CV10687          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 496 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 498 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

GUYNES, LOIS                     CA - SUPERIOR COURT - AMADOR COUNTY          18CV10687              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GUYNES, LOIS                     CA - SUPERIOR COURT - AMADOR COUNTY          18CV10687              THE SMITH LAW FIRM, PLLC

GUYON, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09984          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUZMAN, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05425          WILLIAMS HART LAW FIRM

GUZMAN, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00077          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

GUZMAN, HILDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09116          ONDERLAW, LLC

GUZMAN, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03479          ONDERLAW, LLC

GUZMAN, LILLIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09184          DAVIS, BETHUNE & JONES, L.L.C.

GUZMAN, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09042          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GUZMAN, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17806          ONDERLAW, LLC

GUZMAN, SOPHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17675          CLAYEO C. ARNOLD, APC

GUZY, JADWIGA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08683          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GWENDOLYN HAMLIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17900          TORHOERMAN LAW LLC

GWYNNE, ALICIA                   CA - SUPERIOR COURT - SUTTER COUNTY          CVCS17-1456            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

GWYNNE, ALICIA                   CA - SUPERIOR COURT - SUTTER COUNTY          CVCS17-1456            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

GWYNNE, ALICIA                   CA - SUPERIOR COURT - SUTTER COUNTY          CVCS17-1456            THE SMITH LAW FIRM, PLLC

GYLLING, LENORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10921          NACHAWATI LAW GROUP

GYORY, ESTER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08290          ONDERLAW, LLC

HAACK, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01184          ONDERLAW, LLC

HAACK, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13695          ANDRUS WAGSTAFF, P.C.

HAAG, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14758          LENZE LAWYERS, PLC

HAAG, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14758          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HAAG, JEAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15026          THE BENTON LAW FIRM, PLLC

HAAG, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18441          NACHAWATI LAW GROUP

HAAG, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00945          ONDERLAW, LLC

HAAS, COLLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09989          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAAS, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09842          JOHNSON LAW GROUP

HAAS, JOANNE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAAS, JOANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAAS, JOANNE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           ONDERLAW, LLC

HAAS, JOANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

HAAS, JOANNE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           PORTER & MALOUF, PA

HAAS, JOANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

HAAS, JOANNE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           THE SMITH LAW FIRM, PLLC



                                                                            Page 497 of 1405
                            Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                Desc
                                                              Appendix A (Part 1) Page 499 of 702

            Claimant Name                            State Filed                         Docket Number                              Plaintiff Counsel

HAAS, JOANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059             THE SMITH LAW FIRM, PLLC

HAAS, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18452             NACHAWATI LAW GROUP

HAAS, MARGUERITE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06108             THE ENTREKIN LAW FIRM

HAAS, MICHELE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03571             THE DEATON LAW FIRM

HAASE, JUSTINE                    CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-01040095-CU-PL-CXC BISNAR AND CHASE

HAATVEDT, KELLIE                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC699517                  SIMMONS HANLY CONROY

HABECK, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12038             HABUSH HABUSH & ROTTIER SC

HABEKOTT, KATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07628             DRISCOLL FIRM, P.C.

HABERSHAM, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02611             SIMMONS HANLY CONROY

HABIG, JACQUELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08070             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HACHEM, FATME                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203             GOLDENBERGLAW, PLLC

HACHEM, FATME                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203             ONDERLAW, LLC

HACHEM, FATME                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203             PORTER & MALOUF, PA

HACHEM, FATME                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203             THE SMITH LAW FIRM, PLLC

HACHEY, NOREEN                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291                 NAPOLI SHKOLNIK, PLLC

HACHEY, SAYLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00690             JOHNSON LAW GROUP

HACKERMAN, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09111             POGUST BRASLOW & MILLROOD, LLC

HACKETT, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11294             GORI JULIAN & ASSOCIATES, P.C.

HACKETT, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11302             FLETCHER V. TRAMMELL

HACKETT, VEOLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07247             ONDERLAW, LLC

HACKETT-MAINE, DEBORAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12085             POTTS LAW FIRM

HACKLEY, CLARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06374             ONDERLAW, LLC

HACKMAN, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02190             ONDERLAW, LLC

HACKNEY, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05220             KILLIAN, DAVIS, RICHTER & MAYLE, PC

HACKNEY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15390             TORHOERMAN LAW LLC

HADA, JYOSTNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05921             ONDERLAW, LLC

HADAD, ANITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13121             NACHAWATI LAW GROUP

HADDAD, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09363             WILLIAMS HART LAW FIRM

HADDAD, GEORGETTE                 FL - CIRCUIT COURT - BROWARD COUNTY          CACE-20-021001-27         OSBORNE & FRANCIS LAW FIRM PLLC

HADDAD, WINIFRED AND HADDAD, HANI MA - SUPERIOR COURT - MIDDLESEX COUNTY       20-2285                   THORNTON LAW FIRM LLP

HADDEN, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05862             DALIMONTE RUEB, LLP

HADDEN, MAUREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05943             ONDERLAW, LLC

HADDOCK, MARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13236             THE MILLER FIRM, LLC




                                                                             Page 498 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 500 of 702

              Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

HADDOX, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15072          SANDERS VIENER GROSSMAN, LLP

HADLEY, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01597          CAMPBELL & ASSOCIATES

HADLEY, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01597          FRAZER PLC

HADLEY, DANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16093          ONDERLAW, LLC

HADLEY, TRINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10152          GORI JULIAN & ASSOCIATES, P.C.

HADNOT, JANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16880          NAPOLI SHKOLNIK, PLLC

HADSELL, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14570          ARNOLD & ITKIN LLP

HAEBLER, TRIXIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18455          NACHAWATI LAW GROUP

HAEFELE, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11124          ARNOLD & ITKIN LLP

HAEHL, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06058          ONDERLAW, LLC

HAEMMERLE, SANTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08101          ONDERLAW, LLC

HAFER, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10905          ASHCRAFT & GEREL

HAFFNER, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14268          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAFFNER, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17351          ASHCRAFT & GEREL, LLP

HAFFNER, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17351          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAFFORD, ETTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10067          ONDERLAW, LLC

HAFLEY, TERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11169          LANGDON & EMISON

HAFNER, MARGIE                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318651             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HAGADORN, JESSICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10539          GOLOMB SPIRT GRUNFELD PC

HAGAN, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15484          THE MILLER FIRM, LLC

HAGAN, HEATHER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10235          ONDERLAW, LLC

HAGAN, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08273          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAGAN, LEONA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

HAGAN, LEONA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

HAGAN, LEONA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

HAGAN, LORETTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12745          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HAGAN, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17506          ONDERLAW, LLC

HAGAN, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09896          ONDERLAW, LLC

HAGANS, LILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17380          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAGE, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16325          FRAZER PLC
HAGEMANN, NICOLE; SCHWABENLAND,
                                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     16CV303989             THE MILLER FIRM, LLC
LINDA
HAGEMANN, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10237          ONDERLAW, LLC

HAGEMEIER, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18347          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.




                                                                             Page 499 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 501 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HAGEN, STACIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06169          ONDERLAW, LLC

HAGENDORF, ALICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06894          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAGENDORF, MARIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14310          WATERS & KRAUS, LLP

HAGER, JACKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07815          DALIMONTE RUEB, LLP

HAGER, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02824          THE BENTON LAW FIRM, PLLC

HAGER, MARY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001994-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

HAGER, SUZANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09338          ONDERLAW, LLC

HAGERMAN, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07643          ONDERLAW, LLC

HAGERTY, ELLEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16615          WEITZ & LUXENBERG

HAGGARD, ISABEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04374          ONDERLAW, LLC

HAGGERTY, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18458          NACHAWATI LAW GROUP

HAGGERTY, KIM                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01144          ARNOLD & ITKIN LLP

HAGGERTY, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05116          ONDERLAW, LLC

HAGLER, JEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13775          ONDERLAW, LLC

HAGLER, KRISTEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11477          NACHAWATI LAW GROUP

HAGLER, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13064          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAGLER, TRACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19642          NACHAWATI LAW GROUP

HAGOOD, CORA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16615          ASHCRAFT & GEREL

HAGOOD, CORA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16615          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAGSTROM, LOIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07669          THE LAW OFFICES OF PETER G. ANGELOS

HAGUE, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18459          NACHAWATI LAW GROUP

HAGY, VIVIAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06733          SUMMERS & JOHNSON, P.C.

HAHN, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09493          ASHCRAFT & GEREL, LLP

HAHN, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02621          BLIZZARD & NABERS, LLP

HAHN, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05001          GOZA & HONNOLD, LLC

HAHN, SHELBA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11774          NACHAWATI LAW GROUP

HAHN, VERA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01893          HEYGOOD, ORR & PEARSON

HAIGH, MICHELE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04860          GOLDENBERGLAW, PLLC

HAIGHT, MARJORIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12372          ONDERLAW, LLC

HAILE, SHEILA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

HAILE, SHEILA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

HAILE, SHEILA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

HAILE, SHEILA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC




                                                                            Page 500 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 502 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HAILEY, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14744          HANNON LAW FIRM, LLC

HAILEY, KRYSTAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17438          THE MILLER FIRM, LLC

HAILEY, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19214          NACHAWATI LAW GROUP

HAILS, ANNE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

HAILS, ANNE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAILS, ANNE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

HAILS, ANNE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

HAILS, ANNE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

HAINER, JODI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15913          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

HAINES, HAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13776          ONDERLAW, LLC

HAINES, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09682          THE LEVENSTEN LAW FIRM, P.C.

HAINES, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01958          DIAMOND LAW

HAINES, SHAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17151          NAPOLI SHKOLNIK, PLLC

HAINES, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02162          GORI JULIAN & ASSOCIATES, P.C.

HAINEY, VICKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01414          MORELLI LAW FIRM, PLLC

HAINS, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02127          MOTLEY RICE, LLC

HAIR, JACQUELINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14987          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAIR, KELLEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10846          PARKER WAICHMAN, LLP

HAIR, LARAINE                     CA - SUPERIOR COURT - ALAMEDA COUNTY         AG16820181             BARNES & THORNBURG LLP

HAIR, LARAINE                     CA - SUPERIOR COURT - ALAMEDA COUNTY         AG16820181             KIESEL LAW LLP

HAIR, LARAINE                     CA - SUPERIOR COURT - ALAMEDA COUNTY         AG16820181             THE KRUGER LAW FIRM

HAIRSTON, DWANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00726          BURNS CHAREST LLP

HAIRSTON, DWANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00726          BURNS CHAREST LLP

HAIRSTON, ORA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00098          BURNS CHAREST LLP

HAISLIP, JANIE                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02757          ASHCRAFT & GEREL

HAISLIP, JANIE                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02757          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAKE, ANGELEA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13879          DALIMONTE RUEB, LLP

HAKE, ROSALIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

HAKE, ROSALIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

HAKE, ROSALIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

HAKEEM, TRINESHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20731          FLETCHER V. TRAMMELL

HALAGARDA, BEV                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18482          NACHAWATI LAW GROUP

HALAY, RENEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04883          ONDERLAW, LLC

HALBACH, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21- CV-15724         ARNOLD & ITKIN LLP



                                                                             Page 501 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 503 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

HALBAUER, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06497          ONDERLAW, LLC

HALBERSTAM-HIRSCH, HELEN         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16960          ASHCRAFT & GEREL

HALBERSTAM-HIRSCH, HELEN         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16960          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALBERT, RENEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07091          ONDERLAW, LLC

HALBERT, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09158          ONDERLAW, LLC

HALBOTH, LORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15283          BURNS CHAREST LLP

HALE, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21929          ONDERLAW, LLC

HALE, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13425          THE SEGAL LAW FIRM

HALE, FANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18485          NACHAWATI LAW GROUP

HALE, IMOJEAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06451          ONDERLAW, LLC

HALE, INEZ                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07666          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALE, JOANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01177          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HALE, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10964          ASHCRAFT & GEREL, LLP

HALE, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14364          THE SEGAL LAW FIRM

HALE, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04371          TORHOERMAN LAW LLC

HALE, ROXANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19236          NACHAWATI LAW GROUP

HALE, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06825          FLETCHER V. TRAMMELL

HALE, SUN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16611          CHILDERS, SCHLUETER & SMITH, LLC

HALEEM, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13483          ONDERLAW, LLC

HALEY, BESSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11468          NACHAWATI LAW GROUP

HALEY, BETHANY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11196          DOMENGEAUX WRIGHT ROY & EDWARDS LLC

HALEY, BETHANY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11196          FRANKLIN, MOSELE & WALKER, PC

HALEY, BETHANY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11196          MOTLEY RICE, LLC

HALEY, GRACE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05880          HOLLAND LAW FIRM

HALEY, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07251          ONDERLAW, LLC

HALEY, JENIFFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15992          ARNOLD & ITKIN LLP

HALEY, JENIFFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02345          DAVIS, BETHUNE & JONES, L.L.C.

HALEY, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02132          ONDERLAW, LLC

HALFHILL, STELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02255          ONDERLAW, LLC

HALFON, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11920          BLIZZARD & NABERS, LLP

HAL-HENDERSON, TONYA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10554          ONDERLAW, LLC

HALIFAX, SHELLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21927          JOHNSON LAW GROUP

HALKIAS, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05588          HOLLAND LAW FIRM

HALL, AMANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08054          FLETCHER V. TRAMMELL



                                                                            Page 502 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 504 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HALL, AMBER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07458          ARNOLD & ITKIN LLP

HALL, AMBER                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002952-21        WEITZ & LUXENBERG

HALL, ANDREA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03290          DALIMONTE RUEB, LLP

HALL, ANITRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02290          ONDERLAW, LLC

HALL, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16036          NACHAWATI LAW GROUP

HALL, ATHENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08924          ONDERLAW, LLC

HALL, AUDREY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06406          ONDERLAW, LLC

HALL, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07445          ASHCRAFT & GEREL

HALL, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07445          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALL, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09102          ONDERLAW, LLC

HALL, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07099          SIMMONS HANLY CONROY

HALL, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21025          TORHOERMAN LAW LLC

HALL, BERTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03851          DALTON AND ASSOCIATES, PA

HALL, CANDICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19772          ONDERLAW, LLC

HALL, CASSANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19119          NACHAWATI LAW GROUP

HALL, CATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07279          ONDERLAW, LLC

HALL, CHARLIE                    GA - STATE COURT OF MITCHELL COUNTY          21SC047                BARNES LAW GROUP, LLC

HALL, CHARLIE                    GA - STATE COURT OF MITCHELL COUNTY          21SC047                CHEELEY LAW GROUP

HALL, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18561          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HALL, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04535          MORELLI LAW FIRM, PLLC

HALL, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12717          ONDERLAW, LLC

HALL, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08616          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALL, DIANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

HALL, DIANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

HALL, DIANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

HALL, DIANA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

HALL, DIANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09964          DALIMONTE RUEB, LLP

HALL, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11879          ONDERLAW, LLC

HALL, EDDIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04713          ONDERLAW, LLC

HALL, ELISABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11749          ARNOLD & ITKIN LLP

HALL, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08438          ONDERLAW, LLC

HALL, ERIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05710          FLETCHER V. TRAMMELL

HALL, FALLON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11388          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HALL, HEATHER                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC



                                                                            Page 503 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 505 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HALL, HEATHER                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

HALL, HEATHER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01804          ONDERLAW, LLC

HALL, HEATHER                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

HALL, HEATHER                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

HALL, IRA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALL, IRA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

HALL, IRA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

HALL, IRA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

HALL, IRA                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

HALL, JACKLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10001          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALL, JOSEPHINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07617          DRISCOLL FIRM, P.C.

HALL, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04250          JOHNSON LAW GROUP

HALL, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20540          LINVILLE LAW GROUP

HALL, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09534          ONDERLAW, LLC

HALL, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12763          THE MILLER FIRM, LLC

HALL, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01517          ONDERLAW, LLC

HALL, LEKEITHSHA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1000-16          GOLOMB SPIRT GRUNFELD PC

HALL, LEZAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10338          ASHCRAFT & GEREL

HALL, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13598          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALL, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          DONALD L. SCHLAPPRIZZI P.C.

HALL, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15431          LENZE LAWYERS, PLC

HALL, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          LENZE LAWYERS, PLC

HALL, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09078          ONDERLAW, LLC

HALL, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15431          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HALL, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13441          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HALL, LORANETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03740          ONDERLAW, LLC

HALL, LORRAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07515          ASHCRAFT & GEREL

HALL, LORRAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07515          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALL, MABLE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALL, MABLE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

HALL, MABLE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

HALL, MABLE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

HALL, MABLE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

HALL, MARJORIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12388          BARRETT LAW GROUP



                                                                            Page 504 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 506 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HALL, MARTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07760          DALIMONTE RUEB, LLP

HALL, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19505          ASHCRAFT & GEREL, LLP

HALL, MARY                       IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HALL, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12004          DALIMONTE RUEB, LLP

HALL, MILILANI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18565          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HALL, MONA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20054          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALL, NADINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15332          ONDERLAW, LLC

HALL, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04103          ONDERLAW, LLC

HALL, NORMA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALL, NORMA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

HALL, NORMA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

HALL, NORMA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

HALL, NORMA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

HALL, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09193          GOLDENBERGLAW, PLLC

HALL, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02755          SEITHEL LAW LLC

HALL, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11633          NACHAWATI LAW GROUP

HALL, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06409          ONDERLAW, LLC

HALL, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11633          ONDERLAW, LLC

HALL, PAULA                      IL - CIRCUIT COURT - COOK COUNTY             2020-L003319           FLETCHER V. TRAMMELL

HALL, PAULA                      IL - CIRCUIT COURT - COOK COUNTY             2020-L003319           MEYERS & FLOWERS, LLC

HALL, PAULINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19101          SULLO & SULLO, LLP

HALL, RACHEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18498          NACHAWATI LAW GROUP

HALL, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09596          PAUL LLP

HALL, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:20-CV-17935              FLETCHER V. TRAMMELL
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
HALL, SABRINA                                                             210500706                  THE MILLER FIRM, LLC
                                 PLEAS
HALL, SADIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:18-CV-17222              ARNOLD & ITKIN LLP

HALL, SARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08091          JOHNSON BECKER, PLLC

HALL, SARAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20235          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALL, SARAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08477          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALL, SHABRADIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11390          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HALL, SHANDEE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15665          ONDERLAW, LLC

HALL, SHANNON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05959          JOHNSON LAW GROUP

HALL, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00820          MORELLI LAW FIRM, PLLC

HALL, SHELIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12761          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 505 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 507 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HALL, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14595          ONDERLAW, LLC

HALL, STEPHANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19258          NACHAWATI LAW GROUP

HALL, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12727          ASHCRAFT & GEREL

HALL, TAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00286          FLETCHER V. TRAMMELL

HALL, TARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18512          NACHAWATI LAW GROUP

HALL, TAWNYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00867          JOHNSON LAW GROUP

HALL, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11076          ONDERLAW, LLC

HALL, TWAYNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18804          ARNOLD & ITKIN LLP

HALL, VANESSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17763          ASHCRAFT & GEREL, LLP

HALL, VANESSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17763          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALL, YVONNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09453          SANDERS VIENER GROSSMAN, LLP

HALLAM, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05782          JOHNSON BECKER, PLLC

HALL-BURTON, WANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06384          ONDERLAW, LLC

HALLER, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18568          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HALLIDAY-CORNELL, FRANCES        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALLIDAY-CORNELL, FRANCES        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2286-17          GOLOMB SPIRT GRUNFELD PC

HALLIDAY-CORNELL, FRANCES        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          ONDERLAW, LLC

HALLIDAY-CORNELL, FRANCES        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          PORTER & MALOUF, PA

HALLIDAY-CORNELL, FRANCES        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          THE SMITH LAW FIRM, PLLC

HALLIGAN, MAUREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14724          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALLMAN, VALENCIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17514          ONDERLAW, LLC

HALL-NASH, MAMIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HALL-NASH, MAMIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HALL-NASH, MAMIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HALLORAN, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05435          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HALLORAN, MARILYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01987          HEYGOOD, ORR & PEARSON

HALLOWELL, LEIGH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14222          DRISCOLL FIRM, P.C.

HALL-PAYTON, SARAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06270          NAPOLI SHKOLNIK, PLLC

HALL-RAMSEY, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HALL-RAMSEY, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HALL-RAMSEY, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HALL-STEVENS, OCTAVIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12532          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALLSTROM, KATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14611          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 506 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 508 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HALMAS, KELLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19273          NACHAWATI LAW GROUP

HALPERIN, JULIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13658          JOHNSON LAW GROUP

HALPERN, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00859          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALSEY, LOVELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15270          JOHNSON LAW GROUP

HALSEY, PEGGY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HALSEY, PEGGY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

HALSEY, PEGGY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

HALSEY, PEGGY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

HALSEY, PEGGY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

HALSTEAD, JUNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09749          ONDERLAW, LLC

HALSTEAD, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06357          ONDERLAW, LLC

HALTER, AMADA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03900          ONDERLAW, LLC

HALTERMAN, BETHANY             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002140-20        GOLOMB & HONIK, P.C.

HALVORSON, JUNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20521          DRISCOLL FIRM, P.C.

HALVORSON, NANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04632          THE DUGAN LAW FIRM, APLC

HALWERIZ, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15055          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HALY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08856          EISENBERG, ROTHWEILER, WINKLER

HALYE, NAYON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12190          FLETCHER V. TRAMMELL

HAM, KELLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13638          NACHAWATI LAW GROUP

HAMANN, MABEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06706          LAW OFFICE OF CHARLES H JOHNSON, PA

HAMBAUGH, JULIANNA             NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003067-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HAMBELTON, PATSY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06020          KIRKENDALL DWYER LLP

HAMBERSONIAN, ALIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19042          NACHAWATI LAW GROUP

HAMBLIN, FOREST                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19293          NACHAWATI LAW GROUP

HAMBRIC, ROBERTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11226          THE MILLER FIRM, LLC

HAMBRIGHT, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03065          ONDERLAW, LLC

HAMBY, CONSTANCE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05443          HEYGOOD, ORR & PEARSON

HAMBY, KATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12044          NACHAWATI LAW GROUP

HAMBY, MARANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10988          NACHAWATI LAW GROUP

HAMBY, ROBYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10091          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMBY, SHAWNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01375          MOTLEY RICE, LLC

HAMEL, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMEL, LINDA                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318674             KIESEL LAW, LLP

HAMEL, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          ONDERLAW, LLC



                                                                          Page 507 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 509 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HAMEL, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          PORTER & MALOUF, PA

HAMEL, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          THE SMITH LAW FIRM, PLLC

HAMEL, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11111          ONDERLAW, LLC

HAMES, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08917          DALIMONTE RUEB, LLP

HAMIEL, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05437          HOLLAND LAW FIRM

HAMILL, CATHERINE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002279-20        GOLOMB & HONIK, P.C.

HAMILL, LYNNE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMILL, LYNNE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

HAMILL, LYNNE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

HAMILL, LYNNE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

HAMILL, LYNNE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

HAMILTON, ALICE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMILTON, ALICE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

HAMILTON, ALICE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

HAMILTON, ALICE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

HAMILTON, ALLEYENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08150          ONDERLAW, LLC

HAMILTON, ANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21931          ONDERLAW, LLC

HAMILTON, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12373          ONDERLAW, LLC

HAMILTON, BEULAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00193          KLINE & SPECTER, P.C.

HAMILTON, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14751          LENZE LAWYERS, PLC

HAMILTON, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14751          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HAMILTON, CAROLYNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02226          ONDERLAW, LLC

HAMILTON, CINDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09046          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMILTON, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04730          JOHNSON LAW GROUP

HAMILTON, DAYANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10579          NACHAWATI LAW GROUP

HAMILTON, DEBBIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01473          FLETCHER V. TRAMMELL

HAMILTON, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06899          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMILTON, DIANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14172          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMILTON, DOMINQUE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09031          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMILTON, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07797          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMILTON, ELEANOR                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16890          NAPOLI SHKOLNIK, PLLC

HAMILTON, ESSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04723          THE MILLER FIRM, LLC

HAMILTON, ETHEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00804          CELLINO & BARNES, P.C.




                                                                            Page 508 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                          Appendix A (Part 1) Page 510 of 702

           Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

HAMILTON, FRANKIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18425          NACHAWATI LAW GROUP

HAMILTON, JACQUELINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00277          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMILTON, JO LETA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10863          PARKER WAICHMAN, LLP

HAMILTON, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06715          THE SIMON LAW FIRM, PC

HAMILTON, KARIN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21930          ONDERLAW, LLC

HAMILTON, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19044          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

HAMILTON, MAE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17721          ONDERLAW, LLC

HAMILTON, MARSHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02017          DALIMONTE RUEB, LLP

HAMILTON, MAUREEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07549          DRISCOLL FIRM, P.C.

HAMILTON, OLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20580          ONDERLAW, LLC

HAMILTON, PEGGY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11646          NACHAWATI LAW GROUP

HAMILTON, RUBY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13669          THE MILLER FIRM, LLC

HAMILTON, SAMANTHA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09489          THE MILLER FIRM, LLC

HAMILTON, TAMMYE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13204          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMILTON, TANGELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06901          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMILTON, TRACY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14685          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMILTON-RODGERS, HOPLE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03108          ONDERLAW, LLC

HAMLET, CAROL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

HAMLET, URSULA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05262          ONDERLAW, LLC

HAMM, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11248          SIMMONS HANLY CONROY

HAMM, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09958          SALTZ MONGELUZZI & BENDESKY PC

HAMM, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13366          FLETCHER V. TRAMMELL

HAMM, GEORGIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12895          JOHNSON LAW GROUP

HAMMACK, TRINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00543          JOHNSON BECKER, PLLC

HAMMER, DIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14612          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMMER, JESSICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00182          ASHCRAFT & GEREL

HAMMER, JESSICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00182          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMMER, JONI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13270          NACHAWATI LAW GROUP

HAMMER, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HAMMER, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HAMMER, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HAMMER, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07969          WILSON LAW PA

HAMMER-ALLEN, MICHELLE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08624          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMMERS, LORRAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19835          NACHAWATI LAW GROUP



                                                                         Page 509 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 511 of 702

           Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

HAMMERSLEY, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17319          ONDERLAW, LLC

HAMMERSTAD-SMITH, ASHHLEY        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16633          WATERS & KRAUS, LLP

HAMMETER, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13238          THE MILLER FIRM, LLC

HAMMETT, KERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10012          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMMITT, MARION                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HAMMITT, MARION                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HAMMITT, MARION                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HAMMITT, TINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02846          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMMOCK, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07524          ASHCRAFT & GEREL, LLP

HAMMOCK, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07524          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
HAMMOCK, DAVID, ESTATE OF S
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05103-18AS       LEVY KONIGSBERG LLP
HAMMOCK
HAMMOCK, JOANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03853          SULLO & SULLO, LLP

HAMMOND, ABIGAIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00639          BURNS CHAREST LLP

HAMMOND, ABIGAIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00639          BURNS CHAREST LLP

HAMMOND, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14524          MORRIS BART & ASSOCIATES

HAMMOND, GRACE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21131          THE MILLER FIRM, LLC

HAMMOND, JORDAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11342          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HAMMOND, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HAMMOND, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HAMMOND, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HAMMOND, SHELLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13210          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

HAMMONDS, AMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17549          THE MILLER FIRM, LLC

HAMMONDS, LIZZIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-149-18           KEEFE BARTELS

HAMMONDS, LIZZIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-149-18           LAW OFFICE OF GRANT D. AMEY, LLC

HAMMONDS, RENEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10850          ONDERLAW, LLC

HAMMOND-WILLIAMS, JEANETTE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11255          NACHAWATI LAW GROUP

HAMMONS, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04443          ONDERLAW, LLC

HAMNER, DEVON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18921          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HAMOLTON, MELODIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02021          FLETCHER V. TRAMMELL

HAMPEL, TRISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12553          TRAMMELL PC

HAMPSHIRE, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10844          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

HAMPTON, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19661          NACHAWATI LAW GROUP

HAMPTON, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06190          BURNS CHAREST LLP




                                                                            Page 510 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 512 of 702

              Claimant Name                         State Filed                      Docket Number                               Plaintiff Counsel

HAMPTON, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06190          BURNS CHAREST LLP

HAMPTON, CHRISTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07303          ONDERLAW, LLC

HAMPTON, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08922          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAMPTON, ETHELENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19258          ONDERLAW, LLC

HAMPTON, EVELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15334          CELLINO & BARNES, P.C.

HAMPTON, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20027          NACHAWATI LAW GROUP

HAMPTON, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06272          NAPOLI SHKOLNIK, PLLC

HAMPTON, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08753          ONDERLAW, LLC

HAMPTON, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09393          SIMMONS HANLY CONROY

HAMRICK, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07473          WILLIAMS HART LAW FIRM

HAMRICK, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10301          ASHCRAFT & GEREL

HAMRICK, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10301          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANAVAN, MARSHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08737          ONDERLAW, LLC

HANCHETT, KAY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04702          HUTTON & HUTTON

HANCHULAK, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10240          ONDERLAW, LLC

HANCOCK, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09183          ONDERLAW, LLC

HANCOCK, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03876          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANCOCK, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10472          GOLOMB SPIRT GRUNFELD PC

HANCOCK, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20250          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANCOCK, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15059          SULLO & SULLO, LLP

HANCOCK, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10303          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANCOCK, LOIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11286          NACHAWATI LAW GROUP

HANCOCK, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12329          BARRETT LAW GROUP

HANCOCK, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08652          FLEMING, NOLEN & JEZ, LLP

HANCOCK, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18430          NACHAWATI LAW GROUP

HANCOCK, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08131          ONDERLAW, LLC

HANCOCK, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15114          WILLIAMS HART LAW FIRM

HAND, HAZEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00968          JOHNSON LAW GROUP

HANDELMAN, KIM                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANDELMAN, KIM                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

HANDELMAN, KIM                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

HANDELMAN, KIM                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

HANDER, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11522          MOTLEY RICE, LLC




                                                                            Page 511 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 513 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HANDFORD, LATASHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06276          NAPOLI SHKOLNIK, PLLC

HANDLEY, ALICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04536          JOHNSON LAW GROUP

HANDLEY, MARJORIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00747          JOHNSON LAW GROUP

HANDLEY, WANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21487          ONDERLAW, LLC

HANDORGAN, CECELIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14769          LENZE LAWYERS, PLC

HANDORGAN, CECELIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14769          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HANDSHOE, ANNIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05400          ONDERLAW, LLC

HANDY, BESSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18469          NACHAWATI LAW GROUP

HANDY, DOLORAE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07570          GOLOMB SPIRT GRUNFELD PC

HANDY, EARLENE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2120-15          GOLOMB SPIRT GRUNFELD PC

HANDYSIDE, GLORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01960          DIAMOND LAW

HANENKRATT, SANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17470          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

HANES, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05682          ONDERLAW, LLC

HANEY, DEBRA                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV323905             THE MILLER FIRM, LLC

HANEY, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12270          WILLIAMS HART LAW FIRM

HANGES, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17075          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

HANKINS, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07327          ONDERLAW, LLC

HANKINS, JUANITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18436          NACHAWATI LAW GROUP

HANKINS, TRACY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

HANKINS, TRACY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

HANKINS, TRACY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

HANKINS, VANESSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07271          ONDERLAW, LLC

HANKS, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08185          FLETCHER V. TRAMMELL

HANKS, EDNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09055          ONDERLAW, LLC

HANLEY, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17762          ASHCRAFT & GEREL, LLP

HANLEY, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17762          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANLEY, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13540          MORGAN & MORGAN

HANLEY, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20251          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANLEY, SHANNON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02463          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANMER, EDNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07518          ONDERLAW, LLC

HANN, SUE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12580          ASHCRAFT & GEREL, LLP

HANN, SUE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12580          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANNA, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13937          MORGAN & MORGAN




                                                                          Page 512 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 514 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HANNA, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00844          ONDERLAW, LLC

HANNA, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17212          BURNS CHAREST LLP

HANNA, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17212          BURNS CHAREST LLP

HANNA, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15483          JOHNSON LAW GROUP

HANNA, YAMILET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18657          NACHAWATI LAW GROUP

HANNAH, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12300          ASHCRAFT & GEREL

HANNAH, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12300          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANNAH, DAWN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10745           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANNAH, DAWN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10745           ONDERLAW, LLC

HANNAH, DAWN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10745           PORTER & MALOUF, PA

HANNAH, DAWN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10745           THE SMITH LAW FIRM, PLLC

HANNAH, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12158          GOZA & HONNOLD, LLC

HANNAN, CHARLOTTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06988          ASHCRAFT & GEREL

HANNAN, GEORGIA                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HANNAN, GRETCHEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14799          ARNOLD & ITKIN LLP

HANNIGAN, DEYANIRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANNIGAN, DEYANIRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

HANNIGAN, DEYANIRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

HANNIGAN, DEYANIRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

HANNIGAN, DEYANIRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

HANNING, LILLIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05729          HEYGOOD, ORR & PEARSON

HANSBURY, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00811          ARNOLD & ITKIN LLP

HANSELMAN-WONG, ELIZABETH        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00613          BURNS CHAREST LLP

HANSEN, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13326          NACHAWATI LAW GROUP

HANSEN, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10683          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANSEN, CHARLOTTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05674          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANSEN, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09126          ONDERLAW, LLC

HANSEN, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08367          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANSEN, ELSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09207          ONDERLAW, LLC

HANSEN, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15077          THE BENTON LAW FIRM, PLLC

HANSEN, JO-ANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02875          FLETCHER V. TRAMMELL

HANSEN, JO-ANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04919          ONDERLAW, LLC

HANSEN, KATHIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15549          ONDERLAW, LLC

HANSEN, MARYANN                  CA - SUPERIOR COURT - VENTURA COUNTY         56-2017-00491724       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



                                                                            Page 513 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 515 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HANSEN, NANCI                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANSEN, NANCI                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

HANSEN, NANCI                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

HANSEN-BAWS, CAROLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20703          CELLINO & BARNES, P.C.

HANSL, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12897          BARON & BUDD, P.C.

HANSON, ANTOINETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11077          NACHAWATI LAW GROUP

HANSON, CHARLOTTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06085          MORGAN & MORGAN

HANSON, CHARLOTTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08293          THE MILLER FIRM, LLC

HANSON, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04446          ONDERLAW, LLC

HANSON, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02295          ONDERLAW, LLC

HANSON, ERIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08339          THE MILLER FIRM, LLC

HANSON, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07826          FLETCHER V. TRAMMELL

HANSON, JUANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09412          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HANSON, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00472          PANISH, SHEA & BOYLE

HANSON, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00472          SCHMIDT & SETHI, PC

HANSON, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03901          ONDERLAW, LLC

HANSON, LUPE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12542          BLIZZARD & NABERS, LLP

HANSON, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12417          MUELLER LAW PLLC

HANSON, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17215          ONDERLAW, LLC

HANSON, REBECCA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6752-14          SEEGER WEISS LLP

HANSON, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12372          DAVIS, BETHUNE & JONES, L.L.C.

HANSON, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06114          THE ENTREKIN LAW FIRM

HANTON, MADELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07653          ONDERLAW, LLC

HAPGOOD, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02287          ONDERLAW, LLC

HARABUC, VIRGINIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARABUC, VIRGINIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

HARABUC, VIRGINIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

HARABUC, VIRGINIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

HARABUC, VIRGINIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

HARALDSON, ROBIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17163          WILLIAMS HART LAW FIRM

HARBAUGH, BEVERLY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002280-20        GOLOMB & HONIK, P.C.

HARBIN, AVERL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05530          DANIEL & ASSOCIATES, LLC

HARBIN, DORTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08382          BARRETT LAW GROUP

HARBISON, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17343          ASHCRAFT & GEREL, LLP



                                                                            Page 514 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 516 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HARBISON, BETTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17343          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARBY, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07510          ONDERLAW, LLC

HARDAGE, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01148          ONDERLAW, LLC

HARDEE, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11824          MOTLEY RICE, LLC

HARDELL, RUTH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10611          ONDERLAW, LLC

HARDEN, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11378          NACHAWATI LAW GROUP

HARDERS, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10939          ONDERLAW, LLC

HARDESTY, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARDESTY, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

HARDESTY, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

HARDESTY, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

HARDESTY, HESPERANSA          CA - SUPERIOR COURT - SOLANO COUNTY          FCS050568              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARDESTY, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03553          ONDERLAW, LLC

HARDESTY, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18442          NACHAWATI LAW GROUP

HARDIMAN, LYNN                CA - SUPERIOR COURT - SANTA CLARA COUNTY     16CV294911             PULASKI LAW FIRM

HARDIMAN, LYNN                CA - SUPERIOR COURT - SANTA CLARA COUNTY     16CV294911             SEEGER WEISS LLP

HARDIN, CHARLOTTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11183          ONDERLAW, LLC

HARDIN, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03998          ONDERLAW, LLC

HARDIN, KASSANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14509          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARDIN, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20295          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARDIN, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20329          ONDERLAW, LLC

HARDIN, STACEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07933          ONDERLAW, LLC

HARDING, BOBBIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11442          NACHAWATI LAW GROUP

HARDISON, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03961          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARDISON, SHARIF              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18450          NACHAWATI LAW GROUP

HARDUNG, WANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05672          ONDERLAW, LLC

HARDWICK, GERI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19298          NACHAWATI LAW GROUP

HARDWICK, SONJA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18735          WILLIAMS HART LAW FIRM

HARDY, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11832          NACHAWATI LAW GROUP

HARDY, CONCETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05570          ONDERLAW, LLC

HARDY, ERAINA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARDY, ERAINA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

HARDY, ERAINA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA




                                                                         Page 515 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 517 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HARDY, ERAINA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

HARDY, JENAVISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14562          FLETCHER V. TRAMMELL

HARDY, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06454          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARDY, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13125          THE MILLER FIRM, LLC

HARDY, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05110          ONDERLAW, LLC

HARDY, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05110          ONDERLAW, LLC

HARDY, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05110          ONDERLAW, LLC

HARDY, SHAPHONIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08852          MORRIS BART & ASSOCIATES

HARE, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08435          FLETCHER V. TRAMMELL

HARE, KRISTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13196          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

HARE, KRISTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12374          DAVIS, BETHUNE & JONES, L.L.C.

HARE, VICKI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18457          NACHAWATI LAW GROUP

HAREMZA, GRACE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12049          NACHAWATI LAW GROUP

HARGET, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HARGET, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14908          LENZE LAWYERS, PLC

HARGET, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HARGET, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14908          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARGET, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARGETT, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3;21-CV-14809          LENZE LAWYERS, PLC

HARGETT, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3;21-CV-14809          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARGETT, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11738          ONDERLAW, LLC

HARGIS, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05873          ONDERLAW, LLC

HARGIS, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18462          NACHAWATI LAW GROUP

HARGRAVE, DANISHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03963          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARGRAVE, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15678          NACHAWATI LAW GROUP

HARGROVE, GAIL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13806          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARGROVE, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15320          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARGROVE, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          JACOBS OHARA MCMULLEN , P.C.

HARGROVE, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ONDERLAW, LLC

HARGROVE, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          THE POTTS LAW FIRM, LLP

HARGROVE, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ZEVAN DAVIDSON ROMAN LLC

HARGROVE, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05428          WILLIAMS HART LAW FIRM

HARGROVE, LUCILLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20886          NACHAWATI LAW GROUP




                                                                            Page 516 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                 Desc
                                                              Appendix A (Part 1) Page 518 of 702

               Claimant Name                         State Filed                       Docket Number                                 Plaintiff Counsel

HARGROVE, TONI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARGROVE, TONI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933             GOLDENBERGLAW, PLLC

HARGROVE, TONI                     CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2017-41678-CU-PL-CTL   ONDERLAW, LLC

HARGROVE, TONI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933             ONDERLAW, LLC

HARGROVE, TONI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933             PORTER & MALOUF, PA

HARGROVE, TONI                     CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2017-41678-CU-PL-CTL   SALKOW LAW, APC

HARGROVE, TONI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933             THE SMITH LAW FIRM, PLLC

HARI, RENE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14523             GOLDENBERGLAW, PLLC

HARJO, APRIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14724             LENZE LAWYERS, PLC

HARJO, APRIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14724             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARJO, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16735             ASHCRAFT & GEREL

HARJO, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16735             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARKER, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01371             COHEN & MALAD, LLP

HARKNESS, VICTORIA; YAMAKI, MARY   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC628127                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARLAN, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17375             NACHAWATI LAW GROUP

HARLAN, JUDYTH                     IL - CIRCUIT COURT - MADISON COUNTY          2015L000084               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARLAN, JUDYTH                     IL - CIRCUIT COURT - MADISON COUNTY          2015L000084               ONDERLAW, LLC

HARLAND, SHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01608             PARKER WAICHMAN, LLP

HARLOW, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17445             NACHAWATI LAW GROUP

HARLOW, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12181             ARNOLD & ITKIN LLP

HARMAN, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11728             NACHAWATI LAW GROUP

HARMER, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11042             JOHNSON BECKER, PLLC

HARMER, WENDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12816             ONDERLAW, LLC

HARMON, ELISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16819             FLETCHER V. TRAMMELL

HARMON, HELDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21593             FLETCHER V. TRAMMELL

HARMON, ILA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06343             FLETCHER V. TRAMMELL

HARMON, TANGERLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17508             NACHAWATI LAW GROUP

HARMS, MILDRED                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11023             NACHAWATI LAW GROUP

HARNER, MONA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06028             KLINE & SPECTER, P.C.

HARNESS, CRYSTAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14699             ONDERLAW, LLC

HARNESS, LORRAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02066             JOHNSON LAW GROUP

HARNEY, KIMBERLI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01461             MURRAY LAW FIRM

HARNEY, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09075             ONDERLAW, LLC




                                                                              Page 517 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 519 of 702

              Claimant Name                          State Filed                      Docket Number                             Plaintiff Counsel

HAROLD, MONIQUE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06632          ARNOLD & ITKIN LLP

HAROLD-GRAHAM, CHERYL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08626          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARP, CEANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02038          JOHNSON LAW GROUP

HARP, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09113          HOLLAND LAW FIRM

HARPER, ANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04179          ONDERLAW, LLC

HARPER, BELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10675          NACHAWATI LAW GROUP

HARPER, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00483          ONDERLAW, LLC

HARPER, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06383          NAPOLI SHKOLNIK, PLLC

HARPER, HILDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07939          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

HARPER, IRENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16876          ONDERLAW, LLC

HARPER, JEWELL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HARPER, JEWELL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15396          LENZE LAWYERS, PLC

HARPER, JEWELL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HARPER, JEWELL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15396          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARPER, JEWELL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARPER, JO ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13634          SULLO & SULLO, LLP

HARPER, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13995          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARPER, LARINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14968          KLINE & SPECTER, P.C.

HARPER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10107          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARPER, MARY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002532-20        GOLOMB & HONIK, P.C.

HARPER, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09865          ONDERLAW, LLC

HARPER, SAMARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20648          ONDERLAW, LLC

HARPER, SHERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03789          BURNS CHAREST LLP

HARPER, SHERYLL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08093          THE BENTON LAW FIRM, PLLC

HARPER, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17709          THE MILLER FIRM, LLC

HARPER, TAMMY                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     21STCV11423            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARPER, WHITNEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10245          ONDERLAW, LLC

HARPER, WILMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08565          CHAPPELL, SMITH & ARDEN, P.A.

HARPER-KRISSMAN, JILL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08095          FLETCHER V. TRAMMELL

HARPP, BETH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14284          ASHCRAFT & GEREL, LLP

HARPP, BETH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14284          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRAH, STEVEN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       2022-CC00696           THE GORI LAW FIRM, P.C.

HARRAH, TINA RE: HARRAH, STEVEN   MO - CIRCUIT COURT - CITY OF ST. LOUIS       2022-CC00696           KARST & VON OISTE, LLP

HARRAKA, JANICE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001114-21        GOLOMB & HONIK, P.C.



                                                                             Page 518 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                         Appendix A (Part 1) Page 520 of 702

           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HARRELL, ANGELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04351          ASHCRAFT & GEREL

HARRELL, BELINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14167          DANIEL & ASSOCIATES, LLC

HARRELL, BRENDA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002641-21        WEITZ & LUXENBERG

HARRELL, CATHERINE            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002536-20        GOLOMB & HONIK, P.C.

HARRELL, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10051          SANDERS VIENER GROSSMAN, LLP

HARRELL, DELORES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13823          ONDERLAW, LLC

HARRELL, JANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02064          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRELL, JOANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14286          ASHCRAFT & GEREL, LLP

HARRELL, JOANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14286          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRELL, MICHELE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2251-17          COHEN, PLACITELLA & ROTH

HARRELL, MICHELE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00797          GORI JULIAN & ASSOCIATES, P.C.

HARRELL, MICHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05313          ONDERLAW, LLC

HARRELL, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16606          THE BENTON LAW FIRM, PLLC

HARRELL, SHERRY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15385          ONDERLAW, LLC

HARRELL, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10021          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRELL, VICKY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05246          ONDERLAW, LLC

HARRELSON, KATHRYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07198          THE BENTON LAW FIRM, PLLC

HARRELSON, SARAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12039          BARRETT LAW GROUP

HARRER, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06363          ONDERLAW, LLC

HARRIET COLLINS               FEDERAL - MDL                                3:21-CV-18793          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

HARRIGAN, CATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12663          POTTS LAW FIRM

HARRIGER, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13079          THE MILLER FIRM, LLC

HARRINGTON, BARBARA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06687          JOHNSON LAW GROUP

HARRINGTON, CAROL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17379          NACHAWATI LAW GROUP

HARRINGTON, CAROL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15583          WILLIAMS HART LAW FIRM

HARRINGTON, CAROLYN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12319          LAW OFFICES OF JAMES SCOTT FARRIN

HARRINGTON, DAWN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12550          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

HARRINGTON, DEBRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09551          JOHNSON LAW GROUP

HARRINGTON, JANET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15386          ONDERLAW, LLC

HARRINGTON, JONNET            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16377          DALIMONTE RUEB, LLP

HARRINGTON, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01531          DALIMONTE RUEB, LLP

HARRINGTON, ROSE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09236          ONDERLAW, LLC

HARRINGTON, SANDRA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18142          SIMMONS HANLY CONROY




                                                                         Page 519 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 521 of 702

           Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

HARRINGTON, SARAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20464          ASHCRAFT & GEREL, LLP

HARRINGTON, SARAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20464          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRINGTON, VIRGINIA           NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006733-20        LEVY KONIGSBERG LLP

HARRINGTON, YVONNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11003          THE SIMON LAW FIRM, PC

HARRINGTON-GREENE, SANDRA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02023          ARNOLD & ITKIN LLP

HARRIS, ALISON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13122          NACHAWATI LAW GROUP

HARRIS, ANDREA                 IL - CIRCUIT COURT - COOK COUNTY             2017-L-2169            CLIFFORD LAW OFFICES, P.C.

HARRIS, ANDREA                 IL - CIRCUIT COURT - COOK COUNTY             2017-L-2169            TAFT STETTINIUS & HOLLISTER LLP

HARRIS, ANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12035          ONDERLAW, LLC

HARRIS, ANNETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10006          ONDERLAW, LLC

HARRIS, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14000          TRAMMELL PC

HARRIS, ASHLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09588          NACHAWATI LAW GROUP

HARRIS, AYESHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04448          ONDERLAW, LLC

HARRIS, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19486          ARNOLD & ITKIN LLP

HARRIS, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12526          FLETCHER V. TRAMMELL

HARRIS, BENITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18478          NACHAWATI LAW GROUP

HARRIS, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05891          ONDERLAW, LLC

HARRIS, BEULAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08937          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21785          JOHNSON BECKER, PLLC

HARRIS, BRUNETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14687          THE CUFFIE LAW FIRM

HARRIS, CARLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16735          JOHNSON LAW GROUP

HARRIS, CAROL                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-340-18           COHEN, PLACITELLA & ROTH

HARRIS, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00031          CELLINO & BARNES, P.C.

HARRIS, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20749          FLETCHER V. TRAMMELL

HARRIS, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04186          ONDERLAW, LLC

HARRIS, CHANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20429          DRISCOLL FIRM, P.C.

HARRIS, CHRISTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09037          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, CHRISTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15215          WEITZ & LUXENBERG

HARRIS, CLARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05349          HUTTON & HUTTON

HARRIS, CODY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02418          JOHNSON LAW GROUP

HARRIS, CREOLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06077          ONDERLAW, LLC

HARRIS, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14109          FLETCHER V. TRAMMELL

HARRIS, DEANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08864          MORRIS BART & ASSOCIATES

HARRIS, DEANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14367          THE SEGAL LAW FIRM



                                                                          Page 520 of 1405
                               Case 23-12825-MBK                  Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                  Appendix A (Part 1) Page 522 of 702

               Claimant Name                             State Filed                      Docket Number                              Plaintiff Counsel

HARRIS, DEBBIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04766          ONDERLAW, LLC

HARRIS, DEBORAH                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, DEBORAH                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

HARRIS, DEBORAH                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

HARRIS, DEBORAH                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

HARRIS, DELORES                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16523          NAPOLI SHKOLNIK, PLLC

HARRIS, DIANE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07266          ONDERLAW, LLC

HARRIS, DIANE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17859          THE MILLER FIRM, LLC

HARRIS, DIANNE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12888          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, DONNA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08967          WILLIAMS HART LAW FIRM

HARRIS, DORIS                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12064          ONDERLAW, LLC

HARRIS, ELAINE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02139          ONDERLAW, LLC

HARRIS, ELIZABETH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17121          NACHAWATI LAW GROUP

HARRIS, ERIKA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08182          NAPOLI SHKOLNIK, PLLC

HARRIS, EVELYN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17394          NACHAWATI LAW GROUP

HARRIS, GLORIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08173          ONDERLAW, LLC

HARRIS, GWENDOLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05666          ASHCRAFT & GEREL

HARRIS, GWENDOLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12836          POGUST BRASLOW & MILLROOD, LLC

HARRIS, JACQUELINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17401          NACHAWATI LAW GROUP

HARRIS, JACQUELINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05680          TAUTFEST BOND

HARRIS, JACQUELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03712          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, JANELL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13922          JOHNSON LAW GROUP

HARRIS, JANELLE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01876          JOHNSON LAW GROUP

HARRIS, JANET                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07510          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, JANET                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03493          ONDERLAW, LLC

HARRIS, JANICE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06761          ARNOLD & ITKIN LLP

HARRIS, JARNELL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03839          ONDERLAW, LLC

HARRIS, JAYLYNN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09799          ONDERLAW, LLC

HARRIS, JEAN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11151          GOLDENBERGLAW, PLLC

HARRIS, JENNIFER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09298          ONDERLAW, LLC

HARRIS, JESSICA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14339          ARNOLD & ITKIN LLP

HARRIS, JOHN EST OF JULIANNE HARRIS   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03578-18AS       WEITZ & LUXENBERG

HARRIS, JOYCE                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, JOYCE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09861          ONDERLAW, LLC



                                                                                 Page 521 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 523 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HARRIS, JOYCE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

HARRIS, JOYCE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

HARRIS, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09179          THE BENTON LAW FIRM, PLLC

HARRIS, JOYCE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

HARRIS, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12258          WATERS & KRAUS, LLP

HARRIS, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13484          ONDERLAW, LLC

HARRIS, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04761          THE MILLER FIRM, LLC

HARRIS, JULIE                     CA - SUPERIOR COURT - SAN JOAQUIN COUNTY     STK-CV-UPL-2020-4366   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARRIS, JUNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10309          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12982          HENINGER GARRISON DAVIS, LLC

HARRIS, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11232          ASHCRAFT & GEREL

HARRIS, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05749          ASHCRAFT & GEREL

HARRIS, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05749          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, KENDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14245          ASHCRAFT & GEREL, LLP

HARRIS, KENDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14245          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, KENYETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17120          NACHAWATI LAW GROUP

HARRIS, KIMBERLY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03716          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, KIMBERLY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

HARRIS, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19385          JOHNSON LAW GROUP

HARRIS, KIMBERLY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

HARRIS, KIMBERLY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

HARRIS, KIMBERLY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC
HARRIS, KIMBERLY AND HARRIS,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004711-21        WEITZ & LUXENBERG
MICHAEL
HARRIS, LASHIKA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14271          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14392          ONDERLAW, LLC

HARRIS, LILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01443          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19341          NACHAWATI LAW GROUP

HARRIS, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16859          ONDERLAW, LLC

HARRIS, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11044          JOHNSON BECKER, PLLC

HARRIS, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10008          ONDERLAW, LLC

HARRIS, MABEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16734          ASHCRAFT & GEREL

HARRIS, MABEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16734          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                             Page 522 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 524 of 702

               Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

HARRIS, MARIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11198          NACHAWATI LAW GROUP

HARRIS, MARION                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02593          ONDERLAW, LLC

HARRIS, MARK                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15589          LENZE LAWYERS, PLC

HARRIS, MARK                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15589          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

HARRIS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17199          DALIMONTE RUEB, LLP

HARRIS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HARRIS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13424          JOHNSON LAW GROUP

HARRIS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HARRIS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARRIS, MAXINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04475          THE MILLER FIRM, LLC

HARRIS, MELVINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10975          JOHNSON LAW GROUP

HARRIS, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10512          ONDERLAW, LLC

HARRIS, NATASHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06159          ONDERLAW, LLC

HARRIS, NATASHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12802          POTTS LAW FIRM

HARRIS, NETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01244          JOHNSON LAW GROUP

HARRIS, ODIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18651          NACHAWATI LAW GROUP

HARRIS, OZELLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12416          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

HARRIS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16725          ASHCRAFT & GEREL, LLP

HARRIS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16725          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10290          ASHCRAFT & GEREL

HARRIS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10290          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03472          ONDERLAW, LLC

HARRIS, PAULETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HARRIS, PAULETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15485          LENZE LAWYERS, PLC

HARRIS, PAULETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HARRIS, PAULETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15485          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARRIS, PAULETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARRIS, RACHAEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09417          ONDERLAW, LLC

HARRIS, RHONDA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002644-21        WEITZ & LUXENBERG

HARRIS, RITA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS, RITA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

HARRIS, RITA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

HARRIS, RITA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA




                                                                             Page 523 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 525 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HARRIS, RITA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

HARRIS, ROBBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17868          THE SEGAL LAW FIRM

HARRIS, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05792          ONDERLAW, LLC

HARRIS, ROSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15559          ONDERLAW, LLC

HARRIS, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09522          LILLIS LAW FIRM

HARRIS, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09522          MARTZELL, BICKFORD & CENTOLA

HARRIS, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09522          MICHAEL HINGLE & ASSOCIATES, LLC

HARRIS, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06535          DRISCOLL FIRM, P.C.

HARRIS, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02599          ONDERLAW, LLC

HARRIS, SHANNON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02158          ONDERLAW, LLC

HARRIS, SHAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15920          MCSWEENEY/LANGEVIN, LLC

HARRIS, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05503          ONDERLAW, LLC

HARRIS, SHAUNTOY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17256          NACHAWATI LAW GROUP

HARRIS, SHELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05844          HOLLAND LAW FIRM

HARRIS, SHELIA                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC697943               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

HARRIS, SHELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01405          THE CUFFIE LAW FIRM

HARRIS, SHEVONE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10314          NAPOLI SHKOLNIK, PLLC

HARRIS, SONYA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002782-21        WEITZ & LUXENBERG

HARRIS, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10259          ONDERLAW, LLC

HARRIS, TAYLOR                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20520          DRISCOLL FIRM, P.C.

HARRIS, TERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08375          FLETCHER V. TRAMMELL

HARRIS, TIFFANI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10698          SANDERS VIENER GROSSMAN, LLP

HARRIS, TOCCARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01509          ONDERLAW, LLC

HARRIS, TRACIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10317          THE MILLER FIRM, LLC

HARRIS, VENESSIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14005          ARNOLD & ITKIN LLP

HARRIS, VICTORIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002707-21        WEITZ & LUXENBERG

HARRIS, WILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11107          HUTTON & HUTTON

HARRIS, ZANIESHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15508          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS-DAVIS, KATIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03964          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
HARRIS-HACKWORTH-MALDONADO,
                                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17106          NACHAWATI LAW GROUP
TONYA
HARRISON, ANNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08337          ONDERLAW, LLC

HARRISON, CARMEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12660          ONDERLAW, LLC

HARRISON, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03772          CELLINO & BARNES, P.C.




                                                                             Page 524 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 526 of 702

            Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

HARRISON, DAISY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04771          FLETCHER V. TRAMMELL

HARRISON, DOREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14838          DECOF, BARRY, MEGA & QUINN, P.C.

HARRISON, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09686          ONDERLAW, LLC

HARRISON, JANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09502          ONDERLAW, LLC

HARRISON, KATHALEEN             CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC696316               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HARRISON, KATIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03987          ONDERLAW, LLC

HARRISON, KRYSTAL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10320          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRISON, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02044          NACHAWATI LAW GROUP

HARRISON, LYKEISHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08074          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRISON, MARILYN               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRISON, MARILYN               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

HARRISON, MARILYN               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

HARRISON, MARILYN               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

HARRISON, MARILYN               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

HARRISON, MARION                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04833          ONDERLAW, LLC

HARRISON, MARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06456          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRISON, MARY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-381-18           KEEFE BARTELS

HARRISON, MARY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-381-18           LAW OFFICE OF GRANT D. AMEY, LLC

HARRISON, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08006          ONDERLAW, LLC

HARRISON, MYRTLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17125          NACHAWATI LAW GROUP

HARRISON, RACHEL                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

HARRISON, RACHEL                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

HARRISON, RACHEL                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

HARRISON, RAYNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03665          BLIZZARD & NABERS, LLP

HARRISON, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02970          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HARRISON, RUTH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11879          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRISON, VIVIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09699          ARNOLD & ITKIN LLP

HARRISON, WILLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01447          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARRIS-PENNINGTON, JANET        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01937          ONDERLAW, LLC

HARRIS-THOMAS, BRENDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12551          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

HARROD, JENNIFER (GILBERT)      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03716          THE SEGAL LAW FIRM

HARROLD, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17129          NACHAWATI LAW GROUP




                                                                           Page 525 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 527 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

HARRON, TAMARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12458          EISENBERG, ROTHWEILER, WINKLER

HARROW, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01322          ASHCRAFT & GEREL

HARROW, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01322          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARSH, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17891          THE SEGAL LAW FIRM

HARSHAW, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17133          NACHAWATI LAW GROUP

HARSHBARGER, ANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16350          NACHAWATI LAW GROUP

HARSHBERGER, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09701          JOHNSON LAW GROUP

HARSHEY, PAULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13906          DALIMONTE RUEB, LLP

HARSTAD, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00711          THE BENTON LAW FIRM, PLLC

HART, ADDIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17378          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

HART, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06941          ONDERLAW, LLC

HART, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17085          ONDERLAW, LLC

HART, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09074          ONDERLAW, LLC

HART, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17516          ONDERLAW, LLC

HART, OLLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07575          ONDERLAW, LLC

HART, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05484          WILLIAMS HART LAW FIRM

HART, QUEEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08048          ONDERLAW, LLC

HART, REBEKAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00022          BARON & BUDD, P.C.

HART, SAHAJA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002062-21        GOLOMB & HONIK, P.C.

HART, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00122          ASHCRAFT & GEREL

HART, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15952          DRISCOLL FIRM, P.C.

HART, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08030          ONDERLAW, LLC

HART, SONJA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17140          NACHAWATI LAW GROUP

HART, STACEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17970          ONDERLAW, LLC

HART, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13319          ARNOLD & ITKIN LLP

HART, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07432          ONDERLAW, LLC

HART, TICOPIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18785          NACHAWATI LAW GROUP

HARTER, PATSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01420          MCGOWAN, HOOD & FELDER, LLC

HART-HARRIS, BEVERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15013          MORGAN & MORGAN

HARTIE, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14469          ARNOLD & ITKIN LLP

HARTLAUB, MARGUERITE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12360          MCGOWAN, HOOD & FELDER, LLC

HARTLEIN, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HARTLEIN, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HARTLEIN, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



                                                                            Page 526 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                         Appendix A (Part 1) Page 528 of 702

           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

HARTLESS, JANET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14110          ONDERLAW, LLC

HARTLEY, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06566          LAW OFFICES OF SEAN M. CLEARY

HARTLEY, GEORGIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09935          ONDERLAW, LLC

HARTLEY, JANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09007          ONDERLAW, LLC

HARTLEY, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06460          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARTLEY, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10711          ONDERLAW, LLC

HARTLEY, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17185          NACHAWATI LAW GROUP

HARTLEY, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08731          ONDERLAW, LLC

HARTLEY, SHERRY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15228          MUELLER LAW PLLC

HARTLEY, SHERRY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15228          VAUGHAN LAW FIRM PC

HARTMAN, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17761          ASHCRAFT & GEREL, LLP

HARTMAN, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17761          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARTMAN, DEIDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12047          NACHAWATI LAW GROUP

HARTMAN, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18381          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARTMAN, HEIDI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14888          LENZE LAWYERS, PLC

HARTMAN, HEIDI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14888          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HARTMAN, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08510          THE CARLSON LAW FIRM

HARTMAN, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10098          WILLIAMS HART LAW FIRM

HARTMAN, MARCELLA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01351          MOTLEY RICE, LLC

HARTMAN, MARSHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19355          NACHAWATI LAW GROUP

HARTMAN, TEANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08924          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARTMAN, TONIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19838          NACHAWATI LAW GROUP

HARTMANN, KIMBERLY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09744          ONDERLAW, LLC

HARTNETT, DARLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11479          NACHAWATI LAW GROUP

HARTSFIELD, LADEVIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10096          NACHAWATI LAW GROUP

HARTSHORNE, TERRI             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01796          MORELLI LAW FIRM, PLLC

HARTSOCK, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17347          THE MILLER FIRM, LLC

HARTUNG, BOBBI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19280          EISENBERG, ROTHWEILER, WINKLER

HARTUNG, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20027          MUELLER LAW PLLC

HARTWEG, ANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13696          ASHCRAFT & GEREL

HARTWELL, DARNELL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10028          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARTWELL, ELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11918          MORRIS BART & ASSOCIATES

HARTWELL, JAMIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12817          THE MILLER FIRM, LLC

HARTWIG, AMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15554          JOHNSON LAW GROUP



                                                                         Page 527 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 529 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

HARTY, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06327          MORGAN & MORGAN

HARTZELL, SHARITY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16201          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HARVESTON, LELIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00494          BARON & BUDD, P.C.

HARVEY, ANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15897          NACHAWATI LAW GROUP

HARVEY, BLANCHE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06311          JOHNSON LAW GROUP

HARVEY, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09933          LAW OFFICES OF JAMES SCOTT FARRIN

HARVEY, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02088          ONDERLAW, LLC

HARVEY, ISABEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13969          ONDERLAW, LLC

HARVEY, JENNY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16508          JOHNSON LAW GROUP

HARVEY, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00305          MOTLEY RICE, LLC

HARVEY, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01239          NACHAWATI LAW GROUP

HARVEY, KATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14613          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARVEY, NORENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03597          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARVEY, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15494          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HARVEY, SHASTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04492          THE MILLER FIRM, LLC

HARVEY, SHERRELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09450          NACHAWATI LAW GROUP

HARVEY, VERA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09225          HOLLAND LAW FIRM

HARVEY, VICTORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10539          SIMMONS HANLY CONROY

HARVEY, VONTRECIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05631          LEVIN SIMES LLP

HARVEY, VONTRECIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05631          LEVIN SIMES LLP

HARVEY-STEVENS, LINDA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14698          THE SEGAL LAW FIRM

HARVILL, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12039          HABUSH HABUSH & ROTTIER SC

HARVILLE, JANIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07678          ONDERLAW, LLC

HARWICK, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04997          ONDERLAW, LLC

HASAKA, ROXANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12778          POTTS LAW FIRM

HASBARGEN, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01891          JOHNSON LAW GROUP

HASCALL, SHERRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02096          ONDERLAW, LLC

HASENAUER, MICHELLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02494          JOHNSON LAW GROUP

HASHAW, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09874          ONDERLAW, LLC

HASHIM, SADIYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17181          NACHAWATI LAW GROUP

HASHMAN, MICHON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19506          DALIMONTE RUEB, LLP

HASKELL, FLORENCE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10362          MORELLI LAW FIRM, PLLC

HASKETT, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10275          LAW OFFICES OF SEAN M. CLEARY

HASKETT, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10275          LAW OFFICES OF SEAN M. CLEARY



                                                                          Page 528 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 530 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HASKEW, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12511          HENINGER GARRISON DAVIS, LLC

HASKIN, RUBY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10523          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HASKINS, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08696          WILLIAMS HART LAW FIRM

HASKINS, PATTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19997          TRAMMELL PC

HASKINS, SARAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04682          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HASLACKER, ONEITA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16606          ONDERLAW, LLC

HASPER, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17174          NACHAWATI LAW GROUP

HASSE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06748          ONDERLAW, LLC

HASSELL, GALE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07673          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HASSELL, RACHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00557          ONDERLAW, LLC

HASSLER, EDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19141          ONDERLAW, LLC

HASTINGS, COURTNI             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17517          ONDERLAW, LLC

HASTINGS, DIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13259          ONDERLAW, LLC

HASTINGS, JUDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10664          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HASTINGS, KATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05725          ARNOLD & ITKIN LLP

HASTINGS, MARIE IRENE         BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230638         PRESZLER LAW FIRM LLP

HASTINGS, YVONNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03427          HOLLAND LAW FIRM

HATAM, MARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11397          KNAPP & ROBERTS, P.C.

HATANAKA, SARA                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC624643               KIESEL LAW, LLP

HATCH, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08686          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HATCH, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00436          DALIMONTE RUEB, LLP

HATCH, TANYA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           ONDERLAW, LLC

HATCH, TANYA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           PORTER & MALOUF, PA

HATCH, TANYA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           THE SMITH LAW FIRM, PLLC

HATCHER, EMMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05751          ASHCRAFT & GEREL

HATCHER, EMMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05751          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HATCHER, MARJORIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03966          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HATCHER, MELISSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13255          ONDERLAW, LLC

HATCHER, NANNETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04246          ONDERLAW, LLC

HATCHER, PAULA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00477          ASHCRAFT & GEREL

HATCH-WILLS, CHRISTY          MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

HATCH-WILLS, CHRISTY          MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

HATCH-WILLS, CHRISTY          MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

HATEM, GERDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17314          THE MILLER FIRM, LLC



                                                                         Page 529 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 531 of 702

             Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

HATFIELD, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09363          ONDERLAW, LLC

HATFIELD, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04389          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

HATFIELD, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10006          FLETCHER V. TRAMMELL

HATFIELD, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18736          POTTS LAW FIRM

HATLEY-HENDRICKSON, JASMINE      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07135          ONDERLAW, LLC

HATMAKER, VICKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BARRETT LAW GROUP, P.A.

HATMAKER, VICKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

HATMAKER, VICKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

HATMAKER, VICKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          GOLDENBERG HELLER & ANTOGNOLI, PC

HATTAN, EILEEN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002460-20        GOLOMB & HONIK, P.C.

HATTEN, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09689          ONDERLAW, LLC

HATTEN, JASMINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17312          NACHAWATI LAW GROUP

HATTERMAN, PAT                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05669          REICH & BINSTOCK, LLP

HATTON, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02812          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HATTON, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02461          ONDERLAW, LLC

HATTON, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17901          THE SEGAL LAW FIRM

HAUCK, DOLORES                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV328941             THE MILLER FIRM, LLC

HAUCK, RACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10061          GORI JULIAN & ASSOCIATES, P.C.

HAUG, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06656          THE SIMON LAW FIRM, PC

HAUGEN, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16318          WAGSTAFF & CARTMELL, LLP

HAUGENE, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14633          MESHBESHER & SPENCE, LTD.

HAUGER, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02125          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAUGHEY, FRED                    NY - SUPREME COURT - NYCAL                   190446/2018            MEIROWITZ & WASSERBERG, LLP

HAUGHEY, FRED                    NY - SUPREME COURT - NYCAL                   190446/2018            MEIROWITZ & WASSERBERG, LLP

HAUK, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13661          FLETCHER V. TRAMMELL

HAUN, LULA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05725          ONDERLAW, LLC

HAUN, RUTH                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAUN, RUTH                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

HAUN, RUTH                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

HAUN, RUTH                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

HAUPT, CARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11544          NACHAWATI LAW GROUP

HAUSE, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14194          DRISCOLL FIRM, P.C.

HAUSER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15028          THE BENTON LAW FIRM, PLLC




                                                                            Page 530 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 532 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

HAUSER, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00352          ASHCRAFT & GEREL

HAUSER, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00352          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAUSER, LESLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13431          THORNTON LAW FIRM LLP

HAVENS, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11000          ASHCRAFT & GEREL, LLP

HAVENS-CURTIS, DONNA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17264          NACHAWATI LAW GROUP

HAVERLY, BESSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13266          MCSWEENEY/LANGEVIN, LLC

HAVERSTICK, ELIZABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17267          NACHAWATI LAW GROUP

HAVICK, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14366          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HAVILAND, DEBBIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13432          POTTS LAW FIRM

HAWE, PEARL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06903          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAWES, DOREEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14662          CELLINO & BARNES, P.C.

HAWK, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16204          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HAWK, CLAIRE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06315          MORELLI LAW FIRM, PLLC

HAWK, ELEANOR                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11079          ONDERLAW, LLC

HAWK, JOANNE CHARGING            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02505          BURNS CHAREST LLP

HAWK, JOANNE CHARGING            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02505          BURNS CHAREST LLP

HAWK, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17468          WEITZ & LUXENBERG

HAWKES, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06881          ASHCRAFT & GEREL, LLP

HAWKES, JO-ANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13777          ONDERLAW, LLC

HAWKINS, ALMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13204          DRISCOLL FIRM, P.C.

HAWKINS, ARBUNEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10096          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

HAWKINS, BEATRICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12552          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

HAWKINS, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13241          HELMSDALE LAW, LLP

HAWKINS, DENISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04361          ONDERLAW, LLC

HAWKINS, DORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09429          ONDERLAW, LLC

HAWKINS, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17421          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

HAWKINS, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06692          ONDERLAW, LLC

HAWKINS, ENDELER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07817          DALIMONTE RUEB, LLP

HAWKINS, ENDELER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04215          ONDERLAW, LLC

HAWKINS, ERICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04920          ONDERLAW, LLC

HAWKINS, EVELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09798          ONDERLAW, LLC

HAWKINS, JEAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09182          DAVIS, BETHUNE & JONES, L.L.C.

HAWKINS, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12417          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN




                                                                            Page 531 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                           Appendix A (Part 1) Page 533 of 702

             Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

HAWKINS, LORI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18569          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HAWKINS, MABLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13727          ONDERLAW, LLC

HAWKINS, MOLLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11107          ONDERLAW, LLC

HAWKINS, MONIQUE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20254          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAWKINS, NATISHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13125          ARNOLD & ITKIN LLP

HAWKINS, RENADA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07747          NACHAWATI LAW GROUP

HAWKINS, RHONDA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1229-16          ASHCRAFT & GEREL, LLP

HAWKINS, RHONDA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1229-16          GOLOMB SPIRT GRUNFELD PC

HAWKINS, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04329          ONDERLAW, LLC

HAWKINS, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11386          ONDERLAW, LLC

HAWKINS, SUZANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17273          NACHAWATI LAW GROUP

HAWKINS, TIJUANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14211          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAWKINS, TWAKAWANA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17272          NACHAWATI LAW GROUP

HAWKINS, WENDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08978          ONDERLAW, LLC

HAWKINS-BELDEN, LAURIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09021          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAWKINS-NEWTON, RHONDA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00193          NACHAWATI LAW GROUP

HAWKS, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09318          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAWLEY, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00833          ONDERLAW, LLC

HAWLEY, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06575          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAWORTH, MELISSA                CA - SUPERIOR COURT - SAN LUIS OBISPO COUNTY 18CV0334               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HAWSEY, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01626          ONDERLAW, LLC

HAWTHORNE, COLLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17429          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

HAWTHORNE, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05791          ONDERLAW, LLC

HAWTHORNE, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11847          WATERS & KRAUS, LLP

HAWTHORNE, TIFFENY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13563          NACHAWATI LAW GROUP

HAX, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11238          ASHCRAFT & GEREL

HAY, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20418          ONDERLAW, LLC

HAY, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13180          NACHAWATI LAW GROUP

HAY, MONICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08483          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYDEL, MELANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08819          ONDERLAW, LLC

HAYDEN, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06390          NAPOLI SHKOLNIK, PLLC

HAYDEN, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20257          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYDEN, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07932          MOTLEY RICE, LLC

HAYDEN, SERENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21227          ONDERLAW, LLC



                                                                           Page 532 of 1405
                                Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 534 of 702

             Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

HAYDEN, SHAWNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11458          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYDEN, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19549          NACHAWATI LAW GROUP

HAYDEN, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07000          BARRETT LAW GROUP

HAYEK-MILLER, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03877          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYES, AMANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10614          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                   LA - DISTRICT COURT - EAST BATON ROUGE
HAYES, ANITA                                                                    C-689468-23            THE CHEEK LAW FIRM
                                   PARISH
                                   LA - DISTRICT COURT - EAST BATON ROUGE
HAYES, ANITA                                                                    C-689468-23            UNGLESBY LAW FIRM
                                   PARISH
HAYES, ANNIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16248          NACHAWATI LAW GROUP

HAYES, BERNICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01127          GOLDENBERGLAW, PLLC

HAYES, BESSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09077          GOLDENBERG HELLER & ANTOGNOLI, PC

HAYES, BRANDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09515          ONDERLAW, LLC

HAYES, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09754          ONDERLAW, LLC
HAYES, CYNTHIA EST OF DONNA A
                                   KY - CIRCUIT COURT - JEFFERSON COUNTY        16-CI-03503            KAZAN MCCLAIN SATTERLEY & GREENWOOD
HAYES
HAYES, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18411          NACHAWATI LAW GROUP

HAYES, DONNA                       KY - CIRCUIT COURT - JEFFERSON COUNTY        16-CI-03503            SATTERLEY & KELLEY

HAYES, DONONA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12727          SILL LAW GROUP, PLLC

HAYES, EVELYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10246          ONDERLAW, LLC

HAYES, GERALDINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12631          DALIMONTE RUEB, LLP

HAYES, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04826          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYES, JEANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10791          NACHAWATI LAW GROUP

HAYES, JO                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04649          ONDERLAW, LLC

HAYES, JOE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03525          WAGSTAFF & CARTMELL, LLP

HAYES, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01192          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

HAYES, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04450          ONDERLAW, LLC

HAYES, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03819          WILLIAMS HART LAW FIRM

HAYES, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14865          CELLINO & BARNES, P.C.

HAYES, KAYLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00544          JOHNSON BECKER, PLLC

HAYES, KELLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01660          MURRAY LAW FIRM

HAYES, KIMBERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10313          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYES, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HAYES, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HAYES, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




                                                                              Page 533 of 1405
                              Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                Appendix A (Part 1) Page 535 of 702

              Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel

HAYES, MANDY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17486          JOHNSON BECKER, PLLC

HAYES, MARIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00127          CELLINO & BARNES, P.C.

HAYES, MARTHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HAYES, MARTHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16518          HENINGER GARRISON DAVIS, LLC

HAYES, MARTHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HAYES, MARTHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HAYES, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11094          ONDERLAW, LLC

HAYES, MELISSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04828          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYES, MERLE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20035          NACHAWATI LAW GROUP

HAYES, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18887          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYES, PAULA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21098          CELLINO & BARNES, P.C.

HAYES, PEGGY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07233          ONDERLAW, LLC

HAYES, RITA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17275          NACHAWATI LAW GROUP

HAYES, SHARON                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-12-16            ASHCRAFT & GEREL

HAYES, SHARON                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-12-16            GOLOMB SPIRT GRUNFELD PC

HAYES, SHARON                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13899          KIESEL LAW, LLP

HAYES, SHARON                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13899          LAW OFFICE OF HAYTHAM FARAJ

HAYES, SHARON                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13899          MARTINIAN & ASSOCIATES, INC.

HAYES, SHARON                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08248          ONDERLAW, LLC

HAYES, SHIRLEY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002111-20        GOLOMB & HONIK, P.C.

HAYES, STACY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17274          NACHAWATI LAW GROUP

HAYES, SYNT                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15387          ONDERLAW, LLC

HAYES, TAMMY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYES, TAMMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09727          GOLOMB SPIRT GRUNFELD PC

HAYES, TAMMY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

HAYES, TAMMY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

HAYES, TAMMY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

HAYES, VERONICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10524          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYES-GREER, JOANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14291          THE SEGAL LAW FIRM
HAYES-HATTER, HEATHER EST OF TERRY
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-7152-17AS        LEVY KONIGSBERG LLP
HAYES
HAYES-HOLLINGSWORTH, CHETIQUA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11883          MORELLI LAW FIRM, PLLC

HAYES-STASIO, MICHAELEENE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20405          CELLINO & BARNES, P.C.

HAYLETT, FRANCES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11883          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                               Page 534 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 536 of 702

              Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

HAYMAKER, BRYNNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05133          HELMSDALE LAW, LLP

HAYMAN, SHELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00038          POTTS LAW FIRM

HAYNES, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13097          ONDERLAW, LLC

HAYNES, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20330          ONDERLAW, LLC

HAYNES, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08085          DUGAN LAW FIRM, PLC

HAYNES, CLARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01019          JOHNSON BECKER, PLLC

HAYNES, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11158          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HAYNES, DOLORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10315          GOLDENBERGLAW, PLLC

HAYNES, EMMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07754          ONDERLAW, LLC

HAYNES, GLENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17276          NACHAWATI LAW GROUP

HAYNES, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17299          THE CUFFIE LAW FIRM

HAYNES, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16909          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HAYNES, MATTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06439          ONDERLAW, LLC

HAYNES, PAUL D. AND HAYNES, AMY   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003113-20        WEITZ & LUXENBERG

HAYNES, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10387          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

HAYNES, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05207          THORNTON LAW FIRM LLP

HAYNES, RENEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12568          ASHCRAFT & GEREL, LLP

HAYNES, RENEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12568          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYNES, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09329          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYNES, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02367          JOHNSON LAW GROUP

HAYNES, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02367          LEVIN SIMES LLP

HAYNES, TANYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17249          ASHCRAFT & GEREL, LLP

HAYNES, TANYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17249          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYOS, MERIDITH                   CA - SUPERIOR COURT - COUNTY OF MARIN        CV-1700387             LIEFF CABRASER HEIMANN & BERNSTEIN

HAYS, CARRIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00190          ONDERLAW, LLC

HAYS, HELEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19759          ASHCRAFT & GEREL, LLP

HAYS, HELEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19759          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYS, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HAYS, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15577          LENZE LAWYERS, PLC

HAYS, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HAYS, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15577          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HAYS, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HAYS, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07065          HEYGOOD, ORR & PEARSON




                                                                             Page 535 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 537 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HAYS, MADONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17277          NACHAWATI LAW GROUP

HAYS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13533          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYS, NICHOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03386          ONDERLAW, LLC

HAYS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HAYS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HAYS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HAYS, SHELLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14269          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYWARD, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17938          ASHCRAFT & GEREL

HAYWARD, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17938          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYWARD, EUNICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01487          MORRIS BART & ASSOCIATES

HAYWOOD, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05473          ONDERLAW, LLC

HAYWOOD, MARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06070          ASHCRAFT & GEREL, LLP

HAYWOOD, MARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06070          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAYWOOD, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09906          ONDERLAW, LLC

HAZ, HILDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11138          FLETCHER V. TRAMMELL

HAZARD, AMBER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06120          ONDERLAW, LLC

HAZEL, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13549          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAZEL, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11562          NACHAWATI LAW GROUP

HAZELGROVE, ARLINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11348          NACHAWATI LAW GROUP

HAZELTON, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17315          NACHAWATI LAW GROUP

HAZELWOOD, CLARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01293          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

HAZELWOOD, EDWINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13999          ONDERLAW, LLC

HAZELWOOD, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05464          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAZEN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13378          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAZEN, ROSANNE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HAZEN, ROSANNE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

HAZEN, ROSANNE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

HAZEN, ROSANNE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

HAZEN, ROSANNE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

HAZEN, YVONNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14306          GORI JULIAN & ASSOCIATES, P.C.

HAZIM, ELENA                    FL - CIRCUIT COURT - BROWARD COUNTY          CACE-20-016963         OSBORNE & FRANCIS LAW FIRM PLLC

HAZLETT, CARLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07180          ONDERLAW, LLC

HAZLETT, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13853          JOHNSON LAW GROUP




                                                                           Page 536 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 538 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HAZSLIP, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00940          JOHNSON LAW GROUP

HEAD, JOY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09377          ONDERLAW, LLC

HEAD, LOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00468          MORGAN & MORGAN

HEAD, LUANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12598          THE SEGAL LAW FIRM

HEAD, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17317          NACHAWATI LAW GROUP

HEADD, SHELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19499          SANDERS PHILLIPS GROSSMAN, LLC

HEADLAND, TAMI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16627          WATERS & KRAUS, LLP

HEADLEY, LEONARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00825          ONDERLAW, LLC

HEADLEY, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10889          ONDERLAW, LLC

HEALD, ANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09490          GORI JULIAN & ASSOCIATES, P.C.

HEALD, ISABELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19369          NACHAWATI LAW GROUP

HEALEY, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11780          THORNTON LAW FIRM LLP

HEALY, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19725          CELLINO & BARNES, P.C.

HEAPE, CHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09049          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEARD, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12850          POTTS LAW FIRM

HEARD, EMMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09430          ONDERLAW, LLC

HEARD, HAZEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19004          NACHAWATI LAW GROUP

HEARD, JODI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12618          ONDERLAW, LLC

HEARD, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09425          ONDERLAW, LLC

HEARD, PERCILLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04999          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEARD, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEARD, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720          ONDERLAW, LLC

HEARD, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720          PORTER & MALOUF, PA

HEARD, ROSE                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318652             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HEARD, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720          THE SMITH LAW FIRM, PLLC

HEARD, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00430          NAPOLI SHKOLNIK, PLLC

HEARD, VALERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13655          JOHNSON LAW GROUP

HEARN, DOVINDER                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

HEARN, LYNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06398          NAPOLI SHKOLNIK, PLLC

HEARN, NATOSHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09042          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEARNS, ROBIN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

HEARNS, ROBIN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

HEARNS, ROBIN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

HEARVEY, ETHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20165          NACHAWATI LAW GROUP



                                                                            Page 537 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 539 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HEARVEY, LATANYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08630          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEATH, ARDYTH                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

HEATH, ARDYTH                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

HEATH, ARDYTH                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

HEATH, CLAIRE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01571          BURNS CHAREST LLP

HEATH, CLAIRE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01571          BURNS CHAREST LLP

HEATH, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18112          FLETCHER V. TRAMMELL

HEATH, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06952          JOHNSON BECKER, PLLC

HEATH, FRANKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03602          JOHNSON LAW GROUP

HEATH, GWENDOLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17319          NACHAWATI LAW GROUP

HEATH, RACHAEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09836          FLETCHER V. TRAMMELL

HEATHER HALL                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003268-21        WEITZ & LUXENBERG

HEATHER HIBBERT                  FEDERAL - MDL                                3:21-CV-19640          JOHNSON BECKER, PLLC

HEATHER SIKES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18197          ONDERLAW, LLC

HEATHERLY, CHARLOTTE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

HEATHERLY, CHARLOTTE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

HEATHERLY, CHARLOTTE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

HEATON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09757          ONDERLAW, LLC

HEATON, BARRY                    CANADA - ONTARIO SUPERIOR COURT OF JUSTICE CV-16-553046             ROCHON GENOVA LLP

HEATON, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13848          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEATON, JANET                    CANADA - ONTARIO SUPERIOR COURT OF JUSTICE CV-16-553046             ROCHON GENOVA LLP

HEATON, JANET                    CANADA - ONTARIO SUPERIOR COURT OF JUSTICE CV-16-553046             WILL DAVIDSON LLP

HEAVENER, GERALDINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14876          LENZE LAWYERS, PLC

HEAVENER, GERALDINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14876          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HEAVIN, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18715          FLETCHER V. TRAMMELL

HEAVNER, EMMA LOU                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12485          FRAZER LAW LLC

HEBDON, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10325          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEBERLINE, CLARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14831          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEBERT, DIANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12230          ONDERLAW, LLC

HEBERT, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20308          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEBERT, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12504          ONDERLAW, LLC

HEBERT, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13039          TAUTFEST BOND

HEBERT, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09888          MORRIS BART & ASSOCIATES




                                                                            Page 538 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 540 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HEBRON, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20315          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEBRON, WILHELMIN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-336-18           DARCY JOHNSON DAY, P.C.

HECK, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07639          ONDERLAW, LLC

HECK, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18980          NACHAWATI LAW GROUP

HECKER, GARY                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HECKER, GERALDINE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002282-20        GOLOMB & HONIK, P.C.

HECKMAN, EDNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17232          THE MILLER FIRM, LLC

HECKMAN, EVONADELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17235          THE MILLER FIRM, LLC

HECKMAN, NATALIYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12775          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HECKMAN, TAMMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09061          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEDELL, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14893          LENZE LAWYERS, PLC

HEDELL, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14893          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HEDGCOCK, MARILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00356          KLINE & SPECTER, P.C.

HEDGECOCK, LENA                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV334054             THE MILLER FIRM, LLC

HEDGER, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06905          JOHNSON LAW GROUP

HEDGES, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15321          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEDRICK, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11890          MORELLI LAW FIRM, PLLC

HEDRICK, NITRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09495          GOLOMB SPIRT GRUNFELD PC

HEEDLES-NIEVES, TIFFANY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17323          NACHAWATI LAW GROUP

HEER, JOHN                        IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HEFFERN, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13201          REICH & BINSTOCK, LLP

HEFFERNAN, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09937          ONDERLAW, LLC

HEFFERNAN, JAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16208          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HEFFERNAN, SUZANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07702          BURNS CHAREST LLP

HEFFERNAN, SUZANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07702          BURNS CHAREST LLP

HEFFINGTON, FRANCES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14454          DALIMONTE RUEB, LLP

HEFFNER, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEFFNER, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          ONDERLAW, LLC

HEFFNER, CHERYL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11681           ONDERLAW, LLC

HEFFNER, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          PORTER & MALOUF, PA

HEFFNER, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          THE SMITH LAW FIRM, PLLC

HEFLIN, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02988          ONDERLAW, LLC




                                                                             Page 539 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 541 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HEFLIN, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00045          ASHCRAFT & GEREL

HEFLIN, VIVIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00700          BURNS CHAREST LLP

HEFLIN, VIVIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00700          BURNS CHAREST LLP

HEFNER, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09698          GORI JULIAN & ASSOCIATES, P.C.

HEFTY, MARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09879          ONDERLAW, LLC

HEGDE, DIPTI                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-629-17           ROSS FELLER CASEY, LLP

HEGLER, REGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02462          ONDERLAW, LLC

HEGVOLD, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17092          NACHAWATI LAW GROUP

HEHAR, DAVINDERJIT                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00686          ONDERLAW, LLC

HEID, ELLA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01599          LAW OFFICES OF PETER G ANGELOS, PC

HEIDEN, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10247          ONDERLAW, LLC

HEIDI WISE                        FEDERAL - MDL                                3:21-CV-19137          MOTLEY RICE, LLC

HEIGLE, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10406          ONDERLAW, LLC

HEIKES, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09331          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEIMAN, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13619          THE MILLER FIRM, LLC

HEIMBACH, AMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04183          ONDERLAW, LLC

HEIMLICH, JOLYNNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13437          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEIN, ARLENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19439          CELLINO & BARNES, P.C.

HEIN, CHARLETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03479          CLIFFORD LAW OFFICES, P.C.

HEIN, MARJORIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01495          BURNS CHAREST LLP

HEIN, MARJORIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01495          BURNS CHAREST LLP

HEINEMANN, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21100          CELLINO & BARNES, P.C.

HEINISCH, SHIRLEY                 CA - SUPERIOR COURT - SAN MATEO COUNTY       18-CIV-4501            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEINISCH, SHIRLEY                 CA - SUPERIOR COURT - SAN MATEO COUNTY       18-CIV-4501            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HEINISCH, SHIRLEY                 CA - SUPERIOR COURT - SAN MATEO COUNTY       18-CIV-4501            THE SMITH LAW FIRM, PLLC

HEINKEL, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14572          DAVIS, BETHUNE & JONES, L.L.C.

HEINKEL, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02597          ONDERLAW, LLC

HEINKING, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07568          GORI JULIAN & ASSOCIATES, P.C.

HEIN-MACALUSO, MARGARET           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13088          ONDERLAW, LLC

HEINOLD, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10302          ASHCRAFT & GEREL

HEINOLD, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10302          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEINZ, ASHLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19085          CELLINO & BARNES, P.C.

HEINZ, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03414          THORNTON LAW FIRM LLP




                                                                             Page 540 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 542 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HEINZ, LYNN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08649          THE DUGAN LAW FIRM, APLC

HEINZ, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09471          ONDERLAW, LLC

HEISE, ANGELIQUE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002764-21        WEITZ & LUXENBERG

HEISER, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17934          JOHNSON LAW GROUP

HEISS, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14001          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEISTERHAGEN, DIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19760          JOHNSON BECKER, PLLC

HEISZ, KATHI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13302          NACHAWATI LAW GROUP

HEKKEMA, PATRICIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEKKEMA, PATRICIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

HEKKEMA, PATRICIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

HEKKEMA, PATRICIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

HELBOCK, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09783          CORRIE YACKULIC LAW FIRM, PLLC

HELD, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15817          GIRARDI & KEESE

HELEN SAMPSON                     NJ - STATE                                   ATL-L-003366-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

HELEN STACY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18964          SULLO & SULLO, LLP

HELEN STITT                       IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HELFER, KELLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09582          ONDERLAW, LLC

HELLAND, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07824          THE MILLER FIRM, LLC

HELLARD, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14584          FLETCHER V. TRAMMELL

HELLER, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12292          LEVIN SIMES LLP

HELLER, CARYLON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01098          HOLLAND LAW FIRM

HELLER, DANYETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19104          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HELLER, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08317          ONDERLAW, LLC

HELLER, LUANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09301          ONDERLAW, LLC

HELLER, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09436          ROSS FELLER CASEY, LLP

HELLERSTEDT, JOANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00926          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HELLIWELL, LINDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HELLIWELL, LINDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

HELLIWELL, LINDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

HELLIWELL, LINDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

HELLIWELL, LINDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

HELLNER, NOGA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14549          BISNAR AND CHASE

HELLNER, NOGA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14549          GIRARDI & KEESE

HELLWIG, RACHAEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10083          DALIMONTE RUEB, LLP



                                                                             Page 541 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 543 of 702

            Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

HELM, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11200          NACHAWATI LAW GROUP

HELM, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08902          SANDERS VIENER GROSSMAN, LLP

HELM, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05437          ONDERLAW, LLC

HELMAN, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10303          ASHCRAFT & GEREL

HELMAN, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10303          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HELMBRIGHT, NANCY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06464          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HELMER, JILLIAN                CA - SUPERIOR COURT - NAPA COUNTY            20CV000811             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HELMERS, LILLIAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09059          ONDERLAW, LLC

HELMERS, LOLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08836          DALIMONTE RUEB, LLP

HELMERS, LOLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09646          ONDERLAW, LLC

HELMES, LOLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01592          DALIMONTE RUEB, LLP

HELMES, LOLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01592          JOHNSON LAW GROUP

HELMS, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17941          ASHCRAFT & GEREL

HELMS, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17941          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HELMS, BELINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02932          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HELMS, EVARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08294          THE MILLER FIRM, LLC

HELMS, LESLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09679          ONDERLAW, LLC

HELMS, LYNDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07900          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

HELMS, MARILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04601          FLETCHER V. TRAMMELL

HELMS, VICKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01377          ONDERLAW, LLC

HELO, NAWAL B.                 CA - SUPERIOR COURT - ALAMEDA COUNTY         RG20064440             KAZAN MCCLAIN SATTERLEY & GREENWOOD

HELTON, FRANCES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08507          DAVIS, BETHUNE & JONES, L.L.C.

HELTON, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12719          ONDERLAW, LLC

HELTON, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HELTON, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HELTON, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HELTON, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18015          JOHNSON LAW GROUP

HELTON, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10390          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HELVESTON, NATASHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07067          BURNS CHAREST LLP

HELVESTON, NATASHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07067          BURNS CHAREST LLP

HEMBD, NANCY ANN               IN - SUPERIOR COURT - MARION COUNTY          49D13-2108-MI-029127   DOBS & FARINAS, LLP

HEMENWAY, ROSE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20649          ONDERLAW, LLC

HEMINGWAY, JUDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10141          ASHCRAFT & GEREL

HEMMER, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05174          ONDERLAW, LLC



                                                                          Page 542 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 544 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HEMMER, ROSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01360          ARNOLD & ITKIN LLP

HEMMERLING, JOANN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          DONALD L. SCHLAPPRIZZI P.C.

HEMMERLING, JOANN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HEMMIG, LORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19572          ASHCRAFT & GEREL, LLP

HEMMIG, LORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19572          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEMMIN, MICHELLE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002112-20        GOLOMB & HONIK, P.C.

HEMMINGER, SALLY              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEMMINGER, SALLY              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

HEMMINGER, SALLY              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

HEMMINGER, SALLY              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

HEMMINGER, SALLY              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

HEMMIS, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06467          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEMPHILL, DARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15646          THE BENTON LAW FIRM, PLLC

HEMPHILL, MANNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14581          FLETCHER V. TRAMMELL

HEMPHILL, MARTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19069          MOTLEY RICE, LLC

HEMPHILL, MARTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03232          ONDERLAW, LLC

HEMPHILL-PIPKIN, GEORGIA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06287          ONDERLAW, LLC

HENAGHAN, GLORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04099          ONDERLAW, LLC

HENAO, CRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14874          BLIZZARD & NABERS, LLP

HENAULT, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08006          THE DUGAN LAW FIRM, APLC

HENCKEN, AMANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14487          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENDERSON, AMANDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10283          NACHAWATI LAW GROUP

HENDERSON, AMBER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08820          ONDERLAW, LLC

HENDERSON, BRENDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09299          ONDERLAW, LLC

HENDERSON, CAROLYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12682          ARNOLD & ITKIN LLP

HENDERSON, DELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05233          ONDERLAW, LLC

HENDERSON, ETHELENE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10392          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENDERSON, ETHELENE           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

HENDERSON, ETHELENE           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

HENDERSON, ETHELENE           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

HENDERSON, FRANKIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13591          ONDERLAW, LLC

HENDERSON, GAYLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15505          ONDERLAW, LLC

HENDERSON, GLORIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10975          ASHCRAFT & GEREL

HENDERSON, HELEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15322          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                         Page 543 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 545 of 702

           Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

HENDERSON, JENNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18362          ONDERLAW, LLC

HENDERSON, JERI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10069          ONDERLAW, LLC

HENDERSON, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10508          JOHNSON LAW GROUP

HENDERSON, KETKEO                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20650          ONDERLAW, LLC

HENDERSON, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04491          THE MILLER FIRM, LLC

HENDERSON, MARGIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19841          NACHAWATI LAW GROUP

HENDERSON, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06479          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENDERSON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06799          ONDERLAW, LLC

HENDERSON, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16080          ASHCRAFT & GEREL, LLP

HENDERSON, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16080          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENDERSON, NORMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13264          DRISCOLL FIRM, P.C.

HENDERSON, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16606          ASHCRAFT & GEREL

HENDERSON, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16606          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENDERSON, SARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17760          ASHCRAFT & GEREL, LLP

HENDERSON, SARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17760          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENDERSON, TARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11393          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HENDERSON-HILDEBRAND, HELEN      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08948          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENDLEY, TANICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19396          NACHAWATI LAW GROUP

HENDON, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11928          MOTLEY RICE, LLC

HENDON, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04452          ONDERLAW, LLC

HENDRICK, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12472          ARNOLD & ITKIN LLP

HENDRICKS, ELLEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04695          ONDERLAW, LLC

HENDRICKS, LAURIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04672          ONDERLAW, LLC

HENDRICKS, RHONDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13674          LAW OFFICE OF CHARLES H JOHNSON, PA

HENDRICKS, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05436          HELMSDALE LAW, LLP

HENDRICKS, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16591          THE MILLER FIRM, LLC

HENDRICKSON, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18701          JOHNSON LAW GROUP

HENDRICKSON, JANINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10249          ONDERLAW, LLC

HENDRICKSON, VANESSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07137          ONDERLAW, LLC

HENDRIX, CHARLOTTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03578          ONDERLAW, LLC

HENDRIX, JACQUELYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13203          REICH & BINSTOCK, LLP

HENDRIX, KAY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00871          ARNOLD & ITKIN LLP

HENDRIX, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02613          ONDERLAW, LLC

HENDRIX, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07857          WILLIAMS HART LAW FIRM



                                                                            Page 544 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 546 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HENDRIX, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22112          DALIMONTE RUEB, LLP

HENDRIX, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14314          FRAZER PLC

HENDRYX, DELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10580          NACHAWATI LAW GROUP

HENEGAR, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21036          JOHNSON LAW GROUP

HENES, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02781          THE MILLER FIRM, LLC

HENGEHOLD, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01222          ONDERLAW, LLC

HENJUM, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04152          MARLIN & SALTZMAN LLP

HENLEY, ALESHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01157          GORI JULIAN & ASSOCIATES, P.C.

HENLEY, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02135          ONDERLAW, LLC

HENNEBERGER, JANICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19961          CELLINO & BARNES, P.C.

HENNEBERRY, VIRGINIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17007          SANGISETTY LAW FIRM, LLC

HENNECY, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17381          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENNESSEY, DOREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09438          ONDERLAW, LLC

HENNIGAN, PAMELA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

HENNIGAN, PAMELA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

HENNIGAN, PAMELA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

HENNINGER, ANNETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09185          ONDERLAW, LLC

HENNINGS, DEBBIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13653          THE BARNES FIRM, LC

HENNLEIN, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06049          POGUST BRASLOW & MILLROOD, LLC

HENNON, PENELOPE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002283-20        GOLOMB & HONIK, P.C.

HENN-RANEY, LEE ANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11093          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENRIE, LINDA                    FL - CIRCUIT COURT - BROWARD COUNTY          CACE19003579           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENRIE, LINDA                    FL - CIRCUIT COURT - BROWARD COUNTY          CACE19003579           KELLEY UUSTAL, PLC

HENRIKSEN, KATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14325          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENRIQUEZ, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18618          THE SEGAL LAW FIRM

HENRY, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09365          DALIMONTE RUEB, LLP

HENRY, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08891          ONDERLAW, LLC

HENRY, CHRISTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10997          NACHAWATI LAW GROUP

HENRY, CHRISTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05078          ONDERLAW, LLC

HENRY, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06910          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENRY, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05616          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

HENRY, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08036          ONDERLAW, LLC

HENRY, FRINZETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12837          LINVILLE LAW GROUP

HENRY, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15485          NACHAWATI LAW GROUP



                                                                            Page 545 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 547 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HENRY, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08337          JASON J. JOY & ASSCIATES P.L.L.C.

HENRY, LAURIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09765          ONDERLAW, LLC

HENRY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22056          DRISCOLL FIRM, P.C.

HENRY, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13331          NACHAWATI LAW GROUP

HENRY, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05130          ONDERLAW, LLC

HENRY, MAUREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15820          GIRARDI & KEESE

HENRY, MIGDALIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11594          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HENRY, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12142          GOZA & HONNOLD, LLC

HENRY, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09239          ONDERLAW, LLC

HENRY, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09529          ONDERLAW, LLC

HENRY, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01018          BURNS CHAREST LLP

HENRY, PHAEDRA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1936-16          DAMATO LAW FIRM, P.C.

HENRY, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08781          ONDERLAW, LLC

HENRY, SARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13034          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENRY, SARUXJIT                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22057          DRISCOLL FIRM, P.C.

HENRY, SHERREE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16992          NACHAWATI LAW GROUP

HENRY, TABITHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12672          CLIFFORD LAW OFFICES, P.C.

HENRY, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11230          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HENRY, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11188          ONDERLAW, LLC

HENRYHAND, SELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19426          NACHAWATI LAW GROUP

HENRY-LORELLI, JENNIFER          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17073          NACHAWATI LAW GROUP

HENSEL, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08543          THE MILLER FIRM, LLC

HENSELEIT, KATHLEEN              IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HENSELL, SHEILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09850          NACHAWATI LAW GROUP

HENSEN, CARLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14085          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENSLEE, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14712          LENZE LAWYERS, PLC

HENSLEE, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14712          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HENSLEY, AMBER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02905          ONDERLAW, LLC

HENSLEY, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10032          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENSLEY, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03052          ARNOLD & ITKIN LLP

HENSLEY, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18811          MOTLEY RICE, LLC

HENSLEY, FLORINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01763          ONDERLAW, LLC

HENSLEY, GLADYS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10751          THE MILLER FIRM, LLC

HENSLEY, HEIDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09825          FLETCHER V. TRAMMELL



                                                                            Page 546 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 548 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HENSLEY, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17698          SANDERS PHILLIPS GROSSMAN, LLC

HENSLEY, MARI-GRACE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10838          ONDERLAW, LLC

HENSON, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01173          DRISCOLL FIRM, P.C.

HENSON, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09131          MOTLEY RICE, LLC

HENSON, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05720          ONDERLAW, LLC

HENSON, JEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12418          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

HENSON, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18033          JOHNSON LAW GROUP

HENSON, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05415          COHEN & MALAD, LLP

HENSON, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05415          NIX PATTERSON & ROACH

HENSON-SAUNDERS, MARY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06118          THE ENTREKIN LAW FIRM

HENTHORNE, JARI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12101          MORELLI LAW FIRM, PLLC

HENTON, DEANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14806          LENZE LAWYERS, PLC

HENTON, DEANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14806          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HENTON, THERESE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13589          JOHNSON LAW GROUP

HENTZ, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19437          NACHAWATI LAW GROUP

HENZIE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18382          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HENZLER, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20514          THE MILLER FIRM, LLC

HEPP, CINDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10886          THE MILLER FIRM, LLC

HEPWORTH, LORENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11690          THE MILLER FIRM, LLC

HERBEK, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09345          ONDERLAW, LLC

HERBERT, ANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09426          ONDERLAW, LLC

HERBERT, DOREEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04888          MURRAY LAW FIRM

HERBERT, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11480          NAPOLI SHKOLNIK, PLLC

HERBERT, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11338          SANDERS VIENER GROSSMAN, LLP

HERBERT, VALARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16999          NACHAWATI LAW GROUP

HERBICK, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07146          CRAIG SWAPP & ASSOCIATES

HERBIN, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11897          MORELLI LAW FIRM, PLLC

HERBST, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13204          CORY, WATSON, CROWDER & DEGARIS P.C.

HERD, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02530          WILLIAMS HART LAW FIRM

HEREDIA, ANDREA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

HEREDIA, ANDREA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEREDIA, ANDREA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

HEREDIA, ANDREA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

HEREDIA, ANDREA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC



                                                                            Page 547 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                         Appendix A (Part 1) Page 549 of 702

           Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

HEREDIA, CONNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20240          ONDERLAW, LLC

HEREDIA, DELIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13324          ARNOLD & ITKIN LLP

HEREDIA, ISABEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10039          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEREDIA, NORMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13275          DALIMONTE RUEB, LLP

HERING, HELENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08068          DALIMONTE RUEB, LLP

HERKERT-SOYARS, HEATHER       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13810          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERMAN, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13850          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERMAN, ROBIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08799          ONDERLAW, LLC

HERMAN-JOHNSON, ELOISE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17054          NACHAWATI LAW GROUP

HERMANN, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02836          ONDERLAW, LLC

HERMANN, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12426          THE MILLER FIRM, LLC

HERMES, SUZETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03233          ONDERLAW, LLC

HERMESMAN, MARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17042          NACHAWATI LAW GROUP

HERMILLER, ANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11249          SIMMONS HANLY CONROY

HERMON, SHELIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04616          FLETCHER V. TRAMMELL

HERNANDEZ, ALICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13652          THE DUGAN LAW FIRM

HERNANDEZ, ALICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02560          LEVIN SIMES LLP

HERNANDEZ, ALICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03433          ONDERLAW, LLC

HERNANDEZ, ALIDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14846          SANDERS PHILLIPS GROSSMAN, LLC

HERNANDEZ, APRIL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05984          ONDERLAW, LLC

HERNANDEZ, CARMEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11082          ONDERLAW, LLC

HERNANDEZ, CATHERINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14041          FLETCHER V. TRAMMELL

HERNANDEZ, CHRISTI            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03280          FLETCHER V. TRAMMELL

HERNANDEZ, DEBORAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02374          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERNANDEZ, DEBORAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18502          WEITZ & LUXENBERG

HERNANDEZ, DIANA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18300          DAVIS, BETHUNE & JONES, L.L.C.

HERNANDEZ, DIANA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18312          DAVIS, BETHUNE & JONES, L.L.C.

HERNANDEZ, DONNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09847          FLETCHER V. TRAMMELL

HERNANDEZ, DORIS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

HERNANDEZ, EDNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14599          JOHNSON LAW GROUP

HERNANDEZ, ELEANOR            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11242          ASHCRAFT & GEREL

HERNANDEZ, ELIZABETH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10436          GORI JULIAN & ASSOCIATES, P.C.

HERNANDEZ, ELIZABETH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01987          ONDERLAW, LLC

HERNANDEZ, ELIZABETH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04079          WILLIAMS HART LAW FIRM



                                                                         Page 548 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 550 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HERNANDEZ, ESMERELDA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01325          ASHCRAFT & GEREL

HERNANDEZ, ESMERELDA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01325          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERNANDEZ, EUGENIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00896          ARNOLD & ITKIN LLP

HERNANDEZ, EVA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERNANDEZ, EVA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

HERNANDEZ, EVA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

HERNANDEZ, EVA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

HERNANDEZ, EVA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

HERNANDEZ, EVELYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05127          ONDERLAW, LLC

HERNANDEZ, FLORA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002800-21        COHEN, PLACITELLA & ROTH

HERNANDEZ, GABRIELLE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16735          NAPOLI SHKOLNIK, PLLC

HERNANDEZ, GAIL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11663          HEYGOOD, ORR & PEARSON

HERNANDEZ, GRISELDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19485          NACHAWATI LAW GROUP

HERNANDEZ, JOANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13260          ONDERLAW, LLC

HERNANDEZ, JUANITA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

HERNANDEZ, JUANITA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10235          GOLOMB SPIRT GRUNFELD PC

HERNANDEZ, KAREN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10438          GOLDENBERGLAW, PLLC

HERNANDEZ, LENA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09228          POGUST BRASLOW & MILLROOD, LLC

HERNANDEZ, LYSETTE            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000173-21        GOLOMB & HONIK, P.C.

HERNANDEZ, MAGDALENA          MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

HERNANDEZ, MAGDALENA          MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

HERNANDEZ, MAGDALENA          MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

HERNANDEZ, MARCELLA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12092          BURNS CHAREST LLP

HERNANDEZ, MARCELLA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12092          BURNS CHAREST LLP

HERNANDEZ, MARIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14307          JASON J. JOY & ASSCIATES P.L.L.C.

HERNANDEZ, MARIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02220          JOHNSON LAW GROUP

HERNANDEZ, MARIA              NY - SUPREME COURT - NYCAL                   190331/2018            MEIROWITZ & WASSERBERG, LLP

HERNANDEZ, MARIA              NY - SUPREME COURT - NYCAL                   190331/2018            MEIROWITZ & WASSERBERG, LLP

HERNANDEZ, MARIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02277          MOTLEY RICE, LLC

HERNANDEZ, MILCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16300          THE MILLER FIRM, LLC

HERNANDEZ, NEREIDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

HERNANDEZ, OTILIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03555          ONDERLAW, LLC

HERNANDEZ, PANFILITA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06792          ONDERLAW, LLC

HERNANDEZ, REGINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00534          BURNS CHAREST LLP



                                                                         Page 549 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 551 of 702

             Claimant Name                         State Filed                      Docket Number                               Plaintiff Counsel

HERNANDEZ, ROSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12505          COHEN & MALAD, LLP

HERNANDEZ, SANTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07717          THE SIMON LAW FIRM, PC

HERNANDEZ, SILVER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16727          ASHCRAFT & GEREL

HERNANDEZ, SILVER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16727          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERNANDEZ, STACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14516          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HERNANDEZ, SUSANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13346          HILLIARD MARTINEZ GONZALES, LLP

HERNANDEZ, VERA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19961          NACHAWATI LAW GROUP

HERNANDEZ, YOLANDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERNANDEZ, YOLANDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

HERNANDEZ, YOLANDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

HERNANDEZ, YOLANDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

HERNANDEZ-FUNTES, MIRTA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06730          ONDERLAW, LLC

HERNANDEZ-MELTON, JULIA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03461          ONDERLAW, LLC

HERNDON, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09516          ONDERLAW, LLC

HERNDON, DORNITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03234          ONDERLAW, LLC

HERNDON, KOURTNEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13916          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERNDON, RUBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02108          THE FERRARO LAW FIRM, P.A.

HEROLD, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06475          THE SEGAL LAW FIRM

HERON, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06150          FLEMING, NOLEN & JEZ, LLP

HEROUX, JEANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10716          GOLDENBERGLAW, PLLC

HERR, BETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06081          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERRELL, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05739          MUELLER LAW PLLC

HERRELL, KAY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERRELL, KAY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

HERRELL, KAY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

HERRELL, KAY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

HERRERA, ANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03556          DALIMONTE RUEB, LLP

HERRERA, DELILAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14291          ANDRUS WAGSTAFF, P.C.

HERRERA, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10315          NAPOLI SHKOLNIK, PLLC

HERRERA, ESTELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14866          LENZE LAWYERS, PLC

HERRERA, ESTELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14866          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HERRERA, HILDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09048          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERRERA, KATHYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04591          ONDERLAW, LLC

HERRERA, LILLIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10256          ONDERLAW, LLC



                                                                           Page 550 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                         Appendix A (Part 1) Page 552 of 702

           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HERRERA, LORENA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12868          LINVILLE LAW GROUP

HERRERA, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16214          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HERRERA, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01346          ONDERLAW, LLC

HERRERA, MICHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERRERA, MICHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

HERRERA, MICHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

HERRERA, MICHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

HERRERA, MONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16327          JOHNSON LAW GROUP

HERRERA, MYRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07145          ONDERLAW, LLC

HERRERA, RICHANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10896          ASHCRAFT & GEREL, LLP

HERRERA, SARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07201          ONDERLAW, LLC

HERRERA, SARAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09802          ONDERLAW, LLC

HERRERA, SYLVIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1159-16          ASHCRAFT & GEREL

HERRERA, SYLVIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1159-16          DAMATO LAW FIRM, P.C.

HERRERA-CHAVEZ, KAREN         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18313          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HERRIGES, HEATHER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09056          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERRING, EVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERRING, EVONNE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2247-17          GOLOMB SPIRT GRUNFELD PC

HERRING, EVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719          ONDERLAW, LLC

HERRING, EVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719          PORTER & MALOUF, PA

HERRING, EVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719          THE SMITH LAW FIRM, PLLC

HERRING, IDA                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HERRING, SHARRON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09735          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERRING, SHAUNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10965          ASHCRAFT & GEREL, LLP

HERRING, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01009          COHEN & MALAD, LLP

HERRING, TONYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HERRING, TONYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HERRING, TONYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HERRING, TRUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11585          THE MILLER FIRM, LLC

HERRINGTON, ANNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16077          NACHAWATI LAW GROUP

HERRINGTON, BETTY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01068          ONDERLAW, LLC

HERRINGTON, CARRIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02386          DWYER WILLIAMS POTTER

HERRINGTON, RAE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14469          MORRIS BART & ASSOCIATES

HERRMANN, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08463          SIMMONS HANLY CONROY



                                                                         Page 551 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 553 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HERRO, GAYLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17819          HENINGER GARRISON DAVIS, LLC

HERRON, ALISON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09174          DAVIS, BETHUNE & JONES, L.L.C.

HERRON, LATANYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08391          ASHCRAFT & GEREL

HERRON, LATANYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08391          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERRON, PHOEBE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17518          ONDERLAW, LLC

HERRON, ROBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16220          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HERRYGERS, ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04634          JOHNSON LAW GROUP

HERRYGERS, ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04634          LEVIN SIMES LLP

HERSCHOWSKY, TEENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18704          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERSHAN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13627          THE MILLER FIRM, LLC

HERSHBERGER, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08337          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERSHEY, GINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05658          POTTS LAW FIRM

HERSHEY, HEIDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10349          ONDERLAW, LLC

HERSHEY, LYNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14041          WATERS & KRAUS, LLP

HERSHEY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05399          BARON & BUDD, P.C.

HERSHEY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04158          ONDERLAW, LLC

HERSHMAN, ANGELA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

HERSHMAN, ANGELA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

HERSHMAN, ANGELA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

HERSMAN, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17077          NACHAWATI LAW GROUP

HERTEL, KRISTEN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002537-20        GOLOMB & HONIK, P.C.

HERTZ, PAMELA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERTZ, PAMELA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

HERTZ, PAMELA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

HERTZ, PAMELA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

HERTZ, PAMELA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

HERVEY, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05905          ONDERLAW, LLC

HERVIEUX, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16688          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HERZFELD, ANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09545          ONDERLAW, LLC

HERZING, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17045          NACHAWATI LAW GROUP

HESER, IRENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06502          ONDERLAW, LLC

HESLIN, OLIVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05766          ASHCRAFT & GEREL

HESLIN, OLIVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05766          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HESS, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16132          NACHAWATI LAW GROUP



                                                                             Page 552 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                              Appendix A (Part 1) Page 554 of 702

             Claimant Name                           State Filed                       Docket Number                              Plaintiff Counsel

HESS, CHERYL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16004          JOHNSON LAW GROUP

HESS, GLORIA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2662-17          KEEFE BARTELS

HESS, MARCIA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002284-20        GOLOMB & HONIK, P.C.

HESS, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11110          WAGSTAFF & CARTMELL, LLP

HESS, SANDRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02849          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HESS, STEPHANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07809          ASHCRAFT & GEREL

HESS, SUE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12632          ANDREW THORNTON HIGGINS RAZMARA LLP

HESSELTON, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15630          DANIEL & ASSOCIATES, LLC

HESSION, KEVIN AND HESSION, JUDY   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1145              SWMW LAW, LLC

HESSON, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01751          ONDERLAW, LLC

HESTER, BOBBIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07365          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HESTER, CHARLAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02783          ONDERLAW, LLC

HESTER, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02660          ARNOLD & ITKIN LLP

HESTER, FREIDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16179          HENINGER GARRISON DAVIS, LLC

HESTER, GERMAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05365          MORGAN & MORGAN

HESTER, KATHERYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HESTER, KATHERYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15571          LENZE LAWYERS, PLC

HESTER, KATHERYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HESTER, KATHERYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15571          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HESTER, KATHERYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HESTER, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06368          NAPOLI SHKOLNIK, PLLC

HESTER, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10610          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
HESTON, RAYMOND AND HESTON,
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-007187-20        WEITZ & LUXENBERG
SANDRA
HESTRESS, PILAR                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02384          SAUNDERS & WALKER, P.A.

HESTRESS, PILAR                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02384          VENTURA LAW

HETHERINGTON, DIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10968          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HETHERINGTON, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08076          HOVDE, DASSOW, & DEETS, LLC

HETHERINGTON, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08076          THE MILLER FIRM, LLC

HETTINGER, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04733          WILLIAMS HART LAW FIRM

HETZER, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13523          DRISCOLL FIRM, P.C.

HEUERTZ, SHELLY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002231-20        GOLOMB & HONIK, P.C.

HEUN, MIE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16973          ONDERLAW, LLC

HEUVEL, VIVIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16994          NACHAWATI LAW GROUP

HEWES, DAWN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09021          ONDERLAW, LLC



                                                                              Page 553 of 1405
                              Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                               Appendix A (Part 1) Page 555 of 702

              Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

HEWETT, EMMA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08212          FLETCHER V. TRAMMELL

HEWITT, JESSICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01631          JOHNSON LAW GROUP

HEWITT, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10305          ASHCRAFT & GEREL

HEWITT, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10305          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEWITT, SHARYL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17015          NACHAWATI LAW GROUP

HEWLETT, ISABELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11204          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HEWLETT, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14050          NAPOLI SHKOLNIK, PLLC

HEWLING, LORI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01573          ONDERLAW, LLC

HEYDMAN, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18756          LINVILLE LAW GROUP

HEYING, MARIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11443          BARRETT LAW GROUP

HEYWARD, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17807          ONDERLAW, LLC

HEYWARD, EUNICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14538          MORRIS BART & ASSOCIATES

HEYWARD, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01767          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HEYWARD, THELMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HEYWARD, THELMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15532          LENZE LAWYERS, PLC

HEYWARD, THELMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HEYWARD, THELMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15532          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HEYWARD, THELMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HIATT, CANDACE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10995          FLETCHER V. TRAMMELL

HIATT, LILLIENNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01283          ARNOLD & ITKIN LLP

HIATT, MARY                         IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HIBBARD, CAROL                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV323910             THE MILLER FIRM, LLC

HIBBERT, HEATHER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19640          JOHNSON BECKER, PLLC

HIBBLER, ELLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11365          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HIBBLER, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09280          SANDERS VIENER GROSSMAN, LLP

HIBBS, JUDY                         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002905-21        WEITZ & LUXENBERG

HIBBS, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01327          ASHCRAFT & GEREL

HIBBS, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01327          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HIBLER, AZLINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15667          ONDERLAW, LLC

HICE, CATHLEEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05915          ONDERLAW, LLC

HICKAM, EVERETT                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11523          GOZA & HONNOLD, LLC

HICKERSON, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01815          ONDERLAW, LLC

HICKEY, JULIA EST OF JERRY HICKEY   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01269-18AS       WEITZ & LUXENBERG




                                                                               Page 554 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 556 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

HICKEY, ROSEANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19500          NACHAWATI LAW GROUP

HICKMAN, DONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16662          ASHCRAFT & GEREL

HICKMAN, DONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16662          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HICKMAN, HEIDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05320          ONDERLAW, LLC

HICKMAN, JOANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15925          JOHNSON LAW GROUP

HICKMAN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01242          GORI JULIAN & ASSOCIATES, P.C.

HICKMAN, SARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09290          ONDERLAW, LLC

HICKMAN-CALDWELL, JUDY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06546          BURNS CHAREST LLP

HICKS, BOBBIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04925          ONDERLAW, LLC

HICKS, CARMELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12593          ONDERLAW, LLC

HICKS, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09980          GORI JULIAN & ASSOCIATES, P.C.

HICKS, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19774          ONDERLAW, LLC

HICKS, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14571          FLETCHER V. TRAMMELL

HICKS, GLADYS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11977          THE MILLER FIRM, LLC

HICKS, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11880          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HICKS, HATTIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10858          NACHAWATI LAW GROUP

HICKS, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13636          DRISCOLL FIRM, P.C.

HICKS, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14739          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HICKS, LYNN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18522          CELLINO & BARNES, P.C.

HICKS, MAGDALENE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002123-21        ARNOLD & ITKIN LLP

HICKS, MAGDALENE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002123-21        COHEN, PLACITELLA & ROTH

HICKS, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01868          MUELLER LAW PLLC

HICKS, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09063          ONDERLAW, LLC

HICKS, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07428          BARNES LAW GROUP, LLC

HICKS, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07428          CHEELEY LAW GROUP

HICKS, NICHOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17038          NACHAWATI LAW GROUP

HICKS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17029          NACHAWATI LAW GROUP

HICKS, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00803          FLETCHER V. TRAMMELL

HICKS, REGINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15530          GORI JULIAN & ASSOCIATES, P.C.

HICKS, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06024          KIRKENDALL DWYER LLP

HICKS, RUBY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12931          PAUL LLP

HICKS, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HICKS, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC




                                                                             Page 555 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 557 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HICKS, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HICKS, SARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16651          PETERSON & ASSOCIATE, P.C.

HICKS, SHARKEA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12062          NAPOLI SHKOLNIK, PLLC

HICKS, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12898          GORI JULIAN & ASSOCIATES, P.C.

HICKS, STELLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16107          ONDERLAW, LLC

HICKS, STEPHANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04759          ONDERLAW, LLC

HICKS, TIFFANY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12139          THE BENTON LAW FIRM, PLLC

HICKS, VERGA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10502          HENINGER GARRISON DAVIS, LLC

HICKS, VICKIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20580          MOTLEY RICE, LLC

HICOK, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08953          ONDERLAW, LLC

HIDALGO, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08921          MORRIS BART & ASSOCIATES

HIDALGO, NIVA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16350          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HIDALGO, YVONNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06245          DIAMOND LAW

HIDER, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05177          ONDERLAW, LLC

HIEBER, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07424          FLETCHER V. TRAMMELL

HIETPAS, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17102          NACHAWATI LAW GROUP

HIEYE, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15539          MURRAY LAW FIRM

HIGDON, CORINNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09929          DICKS & COGLIANSE LLP

HIGDON, CORINNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09929          ONDERLAW, LLC

HIGDON, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12720          ONDERLAW, LLC

HIGGINBOTHAM, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10010          ONDERLAW, LLC

HIGGINBOTHAM, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17364          JOHNSON LAW GROUP

HIGGINS, ANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04913          THE MILLER FIRM, LLC

HIGGINS, CHRISTINE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2905-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HIGGINS, CHRISTINE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2905-15          PORTER & MALOUF, PA

HIGGINS, CHRISTINE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2905-15          SEEGER WEISS LLP

HIGGINS, CHRISTINE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2905-15          THE SMITH LAW FIRM, PLLC

HIGGINS, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07251          BURNS CHAREST LLP

HIGGINS, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07251          BURNS CHAREST LLP

HIGGINS, GLINNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19220          DRISCOLL FIRM, P.C.

HIGGINS, JOANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17089          NACHAWATI LAW GROUP

HIGGINS, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06512          LEVIN SIMES ABRAMS LLP

HIGGINS, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11892          NACHAWATI LAW GROUP

HIGGINS, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19053          NACHAWATI LAW GROUP



                                                                             Page 556 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 558 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HIGGINS, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01640          MORELLI LAW FIRM, PLLC

HIGGINS, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12796          MUELLER LAW PLLC

HIGGINS, MARIANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12013          DALIMONTE RUEB, LLP

HIGGINS, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07846          ONDERLAW, LLC

HIGGINS, ROSEANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00084          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HIGGINS-MULDER, CHARLINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12015          NACHAWATI LAW GROUP

HIGGS, JUNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HIGGS, JUNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15417          LENZE LAWYERS, PLC

HIGGS, JUNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HIGGS, JUNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15417          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HIGGS, JUNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HIGH, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10307          ASHCRAFT & GEREL

HIGH, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10307          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HIGH, MARLENE                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327536             DANIEL & ASSOCIATES, LLC

HIGH, MARLENE                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327536             KIESEL LAW, LLP

HIGH, MARLENE                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327536             THE WHITEHEAD LAW FIRM, LLC

HIGHMAN, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18499          WEITZ & LUXENBERG

HIGHTOWER, ARMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06993          ONDERLAW, LLC

HIGHTOWER, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02695          GORI JULIAN & ASSOCIATES, P.C.

HIGHTOWER, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08963          MORRIS BART & ASSOCIATES

HIGHTOWER, DONNA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1960-16          ASHCRAFT & GEREL

HIGHTOWER, DONNA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1960-16          GOLOMB SPIRT GRUNFELD PC

HIGHTOWER, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16035          NACHAWATI LAW GROUP

HIGLEY, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13254          ONDERLAW, LLC

HIGLEY, TERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02888          ASHCRAFT & GEREL

HIGMAN, LESLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15294          DALIMONTE RUEB, LLP

HILBORN, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10264          ONDERLAW, LLC

HILBURN, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19221          DRISCOLL FIRM, P.C.

HILBURN-HENDERSON, QV             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17105          NACHAWATI LAW GROUP

HILDA GARCIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18802          MOTLEY RICE, LLC

HILDABRAND, CONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01159          THE DUGAN LAW FIRM, APLC

HILDE, MARTHA                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     16-CV-296601           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

HILDEBRAND, ALICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01528          ONDERLAW, LLC

HILDERBRAND, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15875          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



                                                                             Page 557 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 559 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HILDRETH, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07758          ONDERLAW, LLC

HILDRETH, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09613          ONDERLAW, LLC

HILDRETH, LYNN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14378          JOHNSON LAW GROUP

HILE, LAURA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16101          COHEN & MALAD, LLP

HILEMAN, DAISY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05074          ONDERLAW, LLC

HILF, KELLY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILF, KELLY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

HILF, KELLY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

HILF, KELLY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

HILF, KELLY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

HILL, ALICE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08387          ASHCRAFT & GEREL

HILL, ALICE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08387          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILL, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09948          JASON J. JOY & ASSCIATES P.L.L.C.

HILL, BILLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11231          THE MILLER FIRM, LLC

HILL, CAROL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILL, CAROL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

HILL, CAROL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

HILL, CAROL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

HILL, CAROL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

HILL, CASANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11133          ARNOLD & ITKIN LLP

HILL, CHARLESETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05946          ONDERLAW, LLC

HILL, CHARLOTTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04857          MOTLEY RICE, LLC

HILL, CHARLOTTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05044          ONDERLAW, LLC

HILL, CHERYL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14181          DANIEL & ASSOCIATES, LLC

HILL, CHERYL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15792          JOHNSON LAW GROUP

HILL, CHERYL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08007          THE DUGAN LAW FIRM, APLC

HILL, CHRISTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01464          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

HILL, DEBORAH                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003171-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

HILL, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11592          NACHAWATI LAW GROUP

HILL, DORIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01187          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILL, DORIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11658          HARRISON DAVIS STEAKLEY MORRISON

HILL, DOROTHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15598          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




                                                                             Page 558 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 560 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HILL, ELLEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06081          ONDERLAW, LLC

HILL, EUNICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14969          ASHCRAFT & GEREL, LLP

HILL, EUNICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14969          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILL, HAZEL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12102          POTTS LAW FIRM

HILL, IRENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02746          ONDERLAW, LLC

HILL, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06735          THE SIMON LAW FIRM, PC

HILL, JOY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07482          ONDERLAW, LLC

HILL, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05130          HOLLAND LAW FIRM

HILL, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00770          MORRIS BART & ASSOCIATES

HILL, JUANITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

HILL, JUANITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILL, JUANITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

HILL, JUANITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

HILL, JUANITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

HILL, JULIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10842          NACHAWATI LAW GROUP

HILL, JULIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13850          DANIEL & ASSOCIATES, LLC

HILL, JULIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17446          NACHAWATI LAW GROUP

HILL, JUNE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02683          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILL, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05032          POTTS LAW FIRM

HILL, KASITY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08233          ONDERLAW, LLC

HILL, KELLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13466          MORELLI LAW FIRM, PLLC

HILL, LANETTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13139          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HILL, LILLIAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07340          ONDERLAW, LLC

HILL, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16134          NACHAWATI LAW GROUP

HILL, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08344          THE MILLER FIRM, LLC

HILL, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11020          PARKER WAICHMAN, LLP

HILL, LOIRAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14888          ONDERLAW, LLC

HILL, LORI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00695          GORI JULIAN & ASSOCIATES, P.C.

HILL, LORI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17057          NACHAWATI LAW GROUP

HILL, LYDIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06689          THE SIMON LAW FIRM, PC

HILL, MATHILDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20651          ONDERLAW, LLC

HILL, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01959          ONDERLAW, LLC

HILL, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01518          JOHNSON LAW GROUP

HILL, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03014          ONDERLAW, LLC



                                                                             Page 559 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 561 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HILL, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21935          ONDERLAW, LLC

HILL, RACHEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01236          POTTS LAW FIRM

HILL, RHONDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15823          GIRARDI & KEESE

HILL, ROBIN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

HILL, ROBIN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

HILL, ROBIN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

HILL, ROSA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06474          ONDERLAW, LLC

HILL, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07398          ONDERLAW, LLC

HILL, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01256          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILL, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14242          PARKER WAICHMAN, LLP

HILL, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12407          ONDERLAW, LLC

HILL, SYLVIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03509          THE DIAZ LAW FIRM, PLLC

HILL, TERRI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17005          NACHAWATI LAW GROUP

HILL, THERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08288          ONDERLAW, LLC

HILL, TIFFANY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14213          THE BENTON LAW FIRM, PLLC

HILL, TIMIRRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11389          NACHAWATI LAW GROUP

HILL, TINA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11814          NACHAWATI LAW GROUP

HILL, TONYA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11847          GORI JULIAN & ASSOCIATES, P.C.

HILL, VALERIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01136          THE DUGAN LAW FIRM, APLC

HILL, VENISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19959          NACHAWATI LAW GROUP

HILL, VINCENT                     CA - SUPERIOR COURT - ALAMEDA COUNTY         RG21099490             KAZAN MCCLAIN SATTERLEY & GREENWOOD

HILL, VURLENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09492          GORI JULIAN & ASSOCIATES, P.C.

HILL, WILHEMIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09736          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILL, YOKEASHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10991          NACHAWATI LAW GROUP

HILL, YOLANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20198          THE MILLER FIRM, LLC

HILLAND, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08346          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILLARD, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08970          MORRIS BART & ASSOCIATES

HILL-BROWN, JOSEPHINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20068          NACHAWATI LAW GROUP

HILLENDAHL, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09654          ONDERLAW, LLC

HILLER, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07132          ONDERLAW, LLC

HILLER, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16392          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

HILL-ESCOBEDO, NITA               CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV333671             DANIEL & ASSOCIATES, LLC

HILL-ESCOBEDO, NITA               CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV333671             KIESEL LAW, LLP

HILL-ESCOBEDO, NITA               CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV333671             THE WHITEHEAD LAW FIRM, LLC



                                                                             Page 560 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 562 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HILL-HALL, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10665          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILLIARD, ETHEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07182          ONDERLAW, LLC

HILLIARD, EUNICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19530          NACHAWATI LAW GROUP

HILLIARD, JULIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000603-21        MORELLI LAW FIRM, PLLC

HILLIARD, JULIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000603-21        THE SEGAL LAW FIRM

HILLIARD, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01352          JOHNSON LAW GROUP

HILLIARD, PEARL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02066          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILLIARD, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19109          BARON & BUDD, P.C.

HILLIE, BRENDA                    IL - CIRCUIT COURT - COOK COUNTY             2020L013348            ONDERLAW, LLC

HILLIGOSS, JANET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

HILLIGOSS, JANET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

HILLIGOSS, JANET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

HILLIGOSS, JANET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

HILLIKER, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06783          ONDERLAW, LLC

HILLIN, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HILLIN, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HILLIN, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HILLIS, ROSE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1692-16          NAPOLI SHKOLNIK, PLLC

HILL-KINNEY, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15509          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HILLMER, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15035          ONDERLAW, LLC

HILLS, GAIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09221          ONDERLAW, LLC

HILLS, TAQUITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11130          ARNOLD & ITKIN LLP

HILLYER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00558          NACHAWATI LAW GROUP

HILLYER, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11683          MCEWEN LAW FIRM, LTD.

HILSCHER, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02937          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILTON, ANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19099          MOTLEY RICE, LLC

HILTON, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17760          DALIMONTE RUEB, LLP

HILTON, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09858          WILLIAMS HART LAW FIRM

HILTON, LINDA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-885-16           ASHCRAFT & GEREL

HILTON, LINDA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-885-16           GOLOMB SPIRT GRUNFELD PC

HILTON, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07746          ONDERLAW, LLC

HILTON, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                             Page 561 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 563 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HILTON, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          GOLDENBERGLAW, PLLC

HILTON, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          ONDERLAW, LLC

HILTON, SARAH                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11681           ONDERLAW, LLC

HILTON, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          PORTER & MALOUF, PA

HILTON, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          THE SMITH LAW FIRM, PLLC

HILTON, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HILTON, THERESA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2429-17          KEEFE BARTELS

HILTON, THERESA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2429-17          LAW OFFICE OF GRANT D. AMEY, LLC

HIMDEN, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14614          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HIMDEN, KAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10827          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HIMLER, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16146          LAW OFFICES OF DONALD G. NORRIS

HINCH, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04169          ONDERLAW, LLC

HINDMAN, CYNTHIA                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     21STCV29497            BISNAR AND CHASE

HINDMAN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17097          NACHAWATI LAW GROUP

HINDRICHS, DAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00684          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HINDS, BESSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04877          ONDERLAW, LLC

HINDS, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07430          HEYGOOD, ORR & PEARSON

HINDS, FRANCES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09492          ONDERLAW, LLC

HINDS, JASMINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13712          ARNOLD & ITKIN LLP

HINDY, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08038          ONDERLAW, LLC

HINES, AMANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13255          ARNOLD & ITKIN LLP

HINES, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12920          DALIMONTE RUEB, LLP

HINES, CARMEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07481          GOLOMB SPIRT GRUNFELD PC

HINES, DOLORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09491          THE MILLER FIRM, LLC

HINES, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13208          NACHAWATI LAW GROUP

HINES, EARLITHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06740          DRISCOLL FIRM, P.C.

HINES, EILEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12068          LEVIN SIMES LLP

HINES, KRISTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07149          ONDERLAW, LLC

HINES, LEE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01064          THE BENTON LAW FIRM, PLLC

HINES, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20652          ONDERLAW, LLC

HINES, MILDRED                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02867          NAPOLI SHKOLNIK, PLLC

HINES, PAULETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20655          ONDERLAW, LLC

HINES, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09921          ONDERLAW, LLC

HINES, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12545          ARNOLD & ITKIN LLP



                                                                             Page 562 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 564 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HINES, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13548          ONDERLAW, LLC

HINES, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00836          SULLO & SULLO, LLP

HINES, WENDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13478          FLETCHER V. TRAMMELL

HINEY, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16070          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HINKLE, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10666          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HINKLE, CLAUDIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12230          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HINKLE, GINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17911          ONDERLAW, LLC

HINKLE, HONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05312          ONDERLAW, LLC

HINKLE, JOANNA                    MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HINKLE, JOANNA                    MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           PORTER & MALOUF, PA

HINKLE, JOANNA                    MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           THE SMITH LAW FIRM, PLLC

HINKLE, MEGAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08733          ONDERLAW, LLC

HINKLE, PAMELA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002538-20        GOLOMB & HONIK, P.C.

HINKLE, TERRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04000          JOHNSON LAW GROUP

HINKLEY, JEANETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09598          ONDERLAW, LLC

HINMAN, MERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17839          ASHCRAFT & GEREL, LLP

HINMAN, MERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17839          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HINMON, HEATHER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17071          NACHAWATI LAW GROUP

HINOJOSA, DOLORES                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002285-20        GOLOMB & HONIK, P.C.

HINOJOSA, ROSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17086          NACHAWATI LAW GROUP

HINOTE, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17010          NACHAWATI LAW GROUP

HINRICHS, GAYLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07611          DRISCOLL FIRM, P.C.

HINSHAW, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07089          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

HINSON, JAN                       CA - SUPERIOR COURT - SANTA CRUZ COUNTY      18CV00120              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HINSON, LYNDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14289          ASHCRAFT & GEREL, LLP

HINSON, LYNDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14289          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HINSON, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07159          JOHNSON LAW GROUP

HINTON, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08967          ONDERLAW, LLC

HINTON, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13151          FLETCHER V. TRAMMELL

HINTON, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12533          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HINTON, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01466          ONDERLAW, LLC

HINTON, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07802          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HINTON, SHAWNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16608          ONDERLAW, LLC




                                                                             Page 563 of 1405
                               Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                                Appendix A (Part 1) Page 565 of 702

               Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

HINTZ, VICELDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16997          NACHAWATI LAW GROUP

HINTZ-RUSH, CINDY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002264-20        GOLOMB & HONIK, P.C.

HIPPLE, JACQUELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08956          ONDERLAW, LLC

HIPPLEY, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11869          JOHNSON BECKER, PLLC

HIRD, ELIZABETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17336          BRUERA LAW FIRM PLLC

HIRL-BELL, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06748          THE SIMON LAW FIRM, PC

HIRSCH, DIANE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02298          MOTLEY RICE, LLC

HIRSCH, TEBRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20735          FLETCHER V. TRAMMELL

HIRSCHMAN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09875          ONDERLAW, LLC

HIRST, JANIE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19935          NACHAWATI LAW GROUP

HISCHE, CYNTHIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000346-21        COHEN, PLACITELLA & ROTH

HISCHE, CYNTHIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000346-21        FLETCHER V. TRAMMELL

HISE, DEBORAH                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08794          JOHNSON LAW GROUP

HISER, FANNIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03114          ONDERLAW, LLC

HISH, DORIS                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10748          NACHAWATI LAW GROUP

HITCH, JACQUELINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15558          ARNOLD & ITKIN LLP

HITCHCOCK, EILEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16864          NAPOLI SHKOLNIK, PLLC

HITCHCOCK, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09139          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HITCHCOCK, PENNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18445          JOHNSON LAW GROUP

HITCHCOCK, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12204          ONDERLAW, LLC

HITCHMAN, JOANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13779          ONDERLAW, LLC

HITE, KIMBERLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17685          ASHCRAFT & GEREL, LLP

HITT, GEORGIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14597          ONDERLAW, LLC

HITTINGER, LEE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03243          EISENBERG, ROTHWEILER, WINKLER

HITTLER, LISA                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002253-20        GOLOMB & HONIK, P.C.

HITZ, PATRICIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09070          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HIVELY, MICHELLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18523          ONDERLAW, LLC

HIX, JOELLYN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17092          JOHNSON LAW GROUP

HIXON, VALARIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17084          NACHAWATI LAW GROUP

HIXON, VALERIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08406          ONDERLAW, LLC

HIXSON, TERESA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09414          JOHNSON BECKER, PLLC

HJELM, NANCY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07840          ASHCRAFT & GEREL

HJELM, NANCY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07840          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                     OH - COURT OF COMMON PLEASE - CUYAHOGA
HLAD, RUTH EST OF MICHELLE RUSSELL                                                CV19909292             BEVAN & ASSOCIATES LPA, INC.
                                     COUNTY



                                                                                Page 564 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 566 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

HLADEK, GENEVIEVE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03396          ONDERLAW, LLC

HLAVSA, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03505          KIBBEY AND WAGNER

HO, JULIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02096          ONDERLAW, LLC

HOAG, CHRISTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10186          ONDERLAW, LLC

HOAGE, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17840          ASHCRAFT & GEREL, LLP

HOAGE, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17840          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOAGLAND, KATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21387          HOLLAND LAW FIRM

HOANG, ANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13477          THE MILLER FIRM, LLC

HOANG, LINH                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC650367               PANISH, SHEA & BOYLE

HOBBS, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00144          ASHCRAFT & GEREL

HOBBS, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00144          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOBBS, AYESIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15986          NACHAWATI LAW GROUP

HOBBS, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12835          HEYGOOD, ORR & PEARSON

HOBBS, DOLLISHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10738          NACHAWATI LAW GROUP

HOBBS, LESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HOBBS, LESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HOBBS, LESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HOBBS, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15439          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

HOBBS, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18580          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HOBSCHAIDT, LYNN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001871-20        GOLOMB & HONIK, P.C.

HOBSON, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12817          ONDERLAW, LLC

HOCHBERG, SYLVIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13220          REICH & BINSTOCK, LLP

HOCHREIN, LYNN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06987          ONDERLAW, LLC

HOCKENBERRY, BELINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06620          FLETCHER V. TRAMMELL

HOCKENBURY, CORINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05929          ONDERLAW, LLC

HOCKER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12271          WILLIAMS HART LAW FIRM

HODAPP, REBECCA                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HODESH, ILENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16356          THE MILLER FIRM, LLC

HODGE, CHRISTINE                 IL - CIRCUIT COURT - COOK COUNTY             2018-L-1807            CLIFFORD LAW OFFICES, P.C.

HODGE, CHRISTINE                 IL - CIRCUIT COURT - COOK COUNTY             2018-L-1807            TAFT STETTINIUS & HOLLISTER LLP

HODGE, JOHNNETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09881          ONDERLAW, LLC

HODGE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06145          THE SEGAL LAW FIRM

HODGE, MANDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15803          HILLIARD MARTINEZ GONZALES, LLP




                                                                            Page 565 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 567 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HODGE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13413          JOHNSON LAW GROUP

HODGE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10848          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

HODGE, NELLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19313          CELLINO & BARNES, P.C.

HODGE, PENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09030          ONDERLAW, LLC

HODGE, RAMONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15070          MORELLI LAW FIRM, PLLC

HODGES, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14732          LENZE LAWYERS, PLC

HODGES, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14732          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HODGES, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16724          ASHCRAFT & GEREL

HODGES, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16724          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HODGES, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07032          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HODGES, HESTER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07678          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HODGES, KATHY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002286-20        GOLOMB & HONIK, P.C.

HODGES, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10572          ONDERLAW, LLC

HODGES, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18606          NACHAWATI LAW GROUP

HODGINS, MABLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HODGINS, MABLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

HODGINS, MABLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

HODGINS, MABLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

HODGSON, MARIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08107          ARNOLD & ITKIN LLP

HODGSON, MARIE                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC624387               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

HOE, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16227          LENZE LAWYERS, PLC

HOEHL, IRENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09981          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOELLER, JEANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01374          JOHNSON BECKER, PLLC

HOELMER, LAVON                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HOEME, DANIELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04100          MORELLI LAW FIRM, PLLC

HOERNER, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05554          JOHNSON LAW GROUP

HOERNING-THOMAS, AUDREY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11912          ASHCRAFT & GEREL, LLP

HOERNING-THOMAS, AUDREY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11912          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOES, GOLDIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00054          ONDERLAW, LLC

HOFAKER, VEDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09697          ONDERLAW, LLC

HOFEIN, MERICI MARCANO           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04549          JOHNSON LAW GROUP

HOFER, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14669          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOFF, CHRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08401          NACHAWATI LAW GROUP

HOFF, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09186          ONDERLAW, LLC



                                                                            Page 566 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 568 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HOFF, LILLIAN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001872-20        GOLOMB & HONIK, P.C.

HOFFART, CONSTANCE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14292          ASHCRAFT & GEREL, LLP

HOFFART, CONSTANCE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14292          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOFFER, MICHELE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15896          DALIMONTE RUEB, LLP

HOFFER, ROBIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00306          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HOFFMAN, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20656          ONDERLAW, LLC

HOFFMAN, DAWN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09706          ONDERLAW, LLC

HOFFMAN, EILEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05772          ASHCRAFT & GEREL

HOFFMAN, EILEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05772          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOFFMAN, JANELL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20518          DRISCOLL FIRM, P.C.

HOFFMAN, JILL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16228          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HOFFMAN, KATHYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11272          NACHAWATI LAW GROUP

HOFFMAN, MARION                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09844          ONDERLAW, LLC

HOFFMAN, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09060          ONDERLAW, LLC

HOFFMAN, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01137          MURRAY LAW FIRM

HOFFMAN, PATRICIA              NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03540-19AS       WEITZ & LUXENBERG

HOFFMAN, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13045          JOHNSON LAW GROUP

HOFFMAN, ROXANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09430          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOFFMAN, RUBY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12869          LINVILLE LAW GROUP

HOFFMAN, SHEILA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002254-20        GOLOMB & HONIK, P.C.

HOFFMAN, VANESSA               NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003244-21        WEITZ & LUXENBERG

HOFFMANN, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19903          THE BARNES FIRM, LC

HOFFMANN, JANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08864          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOFFNAGLE, FRANCES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15300          JOHNSON LAW GROUP

HOFFNER, MELISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10942          NACHAWATI LAW GROUP

HOFHEIMER, ELAINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

HOFHEIMER, ELAINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

HOFHEIMER, ELAINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

HOFMANN, BRITTNEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10308          ASHCRAFT & GEREL

HOFMANN, BRITTNEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10308          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOFMANN, LARAINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01694          DALIMONTE RUEB, LLP

HOFMANN, MARCIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11381          JOHNSON LAW GROUP

HOFMANN, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12205          ONDERLAW, LLC




                                                                          Page 567 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 569 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HOFWEGEN, SHELLE VAN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02092          THE FERRARO LAW FIRM, P.A.

HOGAN, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09072          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOGAN, FRANCES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14193          DRISCOLL FIRM, P.C.

HOGAN, HATTIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19096          ONDERLAW, LLC

HOGAN, MARCHETTE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOGAN, MARCHETTE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

HOGAN, MARCHETTE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

HOGAN, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18564          THE SEGAL LAW FIRM

HOGAN, POLLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13965          ONDERLAW, LLC

HOGANS, TIFFANY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05271          ONDERLAW, LLC

HOGATE, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08958          ONDERLAW, LLC

HOGELAND, ANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20028          MUELLER LAW PLLC

HOGLEN, CARRIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01692          JOHNSON LAW GROUP

HOGUE, GENEVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12107          THE MILLER FIRM, LLC

HOHNEKER, MAXINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11883          NACHAWATI LAW GROUP

HOINES-MEAD, SHEILA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07404          THE DUGAN LAW FIRM, APLC

HOLCOMB, QUEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12385          THE MILLER FIRM, LLC

HOLCOMB, TERRI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05621          ONDERLAW, LLC

HOLCOMB, VICKI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07575          THE MILLER FIRM, LLC

HOLCOMBE, HELEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13552          ONDERLAW, LLC

HOLCOMBE, SUSAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17808          ONDERLAW, LLC

HOLDAWAY, DIANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09455          ONDERLAW, LLC

HOLDEN, ANTOINETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11692          NACHAWATI LAW GROUP

HOLDEN, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09737          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLDEN, DORIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06583          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLDEN, EVELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11044          NACHAWATI LAW GROUP

HOLDEN, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14218          JOHNSON LAW GROUP

HOLDEN, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11790          NACHAWATI LAW GROUP

HOLDER, DELMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02908          FLETCHER V. TRAMMELL

HOLDER, JACINTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17657          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HOLDER, ROSETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05677          REICH & BINSTOCK, LLP

HOLDER, SOPHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18465          NACHAWATI LAW GROUP

HOLDING, COURTNEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18056          ONDERLAW, LLC

HOLDREDGE, ANGELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13313          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                         Page 568 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 570 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HOLDREN, VIRGINIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03671          BERNSTEIN LIEBHARD LLP

HOLECEK, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03115          ONDERLAW, LLC

HOLGIN, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13135          FLETCHER V. TRAMMELL

HOLICKA, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05239          BURNS CHAREST LLP

HOLLAND, AMANDA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        L002283198             PHILLIPS & PAOLICELLI, LLP

HOLLAND, ANGELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04404          ONDERLAW, LLC

HOLLAND, CLAUDIA              DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02754          ASHCRAFT & GEREL

HOLLAND, CLAUDIA              DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02754          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLLAND, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03444          CLIFFORD LAW OFFICES, P.C.

HOLLAND, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08846          ONDERLAW, LLC

HOLLAND, JENNIFER             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLLAND, JENNIFER             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           ONDERLAW, LLC

HOLLAND, JENNIFER             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           PORTER & MALOUF, PA

HOLLAND, JENNIFER             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           THE SMITH LAW FIRM, PLLC

HOLLAND, JOELLEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14389          JOHNSON LAW GROUP

HOLLAND, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21897          ARNOLD & ITKIN LLP

HOLLAND, KIM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02808          NACHAWATI LAW GROUP

HOLLAND, KIMBERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14474          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HOLLAND, LEXI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10589          ONDERLAW, LLC

HOLLAND, LOIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14372          ALLAN BERGER AND ASSOCIATES

HOLLAND, LYNDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15918          ASHCRAFT & GEREL, LLP

HOLLAND, LYNDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15918          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLLAND, MONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10349          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLLAND, RASHEEDA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000486-21        GOLOMB & HONIK, P.C.

HOLLAND, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17023          NACHAWATI LAW GROUP

HOLLAND, TIFFANY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20076          ARNOLD & ITKIN LLP

HOLLAND-CROSS, JANICE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08918          DALIMONTE RUEB, LLP

HOLLANDER, JOAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20728          CELLINO & BARNES, P.C.

HOLLANDSWORTH, EVELYN         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16702          THE SEGAL LAW FIRM

HOLLARS, ANNETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08078          DALIMONTE RUEB, LLP

HOLLEN, LESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16180          FLETCHER V. TRAMMELL

HOLLENBACH, SUSAN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15030          THE BENTON LAW FIRM, PLLC

HOLLENBECK, DANA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02311          JOHNSON LAW GROUP

HOLLENBECK, ERICKA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18194          THE MILLER FIRM, LLC



                                                                         Page 569 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 571 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HOLLER, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12362          ONDERLAW, LLC

HOLLERBACH, KAREN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002484-20        GOLOMB & HONIK, P.C.

HOLLEY, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05860          DALIMONTE RUEB, LLP

HOLLEY, ASHLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11395          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HOLLEY, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06508          HENINGER GARRISON DAVIS, LLC

HOLLEY, CLARA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001873-20        GOLOMB & HONIK, P.C.

HOLLEY, EMILY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10618          THE CARLSON LAW FIRM

HOLLEY, EULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06297          ENVIRONMENTAL LITIGATION GROUP, PC
HOLLEY, GLADYS E. EST OF LUTHER
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-06674-18AS       WEITZ & LUXENBERG
HOLLEY
HOLLEY, SHAKIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06920          ONDERLAW, LLC

HOLLIDAY, EMMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11246          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLLIDAY, TIFFANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12206          ONDERLAW, LLC

HOLLIER, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06513          JOHNSON LAW GROUP

HOLLIFIELD, AVA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09734          ONDERLAW, LLC

HOLLIFIELD, SOPHIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11333          HART MCLAUGHLIN & ELDRIDGE

HOLLINGSWORTH, DIANIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11486          BURNS CHAREST LLP

HOLLINGSWORTH, TERRAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12554          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

HOLLINS, CASSANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10851          NAPOLI SHKOLNIK, PLLC

HOLLIS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08133          ONDERLAW, LLC

HOLLIS, DELLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03182          DALIMONTE RUEB, LLP

HOLLIS, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02613          SIMMONS HANLY CONROY

HOLLIS, GWENDOLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15389          ONDERLAW, LLC

HOLLIS, ISIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11714          GOLOMB SPIRT GRUNFELD PC

HOLLIS, LINDA                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV324329             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLLIS, LINDA                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV324329             KIESEL LAW, LLP

HOLLIS, LINDA                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV324329             THE SMITH LAW FIRM, PLLC

HOLLISTER, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09934          ARNOLD & ITKIN LLP

HOLLISTER, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10956          PARKER WAICHMAN, LLP

HOLLMAN, ARZETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15653          MORRIS BART & ASSOCIATES

HOLLOMAN, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12512          ONDERLAW, LLC

HOLLOMAN, LUCINDA                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HOLLOMAN, YOLANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16789          TRAMMELL PC

HOLLON, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09889          MORRIS BART & ASSOCIATES




                                                                             Page 570 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 572 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HOLLOWAY, ADRIANNE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2846-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLLOWAY, ADRIANNE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2846-15          PORTER & MALOUF, PA

HOLLOWAY, ADRIANNE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2846-15          SEEGER WEISS LLP

HOLLOWAY, ADRIANNE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2846-15          THE SMITH LAW FIRM, PLLC

HOLLOWAY, BLANCHE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11889          THE MILLER FIRM, LLC

HOLLOWAY, LAKEZIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17080          NACHAWATI LAW GROUP

HOLLOWAY, ROWENA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07163          ARNOLD & ITKIN LLP

HOLLOWAY, SONYA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19550          NACHAWATI LAW GROUP

HOLLOWAY, TERRI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07519          MOTLEY RICE, LLC

HOLMAN, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09808          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLMAN, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09694          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLMAN, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11438          CHILDERS, SCHLUETER & SMITH, LLC

HOLMAN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08194          FLETCHER V. TRAMMELL

HOLMAN, PATRICIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002958-15        SEEGER WEISS LLP

HOLMAN, REGINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02469          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLMES, AGNES A.                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05412-18AS       WEITZ & LUXENBERG

HOLMES, ANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20646          ONDERLAW, LLC

HOLMES, ANNMARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15737          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLMES, BRANDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14230          DRISCOLL FIRM, P.C.

HOLMES, CARRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19826          CELLINO & BARNES, P.C.

HOLMES, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05986          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLMES, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01666          DALIMONTE RUEB, LLP

HOLMES, DEEANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11754          ARNOLD & ITKIN LLP

HOLMES, DEEANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07545          WILLIAMS HART LAW FIRM

HOLMES, GUSSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05002          ONDERLAW, LLC

HOLMES, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10265          ONDERLAW, LLC

HOLMES, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13748          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLMES, JOY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16065          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLMES, LATOSHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10870          NACHAWATI LAW GROUP

HOLMES, LILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18083          ONDERLAW, LLC

HOLMES, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HOLMES, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC




                                                                            Page 571 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 573 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HOLMES, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HOLMES, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01882          ONDERLAW, LLC

HOLMES, LYNNE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLMES, LYNNE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

HOLMES, LYNNE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

HOLMES, LYNNE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

HOLMES, MAMIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12700          NAPOLI SHKOLNIK, PLLC

HOLMES, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11559          POTTS LAW FIRM

HOLMES, MARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11303          NACHAWATI LAW GROUP

HOLMES, MARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11281          NACHAWATI LAW GROUP

HOLMES, MARSHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11964          DANIEL & ASSOCIATES, LLC

HOLMES, MELINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13134          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HOLMES, MERIDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLMES, MERIDITH              CA - SUPERIOR COURT - ALAMEDA COUNTY         HG-17-880973           ONDERLAW, LLC

HOLMES, MERIDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          ONDERLAW, LLC

HOLMES, MERIDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          PORTER & MALOUF, PA

HOLMES, MERIDITH              CA - SUPERIOR COURT - ALAMEDA COUNTY         HG-17-880973           SALKOW LAW, APC

HOLMES, MERIDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          THE SMITH LAW FIRM, PLLC

HOLMES, NATALIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12743          ONDERLAW, LLC

HOLMES, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17016          NACHAWATI LAW GROUP

HOLMES, RACHEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10074          NAPOLI SHKOLNIK, PLLC

HOLMES, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04907          JOHNSON LAW GROUP

HOLMES, VIVIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05712          CELLINO & BARNES, P.C.

HOLMQUIST, ELAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03935          NACHAWATI LAW GROUP

HOLMQUIST, KATHLEEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09473          THE MILLER FIRM, LLC

HOLSCHBACH, JUDITH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12202          JOHNSON BECKER, PLLC

HOLSHUE, CORNELIA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003154-21        ARNOLD & ITKIN LLP

HOLSHUE, CORNELIA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003154-21        COHEN, PLACITELLA & ROTH

HOLSINGER, HELEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10406          ARNOLD & ITKIN LLP

HOLSTAD, ROBIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08898          ONDERLAW, LLC

HOLSTROM, NORMA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07296          GOZA & HONNOLD, LLC

HOLT, CANDACE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003232-21        WEITZ & LUXENBERG

HOLT, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05667          ONDERLAW, LLC

HOLT, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11979          THE MILLER FIRM, LLC



                                                                         Page 572 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 574 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HOLT, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14763          ONDERLAW, LLC

HOLT, FRANKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HOLT, FRANKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HOLT, FRANKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15236          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HOLT, FRANKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HOLT, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09907          ONDERLAW, LLC

HOLT, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01594          JOHNSON LAW GROUP

HOLT, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09739          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
HOLTERMAN,ALISON EST OF P
                                 NY - SUPREME COURT - NYCAL                   190058/2021            WEITZ & LUXENBERG
HOLTERMAN
HOLTERMANN, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09383          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

HOLTMAN, SUSAN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002113-20        GOLOMB & HONIK, P.C.

HOLTON, EUNITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17021          NACHAWATI LAW GROUP

HOLTS, MARSHA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001872-21        GOLOMB & HONIK, P.C.

HOLTSLANDER, KIMBERLY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18032          ONDERLAW, LLC

HOLUB, TAMARA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6385-14          SEEGER WEISS LLP

HOLUBICZKE, ORIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15377          BURNS CHAREST LLP

HOLUBICZKE, ORIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15377          BURNS CHAREST LLP

HOLUBIK, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOLUBIK, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

HOLUBIK, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

HOLUBIK, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

HOLY, JACKLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17001          TRAMMELL PC

HOLZ, BECKY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08773          WILLIAMS HART LAW FIRM

HOLZ, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10864          NACHAWATI LAW GROUP

HOLZBORN, MINNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16780          ARNOLD & ITKIN LLP

HOMACK, MEAGHAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04396          ASHCRAFT & GEREL

HOMAN, PATTI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10989          FLETCHER V. TRAMMELL

HOMAN, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08412          FLETCHER V. TRAMMELL

HOMER, GABRIELE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20641          ONDERLAW, LLC

HOMER, JANIECE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08057          ROSS FELLER CASEY, LLP

HOMEYER, KELLI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19555          SANDERS PHILLIPS GROSSMAN, LLC

HOMEYER, LAURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08338          ONDERLAW, LLC

HOMIRE, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14348          CELLINO & BARNES, P.C.




                                                                            Page 573 of 1405
                             Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 575 of 702

             Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

HOMM, LADEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06754          THE SIMON LAW FIRM, PC

HOMQUIST, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06915          ONDERLAW, LLC

HONEA, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03491          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HONEA, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08046          ASHCRAFT & GEREL

HONEY, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12858          BURNS CHAREST LLP

HONEYCUTT, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06523          ONDERLAW, LLC

HONEYCUTT, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17712          WAGSTAFF & CARTMELL, LLP

HONEYCUTT, RACHEAL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17027          NACHAWATI LAW GROUP

HONG, SEUNG                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10627          MOTLEY RICE, LLC

HONG, SEUNGYEON                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

HONG, SEUNGYEON                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

HONG, SEUNGYEON                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

HONG, SEUNGYEON                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

HONKALA, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06059          ONDERLAW, LLC

HONOLD, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11001          ASHCRAFT & GEREL
HOOD, ANGELA EST OF MARY         SC - COURT OF COMMON PLEAS - CHARLESTON
                                                                              2020CP1003946          KASSEL MCVEY
MCBRAYER                         COUNTY
HOOD, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HOOD, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HOOD, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15100          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HOOD, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HOOD, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22158          DRISCOLL FIRM, P.C.

HOOD, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08055          ONDERLAW, LLC

HOOD, GENEVA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00762          HEYGOOD, ORR & PEARSON

HOOD, ICIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10874          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HOOD, MARTHA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002114-20        GOLOMB & HONIK, P.C.

HOOD, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02067          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOOD, SIDNEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08862          DRISCOLL FIRM, P.C.
HOOD,ANGELA M ESTATE OF MARY B   SC - COURT OF COMMON PLEAS - CHARLESTON
                                                                              2020CP1003946          DEAN OMAR BRANHAM, LLP
MCBRAYER                         COUNTY
HOOK, ROSE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002708-20        GOLOMB & HONIK, P.C.

HOOKER, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18640          ONDERLAW, LLC

HOOKS, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17035          NACHAWATI LAW GROUP

HOOKS, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09484          GORI JULIAN & ASSOCIATES, P.C.

HOOPER, BETTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20325          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOOPER, LINDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                            Page 574 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 576 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HOOPER, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

HOOPER, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

HOOPER, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

HOOPER, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

HOOPER, RENEE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOOPER, RENEE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

HOOPER, RENEE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

HOOPER, RENEE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

HOOPER, RENEE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

HOOPER, VALARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08687          ONDERLAW, LLC

HOOPER-VANCE, BERTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07987          ONDERLAW, LLC

HOOT, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10897          ASHCRAFT & GEREL, LLP

HOOVER, CARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13288          ASHCRAFT & GEREL, LLP

HOOVER, CHERI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17059          NACHAWATI LAW GROUP

HOOVER, DEANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10398          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOOVER, DELLIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18139          ONDERLAW, LLC

HOOVER, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18564          ONDERLAW, LLC

HOOVER, JOELLEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11165          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HOOVER, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17068          NACHAWATI LAW GROUP

HOOVER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03155          ASHCRAFT & GEREL, LLP

HOOVER, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01662          DALIMONTE RUEB, LLP

HOPE, JEANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03097          ONDERLAW, LLC

HOPE, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12675          BISNAR AND CHASE

HOPE, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16183          THE MILLER FIRM, LLC

HOPKINS, BETSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05113          ONDERLAW, LLC

HOPKINS, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15911          ASHCRAFT & GEREL, LLP

HOPKINS, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15911          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOPKINS, JANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06404          ONDERLAW, LLC

HOPKINS, JOY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18383          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOPKINS, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00778          WAGNER REESE, LLP

HOPKINS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02187          ONDERLAW, LLC

HOPKINS, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10311          ASHCRAFT & GEREL

HOPKINS, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17133          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC




                                                                             Page 575 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 577 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HOPKINS, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10311          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOPKINS, SHANNON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15745          NACHAWATI LAW GROUP

HOPKINS, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08641          ONDERLAW, LLC

HOPKINS, TINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12677          BISNAR AND CHASE

HOPKINS, TOMMYE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10408          ONDERLAW, LLC

HOPKINS-KILLEBREW, SANDRA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03883          ONDERLAW, LLC

HOPKINSON, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03466          ONDERLAW, LLC

HOPLER, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15523          LEVIN SIMES LLP

HOPPE, EILEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10934          POTTS LAW FIRM

HOPPER, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17131          ARNOLD & ITKIN LLP

HOPPER, JENNY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12419          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

HOPPER, SONYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11125          ARNOLD & ITKIN LLP

HOPPER-HOLLIDAY, AMANDA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07232          ONDERLAW, LLC

HOPPOCK, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20622          CELLINO & BARNES, P.C.

HOPSON, ANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01042          HEYGOOD, ORR & PEARSON

HOPSON, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12687          THE MILLER FIRM, LLC

HORACE-THOMPSON, PATRICIA        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-111-18           MORELLI LAW FIRM, PLLC

HORBUND, KATHRYNE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000373-21        NAPOLI SHKOLNIK, PLLC

HORCH, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12115          THE MILLER FIRM, LLC

HORD, PENNY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HORD, PENNY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HORD, PENNY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HORDOROVIC, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01910          JOHNSON LAW GROUP

HORELICA, MELANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15490          JOHNSON LAW GROUP

HORGE-SMITH, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16225          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HORIHAN, NANCY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        MID L 003525-19        COHEN, PLACITELLA & ROTH

HORKEY, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11912          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HORN, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16013          THE WEINBERG LAW FIRM

HORN, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07756          ONDERLAW, LLC

HORN, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HORN, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

HORN, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

HORN, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

HORN, GLENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08072          ONDERLAW, LLC



                                                                            Page 576 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 578 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

HORN, JO                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12863          THE BENTON LAW FIRM, PLLC

HORN, KRISTII                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14213          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HORN, MARCIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05042          ONDERLAW, LLC

HORN, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18866          HAUSFELD

HORN, ROSE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01299          JOHNSON LAW GROUP

HORN, SUSAN                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC685590               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HORNBACHER, SHERRY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06371          NAPOLI SHKOLNIK, PLLC

HORNBECK, BEATRICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05673          ONDERLAW, LLC

HORNBUCKLE, JEANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19574          ASHCRAFT & GEREL, LLP

HORNBUCKLE, JEANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19574          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HORNE, EMILY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12625          ANDRUS WAGSTAFF, P.C.

HORNE, LOSSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12162          POTTS LAW FIRM

HORNE, SACOTTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12913          FLETCHER V. TRAMMELL

HORNE, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15337          SALTZ MONGELUZZI & BENDESKY PC

HORNER, GERALDINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09187          ONDERLAW, LLC

HORNER, KIMBERLY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2306-17          ASHCRAFT & GEREL

HORNER, KIMBERLY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2306-17          GOLOMB SPIRT GRUNFELD PC

HORNER, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19100          MOTLEY RICE, LLC

HORNER, SIMON                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HORNER, SIMON                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HORNING, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15424          GORI JULIAN & ASSOCIATES, P.C.

HORNSBY, DONNA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002422           THE MILLER FIRM, LLC

HORNSBY, RITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04152          ONDERLAW, LLC

HOROWITZ, THELMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19397          ONDERLAW, LLC

HORSCH-NUSBAUM, RUTH             NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006015-20AS      WEITZ & LUXENBERG

HORSE, CARLA HIGH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17031          NACHAWATI LAW GROUP

HORSE, GRACE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08589          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HORSLEY, ALLISON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12828          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HORSLEY, SHEENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01083          ONDERLAW, LLC

HORTON, ANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09909          ONDERLAW, LLC

HORTON, CRYSTAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10376          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HORTON, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02503          BURNS CHAREST LLP

HORTON, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02503          BURNS CHAREST LLP




                                                                            Page 577 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 579 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

HORTON, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09116          ONDERLAW, LLC

HORTON, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00174          ASHCRAFT & GEREL

HORTON, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00174          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HORTON, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02381          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HORTON, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10964          WAGSTAFF & CARTMELL, LLP

HORTON, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01813          HENINGER, GARRISON, DAVIS, LLC

HORTON, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09374          ARNOLD & ITKIN LLP

HORTON, PEGGY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HORTON, PEGGY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HORTON, PEGGY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HORTON, PENNY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HORTON, PENNY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HORTON, PENNY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HORTON, SHERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18484          WATERS & KRAUS, LLP

HORTON, TERYKA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00475          ASHCRAFT & GEREL

HORTON, TERYKA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17732          ONDERLAW, LLC

HORTON, WYVONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11972          NACHAWATI LAW GROUP

HORWITZ, SHEILA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13233          THE SEGAL LAW FIRM

HOSACK, JOANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06912          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOSALE, PAULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10493          ONDERLAW, LLC

HOSBROUGH, YVONNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05751          ONDERLAW, LLC

HOSEIN, CHARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17076          NACHAWATI LAW GROUP

HOSEIN, FARIYAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03324          ONDERLAW, LLC

HOSHKO-SMITH, ANDREA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09518          ONDERLAW, LLC

HOSKIE, DELORES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02656          JOHNSON LAW GROUP

HOSKINS, BEVERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11499          NACHAWATI LAW GROUP

HOSKINS, JULIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16682          THE MILLER FIRM, LLC

HOSKINS, PEGGY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08909          WAGSTAFF & CARTMELL, LLP

HOSKINS, RUTH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07149          ONDERLAW, LLC

HOSLER, LORI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03512          JOHNSON LAW GROUP

HOSWOOT, TENSIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19055          HOLLAND LAW FIRM

HOTCHKISS, RITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12930          DRISCOLL FIRM, P.C.

HOTH, KATHRYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09156          ONDERLAW, LLC

HOUCHIN, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08191          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                          Page 578 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 580 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HOUCK, LILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08371          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOUDE, RACHEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12690          THE SIMON LAW FIRM, PC

HOUGE, DORLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14854          LENZE LAWYERS, PLC

HOUGE, DORLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14854          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HOUGH, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15140          KNAPP & ROBERTS, P.C.

HOUGH, SUSANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10970          GORI JULIAN & ASSOCIATES, P.C.

HOUGHTALING, ANITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14401          YAEGER LAW, PLLC

HOUGHTON, KATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11074          THE SEGAL LAW FIRM

HOUK, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12216          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

HOULE, DAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04642          ONDERLAW, LLC

HOUMIEL, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09004          PARKER WAICHMAN, LLP

HOUPT, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05757          ONDERLAW, LLC

HOUSE, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12929          ONDERLAW, LLC

HOUSE, DAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12747          ONDERLAW, LLC

HOUSE, DIONDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17090          NACHAWATI LAW GROUP

HOUSE, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13402          MORELLI LAW FIRM, PLLC

HOUSE, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08518          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOUSE, OCTAVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04032          PARKER WAICHMAN, LLP

HOUSE, TANIKA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10920          NACHAWATI LAW GROUP

HOUSEHOLDER, MARYELLEN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09575          FLETCHER V. TRAMMELL

HOUSEL, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14615          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOUSEL, KATHLEEN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

HOUSEL, KATHLEEN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

HOUSEL, KATHLEEN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

HOUSEMAN, WILMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08862          ONDERLAW, LLC

HOUSER, DONNA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002232-20        GOLOMB & HONIK, P.C.

HOUSER, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08979          ONDERLAW, LLC

HOUSLEY, YVONNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00987          JOHNSON LAW GROUP

HOUSTON, ANSLEA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05922          ONDERLAW, LLC

HOUSTON, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12108          THE SEGAL LAW FIRM

HOUSTON, CATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04080          JOHNSON LAW GROUP

HOUSTON, EULAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12301          ASHCRAFT & GEREL

HOUSTON, EULAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12301          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOUSTON, EUNICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10254          SANDERS VIENER GROSSMAN, LLP



                                                                           Page 579 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                         Appendix A (Part 1) Page 581 of 702

           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

HOUSTON, HALEY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002287-20        GOLOMB & HONIK, P.C.

HOUSTON, HILDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08128          DALIMONTE RUEB, LLP

HOUSTON, HILDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08128          GOLDENBERGLAW PLLC

HOUSTON, IDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07504          ONDERLAW, LLC

HOUSTON, KASHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20781          CELLINO & BARNES, P.C.

HOUSTON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04090          HEYGOOD, ORR & PEARSON

HOUSTON, ROBIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02379          HUBER, SLACK, THOMAS & MARCELLE

HOUSTON, SARAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08083          ONDERLAW, LLC

HOUSTON-HENDRIX, LINDA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11085          ONDERLAW, LLC

HOUTS, DAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06803          GORI JULIAN & ASSOCIATES, P.C.

HOVERTER, HOLLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00209          ASHCRAFT & GEREL

HOVERTER, HOLLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00209          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOVEY, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05776          ASHCRAFT & GEREL

HOVEY, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05776          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOVIS, ASHLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01250          JOHNSON LAW GROUP

HOVORKA, JUDITH               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002255-20        GOLOMB & HONIK, P.C.

HOWARD, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10943          FLETCHER V. TRAMMELL

HOWARD, BERTHA                CA - SUPERIOR COURT - ALAMEDA COUNTY         HG-17-880966           ONDERLAW, LLC

HOWARD, BERTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07912          ONDERLAW, LLC

HOWARD, BERTHA                CA - SUPERIOR COURT - ALAMEDA COUNTY         HG-17-880966           SALKOW LAW, APC

HOWARD, DANIELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20436          CELLINO & BARNES, P.C.

HOWARD, EDNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04350          ASHCRAFT & GEREL

HOWARD, EMMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11555          NACHAWATI LAW GROUP

HOWARD, EULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11414          THE DILORENZO LAW FIRM, LLC

HOWARD, EVELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06790          ONDERLAW, LLC

HOWARD, GOLDIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12754          ONDERLAW, LLC

HOWARD, HALLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06356          ONDERLAW, LLC

HOWARD, IRENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14943          ONDERLAW, LLC

HOWARD, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06130          THE ENTREKIN LAW FIRM

HOWARD, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15743          GIRARDI & KEESE

HOWARD, JOEDAJA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2192-17          KEEFE BARTELS

HOWARD, JOEDAJA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2192-17          LAW OFFICE OF GRANT D. AMEY, LLC

HOWARD, KARLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10400          ONDERLAW, LLC

HOWARD, LAKISHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                         Page 580 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                           Appendix A (Part 1) Page 582 of 702

             Claimant Name                        State Filed                       Docket Number                               Plaintiff Counsel

HOWARD, LAKISHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          GOLDENBERGLAW, PLLC

HOWARD, LAKISHIA                CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318663             KIESEL LAW, LLP

HOWARD, LAKISHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          ONDERLAW, LLC

HOWARD, LAKISHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          PORTER & MALOUF, PA

HOWARD, LAKISHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          THE SMITH LAW FIRM, PLLC

HOWARD, LISA LYNN               ONTARIO (TORONTO)                            CV-22-00677434-0000    PRESZLER INJURY LAWYERS

HOWARD, LOIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16232          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HOWARD, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08592          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOWARD, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10342          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOWARD, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20515          THE MILLER FIRM, LLC

HOWARD, NOEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02467          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOWARD, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17138          THE MILLER FIRM, LLC

HOWARD, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13126          ONDERLAW, LLC

HOWARD, RENEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12219          FLEMING, NOLEN & JEZ, LLP

HOWARD, ROSALYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12769          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HOWARD, SHERRIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16030          ASHCRAFT & GEREL, LLP

HOWARD, SHERRIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16030          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOWARD, TINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04411          ONDERLAW, LLC

HOWARD, WANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16019          HILLIARD MARTINEZ GONZALES, LLP

HOWARD, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05281          ONDERLAW, LLC

HOWDER, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03954          BURNS CHAREST LLP

HOWE, AMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18455          WEITZ & LUXENBERG

HOWE, INEESHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08918          NAPOLI SHKOLNIK, PLLC

HOWE, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14678          WATERS & KRAUS, LLP

HOWE, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16237          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HOWE, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HOWE, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HOWE, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HOWELL, CHERI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02412          WILLIAMS HART LAW FIRM

HOWELL, CHERYL-ANNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOWELL, CHERYL-ANNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

HOWELL, CHERYL-ANNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

HOWELL, CHERYL-ANNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC




                                                                           Page 581 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 583 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HOWELL, KELLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18934          CELLINO & BARNES, P.C.

HOWELL, LORRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18809          MOTLEY RICE, LLC

HOWELL, MARY                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05452-17AS       WEITZ & LUXENBERG

HOWELL, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06750          THE SIMON LAW FIRM, PC

HOWELL, RACHEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13961          FLETCHER V. TRAMMELL

HOWELL, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HOWELL, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HOWELL, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HOWELL, SONYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03132          ONDERLAW, LLC

HOWERY, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11885          MORELLI LAW FIRM, PLLC

HOWES, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08257          ONDERLAW, LLC

HOWLETT, SARAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03514          THE DIAZ LAW FIRM, PLLC

HOWRY, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00987          ONDERLAW, LLC

HOWSE, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19419          ARNOLD & ITKIN LLP

HOY, BEVERLY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HOY, BEVERLY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

HOY, BEVERLY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

HOY, BEVERLY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

HOYLE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14175          THE SEGAL LAW FIRM

HOYLE, TANYA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002539-20        GOLOMB & HONIK, P.C.

HOYT, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18608          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HOYT, REBEKAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07405          THE DUGAN LAW FIRM, APLC

HRANITZKY, JEANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20757          ONDERLAW, LLC

HROUDA, LESLI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13692          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

HRYNYSHEN, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13780          ONDERLAW, LLC

HUANG, MELANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02036          JOHNSON LAW GROUP

HUBANKS, HEATHER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06248          LEVIN SIMES LLP

HUBBARD, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00197          NACHAWATI LAW GROUP

HUBBARD, CRISTAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05280          ONDERLAW, LLC

HUBBARD, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09071          WILLIAMS HART LAW FIRM

HUBBARD, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06174          ONDERLAW, LLC

HUBBARD, ERNESTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14865          LENZE KAMERRER MOSS, PLC

HUBBARD, ERNESTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14865          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HUBBARD, GEMMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18842          ANDRUS WAGSTAFF, P.C.



                                                                            Page 582 of 1405
                             Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                             Appendix A (Part 1) Page 584 of 702

             Claimant Name                          State Filed                      Docket Number                            Plaintiff Counsel

HUBBARD, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08861          MOTLEY RICE, LLC

HUBBARD, JESSICA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002522-21        WEITZ & LUXENBERG

HUBBARD, JOANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18825          THE SEGAL LAW FIRM

HUBBARD, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08865          ONDERLAW, LLC

HUBBARD, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08981          ONDERLAW, LLC

HUBBARD, LAURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02131          ONDERLAW, LLC

HUBBARD, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07525          ASHCRAFT & GEREL

HUBBARD, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07525          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUBBARD, LORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16167          ASHCRAFT & GEREL, LLP

HUBBARD, LORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16167          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUBBARD, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08792          BARON & BUDD, P.C.

HUBBARD, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10912          ASHCRAFT & GEREL, LLP

HUBBARD, TRASCHELL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00758          ONDERLAW, LLC

HUBBARD, VIIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12059          NACHAWATI LAW GROUP

HUBBARD, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17112          NACHAWATI LAW GROUP

HUBBARD, WILMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02507          GORI JULIAN & ASSOCIATES, P.C.

HUBBERT, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17764          ROSS FELLER CASEY, LLP

HUBER, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19669          NACHAWATI LAW GROUP

HUBER, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05948          ONDERLAW, LLC

HUBER, GLADYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19254          NACHAWATI LAW GROUP

HUBER, LAVONNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20779          ONDERLAW, LLC

HUBER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13302          BARON & BUDD, P.C.

HUBERTY, DAWN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03835          ONDERLAW, LLC

HUBERTY, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10268          ONDERLAW, LLC

HUBLER, SANDRA                   CA - SUPERIOR COURT - FRESNO COUNTY          17CECG03715            BISNAR AND CHASE

HUCH, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13425          NACHAWATI LAW GROUP

HUCHTON, JONETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15862          JOHNSON LAW GROUP
HUCK, VINCENT ESTATE OF HOSANA
                                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       2122-CC09069           SWMW LAW, LLC
HUCK
HUCKABEE, ASHLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15953          NACHAWATI LAW GROUP

HUCKABY, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17964          ONDERLAW, LLC

HUCKABY, SHANNON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07645          ONDERLAW, LLC

HUCKER, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14249          ARNOLD & ITKIN LLP

HUCKO, EWA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004123-20        THE MILLER FIRM, LLC




                                                                            Page 583 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                         Appendix A (Part 1) Page 585 of 702

           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

HUCKS-FERRELL, CYNTHIA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09598          HEYGOOD, ORR & PEARSON

HUDAK, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17143          NACHAWATI LAW GROUP

HUDDLESTON, LORI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11015          ONDERLAW, LLC

HUDDLESTON, SARAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01221          NACHAWATI LAW GROUP

HUDDLESTON, SUSAN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08846          ONDERLAW, LLC

HUDGINS, EVELYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11345          JOHNSON LAW GROUP

HUDGINS, EVELYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11345          LEVIN SIMES LLP

HUDGINS, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03906          MORELLI LAW FIRM, PLLC

HUDOCK, SANTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12268          MARLIN & SALTZMAN LLP

HUDSON, AUGUSTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16787          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUDSON, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08771          FLETCHER V. TRAMMELL

HUDSON, BELINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14127          NACHAWATI LAW GROUP

HUDSON, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14293          ASHCRAFT & GEREL, LLP

HUDSON, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14293          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUDSON, CASANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16422          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

HUDSON, CASSANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00144          MORELLI LAW FIRM, PLLC

HUDSON, CHER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09077          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUDSON, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11055          MORELLI LAW FIRM, PLLC

HUDSON, DEBORA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03602          ROSS FELLER CASEY, LLP

HUDSON, DEVONIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16238          ONDERLAW, LLC

HUDSON, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10379          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUDSON, DYANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08868          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUDSON, JANEEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08479          SULLO & SULLO, LLP

HUDSON, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20061          NACHAWATI LAW GROUP

HUDSON, JANIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15468          ASHCRAFT & GEREL, LLP

HUDSON, JANIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15468          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUDSON, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16861          ONDERLAW, LLC

HUDSON, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04102          MORELLI LAW FIRM, PLLC

HUDSON, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01409          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HUDSON, KARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10901          POTTS LAW FIRM

HUDSON, LESLI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16298          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

HUDSON, LONA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06590          WILLIAMS HART LAW FIRM

HUDSON, MARY WHITE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16622          ASHCRAFT & GEREL




                                                                         Page 584 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 586 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

HUDSON, MARY WHITE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16622          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUDSON, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00755          ONDERLAW, LLC

HUDSON, SALLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03632          MURRAY LAW FIRM

HUDSON, TAMMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02131          ONDERLAW, LLC

HUDSON, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14968          ASHCRAFT & GEREL

HUDSON, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14968          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUDSON, VALOREY                   LA - DISTRICT COURT - ORLEANS PARISH         17-10834               GALANTE & BIVALACQUA LLC

HUDSON, VALOREY                   LA - DISTRICT COURT - ORLEANS PARISH         17-10834               POURCIAU LAW FIRM, LLC

HUDSON, VALOREY                   LA - DISTRICT COURT - ORLEANS PARISH         17-10834               THE CHEEK LAW FIRM

HUDSON-GIVENS, LYDIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09017          WEITZ & LUXENBERG

HUDSON-NEVEU, SHARON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15900          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HUDSPETH, LORRAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10007          MORRIS BART & ASSOCIATES

HUDSPETH, MARILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12256          WATERS & KRAUS, LLP

HUDSPETH, PAULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10914          ONDERLAW, LLC

HUELSKAMP, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12389          ONDERLAW, LLC

HUERTA, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17404          SIMMONS HANLY CONROY

HUERTA, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03996          JOHNSON LAW GROUP

HUERTA, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08933          THE MILLER FIRM, LLC

HUERTA, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10271          ONDERLAW, LLC

HUETT, LESLIE JEAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11209          ARNOLD & ITKIN LLP

HUETT, ODESSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11892          MORELLI LAW FIRM, PLLC

HUEY, MAMIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17147          NACHAWATI LAW GROUP

HUEY, ROBIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15159          CELLINO & BARNES, P.C.

HUF, KIRSTEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10274          ONDERLAW, LLC

HUFF, COLLEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12781          ASHCRAFT & GEREL

HUFF, COLLEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05397          CELLINO & BARNES, P.C.

HUFF, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01292          JOHNSON LAW GROUP

HUFF, GERRI                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003262-21        WEITZ & LUXENBERG

HUFF, JIMMIE                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HUFF, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10437          NACHAWATI LAW GROUP

HUFF, KIMBERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20334          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUFF, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12567          ASHCRAFT & GEREL, LLP

HUFF, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12567          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUFF, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01449          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 585 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 587 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HUFF, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13640          ARNOLD & ITKIN LLP

HUFF, SALLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15823          NACHAWATI LAW GROUP

HUFF, ZEREANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03215          ONDERLAW, LLC

HUFFINE, SHANNON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10591          NACHAWATI LAW GROUP

HUFFMAN, ANNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14247          ARNOLD & ITKIN LLP
                                 LA - DISTRICT COURT - EAST BATON ROUGE
HUFFMAN, CHERYL                                                               C665105D               GALANTE & BIVALACQUA LLC
                                 PARISH
                                 LA - DISTRICT COURT - EAST BATON ROUGE
HUFFMAN, CHERYL                                                               C665105D               POURCIAU LAW FIRM, LLC
                                 PARISH
                                 LA - DISTRICT COURT - EAST BATON ROUGE
HUFFMAN, CHERYL                                                               C665105D               THE CHEEK LAW FIRM
                                 PARISH
HUFFMAN, COLLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14680          HILLIARD MARTINEZ GONZALES, LLP

HUFFMAN, MAUREEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00759          ONDERLAW, LLC

HUFFMAN, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12749          ONDERLAW, LLC

HUFFMASTER, MAPLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20154          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUFKINS, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18409          LINVILLE LAW GROUP

HUFKINS, CATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13653          NACHAWATI LAW GROUP

HUFSTEDLER, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUFSTEDLER, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

HUFSTEDLER, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

HUFSTEDLER, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

HUGGINS, GENNEIEVESE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09442          ONDERLAW, LLC

HUGGINS, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01269          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

HUGGLER, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09081          ONDERLAW, LLC

HUGHART, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01894          ONDERLAW, LLC

HUGHES, BILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06386          ONDERLAW, LLC

HUGHES, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17150          NACHAWATI LAW GROUP

HUGHES, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13102          CELLINO & BARNES, P.C.

HUGHES, CHASTITY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14022          DAVIS, BETHUNE & JONES, L.L.C.

HUGHES, CLAIRE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01346          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUGHES, CLAUDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09974          MORRIS BART & ASSOCIATES

HUGHES, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10401          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUGHES, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18473          NACHAWATI LAW GROUP

HUGHES, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05644          ONDERLAW, LLC

HUGHES, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06990          THE SIMON LAW FIRM, PC




                                                                            Page 586 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                         Appendix A (Part 1) Page 588 of 702

           Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

HUGHES, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08982          ASHCRAFT & GEREL

HUGHES, ELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17158          NACHAWATI LAW GROUP

HUGHES, EMILY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16445          FLETCHER V. TRAMMELL

HUGHES, FAITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14656          TAUTFEST BOND

HUGHES, GAIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11251          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUGHES, GAY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09413          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUGHES, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15461          ONDERLAW, LLC

HUGHES, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08983          ONDERLAW, LLC

HUGHES, JUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01349          ONDERLAW, LLC

HUGHES, KATIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02030          JOHNSON LAW GROUP

HUGHES, LORETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16235          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUGHES, MAJORIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12556          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

HUGHES, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09254          DAVIS, BETHUNE & JONES, L.L.C.

HUGHES, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16281          JOHNSON LAW GROUP

HUGHES, MELISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09547          ONDERLAW, LLC

HUGHES, PEGGY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10063          ONDERLAW, LLC

HUGHES, PEGGY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03267          THE DUGAN LAW FIRM, APLC

HUGHES, ROSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13256          ARNOLD & ITKIN LLP

HUGHES, ROSEMARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08782          ONDERLAW, LLC

HUGHES, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07021          ONDERLAW, LLC

HUGHES, SHEFFEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HUGHES, SHEFFEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15500          LENZE LAWYERS, PLC

HUGHES, SHEFFEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HUGHES, SHEFFEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15500          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HUGHES, SHEFFEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HUGHES, TERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12303          ASHCRAFT & GEREL

HUGHES, TERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12303          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUGHES, VICKIE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-99-16            ASHCRAFT & GEREL

HUGHES, VICKIE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-99-16            GOLOMB SPIRT GRUNFELD PC

HUGHES-BRANT, CHRISTINE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12988          THE SEGAL LAW FIRM

HUGHES-WALKER, MARY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12844          JONES WARD PLC

HUGULEY, ADRIENNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13924          ONDERLAW, LLC

HUGUS, CHARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12041          HABUSH HABUSH & ROTTIER SC

HULEN, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10232          LENZE LAWYERS, PLC



                                                                         Page 587 of 1405
                                 Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                               Appendix A (Part 1) Page 589 of 702

              Claimant Name                           State Filed                       Docket Number                             Plaintiff Counsel

HULL, CAROLYN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14448          ASHCRAFT & GEREL

HULL, JOHNNIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13374          THE DIAZ LAW FIRM, PLLC

HULL, JULIE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00568          THE MILLER FIRM, LLC

HULL, LORRAINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07377          ONDERLAW, LLC

HULL, MARY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04688          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HULLEY, TONJA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11932          FLETCHER V. TRAMMELL

HULLINGER, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04378          SIMMONS HANLY CONROY

HULME, SUSAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02273          ONDERLAW, LLC

HULSENBERG, TARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00096          CELLINO & BARNES, P.C.

HULSEY, JAMES AND HULSEY, BONNIE    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-02138-18AS       WEITZ & LUXENBERG

HUMAGAIN, ALISHA                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02758          ASHCRAFT & GEREL

HUMAGAIN, ALISHA                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02758          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUMBER, MARVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20200          GORI JULIAN & ASSOCIATES, P.C.

HUMBERT, YUKANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08042          FLETCHER V. TRAMMELL

HUMBLE, ROBERTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19393          NACHAWATI LAW GROUP

HUMPAL, HELEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17632          JOHNSON LAW GROUP

HUMPHREY, CAROLINE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2503-17          KEEFE BARTELS

HUMPHREY, CAROLINE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2503-17          LAW OFFICE OF GRANT D. AMEY, LLC

HUMPHREY, DELLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13397          NACHAWATI LAW GROUP

HUMPHREY, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01444          ONDERLAW, LLC

HUMPHREY, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10855          NACHAWATI LAW GROUP

HUMPHREY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11898          THE MILLER FIRM, LLC

HUMPHREY, NORM                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HUMPHREY, NORM                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HUMPHREY, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14967          ASHCRAFT & GEREL, LLP

HUMPHREY, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14967          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUMPHREY, QUEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16544          NAPOLI SHKOLNIK, PLLC

HUMPHRIES, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02415          HOVDE, DASSOW, & DEETS, LLC

HUMPHRIES, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02415          THE MILLER FIRM, LLC
HUMPICH, LISA LEA; TAYLOR SR.,
                                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC
ROBERT
HUNBOLD, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20639          ONDERLAW, LLC

HUND, PATRICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08699          ONDERLAW, LLC

HUNDLEY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06132          ONDERLAW, LLC




                                                                               Page 588 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 590 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

HUNDLEY, SHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11895          MORELLI LAW FIRM, PLLC

HUNLEY, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11698          NACHAWATI LAW GROUP

HUNLEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03791          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNNELL, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08388          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNNICUTT, DOROTHY               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HUNOLD, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14828          LENZE LAWYERS, PLC

HUNOLD, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14828          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HUNSAKER, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12059          MOTLEY RICE, LLC

HUNT, ABIGAIL                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002462-20        GOLOMB & HONIK, P.C.

HUNT, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14723          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNT, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10661          NACHAWATI LAW GROUP

HUNT, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03075          ONDERLAW, LLC

HUNT, CORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10275          ONDERLAW, LLC

HUNT, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16158          ASHCRAFT & GEREL, LLP

HUNT, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16158          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNT, ERINN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3;21-CV-16920          DALIMONTE RUEB, LLP

HUNT, ESTELLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09056          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNT, EVELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11596          THE MILLER FIRM, LLC

HUNT, JOY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02184          ONDERLAW, LLC

HUNT, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02468          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNT, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13131          THE MILLER FIRM, LLC

HUNT, KATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20338          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNT, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17127          ARNOLD & ITKIN LLP

HUNT, LACOLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HUNT, LACOLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HUNT, LACOLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HUNT, LATANYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08142          ONDERLAW, LLC

HUNT, LAUNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13040          ASHCRAFT & GEREL, LLP

HUNT, LAUNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13040          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNT, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19344          NACHAWATI LAW GROUP

HUNT, LYNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20431          DRISCOLL FIRM, P.C.

HUNT, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08069          ONDERLAW, LLC

HUNT, MELANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11310          NACHAWATI LAW GROUP




                                                                            Page 589 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 591 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HUNT, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01082          ONDERLAW, LLC

HUNT, MILLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17166          NACHAWATI LAW GROUP

HUNT, NEVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02610          ONDERLAW, LLC

HUNT, SARAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14235          CELLINO & BARNES, P.C.

HUNT, STEPHANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09489          THE LAW OFFICES OF SEAN M CLEARY

HUNT, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09158          MURRAY LAW FIRM

HUNT, SYLVIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08070          MASSIMO & PAWETTA, P.C.

HUNTER, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02700          SIMMONS HANLY CONROY

HUNTER, ANIQUA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03778          ONDERLAW, LLC

HUNTER, ANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09904          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNTER, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16138          NACHAWATI LAW GROUP

HUNTER, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04190          ONDERLAW, LLC

HUNTER, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01574          ONDERLAW, LLC

HUNTER, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03623          ONDERLAW, LLC

HUNTER, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02416          ONDERLAW, LLC

HUNTER, DEANGILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06935          ONDERLAW, LLC

HUNTER, DEBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16068          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNTER, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14818          CELLINO & BARNES, P.C.

HUNTER, JACQUELINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNTER, JACQUELINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

HUNTER, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08457          ONDERLAW, LLC

HUNTER, JACQUELINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

HUNTER, JACQUELINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

HUNTER, JACQUELINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

HUNTER, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13197          JOHNSON LAW GROUP

HUNTER, JAZMIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16583          TRAMMELL PC

HUNTER, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01958          DALIMONTE RUEB, LLP
                                  LA - DISTRICT COURT - EAST BATON ROUGE
HUNTER, JOANN                                                                  C-68532024             DUGAN LAW FIRM, PLC
                                  PARISH
HUNTER, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21538          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNTER, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16009          NACHAWATI LAW GROUP

HUNTER, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03939          DANIEL & ASSOCIATES, LLC

HUNTER, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04619          FLETCHER V. TRAMMELL

HUNTER, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00418          ROSS FELLER CASEY, LLP

HUNTER, KRISTEN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1179-16          GOLOMB SPIRT GRUNFELD PC



                                                                             Page 590 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 592 of 702

           Claimant Name                           State Filed                      Docket Number                              Plaintiff Counsel

HUNTER, LAKESHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HUNTER, LAKESHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HUNTER, LAKESHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HUNTER, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09229          HOLLAND LAW FIRM

HUNTER, LOUELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05278          ONDERLAW, LLC

HUNTER, LYNDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04009          MCSWEENEY/LANGEVIN, LLC

HUNTER, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07486          ONDERLAW, LLC

HUNTER, NATASHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14525          FLETCHER V. TRAMMELL

HUNTER, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08985          ONDERLAW, LLC

HUNTER, PRISCILLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18521          ONDERLAW, LLC

HUNTER, ROSE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10415          MORRIS BART & ASSOCIATES

HUNTER, TANISHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11711          SLATER, SLATER, SCHULMAN, LLP

HUNTER, VALERIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18107          ONDERLAW, LLC

HUNTER, VALERIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09009          ONDERLAW, LLC

HUNTER, VALERIE                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-08387-19AS       WEITZ & LUXENBERG

HUNTER-DISPENNETT, REBECCA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12912          DRISCOLL FIRM, P.C.

HUNTER-STEVENSON, MARGARET      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06415          NAPOLI SHKOLNIK, PLLC

HUNTINGTON, JEANINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17809          ONDERLAW, LLC

HUNTLEY, ALMEDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16910          ASHCRAFT & GEREL

HUNTLEY, ALMEDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16910          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNTLEY, JANA                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC722125               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HUNTLEY, LASHUNDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUNTLEY, LASHUNDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

HUNTLEY, LASHUNDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

HUNTLEY, LASHUNDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

HUNTLEY, LASHUNDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

HUNTLEY, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05804          DRISCOLL FIRM, P.C.

HUNTLEY, LINDA                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-06691-19AS       WEITZ & LUXENBERG

HUNTSMAN, DENISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06854          JOHNSON LAW GROUP

HURLBUT, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11367          ASHCRAFT & GEREL

HURLEY, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08066          ONDERLAW, LLC

HURLEY, BETSY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17319          ASHCRAFT & GEREL, LLP

HURLEY, BETSY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17319          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                           Page 591 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 593 of 702

             Claimant Name                         State Filed                      Docket Number                               Plaintiff Counsel

HURLEY, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09728          DRISCOLL FIRM, P.C.

HURLEY, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12243          FLEMING, NOLEN & JEZ, LLP

HURLEY, KATHY                   LA - DISTRICT COURT - ORLEANS PARISH         2017-10832             GALANTE & BIVALACQUA LLC

HURLEY, KATHY                   LA - DISTRICT COURT - ORLEANS PARISH         2017-10832             POURCIAU LAW FIRM, LLC

HURLEY, KATHY                   LA - DISTRICT COURT - ORLEANS PARISH         2017-10832             THE CHEEK LAW FIRM

HURLEY, LORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10887          THE MILLER FIRM, LLC

HURLEY, NINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10543          ONDERLAW, LLC

HURLEY, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03440          ONDERLAW, LLC

HURLEY, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09678          WEXLER WALLACE LLP

HURLEY, SHERRY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08585          NASS CANCELLIERE BRENNER

HURLOCKER, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05781          ASHCRAFT & GEREL

HURLOCKER, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05781          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HURSEY, ORALIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03788          ARNOLD & ITKIN LLP

HURSIN, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08294          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HURST, DANIELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09061          ONDERLAW, LLC

HURST, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19311          NACHAWATI LAW GROUP

HURST, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11304          NACHAWATI LAW GROUP

HURST, PEGGY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11235          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HURST, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08177          JOHNSON LAW GROUP

HURST, SUE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02802          WRIGHT & SCHULTE, LLC

HURST, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07069          ONDERLAW, LLC

HURT, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17171          NACHAWATI LAW GROUP

HURT, RONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10983          NACHAWATI LAW GROUP

HURTADO, ELIZABETH              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HURTADO, ELIZABETH              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

HURTADO, ELIZABETH              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

HURTADO, ELIZABETH              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

HURTADO, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12114          THE MILLER FIRM, LLC

HURTAK, LORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05000          ONDERLAW, LLC

HURTIG, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03549          WAGSTAFF & CARTMELL, LLP

HUSAIN, UNZIALINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02832          ARNOLD & ITKIN LLP

HUSAK, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05906          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUSEBO, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19480          ASHCRAFT & GEREL, LLP




                                                                           Page 592 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 594 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

HUSEBO, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19480          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUSETH, SANDRA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1341-17          ANAPOL WEISS

HUSETH, SANDRA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1341-17          CRAIG SWAPP & ASSOCIATES

HUSH, SARAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00959          ONDERLAW, LLC

HUSMAN, HEIDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUSMAN, HEIDI                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318667             KIESEL LAW, LLP

HUSMAN, HEIDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          ONDERLAW, LLC

HUSMAN, HEIDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          PORTER & MALOUF, PA

HUSMAN, HEIDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          THE SMITH LAW FIRM, PLLC

HUSSAIN, RUBINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10473          ONDERLAW, LLC

HUSSEY, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05737          JOHNSON LAW GROUP

HUSSUNG, HOPE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L002115-20         GOLOMB & HONIK, P.C.

HUSTED, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13156          NACHAWATI LAW GROUP

HUSTLER, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08486          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUSTON, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12946          DALIMONTE RUEB, LLP

HUTCHENS, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21771          ONDERLAW, LLC

HUTCHENS, LORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02959          THE MILLER FIRM, LLC

HUTCHERSON, CHARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07623          ONDERLAW, LLC

HUTCHESON, CHARMAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07425          ONDERLAW, LLC

HUTCHESON, JILL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17173          NACHAWATI LAW GROUP

HUTCHINGS, KRISTI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14244          ARNOLD & ITKIN LLP

HUTCHINS, AGNES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20336          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUTCHINS, AUDREY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06488          BURNS CHAREST LLP

HUTCHINS, CLEOMAE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06651          ONDERLAW, LLC

HUTCHINS, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00180          ASHCRAFT & GEREL

HUTCHINS, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00180          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUTCHINSON, ANDREA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10318          GOLDENBERGLAW, PLLC

HUTCHINSON, BERNA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002233-20        GOLOMB & HONIK, P.C.

HUTCHINSON, FLORENCE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04863          ONDERLAW, LLC

HUTCHINSON, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03607          ASHCRAFT & GEREL, LLP

HUTCHINSON, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13373          FLETCHER V. TRAMMELL

HUTCHINSON, SARA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV308012             LEVIN SIMES LLP

HUTCHINSON, THURSDAY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11817          NACHAWATI LAW GROUP




                                                                            Page 593 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 595 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

HUTCHINSON-COURSE, LIANA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08009          THE DUGAN LAW FIRM, APLC

HUTCHISON, DEBORAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08370          HOLLAND LAW FIRM

HUTCHISON, DIANE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09040          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUTCHISON, JENNIFER           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09275          ONDERLAW, LLC

HUTHNANCE, CHARLOTTE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01329          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUTSLER, SHERRI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21926          JOHNSON LAW GROUP

HUTSON, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12971          BURNS CHAREST LLP

HUTSON, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12438          MORELLI LAW FIRM, PLLC

HUTSON-MAYER, EDNA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16782          DALIMONTE RUEB, LLP

HUTTER, CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15123          ONDERLAW, LLC

HUTTER, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03062          WILLIAMS HART LAW FIRM

HUTTON, ADRIENNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01183          ASHCRAFT & GEREL

HUTTON, ADRIENNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01183          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HUTTON, HEIDI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10165          ONDERLAW, LLC

HUTTON, NANCY                 FL - CIRCUIT COURT - BROWARD COUNTY          CACE19000576           THE FERRARO LAW FIRM, P.A.

HUTZAYLUK, STEPHANIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10132          DALIMONTE RUEB, LLP

HUTZLER, IVY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

HUTZLER, IVY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14906          LENZE LAWYERS, PLC

HUTZLER, IVY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

HUTZLER, IVY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14906          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HUTZLER, IVY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HUYCK, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02615          THE MILLER FIRM, LLC

HUYCK, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13971          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HVIZDOS, RUTHANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00047          BURNS CHAREST LLP

HVIZDOS, RUTHANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00047          BURNS CHAREST LLP

HVIZDOS, RUTHANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00047          BURNS CHAREST LLP

HVIZDOS, RUTHANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00047          KARON LLC

HYATT, CARLA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HYATT, CARLA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

HYATT, CARLA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

HYATT, CARLA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

HYATT, CARLA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

HYATT, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09376          ONDERLAW, LLC




                                                                         Page 594 of 1405
                             Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                              Appendix A (Part 1) Page 596 of 702

             Claimant Name                           State Filed                       Docket Number                              Plaintiff Counsel

HYATT, SUN YE                      OK - DISTRICT COURT - OKLAHOMA COUNTY        CJ-2021-27             HORTON LAW FIRM

HYATT, SUN YE AND HYATT, CHARLES   OK - DISTRICT COURT - OKLAHOMA COUNTY        CJ-2021-27             KARST & VON OISTE, LLP

HYCHE, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13138          ONDERLAW, LLC

HYCHE, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01118          STEWART & STEWART

HYCHE, RELDA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002867-21        WEITZ & LUXENBERG

HYDE, EMMA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17179          NACHAWATI LAW GROUP

HYDE, FAYE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01157          COHEN & MALAD, LLP

HYDE, FAYE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01157          DELISE & HALL

HYDE, JAMI                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16106          ONDERLAW, LLC

HYDE, JOLENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01411          THE POTTS LAW FIRM, LLP

HYDE, RHONDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04379          SIMMONS HANLY CONROY

HYLAND, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18885          KIESEL LAW, LLP

HYLAND, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18885          LAW OFFICE OF HAYTHAM FARAJ

HYLAND, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18885          MARTINIAN & ASSOCIATES, INC.

HYLAND, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09208          THE DUGAN LAW FIRM, APLC

HYLANDER, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11478          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

HYLTON, NOVELETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13231          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

HYMAN, LAQUAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01746          ONDERLAW, LLC

HYMAN, LEONA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20634          ONDERLAW, LLC

HYMAN, SHANITY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13781          ONDERLAW, LLC

HYMAN-BUCY, BRENDA                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

HYMES, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17080          THE CUFFIE LAW FIRM

HYMON, ALTHEA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03780          ONDERLAW, LLC

HYSLOP, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00545          JOHNSON BECKER, PLLC

HYSMITH, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17344          ASHCRAFT & GEREL, LLP

HYSMITH, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17344          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HYVARINEN, ANNE                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC667084               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

HYVARINEN, ANNE                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC667084               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

HYVARINEN, ANNE                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC667084               THE SMITH LAW FIRM, PLLC

IACONO, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10313          ASHCRAFT & GEREL

IACONO, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10313          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

IACULLO, ROSEMARIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-187-18           MCELDREW YOUNG

IACUZZO, MARY AND IACUZZO, JOHN    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-08224-18AS       LEVY KONIGSBERG LLP




                                                                              Page 595 of 1405
                                Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                                  Appendix A (Part 1) Page 597 of 702

               Claimant Name                             State Filed                       Docket Number                              Plaintiff Counsel

IANNACONE, TRACI                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000627-20        LINVILLE LAW GROUP

IANNARONE, DIANE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003492-20        GOLOMB & HONIK, P.C.

IANNIELLO, JOANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09493          ONDERLAW, LLC

IANUALE, JENNIFER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07776          PRIBANIC & PRIBANIC, LLC

IBARRA, MARIA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12831          JOHNSON LAW GROUP

IBARRA, MELANIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02929          ONDERLAW, LLC

IBARRA, NORMA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12147          ASHCRAFT & GEREL

IBARRONDO, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20410          WILLIAMS HART LAW FIRM

IBOLD, REGINE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07316          ROSS FELLER CASEY, LLP

ICE, CASSANDRA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16913          ONDERLAW, LLC

ICHIBA, LISA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06017          DECOF, BARRY, MEGA & QUINN, P.C.

ICKES, CHERYL                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14671          ARNOLD & ITKIN LLP

ICKES, SHEILA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05917          ONDERLAW, LLC

IDA CALABRO                            FEDERAL - MDL                                3:21-CV-19875          ONDERLAW, LLC

IDA HERRING                            IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

IERACI, DIANE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11067          THE SEGAL LAW FIRM

IFKEWITSCH, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07973          ONDERLAW, LLC

IGLESIAS, MARTHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09247          ONDERLAW, LLC

IIDA, PATRICIA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17184          NACHAWATI LAW GROUP

IKEMOTO, JOAN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08141          POULIN, WILLEY, ANASTOPOULO, LLC

IKNER, JULIE ; LOPEZ, ROSA; MARTINE,   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC649256               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

ILER, ATHALENE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02896          ONDERLAW, LLC

ILES, BARBARA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06314          ONDERLAW, LLC

ILES, DORETHA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21539          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ILGES, DEBRA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05538          GORI JULIAN & ASSOCIATES, P.C.

ILLARRAMENDI, LIZETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02770          JOHNSON LAW GROUP

ILLIAN, DEA                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13885          ONDERLAW, LLC

ILLIAN, JACQUELINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01895          JOHNSON LAW GROUP

ILOILO, DEBRA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17188          NACHAWATI LAW GROUP

IMBODEN, TINA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04830          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

IMLER, ANGELA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17926          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

IMMEDIATO, GERALDINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03524          SLATER, SLATER, SCHULMAN, LLP




                                                                                  Page 596 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                          Appendix A (Part 1) Page 598 of 702

            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

IMPELL, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08491          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

IMPELLIZZERI, AUDREY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14156          CELLINO & BARNES, P.C.

IMPEY, GILLIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09454          ONDERLAW, LLC

IMRAN, SONIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08538          GORI JULIAN & ASSOCIATES, P.C.

IMTIAZ, SYEDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

IMTIAZ, SYEDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

IMTIAZ, SYEDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

INCALCATERA, EILEEN            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002831-21        GOLOMB & HONIK, P.C.

INCLEMA, PAULETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21157          CELLINO & BARNES, P.C.

INFANTE, MINNIE                IL - CIRCUIT COURT - MADISON COUNTY          20-L-1459              SWMW LAW, LLC

INFANTE, OLIVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07293          ONDERLAW, LLC

INGENTHRON, ROSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19402          NACHAWATI LAW GROUP

INGERSOLL, KIMMARIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10853          THE MILLER FIRM, LLC

INGHRAM, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01178          GORI JULIAN & ASSOCIATES, P.C.

INGLETON, TIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18399          ONDERLAW, LLC

INGLIS, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20318          ONDERLAW, LLC

INGRAHAM, SHOYNDELLE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17198          NACHAWATI LAW GROUP

INGRAHM, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18933          CELLINO & BARNES, P.C.

INGRAM, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12558          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

INGRAM, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20245          TORHOERMAN LAW LLC

INGRAM, EBONY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21937          ONDERLAW, LLC

INGRAM, GARDENIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08099          HEYGOOD, ORR & PEARSON

INGRAM, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14587          FLETCHER V. TRAMMELL

INGRAM, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05276          ONDERLAW, LLC

INGRAM, MARGIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01888          GORI JULIAN & ASSOCIATES, P.C.

INGRAM, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11781          NACHAWATI LAW GROUP

INGRAM, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

INGRAM, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

INGRAM, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

INGRAM, VIRGIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15161          NACHAWATI LAW GROUP

INIGUEZ, MARSHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07199          BARRETT LAW GROUP

INMAN, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15857          NACHAWATI LAW GROUP

INMAN, MATTIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06726          ONDERLAW, LLC




                                                                          Page 597 of 1405
                               Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                               Appendix A (Part 1) Page 599 of 702

               Claimant Name                          State Filed                       Docket Number                            Plaintiff Counsel

INNIS, LINDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00159          ONDERLAW, LLC

INNIS, VONDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03173          GALANTE & BIVALACQUA LLC

INNIS, VONDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03173          POURCIAU LAW FIRM, LLC

INNIS, VONDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03173          THE CHEEK LAW FIRM

INNOCENTI, ANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13318          GORI JULIAN & ASSOCIATES, P.C.

INNOCENTI, ANNE-MARIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18582          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

INOCENCIO, ESTELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09083          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

INSCORE, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06607          ONDERLAW, LLC

INTREPIDO, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00546          JOHNSON BECKER, PLLC

INZANA, ANN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08674          ONDERLAW, LLC
                                    PA - COURT OF COMMON PLEAS - PHILADELPHIA
IOSSA, DANIEL SR AND IOSSA, HOLLY                                                2101051929             WEITZ & LUXENBERG
                                    COUNTY
IOSSI, THERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15033          THE BENTON LAW FIRM, PLLC

IQBAL, JIAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05080          ONDERLAW, LLC

IRBY, DOROTHY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04933          ONDERLAW, LLC

IRBY, JUDY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06916          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

IRBY, SHARON                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12021          DALIMONTE RUEB, LLP

IRBY, VEADA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01639          MORELLI LAW FIRM, PLLC

IRENE ZYSK                          FEDERAL - MDL                                3:21-CV-19153          BARON & BUDD, P.C.

IRENE, NILDA                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003140-21        WEITZ & LUXENBERG

IRETON, KHRISTINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12420          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

IRINA MELKUMOVA                     FEDERAL - MDL                                3:21-CV-19783          ONDERLAW, LLC

IRIZARRY, MARIANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08160          MORELLI LAW FIRM, PLLC

IRIZARRY, SONIA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002964-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

IRONS, ELISHER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10251          GORI JULIAN & ASSOCIATES, P.C.

IRONS, SUSAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16245          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

IRONSIDE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17248          ASHCRAFT & GEREL, LLP

IRONSIDE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17248          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

IROZ, JOYCE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17201          NACHAWATI LAW GROUP

IRVIN, ANNA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04999          JOHNSON LAW GROUP

IRVIN, BETTY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05780          ASHCRAFT & GEREL

IRVIN, BETTY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05780          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

IRVIN, JACQUELINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06997          ONDERLAW, LLC

IRVIN, RACHEL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11070          DALIMONTE RUEB, LLP




                                                                               Page 598 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                              Appendix A (Part 1) Page 600 of 702

              Claimant Name                          State Filed                        Docket Number                             Plaintiff Counsel

IRVIN, VERNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11808          NACHAWATI LAW GROUP
                                   NY - USDC FOR THE EASTERN DISTRICT OF NEW
IRVINE, MARIE                                                                    2:21-CV-02295          CELLINO & BARNES, P.C.
                                   YORK
IRVING, CARLETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-0712           ONDERLAW, LLC

IRVING, HOLLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03262          ASHCRAFT & GEREL

IRVING, HOLLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03262          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

IRWIN, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05784          ASHCRAFT & GEREL

IRWIN, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05784          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

IRWIN, THERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05140          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

IRWIN, TRUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13690          DRISCOLL FIRM, P.C.

ISA, TAMI                          FL - CIRCUIT COURT - HILLSBOROUGH COUNTY      17-CA-010979           THE FERRARO LAW FIRM, P.A.

ISAAC, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10278          ONDERLAW, LLC

ISAAC-MERCER, MIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06898          NAPOLI SHKOLNIK, PLLC

ISAACS, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04917          ONDERLAW, LLC

ISAACS, ZELMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11676          SUMMERS & JOHNSON, P.C.

ISAACSON, ELSIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-2697-17          THE MILLER FIRM, LLC

ISAACSON, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08493          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ISAACSON, ROEANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12201          FLETCHER V. TRAMMELL

ISABEL RODRIGUEZ                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15253          LENZE LAWYERS, PLC

ISABEL RODRIGUEZ                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15253          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ISABELL, LAKEISHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03910          ONDERLAW, LLC

ISACKSON, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19040          SALTZ MONGELUZZI & BENDESKY PC

ISAGUIRRE, CYNTHIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-002288-20        GOLOMB & HONIK, P.C.

ISBELL, DENNISE; WINTERS, SYLVIA   CA - SUPERIOR COURT - LOS ANGELES COUNTY      BC628272               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ISCHAY, ANA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11195          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ISELA VICTORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18517          WEITZ & LUXENBERG

ISENBERG, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09002          THE MILLER FIRM, LLC

ISENBERG, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05674          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ISGRIG, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06920          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ISGRO, JOANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17217          NACHAWATI LAW GROUP

ISHAM, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09690          GORI JULIAN & ASSOCIATES, P.C.

ISHAM, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20204          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ISHMAEL, ADRIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05010          THE SEGAL LAW FIRM




                                                                               Page 599 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 601 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

ISIANG, ROSEMARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17681          ONDERLAW, LLC

ISLER, ANNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20067          ARNOLD & ITKIN LLP

ISLES, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

ISLES, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

ISLES, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ISOM, FRANCINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04281          ONDERLAW, LLC

ISSACS, CHARLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10353          ONDERLAW, LLC

ISSHAC, REEM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12589          ONDERLAW, LLC

ISTRE, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10213          PARKER WAICHMAN, LLP

ISTRE, BRETT                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20206          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ISTVANOVICH, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17225          NACHAWATI LAW GROUP

ITALIANO, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14490          MOTLEY RICE, LLC

ITLIONG, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13402          ONDERLAW, LLC

ITURRALDE, RITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00736          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ITURRERIA, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ITURRERIA, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719          ONDERLAW, LLC

ITURRERIA, SUSAN                  CA - SUPERIOR COURT - SACRAMENTO COUNTY      34-2017-00221535       ONDERLAW, LLC

ITURRERIA, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719          PORTER & MALOUF, PA

ITURRERIA, SUSAN                  CA - SUPERIOR COURT - SACRAMENTO COUNTY      34-2017-00221535       SALKOW LAW, APC

ITURRERIA, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719          THE SMITH LAW FIRM, PLLC

IULIANO, DANIELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11893          MORELLI LAW FIRM, PLLC

IUPPA, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06702          JOHNSON LAW GROUP

IVANOV, LYUDMILA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001249-21        JOHNSON LAW GROUP

IVASIECKO, VENISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13071          ROSS FELLER CASEY, LLP

IVERS, EILEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08555          MOTLEY RICE, LLC

IVERSON, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09157          ASHCRAFT & GEREL

IVEY, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04857          ONDERLAW, LLC

IVEY, MISHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16862          ONDERLAW, LLC

IVEY, REBA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00086          ONDERLAW, LLC

IVEY, TERRY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18615          NACHAWATI LAW GROUP

IVLER, LAURIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17013          NACHAWATI LAW GROUP

IVORY, BRIDGET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13647          THE DUGAN LAW FIRM, APLC

IVORY, EARLINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16821          JOHNSON BECKER, PLLC




                                                                             Page 600 of 1405
                                   Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                  Appendix A (Part 1) Page 602 of 702

              Claimant Name                              State Filed                      Docket Number                              Plaintiff Counsel

IVORY, MARIE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14498          NAPOLI SHKOLNIK, PLLC

IVORY, SHERRY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10396          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

IVORY, YUMEKA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13923          ONDERLAW, LLC

IVY, ELLA                             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08827          BARON & BUDD, P.C.

IWANOW, CHRISTINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05562          HEYGOOD, ORR & PEARSON

IZZO, DEBRA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11879          MORELLI LAW FIRM, PLLC

JAAFAR, VIRGINIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02154          JOHNSON LAW GROUP

JAAP, JERI                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08082          DALIMONTE RUEB, LLP

JAAP, JERI                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09362          ONDERLAW, LLC

JABARA, LYNN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15237          ONDERLAW, LLC

JABLON, MIRIAM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08865          ONDERLAW, LLC

JABLONOWSKI, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01477          JOHNSON LAW GROUP

JABOUIN, MARIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12960          JOHNSON LAW GROUP

JACHYM, LORRAINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12186          JOHNSON LAW GROUP

JACHYM, LORRAINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12186          JOHNSON LAW GROUP

JACHYM, LORRAINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12186          LEVIN SIMES ABRAMS LLP
JACINTO, C & JACINTO, G EST OF A
                                      NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00624-17AS       LEVY KONIGSBERG LLP
JACINTO
JACK, ADRIAN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16152          NACHAWATI LAW GROUP

JACK, AUDREY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06921          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKIE ADAMS                          IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JACKOWIAK, ROBERTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12534          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKS, DEBORA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06657          FLETCHER V. TRAMMELL

JACKS, MELISSA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10552          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

JACKSON, ADA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19025          NACHAWATI LAW GROUP

JACKSON, ALETHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10070          ONDERLAW, LLC

JACKSON, ALICE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14196          SLATER, SLATER, SCHULMAN, LLP

JACKSON, ALICESTINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKSON, ALICESTINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

JACKSON, ALICESTINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

JACKSON, ALICESTINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

JACKSON, ALICESTINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

JACKSON, ALVINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02009          NACHAWATI LAW GROUP

JACKSON, ALVINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12485          TRAMMELL PC




                                                                                 Page 601 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                         Appendix A (Part 1) Page 603 of 702

           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

JACKSON, ALYSSIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06664          SALTZ MONGELUZZI & BENDESKY PC

JACKSON, AUDREY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19476          NACHAWATI LAW GROUP

JACKSON, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09029          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKSON, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12887          COHEN & MALAD, LLP

JACKSON, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08777          FLETCHER V. TRAMMELL

JACKSON, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10279          ONDERLAW, LLC

JACKSON, BELINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17810          ONDERLAW, LLC

JACKSON, BETTIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20506          MOTLEY RICE, LLC

JACKSON, BEVERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17818          WAGSTAFF & CARTMELL, LLP

JACKSON, BIRDGETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09188          ONDERLAW, LLC

JACKSON, BOBBIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18523          NACHAWATI LAW GROUP

JACKSON, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07235          ONDERLAW, LLC

JACKSON, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03797          ARNOLD & ITKIN LLP

JACKSON, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10738          MOORE LAW GROUP PLLC

JACKSON, CATHY                LA - DISTRICT COURT - ORLEANS PARISH         2018-2673              THE CHEEK LAW FIRM

JACKSON, CECELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07214          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKSON, CEDIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12882          JOHNSON LAW GROUP

JACKSON, CHENIKA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12421          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

JACKSON, CHERI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05953          ONDERLAW, LLC

JACKSON, CHRISTINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17841          ASHCRAFT & GEREL, LLP

JACKSON, CHRISTINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17841          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKSON, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02603          JOHNSON BECKER, PLLC

JACKSON, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11473          NACHAWATI LAW GROUP

JACKSON, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14046          ONDERLAW, LLC

JACKSON, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02594          ONDERLAW, LLC

JACKSON, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02635          ONDERLAW, LLC

JACKSON, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07493          SULLO & SULLO, LLP

JACKSON, DELORES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13998          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKSON, DELORES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11957          MORELLI LAW FIRM, PLLC

JACKSON, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13201          NACHAWATI LAW GROUP

JACKSON, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03359          ONDERLAW, LLC

JACKSON, DORIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15898          NACHAWATI LAW GROUP

JACKSON, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14800          ARNOLD & ITKIN LLP




                                                                         Page 602 of 1405
                             Case 23-12825-MBK                   Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                                 Appendix A (Part 1) Page 604 of 702

            Claimant Name                               State Filed                      Docket Number                              Plaintiff Counsel

JACKSON, DRUCILLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11094          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKSON, ELFRIEDE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09556          FLETCHER V. TRAMMELL

JACKSON, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09265          MOTLEY RICE, LLC

JACKSON, ELLEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09348          ONDERLAW, LLC

JACKSON, ELOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09384          BURNS CHAREST LLP

JACKSON, ELOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09384          BURNS CHAREST LLP

JACKSON, FANNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19022          NACHAWATI LAW GROUP

JACKSON, FRANKIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12304          ASHCRAFT & GEREL

JACKSON, FRANKIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12304          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKSON, GAIL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17439          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

JACKSON, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13538          DRISCOLL FIRM, P.C.

JACKSON, GUSTIEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09911          ONDERLAW, LLC

JACKSON, GWENDOLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05777          ONDERLAW, LLC

JACKSON, HELEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07683          DALIMONTE RUEB, LLP

JACKSON, HELEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03495          ONDERLAW, LLC

JACKSON, HERMENIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05487          WILLIAMS HART LAW FIRM

JACKSON, HILDA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002540-20        GOLOMB & HONIK, P.C.

JACKSON, HILDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19165          NACHAWATI LAW GROUP

JACKSON, IRENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20330          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKSON, JAMIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18508          NACHAWATI LAW GROUP

JACKSON, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09637          FLETCHER V. TRAMMELL

JACKSON, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04302          ONDERLAW, LLC

JACKSON, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09036          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKSON, JOAN                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

JACKSON, JOAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13396          NACHAWATI LAW GROUP

JACKSON, JOAN                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

JACKSON, JOAN                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

JACKSON, JOAN                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

JACKSON, JOEVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10991          MORRIS BART & ASSOCIATES

JACKSON, JOHN AND JACKSON, PHYLLIS   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00237-19AS       WEITZ & LUXENBERG

JACKSON, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10387          BARNES LAW GROUP, LLC

JACKSON, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10387          CHEELEY LAW GROUP

JACKSON, JULIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06417          NAPOLI SHKOLNIK, PLLC

JACKSON, JUNIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19060          HOLLAND LAW FIRM



                                                                                Page 603 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 605 of 702

            Claimant Name                           State Filed                      Docket Number                              Plaintiff Counsel

JACKSON, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03944          ONDERLAW, LLC

JACKSON, KATIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06981          ONDERLAW, LLC
JACKSON, KELBY AND JACKSON,
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003160-21        WEITZ & LUXENBERG
AMANDA
JACKSON, KELLI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07546          WILLIAMS HART LAW FIRM

JACKSON, KIM                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10861          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JACKSON, LARAE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17012          ONDERLAW, LLC

JACKSON, LATISHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13197          DALIMONTE RUEB, LLP

JACKSON, LAVERDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17028          NACHAWATI LAW GROUP

JACKSON, LELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19334          NACHAWATI LAW GROUP

JACKSON, LILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17037          NACHAWATI LAW GROUP

JACKSON, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06925          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKSON, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14940          ONDERLAW, LLC

JACKSON, LINNEA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKSON, LISA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2701-17          KEEFE BARTELS

JACKSON, LISA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2701-17          LAW OFFICE OF GRANT D. AMEY, LLC

JACKSON, LITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07416          ONDERLAW, LLC

JACKSON, LOIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12539          THE SIMON LAW FIRM, PC

JACKSON, LORRAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01654          HOLLAND LAW FIRM

JACKSON, LOUISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11692          DANIEL & ASSOCIATES, LLC

JACKSON, MAKESHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19850          NACHAWATI LAW GROUP

JACKSON, MANNISE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003263-21        WEITZ & LUXENBERG

JACKSON, MARGARET                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

JACKSON, MARGARET                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

JACKSON, MARGARET                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

JACKSON, MARGARET                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

JACKSON, MARI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06720          THE SIMON LAW FIRM, PC

JACKSON, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17058          NACHAWATI LAW GROUP

JACKSON, MARY                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006217-20AS      LEVY KONIGSBERG LLP

JACKSON, MARY                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006217-20AS      MAUNE RAICHLE HARTLEY FRENCH & MUDD

JACKSON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09293          ONDERLAW, LLC

JACKSON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08700          ONDERLAW, LLC

JACKSON, MAUREEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00102          FLETCHER V. TRAMMELL

JACKSON, MELODY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06377          ONDERLAW, LLC




                                                                            Page 604 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                           Appendix A (Part 1) Page 606 of 702

           Claimant Name                          State Filed                       Docket Number                            Plaintiff Counsel

JACKSON, MYRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11027          NACHAWATI LAW GROUP

JACKSON, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08316          MORELLI LAW FIRM, PLLC

JACKSON, NIKISHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08705          NAPOLI SHKOLNIK, PLLC

JACKSON, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07858          WILLIAMS HART LAW FIRM

JACKSON, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10030          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKSON, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19904          CELLINO & BARNES, P.C.

JACKSON, PAULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07488          LAW OFFICE OF EUSI H. PHILLIPS

JACKSON, PAULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07488          LAW OFFICE OF MARION D. FLOYD

JACKSON, PAULINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19373          NACHAWATI LAW GROUP

JACKSON, PLESHETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16251          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JACKSON, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04790          THE SEGAL LAW FIRM

JACKSON, RENIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12108          BARON & BUDD, P.C.

JACKSON, ROEANER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09882          ONDERLAW, LLC

JACKSON, RUBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17047          NACHAWATI LAW GROUP

JACKSON, RUBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18691          THE SEGAL LAW FIRM

JACKSON, RUTH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02320          MORELLI LAW FIRM, PLLC

JACKSON, SABRINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10178          GOLDENBERGLAW, PLLC

JACKSON, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JACKSON, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JACKSON, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JACKSON, SHALISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14608          ARNOLD & ITKIN LLP

JACKSON, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11832          MOTLEY RICE, LLC

JACKSON, SHELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11378          ONDERLAW, LLC

JACKSON, SHENIEKA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12254          CELLINO & BARNES, P.C.

JACKSON, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19947          NACHAWATI LAW GROUP

JACKSON, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05947          ONDERLAW, LLC
JACKSON, STEPHEN AND JACKSON,
                                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-001671-21        WEITZ & LUXENBERG
SUSAN
JACKSON, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14624          FLETCHER V. TRAMMELL

JACKSON, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02452          THE SEGAL LAW FIRM

JACKSON, TAMEKA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06826          MOTLEY RICE, LLC

JACKSON, THELMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18544          ARNOLD & ITKIN LLP

JACKSON, TOMMIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05006          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACKSON, URSULA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02708          STONE GRANADE & CROSBY PC

JACKSON, VALERIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05353          ONDERLAW, LLC



                                                                           Page 605 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 607 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

JACKSON, VALERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04279          PARKER WAICHMAN, LLP

JACKSON, VANESSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01021          BURNS CHAREST LLP

JACKSON, VERLETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05634          ONDERLAW, LLC

JACKSON, VERONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17282          ONDERLAW, LLC

JACKSON, VIVIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12058          NACHAWATI LAW GROUP

JACKSON, VONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JACKSON, VONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JACKSON, VONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JACKSON, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08513          NAPOLI SHKOLNIK, PLLC

JACKSON, YVONNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19467          NACHAWATI LAW GROUP

JACKSON-CARPIA, DENISE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08117          ONDERLAW, LLC

JACKSON-GOUDINE, CAROLYN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09714          GORI JULIAN & ASSOCIATES, P.C.

JACOB, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12102          THE MILLER FIRM, LLC

JACOBI, STACEY                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV333802             THE MILLER FIRM, LLC

JACOBS, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01752          WILLIAMS HART LAW FIRM

JACOBS, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10033          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACOBS, GERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05768          ONDERLAW, LLC

JACOBS, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09919          ONDERLAW, LLC

JACOBS, KRISTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03261          ONDERLAW, LLC

JACOBS, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08278          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACOBS, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06619          FLETCHER V. TRAMMELL

JACOBS, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11137          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

JACOBS, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12171          DALIMONTE RUEB, LLP

JACOBS, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17088          NACHAWATI LAW GROUP

JACOBSEN, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10110          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACOBSEN, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13515          THE MILLER FIRM, LLC

JACOBSON, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00082          MOTLEY RICE, LLC

JACOBSON, ANN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000625-19        GOLOMB SPIRT GRUNFELD PC

JACOBSON, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11416          NAPOLI SHKOLNIK, PLLC

JACOBSON, VERNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19508          NACHAWATI LAW GROUP

JACOBY, LISA                      NY - SUPREME COURT - NYCAL                   190174/2021            WEITZ & LUXENBERG

JACQUELINE DICKSON                FEDERAL - MDL                                3:21-CV-19624          ONDERLAW, LLC

JACQUELINE GOMEZ                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15367          LENZE LAWYERS, PLC




                                                                             Page 606 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 608 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

JACQUELINE GOMEZ                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15367          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JACQUELINE MCSWEENEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18195          ONDERLAW, LLC

JACQUELYN CARLTON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18458          WEITZ & LUXENBERG

JACQUES, FAITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17053          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

JACQUES, GOLDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09060          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACQUES, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11704          NACHAWATI LAW GROUP

JACQUET, GAIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09991          HOLLAND LAW FIRM

JACQUEZ, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JACQUEZ, NANCY                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681550               ONDERLAW, LLC

JACQUEZ, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          ONDERLAW, LLC

JACQUEZ, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          PORTER & MALOUF, PA

JACQUEZ, NANCY                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681550               SALKOW LAW, APC

JACQUEZ, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          THE SMITH LAW FIRM, PLLC

JADALLAH, AMAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17547          ASHCRAFT & GEREL, LLP

JAEHNIG, DENISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18959          NACHAWATI LAW GROUP

JAGGI, LAEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14121          MOTLEY RICE NEW JERSEY LLC

JAGHAB, HANAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06295          ONDERLAW, LLC

JAGIER, MAUREEN                  IL - CIRCUIT COURT - COOK COUNTY             2019 L 014033          SALVI, SCHOSTOK & PRITCHARD P.C.

JAGIER, MAUREEN                  IL - CIRCUIT COURT - COOK COUNTY             2019 L 014033          SANDERS PHILLIPS GROSSMAN, LLC

JAGNEAUX, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07107          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JAIME CONWAY                     FEDERAL - MDL                                3:21-CV-19879          ONDERLAW, LLC

JAJI, LATORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05650          ONDERLAW, LLC

JAKAN, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14309          GORI JULIAN & ASSOCIATES, P.C.

JAKOBETZ, ROBERTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19138          NACHAWATI LAW GROUP

JALOVE, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13782          ONDERLAW, LLC

JAMBAZIAN, ANUSH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17509          JOHNSON LAW GROUP

JAME, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19506          ONDERLAW, LLC

JAMES LEONARD                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JAMES MOBLEY                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JAMES OGLE III                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JAMES WILLIS                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JAMES WYNNE                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JAMES, ANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19815          NACHAWATI LAW GROUP




                                                                            Page 607 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 609 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

JAMES, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03235          ONDERLAW, LLC

JAMES, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03602          CHAPPELL, SMITH & ARDEN, P.A.

JAMES, CHARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15648          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JAMES, CHRISTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04194          UNGLESBY LAW FIRM

JAMES, CLIFFIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02257          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JAMES, CORNELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14444          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

JAMES, DESIREE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17139          NACHAWATI LAW GROUP

JAMES, DOMICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15675          NACHAWATI LAW GROUP

JAMES, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14853          LENZE LAWYERS, PLC

JAMES, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14853          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JAMES, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00547          JOHNSON BECKER, PLLC

JAMES, ELSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14488          MORRIS BART & ASSOCIATES

JAMES, EUNICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11718          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JAMES, JACQUELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02072          ONDERLAW, LLC

JAMES, JANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JAMES, JANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14921          LENZE LAWYERS, PLC

JAMES, JANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JAMES, JANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14921          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JAMES, JANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JAMES, JANUARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08642          ONDERLAW, LLC

JAMES, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03064          ONDERLAW, LLC

JAMES, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16227          THE MILLER FIRM, LLC

JAMES, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09040          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JAMES, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09468          FLETCHER V. TRAMMELL

JAMES, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18803          MOTLEY RICE, LLC

JAMES, LEN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04153          ONDERLAW, LLC

JAMES, LIDIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19339          NACHAWATI LAW GROUP

JAMES, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10434          SANDERS PHILLIPS GROSSMAN, LLC

JAMES, LYNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          DONALD L. SCHLAPPRIZZI P.C.

JAMES, LYNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10913          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JAMES, LYNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JAMES, MARCIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15324          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JAMES, MARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16722          ASHCRAFT & GEREL




                                                                             Page 608 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 610 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

JAMES, MARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16722          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JAMES, NITZA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03278          ONDERLAW, LLC

JAMES, NONIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08918          ONDERLAW, LLC

JAMES, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14421          KIESEL LAW, LLP

JAMES, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14421          LAW OFFICE OF HAYTHAM FARAJ

JAMES, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14421          MARTINIAN & ASSOCIATES, INC.

JAMES, ROSE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18843          CELLINO & BARNES, P.C.

JAMES, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06674          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JAMES, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16497          THE MILLER FIRM, LLC

JAMES, SANDRA                     CA - SUPERIOR COURT - COUNTY OF MARIN        CIV2003418             ONDERLAW, LLC

JAMES, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03812          ONDERLAW, LLC

JAMES, SANDRA                     CA - SUPERIOR COURT - COUNTY OF MARIN        CIV2003418             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JAMES, SHEILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07175          ONDERLAW, LLC

JAMES, TRENESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09045          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JAMES, TYANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03629          HENINGER GARRISON DAVIS, LLC

JAMES, VICTORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17096          NACHAWATI LAW GROUP

JAMES, WILHEMINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08990          MORRIS BART & ASSOCIATES

JAMESON, ALBERTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14452          ASHCRAFT & GEREL

JAMESON, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04259          ONDERLAW, LLC

JAMESON, PAM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17146          NACHAWATI LAW GROUP

JAMHOUR, DORIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20306          ONDERLAW, LLC

JAMIE SKEHAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18169          WATERS & KRAUS, LLP

JAMISON, DEBORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16383          DIAMOND LAW

JAMISON, DESEREE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17152          NACHAWATI LAW GROUP

JAMISON, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JAMISON, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JAMISON, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JAMISON, EMMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00991          FLETCHER V. TRAMMELL

JAMISON, JIMMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19967          NACHAWATI LAW GROUP

JAMISON, JIMMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08637          ONDERLAW, LLC

JAMISON, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05481          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JAMISON, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03551          ONDERLAW, LLC

JAMISON, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01380          ONDERLAW, LLC

JAMISON, REGINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14512          ONDERLAW, LLC



                                                                             Page 609 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 611 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

JANAGAP, ISABEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17520          ONDERLAW, LLC

JANAS, GRACE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16660          ASHCRAFT & GEREL

JANAS, GRACE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16660          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JANDA, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17758          ONDERLAW, LLC

JANE HOOVER                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18564          ONDERLAW, LLC

JANE HUMPHREY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17977          WEITZ & LUXENBERG

JANE SHERET                       FEDERAL - MDL                                3:21-CV-17076          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JANE, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10977          ASHCRAFT & GEREL

JANECEK, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06967          ARNOLD & ITKIN LLP

JANES, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18037          ASHCRAFT & GEREL

JANES, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18037          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JANES, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15099          THE BENTON LAW FIRM, PLLC

JANET BOYERS                      FEDERAL - MDL                                3:21-CV-18908          MOTLEY RICE, LLC

JANET JOHNSON                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003338-21        WEITZ & LUXENBERG

JANET SHUTE                       FEDERAL - MDL                                3:21-CV-19082          MOTLEY RICE, LLC

JANET WEYAND                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JANET WRIGHT                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15255          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JANET YOUNG                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18168          ONDERLAW, LLC

JANET, JONETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00069          ASHCRAFT & GEREL

JANET, JONETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00069          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JANETH CARNEY                     FEDERAL - MDL                                3:21-CV-19045          MOTLEY RICE, LLC

JANICE ALSTON                     FEDERAL - MDL                                3:21-CV-19061          MOTLEY RICE, LLC

JANICE DELEEUW                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18404          JOHNSON LAW GROUP

JANICE ECKEL                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003320-21        GOLOMB SPIRT GRUNFELD PC

JANICE FERRARO                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JANICE LITZKOW                    FEDERAL - MDL                                3:21-CV-19672          ONDERLAW, LLC

JANICE MEZA                       FEDERAL - MDL                                3:21-CV-19735          ONDERLAW, LLC

JANICE STRANGE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18378          ONDERLAW, LLC

JANICKI, CAROLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11815          ARNOLD & ITKIN LLP

JANICKI, CAROLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03892          ONDERLAW, LLC

JANIE EARLS-RODGERS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17684          THE MILLER FIRM, LLC

JANIE FLORES                      FEDERAL - MDL                                3:21-CV-19676          ONDERLAW, LLC

JANIE HAISLIP                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02757          ASHCRAFT & GEREL

JANIE HAISLIP                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02757          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 610 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 612 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JANIGA, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21477          CELLINO & BARNES, P.C.

JANIGA, MAUREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11980          MORELLI LAW FIRM, PLLC

JANKE, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17164          NACHAWATI LAW GROUP

JANKOWIAK, ERIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18801          CELLINO & BARNES, P.C.

JANKOWSKI, DIANE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003117-20        SANDERS PHILLIPS GROSSMAN, LLC

JANN, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11289          ASHCRAFT & GEREL

JANNA HONICUTT                 FEDERAL - MDL                                3:21-CV-18874          MOTLEY RICE, LLC

JANNELLI, LAUREN               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

JANNEY, VICKI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17383          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JANSEN, DENISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08339          ONDERLAW, LLC

JANSKY, WYONIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20637          ONDERLAW, LLC

JANUARY, DOLLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

JANUARY, DOLLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

JANUARY, DOLLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

JANUARY, DOLLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

JANUZZI, NICOLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17170          NACHAWATI LAW GROUP

JANZEN, MELISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15191          MESHBESHER & SPENCE, LTD.

JAQUINTA, MELODY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08451          ONDERLAW, LLC

JARACZ, NORMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17441          JOHNSON LAW GROUP

JARAM, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03190          GORI JULIAN & ASSOCIATES, P.C.

JARAMILLO, CHRISTINA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02412          HOVDE, DASSOW, & DEETS, LLC

JARAMILLO, CHRISTINA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02412          THE MILLER FIRM, LLC

JARAMILLO, JOANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19013          BRANCH LAW FIRM

JARAMILLO, TINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18636          NACHAWATI LAW GROUP

JARBOE, GRACE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:19-CV-09130              MILLER DELLAFERA PLC
                               PA - PHILADELPHIA COUNTY COURT OF COMMON
JARDINE, MARY                                                           200202872                  ROSS FELLER CASEY, LLP
                               PLEAS
JARMUZ, MARIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:19-CV-16059              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JARMUZ, MARIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

JARMUZ, MARIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

JARMUZ, MARIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

JARNIGAN, TREVA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05329          ONDERLAW, LLC

JAROSZCZYK, MALGORZATA         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002667-20        COHEN, PLACITELLA & ROTH

JAROSZCZYK, MALGORZATA         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002667-20        FLETCHER V. TRAMMELL

JARRELL, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00980          JOHNSON LAW GROUP



                                                                          Page 611 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                              Appendix A (Part 1) Page 613 of 702

               Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

JARRELL, TERANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07840          ONDERLAW, LLC

JARRELLS, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09852          WILLIAMS HART LAW FIRM

JARRETT, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08900          WALLACE & GRAHAM

JARRETT, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10672          THE LAW OFFICES OF SEAN M CLEARY

JARRETT, STEPHNEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18577          ONDERLAW, LLC

JARRETT, TANYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01575          BERNSTEIN LIEBHARD LLP

JARRETT-WARDLOW, BESSIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07308          ONDERLAW, LLC

JARVIS, ORLAGH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14892          ONDERLAW, LLC

JARVIS, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16646          CELLINO & BARNES, P.C.

JARVIS, WILMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11430          NACHAWATI LAW GROUP

JASKOWSKI, MELISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00925          THE SEGAL LAW FIRM

JASON, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06575          ONDERLAW, LLC

JASON, KERWIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02739          ROSS FELLER CASEY, LLP

JASPER, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02316          CELLINO & BARNES, P.C.

JASPER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14391          ONDERLAW, LLC

JATHO, LAURIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02643          ONDERLAW, LLC

JATRAS, KATHY AND JATRAS, JAMES   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-02260-18AS       LEVY KONIGSBERG LLP

JAUBERT, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16068          HOVDE, DASSOW, & DEETS, LLC

JAUBERT, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16068          THE MILLER FIRM, LLC

JAUREGUI, CLAUDIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00241          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JAURIGUE, JESSIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

JAVIS, CHARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02387          MORELLI LAW FIRM, PLLC

JAVNER, TERRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16529          THE MILLER FIRM, LLC

JAY, CHRISTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08165          MUELLER LAW PLLC

JAY, CHRISTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08165          VAUGHAN LAW FIRM PC

JAY, DEBORAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09046          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JAYNE DECAMP                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02699          ASHCRAFT & GEREL, LLP

JAYNE DECAMP                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02699          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JAYNES, ANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20212          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JAYNES, RUSSELL                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JAYROE, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08831          ONDERLAW, LLC

JAZBINSEK, VALERIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11924          PARKER WAICHMAN, LLP

JAZMIN MITCHELL                   FEDERAL - MDL                                3:21-CV-19755          ONDERLAW, LLC




                                                                             Page 612 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 614 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

JAZRAWI, ANGEEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07341          WAGSTAFF & CARTMELL, LLP

JEAN DRAEGER                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003278-21        WEITZ & LUXENBERG

JEAN SICKLES                     FEDERAL - MDL                                3:21-CV-16886          MOTLEY RICE, LLC

JEAN, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10448          JOHNSON LAW GROUP

JEAN, DIETZ                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02919          ONDERLAW, LLC

JEAN-BAPTISTE, MARIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11889          NACHAWATI LAW GROUP

JEANNA MIMS                      FEDERAL - MDL                                3:21-CV-19567          THE DIETRICH LAW FIRM, PC

JEANNA MIMS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19567          THE DIETRICH LAW FIRM, PC

JEANNE BROOKS                    FEDERAL - MDL                                3:21-CV-13575          BANNER LEGAL

JEANNE RUTKOWSKI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15386          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JEANNETTE LEDBETTER              DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02748          ASHCRAFT & GEREL, LLP

JEANNETTE LEDBETTER              DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02748          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JEANNIE TRAVIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18423          ONDERLAW, LLC

JEANTET, REBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01974          FLETCHER V. TRAMMELL

JEANTY, MARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16795          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

JECMINEK, GOLDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03726          ONDERLAW, LLC

JEFF VERNON                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JEFFERS, ANTONIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05226          MOTLEY RICE, LLC

JEFFERS, DEBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10404          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JEFFERS, JULIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11906          MORRIS BART & ASSOCIATES

JEFFERS, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08159          LEVIN SIMES LLP

JEFFERSON, ANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02299          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

JEFFERSON, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17618          JOHNSON LAW GROUP

JEFFERSON, DORIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06696          ONDERLAW, LLC

JEFFERSON, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05788          ASHCRAFT & GEREL

JEFFERSON, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05788          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JEFFERSON, JOANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09820          MORRIS BART & ASSOCIATES

JEFFERSON, LUCINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16024          NACHAWATI LAW GROUP

JEFFERSON, NETTIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17192          NACHAWATI LAW GROUP

JEFFERSON, RUBY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07171          ONDERLAW, LLC

JEFFERSON, THELMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03794          CELLINO & BARNES, P.C.

JEFFERY, ALANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00314          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

JEFFERY, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14932          MILLER DELLAFERA PLC

JEFFERY, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19739          ASHCRAFT & GEREL, LLP



                                                                            Page 613 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 615 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JEFFERY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JEFFERY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19739          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JEFFERY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

JEFFERY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

JEFFERY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

JEFFORDS, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08583          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JEFFORDS, JULIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16603          ASHCRAFT & GEREL

JEFFORDS, JULIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16603          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JEFFREY DANIEL                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JEFFREY GANSBERG                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JEFFREY, EMILY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00605          GOLOMB SPIRT GRUNFELD PC

JEFFREY, INGRID                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2847-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JEFFREY, INGRID                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2847-15          PORTER & MALOUF, PA

JEFFREY, INGRID                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2847-15          SEEGER WEISS LLP

JEFFREY, INGRID                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2847-15          THE SMITH LAW FIRM, PLLC

JEFFREYS, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14657          NACHAWATI LAW GROUP

JEFFRIES, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05898          ONDERLAW, LLC

JEFFRIES, LAURIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19360          NACHAWATI LAW GROUP

JEFFRIES, TONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19169          THE SEGAL LAW FIRM

JELICH, JOAN                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JEMISON, GWENDOLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11946          MORELLI LAW FIRM, PLLC

JEMKINS, BRIGETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12798          SAUNDERS & WALKER, P.A.

JEMMOTT, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09036          JOHNSON LAW GROUP

JENA CRUMEDY                      FEDERAL - MDL                                3:21-CV-19661          ONDERLAW, LLC

JENDERSECK, GERALDINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13780          SIMMONS HANLY CONROY

JENGO, NORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08663          ONDERLAW, LLC

JENKINS, ADA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01661          ONDERLAW, LLC

JENKINS, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15901          NACHAWATI LAW GROUP

JENKINS, CANDICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15825          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JENKINS, CATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14401          ASHCRAFT & GEREL

JENKINS, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16898          THE MILLER FIRM, LLC

JENKINS, CONSTANCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00560          ONDERLAW, LLC

JENKINS, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08756          ONDERLAW, LLC

JENKINS, DEBRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 614 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 616 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JENKINS, DEBRA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

JENKINS, DEBRA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

JENKINS, DEBRA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

JENKINS, DEBRA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

JENKINS, DELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08801          ENVIRONMENTAL LITIGATION GROUP, PC

JENKINS, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04463          ONDERLAW, LLC

JENKINS, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06959          WEITZ & LUXENBERG

JENKINS, ERNESTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17251          NACHAWATI LAW GROUP

JENKINS, EULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10668          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JENKINS, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14894          LENZE LAWYERS, PLC

JENKINS, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14894          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JENKINS, JACQUELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09173          ONDERLAW, LLC

JENKINS, JOSEPHINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10314          ASHCRAFT & GEREL

JENKINS, JOSEPHINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10314          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JENKINS, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08340          ONDERLAW, LLC

JENKINS, KAY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04341          ONDERLAW, LLC

JENKINS, KELLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11454          ROSS FELLER CASEY, LLP

JENKINS, LATANYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JENKINS, LATANYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JENKINS, LATANYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JENKINS, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02861          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JENKINS, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17234          NACHAWATI LAW GROUP

JENKINS, MICHELE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07215          BERKE LAW FIRM, PA

JENKINS, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10405          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JENKINS, MONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04613          HEYGOOD, ORR & PEARSON

JENKINS, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03297          SANDERS PHILLIPS GROSSMAN, LLC

JENKINS, RAMONA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14798          ARNOLD & ITKIN LLP

JENKINS, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10410          GORI JULIAN & ASSOCIATES, P.C.

JENKINS, SURENTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07198          THE BENTON LAW FIRM, PLLC

JENKINS, VALERIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09793          THE LAW OFFICES OF SEAN M CLEARY

JENKINS, WILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12667          BURNS CHAREST LLP

JENKINSON, KRISTEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10833          NACHAWATI LAW GROUP

JENKS, FAYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11405          POTTS LAW FIRM

JENKS, LEANN                     CANADA - ONTARIO SUPERIOR COURT OF JUSTICE 179011                   MERCHANT LAW GROUP LLP



                                                                            Page 615 of 1405
                             Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                               Appendix A (Part 1) Page 617 of 702

            Claimant Name                             State Filed                       Docket Number                            Plaintiff Counsel

JENKS, YVONNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00920          THE SEGAL LAW FIRM

JENNERICH, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06207          ONDERLAW, LLC

JENNETTE, CARMEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12051          MOTLEY RICE, LLC

JENNIE MORRIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18241          DRISCOLL FIRM, P.C.

JENNIFER GUARA                      FEDERAL - MDL                                3:21-CV-19071          MOTLEY RICE, LLC

JENNIFER HEITMAN                    FEDERAL - MDL                                3:21-CV-19887          ONDERLAW, LLC

JENNIFER LEONARD                    FEDERAL - MDL                                3:21-CV-15262          PARKER WAICHMAN, LLP

JENNIFER MAGGI                      FEDERAL - MDL                                3:21-CV-16530          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JENNIFER MINNICK                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003283-21        WEITZ & LUXENBERG

JENNIFER MOSLEY                     FEDERAL - MDL                                3:21-CV-19391          WEITZ & LUXENBERG

JENNIFER REELEY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003287-21        WEITZ & LUXENBERG

JENNIFER SORRELS                    FEDERAL - MDL                                3:21-CV-18079          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

JENNINGS, AMY AND JENNINGS, SCOTT   NY - SUPREME COURT - RENSSELEAR COUNTY       2020-267643            KARST & VON OISTE, LLP

JENNINGS, ANTOINETTE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000389-21        COHEN, PLACITELLA & ROTH

JENNINGS, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17678          THE MILLER FIRM, LLC

JENNINGS, DARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14799          LENZE LAWYERS, PLC

JENNINGS, DARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14799          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JENNINGS, EMMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07854          ONDERLAW, LLC

JENNINGS, GERMAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06661          TAUTFEST BOND

JENNINGS, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04364          ONDERLAW, LLC

JENNINGS, JEANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07231          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JENNINGS, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11743          ONDERLAW, LLC

JENNINGS, LENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08949          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JENNINGS, PATREACE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14318          THE MILLER FIRM, LLC

JENNINGS, TREASTIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10191          GOLOMB SPIRT GRUNFELD PC

JENNINGS, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07018          ONDERLAW, LLC

JENNISON, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08608          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JENSEN, AMANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05733          JOHNSON LAW GROUP

JENSEN, AMANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05733          LEVIN SIMES LLP

JENSEN, BONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02380          MORELLI LAW FIRM, PLLC

JENSEN, CHERYL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06231          DRISCOLL FIRM, P.C.

JENSEN, DAGMAR                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09050          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JENSEN, DALENE                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                               Page 616 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 618 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JENSEN, DALENE                    MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC

JENSEN, DALENE                    MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

JENSEN, DALENE                    MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

JENSEN, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09811          ONDERLAW, LLC

JENSEN, HOLLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07243          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JENSEN, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10316          JAMES MORRIS LAW FIRM PC

JENSEN, KAYMARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07915          GOETZ, BALDWIN & GEDDES, P.C.

JENSEN, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00548          JOHNSON BECKER, PLLC

JENSEN, MAIREAD                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

JENSEN, MAIREAD                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

JENSEN, MAIREAD                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

JENSEN, MAIREAD                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

JENSEN, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09886          FLETCHER V. TRAMMELL

JENSON, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12535          THE MILLER FIRM, LLC

JEPSEN, RHODA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18426          ONDERLAW, LLC

JEPSON, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01283          PARKER WAICHMAN, LLP

JERNIGAN, GAIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10265          SANDERS VIENER GROSSMAN, LLP

JEROME, DELORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06928          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JERRICKS, DEBORAH                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC639513               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

JERRY MAKAS SR.                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JERRY WONSEY                      FEDERAL - MDL                                3:21-CV-19059          MOTLEY RICE, LLC

JERRY, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09373          FLETCHER V. TRAMMELL

JESENTA ELSTON                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JESKE, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08729          ONDERLAW, LLC

JESSEE, ANGELITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17021          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JESSICA JOSLIN                    FEDERAL - MDL                                3:21-CV-19692          CORY, WATSON, CROWDER & DEGARIS P.C.

JESSICA KINSTLER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18293          WEITZ & LUXENBERG

JESSUP, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04756          THE MILLER FIRM, LLC

JESTER-CORAZZINI, SHIRLEY         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10953          DALIMONTE RUEB, LLP

JESZENKA, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11620          NAPOLI SHKOLNIK, PLLC

JETER, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10408          NACHAWATI LAW GROUP

JETER, MARCIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11107          ONDERLAW, LLC

JETER, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07480          ONDERLAW, LLC




                                                                             Page 617 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 619 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

JETT, ANNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07156          ONDERLAW, LLC

JETT, CARLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18869          NACHAWATI LAW GROUP

JETTON, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09570          ONDERLAW, LLC

JEWELL, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04426          GOLDENBERGLAW, PLLC

JEWELL, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17233          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JEWELL, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08738          ONDERLAW, LLC

JEWELL, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01720          JOHNSON LAW GROUP

JEWELL, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01961          COHEN & MALAD, LLP

JEWELL, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07656          THE MILLER FIRM, LLC

JEWELL, TRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09145          TORHOERMAN LAW LLC

JIANNALONE-COMING, DELLA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13429          MILLER DELLAFERA PLC

JILEK, CONSTANCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00910          ONDERLAW, LLC

JILES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11448          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JILLSON, ROSE-MARIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09520          ONDERLAW, LLC

JIMENEZ, DEBBIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002747-21        WEITZ & LUXENBERG

JIMENEZ, LILIBET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12383          CELLINO & BARNES, P.C.

JIMENEZ, LOURDES                 FL - CIRCUIT COURT - BROWARD COUNTY          CACE-19-009230         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JIMENEZ, LOURDES                 FL - CIRCUIT COURT - BROWARD COUNTY          CACE-19-009230         KELLEY UUSTAL, PLC

JIMENEZ, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17668          NACHAWATI LAW GROUP

JIMENEZ, MILDRED                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12996          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JIMENEZ, PAULITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11387          NACHAWATI LAW GROUP

JIMENEZ, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12526          PHILLIPS & PAOLICELLI, LLP

JIMINEZ, LETICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11746          WILLIAMS HART LAW FIRM

JIMINEZ, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01582          LAW OFFICE OF TERENCE J. SWEENEY

JIMISON, LADONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17658          NACHAWATI LAW GROUP

JIMMERSON, BEVERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08935          ONDERLAW, LLC

JIMMIE HUFF                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JINRIGHT, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09064          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JIRAUD, TRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09270          ONDERLAW, LLC

JIROUSEK, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17051          JOHNSON LAW GROUP

JITE-OGBUEHI, LUCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JITE-OGBUEHI, LUCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JITE-OGBUEHI, LUCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




                                                                            Page 618 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 620 of 702

               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

JO, NIKI                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02390          CELLINO & BARNES, P.C.

JOACHIM, DONNA ET. AL             MI - CIRCUIT COURT - WAYNE COUNTY            18-014392-NP           KARST & VON OISTE, LLP

JOAN CABRAL                       IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JOAN FELTNER                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02755          ASHCRAFT & GEREL

JOAN FELTNER                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02755          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOAN JELICH                       IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JOAN RUSH                         NJ - STATE                                   ATL-L-003360-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

JOAN WIESELER                     FEDERAL - MDL                                3:21-CV-16463          DAVIS, BETHUNE & JONES, L.L.C.

JOAN, MARRERO-MOORE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12240          THE BENTON LAW FIRM, PLLC

JOANIS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19938          NACHAWATI LAW GROUP

JO-ANN DITTMAR                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18627          WEITZ & LUXENBERG

JOANN, HEMMERLING                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10792          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JOANNE JARAMILLO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19013          BRANCH LAW FIRM

JOANNE KIESEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19039          SALTZ MONGELUZZI & BENDESKY PC

JOBE, JOANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08233          NAPOLI SHKOLNIK, PLLC

JOBE, MEMARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03474          THE DUGAN LAW FIRM, APLC

JOCK, JACQUELINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11186          ONDERLAW, LLC

JOCYLN FRANKLIN                   FEDERAL - MDL                                3:21-CV-19146          MOTLEY RICE, LLC

JODI EVANS                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18503          WEITZ & LUXENBERG

JODI TAYLOR                       FEDERAL - MDL                                3:21-CV-19750          ONDERLAW, LLC

JODON, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15046          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOELL, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06057          ONDERLAW, LLC

JOFFE, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16665          ARNOLD & ITKIN LLP

JOHANN, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14686          CELLINO & BARNES, P.C.

JOHANNSEN, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08701          ONDERLAW, LLC

JOHANSEN, DIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17649          NACHAWATI LAW GROUP

JOHANSEN, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06722          THE SIMON LAW FIRM, PC

JOHANSON, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19516          ARNOLD & ITKIN LLP

JOHANSON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12317          SANDERS VIENER GROSSMAN, LLP
JOHANSON,ROBERTA; SMOLLER,
                                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07427          COHEN, PLACITELLA & ROTH
LORRAINE
JOHANSON,ROBERTA;
                                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07427          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
SMOLLER,LORRAINE
JOHN HEER                         IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JOHN OCONNELLALAN BERKOWITZ       IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JOHN, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10287          ONDERLAW, LLC



                                                                             Page 619 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 621 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JOHN, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18586          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JOHN, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JOHN, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JOHN, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JOHNER, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12752          ONDERLAW, LLC

JOHNNIE MCGILL                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003277-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

JOHNS, DANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18406          ONDERLAW, LLC

JOHNS, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07722          ONDERLAW, LLC

JOHNS, GISELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16394          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

JOHNS, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07379          ONDERLAW, LLC

JOHNS, NANCY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

JOHNS, NANCY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

JOHNS, NANCY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

JOHNS, NANCY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

JOHNS, TAMIKA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNS, TAMIKA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

JOHNS, TAMIKA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

JOHNS, TAMIKA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

JOHNSEN, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01337          TRAMMELL PC

JOHNSEN, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19441          ASHCRAFT & GEREL, LLP

JOHNSEN, SOPHIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04492          ROSS FELLER CASEY, LLP

JOHNSEY, CASSANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17638          NACHAWATI LAW GROUP

JOHNSN, TASHAUNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08613          ONDERLAW, LLC

JOHNSON, ALEJANDRINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16394          NACHAWATI LAW GROUP

JOHNSON, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10039          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, ALICE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002116-20        GOLOMB & HONIK, P.C.

JOHNSON, ALMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17619          MORELLI LAW FIRM, PLLC

JOHNSON, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08409          SANDERS VIENER GROSSMAN, LLP

JOHNSON, AMBER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09238          ONDERLAW, LLC

JOHNSON, AMY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10919           ONDERLAW, LLC

JOHNSON, AMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09337          TRAMMELL PC

JOHNSON, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05759          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, ANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05883          ONDERLAW, LLC




                                                                            Page 620 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 622 of 702

            Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel

JOHNSON, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10995          ONDERLAW, LLC

JOHNSON, ANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03722          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, ANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11421          MORRIS BART & ASSOCIATES

JOHNSON, ANTIONETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10898          ASHCRAFT & GEREL, LLP

JOHNSON, ANTIONETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14720          LENZE LAWYERS, PLC

JOHNSON, ANTIONETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14720          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JOHNSON, ANTOINETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07709          THE BENTON LAW FIRM, PLLC

JOHNSON, APRIL                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

JOHNSON, AQUIRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11135          FLETCHER V. TRAMMELL

JOHNSON, ARLENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

JOHNSON, ARLENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

JOHNSON, ARLENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

JOHNSON, ARLENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

JOHNSON, ARTIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19473          CELLINO & BARNES, P.C.

JOHNSON, ASHLEY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002960-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

JOHNSON, ASHLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17521          ONDERLAW, LLC

JOHNSON, ATTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15959          NACHAWATI LAW GROUP

JOHNSON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04851          BARON & BUDD, P.C.

JOHNSON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01451          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, BARBARA                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00672-18AS       SZAFERMAN LAKIND BLUMSTEIN & BLADER

JOHNSON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17679          THE MILLER FIRM, LLC
JOHNSON, BARBARA AND JOHNSON,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00672-18AS       COHEN, PLACITELLA & ROTH
JOHN
JOHNSON, BEATRICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13784          MORRIS BART & ASSOCIATES

JOHNSON, BEATRICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05054          WAGSTAFF & CARTMELL, LLP

JOHNSON, BERDETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18506          NACHAWATI LAW GROUP

JOHNSON, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10474          ARNOLD & ITKIN LLP

JOHNSON, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20220          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10888          COHEN & MALAD, LLP

JOHNSON, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04159          ONDERLAW, LLC

JOHNSON, BEVERLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18494          NACHAWATI LAW GROUP

JOHNSON, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13811          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05493          WILLIAMS HART LAW FIRM
JOHNSON, BILLIE JEAN & JOHNSON,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03490-19AS       WEITZ & LUXENBERG
JERAMY
JOHNSON, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08876          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 621 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 623 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JOHNSON, BRANDI               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2434-17          GOLOMB SPIRT GRUNFELD PC

JOHNSON, BRANDI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02020          ONDERLAW, LLC

JOHNSON, BRANDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08697          WILLIAMS HART LAW FIRM

JOHNSON, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3;21-CV-06353          ONDERLAW, LLC

JOHNSON, CACHET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02850          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, CANDACE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12976          PANISH, SHEA & BOYLE

JOHNSON, CANDACE              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC645974               PANISH, SHEA & BOYLE

JOHNSON, CARLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13595          DRISCOLL FIRM, P.C.

JOHNSON, CARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09596          NACHAWATI LAW GROUP

JOHNSON, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09747          SLACK & DAVIS LLP

JOHNSON, CAROLINA             CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC694135               BARRETT LAW GROUP

JOHNSON, CAROLINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BARRETT LAW GROUP, P.A.

JOHNSON, CAROLINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

JOHNSON, CAROLINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

JOHNSON, CAROLINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          GOLDENBERG HELLER & ANTOGNOLI, PC

JOHNSON, CAROLINA             CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC694135               KIESEL LAW, LLP

JOHNSON, CAROLINA             CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC694135               PRATT & ASSOCIATES

JOHNSON, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20332          ONDERLAW, LLC

JOHNSON, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11556          THE MILLER FIRM, LLC

JOHNSON, CARRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04969          JOHNSON LAW GROUP

JOHNSON, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16248          GOLDENBERGLAW PLLC

JOHNSON, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08753          HOLLAND LAW FIRM

JOHNSON, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02818          ONDERLAW, LLC

JOHNSON, CATHERINE            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002639-21        WEITZ & LUXENBERG

JOHNSON, CATHY                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

JOHNSON, CATHY                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

JOHNSON, CATHY                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

JOHNSON, CECELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19155          NACHAWATI LAW GROUP

JOHNSON, CHARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02099          ONDERLAW, LLC

JOHNSON, CHARLOTTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16709          NACHAWATI LAW GROUP

JOHNSON, CHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14526          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JOHNSON, CHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08733          COHEN & MALAD, LLP




                                                                         Page 622 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 624 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JOHNSON, CHRISTY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06670          ONDERLAW, LLC

JOHNSON, CINDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01315          SIMMONS HANLY CONROY

JOHNSON, CLANTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06677          ONDERLAW, LLC

JOHNSON, CLARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19477          ASHCRAFT & GEREL, LLP

JOHNSON, CLARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19477          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, CLARICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15744          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JOHNSON, CLEATHER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11261          MORRIS & PLAYER PLLC

JOHNSON, CONNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00920          ONDERLAW, LLC

JOHNSON, CONNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05326          ONDERLAW, LLC

JOHNSON, CONSTANCE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, CONSTANCE            CA - SUPERIOR COURT - CONTRA COSTA COUNTY    C17-02413              ONDERLAW, LLC

JOHNSON, CONSTANCE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929          ONDERLAW, LLC

JOHNSON, CONSTANCE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00799          ONDERLAW, LLC

JOHNSON, CONSTANCE            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11681           ONDERLAW, LLC

JOHNSON, CONSTANCE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929          PORTER & MALOUF, PA

JOHNSON, CONSTANCE            CA - SUPERIOR COURT - CONTRA COSTA COUNTY    C17-02413              SALKOW LAW, APC

JOHNSON, CONSTANCE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929          THE SMITH LAW FIRM, PLLC

JOHNSON, CRISTINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15679          THE MILLER FIRM, LLC

JOHNSON, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16720          ASHCRAFT & GEREL

JOHNSON, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07240          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10705          BLIZZARD & NABERS, LLP

JOHNSON, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19261          ONDERLAW, LLC

JOHNSON, DANITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02181          ONDERLAW, LLC

JOHNSON, DARINELL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12919          DALIMONTE RUEB, LLP

JOHNSON, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13526          ONDERLAW, LLC

JOHNSON, DAWN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01269          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, DEBBIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15030          ONDERLAW, LLC

JOHNSON, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00149          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JOHNSON, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02378          ONDERLAW, LLC

JOHNSON, DEBORAH              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002783-21        WEITZ & LUXENBERG

JOHNSON, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10290          ONDERLAW, LLC




                                                                         Page 623 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                         Appendix A (Part 1) Page 625 of 702

           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

JOHNSON, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06375          ONDERLAW, LLC

JOHNSON, DEENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17231          NACHAWATI LAW GROUP

JOHNSON, DELORIES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01337          JOHNSON LAW GROUP

JOHNSON, DENISE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002291-20        GOLOMB & HONIK, P.C.

JOHNSON, DIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22159          DRISCOLL FIRM, P.C.

JOHNSON, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19885          NACHAWATI LAW GROUP

JOHNSON, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

JOHNSON, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA
                              CA - SUPERIOR COURT - CITY AND COUNTY OF
JOHNSON, DIANE                                                             CGC-17-557035          THE DUGAN LAW FIRM, APLC
                              SAN FRANCISCO
JOHNSON, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

JOHNSON, DOLLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20454          ONDERLAW, LLC

JOHNSON, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12227          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08505          DALIMONTE RUEB, LLP

JOHNSON, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10351          ONDERLAW, LLC

JOHNSON, DORA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08268          DALIMONTE RUEB, LLP

JOHNSON, DORIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09881          FLETCHER V. TRAMMELL

JOHNSON, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10718          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10718          DICKS & COGLIANSE LLP

JOHNSON, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12450          MORELLI LAW FIRM, PLLC

JOHNSON, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17081          NACHAWATI LAW GROUP

JOHNSON, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10754          NACHAWATI LAW GROUP

JOHNSON, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05192          ONDERLAW, LLC

JOHNSON, EARLINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17594          NACHAWATI LAW GROUP

JOHNSON, EDNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20223          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, EDNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02487          ONDERLAW, LLC

JOHNSON, ELAINE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2248-17          GOLOMB SPIRT GRUNFELD PC

JOHNSON, ELAINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10291          ONDERLAW, LLC

JOHNSON, ELIZABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18120          JOHNSON LAW GROUP

JOHNSON, ERNESTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08393          BART DURHAM INJURY LAW

JOHNSON, ERNESTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08393          FRAZER PLC

JOHNSON, ETHEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15749          NACHAWATI LAW GROUP

JOHNSON, EVELYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17391          NACHAWATI LAW GROUP




                                                                         Page 624 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 626 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JOHNSON, EVELYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07759          ONDERLAW, LLC

JOHNSON, FRANCES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17270          JOHNSON LAW GROUP

JOHNSON, FRANCESIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12958          THE MILLER FIRM, LLC

JOHNSON, FRANCINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17812          ONDERLAW, LLC

JOHNSON, GAIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04652          DIAMOND LAW

JOHNSON, GAIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01860          JOHNSON LAW GROUP

JOHNSON, GAYLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11534          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JOHNSON, GEORGIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01924          ONDERLAW, LLC

JOHNSON, GLENICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05199          ONDERLAW, LLC

JOHNSON, GLENNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05884          ASHCRAFT & GEREL

JOHNSON, GLENNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05884          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01467          ASHCRAFT & GEREL

JOHNSON, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14552          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JOHNSON, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01467          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14882          LENZE LAWYERS, PLC

JOHNSON, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09691          ONDERLAW, LLC

JOHNSON, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14882          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JOHNSON, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11511          THE CARLSON LAW FIRM

JOHNSON, GUADALUPE            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-431-18           KEEFE BARTELS

JOHNSON, GUADALUPE            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-431-18           LAW OFFICE OF GRANT D. AMEY, LLC

JOHNSON, GWENDOLYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20232          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, HAZEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15120          ARNOLD & ITKIN LLP

JOHNSON, HEATHER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17572          NACHAWATI LAW GROUP

JOHNSON, HELEN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

JOHNSON, HELEN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, HELEN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

JOHNSON, HELEN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

JOHNSON, HELEN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

JOHNSON, HILMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13436          FLETCHER V. TRAMMELL

JOHNSON, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06754          CARPENTER & SCHUMACHER, PC

JOHNSON, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06657          ONDERLAW, LLC

JOHNSON, ISABELL              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002906-21        WEITZ & LUXENBERG

JOHNSON, JACKLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16641          ASHCRAFT & GEREL




                                                                         Page 625 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                           Appendix A (Part 1) Page 627 of 702

            Claimant Name                         State Filed                      Docket Number                             Plaintiff Counsel

JOHNSON, JACKLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16641          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08348          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01715          DALIMONTE RUEB, LLP

JOHNSON, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04728          THE MILLER FIRM, LLC

JOHNSON, JANET                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003338-21        WEITZ & LUXENBERG

JOHNSON, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05743          ONDERLAW, LLC

JOHNSON, JANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09421          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

JOHNSON, JAYNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06013          ONDERLAW, LLC

JOHNSON, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10776          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

JOHNSON, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01923          ONDERLAW, LLC

JOHNSON, JERENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02855          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, JESSICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08618          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, JOANETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05081          ONDERLAW, LLC

JOHNSON, JOANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17564          NACHAWATI LAW GROUP

JOHNSON, JOANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05802          ONDERLAW, LLC

JOHNSON, JOSEPHINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05645          ONDERLAW, LLC

JOHNSON, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03306          ASHCRAFT & GEREL

JOHNSON, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03306          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18310          DAVIS, BETHUNE & JONES, L.L.C.

JOHNSON, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19806          NACHAWATI LAW GROUP

JOHNSON, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00996          ONDERLAW, LLC

JOHNSON, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10979          ASHCRAFT & GEREL

JOHNSON, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10388          BARNES LAW GROUP, LLC

JOHNSON, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10388          CHEELEY LAW GROUP

JOHNSON, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3;21-CV-17599          JOHNSON LAW GROUP

JOHNSON, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09589          ONDERLAW, LLC

JOHNSON, JUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09821          FLETCHER V. TRAMMELL

JOHNSON, JUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06525          ONDERLAW, LLC

JOHNSON, JULIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002256-20        GOLOMB & HONIK, P.C.

JOHNSON, KANDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07604          ASHCRAFT & GEREL, LLP

JOHNSON, KANDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07604          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, KARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10530          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, KATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10673          ASHCRAFT & GEREL

JOHNSON, KATHLEEN              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                          Page 626 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 628 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JOHNSON, KATHLEEN              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

JOHNSON, KATHLEEN              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

JOHNSON, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01032          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

JOHNSON, KATHLEEN              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

JOHNSON, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07244          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, KEISHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12320          PARKER WAICHMAN, LLP

JOHNSON, KELLIAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04418          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, KELLIAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16780          DRISCOLL FIRM, P.C.

JOHNSON, KELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08682          SANDERS VIENER GROSSMAN, LLP

JOHNSON, KELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06126          THE ENTREKIN LAW FIRM

JOHNSON, KIM                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-36-15            GOLOMB SPIRT GRUNFELD PC

JOHNSON, KRISTI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03002          JOHNSON LAW GROUP

JOHNSON, KRISTIN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02174          MILLER DELLAFERA PLC

JOHNSON, LADONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05557          THE MILLER FIRM, LLC

JOHNSON, LATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11660          NACHAWATI LAW GROUP

JOHNSON, LAUREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08244          ONDERLAW, LLC

JOHNSON, LENNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17557          NACHAWATI LAW GROUP

JOHNSON, LILLIAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13316          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, LILLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07615          DRISCOLL FIRM, P.C.

JOHNSON, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06583          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06105          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09093          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04245          JOHNSON LAW GROUP

JOHNSON, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14453          NAPOLI SHKOLNIK, PLLC

JOHNSON, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06106          ONDERLAW, LLC

JOHNSON, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, LISA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

JOHNSON, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

JOHNSON, LISA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

JOHNSON, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

JOHNSON, LISA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

JOHNSON, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

JOHNSON, LISA MARIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02605          JOHNSON BECKER, PLLC

JOHNSON, LOIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09228          ONDERLAW, LLC



                                                                          Page 627 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                         Appendix A (Part 1) Page 629 of 702

           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

JOHNSON, LOIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01006          ONDERLAW, LLC

JOHNSON, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16258          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JOHNSON, LORNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20282          PARKER WAICHMAN, LLP

JOHNSON, LORRIANE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10081          ONDERLAW, LLC

JOHNSON, LOUISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10760          GORI JULIAN & ASSOCIATES, P.C.

JOHNSON, LOUISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18946          MORRIS BART & ASSOCIATES

JOHNSON, LUANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12185          POTTS LAW FIRM

JOHNSON, LUCILLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20924          ONDERLAW, LLC

JOHNSON, LYDIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18199          MCSWEENEY/LANGEVIN, LLC

JOHNSON, LYDIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05674          REICH & BINSTOCK, LLP

JOHNSON, MAMIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20811          BISNAR AND CHASE

JOHNSON, MANYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18022          ONDERLAW, LLC

JOHNSON, MARCENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13005          THE MILLER FIRM, LLC

JOHNSON, MARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18371          THE MILLER FIRM, LLC

JOHNSON, MARILYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18587          NACHAWATI LAW GROUP

JOHNSON, MARITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14048          FLETCHER V. TRAMMELL

JOHNSON, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07614          DRISCOLL FIRM, P.C.

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12305          ASHCRAFT & GEREL

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16721          ASHCRAFT & GEREL

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12305          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16721          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00296          CELLINO & BARNES, P.C.

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12202          FLETCHER V. TRAMMELL

JOHNSON, MARY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000644-18        GOLOMB SPIRT GRUNFELD PC

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01815          GORI JULIAN & ASSOCIATES, P.C.

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17457          NACHAWATI LAW GROUP

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19526          NACHAWATI LAW GROUP

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09017          ONDERLAW, LLC

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03589          ONDERLAW, LLC

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08625          ONDERLAW, LLC

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09020          ROSS FELLER CASEY, LLP



                                                                         Page 628 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 630 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JOHNSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

JOHNSON, MATILDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01164          ASHCRAFT & GEREL, LLP

JOHNSON, MATILDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01164          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, MATTIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06090          ONDERLAW, LLC

JOHNSON, MAUREEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09055          GOLDENBERGLAW, PLLC

JOHNSON, MAUREEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13078          HABUSH HABUSH & ROTTIER SC

JOHNSON, MAXINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05161          ONDERLAW, LLC

JOHNSON, MELISSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09900          MOTLEY RICE, LLC

JOHNSON, MELODY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00314          THE MILLER FIRM, LLC

JOHNSON, MICHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11320          NACHAWATI LAW GROUP

JOHNSON, MILDRED              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

JOHNSON, MILDRED              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

JOHNSON, MILDRED              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

JOHNSON, MILLICENT            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19715          CELLINO & BARNES, P.C.

JOHNSON, MILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17586          NACHAWATI LAW GROUP

JOHNSON, MONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11432          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JOHNSON, NADINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13725          ONDERLAW, LLC

JOHNSON, NAJARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12257          THE MILLER FIRM, LLC

JOHNSON, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12820          MARLIN & SALTZMAN LLP

JOHNSON, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06607          NAPOLI SHKOLNIK, PLLC

JOHNSON, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17507          WAGSTAFF & CARTMELL, LLP

JOHNSON, NORMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13323          ARNOLD & ITKIN LLP

JOHNSON, OLLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17272          ONDERLAW, LLC

JOHNSON, OTTIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14530          MORRIS BART & ASSOCIATES

JOHNSON, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05995          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, PATEAR               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20635          ONDERLAW, LLC

JOHNSON, PATRICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20619          ONDERLAW, LLC

JOHNSON, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11291          DANIEL & ASSOCIATES, LLC

JOHNSON, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JOHNSON, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JOHNSON, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JOHNSON, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17749          ROSS FELLER CASEY, LLP

JOHNSON, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11291          THE WHITEHEAD LAW FIRM, LLC

JOHNSON, PATSY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04817          ASHCRAFT & GEREL, LLP



                                                                         Page 629 of 1405
                           Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                          Appendix A (Part 1) Page 631 of 702

           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JOHNSON, PEACHES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20153          NACHAWATI LAW GROUP

JOHNSON, PEGGY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02630          GOLDENBERGLAW, PLLC

JOHNSON, PEGGY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16299          THE MILLER FIRM, LLC

JOHNSON, PHASARYA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19918          ARNOLD & ITKIN LLP

JOHNSON, QULANDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09264          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, REATHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09336          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12493          THE SIMON LAW FIRM, PC

JOHNSON, REGINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00795          DALIMONTE RUEB, LLP

JOHNSON, RENAY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17700          HEARD LAW FIRM, PLLC

JOHNSON, RENEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02857          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, RHONDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07775          ASHCRAFT & GEREL

JOHNSON, RHONDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09374          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, RHONDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13082          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, RITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17387          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, ROBIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06642          ARNOLD & ITKIN LLP

JOHNSON, ROBIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10408          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, ROSALIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09681          NACHAWATI LAW GROUP

JOHNSON, ROSALINDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09475          THE MILLER FIRM, LLC

JOHNSON, ROSE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10041          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, ROSELYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07298          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

JOHNSON, ROSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18600          NACHAWATI LAW GROUP

JOHNSON, ROSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11654          NACHAWATI LAW GROUP

JOHNSON, SAMANTHA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           ONDERLAW, LLC

JOHNSON, SAMANTHA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           PORTER & MALOUF, PA

JOHNSON, SAMANTHA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           THE SMITH LAW FIRM, PLLC

JOHNSON, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11449          BARRETT LAW GROUP

JOHNSON, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JOHNSON, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JOHNSON, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JOHNSON, SARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17523          ONDERLAW, LLC

JOHNSON, SARAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08822          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, SHARON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12670          ARNOLD & ITKIN LLP

JOHNSON, SHARON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09813          FLETCHER V. TRAMMELL

JOHNSON, SHARON               CA - SUPERIOR COURT - ALAMEDA COUNTY         RG21087966             KIESEL LAW, LLP



                                                                         Page 630 of 1405
                            Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 632 of 702

           Claimant Name                             State Filed                      Docket Number                              Plaintiff Counsel

JOHNSON, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11875          THE MILLER FIRM, LLC

JOHNSON, SHARON                   CA - SUPERIOR COURT - ALAMEDA COUNTY         RG21087966             TRAMMELL PC

JOHNSON, SHAWN & JOHNSON, HOLLY   CA - SUPERIOR COURT - LOS ANGELES            20STCV17335            WEITZ & LUXENBERG

JOHNSON, SHEILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11443          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JOHNSON, SHEILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07738          ONDERLAW, LLC

JOHNSON, SHEILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08113          ONDERLAW, LLC

JOHNSON, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12566          ASHCRAFT & GEREL, LLP

JOHNSON, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12566          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02537          BURNS CHAREST LLP

JOHNSON, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02537          BURNS CHAREST LLP

JOHNSON, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13278          HILLIARD MARTINEZ GONZALES, LLP

JOHNSON, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05449          THE CARLSON LAW FIRM

JOHNSON, SHERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13752          NAPOLI SHKOLNIK, PLLC

JOHNSON, SHERRY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, SHERRY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

JOHNSON, SHERRY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

JOHNSON, SHERRY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

JOHNSON, SHERRY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

JOHNSON, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08571          ARNOLD & ITKIN LLP

JOHNSON, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JOHNSON, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15525          LENZE LAWYERS, PLC

JOHNSON, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JOHNSON, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15525          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JOHNSON, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JOHNSON, SIMON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09546          BARON & BUDD, P.C.

JOHNSON, SOPHONA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02344          DAVIS, BETHUNE & JONES, L.L.C.

JOHNSON, STACEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17551          NACHAWATI LAW GROUP

JOHNSON, STACI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JOHNSON, STACI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JOHNSON, STACI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JOHNSON, STACIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10750          ONDERLAW, LLC

JOHNSON, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05266          ASHCRAFT & GEREL

JOHNSON, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11314          BARON & BUDD, P.C.




                                                                             Page 631 of 1405
                                Case 23-12825-MBK            Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 633 of 702

            Claimant Name                             State Filed                      Docket Number                            Plaintiff Counsel
JOHNSON, STEPHEN W & JOHNSON,      PA - COURT OF COMMON PLEAS - ALLEGHENY
                                                                                GD-20-006199           GOLDBERG, PERSKY & WHITE, PC
TRACY                              COUNTY
JOHNSON, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19487          NACHAWATI LAW GROUP

JOHNSON, SULANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19924          ARNOLD & ITKIN LLP

JOHNSON, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22077          DRISCOLL FIRM, P.C.

JOHNSON, SUZANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18610          NACHAWATI LAW GROUP

JOHNSON, TAMARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11103          NACHAWATI LAW GROUP

JOHNSON, TANISHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08171          FLETCHER V. TRAMMELL

JOHNSON, TATIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14485          NAPOLI SHKOLNIK, PLLC

JOHNSON, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11450          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JOHNSON, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18723          JOHNSON LAW GROUP

JOHNSON, TERESA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

JOHNSON, TERRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08418          SANDERS VIENER GROSSMAN, LLP

JOHNSON, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17579          NACHAWATI LAW GROUP

JOHNSON, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14683          NACHAWATI LAW GROUP

JOHNSON, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04834          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05916          ONDERLAW, LLC

JOHNSON, TONYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17398          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, TONYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01505          JOHNSON LAW GROUP

JOHNSON, TRINERE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19533          NACHAWATI LAW GROUP

JOHNSON, VALERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04753          ARNOLD & ITKIN LLP

JOHNSON, VERNESSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13500          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JOHNSON, VERNITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16650          ARNOLD & ITKIN LLP

JOHNSON, VICKI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JOHNSON, VICKI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JOHNSON, VICKI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JOHNSON, VICKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10681          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, VICKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17312          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11737          NACHAWATI LAW GROUP

JOHNSON, VIRGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05440          ONDERLAW, LLC

JOHNSON, WAKANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16069          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08841          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

JOHNSON, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04268          HEYGOOD, ORR & PEARSON

JOHNSON, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08126          ONDERLAW, LLC




                                                                              Page 632 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 634 of 702

            Claimant Name                         State Filed                       Docket Number                             Plaintiff Counsel

JOHNSON, WILLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14370          DALIMONTE RUEB, LLP

JOHNSON, WILLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10982          NACHAWATI LAW GROUP

JOHNSON, WILLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06688          ONDERLAW, LLC

JOHNSON, YVONNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07321          JOHNSON LAW GROUP

JOHNSON-COATES, TONDRA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04682          ONDERLAW, LLC

JOHNSON-JACKSON, DONNA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11570          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSON-LORUSSO, CHRISTINE      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07622          ONDERLAW, LLC

JOHNSON-MYERS, KATHLEEN         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-405-18           DARCY JOHNSON DAY, P.C.

JOHNSON-RADFORD, JUDY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09912          ONDERLAW, LLC

JOHNSON-RAY, TRACY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04783          ONDERLAW, LLC

JOHNSON-SUMMERS, JULIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08149          FRAZER LAW LLC

JOHNSON-TYNER, NIKKI            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09312          ONDERLAW, LLC

JOHNSON-WAITES, DAVETTA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05238          BURNS CHAREST LLP

JOHNSON-WHATLEY, JEANNE         GA - STATE COURT OF FULTON COUNTY            20EV003754             BARNES LAW GROUP, LLC

JOHNSON-WHATLEY, JEANNE         GA - STATE COURT OF FULTON COUNTY            20EV003754             CHEELEY LAW GROUP

JOHNSTON, ADRIENNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15371          MORGAN & MORGAN

JOHNSTON, ANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00983          BARON & BUDD, P.C.

JOHNSTON, ANTOINETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06802          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSTON, AUTHOREE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06018          LEVIN SIMES LLP

JOHNSTON, CARRIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10944          ASHCRAFT & GEREL

JOHNSTON, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05299          ONDERLAW, LLC

JOHNSTON, JAMIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07581          JAMIE A. JOHNSTON, P.C.

JOHNSTON, JANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00932          DALIMONTE RUEB, LLP

JOHNSTON, JESSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10200          ROSS FELLER CASEY, LLP

JOHNSTON, KARYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01475          JOHNSON LAW GROUP

JOHNSTON, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02364          LEVIN SIMES LLP

JOHNSTON, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09131          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSTON, MARGUERITA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18021          MUELLER LAW PLLC

JOHNSTON, MIRIAM                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09531          FLETCHER V. TRAMMELL

JOHNSTON, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06880          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSTON, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08009          ONDERLAW, LLC

JOHNSTON, RONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07912          ONDERLAW, LLC

JOHNSTON, RONDA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318626             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JOHNSTON, RUTH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05097          HELMSDALE LAW, LLP



                                                                           Page 633 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 635 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

JOHNSTON, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09122          SIMMONS HANLY CONROY

JOHNSTON, SHERI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17328          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOHNSTONE, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05987          THE MILLER FIRM, LLC

JOHNSTON-HURST, DEBBY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07190          ONDERLAW, LLC

JOINER, LILLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17235          NACHAWATI LAW GROUP

JOINER, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11954          MORELLI LAW FIRM, PLLC

JOINER, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15282          ONDERLAW, LLC

JOINTER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08566          BARRETT LAW GROUP

JOLICOEUR, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18385          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOLLA, GWENDOLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08774          MORRIS BART & ASSOCIATES

JOLLIFFE, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08140          ONDERLAW, LLC

JOLLOTTA, ANTOINETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07852          ONDERLAW, LLC

JOLLY, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14804          JOHNSON LAW GROUP

JONAS, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18531          JOHNSON LAW GROUP

JONAS, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15668          ONDERLAW, LLC

JONAS, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14247          ARNOLD & ITKIN LLP

JONAS, WILHEMINA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002072-21        GOLOMB & HONIK, P.C.

JONES, AGNES                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09691          HENINGER GARRISON DAVIS, LLC

JONES, ALEXIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05829          ASHCRAFT & GEREL

JONES, ALEXIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05829          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07963          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, ALISHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07187          ONDERLAW, LLC

JONES, AMANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04154          ONDERLAW, LLC

JONES, ANDREA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07310          ONDERLAW, LLC

JONES, ANGEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20071          ARNOLD & ITKIN LLP

JONES, ANGELICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02913          CHILDERS, SCHLUETER & SMITH, LLC

JONES, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20253          NACHAWATI LAW GROUP

JONES, ANNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08141          ONDERLAW, LLC

JONES, ANNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10807          ONDERLAW, LLC

JONES, ANTOINETTE                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC699912               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

JONES, APRIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10656          NACHAWATI LAW GROUP

JONES, AQUILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14147          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JONES, ASHLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12175          ARNOLD & ITKIN LLP




                                                                             Page 634 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 636 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JONES, ASHLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15841          THE MILLER FIRM, LLC

JONES, AUDREY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06555          HENINGER GARRISON DAVIS, LLC

JONES, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07828          ASHCRAFT & GEREL

JONES, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19583          CELLINO & BARNES, P.C.

JONES, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07386          ONDERLAW, LLC

JONES, BARBARA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

JONES, BARBARA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

JONES, BARBARA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

JONES, BELINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20298          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, BESSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03976          POTTS LAW FIRM

JONES, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14369          ARNOLD & ITKIN LLP

JONES, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06331          ONDERLAW, LLC

JONES, BETTYE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10428          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, BLUETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05700          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, BOBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01294          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

JONES, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02769          BART DURHAM INJURY LAW

JONES, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18709          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02769          FRAZER PLC
                               LA - DISTRICT COURT - EAST BATON ROUGE
JONES, BRENDA                                                               C-678343D              GALANTE & BIVALACQUA LLC
                               PARISH
JONES, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14755          LENZE LAWYERS, PLC

JONES, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09768          ONDERLAW, LLC
                               LA - DISTRICT COURT - EAST BATON ROUGE
JONES, BRENDA                                                               C-678343D              POURCIAU LAW FIRM, LLC
                               PARISH
JONES, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14755          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                               LA - DISTRICT COURT - EAST BATON ROUGE
JONES, BRENDA                                                               C-678343D              THE CHEEK LAW FIRM
                               PARISH
JONES, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18583          THE SEGAL LAW FIRM

JONES, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11475          THE SIMON LAW FIRM, PC

JONES, BRYNNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01628          ONDERLAW, LLC

JONES, CANDICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03723          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, CARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01539          ONDERLAW, LLC

JONES, CAROLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09670          ONDERLAW, LLC

JONES, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18598          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JONES, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02362          FLETCHER V. TRAMMELL

JONES, CAROLYNNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16286          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                          Page 635 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 637 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JONES, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03118          ONDERLAW, LLC

JONES, CHEREE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15037          ONDERLAW, LLC

JONES, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14616          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12818          THE MILLER FIRM, LLC

JONES, CHRISTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09642          FLETCHER V. TRAMMELL

JONES, CHRISTIELOU               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07887          ONDERLAW, LLC

JONES, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13031          EISENBERG, ROTHWEILER, WINKLER

JONES, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15818          NACHAWATI LAW GROUP

JONES, CLARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04490          ROSS FELLER CASEY, LLP

JONES, CLAUDETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16878          JOHNSON BECKER, PLLC

JONES, CONNIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002292-20        GOLOMB & HONIK, P.C.

JONES, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00596          HOLLAND LAW FIRM

JONES, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09531          ONDERLAW, LLC

JONES, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08672          ARNOLD & ITKIN LLP

JONES, CYNTHIA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, CYNTHIA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

JONES, CYNTHIA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002463-20        GOLOMB & HONIK, P.C.

JONES, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14377          JOHNSON LAW GROUP

JONES, CYNTHIA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

JONES, CYNTHIA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

JONES, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14279          THE DIAZ LAW FIRM, PLLC

JONES, CYNTHIA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

JONES, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08378          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JONES, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17328          NACHAWATI LAW GROUP

JONES, DEANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13485          ONDERLAW, LLC

JONES, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18924          NACHAWATI LAW GROUP

JONES, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08715          WILLIAMS HART LAW FIRM

JONES, DECARLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, DECARLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

JONES, DECARLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

JONES, DECARLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

JONES, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06232          DRISCOLL FIRM, P.C.




                                                                            Page 636 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 638 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

JONES, DEWANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14402          ASHCRAFT & GEREL

JONES, DIANE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002541-20        GOLOMB & HONIK, P.C.

JONES, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07632          ONDERLAW, LLC

JONES, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09571          ONDERLAW, LLC

JONES, DIANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17889          ASHCRAFT & GEREL, LLP

JONES, DIANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17889          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, DOLORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05824          ONDERLAW, LLC

JONES, DONA BROWNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08313          DALIMONTE RUEB, LLP

JONES, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BARRETT LAW GROUP, P.A.

JONES, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

JONES, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

JONES, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          GOLDENBERG HELLER & ANTOGNOLI, PC

JONES, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18897          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

JONES, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20134          STRAUSS TROY CO., LPA

JONES, DORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17329          NACHAWATI LAW GROUP

JONES, DORIS                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-772-14           PORTER & MALOUF, PA

JONES, DORIS                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-772-14           SEEGER WEISS LLP

JONES, DORIS                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-772-14           THE SMITH LAW FIRM, PLLC

JONES, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00118          CELLINO & BARNES, P.C.

JONES, EARNESTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13956          SIMMONS HANLY CONROY

JONES, EILEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11179          WEXLER WALLACE LLP

JONES, ELBA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05367          GORI JULIAN & ASSOCIATES, P.C.

JONES, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08448          DANIEL & ASSOCIATES, LLC

JONES, ELLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04731          FLETCHER V. TRAMMELL

JONES, ELSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07352          CELLINO & BARNES, P.C.

JONES, EMILY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07527          ASHCRAFT & GEREL, LLP

JONES, EMILY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07527          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, EMMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12692          ONDERLAW, LLC

JONES, ERIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17750          ROSS FELLER CASEY, LLP

JONES, FANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, FANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

JONES, FANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

JONES, FANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

JONES, FAY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08638          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



                                                                             Page 637 of 1405
                               Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                               Appendix A (Part 1) Page 639 of 702

               Claimant Name                          State Filed                       Docket Number                              Plaintiff Counsel

JONES, FELICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16317          MORRELL LAW FIRM, PLLC

JONES, FRANCINE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2848-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, FRANCINE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2848-15          PORTER & MALOUF, PA

JONES, FRANCINE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2848-15          SEEGER WEISS LLP

JONES, FRANCINE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2848-15          THE SMITH LAW FIRM, PLLC

JONES, GAY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11440          MORRIS BART & ASSOCIATES

JONES, GERTIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07234          ONDERLAW, LLC

JONES, GINGER                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09204          THE DUGAN LAW FIRM, APLC

JONES, GLADYS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10876          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JONES, GLORIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04540          THE BENTON LAW FIRM, PLLC

JONES, GRETCHEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17525          ONDERLAW, LLC

JONES, GROVERLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12930          MORELLI LAW FIRM, PLLC

JONES, GWENDOLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14885          LENZE LAWYERS, PLC

JONES, GWENDOLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03776          ONDERLAW, LLC

JONES, GWENDOLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14885          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JONES, HARRIETTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10293          ONDERLAW, LLC

JONES, HATTIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11767          NACHAWATI LAW GROUP

JONES, HEATHER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14404          ONDERLAW, LLC

JONES, HOPE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13061          ONDERLAW, LLC

JONES, JACQUELINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19625          NACHAWATI LAW GROUP

JONES, JACQUELINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07984          ONDERLAW, LLC

JONES, JACQUELINE AND JONES, JOHN   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-008349-20        WEITZ & LUXENBERG

JONES, JACQUELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17250          NACHAWATI LAW GROUP

JONES, JANET                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09938          ONDERLAW, LLC

JONES, JEAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19934          NACHAWATI LAW GROUP

JONES, JEANETTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08850          ONDERLAW, LLC

JONES, JENNIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21541          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, JENNIFER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09772          ONDERLAW, LLC

JONES, JOAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09620          ASHCRAFT & GEREL

JONES, JOANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13192          DIAMOND LAW

JONES, JONEE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20009          ONDERLAW, LLC

JONES, JOSEPHINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JONES, JOSEPHINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14943          LENZE LAWYERS, PLC

JONES, JOSEPHINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC



                                                                               Page 638 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 640 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JONES, JOSEPHINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14943          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JONES, JOSEPHINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JONES, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03843          ONDERLAW, LLC

JONES, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02972          THE MILLER FIRM, LLC

JONES, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13258          THE MILLER FIRM, LLC

JONES, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20617          ONDERLAW, LLC

JONES, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01768          GALIHER DEROBERTIS & WAXMAN LLP

JONES, KAREN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2454-17          KEEFE BARTELS

JONES, KAREN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2454-17          LAW OFFICE OF GRANT D. AMEY, LLC

JONES, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17301          NACHAWATI LAW GROUP

JONES, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01768          WATERS & KRAUS, LLP

JONES, KATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10532          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, KATHLEEN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10919           ONDERLAW, LLC

JONES, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, KATHRYN                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318668             KIESEL LAW, LLP

JONES, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394          ONDERLAW, LLC

JONES, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394          PORTER & MALOUF, PA

JONES, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02394          THE SMITH LAW FIRM, PLLC

JONES, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21666          ONDERLAW, LLC

JONES, KAY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15421          THE SEGAL LAW FIRM

JONES, KENIADA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17308          NACHAWATI LAW GROUP

JONES, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05601          ONDERLAW, LLC

JONES, KIRRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10739          THE MILLER FIRM, LLC

JONES, KWANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09697          NACHAWATI LAW GROUP

JONES, KWANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03742          ONDERLAW, LLC

JONES, LABRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09103          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, LAKYDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05003          ONDERLAW, LLC

JONES, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12214          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, LEE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12933          PAUL LLP

JONES, LENA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11755          WILLIAMS HART LAW FIRM

JONES, LESLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JONES, LESLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JONES, LESLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




                                                                             Page 639 of 1405
                                Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                               Appendix A (Part 1) Page 641 of 702

                Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JONES, LILLIE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

JONES, LILLIE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

JONES, LILLIE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

JONES, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09716          ASHCRAFT & GEREL

JONES, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03254          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09716          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10349          ONDERLAW, LLC

JONES, LINDA                       FL - CIRCUIT COURT - MIAMI DADE COUNTY       18-3363CA01            THE FERRARO LAW FIRM, P.A.

JONES, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14949          NACHAWATI LAW GROUP

JONES, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10348          ONDERLAW, LLC

JONES, LORI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01440          ARNOLD & ITKIN LLP

JONES, LULA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07247          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, LULA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08910          NAPOLI SHKOLNIK, PLLC

JONES, MABEL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03508          ONDERLAW, LLC

JONES, MABLE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17130          ARNOLD & ITKIN LLP

JONES, MABLE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09188          MORRIS BART & ASSOCIATES

JONES, MAGGIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09109          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, MARCELLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04972          THE MILLER FIRM, LLC

JONES, MARCIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18727          THE SEGAL LAW FIRM

JONES, MARGARET                    IL - CIRCUIT COURT - COOK COUNTY             2021L003098            ANDRUS WAGSTAFF, P.C.

JONES, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15496          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, MARGARET                    IL - CIRCUIT COURT - COOK COUNTY             2021L003098            HART MCLAUGHLIN & ELDRIDGE

JONES, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08775          ONDERLAW, LLC

JONES, MARGARITE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04793          WILLIAMS HART LAW FIRM

JONES, MARIAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11190          NACHAWATI LAW GROUP

JONES, MARIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08505          ONDERLAW, LLC

JONES, MARIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05632          LEVIN SIMES LLP

JONES, MARTHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08542          GORI JULIAN & ASSOCIATES, P.C.

JONES, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07443          ASHCRAFT & GEREL

JONES, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00013          ASHCRAFT & GEREL

JONES, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11451          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JONES, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06218          BARON & BUDD, P.C.

JONES, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00013          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                              Page 640 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 642 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JONES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08271          DALIMONTE RUEB, LLP

JONES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09462          FLETCHER V. TRAMMELL

JONES, MARY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002257-20        GOLOMB & HONIK, P.C.

JONES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11708          LAW OFFICES OF JAMES SCOTT FARRIN

JONES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01082          NAPOLI SHKOLNIK, PLLC

JONES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17713          ONDERLAW, LLC

JONES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

JONES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

JONES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11811          SANDERS VIENER GROSSMAN, LLP

JONES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

JONES, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02472          ONDERLAW, LLC

JONES, MIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15859          THE SEGAL LAW FIRM

JONES, MICHAELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10861          THE MILLER FIRM, LLC

JONES, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09965          BARON & BUDD, P.C.

JONES, MONA                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681836               ONDERLAW, LLC

JONES, MONA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11315          ONDERLAW, LLC

JONES, MONA                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681836               SALKOW LAW, APC

JONES, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13647          DEGARIS WRIGHT MCCALL

JONES, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06700          ONDERLAW, LLC

JONES, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

JONES, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

JONES, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

JONES, NELLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17398          ONDERLAW, LLC

JONES, NETA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14086          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, NETRA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, NETRA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

JONES, NETRA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

JONES, NETRA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

JONES, NETTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18140          ONDERLAW, LLC

JONES, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10715          ONDERLAW, LLC

JONES, NORA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003264-21        WEITZ & LUXENBERG

JONES, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.



                                                                            Page 641 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 643 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

JONES, NORMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JONES, NORMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JONES, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19027          NACHAWATI LAW GROUP

JONES, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03436          ONDERLAW, LLC

JONES, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05808          BURNS CHAREST LLP

JONES, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05808          BURNS CHAREST LLP

JONES, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00898          NACHAWATI LAW GROUP

JONES, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16715          ONDERLAW, LLC

JONES, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08240          ONDERLAW, LLC

JONES, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14133          WAGSTAFF & CARTMELL, LLP

JONES, PAULINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19381          NACHAWATI LAW GROUP

JONES, PENELOPE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06983          ONDERLAW, LLC

JONES, PHYLLIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12510          NAPOLI SHKOLNIK, PLLC

JONES, RABINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16268          NACHAWATI LAW GROUP

JONES, RACHAEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10069          WATERS & KRAUS, LLP

JONES, RAMONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12721          ONDERLAW, LLC

JONES, RAVEVONDERLYNN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09644          FLETCHER V. TRAMMELL

JONES, REBA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16786          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

JONES, REGINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03325          ARNOLD & ITKIN LLP

JONES, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10541          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11952          MORELLI LAW FIRM, PLLC

JONES, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19099          NACHAWATI LAW GROUP

JONES, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11749          NACHAWATI LAW GROUP

JONES, RHONDALYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17299          NACHAWATI LAW GROUP

JONES, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20390          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, ROBERTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09805          WILLIAMS HART LAW FIRM

JONES, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10589          NACHAWATI LAW GROUP

JONES, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13637          NACHAWATI LAW GROUP

JONES, ROSE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20307          ONDERLAW, LLC

JONES, ROSELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08926          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, ROSEMARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19453          CELLINO & BARNES, P.C.

JONES, RUBY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09065          BARON & BUDD, P.C.

JONES, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17306          NACHAWATI LAW GROUP




                                                                             Page 642 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 644 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JONES, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11005          ONDERLAW, LLC

JONES, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15301          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JONES, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01273          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, SANDRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, SANDRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

JONES, SANDRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

JONES, SANDRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

JONES, SHARION                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, SHARION                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

JONES, SHARION                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

JONES, SHARION                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

JONES, SHARION                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

JONES, SHARLINE                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV328925             THE MILLER FIRM, LLC

JONES, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14399          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13840          JOHNSON LAW GROUP

JONES, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14354          WATERS & KRAUS, LLP

JONES, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02234          ONDERLAW, LLC

JONES, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05092          ONDERLAW, LLC

JONES, SHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03753          DALIMONTE RUEB, LLP

JONES, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20025          ARNOLD & ITKIN LLP

JONES, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19945          NACHAWATI LAW GROUP

JONES, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08120          ONDERLAW, LLC

JONES, SONJA-RENEE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13527          MUELLER LAW PLLC

JONES, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04767          ONDERLAW, LLC

JONES, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07766          PARKER WAICHMAN, LLP

JONES, SUZANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05577          HOLLAND LAW FIRM

JONES, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02370          BURNS CHAREST LLP

JONES, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02370          BURNS CHAREST LLP

JONES, SYLVIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002293-20        GOLOMB & HONIK, P.C.

JONES, TAMARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10798          THE MILLER FIRM, LLC

JONES, TAMIKA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17407          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08939          NACHAWATI LAW GROUP

JONES, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17132          ARNOLD & ITKIN LLP

JONES, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21065          CELLINO & BARNES, P.C.



                                                                            Page 643 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 645 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JONES, TERRASE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16001          THE SEGAL LAW FIRM

JONES, TERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00994          HILLARD MUNOZ GONZALES, LLP

JONES, TERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13518          HILLIARD MARTINEZ GONZALES, LLP

JONES, THELLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09334          ONDERLAW, LLC

JONES, THELMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12422          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

JONES, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07370          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, THERESIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13842          TORHOERMAN LAW LLC

JONES, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05438          JOHNSON LAW GROUP

JONES, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05438          LEVIN SIMES LLP

JONES, TONISHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15815          NACHAWATI LAW GROUP

JONES, TONYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09982          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, TRACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JONES, TRACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JONES, TRACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JONES, TRINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12045          BARRETT LAW GROUP

JONES, TRINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18274          ONDERLAW, LLC

JONES, VALORIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05005          ONDERLAW, LLC

JONES, VANESSA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, VANESSA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

JONES, VANESSA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

JONES, VANESSA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

JONES, VANESSA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

JONES, VENIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12209          ONDERLAW, LLC

JONES, VICKIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01438          ARNOLD & ITKIN LLP

JONES, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11157          BEKMAN, MARDER, & ADKINS, LLC

JONES, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11157          ONDERLAW, LLC

JONES, VIVIAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11739          ONDERLAW, LLC

JONES, VONCILE                    IL - CIRCUIT COURT - COOK COUNTY             2018-L-1790            CLIFFORD LAW OFFICES, P.C.

JONES, VONCILE                    IL - CIRCUIT COURT - COOK COUNTY             2018-L-1790            TAFT STETTINIUS & HOLLISTER LLP

JONES, WANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10316          ASHCRAFT & GEREL

JONES, WANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10316          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, WANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17300          NACHAWATI LAW GROUP

JONES, WANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09340          TRAMMELL PC




                                                                             Page 644 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 646 of 702

               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

JONES, WENDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10435          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONES, WILLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05776          ONDERLAW, LLC

JONES, WILMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11945          FLETCHER V. TRAMMELL

JONES, YVETTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09798          FLETCHER V. TRAMMELL

JONES-BUTLER, BRITTANY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17725          THE MILLER FIRM, LLC

JONES-PURYEAR, MARCEL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10016          ONDERLAW, LLC

JONES-SANDERS, KRISTAL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09251          ONDERLAW, LLC

JONES-WAUGH, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03714          ONDERLAW, LLC

JONES-WILDER, RITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09571          LILLIS LAW FIRM

JONES-WILDER, RITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09571          MARTZELL, BICKFORD & CENTOLA

JONES-WILDER, RITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09571          MICHAEL HINGLE & ASSOCIATES, LLC

JONNA ERBER                       DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02719          ASHCRAFT & GEREL, LLP

JONNA ERBER                       DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JONSEOF, TERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08341          ONDERLAW, LLC

JOOS, GLORIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002542-20        GOLOMB & HONIK, P.C.

JOPEK, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10266          GORI JULIAN & ASSOCIATES, P.C.

JORDAN, BADYRE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00549          JOHNSON BECKER, PLLC

JORDAN, BERENICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19971          NACHAWATI LAW GROUP

JORDAN, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05841          ONDERLAW, LLC

JORDAN, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09692          ONDERLAW, LLC

JORDAN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00551          JOHNSON BECKER, PLLC

JORDAN, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16156          ASHCRAFT & GEREL, LLP

JORDAN, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16156          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JORDAN, CHARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19160          NACHAWATI LAW GROUP

JORDAN, DANAE (A MINOR)           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03507          THE DIAZ LAW FIRM, PLLC

JORDAN, DELORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00922          THE SEGAL LAW FIRM

JORDAN, DORPHINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13369          ONDERLAW, LLC

JORDAN, EUNICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05691          ONDERLAW, LLC

JORDAN, GINGER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09855          ONDERLAW, LLC

JORDAN, JAYLESSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07012          ONDERLAW, LLC

JORDAN, JOELLEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07259          ONDERLAW, LLC

JORDAN, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03913          ONDERLAW, LLC

JORDAN, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09777          ONDERLAW, LLC

JORDAN, KAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09545          BARON & BUDD, P.C.



                                                                             Page 645 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 647 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JORDAN, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06423          NAPOLI SHKOLNIK, PLLC

JORDAN, KIERRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15326          PARKER WAICHMAN, LLP

JORDAN, KRISTIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08419          ONDERLAW, LLC

JORDAN, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13438          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JORDAN, MARY VISHER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09909          JOHNSON LAW GROUP

JORDAN, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17358          ASHCRAFT & GEREL, LLP

JORDAN, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17358          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JORDAN, MURTICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20340          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JORDAN, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07387          ONDERLAW, LLC

JORDAN, RACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13514          ARNOLD & ITKIN LLP

JORDAN, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10550          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JORDAN, RHONDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

JORDAN, RHONDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

JORDAN, RHONDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

JORDAN, SAMANTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12519          ARNOLD & ITKIN LLP

JORDAN, SAMANTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04821          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JORDAN, SANYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14485          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JORDAN, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01149          ONDERLAW, LLC

JORDAN, VALERIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000714-21        GOLOMB & HONIK, P.C.

JORDAN, VENESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JORDAN, VENESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

JORDAN, VENESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

JORDAN, VENESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

JORDAN, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18276          ONDERLAW, LLC

JORDAN-ROBINSON, LAURIE           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2443-18          GOLOMB SPIRT GRUNFELD PC

JORDON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10233          NAPOLI SHKOLNIK, PLLC

JORDON, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21552          JOHNSON LAW GROUP

JORDON, SHERON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11095          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JORDON, VERNESTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17330          NACHAWATI LAW GROUP

JORGE C. PENA JR.                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JORGENSEN, SUE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08661          JOHNSON LAW GROUP

JORGENSON, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14231          DRISCOLL FIRM, P.C.

JOSE, ELIZABETH SAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07161          ARNOLD & ITKIN LLP

JOSE, LOURDES                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10919           ONDERLAW, LLC



                                                                             Page 646 of 1405
                                 Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                                 Appendix A (Part 1) Page 648 of 702

               Claimant Name                            State Filed                       Docket Number                            Plaintiff Counsel

JOSEPH ROTHDEUTSCHM                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JOSEPH, AMY                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04185          ONDERLAW, LLC

JOSEPH, AUDREY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17164          LENZE LAWYERS, PLC

JOSEPH, BRENDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17366          NACHAWATI LAW GROUP

JOSEPH, BRENDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05848          PARKER WAICHMAN LLP

JOSEPH, DALE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04574          DRISCOLL FIRM, P.C.

JOSEPH, DORIS                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12844          JOHNSON LAW GROUP

JOSEPH, MARGARET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11198          ONDERLAW, LLC

JOSEPH, PAMELA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01916          ARNOLD & ITKIN LLP

JOSEPH, PATRICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13536          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOSEPH, REGINA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17332          NACHAWATI LAW GROUP

JOSEPH, SABRINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10612          BURNS CHAREST LLP

JOSEPH, SHAYNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18041          ONDERLAW, LLC

JOSEPH, THERESA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05750          ONDERLAW, LLC

JOSEPH,SCHIFINI EST OF J A SCHIFINI   IL - CIRCUIT COURT - MADISON COUNTY          17-L-1650              MAUNE RAICHLE HARTLEY FRENCH & MUDD

JOSEPHINE MAGDZIAK                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17816          HENINGER GARRISON DAVIS, LLC

JOSEPHINE PARKER                      FEDERAL - MDL                                3:21-CV-19110          BARON & BUDD, P.C.

JOSEPHINE TOCCI-CORNELISON            NJ - STATE                                   ATL-L-003363-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

JOSEPHS, CONSTANCE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002294-21        COHEN, PLACITELLA & ROTH

JOSEPHSON, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20609          ONDERLAW, LLC

JOSEY, GLORIA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03815          MORELLI LAW FIRM, PLLC

JOSEY, JEROLENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08950          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOSHUA, DONNA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15733          NACHAWATI LAW GROUP

JOSHUA, PAULETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JOSHUA, PAULETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JOSHUA, PAULETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JOSHUA, SHANQUITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01833          DRISCOLL FIRM, P.C.

JOSLYN, ROBIN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20045          TRAMMELL PC

JOTBLAD, CHARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12841          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOUET, ROSEMARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16638          THE DUGAN LAW FIRM, APLC

JOUKL, JUDIT                          CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV304902             THE MILLER FIRM, LLC

JOUNAKOS, EVELYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14493          WEXLER WALLACE LLP

JOURNEY, CHERYL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11784          NASS CANCELLIERE BRENNER

JOURNEY, DONNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19056          MOTLEY RICE, LLC



                                                                                 Page 647 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 649 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JOVANOVSKI, CVETKA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11467          NACHAWATI LAW GROUP

JOWANDA PEARSON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18203          ONDERLAW, LLC

JOWERS, DOROTHY GRANT            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01199          COHEN & MALAD, LLP

JOWERS, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00016          ASHCRAFT & GEREL

JOWERS, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00016          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JOWETT, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07674          MORELLI LAW FIRM, PLLC

JOY, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13205          FLETCHER V. TRAMMELL

JOYAL, JOYCE                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JOYCE JOYAL                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JOYCE METZGER                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JOYCE SMITH                      FEDERAL - MDL                                3:21-CV-18953          MOTLEY RICE, LLC

JOYCE WANUALA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003279-21        WEITZ & LUXENBERG

JOYCE, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03448          CLIFFORD LAW OFFICES, P.C.

JOYCE, DELORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15304          JOHNSON LAW GROUP

JOYCE, LONNIE                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JOYCE, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06495          GORI JULIAN & ASSOCIATES, P.C.

JOYCE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05315          ONDERLAW, LLC

JOYNER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17052          ONDERLAW, LLC

JOYNER, BLANCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12105          FRAZER LAW LLC

JOYNER, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10771          THE LAW OFFICES OF SEAN M CLEARY

JOYNER, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07431          HEYGOOD, ORR & PEARSON

JOYNER, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02687          ONDERLAW, LLC

JOYNER-WIGGINS, NIKEISHA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06507          HENINGER GARRISON DAVIS, LLC

JOY-NOWICKI, SUSAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10606          KECHES LAW GROUP, P.C.

JOZEFA SAJDERA                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JOZEFIAK, MICHELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08409          ONDERLAW, LLC

JUANITA                          IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JUANITEZ, TERESITA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JUANITEZ, TERESITA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

JUANITEZ, TERESITA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

JUANITEZ, TERESITA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

JUAREZ, APRIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06229          DRISCOLL FIRM, P.C.

JUAREZ, DANIELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17979          ONDERLAW, LLC




                                                                            Page 648 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 650 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

JUAREZ, HEIDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17372          NACHAWATI LAW GROUP

JUAREZ, MARYELLEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08088          ONDERLAW, LLC

JUAREZ, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15091          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

JUAREZ-DELGADILLO, IVAN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11586          JOHNSON LAW GROUP

JUDD, CATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14396          JOHNSON LAW GROUP

JUDD, JOANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09113          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JUDE, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19534          NACHAWATI LAW GROUP

JUDGE, EMMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10768          NACHAWATI LAW GROUP

JUDGE, SHARELL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09890          NACHAWATI LAW GROUP

JUDITH BUCHOWSKI                 FEDERAL - MDL                                3:21-CV-19091          MOTLEY RICE, LLC

JUDITH DAVIS                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02694          ASHCRAFT & GEREL, LLP

JUDITH DAVIS                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02694          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JUDITH GASPER                    FEDERAL - MDL                                3:21-CV-19886          ONDERLAW, LLC

JUDITH ROSENBERG                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18065          WEITZ & LUXENBERG

JUDITH SLUTZKIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19035          SALTZ MONGELUZZI & BENDESKY PC

JUDITH, COVIL,                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-06392-17AS       LEVY KONIGSBERG LLP

JUDKINS, CARTER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12430          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

JUDSON, JOANNE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2604-17          COHEN, PLACITELLA & ROTH

JUDY DOLLINS                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JUDY LINDSEY                     FEDERAL - MDL                                3:21-CV-16818          MOTLEY RICE, LLC

JUDY, WILMA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002234-20        GOLOMB & HONIK, P.C.

JUELFS, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10317          ASHCRAFT & GEREL

JUELFS, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10317          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JUGE, STEPHANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19492          NACHAWATI LAW GROUP

JUGO, MARGARITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12750          CPC

JUGUILION, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19099          ONDERLAW, LLC

JUHNKE, LEAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03400          THORNTON LAW FIRM LLP

JULIA FRAZIER                    FEDERAL - MDL                                3:21-CV-18787          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

JULIAN, KRISTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19288          NACHAWATI LAW GROUP

JULIAN, MARIFIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06725          NACHAWATI LAW GROUP

JULIAN, SHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10353          ONDERLAW, LLC

JULIE BLAIR                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18584          ONDERLAW, LLC

JULIE KONYS-COLSON               FEDERAL - MDL                                3:21-CV-19055          MOTLEY RICE, LLC

JULIOUS, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10319          ASHCRAFT & GEREL



                                                                            Page 649 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 651 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

JULIOUS, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10319          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JULIUS, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11558          NACHAWATI LAW GROUP

JUMP, JOHNNA                     MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JUMP, JOHNNA                     MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           PORTER & MALOUF, PA

JUMP, JOHNNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12835          THE SIMON LAW FIRM, PC

JUMP, JOHNNA                     MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           THE SMITH LAW FIRM, PLLC

JUMP, MISTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04181          ONDERLAW, LLC

JUMPER, GARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14686          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JUNCEWICZ, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17374          NACHAWATI LAW GROUP

JUNES, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14064          MOTLEY RICE, LLC

JUNG, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12274          WILLIAMS HART LAW FIRM

JUNGWIRTH, JEANNINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03499          ONDERLAW, LLC

JUNIOR, REGINA                   LA - DISTRICT COURT - ORLEANS PARISH         2019-7717              THE CHEEK LAW FIRM

JUNIOR, REGINA                   LA - DISTRICT COURT - ORLEANS PARISH         2019-7717              UNGLESBY LAW FIRM

JURADO, EVANGELINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11026          NACHAWATI LAW GROUP

JUREK, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16956          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

JURRUS, BETSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19572          ONDERLAW, LLC

JURSKI, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3;21-CV-15520          WATERS & KRAUS, LLP

JUSSETT CONNER                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

JUSTICE, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14247          ASHCRAFT & GEREL, LLP

JUSTICE, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14247          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JUSTICE, ANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04729          ONDERLAW, LLC

JUSTICE, KATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11049          THE SEGAL LAW FIRM

JUSTICE, LESLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

JUSTICE, LESLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

JUSTICE, LESLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18034          ONDERLAW, LLC

JUSTICE, LESLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

JUSTICE, LINDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

JUSTICE, LINDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

JUSTICE, LINDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

JUSTICE, LINDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

JUSTICE, LINDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

JUSTICE, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00333          JAMES MORRIS LAW FIRM PC

JUSTICE, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18782          MOTLEY RICE, LLC



                                                                            Page 650 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 652 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

JUSTICE, TANYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15518          JOHNSON LAW GROUP

KAAIKALA, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11098          CELLINO & BARNES, P.C.

KAAUWAI, SHANTELL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09156          HELMSDALE LAW, LLP

KABACK, FRAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05790          ASHCRAFT & GEREL

KABACK, FRAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KACHELHOFFER, AUDREY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06484          MOTLEY RICE, LLC

KACIR, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09677          ONDERLAW, LLC

KACKLEY, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09157          ONDERLAW, LLC

KACZALA, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08449          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KACZMAREK, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07522          SLACK & DAVIS LLP

KACZMAREK, JOSEPHINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20995          CELLINO & BARNES, P.C.

KACZOR, COLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07630          ONDERLAW, LLC

KADER, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21278          CELLINO & BARNES, P.C.

KADERLI, JUANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06498          ONDERLAW, LLC

KADIS-STRAUSS, RUTH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01442          ONDERLAW, LLC

KADLEC, SALLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05391          ONDERLAW, LLC

KAEHLER, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18622          DRISCOLL FIRM, P.C.

KAELIN, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00495          THE BENTON LAW FIRM, PLLC

KAEMPFE, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01233          ONDERLAW, LLC

KAEO, SHADA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08855          ONDERLAW, LLC

KAGEL, INA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18732          WILLIAMS HART LAW FIRM

KAHL, JESSICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12381          SALTZ MONGELUZZI & BENDESKY PC

KAHLER, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18637          NACHAWATI LAW GROUP

KAHLER, TINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07380          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KAHN, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01882          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KAHN, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01882          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KAHN, LIBBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14960          ASHCRAFT & GEREL, LLP

KAHN, LIBBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14960          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KAHN, MARIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16633          ONDERLAW, LLC

KAHN, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14636          ONDERLAW, LLC

KAHRAMAN, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21275          CELLINO & BARNES, P.C.

KAILIHIWA, GWENDOLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17436          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

KAINER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00972          FLETCHER V. TRAMMELL

KAIRIS, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07710          ONDERLAW, LLC



                                                                            Page 651 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                           Appendix A (Part 1) Page 653 of 702

             Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

KAISER, ALLISON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16570          NACHAWATI LAW GROUP

KAISER, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12539          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KAISER, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11515          BARRETT LAW GROUP

KAISER, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15741          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

KAISER, DEBBRA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002907-21        WEITZ & LUXENBERG

KAISER, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10373          SANDERS VIENER GROSSMAN, LLP

KAISER, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01137          TRAMMELL PC

KAISER, SHIRLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19955          NACHAWATI LAW GROUP

KAKOURIS, SHERRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10419          GORI JULIAN & ASSOCIATES, P.C.

KALAMDANI, NUTAN                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002509-21        GOLOMB & HONIK, P.C.

KALANTARI, NOSSRAT              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11343          NACHAWATI LAW GROUP

KALBFELL, BETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07208          FRAZER PLC

KALDROVICS, ELIZABETH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05388          KLINE & SPECTER, P.C.

KALEDA, RAMINTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12440          THE MILLER FIRM, LLC

KALFRAT, CHERI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09568          FLETCHER V. TRAMMELL

KALIB, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09948          ONDERLAW, LLC

KALIS-FRISK, BONNIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16231          SULLO & SULLO, LLP

KALL, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10827          ASHCRAFT & GEREL

KALLEN, GLENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10782          THE MILLER FIRM, LLC

KALLEN, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18603          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KALLINGAL, MATILDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12907          ONDERLAW, LLC

KALLMAN, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08666          ARNOLD & ITKIN LLP

KALMBACH, JONQUELYNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19476          ASHCRAFT & GEREL, LLP

KALMBACH, JONQUELYNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19476          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KALMBACH, NENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11335          NACHAWATI LAW GROUP

KALTENBACH, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14410          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KALVELS, DENNIS                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KALVELS, DENNIS                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KAM, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18280          ONDERLAW, LLC

KAMANY, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19614          NACHAWATI LAW GROUP

KAMBERG, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02180          CAMPBELL & ASSOCIATES

KAMBERG, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02180          FRAZER PLC

KAMENS, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13331          CELLINO & BARNES, P.C.

KAMERIK, VICKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03782          ONDERLAW, LLC



                                                                           Page 652 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 654 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

KAMHOLZ, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04479          THE MILLER FIRM, LLC

KAMIN, LESLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04953          ONDERLAW, LLC

KAMINSKI, DEBORAH                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-155-18           MORELLI LAW FIRM, PLLC

KAMINSKY, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21750          ANAPOL WEISS

KAMINSKY, IVA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09118          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KAML, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16752          ONDERLAW, LLC

KAMLITZ, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09120          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KAMP, MARIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09415          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KAMPA, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08553          DAVIS, BETHUNE & JONES, L.L.C.

KAMPS, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09434          ONDERLAW, LLC

KAMSCH, CLAUDETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08595          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KANDRACH, JULIET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00643          GORI JULIAN & ASSOCIATES, P.C.

KANE, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02358          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KANE, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04788          ONDERLAW, LLC

KANE, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00446          MORGAN & MORGAN

KANE, PAMELA                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     21STCV01985            LENZE LAWYERS, PLC

KANE, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02494          THE RUTH LAW TEAM

KANE, SALLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19731          ARNOLD & ITKIN LLP

KANEFSKY, CAROLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07500          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KANE-HARRISON, MAUREEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14959          ASHCRAFT & GEREL, LLP

KANE-HARRISON, MAUREEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14959          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KANELLOPOULOS, ANNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02264          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

KANER, LINDA                     FL - CIRCUIT COURT - BROWARD COUNTY          CACE200143461          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KANER, LINDA                     FL - CIRCUIT COURT - BROWARD COUNTY          CACE200143461          KELLEY UUSTAL, PLC

KANER, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05828          DALIMONTE RUEB, LLP

KANG, BARINDER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17711          ONDERLAW, LLC

KANGANIS, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17427          NACHAWATI LAW GROUP

KANGAS, CARREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16642          JOHNSON LAW GROUP

KANJI, KHATUN                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC671569               PANISH, SHEA & BOYLE

KANKIEWICZ, GERALDINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19241          NACHAWATI LAW GROUP

KANN, JONELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KANN, JONELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

KANN, JONELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

KANN, JONELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC



                                                                            Page 653 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 655 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

KANNADY, CYNTHIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002213-20        GOLOMB & HONIK, P.C.

KANTIS, SHERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17842          ASHCRAFT & GEREL, LLP

KANTIS, SHERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17842          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KANTOR, IRIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13127          ONDERLAW, LLC

KANUPP, MARGARUETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12306          ASHCRAFT & GEREL

KANUPP, MARGARUETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12306          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KANWISCHER, DELORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19739          ARNOLD & ITKIN LLP

KAONA, JANICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10788          THE MILLER FIRM, LLC

KAOUGH, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08927          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KAPCSOS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11998          NACHAWATI LAW GROUP

KAPELA, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13265          ARNOLD & ITKIN LLP

KAPELI, SALUA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18639          NACHAWATI LAW GROUP

KAPKE, RENEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09162          ONDERLAW, LLC

KAPLAN, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05276          ONDERLAW, LLC

KAPLAN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09929          ONDERLAW, LLC

KAPLAN, MERYL                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV328926             THE MILLER FIRM, LLC

KARABATSOS, MARIANNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09375          ARNOLD & ITKIN LLP

KARAHALIOS, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05723          ONDERLAW, LLC

KARAHALIS, PENELOPE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04994          ROSS LAW OFFICES, P.C.

KARAS, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13844          JOHNSON LAW GROUP

KARASIK, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08071          ONDERLAW, LLC

KARAVAS, AUBREY                   IL - CIRCUIT COURT - MADISON COUNTY          20-L-0550              MAUNE RAICHLE HARTLEY FRENCH & MUDD

KARAWETIAN, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00552          JOHNSON BECKER, PLLC

KARAZIM, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10350          ONDERLAW, LLC

KAREN DONAHUE                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02712          ASHCRAFT & GEREL, LLP

KAREN DONAHUE                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02712          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KAREN GAY                         FEDERAL - MDL                                3:21-CV-19758          ONDERLAW, LLC

KAREN LAWRENCE                    FEDERAL - MDL                                3:21-CV-19678          ONDERLAW, LLC

KAREN LEVY                        FEDERAL - MDL                                3:21-CV-15263          PARKER WAICHMAN, LLP

KAREN ROBERTS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18582          ONDERLAW, LLC

KAREN STURGES                     FEDERAL - MDL                                3:21-CV-18155          BARON & BUDD, P.C.

KAREN VOLLMER                     FEDERAL - MDL                                3:21-CV-19019          NACHAWATI LAW GROUP

KARHOFF, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00936          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                             Page 654 of 1405
                              Case 23-12825-MBK               Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 656 of 702

              Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

KARL, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17528          ONDERLAW, LLC

KARL, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04484          THE MILLER FIRM, LLC

KARLA BURKHALTER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18505          WEITZ & LUXENBERG

KARLEN, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19031          NACHAWATI LAW GROUP

KARLIC, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12559          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

KARLIN, RONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19193          CELLINO & BARNES, P.C.

KARLINSKY, ELSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18889          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KARLOWICZ, MARIA                  NY - SUPREME COURT - NYCAL                   190070/2020            MEIROWITZ & WASSERBERG, LLP
KARLOWICZ, MARIA & EST OF JERZY
                                  NY - SUPREME COURT - NYCAL                   190070/2020            MEIROWITZ & WASSERBERG, LLP
KARLOWICZ
KARLSON, VANESSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15529          GORI JULIAN & ASSOCIATES, P.C.

KARO, JOAN                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KARO, JOAN                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

KARO, JOAN                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

KARPER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13447          WILLIAMS HART LAW FIRM

KARRER, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17958          ONDERLAW, LLC

KARRICK, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02653          GAINSBURGH, BENJAMIN, DAVID

KARRICK, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02653          SUTTON, ALKER & RATHER, LLC

KARSCH, STELLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17384          NACHAWATI LAW GROUP

KARSIKAS, CASSANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10678          NACHAWATI LAW GROUP

KASBERG, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19052          NACHAWATI LAW GROUP

KASEY, NORMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15199          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KASH, NAJWA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

KASH, NAJWA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

KASH, NAJWA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KASINSKAS, ROSEMARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07528          ASHCRAFT & GEREL, LLP

KASINSKAS, ROSEMARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07528          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KASKEL, MARIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14957          ASHCRAFT & GEREL, LLP

KASKEL, MARIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14957          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KASKUS, MARYANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19675          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

KASPAR, LORI                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001495-21        GOLOMB & HONIK, P.C.

KASPRZAK, LINDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

KASPRZAK, LINDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

KASPRZAK, LINDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC




                                                                             Page 655 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 657 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

KASSEM, MAY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-0439-19          PARKER WAICHMAN, LLP

KASSIMALI, MAUREEN               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002117-20        GOLOMB & HONIK, P.C.

KASTANAS, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06937          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KASTNER, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06948          ONDERLAW, LLC

KASTNER, DIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04959          ONDERLAW, LLC

KASTNER, PATRICIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002836-21        GOLOMB & HONIK, P.C.

KASZA, CARMEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01639          JOHNSON LAW GROUP

KASZER, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06364          ONDERLAW, LLC

KASZER, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13782          SIMMONS HANLY CONROY

KASZTL, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16748          NAPOLI SHKOLNIK, PLLC

KASZUBA, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05887          ONDERLAW, LLC

KATALINAS, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21028          NAPOLI SHKOLNIK, PLLC

KATES, KIMBERLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17177          ONDERLAW, LLC

KATH, ELLEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04027          ONDERLAW, LLC

KATH, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01320          SIMMONS HANLY CONROY

KATHAIN, NELLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02930          ONDERLAW, LLC

KATHARINE HAMILTON               FEDERAL - MDL                                3:21-CV-19816          ONDERLAW, LLC

KATHERINE DUGGER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15561          LENZE LAWYERS, PLC

KATHERINE DUGGER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15561          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

KATHERINE GODLEY                 FEDERAL - MDL                                3:21-CV-19535          ONDERLAW, LLC

KATHERINE OXENDINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15565          LENZE LAWYERS, PLC

KATHERINE OXENDINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15565          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

KATHERINE STOVER                 FEDERAL - MDL                                3:21-CV-19173          SULLO & SULLO, LLP

KATHERINE STUTTERS               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KATHERINE YARBROUGH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15568          LENZE LAWYERS, PLC

KATHERINE YARBROUGH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15568          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

KATHERYN HESTER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15571          LENZE LAWYERS, PLC

KATHERYN HESTER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15571          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

KATHLEEN COHRS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18425          JOHNSON LAW GROUP

KATHLEEN DOMINCZAK               FEDERAL - MDL                                3:21-CV-19738          JOHNSON BECKER, PLLC

KATHLEEN HAYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15577          LENZE LAWYERS, PLC

KATHLEEN HAYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15577          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

KATHLEEN HENSELEIT               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC




                                                                            Page 656 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 658 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KATHLEEN NIELSEN                 FEDERAL - MDL                                3:21-CV-19736          ONDERLAW, LLC

KATHLEEN SALAZAR                 FEDERAL - MDL                                3:21-CV-18907          MOTLEY RICE, LLC

KATHRYN FAGAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15586          LENZE LAWYERS, PLC

KATHRYN FAGAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15586          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

KATHRYN JAMES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18803          MOTLEY RICE, LLC

KATHRYN MCCANN                   FEDERAL - MDL                                3:21-CV-19889          ONDERLAW, LLC

KATHRYN ROZUM                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18320          ONDERLAW, LLC

KATHRYN WOJCIK                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KATHY BALSKI                     FEDERAL - MDL                                3:21-CV-19048          MOTLEY RICE, LLC

KATHY BREAUX                     FEDERAL - MDL                                3:21-CV-18005          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

KATHY JAME                       FEDERAL - MDL                                3:21-CV-19506          ONDERLAW, LLC

KATHY RUNYAN                     FEDERAL - MDL                                3:21-CV-16763          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KATIC, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06319          JOHNSON LAW GROUP

KATRINA UNDERDONK                IL - STATE                                   2021 L 009362          COONEY AND CONWAY

KATS, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19039          NACHAWATI LAW GROUP

KATSOURIS, IRENE                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006700-20        WEITZ & LUXENBERG

KATSOV, ALLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10354          ONDERLAW, LLC

KATTMAN, LESLIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

KATTMAN, LESLIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

KATTMAN, LESLIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

KATZ, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05259          THE MILLER FIRM, LLC

KATZ, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20435          CELLINO & BARNES, P.C.

KATZ, ELLEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17389          NACHAWATI LAW GROUP

KATZ, GEORGIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18324          WEXLER WALLACE LLP

KATZ, ISRAELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16612          ONDERLAW, LLC

KATZ, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17368          JOHNSON LAW GROUP

KATZ, PATRICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01071          ASHCRAFT & GEREL, LLP

KATZ, ROBERTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11418          CELLINO & BARNES, P.C.

KAUFER, LOIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07637          ONDERLAW, LLC

KAUFFMAN, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15258          GOLOMB & HONIK, P.C.

KAUFMAN, LEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02960          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

KAUFMAN, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02864          MOTLEY RICE, LLC

KAUFMANN, JONALYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07783          ONDERLAW, LLC

KAUHANE, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09046          JOHNSON LAW GROUP



                                                                            Page 657 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 659 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KAULFUS, SIDNEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06709          ONDERLAW, LLC

KAULLEN, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05506          WILLIAMS HART LAW FIRM

KAUP, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13470          POTTS LAW FIRM

KAUPA, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17361          ONDERLAW, LLC

KAURANEN, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08783          JOHNSON LAW GROUP

KAVANAUGH, SANDRA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1134-15          GOLOMB SPIRT GRUNFELD PC

KAVARANA, IMROZE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14064          THE SEGAL LAW FIRM

KAVIANI, MITRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18611          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KAVOOKJIAN, LEAH                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-27-18            COHEN, PLACITELLA & ROTH

KAWELASKE, SUZANNA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

KAWELASKE, SUZANNA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KAWELASKE, SUZANNA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

KAWELASKE, SUZANNA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

KAWELASKE, SUZANNA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

KAY MARX                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18306          ONDERLAW, LLC

KAY, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06857          ONDERLAW, LLC

KAY, EVELYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08497          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KAY, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11009          NACHAWATI LAW GROUP

KAY, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18221          CELLINO & BARNES, P.C.

KAYAFAS, MADELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20471          THE MILLER FIRM, LLC

KAY-SANDERS, DARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17133          SANDERS PHILLIPS GROSSMAN, LLC

KAYSEY ADAMS                     FEDERAL - MDL                                3:21-CV-19627          JOHNSON BECKER, PLLC

KAZAR, TIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16252          JOHNSON LAW GROUP

KAZEE, MYRTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11983          THE MILLER FIRM, LLC

KAZMAC, MELISSA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        L00239419              SANDERS PHILLIPS GROSSMAN, LLC

KEALA, HASEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08081          FLETCHER V. TRAMMELL

KEALAKAI, KAHEALANI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08132          DRISCOLL FIRM, P.C.

KEANE, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18388          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEANE, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09262          DAVIS, BETHUNE & JONES, L.L.C.

KEANE-BECKMAN, PATRICIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08285          THE MILLER FIRM, LLC

KEANEY, LYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04187          ONDERLAW, LLC

KEARNEY, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19959          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

KEARNEY, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02865          SANGISETTY LAW FIRM, LLC

KEARNS, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13331          DAVIS, BETHUNE & JONES, L.L.C.



                                                                            Page 658 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 660 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KEARNS, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14404          COHEN & MALAD, LLP

KEARNS, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06490          GORI JULIAN & ASSOCIATES, P.C.

KEARNS, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06323          ONDERLAW, LLC

KEARSE, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07433          ARNOLD & ITKIN LLP

KEAST, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02390          JOHNSON LAW GROUP

KEATHLEY, BESSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01185          ONDERLAW, LLC

KEATING, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06424          ONDERLAW, LLC

KEATING, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06476          MCGOWAN, HOOD & FELDER, LLC

KEATING, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14347          JOHNSON LAW GROUP

KEATING, RENEE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEATING, RENEE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

KEATING, RENEE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

KEATING, RENEE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

KEATING, RENEE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

KEATON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07250          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEAWEAMAHI, ALICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08475          MORELLI LAW FIRM, PLLC

KEEFER, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19364          NACHAWATI LAW GROUP

KEEFFE, DESIREE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11730          KLINE & SPECTER, P.C.

KEEFOVER, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09333          SLATER, SLATER, SCHULMAN, LLP

KEEGAN, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15084          THE MILLER FIRM, LLC

KEEGAN, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12759          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEEL, NITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02963          DANIEL & ASSOCIATES, LLC

KEELE, DANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08717          WILLIAMS HART LAW FIRM

KEELER, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12974          DALIMONTE RUEB, LLP

KEEN, DEBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02002          FLETCHER V. TRAMMELL

KEEN, MARI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19891          CELLINO & BARNES, P.C.

KEEN, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04654          POTTS LAW FIRM

KEENA, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01447          ONDERLAW, LLC

KEENAN, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03575          ONDERLAW, LLC

KEENAN, BONNIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000487-21        GOLOMB & HONIK, P.C.

KEENAN, CARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02811          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

KEENAN, CELESTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14771          LENZE LAWYERS, PLC

KEENAN, CELESTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14771          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KEENAN, CHANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09288          JOHNSON LAW GROUP



                                                                           Page 659 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 661 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KEENAN, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07410          ONDERLAW, LLC

KEENAN-MELVIN, ROSEMARY        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03357          ONDERLAW, LLC

KEENE, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05094          ONDERLAW, LLC

KEENE, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17671          TRAMMELL PC

KEENE, ROBERTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07254          BARRETT LAW GROUP

KEENE, ROSEMARIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13612          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEENER, EULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03755          DALIMONTE RUEB, LLP

KEENER, ROSEMARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12345          NAPOLI SHKOLNIK, PLLC

KEENOY, RENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05907          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEESEE, MELISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09126          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEETON, BRANDI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00002          JOHNSON LAW GROUP

KEETON, MILDRED                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06678          ONDERLAW, LLC

KEETON, PATRICIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEETON, PATRICIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

KEETON, PATRICIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

KEETON, PATRICIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

KEETON, PATRICIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

KEETON, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06427          NAPOLI SHKOLNIK, PLLC

KEEVEN, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00553          JOHNSON BECKER, PLLC

KEHOE, TRACEY                  RI - SUPERIOR COURT - PROVIDENCE COUNTY      PC2018-2528            THE DEATON LAW FIRM

KEHRES, KATHRYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07657          MEGARGEL & ESKRIDGE CO., LPA

KEHRES, KATHRYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07657          MURRAY LAW FIRM

KEIFFER, LORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16483          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

KEIHN, SHERYLL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01673          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEIL, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06717          NAPOLI SHKOLNIK, PLLC

KEILY, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09897          ONDERLAW, LLC

KEINON, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16713          ASHCRAFT & GEREL

KEINON, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16713          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEISLER, ANGELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09774          ONDERLAW, LLC

KEISLING, JUANITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17408          ONDERLAW, LLC

KEISTLER, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04294          ONDERLAW, LLC

KEITGES, DIEDRE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06929          ONDERLAW, LLC

KEITH, AMELIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16883          ONDERLAW, LLC

KEITH, CHRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17909          ONDERLAW, LLC



                                                                          Page 660 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 662 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KEITH, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12862          POTTS LAW FIRM

KEITH, RANDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21074          ASHCRAFT & GEREL, LLP

KEITH, RANDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21074          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEITH, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08910          WAGSTAFF & CARTMELL, LLP

KEITH, TERENCE                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KEKAHUMA, WILLEMMA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00580          DIAMOND LAW

KELEHER, CHERYL DAINEE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02561          LEVIN SIMES LLP

KELIIKULI, BERNADINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02296          ONDERLAW, LLC

KELIIPIO, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11210          SANDERS PHILLIPS GROSSMAN, LLC

KELLAM, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13025          DIAMOND LAW

KELLAR, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15287          DRISCOLL FIRM, P.C.

KELLEHER, LAURA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12335          BARRETT LAW GROUP

KELLEHER, SARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13153          BARRETT LAW GROUP

KELLEMS, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14540          FLETCHER V. TRAMMELL

KELLER, BENNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09260          LAW OFF OF WAYNE E. FERRELL, JR, PLLC

KELLER, BENNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09260          MOLL LAW GROUP

KELLER, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16986          ARNOLD & ITKIN LLP

KELLER, CARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05954          KLINE & SPECTER, P.C.

KELLER, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13086          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLER, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12367          ASHCRAFT & GEREL

KELLER, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12367          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLER, KETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08467          SIMMONS HANLY CONROY

KELLER, MELANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16158          SLATER, SLATER, SCHULMAN, LLP

KELLER, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02979          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLER, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01322          SIMMONS HANLY CONROY

KELLER, SHELBY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21777          FLETCHER V. TRAMMELL

KELLEY, ADRIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09368          DALIMONTE RUEB, LLP

KELLEY, ANGELA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002979-21        WEITZ & LUXENBERG

KELLEY, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08274          DALIMONTE RUEB, LLP

KELLEY, BERNADETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12772          ASHCRAFT & GEREL

KELLEY, BRENDA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLEY, BRENDA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

KELLEY, BRENDA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

KELLEY, BRENDA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC



                                                                          Page 661 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 663 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

KELLEY, DELORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16233          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

KELLEY, ELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05737          ROSS LAW OFFICES, P.C.

KELLEY, ESTHER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07532          ONDERLAW, LLC

KELLEY, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06533          ONDERLAW, LLC

KELLEY, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13355          NACHAWATI LAW GROUP

KELLEY, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18024          ONDERLAW, LLC

KELLEY, JENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01013          BURNS CHAREST LLP

KELLEY, KAREN                     IL - CIRCUIT COURT - COOK COUNTY             2019L065076            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLEY, KAREN                     IL - CIRCUIT COURT - COOK COUNTY             2019L065076            ONDERLAW, LLC

KELLEY, KAREN                     IL - CIRCUIT COURT - COOK COUNTY             2019L065076            PORTER & MALOUF, PA

KELLEY, KAREN                     IL - CIRCUIT COURT - COOK COUNTY             2019L065076            THE SMITH LAW FIRM, PLLC

KELLEY, LASHAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19079          NACHAWATI LAW GROUP

KELLEY, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15734          EICHEN CRUTCHLOW ZASLOW & MCELROY, LLP

KELLEY, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15734          PRO SE

KELLEY, LINDA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003320-20        GOLOMB & HONIK, P.C.

KELLEY, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09504          ONDERLAW, LLC

KELLEY, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02302          MOTLEY RICE, LLC

KELLEY, PATSY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05121          FLETCHER V. TRAMMELL

KELLEY, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05179          ONDERLAW, LLC

KELLEY, ROXANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07218          ONDERLAW, LLC

KELLEY, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19265          DRISCOLL FIRM, P.C.

KELLEY, VALERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10352          ONDERLAW, LLC

KELLEY, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03119          ONDERLAW, LLC

KELLEY-THIRY, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00058          ONDERLAW, LLC

KELLICUT, SALLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00796          DALIMONTE RUEB, LLP

KELLOGG, NATALIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002295-20        GOLOMB & HONIK, P.C.

KELLOGG, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01236          NACHAWATI LAW GROUP

KELLUM, LANETOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06722          NAPOLI SHKOLNIK, PLLC

KELLY AKINS                       FEDERAL - MDL                                3:21-CV-19042          MOTLEY RICE, LLC

KELLY CARTER                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KELLY RUTT                        FEDERAL - MDL                                3:21-CV-16988          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLY WILLIAMS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18209          ONDERLAW, LLC

KELLY, ANTOINETTE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002645-21        WEITZ & LUXENBERG

KELLY, ARLENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20316          ONDERLAW, LLC



                                                                             Page 662 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 664 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KELLY, BOBBI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10487          WATERS & KRAUS, LLP

KELLY, BRIANA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

KELLY, BRIANA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

KELLY, BRIANA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

KELLY, BUNNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08921          ONDERLAW, LLC

KELLY, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14763          LENZE LAWYERS, PLC

KELLY, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14763          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KELLY, CATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07407          WILLIAMS HART LAW FIRM

KELLY, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01409          ONDERLAW, LLC

KELLY, CORRINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06012          ONDERLAW, LLC

KELLY, DAWN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12210          ONDERLAW, LLC

KELLY, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13623          NACHAWATI LAW GROUP

KELLY, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

KELLY, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

KELLY, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15191          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KELLY, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KELLY, DIANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05994          FRAZER PLC

KELLY, ELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18788          CELLINO & BARNES, P.C.

KELLY, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15973          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

KELLY, EVELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09134          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLY, GENEVIEVE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17400          NACHAWATI LAW GROUP

KELLY, GERALDINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08494          LEVIN SIMES LLP

KELLY, GLADYS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12983          CELLINO & BARNES, P.C.

KELLY, GRACE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15827          GIRARDI & KEESE

KELLY, GRACIELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15298          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

KELLY, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10686          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLY, KAREN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002235-20        GOLOMB & HONIK, P.C.

KELLY, KATHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07562          ONDERLAW, LLC

KELLY, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLY, KATHLEEN                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000835-18        MORELLI LAW FIRM, PLLC

KELLY, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          ONDERLAW, LLC

KELLY, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          PORTER & MALOUF, PA

KELLY, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          THE SMITH LAW FIRM, PLLC

KELLY, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09302          ONDERLAW, LLC



                                                                          Page 663 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 665 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KELLY, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12231          ONDERLAW, LLC

KELLY, LAURIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15192          KLINE & SPECTER, P.C.

KELLY, LAURIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20584          ONDERLAW, LLC

KELLY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11436          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12552          MCGOWAN, HOOD & FELDER, LLC

KELLY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06104          ONDERLAW, LLC

KELLY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11436          PORTER & MALOUF, PA

KELLY, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06626          ARNOLD & ITKIN LLP

KELLY, MARGARET                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLY, MARGARET                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

KELLY, MARGARET                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002543-20        GOLOMB & HONIK, P.C.

KELLY, MARGARET                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

KELLY, MARGARET                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

KELLY, MARGARET                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

KELLY, MARIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12378          ASHCRAFT & GEREL

KELLY, MARIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12378          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLY, MARIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02606          ONDERLAW, LLC

KELLY, MARLO                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07154          DALIMONTE RUEB, LLP

KELLY, MARY ROSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06591          MOTLEY RICE, LLC

KELLY, MATTIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17403          NACHAWATI LAW GROUP

KELLY, MAY                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001058-21        GOLOMB & HONIK, P.C.

KELLY, MITZI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12103          THE MILLER FIRM, LLC

KELLY, PAMELLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10565          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLY, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13543          ONDERLAW, LLC

KELLY, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11611          BLIZZARD & NABERS, LLP

KELLY, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14880          THE SEGAL LAW FIRM

KELLY, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13297          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLY, SARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16673          CELLINO & BARNES, P.C.

KELLY, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18561          ONDERLAW, LLC

KELLY, SHEILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09766          ONDERLAW, LLC

KELLY, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01190          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLY, SUSAN                      CA - SUPERIOR COURT - FRESNO COUNTY          16CECG03244            BOUCHER LLP

KELLY, SUSAN                      CA - SUPERIOR COURT - FRESNO COUNTY          16CECG03244            KIESEL LAW, LLP

KELLY, TAYLOR                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15390          ONDERLAW, LLC



                                                                             Page 664 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 666 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

KELLY, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09708          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELLY, THELMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09456          ONDERLAW, LLC

KELLY, TRACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06083          ONDERLAW, LLC

KELLY, TRINITY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002214-20        GOLOMB & HONIK, P.C.

KELLY, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19150          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

KELSEY, DANIELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20762          ONDERLAW, LLC

KELSEY, DELORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12236          ONDERLAW, LLC

KELSEY, JERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05792          ASHCRAFT & GEREL

KELSEY, JERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KELSO, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15118          ARNOLD & ITKIN LLP

KEMIREMBE, TEDDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08692          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KEMP, ANGELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03626          CORY, WATSON, CROWDER & DEGARIS P.C.

KEMP, JEAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10356          ONDERLAW, LLC

KEMP, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14523          FLETCHER V. TRAMMELL

KEMP, MAXINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16434          ARNOLD & ITKIN LLP

KEMP, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06521          ONDERLAW, LLC

KEMP, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13717          ASHCRAFT & GEREL, LLP

KEMP, ROSALYNDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10214          ARNOLD & ITKIN LLP

KEMP, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11470          THE MILLER FIRM, LLC

KEMPER, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05903          ONDERLAW, LLC

KEMPF, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05408          JOHNSON LAW GROUP

KEMPF, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04217          ONDERLAW, LLC

KEMPF, TRACIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04140          ONDERLAW, LLC

KENDALL, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09721          ASHCRAFT & GEREL

KENDRA WILLIAMS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15621          LENZE LAWYERS, PLC

KENDRA WILLIAMS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15621          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

KENDRICK, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10391          BARNES LAW GROUP, LLC

KENDRICK, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10391          CHEELEY LAW GROUP

KENDRICK, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07339          DALIMONTE RUEB, LLP

KENDRICK, LJILJANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03495          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

KENDRICK, PAULINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04973          RAHDERT & MORTIMER, PLLC

KENDRICK, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14446          ASHCRAFT & GEREL

KENDRICK, WILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17251          ASHCRAFT & GEREL, LLP

KENDRICK, WILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17251          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 665 of 1405
                           Case 23-12825-MBK                  Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                              Appendix A (Part 1) Page 667 of 702

           Claimant Name                             State Filed                       Docket Number                            Plaintiff Counsel
KENDRICK,WENDY &
                                   FL - CIRCUIT COURT - BROWARD COUNTY          130967228              FLINT LAW FIRM LLC
KENDRICK,CHARKELLA
KENDRIX, YOLANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10521          GORI JULIAN & ASSOCIATES, P.C.

KENEFICK, JEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16955          ASHCRAFT & GEREL

KENEFICK, JEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16955          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KENEIPP, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04753          FLETCHER V. TRAMMELL

KENERLY-DARBY, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05708          ONDERLAW, LLC

KENNAMER, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03498          ONDERLAW, LLC

KENNEDY, ANDREA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00239          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KENNEDY, BETHANY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02480          BURNS CHAREST LLP

KENNEDY, BETHANY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02480          BURNS CHAREST LLP

KENNEDY, BILLY                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KENNEDY, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10672          NACHAWATI LAW GROUP

KENNEDY, CHRISTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17405          NACHAWATI LAW GROUP

KENNEDY, CRYSTAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19976          NACHAWATI LAW GROUP

KENNEDY, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00649          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

KENNEDY, EDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06294          ONDERLAW, LLC

KENNEDY, JAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09602          TORHOERMAN LAW LLC

KENNEDY, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11045          JOHNSON BECKER, PLLC

KENNEDY, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13851          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KENNEDY, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09561          ONDERLAW, LLC

KENNEDY, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04202          ONDERLAW, LLC

KENNEDY, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09406          ONDERLAW, LLC

KENNEDY, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16201          ARNOLD & ITKIN LLP

KENNEDY, LOLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07157          ONDERLAW, LLC

KENNEDY, LORINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12947          ONDERLAW, LLC

KENNEDY, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17408          NACHAWATI LAW GROUP
KENNEDY, NANCY & KENNEDY, ROBERT
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01660-20AS       WEITZ & LUXENBERG
W
KENNEDY, NAOMI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00030          GLENN LOEWENTHAL, PC

KENNEDY, NAOMI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00030          HEYGOOD, ORR & PEARSON

KENNEDY, NATASHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15250          JOHNSON LAW GROUP

KENNEDY, PAULINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13812          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KENNEDY, SHANNON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00320          ONDERLAW, LLC

KENNEDY, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04871          POTTS LAW FIRM




                                                                              Page 666 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 668 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KENNEDY, SONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06560          THE ENTREKIN LAW FIRM

KENNEDY, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12642          THE SIMON LAW FIRM, PC

KENNEDY, TANYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05185          ONDERLAW, LLC

KENNEDY, TIFFANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08125          ONDERLAW, LLC

KENNEMER, PATSY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21269          MORELLI LAW FIRM, PLLC

KENNETT, AMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08925          ONDERLAW, LLC

KENNEY, BERTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05112          ONDERLAW, LLC

KENNEY, MARLENE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-0682-18          COHEN, PLACITELLA & ROTH

KENNEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17540          ONDERLAW, LLC

KENNEY-CHAPMAN, RENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03029          WEXLER WALLACE LLP

KENNISON, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17414          NACHAWATI LAW GROUP

KENNON, DORSHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17317          ASHCRAFT & GEREL, LLP

KENNON, DORSHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17317          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KENNON, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13362          FLETCHER V. TRAMMELL

KENNY, CHRISTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00888          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KENNY, DEBORAH                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002701-21        THE SEGAL LAW FIRM

KENNY, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15978          NACHAWATI LAW GROUP

KENNY, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18314          ONDERLAW, LLC

KENOSHA, TRINIDAD                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05168          ONDERLAW, LLC

KENSEY, SONJA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07753          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KENT, ANNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08104          THE CUFFIE LAW FIRM

KENT, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01389          ONDERLAW, LLC

KENT, DIANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01547          HEDRICK LAW FIRM

KENT, KARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02376          HEYGOOD, ORR & PEARSON

KENT, LORI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20727          CELLINO & BARNES, P.C.

KENT, MINGYON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04222          ONDERLAW, LLC

KENT, MONICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KENT, MONICA                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318672             KIESEL LAW, LLP

KENT, MONICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          ONDERLAW, LLC

KENT, MONICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          PORTER & MALOUF, PA

KENT, MONICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          THE SMITH LAW FIRM, PLLC

KENT, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09055          ONDERLAW, LLC

KENT, WILLIAMS                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       2122-CC09485           NACHAWATI LAW GROUP




                                                                            Page 667 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 669 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KENT, WILLIAMS                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       2122-CC09485           THE GORI LAW FIRM, P.C.

KENYON, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10855          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEOGLER, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17813          ONDERLAW, LLC

KEOWN, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05626          JOHNSON LAW GROUP

KEPHART, LORETTA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

KEPHART, LORETTA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

KEPHART, LORETTA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

KEPOO-COLE, HELENI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19136          NACHAWATI LAW GROUP

KERBE, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06729          NAPOLI SHKOLNIK, PLLC

KERBY, HOPE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12289          BURNS CHAREST LLP

KERCHINER, CATHY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KERCHINER, CATHY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

KERCHINER, CATHY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

KERCHINER, CATHY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

KERIK, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03231          NAPOLI SHKOLNIK, PLLC

KERINS, BERNADETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06154          KLINE & SPECTER, P.C.

KERKESLAGER, CATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00557          JOHNSON BECKER, PLLC

KERN, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KERN, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

KERN, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

KERN, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

KERN, DEIDRE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02635          PARKER WAICHMAN, LLP

KERN, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00962          ONDERLAW, LLC

KERN, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00175          ASHCRAFT & GEREL

KERN, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00175          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KERNAN, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03465          THE DUGAN LAW FIRM, APLC

KERNELL, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19537          NACHAWATI LAW GROUP

KERNER, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04718          THE MILLER FIRM, LLC

KERNS, GRACE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08931          ONDERLAW, LLC

KERNS, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10881          JOHNSON LAW GROUP

KERNS, MADGE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07254          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KERNS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17962          ONDERLAW, LLC

KERP, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




                                                                            Page 668 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                               Desc
                                                             Appendix A (Part 1) Page 670 of 702

              Claimant Name                         State Filed                      Docket Number                                Plaintiff Counsel

KERP, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719            ONDERLAW, LLC

KERP, SUSAN                      CA - SUPERIOR COURT - ORANGE COUNTY          30-2017-00953308-CU-PL-CXC ONDERLAW, LLC

KERP, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719            PORTER & MALOUF, PA

KERP, SUSAN                      CA - SUPERIOR COURT - ORANGE COUNTY          30-2017-00953308-CU-PL-CXC SALKOW LAW, APC

KERP, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719            THE SMITH LAW FIRM, PLLC

KERPASH, BILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12956            ONDERLAW, LLC

KERR, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18524            NACHAWATI LAW GROUP

KERR, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16085            JASON J. JOY & ASSCIATES P.L.L.C.

KERR, CATHLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12374            ONDERLAW, LLC

KERR, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08749            ROSS FELLER CASEY, LLP

KERR, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07290            ONDERLAW, LLC

KERR, NANETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14338            MCSWEENEY/LANGEVIN, LLC

KERRIGAN, KAREN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000151-21          GOLOMB & HONIK, P.C.

KERRIGAN, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165             ONDERLAW, LLC

KERRIGAN, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165             PORTER & MALOUF, PA

KERRIGAN, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165             THE SMITH LAW FIRM, PLLC

KERSHAW, DEDE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14823            LENZE LAWYERS, PLC

KERSHAW, DEDE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14823            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KERSHNER, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01884            JOHNSON LAW GROUP

KERTAI, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16885            ONDERLAW, LLC

KERTH, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11720            NACHAWATI LAW GROUP

KERWIN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05736            ONDERLAW, LLC

KERZEL, ARDUE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09645            FLETCHER V. TRAMMELL

KESHA SMITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18298            WEITZ & LUXENBERG

KESHIA KERN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003286-21          WEITZ & LUXENBERG

KESHIAN, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02863            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KESIA TOWNSEND                   FEDERAL - MDL                                3:21-CV-19166            MOTLEY RICE, LLC

KESLER, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18446            ONDERLAW, LLC

KESLER, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14393            COHEN & MALAD, LLP

KESSEL, CHARLOTTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16695            JOHNSON BECKER, PLLC

KESSENICH, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02135            ONDERLAW, LLC

KESSLER, CANDICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12620            ONDERLAW, LLC

KESSLER, JODY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05900            ONDERLAW, LLC




                                                                            Page 669 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                 Desc
                                                             Appendix A (Part 1) Page 671 of 702

               Claimant Name                        State Filed                          Docket Number                              Plaintiff Counsel

KESSLER, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20195             NACHAWATI LAW GROUP

KESSLER, LYNNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10392             BARNES LAW GROUP, LLC

KESSLER, LYNNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10392             CHEELEY LAW GROUP

KESTERSON, JAMIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01933             JOHNSON LAW GROUP

KETCHUM, SHARI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07859             WILLIAMS HART LAW FIRM

KETTERMAN, JESSICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17814             ONDERLAW, LLC

KEVIN KLINE                       IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291                 NAPOLI SHKOLNIK, PLLC

KEY, AGNES                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17268             TORHOERMAN LAW LLC

KEY, CECILIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11958             MORELLI LAW FIRM, PLLC

KEY, ELSA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09140             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEY, ESTHER                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14867             LENZE LAWYERS, PLC

KEY, ESTHER                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14867             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KEY, JANET                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09671             ASHCRAFT & GEREL

KEY, JANET                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09671             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEY, JEAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20125             NACHAWATI LAW GROUP

KEY, JESSICA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15308             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KEY, SANDRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08905             ARNOLD & ITKIN LLP

KEY, SHACOYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11958             NACHAWATI LAW GROUP

KEY, SHAKEITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05086             ONDERLAW, LLC

KEY, SHERRY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03878             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEYLON, FREDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07663             ONDERLAW, LLC

KEYS, BOBBIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02827             HOLLAND LAW FIRM

KEYS, DEBRA                       CA - SUPERIOR COURT - PLACER COUNTY          T18-146                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KEYS, DEBRA                       CA - SUPERIOR COURT - PLACER COUNTY          T18-146                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KEYS, DEBRA                       CA - SUPERIOR COURT - PLACER COUNTY          T18-146                   THE SMITH LAW FIRM, PLLC

KEYS, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08366             THE MILLER FIRM, LLC

KEYS-CHAVIS, EDNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07370             BARRETT LAW GROUP

KEYSER, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03397             ONDERLAW, LLC

KEZER, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10993             BURNS CHAREST LLP

KEZER, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10993             BURNS CHAREST LLP

KHALID MONROE                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291                 NAPOLI SHKOLNIK, PLLC

KHALID, SHAISTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00085             CELLINO & BARNES, P.C.

KHALIQ, DEBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08952             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KHAN, AMY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00928             CELLINO & BARNES, P.C.



                                                                             Page 670 of 1405
                                Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                              Appendix A (Part 1) Page 672 of 702

               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

KHAN, BLONDELL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04963          ONDERLAW, LLC

KHAN, FAHIMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10078          ARNOLD & ITKIN LLP

KHAN, JOLYNN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13621          SANDERS PHILLIPS GROSSMAN, LLC

KHAN, NAOMI ; SANTILLAN; LYNDA     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18537          BRUSTER PLLC

KHAN, NAOMI ; SANTILLAN; LYNDA     OR - USDC FOR THE DISTRICT OF OREGON         2:21-CV-01054          BRUSTER PLLC

KHAN, NAOMI ; SANTILLAN; LYNDA     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18537          NACHAWATI LAW GROUP

KHAN, NAOMI ; SANTILLAN; LYNDA     OR - USDC FOR THE DISTRICT OF OREGON         2:21-CV-01054          NACHAWATI LAW GROUP

KHAN, NAOMI ; SANTILLAN; LYNDA     OR - USDC FOR THE DISTRICT OF OREGON         2:21-CV-01054          THE GATTI LAW FIRM

KHAN, NAOMI ; SANTILLAN; LYNDA     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18537          THE GATTI LAW FIRM

KHAN, NASREEN ASHRAF               NY - SUPREME COURT - NYCAL                   190165/2018            MEIROWITZ & WASSERBERG, LLP
KHAN, NASREEN ASHRAF & EST OF
                                   NY - SUPREME COURT - NYCAL                   190165/2018            MEIROWITZ & WASSERBERG, LLP
MOHAMMAD KHAN
KHAN, SHAIRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21048          CELLINO & BARNES, P.C.

KHATCHIKIAN-ZOPKO, JANET           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05289          ONDERLAW, LLC

KHAZZAKA, ALICE                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318673             KIESEL LAW, LLP

KHAZZAKA, ALISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KHAZZAKA, ALISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          ONDERLAW, LLC

KHAZZAKA, ALISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          PORTER & MALOUF, PA

KHAZZAKA, ALISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          THE SMITH LAW FIRM, PLLC

KHLEB, IRINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12932          THE DIETRICH LAW FIRM, PC

KHODOS, MIRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00418          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

KHOMA, OKSANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04496          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KHONG, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05909          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                   CA - SUPERIOR COURT - CITY AND COUNTY OF
KHORRAMI, MAHNAZ                                                                RIC1706664             GIBBS LAW GROUP LLP
                                   RIVERSIDE, PALM SPRINGS
KHOSRAVI, SHANNON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12128          FLETCHER V. TRAMMELL

KHOURY, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10701          MORGAN & MORGAN

KHURI, LILLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15149          ONDERLAW, LLC

KIBBEY, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17543          ONDERLAW, LLC

KIBBLE, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11854          GORI JULIAN & ASSOCIATES, P.C.

KIBORT, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01964          DALIMONTE RUEB, LLP

KICKLIGHTER, HEATHER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10517          LAW OFF OF PETER G. ANGELOS, P.C.

KIDD, ASHLEY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16271          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KIDD, CHARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12595          ONDERLAW, LLC

KIDD, CLARINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11567          NACHAWATI LAW GROUP

KIDD, KELLY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02263          JOHNSON BECKER, PLLC



                                                                              Page 671 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                 Desc
                                                              Appendix A (Part 1) Page 673 of 702

               Claimant Name                         State Filed                      Docket Number                                  Plaintiff Counsel

KIDD, SHEILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12454             ONDERLAW, LLC

KIDD, VICKIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04685             ONDERLAW, LLC

KIDWELL, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15214             JOHNSON LAW GROUP

KIEHN, LAURIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17433             NACHAWATI LAW GROUP

KIEKBUSCH, MARION                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20608             ONDERLAW, LLC

KIELBASA, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11942             MORELLI LAW FIRM, PLLC

KIELCZWESKI, KIM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454             DONALD L. SCHLAPPRIZZI P.C.

KIELCZWESKI, KIM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454             LENZE LAWYERS, PLC

KIELCZWESKI, KIM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KIELISZEK, CLARA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIELISZEK, CLARA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443              GOLDENBERGLAW, PLLC

KIELISZEK, CLARA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443              ONDERLAW, LLC

KIELISZEK, CLARA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443              PORTER & MALOUF, PA

KIELISZEK, CLARA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443              THE SMITH LAW FIRM, PLLC

KIENTZ, JONNIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03568             ONDERLAW, LLC

KIERNAN, ANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01276             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIERNAN, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03967             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIESEL, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19039             SALTZ MONGELUZZI & BENDESKY PC

KIESLING, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11690             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KIESZ, SUZANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14405             ONDERLAW, LLC

KIETUR, JESSICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01283             SIMMONS HANLY CONROY

KIGHT, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12179             ARNOLD & ITKIN LLP

KIHN, DIANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02188             JOHNSON BECKER, PLLC

KIJAK, LISA                       CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-00995844-CU-PL-CXC BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIJAK, LISA                       CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-00995844-CU-PL-CXC ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KIJAK, LISA                       CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-00995844-CU-PL-CXC THE SMITH LAW FIRM, PLLC

KIKER, FLORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10665             GOLOMB SPIRT GRUNFELD PC

KIKER, GLORIA CRISCO              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06453             CAMPBELL & ASSOCIATES

KIKER, GLORIA CRISCO              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06453             FRAZER PLC

KIKUGAWA, WENDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11587             THE MILLER FIRM, LLC

KILBANE, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09051             ONDERLAW, LLC

KILBOURNE, APRIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09878             WILLIAMS HART LAW FIRM




                                                                             Page 672 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 674 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

KILBURN, CHARLETT                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05082          ONDERLAW, LLC

KILBURN, JENNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08511          ONDERLAW, LLC

KILEY, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12364          ASHCRAFT & GEREL

KILEY, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12364          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KILGO, SELENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08481          ONDERLAW, LLC

KILGORE, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03417          TRAMMELL PC

KILGORE, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02866          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KILGORE, LETITIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02410          HOVDE, DASSOW, & DEETS, LLC

KILGORE, LETITIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02410          THE MILLER FIRM, LLC

KILGORE, SANDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14314          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KILLENBEC, ANGEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10707          ASHCRAFT & GEREL

KILLENBEC, ANGEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10707          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KILMARTIN, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21767          HOLLAND LAW FIRM

KILPATRICK, AMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01134          GORI JULIAN & ASSOCIATES, P.C.

KILPATRICK, CHASITY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11193          NACHAWATI LAW GROUP

KILPATRICK, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17502          NACHAWATI LAW GROUP

KILTY, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20221          NACHAWATI LAW GROUP

KILTY, KELLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09814          ONDERLAW, LLC

KIM DIEHL                        IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KIM O'BRIEN                      FEDERAL - MDL                                3:21-CV-19771          ONDERLAW, LLC

KIM, JI HYUNG                    NY - SUPREME COURT - NYCAL                   190238/2016            MEIROWITZ & WASSERBERG, LLP

KIM, JI HYUNG                    NY - SUPREME COURT - NYCAL                   190238/2016            MEIROWITZ & WASSERBERG, LLP

KIM, JUNGHYUN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002073-20        GOLOMB & HONIK, P.C.

KIM, KWAN                        NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-000030-21        WEITZ & LUXENBERG

KIM, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17467          NACHAWATI LAW GROUP

KIM, YUN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10443          GORI JULIAN & ASSOCIATES, P.C.

KIMBALL, DEBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16001          ARNOLD & ITKIN LLP

KIMBARL, JUANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09552          BURNS CHAREST LLP

KIMBERLEY STARR                  FEDERAL - MDL                                3:21-CV-19482          SULLO & SULLO, LLP

KIMBERLEY, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06932          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIMBERLY BOWLING                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18491          ONDERLAW, LLC

KIMBERLY ELSIFOR                 DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02718          ASHCRAFT & GEREL, LLP




                                                                            Page 673 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 675 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

KIMBERLY ELSIFOR                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02718          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIMBERLY GARLICK                  FEDERAL - MDL                                3:21-CV-19717          JOHNSON BECKER, PLLC

KIMBERLY MATHEWS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18536          ONDERLAW, LLC

KIMBERLY NIPPER                   FEDERAL - MDL                                3:21-CV-18756          FLETCHER V. TRAMMELL

KIMBERLY VINK                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18071          WEITZ & LUXENBERG

KIMBLE, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15920          ASHCRAFT & GEREL, LLP

KIMBLE, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15920          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIMBLE, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14884          LENZE LAWYERS, PLC

KIMBLE, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14884          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KIMBLE, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05375          ONDERLAW, LLC

KIMBLE, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14308          NACHAWATI LAW GROUP

KIMBLE, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10482          WILLIAMS HART LAW FIRM

KIMBLE, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03760          THE SEGAL LAW FIRM

KIMBROUGH, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20585          ONDERLAW, LLC

KIMBROUGH, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09986          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIM-DOMINGUEZ, ELEANOR            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02453          ONDERLAW, LLC

KIME, KATHLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10460          NACHAWATI LAW GROUP

KIMMEL, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10575          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIMMERLING, SHEENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05188          ONDERLAW, LLC

KIMMONS, KARIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11240          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIMPLE, CINDY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002577-20        GOLOMB & HONIK, P.C.

KINARD, JOHNNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20787          ONDERLAW, LLC

KINARD, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05095          ONDERLAW, LLC

KINBERGER, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09146          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KINCADE, LORA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6808-14          SEEGER WEISS LLP

KINCHION, DADIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11134          GOLDENBERGLAW, PLLC

KINDER, EVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07823          ONDERLAW, LLC

KINDLE, MECHELE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15979          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KINDLEY, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05871          MOTLEY RICE, LLC

KINDRED, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11737          HENINGER GARRISON DAVIS, LLC

KINEY, NELDA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1940-16          DAMATO LAW FIRM, P.C.

KING, ANNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10975          FLETCHER V. TRAMMELL

KING, ATHALA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06738          THE SIMON LAW FIRM, PC

KING, AUDREY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11339          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



                                                                             Page 674 of 1405
                               Case 23-12825-MBK                 Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                                 Appendix A (Part 1) Page 676 of 702

               Claimant Name                            State Filed                       Docket Number                            Plaintiff Counsel

KING, CAROL                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08901          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

KING, CASSANDRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16919          ASHCRAFT & GEREL

KING, CASSANDRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16919          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KING, CHRISTIANA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001312-21        GOLOMB & HONIK, P.C.

KING, CINDY                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09149          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KING, DAVID                           NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01416-19AS       WEITZ & LUXENBERG

KING, DAVID G. ESTATE OF LINDA KING   IL - CIRCUIT COURT - MADISON COUNTY          17-L-523               MAUNE RAICHLE HARTLEY FRENCH & MUDD

KING, DIANNA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14530          FLETCHER V. TRAMMELL

KING, DONNA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

KING, DONNA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

KING, DONNA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11268          NACHAWATI LAW GROUP

KING, DONNA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KING, ELIZABETH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16038          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KING, ELIZABETH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05545          THE REARDON LAW FIRM, P.C.

KING, EQUILLA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16869          ONDERLAW, LLC

KING, EVA                             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19788          LENZE LAWYERS, PLC

KING, FAYOLA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19909          CELLINO & BARNES, P.C.

KING, FRANNY                          NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-350-18           POGUST BRASLOW & MILLROOD, LLC

KING, GERALDINE                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC697721               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

KING, GERALDINE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11603          NACHAWATI LAW GROUP

KING, GRACW                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05645          ONDERLAW, LLC

KING, HELEN                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18835          NACHAWATI LAW GROUP

KING, IRIS                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19271          NACHAWATI LAW GROUP

KING, JANICE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10709          ASHCRAFT & GEREL

KING, JANICE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10709          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KING, JEANNIE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12487          NACHAWATI LAW GROUP

KING, JUDY                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10358          ONDERLAW, LLC

KING, KATHRYN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11614          ONDERLAW, LLC

KING, KIMBERLY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01382          ONDERLAW, LLC

KING, LATONIA                         IL - CIRCUIT COURT - COOK COUNTY             2021L000545            ARNOLD & ITKIN LLP

KING, LATONIA                         IL - CIRCUIT COURT - COOK COUNTY             2021L000545            MEYERS & FLOWERS, LLC

KING, LINDA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14292          BURNS CHAREST LLP

KING, LOUISE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11434          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC




                                                                                 Page 675 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 677 of 702

               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

KING, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19103          MOTLEY RICE, LLC

KING, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09256          ONDERLAW, LLC

KING, MARY JANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13852          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KING, MAVIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02552          WILSON LAW PA

KING, MELBA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14442          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KING, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17463          NACHAWATI LAW GROUP

KING, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11959          MORELLI LAW FIRM, PLLC

KING, MYRTLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11640          NACHAWATI LAW GROUP

KING, NELL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19062          NACHAWATI LAW GROUP

KING, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09155          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KING, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17414          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KING, PHYLLIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15745          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KING, SHARALYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08974          ONDERLAW, LLC

KING, SHEILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06935          ONDERLAW, LLC

KING, SHELLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03342          CLIFFORD LAW OFFICES, P.C.

KING, SHELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12357          ARNOLD & ITKIN LLP

KING, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13234          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KING, SYBIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11710          GOLOMB SPIRT GRUNFELD PC

KING, TERRY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18283          ONDERLAW, LLC

KING, THERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13171          NACHAWATI LAW GROUP

KING, VERA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12521          ONDERLAW, LLC

KING, VICTORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12898          FLETCHER V. TRAMMELL

KING, VIRGINIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05227          ASHCRAFT & GEREL

KING, VIRGINIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05227          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KING, VIVIAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15036          ONDERLAW, LLC

KING, WILMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08376          JOHNSON LAW GROUP

KING, YOLANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14299          ASHCRAFT & GEREL

KING, YVONNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13257          LAW OFFICES DENNIS F. OBRIEN, P.A.

KING-CARTER, ALLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05421          ONDERLAW, LLC

KINGERY, ELOISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10685          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KING-GREEN, LATRICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04203          ONDERLAW, LLC

KING-LEE, ELVIRA A                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04402          THE LAW OFFICES OF MELVIN W BRUNSON

KINGREE, SARAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18176          KLINE & SPECTER, P.C.




                                                                             Page 676 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 678 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

KINGS, CASEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10782          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KINGSBURY, KIM                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07257          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KINGSBURY, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17430          NACHAWATI LAW GROUP

KINGSLEY, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18657          FLETCHER V. TRAMMELL

KINGSTON, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10191          ONDERLAW, LLC

KINGSTON, KATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01759          WILLIAMS HART LAW FIRM

KINKLE, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02217          THE MILLER FIRM, LLC

KINLER, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03264          ASHCRAFT & GEREL

KINLER, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03264          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KINNAIRD, LYNDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06307          ENVIRONMENTAL LITIGATION GROUP, PC

KINNARD, KIMBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10820          NACHAWATI LAW GROUP

KINNARD, KIMBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04342          ONDERLAW, LLC

KINNAW, FERNI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12381          ASHCRAFT & GEREL

KINNAW, FERNI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12381          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KINNETT, KELLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11878          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KINNEY, HELEN                     IN - SUPERIOR COURT - MARION COUNTY          49D12-2012-MI-042553   DOBS & FARINAS, LLP

KINNEY, MARK                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KINNEY, RHONDA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003265-21        WEITZ & LUXENBERG

KINNISON, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09918          GORI JULIAN & ASSOCIATES, P.C.

KINSEL, PATSY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09059          BARRETT LAW GROUP

KINSEY, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06024          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KINSEY, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12500          KLINE & SPECTER, P.C.

KINSEY-MCDIARMID, DEBORAH         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10531          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KINSLOW, TANYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20776          ONDERLAW, LLC

KINSTLER, JESSICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18293          WEITZ & LUXENBERG

KINTCHEN, MATTIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06306          ONDERLAW, LLC

KINTER, TONI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01704          ONDERLAW, LLC

KINTZ, NICOLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09378          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KINTZEL, DAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02942          WEXLER WALLACE LLP

KIRALY, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13821          ASHCRAFT & GEREL, LLP

KIRBY, ASIA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002647-21        WEITZ & LUXENBERG

KIRBY, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14733          LENZE LAWYERS, PLC

KIRBY, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14733          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KIRBY, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13836          JOHNSON LAW GROUP



                                                                             Page 677 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 679 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KIRBY, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15083          SANDERS VIENER GROSSMAN, LLP

KIRBY, DANA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002296-20        GOLOMB & HONIK, P.C.

KIRBY, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13171          WATERS & KRAUS, LLP

KIRBY, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01577          ONDERLAW, LLC

KIRBY, LAUREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04775          MOTLEY RICE, LLC

KIRBY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10719          THE BENTON LAW FIRM, PLLC

KIRBY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08739          TRAMMELL PC

KIRBY, MARGET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12730          ASHCRAFT & GEREL

KIRBY, SHEILA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001874-20        GOLOMB & HONIK, P.C.

KIRBY-FONDULIS, DEBRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13566          THE SEGAL LAW FIRM

KIRCHHOFF, LYNN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIRCHHOFF, LYNN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

KIRCHHOFF, LYNN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

KIRCHHOFF, LYNN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

KIRCHNER, MARY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2528-17          GOLOMB SPIRT GRUNFELD PC

KIRCHNER, MARY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2528-17          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

KIRIAKOU, ANNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12376          DAVIS, BETHUNE & JONES, L.L.C.

KIRK, BENNY                       IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KIRK, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03304          ONDERLAW, LLC

KIRK, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12053          ROSS FELLER CASEY, LLP

KIRK, EVA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10581          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIRK, FRANLIN                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KIRK, JANE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17421          NACHAWATI LAW GROUP

KIRK, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09161          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIRK, KAREN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIRK, KAREN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

KIRK, KAREN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

KIRK, KIMBERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14696          MOTLEY RICE NEW JERSEY LLC

KIRK, MARTHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02456          ASHCRAFT & GEREL

KIRK, MAUREEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00981          RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

KIRK, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07442          ONDERLAW, LLC

KIRK, VICKI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20241          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIRKATRICK, CATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09650          ONDERLAW, LLC

KIRK-BROWN, MILDRED               IL - CIRCUIT COURT - COOK COUNTY             2018-L-1866            CLIFFORD LAW OFFICES, P.C.



                                                                             Page 678 of 1405
                           Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                         Appendix A (Part 1) Page 680 of 702

           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

KIRK-BROWN, MILDRED           IL - CIRCUIT COURT - COOK COUNTY             2018-L-1866            TAFT STETTINIUS & HOLLISTER LLP

KIRKDOFFER, ETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09029          ONDERLAW, LLC

KIRKENDALL, ELEANOR           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16278          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KIRKENDALL, JUDY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03101          MARTINIAN & ASSOCIATES, INC.

KIRKENDALL, JUDY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03101          THE LAW OFFICES OF HAYTHAM FARAJ

KIRKENDALL, LESLEE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11359          THE DUGAN LAW FIRM

KIRKLAND, ERNESTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

KIRKLAND, ERNESTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15230          LENZE KAMERRER MOSS, PLC

KIRKLAND, ERNESTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

KIRKLAND, ERNESTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15230          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KIRKLAND, ERNESTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KIRKLAND, LAURAETTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08499          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIRKLAND, LYNNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20675          GORI JULIAN & ASSOCIATES, P.C.

KIRKLAND, RUBY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20719          THE MILLER FIRM, LLC

KIRKLAND, WENDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04953          HEYGOOD, ORR & PEARSON

KIRKLEY, LOUISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06976          ONDERLAW, LLC

KIRKLIN, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09559          MORELLI LAW FIRM, PLLC

KIRKPATRICK, CARMEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07650          SLACK & DAVIS LLP

KIRKPATRICK, CYNTHIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18616          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KIRKPATRICK, DIANE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07259          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIRKPATRICK, LORRAINE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12252          BERNSTEIN LIEBHARD LLP

KIRKPATRICK, MILDRED          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17824          FLETCHER V. TRAMMELL

KIRKPATRICK, ROSALIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06378          ONDERLAW, LLC

KIRKPATRICK, TERESA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11060          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KIRKS, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06316          ONDERLAW, LLC

KIRKSEY, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05093          NAPOLI SHKOLNIK, PLLC

KIRKSEY, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11280          ASHCRAFT & GEREL

KIRKWOOD, ALICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05660          WILLIAMS HART LAW FIRM

KIRKWOOD, CHRISTY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05973          KLINE & SPECTER, P.C.

KIRKWOOD, LESSIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14734          MOTLEY RICE, LLC

KIRLAK, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17815          ONDERLAW, LLC

KIRSCH, JOANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16594          JOHNSON LAW GROUP

KIRSCHBAUM, LISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22141          LENZE LAWYERS, PLC

KIRSCHNICK, JUANITA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02116          ONDERLAW, LLC



                                                                         Page 679 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 681 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KIRSCHT, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02470          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KIRSHNER, LILIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18780          MOTLEY RICE, LLC

KIRSHOFF, ANDREA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03142          DALIMONTE RUEB, LLP

KIRSHY, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15298          THE SEGAL LAW FIRM

KIRVEN, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17103          DIAZ LAW FIRM, PLLC

KISER, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10624          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KISER, LAWONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10621          BISNAR AND CHASE

KISER, SHAWNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05626          ONDERLAW, LLC

KISER, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10710          ASHCRAFT & GEREL

KISER, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10710          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KISER, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16814          THE SEGAL LAW FIRM

KISS, THERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15035          NACHAWATI LAW GROUP

KISSELL, MARIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KISSELL, MARIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

KISSELL, MARIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

KISSELL, MARIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

KISSELL, MARIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

KISSING, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13000          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KISSINGER, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10973          GORI JULIAN & ASSOCIATES, P.C.

KISSINGER, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14231          JOHNSON LAW GROUP

KISSINGER, REGINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09020          ONDERLAW, LLC

KISSLING, ALISON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05677          ONDERLAW, LLC

KISSOON, UMAWATTIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12393          CELLINO & BARNES, P.C.

KITCHEN, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01425          EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

KITCHEN, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01425          SALTZ MONGELUZZI & BENDESKY PC

KITCHEN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17440          NACHAWATI LAW GROUP

KITCHEN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03002          FLETCHER V. TRAMMELL

KITCHEN, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12231          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KITCHEN, TERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17516          NACHAWATI LAW GROUP

KITCHENS, KATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10452          THE FERRARO LAW FIRM, P.A.

KITCHENS, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01072          MORRIS BART & ASSOCIATES

KITHCART, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11091          ONDERLAW, LLC

KITKOSKY, KACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06823          ONDERLAW, LLC

KITT, KATRINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17422          NACHAWATI LAW GROUP



                                                                             Page 680 of 1405
                               Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 682 of 702

               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KITT, MICHELLE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KITT, MICHELLE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

KITT, MICHELLE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

KITT, MICHELLE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

KITT, MICHELLE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

KITTENPLAN, JAMIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03222          GORI JULIAN & ASSOCIATES, P.C.

KITTLE, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02126          ONDERLAW, LLC

KITTLE, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03398          ONDERLAW, LLC

KITTLE, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06324          ENVIRONMENTAL LITIGATION GROUP, PC
                                  PA - PHILADELPHIA COUNTY COURT OF COMMON
KITTRELL, BETTY                                                                200602117              EISENBERG, ROTHWEILER, WINKLER
                                  PLEAS
                                  PA - PHILADELPHIA COUNTY COURT OF COMMON
KITTRELL, BETTY                                                                200602117              MUELLER LAW PLLC
                                  PLEAS
KITTRELL, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10193          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

KITTS, LINDA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001875-20        GOLOMB & HONIK, P.C.

KIVORA, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01721          ONDERLAW, LLC

KIYABU, JOY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02480          JOHNSON LAW GROUP

KIZZIAR, ORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10892          NACHAWATI LAW GROUP

KIZZIE, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19538          NACHAWATI LAW GROUP

KJERSGAARD, MONICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10360          ONDERLAW, LLC

KLAIBER, KIM                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001719-21        WEITZ & LUXENBERG

KLAR, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16707          ASHCRAFT & GEREL

KLAR, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16707          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KLATT, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20413          ASHCRAFT & GEREL

KLAUER, JENELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01762          WILLIAMS HART LAW FIRM

KLAUS, PAM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06916          ONDERLAW, LLC

KLAUSNER, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19751          JOHNSON BECKER, PLLC

KLAW, TERESA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002705-20        GOLOMB & HONIK, P.C.

KLAWUHN, RANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13256          ONDERLAW, LLC
KLAYMAN, HOPE AND KLAYMAN, MARK
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-04994-18AS       WEITZ & LUXENBERG
STEVEN
KLEE, JOANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05860          CELLINO & BARNES, P.C.

KLEIMAN, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09775          ONDERLAW, LLC

KLEIN, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08977          MOTLEY RICE, LLC

KLEIN, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-8354           ONDERLAW, LLC

KLEIN, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09052          THORNTON LAW FIRM

KLEIN, FRANCINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08018          ONDERLAW, LLC



                                                                             Page 681 of 1405
                                   Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                                 Appendix A (Part 1) Page 683 of 702

               Claimant Name                            State Filed                       Docket Number                            Plaintiff Counsel

KLEIN, JILL                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00436          MORGAN & MORGAN, P.A.

KLEIN, KAREN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12376          MORRIS LAW FIRM

KLEIN, KATHLEEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13686          DRISCOLL FIRM, P.C.

KLEIN, KELLY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10037          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KLEIN, MICHELLE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01340          DRISCOLL FIRM, P.C.

KLEIN, SHARON                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09742          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KLEIN-DAVIS, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

KLEIN-DAVIS, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

KLEIN-DAVIS, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:21-CV-13454              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                                      PA - PHILADELPHIA COUNTY COURT OF COMMON
KLEINER, ELLEN                                                                 170102505                  EISENBERG, ROTHWEILER, WINKLER
                                      PLEAS
KLEINER, MARILYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:17-CV-10287              GOLOMB SPIRT GRUNFELD PC

KLEIPE, DONNA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17387          NACHAWATI LAW GROUP

KLEIS, AMANDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09243          ONDERLAW, LLC

KLEKAS, NANCY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08349          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KLEM, DEBRA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21941          ONDERLAW, LLC

KLEMETSON, MARTHA (COMBS)             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07240          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

KLEMM, JOY                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05661          WILLIAMS HART LAW FIRM

KLEMPNER, RODORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02551          ONDERLAW, LLC

KLENA, STEPHEN                        IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KLENDER, CRYSTAL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06574          JOHNSON LAW GROUP

KLEPPIN, DENISE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09815          JOHNSON LAW GROUP

KLICK, PAUL III AND KLICK, JULIE      NJ - USDC - DISTRICT OF NEW JERSEY           3:20-CV-16654          WEITZ & LUXENBERG

KLIEVER, SUSAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19541          NACHAWATI LAW GROUP

KLIK, WALTER J. AND KLIK, DANA        NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-02532-18AS       WEITZ & LUXENBERG

KLIMES, JACQUELIN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2626-17          KEEFE BARTELS

KLIMKE, ANDREA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03218          GORI JULIAN & ASSOCIATES, P.C.

KLINDT, KAREN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02323          ONDERLAW, LLC

KLINE, BRENDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15009          SANDERS VIENER GROSSMAN, LLP

KLINE, CYNTHIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10345          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KLINE, JUDITH                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06710          LAW OFFICE OF CHARLES H JOHNSON, PA

KLINE, KATHERINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13871          ONDERLAW, LLC

KLINE, KEVIN                          IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC




                                                                                 Page 682 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 684 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KLINE, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18153          BARON & BUDD, P.C.

KLINE, SHELLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17491          NACHAWATI LAW GROUP

KLINE, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09379          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KLINGAMAN, PRISCILLA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01227          COHEN & MALAD, LLP

KLINGBERG, ELEANOR              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06735          NAPOLI SHKOLNIK, PLLC

KLINGER, BILLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08830          ONDERLAW, LLC

KLINGER, SHAWNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08946          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KLINGFORTH, SALLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22187          FLETCHER V. TRAMMELL

KLINGLER, MELINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15480          JOHNSON LAW GROUP

KLINKHAMMER, SHANNON            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10560          ONDERLAW, LLC

KLINNERT, LEVETA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18284          ONDERLAW, LLC

KLIPFEL, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13251          ONDERLAW, LLC

KLISSAS, DENISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05038          ONDERLAW, LLC

KLOBERDANZ, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09881          WILLIAMS HART LAW FIRM

KLOCK, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12211          ONDERLAW, LLC

KLOCK, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07328          ONDERLAW, LLC

KLOCK, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11229          THE SIMON LAW FIRM, PC

KLOCK, THERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04353          JOHNSON BECKER, PLLC

KLOCKE, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

KLOCKE, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

KLOCKE, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15103          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KLOCKE, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KLOOCK, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18016          REICH & BINSTOCK, LLP

KLOPP, DEBORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13473          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KLOSTER, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01450          ONDERLAW, LLC

KLOSTERMAN-ROCK, VERONICA       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KLOSTERMAN-ROCK, VERONICA       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

KLOSTERMAN-ROCK, VERONICA       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

KLOSTERMAN-ROCK, VERONICA       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

KLOSTERMAN-ROCK, VERONICA       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

KLUG, NOEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13079          HABUSH HABUSH & ROTTIER SC

KLUG, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11201          MOTLEY RICE, LLC

KLYCZEK, ANTOINETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17163          CELLINO & BARNES, P.C.




                                                                           Page 683 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                           Appendix A (Part 1) Page 685 of 702

            Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

KLYLE, PATTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07698          ONDERLAW, LLC

KNABB, RUTH KNIGHT              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06620          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNABLE, JENNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09570          JOHNSON LAW GROUP

KNAPEREK, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02817          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

KNAPIK, LAURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01509          JOHNSON LAW GROUP

KNAPP, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14710          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNAPP, DAVID                    NY - SUPREME COURT - NYCAL                   190282/2016            MEIROWITZ & WASSERBERG, LLP

KNAPP, DAVID AND KNAP, KAY      NY - SUPREME COURT - NYCAL                   190282/2016            MEIROWITZ & WASSERBERG, LLP

KNAPP, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05648          BURNS CHAREST LLP

KNAPP, ESTHER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16706          ASHCRAFT & GEREL

KNAPP, ESTHER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16706          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNAUSS, DIANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16773          CHAFFIN LUHANA LLP

KNEBEL, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03266          ASHCRAFT & GEREL

KNEBEL, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03266          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNECHT, DEBORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17382          NACHAWATI LAW GROUP

KNECHT, GEORGETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08715          THE MILLER FIRM, LLC

KNESPEL, CINDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13314          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNEZOVICH, MELISSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06743          NAPOLI SHKOLNIK, PLLC

KNIERIM, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01526          HEYGOOD, ORR & PEARSON

KNIGHT, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12386          THE BENTON LAW FIRM, PLLC

KNIGHT, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08391          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

KNIGHT, CORINNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10685          NACHAWATI LAW GROUP

KNIGHT, DARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15866          NACHAWATI LAW GROUP

KNIGHT, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09635          ONDERLAW, LLC

KNIGHT, EDNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09888          FLETCHER V. TRAMMELL

KNIGHT, ESTELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13115          ARNOLD & ITKIN LLP

KNIGHT, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06595          ONDERLAW, LLC

KNIGHT, KIMBERLY                IL - CIRCUIT COURT - COOK COUNTY             2017-L-003009          MEYERS & FLOWERS, LLC

KNIGHT, KIMBERLY                IL - CIRCUIT COURT - COOK COUNTY             2017-L-003009          THE MILLER FIRM, LLC

KNIGHT, LAWANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22156          DRISCOLL FIRM, P.C.

KNIGHT, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16005          DRISCOLL FIRM, P.C.

KNIGHT, MARCELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16275          NACHAWATI LAW GROUP

KNIGHT, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14637          ONDERLAW, LLC

KNIGHT, PHYLLIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17480          NACHAWATI LAW GROUP



                                                                           Page 684 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 686 of 702

              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

KNIGHT, POLLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16351          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KNIGHT, RAYFENNETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12043          NACHAWATI LAW GROUP

KNIGHT, SHENDRELL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11010          NACHAWATI LAW GROUP

KNIGHT, TRACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08277          DALIMONTE RUEB, LLP

KNIGHTEN, ARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08639          DAVIS, BETHUNE & JONES, L.L.C.

KNIGHTEN, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12764          THE MILLER FIRM, LLC

KNIGHT-HORSLEY, TAMMIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19812          NACHAWATI LAW GROUP

KNIPE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04635          JOHNSON LAW GROUP

KNIPE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04635          LEVIN SIMES LLP

KNIPPLE, VICKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03799          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNIPSCHILD, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14617          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNISELY, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08399          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNISKERN, JULIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00904          ASHCRAFT & GEREL

KNISSEL, CHRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20243          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNOB, JENNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19860          NACHAWATI LAW GROUP

KNOBLAUGH, AMELIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17204          ONDERLAW, LLC

KNOBLE, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20510          PETERSON & ASSOCIATE, P.C.

KNODEL, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06356          THE HANNON LAW FIRM, LLC

KNOEBEL, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06718          JOHNSON LAW GROUP

KNOLL, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18711          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNOLL, JODI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15501          THE MILLER FIRM, LLC

KNOLL, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13315          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNOLL, RAMONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05521          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

KNOPPEL, JOHANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09316          ONDERLAW, LLC

KNOPPS, SANDRA                   NY - SUPREME COURT - NYCAL                   190265/2019            MEIROWITZ & WASSERBERG, LLP

KNOPPS, SANDRA                   NY - SUPREME COURT - NYCAL                   190265/2019            MEIROWITZ & WASSERBERG, LLP

KNOTEK, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21019          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNOTT, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07453          BURNS CHAREST LLP

KNOTT, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07453          BURNS CHAREST LLP

KNOTT, KRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20859          ONDERLAW, LLC

KNOTTS, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08708          COHEN & MALAD, LLP

KNOTTS, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10628          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNOWLES, CATRICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09846          ONDERLAW, LLC




                                                                            Page 685 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 687 of 702

              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

KNOWLES, MONIQUE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13632          DRISCOLL FIRM, P.C.

KNOWLES, STELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07890          HOLLAND LAW FIRM

KNOWLES-FERGUSUN, CATHERINE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09019          ONDERLAW, LLC

KNOX, ANITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15728          NACHAWATI LAW GROUP
KNOX, ANTHONY AND KNOX, LEIA
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004081-20        WEITZ & LUXENBERG
ELIZABETH
KNOX, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10575          DAVIS, BETHUNE & JONES, L.L.C.

KNOX, DONNIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13656          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNOX, JOYCE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002544-20        GOLOMB & HONIK, P.C.

KNOX, JULIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14063          JOHNSON LAW GROUP

KNOX, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09119          ONDERLAW, LLC

KNOX, MIRIAM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09016          ONDERLAW, LLC

KNOX, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15145          NACHAWATI LAW GROUP

KNUDSEN, EDNA                     MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KNUDSEN, EDNA                     MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC

KNUDSEN, EDNA                     MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

KNUDSEN, EDNA                     MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

KNUDSEN, MARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12323          ONDERLAW, LLC

KNUDSEN, THERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00178          POTTS LAW FIRM

KNUPP, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19766          NACHAWATI LAW GROUP

KNUST, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03120          THE MILLER FIRM, LLC

KNUTSON, CHANTEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12244          GORI JULIAN & ASSOCIATES, P.C.

KNUTSON, JOYCE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002143-20        GOLOMB & HONIK, P.C.

KNUTSON, KRISTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03140          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
KNUTSON,CHRISTINA &
                                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1137              SWMW LAW, LLC
KNUTSON,EUGENE
KO, KAREN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09280          JOHNSON LAW GROUP

KO, KAREN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08724          ONDERLAW, LLC

KOBEE, HOLLY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1371-18          LEVY KONIGSBERG LLP

KOBEL, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14344          CELLINO & BARNES, P.C.

KOBO, RONNY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08464          COHEN, PLACITELLA & ROTH

KOCAY, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14226          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

KOCH, CATHERINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13539          FLETCHER V. TRAMMELL

KOCH, CATHY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12838          JOHNSON LAW GROUP

KOCH, GLENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          JACOBS OHARA MCMULLEN , P.C.




                                                                             Page 686 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 688 of 702

              Claimant Name                         State Filed                      Docket Number                             Plaintiff Counsel

KOCH, GLENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ONDERLAW, LLC

KOCH, GLENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          THE POTTS LAW FIRM, LLP

KOCH, GLENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ZEVAN DAVIDSON ROMAN LLC

KOCHER, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06710          THE SIMON LAW FIRM, PC

KOCHERA, ANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01174          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

KOCHWELP, JUDIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08247          PAUL LLP

KOCIAK, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17277          JOHNSON LAW GROUP

KOCIS, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17902          ONDERLAW, LLC

KOCK, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17208          THE MILLER FIRM, LLC

KOCKOS, DANIELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17340          ONDERLAW, LLC

KOEHLER, ANNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03806          THE MILLER FIRM, LLC

KOEHLER, LENORE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01666          PARKER WAICHMAN LLP

KOEHLER, MAUREEN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003339-20        MORELLI LAW FIRM, PLLC

KOEHLER, MAUREEN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003339-20        THE SEGAL LAW FIRM

KOEHLER, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08721          COHEN & MALAD, LLP

KOENIG, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10065          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOENIG, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15314          HEYGOOD, ORR & PEARSON

KOENIG, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13727          ONDERLAW, LLC

KOENIG, SARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03399          ONDERLAW, LLC

KOENIG, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06565          JOHNSON LAW GROUP

KOENTOPP, MINDY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002237-20        GOLOMB & HONIK, P.C.

KOERBER, AMBER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15262          DRISCOLL FIRM, P.C.

KOERNER, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08743          OCONNOR, MCGUINNESS, CONTE, DOYLE,

KOERNER, TONI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08928          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOERPERICH, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11413          THE MILLER FIRM, LLC

KOESTER, ELAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12778          THE DEATON LAW FIRM

KOFFLIN, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03368          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOHL, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04729          THE MILLER FIRM, LLC

KOHL, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19641          ONDERLAW, LLC

KOHL, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01152          ONDERLAW, LLC

KOHLER, LINDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOHLER, LINDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

KOHLER, LINDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC




                                                                            Page 687 of 1405
                             Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                              Appendix A (Part 1) Page 689 of 702

             Claimant Name                           State Filed                      Docket Number                              Plaintiff Counsel

KOHLER, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

KOHLER, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

KOHLIEM, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00700          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOHN, ANNJANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03134          JOHNSON LAW GROUP

KOHN, LILA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10374          ONDERLAW, LLC

KOHN, NADINE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003870-20        ARNOLD & ITKIN LLP

KOHN, NADINE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003870-20        COHEN, PLACITELLA & ROTH

KOHUT, SARAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14557          NAPOLI SHKOLNIK, PLLC

KOINIS, PAULINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18142          JOHNSON LAW GROUP

KOINOGLOU, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14310          DIAZ LAW FIRM, PLLC

KOJETIN, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10632          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOKOSZKA, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08058          ROSS FELLER CASEY, LLP
KOKOTAJLO, FRANK AND KOKOTAJLO,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-000193-21        LEVY KONIGSBERG LLP
MARIANN
KOLB, DANIELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10354          ONDERLAW, LLC

KOLB, MARYANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09934          WILLIAMS HART LAW FIRM

KOLCZYNSKI, LEANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12926          MURRAY LAW FIRM

KOLESAR, GAIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01704          CELLINO & BARNES, P.C.

KOLIN, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02828          ONDERLAW, LLC

KOLLEN-RICE, MELISSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07440          ONDERLAW, LLC

KOLLMANN, LAURIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11922          NACHAWATI LAW GROUP

KOLODKIN, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08014          ONDERLAW, LLC

KOLODZIEJ, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00497          BREIT LAW PC

KOLODZIEJ, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00223          BREIT LAW PC

KOLONICH, PATSY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11743          NACHAWATI LAW GROUP

KOLOZIE, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00608          HOLLAND LAW FIRM

KOLZET, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14509          BURNS CHAREST LLP

KOMNATH, ARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03503          JOHNSON LAW GROUP

KOMORA, VELDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19957          NACHAWATI LAW GROUP

KOMOROSKI, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12522          THE GOSS LAW FIRM, P.C.

KOMP, REBECCA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16724          JOHNSON BECKER, PLLC

KONDRLA, CHARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12689          NAPOLI SHKOLNIK, PLLC

KONECNE, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10002          JASON J. JOY & ASSCIATES P.L.L.C.

KONEN, ALYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07828          ONDERLAW, LLC

KONING, CHARLOTTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12736          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



                                                                             Page 688 of 1405
                                 Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                               Appendix A (Part 1) Page 690 of 702

              Claimant Name                           State Filed                       Docket Number                             Plaintiff Counsel

KONKEL, MARGUERITE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14319          NACHAWATI LAW GROUP

KONKIN, CHRISTINA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-998-16           GOLOMB SPIRT GRUNFELD PC

KONOPA, PONPET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21506          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KONSTANTINI, LILI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13332          DAVIS, BETHUNE & JONES, L.L.C.

KOO, JENNIE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03933          MURRAY LAW FIRM

KOOLS, KAREN                        CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC624387               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

KOON, PEGGY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18625          DRISCOLL FIRM, P.C.

KOON, SUE                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10967          ASHCRAFT & GEREL, LLP

KOONS, JACKLYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06386          MOTLEY RICE, LLC
                                    CA - SUPERIOR COURT - SAN BERNARDINO
KOONTZ, ANN                                                                      CIVDS1724289           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                                    COUNTY
KOONTZ, FREDA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2714-17          KEEFE BARTELS

KOONTZ, FREDA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2714-17          LAW OFFICE OF GRANT D. AMEY, LLC

KOORS, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18621          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KOPEL, ROSALIND                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05229          ONDERLAW, LLC

KOPER, MARLENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03830          WILLIAMS HART LAW FIRM

KOPP, JOHN AND KOPP, CHRISTINE      NY - SUPREME COURT - SUFFOLK COUNTY          609596/2020            WEITZ & LUXENBERG

KOPP, SUMMER                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18047          ONDERLAW, LLC

KOPPELMANN, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16077          ARNOLD & ITKIN LLP

KOPPIE, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11252          GOLDENBERGLAW PLLC

KOPSIAN, NORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12078          NACHAWATI LAW GROUP

KORBER, JERRI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07385          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
KORBHOLZ, WILLIAM AND
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00937-20AS       LEVY KONIGSBERG LLP
KORBHOLZ,KATHERINE
KORKMAZ, SUSAN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000273-21        GOLOMB & HONIK, P.C.

KORKOWSKI, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15088          CELLINO & BARNES, P.C.

KORKOWSKI, KARIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14488          DALIMONTE RUEB, LLP

KORMANIK, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15768          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KORNACKI, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09382          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KORNBLUM, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13965          JOHNSON LAW GROUP

KORNEGAY, JEANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16248          JOHNSON LAW GROUP

KORNEGAY, PATSY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10783          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KORNEGAY, VANESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11032          NACHAWATI LAW GROUP

KORNER-HENSLEY, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13920          ONDERLAW, LLC

KORNINEKO, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14672          SANDERS PHILLIPS GROSSMAN, LLC




                                                                               Page 689 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                            Appendix A (Part 1) Page 691 of 702

              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

KORNMAN, TERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

KORNMAN, TERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

KORNMAN, TERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08741          ONDERLAW, LLC

KORNMAN, TERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KORODY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02267          HEYGOOD, ORR & PEARSON

KOROLEWICZ, JUDY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003387-20        GOLOMB & HONIK, P.C.

KOROTKA, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07876          BURNS CHAREST LLP

KOROTKA, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07876          BURNS CHAREST LLP

KORPI, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10618          LEVIN SIMES LLP

KORSKY, POLLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02261          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KORTH, LINDA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002211-20        GOLOMB & HONIK, P.C.

KORTYNA, KATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14187          ASHCRAFT & GEREL, LLP

KORTZ, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17548          ODOM LAW FIRM, PA

KORTZ, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05409          DALIMONTE RUEB, LLP

KORZENICKI, ROBIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18630          WEITZ & LUXENBERG

KOSHGARIAN, DIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08910          ASHCRAFT & GEREL

KOSHGARIAN, DIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08910          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOSICEK, TINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10695          THE MILLER FIRM, LLC

KOSKOWITZ, ALICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18170          JOHNSON LAW GROUP

KOSMYNA, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14024          WILLIAMS DECLARK TUSCHMAN CO, LPA

KOSNAC, MONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09162          HOLLAND LAW FIRM

KOSS, ANNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05878          HOLLAND LAW FIRM

KOSTENBAUDER, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01652          THE MILLER FIRM, LLC

KOSTERMAN, GAYLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15714          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOSTICK, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00428          NAPOLI SHKOLNIK, PLLC

KOSTIK, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15236          ONDERLAW, LLC

KOSTKA, JESSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17201          CELLINO & BARNES, P.C.

KOSTON, DANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10527          LAW OFFICES OF SEAN M. CLEARY

KOSTON, DANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10527          LAW OFFICES OF SEAN M. CLEARY

KOSTUK, KATHY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000650-18        GOLOMB SPIRT GRUNFELD PC

KOSTY, CHERYL                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002162-18        GOLOMB SPIRT GRUNFELD PC

KOSZALKOWSKI, ZINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06688          THE SIMON LAW FIRM, PC




                                                                            Page 690 of 1405
                             Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                            Appendix A (Part 1) Page 692 of 702

             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KOTERASS, MONA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09385          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOTERBA, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09312          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOTLEWSKY, SHAUN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10638          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOTLIK, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19040          NACHAWATI LAW GROUP
KOTOWSKI, GRAZYNA &
                                NY - SUPREME COURT - NYCAL                   190295/2020            WEITZ & LUXENBERG
KOTOWSKI,ZDZISLAW
KOTSIFAKIS, CARLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14038          ONDERLAW, LLC

KOUGH, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13602          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOUPA, SHERILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08853          WALTON TELKEN FOSTER, LLC

KOURI, AURORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03893          ONDERLAW, LLC

KOUTOUJIAN, MARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10719          GOLDENBERGLAW, PLLC

KOVAC, ADA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06346          ONDERLAW, LLC

KOVAC, CARYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17552          ONDERLAW, LLC

KOVACEVICH, BARBARA             DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02724          ASHCRAFT & GEREL

KOVACEVICH, BARBARA             DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02724          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOVACEVICH, ROXANNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01766          JOHNSON LAW GROUP

KOVACH, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14818          LENZE LAWYERS, PLC

KOVACH, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14818          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KOVACH, TRACY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10436          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOVALCIK, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12197          FLETCHER V. TRAMMELL

KOVALICK, COLLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10688          NACHAWATI LAW GROUP

KOWAL, BARBARA                  GA - STATE COURT OF FULTON COUNTY            20EV001600             BARNES LAW GROUP, LLC

KOWAL, BARBARA                  GA - STATE COURT OF FULTON COUNTY            20EV001600             CHEELEY LAW GROUP

KOWAL, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18389          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOWALESKY, JUDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02544          ONDERLAW, LLC

KOWALEWSKI, GERALDINE           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KOWALEWSKI, GERALDINE           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

KOWALEWSKI, GERALDINE           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

KOWALEWSKI, GERALDINE           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

KOWALSKI, DOLORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11950          MORELLI LAW FIRM, PLLC

KOWALSKI, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13618          JOHNSON LAW GROUP

KOWALSKY, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02327          ONDERLAW, LLC

KOWASIC, TRACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18596          JOHNSON LAW GROUP

KOWINSKI, KATHRYN J EST OF      IN - SUPERIOR COURT - MARION COUNTY          49D12-2009-MI-032403   KROGER GARDIS & REGAS, LLP




                                                                           Page 691 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                            Appendix A (Part 1) Page 693 of 702

              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

KOWINSKI, NANCY                  IN - SUPERIOR COURT - MARION COUNTY          49D12-2009-MI-032403   DOBS & FARINAS, LLP

KOYM, PATTI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11252          SIMMONS HANLY CONROY

KOZECKE, LINDSEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15774          ASHCRAFT & GEREL, LLP

KOZELISKI, JACKIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11084          ONDERLAW, LLC

KOZUCH, CASSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07935          ONDERLAW, LLC

KRACHE, TIFFANY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06788          NAPOLI SHKOLNIK, PLLC

KRAEMER, WILMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19545          NACHAWATI LAW GROUP

KRAFT, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15718          NACHAWATI LAW GROUP

KRAFT, GALADRIALLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08432          ONDERLAW, LLC

KRAFT, LAURELYNN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08507          TORHOERMAN LAW LLC

KRAFT, MARCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18658          ARNOLD & ITKIN LLP

KRAINSKI, CATHY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001489-20        GOLOMB & HONIK, P.C.

KRAJCIK, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00982          KIESEL LAW, LLP

KRAJEWSKA, KRYSTYNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

KRAJEWSKA, KRYSTYNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

KRAJEWSKA, KRYSTYNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KRAKAUER, LINDSAY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16900          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KRAKOFSKY, FLORENCE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00298          DALTON AND ASSOCIATES, PA

KRAKOWSKI, AUDREY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003322-21        GOLOMB & HONIK, P.C.

KRAKOWSKI, AUDREY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10648          NACHAWATI LAW GROUP
                                 CANADA - SUPERIOR COURT, DISTRICT OF
KRAMAR, ROSEMARY                                                              500-06-000787-164      MERCHANT LAW GROUP LLP
                                 MONTREAL
KRAMER, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03604          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KRAMER, INEZ                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19263          NACHAWATI LAW GROUP

KRAMER, ROBERTA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-216-18           MESSA & ASSOCIATES, P.C.

KRAMER, TRESHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04143          ONDERLAW, LLC

KRAMER, VALERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02904          ONDERLAW, LLC

KRAMER-KELLER, MARSHA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09914          ONDERLAW, LLC

KRAMP, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12845          POGUST BRASLOW & MILLROOD, LLC

KRANCE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01339          ONDERLAW, LLC

KRANER, MARY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        L00197219              GOLOMB SPIRT GRUNFELD PC

KRANICH, EVA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01197          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KRANITZ-FISH, ILENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15042          ARNOLD & ITKIN LLP

KRANMAS, PHYLLIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08837          ONDERLAW, LLC

KRANTMAN, VICKIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002297-20        GOLOMB & HONIK, P.C.



                                                                            Page 692 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                             Appendix A (Part 1) Page 694 of 702

              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KRANTZ, VALERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19833          NACHAWATI LAW GROUP

KRASON, AUDREY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001876-20        GOLOMB & HONIK, P.C.

KRASOVEC, JUDY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002465-20        GOLOMB & HONIK, P.C.

KRASOW, DYANNE                   CA - SUPERIOR COURT - SAN MATEO COUNTY       18-CIV-1067            SIMMONS HANLY CONROY

KRASS, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10018          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KRASZCZAK, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21363          DALIMONTE RUEB, LLP

KRATTENMAKER, DOROTHY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06062          CELLINO & BARNES, P.C.

KRATZER, DELORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05676          WILLIAMS HART LAW FIRM

KRAUCHUK, PAULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10046          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KRAUS, FAYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14873          LENZE LAWYERS, PLC

KRAUS, FAYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14873          LENZE LAWYERS, PLC

KRAUS, FAYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14873          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KRAUSE, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07680          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KRAUSE, DENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08646          THE DUGAN LAW FIRM, APLC

KRAUSE, LOREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15570          SIMMONS HANLY CONROY

KRAUSE, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11687          GOZA & HONNOLD, LLC

KRAUSE, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18484          DALIMONTE RUEB, LLP

KRAWCZYK, RITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15499          CELLINO & BARNES, P.C.

KRAWCZYK, SHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07488          KLINE & SPECTER, P.C.

KRAY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03977          JOHNSON LAW GROUP

KREBS, JENNIFER                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KREBS, JENNIFER                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           ONDERLAW, LLC

KREBS, JENNIFER                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           PORTER & MALOUF, PA

KREBS, JENNIFER                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           THE SMITH LAW FIRM, PLLC

KREBS, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06427          KLINE & SPECTER, P.C.

KREEGER, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14003          ARNOLD & ITKIN LLP

KREGELIKA, ANTOINETTE            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KREGELIKA, ANTOINETTE            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

KREGELIKA, ANTOINETTE            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

KREGELIKA, ANTOINETTE            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

KREGER, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17015          LEVIN SEDRAN & BERMAN

KREGO, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03685          ONDERLAW, LLC

KREIDER, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00160          ONDERLAW, LLC




                                                                            Page 693 of 1405
                               Case 23-12825-MBK                Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                                Appendix A (Part 1) Page 695 of 702

               Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

KREIDER, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00669          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KREIS, GEORGETTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08921          DALIMONTE RUEB, LLP

KREISBERG, MARCIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01891          HEYGOOD, ORR & PEARSON

KREITZER, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19446          ASHCRAFT & GEREL, LLP

KREJCI, NANCY                        IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KRELO, JULIA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06116          ONDERLAW, LLC

KREMAR, DOROTHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13253          ARNOLD & ITKIN LLP

KREMER, TINA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10018          ONDERLAW, LLC

KRENIS, DENISE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002464-18        GOLOMB & HONIK, P.C.

KRENZ, PATRICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01044          NAPOLI SHKOLNIK, PLLC

KRENZER, CANDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18027          ONDERLAW, LLC

KREPS, NANCY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07793          ONDERLAW, LLC

KRESS, BOBI                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19873          ASHCRAFT & GEREL, LLP

KRESS, BOBI                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19873          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KRESSLER, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07834          FLETCHER V. TRAMMELL

KRESTIAN, LORRAINE                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     15-CV-289573           LEVIN SIMES LLP

KRICH, ROCHELLE AND KRICH, HERSHIE   CA - SUPERIOR COURT - LOS ANGELES            21STCV22952            WEITZ & LUXENBERG

KRICHBAUM, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12688          NAPOLI SHKOLNIK, PLLC

KRIEG, MARGIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06730          THE SIMON LAW FIRM, PC

KRIEGER, BEATRICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07772          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KRIS WINCHESTER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15637          LENZE LAWYERS, PLC

KRIS WINCHESTER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15637          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

KRISE, CAROL                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14759          LENZE LAWYERS, PLC

KRISE, CAROL                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14759          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KRISZTINICZ, TREACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10785          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KRIVITZKY, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13421          JOHNSON LAW GROUP

KRNJAIC, NADA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18437          JOHNSON LAW GROUP

KROCIAN, SUSAN                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002071-20        GOLOMB & HONIK, P.C.

KROCKER, PATRICIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002118-20        GOLOMB & HONIK, P.C.

KRODEL, NORMA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09753          BARON & BUDD, P.C.

KROEGER, TWILA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02191          MORELLI LAW FIRM, PLLC

KROKO, SARAH                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17424          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KROLIKOWSKI, CLAUDIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18278          DRISCOLL FIRM, P.C.

KROLL, CORRINE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20036          ARNOLD & ITKIN LLP



                                                                                Page 694 of 1405
                              Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                                Desc
                                                            Appendix A (Part 1) Page 696 of 702

              Claimant Name                        State Filed                       Docket Number                                Plaintiff Counsel

KROMM, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02648            LAW OFF OF PETER G. ANGELOS, P.C.

KROMREY, ANNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15221            DALIMONTE RUEB, LLP

KRONER, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00766            LEVIN SIMES LLP

KRONICK, LEEZA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13722            ASHCRAFT & GEREL, LLP

KROON, TERRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05570            JOHNSON LAW GROUP

KROPOG, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10842            ASHCRAFT & GEREL

KROPP, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KROPP, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059            ONDERLAW, LLC

KROPP, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059            PORTER & MALOUF, PA

KROPP, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059            THE SMITH LAW FIRM, PLLC

KROPP, TERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12853            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KRUCIK, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08028            ASHCRAFT & GEREL

KRUEGER, JEAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10821            ONDERLAW, LLC

KRUEGER, JEANETTE                CA - SUPERIOR COURT - ORANGE COUNTY          30-2017-00952464-CU-PL-CXC BISNAR AND CHASE

KRUEGER, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05189            ONDERLAW, LLC

KRUEGER, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09915            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KRUEGER, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00725            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KRUEGER, TIFFANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08527            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KRUEGER, WERNER                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291                NAPOLI SHKOLNIK, PLLC

KRUEGER, WERNER                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291                NAPOLI SHKOLNIK, PLLC

KRUG, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12729            ASHCRAFT & GEREL

KRUG, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17109            DIAZ LAW FIRM, PLLC

KRULL, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05657            FITZGERALD KNAIER, LLP

KRUMPACH, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09171            DAVIS, BETHUNE & JONES, L.L.C.

KRUPP, SHERLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14585            FLETCHER V. TRAMMELL

KRUPP, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05833            ONDERLAW, LLC

KRUSE, BETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02049            JOHNSON LAW GROUP

KRUSE, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11965            THE MILLER FIRM, LLC

KRUSE, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06428            ONDERLAW, LLC

KRUSEMARK, CHRISTINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09386            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KRUSEMARK, LYNN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13223            CORY, WATSON, CROWDER & DEGARIS P.C.

KRUSKALL, MARGOT                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05143            LAW OFFICES OF KRUSKELL

KRYS, ABBEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05231            BURNS CHAREST LLP




                                                                            Page 695 of 1405
                             Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                           Appendix A (Part 1) Page 697 of 702

             Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

KRYWANIO-BUNO, JOANNE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18297          ONDERLAW, LLC

KRYZANSKI, BRIAN                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-001702-21        LEVY KONIGSBERG LLP

KRYZANSKI, BRIAN                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-001702-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD

KRZYZOSIAK, NORMA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BARRETT LAW GROUP, P.A.

KRZYZOSIAK, NORMA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

KRZYZOSIAK, NORMA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          BURNS CHAREST LLP

KRZYZOSIAK, NORMA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943          GOLDENBERG HELLER & ANTOGNOLI, PC

KUBANEK, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KUBANEK, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

KUBANEK, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

KUBANEK, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

KUBANEK-SVETKODICH, BARBARA     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19880          ASHCRAFT & GEREL, LLP

KUBANEK-SVETKODICH, BARBARA     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19880          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KUBBE, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19909          ARNOLD & ITKIN LLP

KUBIAK, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

KUBIAK, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

KUBIAK, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

KUBIAK, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14741          THE FERRARO LAW FIRM, P.A.

KUBISKI, TERRY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07529          ASHCRAFT & GEREL, LLP

KUBISKI, TERRY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07529          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KUBLIC, ROSE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19474          ASHCRAFT & GEREL, LLP

KUBLIC, ROSE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19474          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KUCA, DOREEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09430          ONDERLAW, LLC

KUCEJ, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12210          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KUCHARSKI, BETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10184          GOLDENBERGLAW, PLLC

KUCHINSKI, ROBIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18890          ROSS FELLER CASEY, LLP

KUCIJA, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15339          SANDERS VIENER GROSSMAN, LLP

KUDEK, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06788          MOTLEY RICE, LLC

KUEFNER, PAMALA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14311          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

KUEHLER, CHARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06654          FLETCHER V. TRAMMELL

KUEHN, EVA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11729          NACHAWATI LAW GROUP

KUETHER, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13826          THORNTON LAW FIRM LLP

KUHLEMAN-HEATH, GERALDINE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07025          ONDERLAW, LLC




                                                                           Page 696 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                             Appendix A (Part 1) Page 698 of 702

               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

KUHLMANN, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17856          ONDERLAW, LLC

KUHN, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04699          ONDERLAW, LLC

KUHN, GERRI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19105          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KUHN, JOYLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08119          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KUHN, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07312          NEAL & HARWELL, PLC

KUHN, VICTORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11623          ONDERLAW, LLC

KUHR-GROUT, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05747          ONDERLAW, LLC

KULDEEP, SURUJDAI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06621          FLETCHER V. TRAMMELL

KULICK, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10756          THE MILLER FIRM, LLC

KULLENS, JOCELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14201          SALVI, SCHOSTOK & PRITCHARD P.C.

KUMAR, RONITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17263          ONDERLAW, LLC

KUMIEGA, CHARMAINE                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KUMP, SHELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12139          DRISCOLL FIRM, P.C.

KUNC, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07682          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KUNTZ, KELLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11572          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KUPAU, DAVIDENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04007          THE SEGAL LAW FIRM

KUPERMAN, MAUREEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03838          WILLIAMS HART LAW FIRM

KUPIS, DARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01208          MORELLI LAW FIRM, PLLC

KUPPINGER, MISTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20753          DRISCOLL FIRM, P.C.

KUPREL, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10051          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KURANZ, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07988          ONDERLAW, LLC

KURAS, DAWN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20227          CELLINO & BARNES, P.C.

KURCZESKI, FRANCES                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2249-17          GOLOMB SPIRT GRUNFELD PC

KURDES, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KURDES, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

KURDES, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

KURDES, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

KURDI, HALA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13008          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KUREH, MAHA                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC628713               ANDREW THORNTON HIGGINS RAZMARA LLP

KUREH, MAHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12728          CPC

KURETZKAMP, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03167          SANDERS VIENER GROSSMAN, LLP

KURIA, JANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14348          WILLIAMS HART LAW FIRM

KURIAN, LISSY                     CA - SUPERIOR COURT - KERN COUNTY            BCV-18-101543          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KURIAN, LISSY                     CA - SUPERIOR COURT - KERN COUNTY            BCV-18-101543          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



                                                                             Page 697 of 1405
                            Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                             Desc
                                                           Appendix A (Part 1) Page 699 of 702

            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

KURIAN, LISSY                  CA - SUPERIOR COURT - KERN COUNTY            BCV-18-101543          THE SMITH LAW FIRM, PLLC

KURKA, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09203          ONDERLAW, LLC

KUROWSKI, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09934          MOTLEY RICE, LLC

KUROWSKI, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04734          ONDERLAW, LLC

KURTAGIC, SANELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08793          ONDERLAW, LLC

KURTEN, TRUDY                  DE - SUPERIOR COURT - NEW CASTLE COUNTY      N17C-05-314            JACOBS & CRUMPLER, P.A.

KURTEN, TRUDY                  DE - SUPERIOR COURT - NEW CASTLE COUNTY      N17C-05-314            THE MILLER FIRM, LLC

KURTH, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21270          WEXLER WALLACE LLP

KURTZ, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11666          NACHAWATI LAW GROUP

KURZER, MARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10711          ASHCRAFT & GEREL

KURZER, MARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10711          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KUSCHE, CATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09669          ASHCRAFT & GEREL

KUSCHE, CATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09669          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KUSHER, JANET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10919           ONDERLAW, LLC

KUSLER, PAULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00477          JASON J. JOY & ASSCIATES P.L.L.C.

KUTCHBACK, MELANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16274          THE MILLER FIRM, LLC

KUTI, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10658          NACHAWATI LAW GROUP

KUTSCHER, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12426          DALIMONTE RUEB, LLP

KUTZSCHER, STEPHEN             IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

KUYKENDALL, CATHERINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17450          ASHCRAFT & GEREL, LLP

KUYKENDALL, DONNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05684          WILLIAMS HART LAW FIRM

KUYKENDALL, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06516          MUELLER LAW PLLC
KUYKENDALL, MARIA AND
                               NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00739-20AS       WEITZ & LUXENBERG
KUYKENDALL, JAMES
KUYPERS, JACQUELYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17888          ASHCRAFT & GEREL, LLP

KUYPERS, JACQUELYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17888          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KUZMA, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19855          NACHAWATI LAW GROUP

KUZMINSKI, JOY WISNESKI        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03554          DALIMONTE RUEB, LLP

KWAS, SUZANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01137          THE DUGAN LAW FIRM, APLC

KWIATKOWSKI, DEBBIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15659          NACHAWATI LAW GROUP

KWIATKOWSKI, NORMA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13970          ONDERLAW, LLC

KWIATT, CANDISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05882          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KWOK, MAWARTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06003          DALIMONTE RUEB, LLP

KYE, ALLISON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00073          CELLINO & BARNES, P.C.




                                                                          Page 698 of 1405
                               Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                            Desc
                                                             Appendix A (Part 1) Page 700 of 702

               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

KYE, JACQUIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10480          NACHAWATI LAW GROUP

KYLE, BRIDGET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13530          JOHNSON LAW GROUP

KYLE, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05606          ONDERLAW, LLC

KYLES, BREANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04066          NAPOLI SHKOLNIK, PLLC

KYNCL, CONNIE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002119-20        GOLOMB & HONIK, P.C.

KYRK, CHRISTINA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002947-15        SEEGER WEISS LLP

KYSAR, MATTIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05793          ASHCRAFT & GEREL

KYSAR, MATTIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05793          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

KYTE, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09496          ONDERLAW, LLC

LA MERE, CARESSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00291          FLETCHER V. TRAMMELL

LA MUNYON, JUSTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06239          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LA VARTA, CATHERINE               CA - SUPERIOR COURT - SONOMA COUNTY          SCV260077              HEYGOOD, ORR & PEARSON

LAASKO, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16738          THE SEGAL LAW FIRM

LABARBERA, ARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12390          CELLINO & BARNES, P.C.

LABARBERA, CAROLINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16356          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC
LABARR-MABRY, DOMENICA AND
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-04652-17AS       LEVY KONIGSBERG LLP
AMANDA
LABAT, COLLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10023          ONDERLAW, LLC

LABEAUME, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18560          ONDERLAW, LLC

LABEAUX, GLADYS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19914          CELLINO & BARNES, P.C.

LABENS, MYRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12092          DRISCOLL FIRM, P.C.

LABOK, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08132          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LABORDE, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15523          GORI JULIAN & ASSOCIATES, P.C.

LABORDE, ROSEMARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12565          ASHCRAFT & GEREL, LLP

LABORDE, ROSEMARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12565          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LABOUNTY, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17817          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LABOVE, DESIREE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17716          ONDERLAW, LLC

LABOVITCH, CAREN                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681608               BISNAR AND CHASE

LABOVITCH, CAREN                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681608               CHEONG, DENOVE, ROWELL & BENNETT

LABOVITCH, CAREN                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681608               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LABOY, GLENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03135          THE MILLER FIRM, LLC

LABRECQUE, PAULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14031          TRAMMELL PC

LABRECQUE, WINIFRED               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16136          ASHCRAFT & GEREL, LLP




                                                                             Page 699 of 1405
                              Case 23-12825-MBK              Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                           Desc
                                                             Appendix A (Part 1) Page 701 of 702

              Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

LABRECQUE, WINIFRED              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16136          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LABRIOLA, KARAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09066          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LABRIOLA, MARISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13783          SIMMONS HANLY CONROY

LACASCIA, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05246          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LACEY, DOREEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05645          BURNS CHAREST LLP

LACEY, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14221          DRISCOLL FIRM, P.C.

LACEY, EMMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05215          GORI JULIAN & ASSOCIATES, P.C.

LACEY, TRINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19660          NACHAWATI LAW GROUP

LACHANCE, DENISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05774          ONDERLAW, LLC

LACK, ANITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04767          ONDERLAW, LLC

LACKEY, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11211          ASHCRAFT & GEREL

LACKEY, KARALYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01463          BURNS CHAREST LLP

LACKEY, KARALYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01463          BURNS CHAREST LLP

LACLAIR, CHARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16363          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LACOE, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04687          ONDERLAW, LLC

LACOUR, PEGGY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002120-20        GOLOMB & HONIK, P.C.
                                 LA - DISTRICT COURT - EAST BATON ROUGE
LACOUR, SONIA                                                                 C-687381               BURNS CHAREST LLP
                                 PARISH
                                 LA - DISTRICT COURT - EAST BATON ROUGE
LACOUR, SONIA                                                                 C-687381               THE CHEEK LAW FIRM
                                 PARISH
                                 LA - DISTRICT COURT - EAST BATON ROUGE
LACOUR, SONIA                                                                 C-687381               UNGLESBY LAW FIRM
                                 PARISH
LACROIX, ALINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14726          OSBORNE & FRANCIS LAW FIRM PLLC

LACROIX, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07018          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LACY, ELSA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03257          ONDERLAW, LLC

LACY, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19130          KLINE & SPECTER, P.C.

LACY, MARCIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13375          FLETCHER V. TRAMMELL

LADAY-NUNES, SONYA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08741          ONDERLAW, LLC

LADD, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07394          DALIMONTE RUEB, LLP

LADD, SHELLY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002325-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

LADDUSAW, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09416          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LADICK, DOROTHY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

LADNER, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11988          MORRIS BART & ASSOCIATES

LADNER, TONIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13439          KIESEL LAW, LLP

LADNER, TONIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13439          LAW OFFICE OF HAYTHAM FARAJ




                                                                            Page 700 of 1405
                            Case 23-12825-MBK             Doc 8-1 Filed 04/04/23 Entered 04/04/23 17:53:14                              Desc
                                                          Appendix A (Part 1) Page 702 of 702

            Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

LADNER, TONIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13439          MARTINIAN & ASSOCIATES, INC.

LADNER, TONIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17265          ONDERLAW, LLC

LADNER, TONIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04210          WILLIAMS HART LAW FIRM

LADNIER, JILL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14467          MORRIS BART & ASSOCIATES

LADSON, NANELL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19354          ONDERLAW, LLC

LAFATA, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11501          ONDERLAW, LLC

LAFAYE, JULIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18020          SULLO & SULLO, LLP

LAFAZAN, DEENA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07392          ONDERLAW, LLC

LAFERNEY, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAFERNEY, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01174          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

LAFERNEY, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

LAFERNEY, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

LAFERNEY, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

LAFFERRE, NELLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05166          ONDERLAW, LLC

LAFFERTY, SHELIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14246          ARNOLD & ITKIN LLP

LAFLAMME, BEVERLY              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002181-20        GOLOMB & HONIK, P.C.

LAFLEUR, CAROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11250          MORRIS BART & ASSOCIATES

LAFLEUR, JEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14630          ONDERLAW, LLC

LAFOND, VERBENIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03558          ANDRUS WAGSTAFF, P.C.

LAFONTAINE, KAREN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18515          NACHAWATI LAW GROUP

LAFONTANO, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02870          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAFONTANT, MARIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01051          WEITZ & LUXENBERG

LAFORCE, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11097          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAFORTUNE, MAUREEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09139          ONDERLAW, LLC

LAFOSSE, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10793          ONDERLAW, LLC

LAFRAMBOISE, LISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17302          NACHAWATI LAW GROUP

LAFRANCE, EULA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06853          KIESEL LAW, LLP

LAFRANCE, EULA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06853          MARTINIAN & ASSOCIATES, INC.

LAFRANCE, EULA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06853          THE LAW OFFICES OF HAYTHAM FARAJ

LAFRANCE, FRANCINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01579          ONDERLAW, LLC

LAFRANCE, GAIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16664          NAPOLI SHKOLNIK, PLLC

LAFRANCE, JULIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11433          MORRIS BART & ASSOCIATES




                                                                          Page 701 of 1405
